Case 1:25-cv-00039-JJM-PAS   Document 68-123   Filed 02/07/25   Page 1 of 556
                              PageID #: 5931




                 Thomas-Jensen
                  Affirmation
                   (redacted)


                   Exhibit # 123
 Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 2 of 556
                                        PageID #: 5932



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

                Plaintiffs,

        v.
                                                     C.A. No. 25-CV-39-JJM-PAS
 DONALD TRUMP, et al.,

                Defendants.


                  DECLARATION OF WILL TOOR IN SUPPORT OF
              THE STATES’ REQUEST FOR PRELIMINARY INJUNCTION

       I, Will Toor, hereby declare and state as follows:

       1.      I am the current Director of the Colorado Energy Office for the State of Colorado,

which is organized within the Office of the Governor. I have served in this role since 2019. As

Executive Director, I guide the Energy Office in meeting its statutory mission to “(a) Support

Colorado’s transition to a more equitable, low-carbon, and clean energy economy and promote

resources that reduce air pollution and greenhouse gas [(“GHG”)] emissions, including pollution

and emissions from electricity generation, buildings, industry, agriculture, and transportation; (b)

Promote economic development and high quality jobs in Colorado through advancing clean

energy, transportation electrification, and other technologies that reduce air pollution and [GHG]

emissions, including helping to finance those investments; (c) Promote energy efficiency; (d)

Promote an equitable transition toward zero emission buildings; (e) Promote an equitable

transition to transportation electrification, zero emission vehicles, transportation systems, and

land use patterns that reduce energy use and [GHG] emissions; (f) Increase energy security; (g)




                                                 1
    Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25     Page 3 of 556
                                           PageID #: 5933



Support lower long-term consumer costs and support reduced energy cost burden for lower-

income Coloradans; and (h) Protect the environment and public health.” 1

           2.      I make this declaration as a representative of the Colorado Energy Office, in part

based on the business records of the Colorado Energy Office and the State of Colorado, and in

part based on my personal knowledge and experience. In my official capacity and based on my

personal knowledge and other sources of information I have obtained and reviewed in that

official capacity, I am familiar with, and if called upon to do so, would be competent to testify to

the facts and circumstances set forth herein.

           3.      I submit this declaration in support of Plaintiff States’ Request for Preliminary

Injunction in this matter, which challenges the federal funding freeze triggered by various

Executive Orders issued by President Trump and federal agency actions that seek to implement

aspects of those Orders. In particular, this declaration addresses the effects of federal agencies’

attempt to pause disbursement of federal grant and loan funds appropriated by Congress under

the Inflation Reduction Act of 2022 (IRA) and the Infrastructure Investment and Jobs Act (IIJA).

           4.      The Colorado Energy Office has been awarded over $500 million in grants under

the IRA and IIJA. This funding includes both formula funding and competitive grants. The

largest grants that have been awarded and contracted include a $156 million Solar For All award

from the Environmental Protection Agency (EPA), $132 million in Climate Pollution Reduction

Grant funding from the EPA, $140 million in funding awarded by the Department of Energy

(DOE) to support rebates for energy upgrades for low and moderate income homes, $50 million

in weatherization funds awarded by DOE to support energy upgrades for low income homes, $37

million in energy code grants from the DOE, and $25 million in Grid Resilience and Innovation



1
    § 24-38.5-101, C.R.S.

                                                     2
 Case 1:25-cv-00039-JJM-PAS            Document 68-123           Filed 02/07/25   Page 4 of 556
                                        PageID #: 5934



Partnerships (GRIP) funds awarded by DOE to support grid security and resilience. The Energy

Office also administers National Electric Vehicle Infrastructure funds, allocated by USDOT, to

the Colorado DOT; Colorado has $44 million awarded in this program. Consistent with the

instructions of the IRA and IIJA, Colorado uses these funds to support a wide array of programs

designed to benefit Coloradans, reduce energy costs, prevent pollution, and grow the economy.

Details regarding several specific grants are set forth below.

       5.      As of the date of this declaration, the Executive Orders, and federal agency

actions attempting to implement the Orders, have had crippling effects on the operations of the

Colorado Energy Office, including but not limited to interrupted and delayed disbursement of

funds that Colorado has been awarded, and uncertainty on whether and when these funds will be

disbursed. The interruption and uncertainty have led to clear harm in the following areas:

            a. The Colorado Energy Office has many subcontracts with private sector entities,
               nonprofits, and local governments. These subcontractors have been working in
               good faith on implementing these programs: hiring staff, buying and installing
               equipment, and other activities in which they both incur expenses and make
               financial commitments. Examples include local governments and utilities
               implementing grid resilience upgrades, local government projects funded by IIJA
               Energy Efficiency Community Block Grants that have been allocated by the
               Energy Office, EV charging stations being constructed under the National Electric
               Vehicle Infrastructure program, and weatherization upgrades across the state. The
               funding freeze has created uncertainty for the ability of the state to reimburse
               these subcontractors for work they have already done and expenses they have
               already incurred, as well as creating great uncertainty in continuing their work. If
               the funding freeze continues, the Energy Office will be forced to direct
               subcontractors to pause work, which will impact critical services for communities
               across the state.
            b. The Energy Office has had to delay signing contracts for work that has statutory
               deadlines, which we may now miss. As an example, the Energy Office was just
               finishing a long procurement process for a contractor to conduct an analysis of the
               potential of nuclear energy and other advanced energy technologies to provide
               jobs and tax base in communities with retiring coal plants when the freeze was
               initiated. This was to be paid for with EPA Climate Pollution Reduction Grant
               program funds that were subject to the funding freeze, so this study, which is
               important to the economic future of several rural communities in Colorado, is
               now on hold.

                                                 3
 Case 1:25-cv-00039-JJM-PAS            Document 68-123        Filed 02/07/25      Page 5 of 556
                                        PageID #: 5935



            c. The Colorado Energy Office’s ability to hire talented staff in an extremely
               competitive hiring environment has been impacted. Specifically, the Energy
               Office has lost the top candidates for several new roles due to the uncertainty and
               delays related to the Orders.
            d. The Colorado Energy Office’s ability to execute contracts for goods and services
               that rely on federal funding.
            e. The provision of services to Coloradans that rely on federal funds, including the
               weatherization of low income households and installation of energy saving
               appliances.
       COMMUNICATIONS FROM FEDERAL AGENCIES

       6.      The Colorado Energy Office also received confusing communications from

federal agencies regarding the status of federal grant funds, some of which appear to unilaterally

change the terms and condition of existing grant agreements, or to direct the Energy Office to

cease work which is required under existing grant agreements. For example, the Colorado

Energy Office received a memorandum dated January 27, 2025, that was issued by the Acting

Chief Financial Officer of the Environmental Protection Agency (EPA), attached hereto as

Exhibit A. That memorandum indicates that all disbursements for unliquidated obligations

funded by the IRA and the IIJA are paused to allow for review of the programs pursuant to

section 7 of the Unleashing American Energy Executive Order. It is unclear how this review

could impact Colorado’s funding appropriated under the IRA and IIJA.

       7.      The Colorado Energy Office received an email on January 28, 2025 that indicated

EPA was pausing IRA and IIJA funding pursuant to the Executive Order. It stated, “Dear Grant

Recipient, EPA is working diligently to implement President Trump’s Unleashing American

Energy Executive Order issued on January 20 in coordination with the Office of Management

and Budget. The agency has paused all funding actions related to the Inflation Reduction Act and

the Infrastructure Investment and Jobs Act at this time. EPA is continuing to work with OMB as

they review processes, policies, and programs, as required by the Executive Order.” A true and

                                                 4
 Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 6 of 556
                                        PageID #: 5936



accurate copy of the email is attached hereto as Exhibit B. The Colorado Energy Office has since

received an updated communication from EPA indicating that funding has resumed as a result of

a court directive. However, the Energy Office is still unable to access multiple online accounts

that are used to request disbursements, and it is unclear if or when funding will actually be

restored.

       8.      The result of these communications has been to create confusion and uncertainty

regarding the status of the federal funds that the Colorado Energy Office relies on to implement

its statutory mission. In addition, because of this uncertainty, the Colorado Energy Office has

delayed executing award agreements with subgrantees and has delayed extending employment

offers for positions expected to be funded by grants already awarded by the federal government.

       STATUS OF FEDERAL FUNDING PORTALS

       9.      Following issuance of the now rescinded OMB memorandum on January 27,

2025, all of the Colorado Energy Office’s accounts on the federal government funding portals

ASAP and VIPERS became frozen, with the Office unable to draw funds pursuant to existing

grant agreements.

       10.     Starting on February 4, 2025, the Office began receiving correspondence from

federal agencies indicating that grant funding for IRA and IIJA grants would resume. However,

as of the afternoon of February 5, 2025, the Office has still not been able to access most of its

grant accounts in the relevant federal portals. During the time the funds have been frozen and

inaccessible, the Colorado Energy Office has experienced the serious disruptions to its

operations described above. In light of the continued effect of the “Unleashing American

Energy” Executive Order, which directs all agencies to immediately pause disbursement of




                                                 5
 Case 1:25-cv-00039-JJM-PAS              Document 68-123      Filed 02/07/25     Page 7 of 556
                                          PageID #: 5937



certain funds appropriated through the IRA and IIJA, the Office expects its funding to continue

to be in jeopardy absent court intervention.

GRID RESILIENCE IIJA FORMULA FUNDS

       11.     Colorado has applied for and been approved for several grants to support grid

resilience. On April 26, 2023, the Colorado Energy Office applied for approximately

$17,200,000 over the first and second years of the Grid Resilience State and Tribal Formula

Grant, which is a FORMULA program under the IIJA. Per the IIJA, section 40101(d), this

program is to be a five year program. A true and accurate copy of the grant application materials

is attached hereto as Exhibit C. On August 30, 2023, the Colorado Energy Office received

confirmation from the Department of Energy Grid Deployment Office that the Colorado Energy

Office had been awarded the grant, with a total award of $17,249,786. True and accurate copies

of the grant award documents are attached hereto as Exhibit D. True and accurate copies of the

terms and conditions applicable to those grant award documents, as conveyed on August 30,

2023 are attached hereto as Exhibit E.

       12.      On April 12, 2024, the Colorado Energy Office applied for approximately

$8,300,000 for the third year of the Grid Resilience State and Tribal Formula Grant. A true and

accurate copy of the grant application materials is attached hereto as Exhibit F. On August 15,

2024, the Colorado Energy Office received confirmation from the Department of Energy Grid

Deployment Office that the Colorado Energy Office had been awarded the third year of the

grant, with an additional award of $8,359,178, for a total award of $25,608,964. True and

accurate copies of the grant award documents are attached hereto as Exhibit G. True and

accurate copies of the terms and conditions applicable to those grant award documents, as

conveyed on August 15, 2024 are attached hereto as Exhibit H.



                                                6
 Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 8 of 556
                                        PageID #: 5938




       13.     The funding mechanism is on a reimbursement basis. The distribution of this

formula funding to the State of Colorado supports three separate competitive grant programs run

by the Colorado Energy Office and the Colorado Department of Local Affairs.

       14.     Beginning on January 28, 2025, the Colorado Energy Office was not able to

access the ASAP system to submit draws, receiving an error that said “Summary payments

cannot include draws that are subject to agency reviews.” As of Wednesday, February 5th the

Colorado Energy Office has not been able to submit draws in this system

       15.     This Grid Resilience grant in Colorado supports the Grid Hardening for Small and

Rural Communities Program, the Advanced Grid Monitoring Program, and the Microgrids for

Community Resilience Program. The beneficiary subrecipients are local retail electrical rural

cooperative and municipal utilities. The selected projects, which are approved both by an

interagency State selection committee and the U.S. Department of Energy, will enable utilities to

reduce the duration and frequency, and impact of power outages, particularly in communities

that experience a high prevalence of power outages. Thus far, seventeen projects have been

awarded by the state, of which fifteen have been contracted and have initiated work. These

projects are geographically dispersed throughout the State of Colorado, and the majority serve

rural and small communities. The funded projects include undergrounding and reconductoring of

critical and problematic distribution lines, vegetation management in remote and thickly forested

areas, grid modelling with satellite and drone data collection to prioritize upgrades and future

projects, and microgrids that will provide resiliency for fire departments, communications and

resilience hubs, and communities in areas with high wildfire, avalanche, and flood risk.




                                                 7
 Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 9 of 556
                                        PageID #: 5939



       16.     These projects are highly consequential for the communities they serve. The

application, state selection, federal review, and contracting with the state took on average 13

months for these projects. The Order and the uncertainty it has caused has delayed the

implementation of these programs, and further delay will result in increased likelihood of power

outages, increased costs, and lack of information for grid operators to evaluate and prioritize

future projects. Cancelling any of these projects would exacerbate these issues, as the

subrecipients (rural electric cooperatives and municipal utilities) would have to seek funding

elsewhere, most likely by raising electricity prices for their customers.

       WEATHERIZATION ASSISTANCE PROGRAM IIJA FORMULA FUNDS

       17.     On November 28, 2022, the Colorado Energy Office applied for DE-EE0009976,

which is a FORMULA program under the IIJA. A true and accurate copy of the grant

application materials is attached hereto as Exhibit I.

       18.     On January 20, 2023, the Colorado Energy Office received confirmation from the

United States Department of Energy that Colorado Energy Office was awarded the grant, with a

total award of $50,064,163.00. True and accurate copies of the grant award documents are

attached hereto as Exhibit J. True and accurate copies of the terms and conditions applicable to

those grant award documents, as conveyed on January 20, 2023, are attached hereto as Exhibit

K.

       19.     The funding mechanism for these funds are reimbursement based and are awarded

by a county-based allocation formula to five subrecipients across the state who applied

competitively for the funds.

       20.     The Colorado Weatherization Assistance Program’s mission is to support low-

income households through the installation of DOE approved energy efficiency and health and



                                                  8
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25     Page 10 of 556
                                        PageID #: 5940



safety measures. The following is a non-exhaustive sample of the approved energy efficiency

measures: attic, wall, and/or floor insulation, high efficiency furnace, storm windows, air and

duct sealing, LED lightbulbs. The following is a non-exhaustive sample of the approved health

and safety measures: smoke and carbon monoxide detectors, water heater repairs or

replacements, furnace replacements (if the prior water heater or furnace was leaking carbon

monoxide). All installed measures are determined based on a whole-home audit using DOE

approved audit software called Weatherization Assistant 10.0. Allowable energy efficiency

measures must meet a savings to investment ratio of 1.0 or greater in order to be installed.

       21.     Beginning on January 28, 2025, the Colorado Energy Office was not able to

access the ASAP system to submit draws, receiving an error that said “Summary payments

cannot include draws that are subject to agency reviews.” As of Wednesday, February 5th the

Colorado Energy Office has not been able to submit draws in this system.

       22.     The impact of the loss of IIJA/BIL funds to the Weatherization Assistance

Program would be the loss of approximately $35 million in obligated funding that is dedicated to

providing energy efficiency and in some cases life saving health and safety improvements to low

income households. The primary objective of the program is to help residents to save money on

their energy bills by protecting homes from the elements including cold, heat, water, and wind.

This ultimately will reduce the ability of the program to deliver services to approximately 2,000

income-qualified households. The Weatherization Assistance Program serves residents in every

county of Colorado. The Colorado Energy Office is currently contracted with four local non-

profits and two county governments to provide services across the state. Work is underway and a

pause in funding will impact their ability to pay their field staff who perform the work in homes




                                                 9
Case 1:25-cv-00039-JJM-PAS             Document 68-123        Filed 02/07/25     Page 11 of 556
                                         PageID #: 5941



(i.e. home assessments, inspections, in-home work such as insulation, furnace replacements,

health and safety work, and carry out other program elements.)

       SOLAR FOR ALL COMPETITIVE IRA FUNDS

       23.     On October 11, 2023, the Colorado Energy Office applied for the Environmental

Protection Agency Solar for All grant program, which is a competitive program under the IRA.

A true and accurate copy of the grant application materials is attached hereto as Exhibit L.

       24.     On April 21, 2024, the Colorado Energy Office received confirmation from the

Environmental Protection Agency that the Colorado Energy Office was awarded the grant, with a

total award of $156,120,000. True and accurate copies of the grant award documents including

terms and conditions dated July 9, 2024 are attached hereto as Exhibit M. True and accurate

copies of the terms and conditions applicable to those grant award documents, as conveyed on

July 21, 2024 are attached hereto as Exhibit N. True and accurate copies of the grant amendment

with revised terms and conditions as conveyed on December 4, 2024 are attached hereto as

Exhibit O.

       25.     The funding mechanism is on a reimbursement basis and will support competitive

grants across Colorado.

       26.     Beginning on January 28, 2025, the Colorado Energy Office was not able to

access the ASAP system to submit draws, receiving an error that said “No accounts found

matching criteria.” As of Wednesday, February 5th the Colorado Energy Office has not been

able to submit draws in this system.

       27.     Colorado Solar for All (COS4A) will expand access to solar power by focusing

on targeted and contextualized technical assistance and heavily subsidized financing products

while also looking to address any localized barriers. The program will subsidize single-family



                                                10
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25      Page 12 of 556
                                         PageID #: 5942



rooftop solar, multifamily rooftop solar, and community solar to balance serving the highest

energy burdened residents, maximizing the resident cost savings and emissions reductions, and

the market transformation potential of such a large scale program. The COS4A program will

dedicate 75% of the awarded funds towards financial assistance to ensure income-qualified

households have access to residential rooftop and residential-serving community solar energy

across Colorado. The mechanism to deploy the funds will be through a combination of fully

subsidized grants, low-interest loans and production based incentives for entities that guarantee

the benefits to flow to participating Colorado residents. COS4A is positioned to deliver the

benefits of solar to more than 20,000 households across Colorado, saving them money on utility

bills. The program will do this by providing technical assistance, training, and financial

incentives to increase the options for financial ownership, governance oversight, and wealth

building opportunities for members. The EPA’s Solar for All grant will complement the robust

solar market in Colorado by enabling the state to increase the number of communities that can

take advantage of distributed solar investments and provide access to affordable, resilient, and

clean solar energy as well as the related benefits of lower utility bills, improved public health

through reduced pollution from power generation, and creation of wealth and jobs for local

communities. In addition to the financial assistance to directly support solar installations, the

program will also subsidize workforce development and technical assistance offerings in support

of implementing the program.

       28.     On January 28, 2025, Colorado Energy Office Deputy Director Dominique

Gómez was notified that the EPA is working diligently to implement President Trump’s

Unleashing American Energy Executive Order issued on January 20 in coordination with the

Office of Management and Budget. The agency has paused all funding actions related to the



                                                 11
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25     Page 13 of 556
                                       PageID #: 5943



Inflation Reduction Act and the Infrastructure Investment and Jobs Act at this time. EPA is

continuing to work with OMB as they review processes, policies, and programs, as required by

the Executive Order.

       29.     The current uncertainty is causing delays in program launch. For example, hiring

of the Quality Program Manager has been put on hold which is a critical position in order to

fulfill the quality program requirements of the EPA, as has the hiring of the Solar Program

Manager which affects financial assistance programming and oversight. Canceling the program

would be detrimental and the deployment of solar to 20,000 low-income households would be

forfeited, the economic benefits of these investments, including substantial monthly energy bill

cost savings, would not be realized and critical workforce development would be lost.

       HOME ENERGY REBATES IRA FORMULA FUNDS

       30.     In June 2023, the Colorado Energy Office applied for the Home Energy Rebates

Program, which is a FORMULA program under the IRA.

       31.     On August 1, 2023, the Colorado Energy Office received confirmation from the

U.S. Department of Energy that the Colorado Energy Office had been awarded Early

Administrative funds for both grants, $1,759,883 for 50121 Home Efficiency Rebates and

$1,749,647 for 50122 Home Electrification and Appliance Rebates, with a total award of

$3,509,530. This represents advance planning funding for the implementation of the full awards

that total $140,242,735.00. A total of $70,256,845 is for the 50121 program and a total of

$69,985,890 is for the 50122 program. The full award for 50122 Home Electrification and

Appliance Rebates was awarded on September 3, 2024. The full award for 50121 Home

Efficiency Rebates was awarded on September 10, 2024. True and accurate copies of the grant




                                               12
Case 1:25-cv-00039-JJM-PAS               Document 68-123         Filed 02/07/25     Page 14 of 556
                                           PageID #: 5944



award documents are attached hereto as Exhibit P. True and accurate copies of the terms and

conditions applicable to those grant award documents, are attached hereto as Exhibit Q.

          32.      The funding mechanism is on a reimbursement basis and supports formula grants

in the form of rebates provided to primarily low-income households across Colorado. As funds

are expended and rebates issued reimbursement draws are completed by the Colorado Energy

Office.

          33.      Beginning on January 28, 2025, the Colorado Energy Office was not able to

access the ASAP system to submit draws, receiving an error that said “Summary payments

cannot include draws that are subject to agency reviews.” As of Wednesday, February 5th the

Colorado Energy Office has not been able to submit draws in this system

          34.      Initial funds received are Early Administrative Funds, intended and utilized for

hiring program staff, developing program design and strategy, develop program evaluation,

selecting a vendor to assist with application and program administration, initiating program

piloting, developing agreements supporting collaboration with community-based organizations,

to conduct a strategic impact analysis as well as to consult with affordable housing professionals.

As awarded in our Modification 1, current use of funds includes allowable administrative costs

including state program staff (personnel, fringe, indirect, travel, supplies), and contractual.

Upcoming use of funds includes allowable administrative costs including state program staff

(personnel, fringe, indirect, travel, supplies), and contractual funds that include administrative,

rebate delivery and rebate reimbursement funds. Allowable administrative costs include:

                ● program planning and design,
                ● state program staff,
                ● development of tools and systems, including websites, applications, rebate
                  processing and reporting,


                                                   13
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25     Page 15 of 556
                                         PageID #: 5945



             ● program evaluation and customer satisfaction surveys,
             ● program monitoring and audits,
             ● consumer protection functions including resolution procedures, data review,
               contractor management, installation standards, continuous improvement,
             ● marketing, education, and outreach, including the funding of of local governments
               and place-based organizations to assist with these activities,
             ● implementation contract costs not including rebates and costs for activities
               directly related to delivery of rebates,
             ● Contractor training,
             ● Activities to improve access to rebates, facilitating leverage of private funds and
               financing mechanisms (e.g., loan loss reserves, interest rate reductions) where
               beneficial to efficiency and/or electrification projects,
             ● DAC (Disadvantaged Community) Incentive, and
             ● Technical assistance.
       35.      Projects commenced include full use of Early Administrative Funds, and

preparation for use of all Allowable Administrative Costs, Rebate Delivery Funds, and Rebate

Reimbursement Funds. Rebate Delivery Funds include Equipment, tools, models, and procedures

used to assess a building and estimate energy savings, Equipment, tools, models, and procedures

used to verify installations and perform quality control (QC) including inspections and reporting,

disadvantaged community delivery including targeted marketing and outreach, and

disadvantaged community incentives.

       36.       A January 23, 2025 e-mail communication received by Colorado Energy Office

employee Raine Queenan from a DOE project officer noted that they were evaluating

information from the new administration and would be pausing further communication. Also on

January 23rd, Raine Queenan received phone communication from a DOE Project Officer

providing the same context.




                                                 14
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 16 of 556
                                        PageID #: 5946



       37.     On January 29th,Colorado Energy Office staff Annie Beall and Loren Ahonen

received various communications via e-mail that a Technical Assistance program sponsored by

DOE to aid rebate program delivery was being postponed.

       38.     The current delays are impacting program launch activities including: vendor

contract management, technical provider decision-making, staffing of five existing positions (and

nine planned positions), and coordination with other internal and external programs. Without

continued progress on these activities, the program will not reach its target launch date of June

2025. Further delaying and/or canceling these programs will result in wasteful spending of

already completed activities. Additionally, continued delay and/or canceling of these programs

would forfeit needed improvements for residential homes and associated workforce benefits .

Because rebate programs are delivered through contractors and other market entities that

stimulate additional investment, delayed/and or cancelled funding eliminates that additional

economic investment in the State of Colorado.



SIGNED UNDER THE PENALTIES OF PERJURY THIS 5th DAY OF FEBRUARY,
2025.




                                              Will Toor
                                              Director, Colorado Energy Office




                                                15
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 17 of 556
                               PageID #: 5947




                 EXHIBIT A
Toor Declaration  Exhibit A
         Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25       Page 18 of 556
                                                  PageID #: 5948




                                                   January 27, 2025


                                                CUI//SP-BUDG
      MEMORANDUM

      SUBJECT:       Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action
                     Pause

      FROM:          Gregg Treml, Chief Financial Officer (Acting)       GREGG            Digitally signed by
                                                                                          GREGG TREML

                                                                         TREML            Date: 2025.01.27
                                                                                          16:59:02 -05'00'
      TO:            Deputy Assistant Administrators
                     Deputy Associate Administrators
                     Deputy Regional Administrators

      This message is being provided based on instruction from OMB.

      In accordance with the Executive Order Unleashing American Energy, unobligated funds (including
      unobligated commitments) appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the
      Infrastructure Investment and Jobs Act (P.L. 117-58) are paused. Pursuant to this pause, the Compass
      financial system will temporarily not allow obligations to be made in these lines of accounting. EPA is in
      discussions with the Office of Management and Budget on the continuation of payroll in IIJA and IRA.

      Additionally, all disbursements for unliquidated obligations funded by any line of accounting including
      funds appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the Infrastructure
      Investment and Jobs Act (P.L. 117-58), are paused. Additional details on the pause in disbursements
      will be provided separately by the Office of the Controller.

      This pause will allow for the review of processes, policies and programs as required by Section 7 of the
      Order.

      All related actions, including new contract, grant, rebate and interagency actions, to include
      drawdowns, for IIJA and IRA are paused. Offices are not to put IIJA or IRA lines of accounting on any
      actions and all current actions are paused. Further, no IIJA or IRA funded travel is permissible at this
      time and all upcoming travel funded from either should be cancelled.
    Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25     Page 19 of 556
                                         PageID #: 5949

A process has been established at OMB for their review and approval of obligations and disbursements
based on the Order. We will continue to update the community. We appreciate your work to ensure
compliance with the Order.

cc: Lek Kadeli
    Meshell Jones-Peeler
    Paige Hanson
    Senior Resource Officials
    Senior Budget Officers
    Regional Comptrollers
    Funds Control Officers



            Controlled by U.S. Environmental Protection Agency




                                                 2
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 20 of 556
                               PageID #: 5950




                 EXHIBIT B
1/28/25, 3:35 PM   Toor Declaration Exhibit B
                           Case 1:25-cv-00039-JJM-PAS                          Document       68-123
                                                                               State.co.us Executive         Filed
                                                                                                     Branch Mail     02/07/25
                                                                                                                 - Pause EPA Grants Page 21 of 556
                                                                                  PageID #: 5951

                                                                                                                 Gomez - CEO, Dominique <dominique.gomez@state.co.us>



  Pause EPA Grants
  EPA_Grants_Info <EPA_Grants_Info@epa.gov>                                                                                                          Tue, Jan 28, 2025 at 2:41 PM


     Dear Grant Recipient,



     EPA is working diligently to implement President Trump’s Unleashing American Energy Executive Order issued on January 20 in coordination with the Office of
     Management and Budget. The agency has paused all funding actions related to the Inflation Reduction Act and the Infrastructure Investment and Jobs Act at this
     time. EPA is continuing to work with OMB as they review processes, policies, and programs, as required by the Executive Order.



     Thank you.



     Please do not reply to this message. This mailbox is not monitored.




https://mail.google.com/mail/u/0/?ik=0ad3328c2d&view=pt&search=all&permmsgid=msg-f:1822530466475633868&simpl=msg-f:1822530466475633868                                          1/1
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 22 of 556
                               PageID #: 5952




                 EXHIBIT C
Toor Declaration Exhibit C
        Case 1:25-cv-00039-JJM-PAS               Document 68-123
                                                   PageID #: 5953
                                                                          Filed 02/07/25        Page 23 of 556




                       Bipartisan Infrastructure Law - SECTION 40101(d)
                       PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF THE ELECTRIC GRID

                                                    State of Colorado

                                                      January 2023

                                            Program Narrative



        Introduction and Overview

        The Grid Resilience Grant Program, funded through Section 40101(d) of the Infrastructure Investment
        and Jobs Act (IIJA), will be administered through the Colorado Energy Office (CEO) and Colorado
        Department of Local Affairs (DOLA). The IIJA provides $2.5 billion in formula grants to states and tribes
        for the purpose of improving the all-hazards resilience of electric grids. Under this U.S. Department of
        Energy (DOE) formula program, Colorado is estimated to receive approximately $8.6 million annually for
        the next five years, or approximately $43 million over the next five years. This application is for years 1
        and 2 of the program, for approximately $17.2 million.

        The state’s Greenhouse Gas Pollution Reduction Roadmap identified reducing emissions from electric
        utilities by at least 80% by 2030 (from a 2005 baseline) and reducing emissions from buildings as key
        strategies to meet Colorado’s greenhouse gas emissions targets. Microgrids and the technologies that
        expand the use of smart appliances and grid interactive buildings will help meet both of these goals. In
        addition, the State of Colorado has experienced significant, recent climate related extreme weather
        events including wildfires (including Cameron Peak and East Troublesome fires in 2020, and the Marshall
        fire in 2021), extreme heat, winter storm Uri (2021), and flooding (2013) that have tested the resilience
        and reliability of the state’s energy infrastructure. The State intends to use the Grid Resilience Grant
        Program federal funding, matched with state and utility funding to support the microgrids grant program
        created by House Bill 22-1013, invest in microgrids, grid hardening projects, advanced system
        monitoring, and the creation of a grid reliability and resilience study.




                                                                                                                 1
Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 24 of 556
                                            PageID #: 5954



Objectives and Metrics

The State of Colorado has been designated to receive $8,635,068 for the first year of funding from IIJA
40101(d) formula funding, and approximately the same amount for the second year. The State of
Colorado is pursuing this funding to work with eligible entities- including utilities, storage operators, and
others- to support investments in solutions that can provide reliable energy through the climate related
extreme impacts including potentially:

    A. Microgrids for Community Resilience (restricted to small cooperative and municipal utilities):
       Construction of distributed energy resources for enhancing system adaptive capacity during
       disruptive events, including microgrids and battery-storage subcomponents
    B. Microgrids for Community Resilience (open to all utilities): Construction of distributed energy
       resources for enhancing system adaptive capacity during disruptive events, including microgrids
       and battery-storage subcomponents
    C. Development of grid hardening projects that advance the state’s goal of an equitable transition
       to a low-carbon economy and meeting state energy needs with 100% renewable energy by 2040.
    D. Implementation of advanced system monitoring for use in smart grids and microgrids.
    E. Creation of a grid resiliency and reliability roadmap and technical assistance

The Colorado Energy Office and Department of Local Affairs plan to use a competitive process to award
grant funding, based on the criteria and metrics described in this document, with the planned allocation
and matching funds following the budget below for the first two years of the program, 2023 and 2024.

New electric generation sources that are not part of a system for increasing adaptive capacity during
disruptive events, such as a microgrid, are not allowed.

Matching funds:

The 15% state match requirements for year 1 and 2 of the IIJA 40101d funds is $2,587,467.90. This match
will be met through funding from the Microgrids for Community Resilience Grant Program, which has a
total appropriation of $3,520,713 from House Bill 22-1013, which was passed by the Colorado General
Assembly in the 2022 legislative session.

The matching funds from the State of Colorado are particularly focused on the Microgrids for Community
Resilience Program, which is intended for rural communities. Therefore, these $2,587,467.90 will be
reserved for cooperative electric associations and municipal utilities from rural communities in Colorado
that are interested in developing microgrids that increase electrical resilience.




                                                                                                           2
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 25 of 556
                                          PageID #: 5955




Proposed Objectives for Colorado’s Grid Resilience
Objective A: Microgrids for Community Resilience (cooperative/municipal utilities only),
Proposed 2-year Budget: $5,174,935.80

The State of Colorado has a large and diverse geography, with rural communities located in remote
canyons and widely dispersed along the eastern plains. These rural communities are vulnerable to
electric interruptions, as they are often located far along the electricity distribution lines from the
generation sources and transmission lines. The Colorado Microgrids for Community Resilience Act
(HB22-1013) states: “The use of microgrids can help increase a community’s resilience regarding severe
or natural disaster events that can affect the electric grid by providing the community with an
alternative, reliable source of electricity that is not dependent on the electric grid”. Therefore, the
HB22-1013 funding will be tied to essential infrastructure and support strengthening community
resilience. The funding for this program will be a total of $5,174,936, which comprises $2,587,468.90 of
matching state funds for the 40101d formula grant, as well an equal amount of $2,587,468.90 of 40101d
formula funds. This Objective A program is closely aligned with the Objective B program, with the
exception that Objective A funding is reserved for cooperative and municipal utilities that serve rural
areas. Rural is defined as being in a county that has less than 50,000 people or a town that has less than
25,000 residents.




                                                                                                        3
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 26 of 556
                                          PageID #: 5956




Metrics for Awarding Grants Under Objective A:

    1. Demonstrates the greatest community need, benefit, and collaboration
           a. The project realizes and outlines mutual community benefits as demonstrated by signed
               letters of support from community-based partners, including anchor institutions, local
               governments, and/or partner agencies.
    2. Reduces vulnerabilities and increases grid reliability and resiliency
           a. Data and narrative is provided to support the degree of exposure to climate related
               severe weather or natural disaster events for a rural community or communities that are
               part of a proposed project
           b. Data is provided to show infrastructure vulnerability, including but not limited to
               utility-provided or FEMA data (e.g., standard Key Performance Indicators: MTBF (mean
               time before failure), MTTR (mean time to recovery, repair, respond, or resolve), MTTF
               (mean time to failure), and MTTA (mean time to acknowledge)
           c. Evidence of social vulnerability is demonstrated through the Justice40 and Colorado
               EnviroScreen mapping tools
    3. Local commitment and readiness
           a. Applicant has a strong track record of actions and planning towards energy efficiency,
               demand-side management, incentive programs, or other initiatives that demonstrate
               commitment to local energy resiliency and reliability. For example:
                    i.  Proposed microgrid has a higher reliance on non-fossil-fuel-based generation
                   ii.  The utility has (or is proposing to) take the opportunity to promote energy
                        efficiency and demand-side management programs
                 iii.   The utility has (or is proposing to develop) an incentive program that saves
                        partners money when they use energy storage to reduce electricity use during
                        peak electricity use periods
                  iv.   Other programs that demonstrate a commitment to local energy resiliency,
                        reliability, and "microgrid readiness"
           b. Demonstrate readiness through financial resources being committed and aligned with
               risk mitigation and community goals
           c. Aligns with regional and/or local plans
           d. Timeline is feasible
           e. Demonstrates eligibility through local effort and match



Objective B: Microgrids for Community Resilience (open award for all utilities)
Proposed 2-year Budget: $7,582,668

Colorado is already experiencing the impacts of climate change including increased flooding and
wildfires. The use of microgrids, including distributed generation and storage, can improve the resilience
of the grid and improve the reliability of energy delivery by providing communities with reliable sources



                                                                                                        4
Case 1:25-cv-00039-JJM-PAS               Document 68-123          Filed 02/07/25        Page 27 of 556
                                           PageID #: 5957



of power. This funding will support utility-led microgrid development in vulnerable communities. The
objectives and metrics of this program will be the same as those from Objective A: Microgrids for
Community Resilience, with the exception of that the applicant utility need not be restricted to small
rural cooperatives and municipal utilities. If the utility is over the threshold of 4 million MWh per year,
the match increases from 33% to 100%. The metrics for Objective B are the same as those for Objective
A, with the exception that they are not reserved only for small and rural communities.

Metrics for Awarding Grants Under Objective B:

    1. Demonstrates the greatest community need, benefit, and collaboration
           a. The project realizes and outlines mutual community benefits as demonstrated by signed
               letters of support from community-based partners, including anchor institutions, local
               governments, and/or partner agencies.
    2. Reduces vulnerabilities and increases grid reliability and resiliency
           a. Data and narrative is provided to support the degree of exposure to climate related
               severe weather or natural disaster events for a rural community or communities that are
               part of a proposed project.
           b. Data is provided to show infrastructure vulnerability, including but not limited to
               utility-provided or FEMA data (e.g., standard Key Performance Indicators: MTBF (mean
               time before failure), MTTR (mean time to recovery, repair, respond, or resolve), MTTF
               (mean time to failure), and MTTA (mean time to acknowledge)
           c. Evidence of social vulnerability is demonstrated through the Justice40 and Colorado
               EnviroScreen mapping tools.
    3. Local commitment and readiness
           a. Applicant has a strong track record of actions and planning towards energy efficiency,
               demand-side management, incentive programs, or other initiatives that demonstrate
               commitment to local energy resiliency and reliability. For example:
                    i.  Proposed microgrid has a higher reliance on non-fossil-fuel-based generation
                   ii.  The utility has (or is proposing to) take the opportunity to promote energy
                        efficiency and demand-side management programs
                 iii.   The utility has (or is proposing to develop) an incentive program that saves
                        partners money when they use energy storage to reduce electricity use during
                        peak electricity use periods.
                  iv.   Other programs that demonstrate a commitment to local energy resiliency,
                        reliability, and "microgrid readiness"
           b. Demonstrate readiness through financial resources being committed and aligned with
               risk mitigation and community goals
           c. Aligns with regional and/or local plans
           d. Timeline is feasible
           e. Demonstrates eligibility through local effort and match




                                                                                                         5
Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 28 of 556
                                            PageID #: 5958




Objective C: Grid Hardening in Small and Remote Communities
Proposed 2 year Budget: $4,236,494

The Grid Hardening Act of 2021 defined grid hardening as “ The ability to use technology, equipment, or
hardening measures to enable the electric grid to better withstand the effects of extreme weather, a
wildfire, or any other natural disaster.” Grid hardening projects typically focus on and prioritize options to
reduce the impact of these events, make the components of the system more resilient to the impacts,
and often use innovative response approaches.1 This funding will be reserved for rural electricity
cooperatives and small municipally-owned utilities.

Some of the uses for this funding include:

    ●   monitoring and control technologies
    ●   the undergrounding of electrical equipment
    ●   utility pole management
    ●   the relocation of power lines or the reconductoring of power lines with low-sag, advanced
        conductors
    ●   vegetation and fuel-load management
    ●   the replacement of old overhead conductors and underground cables


Metrics for Awarding Grants Under Objective C:

    1. Historic frequency and duration of power outages due to natural disasters and extreme weather
       events.
    2. The ability of specific grid hardening activities to mitigate risks of power outages in specific
       communities.
    3. The proportion of historically marginalized community members in the communities served, as
       measured by area median income (AMI), percentage below AMI, racial, and ethnic composition.
    4. The focus of the applying organization on strong labor standards and protections, such as
       through project labor agreements, training practices, plans to partner with a training provider,
       and the use of appropriately credentialed workforce.
    5. Demonstrated financial need of the cooperative or small municipal utility demonstrating that the
       identified projects could not be completed without outside grant funding.


Objective D: Advanced system monitoring for use in smart grids and microgrids
Proposed 2-year Budget: $1,980,666.70



    1
      Richard, Jeffery. 2017. "The Keys to Grid Hardening." Leidos.com. retrieved 8/22/22 from:
    https://www.leidos.com/insights/keys-grid-hardening-how-implement-effective-solution


                                                                                                            6
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 29 of 556
                                          PageID #: 5959



Per statutory requirements, Colorado’s electrical utilities are rapidly transitioning from primarily
depending on fossil fuels as generation sources to renewable energy sources, particularly wind and solar.
Smart grids have a higher reliance on distributed generation resources, whereas microgrids have the
ability to function independently of the wider grid (“island mode”). The use of wind, solar, and storage
as energy sources for smart grids and microgrids requires a more precise understanding of weather
conditions as relating to electricity generation, storage, and use. This funding would incentivize
communities operating smart grids and microgrids to invest in technologies that would support this
advanced system monitoring.

Metrics for Awarding Grants Under Objective D:

    1. Share of electricity in impacted communities from renewable and distributed generation
       sources.
    2. Innovative approaches to advanced system monitoring of smart grids and microgrids.
    3. Justification of need: Demonstrated financial need of the applying entity to cover the costs of
       developing or updating an advanced monitoring system.
    4. Projected equitable impacts: Degree to which application demonstrates process or projections
       by which at least 40% of funds will be invested in projects in disproportionately impacted
       communities, in alignment with the federal Justice40 initiative.
    5. Impact on workforce/job creation: Degree to which application demonstrates that project is
       projected to create new jobs or workforce demand, and inclusion of planning for funding past
       initial funding as needed.
    6. Long-term Community Impact Depth: Degree to which a project uses specific sources or
       examples to demonstrate projected long-term permanent impact to the health and safety of the
       community or region through outcomes impact, environmental impact, workforce impact, etc.
    7. Shovel-ready status: Clearly defined project scope, partners, secured site, and timeline for
       project implementation.

Objective E: Grid Resiliency Studies and Technical Support
Proposed 2-year Budget: $862,489.30

In addition to investing in projects, Colorado intends to use some of the funding to help conduct
a study or studies that will help assess outages, especially in communities of color and
historically impacted communities. The State will develop a grid resiliency and microgrid
roadmap that will address key questions such as what parts of Colorado may face the most
severe risk; what locations should be identified as critical facilities; how can microgrids,
especially microgrids capable of islanding help ensure resilience; and how can the development
of microgrids and other grid resilience investments help reduce GHG emissions and create good
paying jobs.

To advance resilience and reliability and to help harden the grid, especially in response to
extreme weather events that are stressing the State’s energy delivery system, and cyber security


                                                                                                       7
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25      Page 30 of 556
                                         PageID #: 5960



threats, Colorado will use some of the resilience funding to prepare a microgrid roadmap that
will identify and describe:

   1. Communities that are at highest risk of power outages due to natural disasters or other grid
      interruptions
   2. Assess how microgrids may be able to:
          a. Protect critical facilities and infrastructure
          b. Reduce negative effects of power outages
          c. Dynamically utilize demand-side resources
          d. Improve customer options for cost impacts and benefits
          e. Be included in DER planning
          f. Help customers reduce energy costs, especially in rural areas
          g. Help state meet GHG reduction targets.
   3. ID barriers to developing and deploying microgrids
   4. Opportunities to foster public-private partnerships

In developing this Roadmap, the State will work with the Public Utilities Commission, the Office
of Utility Consumer Advocate, utilities, disproportionately impacted communities, large
customers, local governments, labor interests, and other stakeholders.

The Roadmap will serve as a foundational document that local governments and others can use
in determining how to implement microgrids and other resilience and reliability solutions at the
local level.

In addition, pursuant to recent changes in Colorado statute, the state Public Utilities
Commission is also implementing rules addressing environmental justice and equity that will
directly impact utility distribution system planning, implementation of microgrid programs, and
potentially other resilience investments.

The funding from this objective would largely be used to hire contractors, consultants,
researchers, and public engagement experts to support the work of the Colorado Energy Office
and the Department of Local Affairs to complete the projects as described in their associated
scopes of work.




                                                                                                     8
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 31 of 556
                                         PageID #: 5961



Metrics for Awarding Grants Under Objective E:

   1. Ability and experience of independent contractors to carry out the grid resilience and reliability
      roadmap research and compile the study.
   2. Demonstrated ability to conduct the appropriate projects as outlined in the scopes of work in a
      timely and professional manner.
   3. Clear plan for stakeholder engagement on energy reliability and resiliency throughout the state
      of Colorado.
   4. Working knowledge of issues of equity and ability to effectively communicate with and receive
      feedback from disadvantaged communities.




Distributing Funds
The primary method for distributing funds to eligible sub-awardees will be through a
competitive solicitation process that will result in grants to those awardees. An eligible entity
that receives a subaward under this program is required to match 100 percent of the amount of
the subaward as required by IIJA Section 40101(h)(1). However, if the eligible entity sells not
more than 4,000,000 megawatt hours of electricity per year, the required match will be
one-third of the amount of the subaward as required by Section 40101(h)(2). “Cost matching”
for the non-federal share is calculated as a percentage of the Federal funds only, rather than the
Total Project Cost.

Funding Distribution

Colorado intends to fund projects from four broad programmatic areas or objectives including:
Microgrids for Community Resilience, Microgrid (open award), Advanced system monitoring for
use in smart grids and microgrids, and Grid Resiliency Studies and Technical Support. The
Microgrid for Community Resilience will target awards to eligible entities (municipal or
cooperative utilities) for projects that serve rural communities as defined by the Department of
Local Affairs Microgrids for Community Resilience.




                                                                                                      9
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25      Page 32 of 556
                                        PageID #: 5962



                                                           Year 1                         Year 1 and
                                                          Funding Year 2 Funding            Year 2
                  Program Objective                     Distribution Distribution         Combined

Objective A: Microgrids for community resilience
(STATE match)                                           $1,295,261     $1,292,206.90 $2,587,467.90

Objective A: Microgrids for community resilience
(DOE)                                                   $1,295,261     $1,292,207        $2,587,467.90

Objective B: Microgrid (open award)                     $3,789,807     $3,792,861           $7,582,668
Objective C: Grid Hardening in Small and Remote
Communities                                             $2,118,247     $2,118,247           $4,236,494

Objective D: Advanced Monitoring                        $1,000,000     $980,666.70          $1,980,667

Objective E: Grid Resiliency Studies and Technical
Support                                                 $431,753       $430,736               $862,489
DOE total                                               $8,635,068     $8,614,718       $17,249,786


Total (DOE Grant + State Match)                         $9,930,329     $9,906,925       $19,837,254

Equity Approach

Colorado is committed to a just and equitable access to the benefits of clean, renewable energy
including reduced air pollution and investing in Colorado’s workforce. CEO and DOLA intend to include
equity and employment as criteria in determining awards for each of the funding objectives including:

   1. Projected equitable impacts: Degree to which application demonstrates process or projections
      by which at least 40% of funds will be invested in projects in disproportionately impacted
      communities, in alignment with the federal Justice40 initiative.
   2. Impact on workforce/job creation: Degree to which application demonstrates that the project is
      projected to create new jobs or workforce demand, and inclusion of planning for funding past
      initial funding as needed.
   3. Long-term Community Impact Depth: Degree to which a project uses specific sources or
      examples to demonstrate projected long-term permanent impact to the health and safety of the
      community or region through outcomes impact, environmental impact, workforce impact, etc.
   4. Shovel-ready status: Clearly defined project scope, partners, secured site, and timeline for
      project implementation.


                                                                                                  10
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25      Page 33 of 556
                                        PageID #: 5963




Technical Assistance and Administration:

   Colorado’s goal is to use the resilience funding to support investment in projects and
   technologies that increase grid resilience, improve reliability, advance equity goals, and
   create good-paying jobs all while reducing GHG emissions. To meet this goal, the focus of
   the state’s investment through IIJA grants will be to fund projects that increase investment
   in renewable energy and microgrid technologies. Technical assistance will be provided to
   sub-grantees through contractors approved by the Department of Energy.



Public Notice and Hearing:

Colorado will post a draft of its application to its “Infrastructure, Investment and Jobs Act” (IIJA)
website as well as to relevant agencies' IIJA websites or main site. The Colorado DOLA and CEO
held an open informational meeting for Thursday, November 17, 2022, 4-6pm via Zoom, which
was attended by over 100 interested parties, mostly representing Colorado’s electric utilities.
The designated State of Colorado staff reached out to parties that would be potentially
interested in applying for this grant funding, including rural municipal and cooperative utilities,
the Colorado Rural Electric Association (CREA), Ute and Southern Ute Tribes. These State staff
are also making public announcements via:

           ● In person and virtual meetings with various utilities, NGOs, and interested groups
           ● Social media posts

Following the public hearing, a draft of this narrative and the Microgrids for Community
Resilience Application Guidelines were posted on State of Colorado websites, including that of
the Colorado Energy Office and the Department of Local Affairs. Contact information for the
appropriate staff members was provided and the public were encouraged to submit comments
on these documents and the proposed use of these funds. The initial deadline for commenting
was set for December 5, but was later extended to December 12, 2022. A total of 10 parties
submitted comments, which were subsequently posted, and commented on by Colorado state
staff members. Additionally, key changes to this narrative were made by staff based on the
comments provided by the public.




                                                                                                  11
Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 34 of 556
                                            PageID #: 5964




January 9, 2023

Dear Secretary Granholm and the Department of Energy Grid Deployment Office,

Thank you for this terrific opportunity to receive funding for electrical grid hardening in the State of
Colorado. Please find attached our application for these funds for the first two years of the five year Grid
Resilience Grant Program.

The intent of this letter is to inform you that the Colorado Energy Office will be the recipient of the funds
for the Grid Resilience Grant Program, funded through Section 40101(d) of the Bilateral Infrastructure
Legislation (BIL). The Energy Office will administer these funds in partnership with the Colorado
Department of Local Affairs (DOLA). Under this formula program, Colorado is estimated to receive
approximately $8.6 million annually for the next five years, or approximately $43 million total. This
application is for years 1 and 2 of the program, for approximately $17.2 million.

The State intends to use the Grid Resilience Grant Program federal funding, matched with state and utility
funding, to support the microgrids grant program created by House Bill 22-1013, “Microgrids for
Community Resilience,” and invest in microgrids, grid hardening projects, advanced system monitoring,
and grid reliability and resilience research.

The state’s Greenhouse Gas Pollution Reduction Roadmap identified reducing emissions from electric
utilities by at least 80% by 2030 (from a 2005 baseline) and reducing emissions from buildings as key
strategies to meet Colorado’s greenhouse gas emissions targets. Microgrids and expanded use of smart
appliances and grid interactive buildings technology will help meet both of these goals. In addition, the
State of Colorado has recently experienced significant climate-related extreme weather events; including
wildfires (Cameron Peak and East Troublesome fires in 2020, and Marshall fire in 2021), extreme heat,
winter storms (Uri, 2021), and flooding (2013), that have tested the resilience and reliability of the state’s
energy infrastructure. Our attached proposal links these goals together into a comprehensive approach to
deploy these formula funds to reduce emissions while simultaneously improving the reliability and
resilience of electric utility systems across Colorado.

Our agencies have engaged with large and small, urban and rural communities throughout the state to
develop and refine the attached program narrative to ensure that it meets the greatest needs for grid
resiliency while advancing innovative approaches to renewable energy. This strategy aligns with the goals
of the Biden Administration and BIL, including ensuring that at least 40% of benefits of these
investments serve disadvantaged communities, consistent with Justice40. We appreciate the Department
of Energy’s continued partnership with Colorado on this initiative and other ambitious efforts.

Sincerely,




Governor Jared Polis
   Case 1:25-cv-00039-JJM-PAS         Document 68-123    Filed 02/07/25   Page 35 of 556
                                        PageID #: 5965




                                                             January 9th, 2023

To Whom It May Concern:

As part of the IIJA 40101(d) application, a state funding match of at least 15% is
required. This letter serves as the Department of Local Affairs’ commitment to meet
the state match fund requirements for the IIJA 40101(d) Formula Funding as part of
Colorado Energy Office’s submission to the U.S. Department of Energy.
The 15% state match requirements for year 1 and 2 of the IIJA 40101(d) funds is
estimated to be $2,587,467.90. This match will be met through funding from the
Microgrids for Community Resilience Grant Program, which has a total appropriation of
$3,520,713 from House Bill 22-1013, which was passed by the Colorado General
Assembly in the 2022 legislative session.

These cash funds are available now.

The HB22-1013 matching funds are limited to rural electric cooperatives and
municipally owned utilities. Therefore, these $2,587,467.90 will be reserved for
cooperative electric associations and municipal utilities from rural communities in
Colorado that are interested in developing microgrids that contribute to their
communities’ energy resilience.



Sincerely,




Chantal Unfug
Director, Division of Local Government, Department of Local Affairs
      Case 1:25-cv-00039-JJM-PAS                               Document 68-123 Filed 02/07/25                                                                    Page 36 of 556
                                                                 PageID #: 5966
                                                       DISCLOSURE OF LOBBYING ACTIVITIES
                                                                                                                                                                          Approved by OMB
                                             Complete this form to disclose lobbying activities pursuant to 31 U.S.C.1352                                                        0348-0046


1. * Type of Federal Action:                                       2. * Status of Federal Action:                                     3. * Report Type:
               a. contract                                                     a. bid/offer/application                                      a. initial filing
               b. grant                                                        b. initial award                                              b. material change
               c. cooperative agreement                                        c. post-award
               d. loan

               e. loan guarantee
               f. loan insurance

  4. Name and Address of Reporting Entity:
                 Prime             SubAwardee

* Name
                John Parks
* Street 1                                                                                        Street 2
                1600 Broadway Suite 1960
* City                                                              State                                                                                        Zip
                Denver                                                      Colorado                                                                                   80202
Congressional District, if known:      01
5. If Reporting Entity in No.4 is Subawardee, Enter Name and Address of Prime:




6. * Federal Department/Agency:                                                                        7. * Federal Program Name/Description:
 Department of Energy, Grid Deployment Office
                                                                                                     BIL - Grid Resilience Formula Funding
                                                                                                        CFDA Number, if applicable:

8. Federal Action Number, if known:                                                                    9. Award Amount, if known:

   DE-FOA-0002736                                                                                      $ 17,270,136

10. a. Name and Address of Lobbying Registrant:
 Prefix                            * First Name                                                      Middle Name
                                                  NA
 * Last Name                                                                                                 Suffix
                   NA
 * Street 1                                                                                       Street 2

 * City                                                             State                                                                                        Zip



b. Individual Performing Services (including address if different from No. 10a)
 Prefix                            * First Name                                                      Middle Name
                                                  NA
 * Last Name                                                                                                 Suffix
                   NA
 * Street 1                                                                                       Street 2

 * City                                                             State                                                                                    Zip


11.       Information requested through this form is authorized by title 31 U.S.C. section 1352. This disclosure of lobbying activities is a material representation of fact upon which
          reliance was placed by the tier above when the transaction was made or entered into. This disclosure is required pursuant to 31 U.S.C. 1352. This information will be reported to
          the Congress semi-annually and will be available for public inspection. Any person who fails to file the required disclosure shall be subject to a civil penalty of not less than
          $10,000 and not more than $100,000 for each such failure.

* Signature:         Completed on submission to Grants.gov

*Name:               Prefix                        * First Name                                                       Middle Name
                                                                  John
                     * Last Name                                                                                           Suffix
                                     Parks

Title: Electricity Markets & Transmission Policy Analyst                    Telephone No.: 970-631-6786                               Date: Completed on submission to Grants.gov

                                                                                                                                                   Authorized for Local Reproduction
Federal Use Only:                                                                                                                                  Standard Form - LLL (Rev. 7-97)
4/26/23, 10:22Case
               AM  1:25-cv-00039-JJM-PAS                Document     68-123 As Solicited
                                                         FedConnect- Response:  Filed -02/07/25
                                                                                         Confirmation. Page 37 of 556
                                                          PageID #: 5967
                                                 Home      |   Help     |    My Profile   |   Company Profile Take
                                                                                                                | aSign
                                                                                                                    tour Out
                                                                                                                         of
                                                                                                              FedConnect
  COLORADO ENERGY OFFICE — Ida Mae Isaac

   cover page | attachments | cost sensitive attachments | summary | confirmation




    Your response has been successfully submitted.
    Keep a copy of this page for your records.



    Confirmation Number: 638181080074092683
    Sent:                4/26/2023 12:13:27 PM

    Status:              Received by agency.
    Picked up by Agency: 4/26/2023 12:21:16 PM

    Offer good for 60 days.


   Return to Opportunity Summary




 © 2023 Unison Software, Inc. All rights reserved.                              Terms of Service and Use       About FedConnect




https://www.fedconnect.net/FedConnect/MemberHome/Response/Attachments.aspx                                                     1/1
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 38 of 556
                               PageID #: 5968




                 EXHIBIT D
Toor Declaration  Exhibit D
          Case 1:25-cv-00039-JJM-PAS                               Document 68-123                  Filed 02/07/25             Page 39 of 556
                                                                     PageID #: 5969
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-GD0000006                                                                              08/30/2023                  81.254
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
COLORADO ENERGY OFFICE                                                  Grid Deployment Office (GD)
                                                                                                                                          08/30/2023
Attn: Vanessa Dam                                                       U.S. Department of Energy                                         through
1580 LOGAN STREET, SUITE 100                                                                                                              04/30/2028
                                                                        1000 Independence Avenue, SW
DENVER CO 802031940
                                                                        Forrestal Building , GD-1
                                                                        Washington DC 20585


8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           See page 2                                                             23GD000170
     Cooperative Agreement
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
COLORADO ENERGY OFFICE                                                    Govt. Share: $17,249,786.00                   This action:
Attn: Vanessa Dam                                                                                                       $17,249,786.00
1580 LOGAN STREET, SUITE 100                                              Cost Share : $2,587,467.00                    Total      :
DENVER CO 802031940                                                                                                     $17,249,786.00
                                                                          Total             : $19,837,253.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   Lucas S. Greza                                       U.S. DOE/NETL
                                                   Phone: 304-285-4663                                  NATIONAL ENERGY TECH LAB
                                                                                                        3610 Collins Ferry Road
                                                                                                        Morgantown WV 26505-2353



17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 3
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data
See Schedule

21. Research Title and/or Description of Project
Bipartisan Infrastructure Law (BIL) – PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF THE ELECTRIC
GRID FORMULA GRANTS TO STATES AND INDIAN TRIBEs
                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Sheldon E. Funk                                           08/30/2023
              Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 40 of 556
                                                         PageID #: 5970
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE       OF
CONTINUATION SHEET              DE-GD0000006                                                                     2              29
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY    UNIT   UNIT PRICE           AMOUNT
   (A)                                  (B)                                 (C)      (D)       (E)                   (F)
           UEI: JLVGQ4E7RD53
           Block 9 Authority:
           Infrastructure Investment and Jobs Act of 2021,
           Section 40101(d), 42 U.S.C. . § 18711(d) (2023

           Project Period: 08/30/2023 - 4/30/2028

           (DOE) Adward Administrator / Contract Specialist:
           Rachel L. Price
           rachel.price@netl.doe.gov
           (412)386-9474

           (DOE) Program Manager:
           Lucas S. Greza
           lucas.greza@netl.doe.gov
           (304)285-4663

           Business Point-Of-Contact (BPOC):
           Gregg Hefner
           gregg.hefner@state.co.us
           (303)866-2601

           Principal Investigator (PI):
           John Parks
           john.m.parks@state.co.us
           (970)631-6786


           ASAP: YES Extent Competed: NOT COMPETED
           Davis-Bacon Act: YES PI: John Parks
           Delivery Location Code: 02605
           U.S. DOE/NETL
           NATIONAL ENERGY TECH LAB
           3610 Collins Ferry Road
           Morgantown WV 26505-2353
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 41 of 556
                               PageID #: 5971
                                                                                  JULY 2004
        Case 1:25-cv-00039-JJM-PAS                               Document 68-123                     Filed 02/07/25                Page 42 of 556
                                                                   PageID #: 5972
                                                                                                                                       DE-GD0000006/0000



SPECIAL TERMS AND CONDITIONS FOR USE IN FORMULA GRANTS ISSUED UNDER THE GRID
DEPLOYMENT OFFICE (GDO) ADMINISTRATIVE AND LEGAL REQUIREMENTS DOCUMENT
(ALRD)................................................................................................................................................................6
LEGAL AUTHORITY AND EFFECT (JUNE 2015) ........................................................................................6
RESOLUTION OF CONFLICTING CONDITIONS .........................................................................................6
AWARD AGREEMENT TERMS AND CONDITIONS (DECEMBER 2014) (NETL – MARCH 2023) .......6
FLOW DOWN REQUIREMENT.......................................................................................................................6
CONFERENCE SPENDING (FEBRUARY 2015) ............................................................................................7
PAYMENT PROCEDURES – REIMBURSEMENTS STANDARD APPLICATION FOR PAYMENTS
(ASAP) SYSTEM................................................................................................................................................7
COST MATCH....................................................................................................................................................7
REBUDGETING AND RECOVERY OF INDIRECT COSTS - REIMBURSABLE INDIRECT COSTS
AND FRINGE BENEFITS..................................................................................................................................8
USE OF PROGRAM INCOME - ADDITION ...................................................................................................8
POST-AWARD DUE DILIGENCE REVIEWS (MARCH 2023) .....................................................................8
ANNUAL ALLOCATION REQUEST...............................................................................................................8
RESILIENCE PROJECT AND SUBAWARD/SUBCONTRACT NOTIFICATION .......................................8
REPORTING.....................................................................................................................................................10
FOREIGN NATIONAL PARTICIPATION – APPROVAL REQUIRED (MARCH 2023) ...........................10
STATEMENT OF FEDERAL STEWARDSHIP .............................................................................................10
SITE VISITS .....................................................................................................................................................11
CATEGORICAL EXCLUSION (CX) – Initial Application.............................................................................11
FEDERAL, STATE, AND MUNICIPAL REQUIREMENTS .........................................................................11
ELIGIBLE ENTITY PRIORITIZATION – 40101(d)(5)..................................................................................11
SMALL UTILITIES SET ASIDE – 40101(d)(6)..............................................................................................11
TECHNICAL ASSISTANCE AND ADMINISTRATIVE EXPENSES – 40101(d)(7) ..................................11
NOTICE REGARDING THE PURCHASE OF AMERICAN-MADE EQUIPMENT AND PRODUCTS --
SENSE OF CONGRESS ...................................................................................................................................11
INSURANCE COVERAGE (DECEMBER 2014) ...........................................................................................12
REAL PROPERTY – GRID RESILIENCE......................................................................................................12
EQUIPMENT (DECEMBER 2014)..................................................................................................................12
SUPPLIES (DECEMBER 2014).......................................................................................................................12
CONTINUED USE OF REAL PROPERTY AND EQUIPMENT (OCTOBER 2022) ...................................12
PROPERTY TRUST RELATIONSHIP (DECEMBER 2014) .........................................................................13
INSOLVENCY, BANKRUPTCY OR RECEIVERSHIP.................................................................................13
PERFORMANCE OF WORK IN UNITED STATES......................................................................................14
REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION .........................................................14
SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS.............16
FINAL INCURRED COST AUDIT (DECEMBER 2014) ...............................................................................17
INDEMNITY.....................................................................................................................................................17
LOBBYING RESTRICTIONS (MARCH 2012) ..............................................................................................18
CORPORATE FELONY CONVICTION AND FEDERAL TAX LIABILITY ASSURANCES (MARCH
2014) ..................................................................................................................................................................18
NONDISCLOSURE AND CONFIDENTIALITY AGREEMENTS ASSURANCES (JUNE 2015) ..............18



                                                                                                                                                                        4
        Case 1:25-cv-00039-JJM-PAS                               Document 68-123                     Filed 02/07/25                Page 43 of 556
                                                                   PageID #: 5973
                                                                                                                                       DE-GD0000006/0000


REPORTING OF MATTERS RELATED TO RECIPIENT INTEGRITY AND PERFORMANCE
(DECEMBER 2015)..........................................................................................................................................19
EXPORT CONTROL (MARCH 2023).............................................................................................................20
PROHIBITION ON CERTAIN TELECOMMUNICATIONS AND VIDEO SURVEILLANCE SERVICES
OR EQUIPMENT (MARCH 2023) ..................................................................................................................21
PROHIBITION RELATED TO FOREIGN GOVERNMENT-SPONSORED TALENT RECRUITMENT
PROGRAMS (MARCH 2023) ..........................................................................................................................21
IMPLEMENTATION OF EXECUTIVE ORDER 13798, PROMOTING FREE SPEECH AND RELIGIOUS
LIBERTY (NOVEMBER 2020) .......................................................................................................................22
INTERIM CONFLICT OF INTEREST REQUIREMENTS FOR FINANCIAL ASSISTANCE (MARCH
2023) ..................................................................................................................................................................22
FRAUD, WASTE AND ABUSE (MARCH 2023)...........................................................................................22
TRANSPARENCY OF FOREIGN CONNECTIONS (MARCH 2023)...........................................................23
FOREIGN COLLABORATION CONSIDERATIONS (MARCH 2023) ........................................................23
BUY AMERICAN REQUIREMENTS FOR INFRASTRUCTURE PROJECTS (MARCH 2023) ................24
REPORTING, TRACKING AND SEGREGATION OF INCURRED COSTS (MARCH 2023) ...................27
DAVIS-BACON REQUIREMENTS (MARCH 2023).....................................................................................27
AFFIRMATIVE ACTION AND PAY TRANSPARENCY REQUIREMENTS (MARCH 2023)..................28
POTENTIALLY DUPLICATIVE FUNDING NOTICE (MARCH 2023).......................................................29




                                                                                                                                                                        5
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 44 of 556
                                                     PageID #: 5974
                                                                                                       DE-GD0000006/0000


 SPECIAL TERMS AND CONDITIONS FOR USE IN FORMULA GRANTS ISSUED UNDER THE
GRID DEPLOYMENT OFFICE (GDO) ADMINISTRATIVE AND LEGAL REQUIREMENTS DOCUMENT
                                                           (ALRD)

LEGAL AUTHORITY AND EFFECT (JUNE 2015)

(a) A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or electronically, by a
DOE Contracting Officer.

(b) Recipients are free to accept or reject the award. A request to draw down DOE funds constitutes the Recipient's
acceptance of the terms and conditions of this Award.

RESOLUTION OF CONFLICTING CONDITIONS

Any apparent inconsistency between Federal statutes and regulations and the terms and conditions contained in this award
must be referred to the DOE Award Administrator for guidance.

AWARD AGREEMENT TERMS AND CONDITIONS (DECEMBER 2014) (NETL – MARCH 2023)

This award/agreement consists of the Assistance Agreement cover page, plus the following:
a.     Special terms and conditions.
b.     Attachments:

           Attachment           Title
           No.
           1                    Intellectual Property Provisions
           2                    Statement of Project Objectives
           3                    Federal Assistance Reporting Checklist


c.      Applicable program regulations: NONE
d.      DOE Assistance Regulations, 2 CFR part 200 as amended by 2 CFR part 910 at http://www.eCFR.gov.
e.      Research Terms and Conditions and the DOE Agency Specific Requirements at
        http://www.nsf.gov/bfa/dias/policy/rtc/index.jsp (if the Award is for research and the Award is to a university or
        non-profit).
f.      Application/proposal as approved by DOE.
g.      National Policy Assurances to Be Incorporated as Award Terms in effect on date of award at
        https://www.nsf.gov/awards/managing/rtc.jsp.
h.      Public Law 117-58, also known as the Bipartisan Infrastructure Law (BIL)

FLOW DOWN REQUIREMENT

The Recipient agrees to apply the terms and conditions of this Award, as applicable, including the Intellectual Property
Provisions, to all subrecipients (and subcontractors, as appropriate), as required by 2 CFR 200.101, and to require their
strict compliance therewith. Further, the Recipient must apply the Award terms as required by 2 CFR 200.327 to all
subrecipients (and subcontractors, as appropriate), and to require their strict compliance therewith.




                                                                                                                                  6
         Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 45 of 556
                                                     PageID #: 5975
                                                                                                       DE-GD0000006/0000

CONFERENCE SPENDING (FEBRUARY 2015)

The recipient shall not expend any funds on a conference not directly and programmatically related to the purpose for
which the grant or cooperative agreement was awarded that would defray the cost to the United States Government of a
conference held by any Executive branch department, agency, board, commission, or office for which the cost to the
United States Government would otherwise exceed $20,000, thereby circumventing the required notification by the head
of any such Executive Branch department, agency, board, commission, or office to the Inspector General (or senior ethics
official for any entity without an Inspector General), of the date, location, and number of employees attending such
conference.

PAYMENT PROCEDURES - REIMBURSEMENT THROUGH THE AUTOMATED STANDARD
APPLICATION FOR PAYMENTS (ASAP) SYSTEM

a. Method of Payment. Payment will be made by reimbursement through the Department of Treasury's ASAP system.

b. Requesting Reimbursement. Requests for reimbursements must be made through the ASAP system. Your requests for
reimbursement should coincide with your normal billing pattern, but not more frequently than every two weeks. Each
request must be limited to the amount of disbursements made for the federal share of direct project costs and the
proportionate share of allowable indirect costs incurred during that billing period.

c. Adjusting payment requests for available cash. You must disburse any funds that are available from repayments to and
interest earned on a revolving fund, program income, rebates, refunds, contract settlements, audit recoveries, credits,
discounts, and interest earned on any of those funds before requesting additional cash payments from DOE/NNSA.

d. Payments. All payments are made by electronic funds transfer to the bank account identified on the ASAP Bank
Information Form that you filed with the U.S. Department of Treasury.

COST MATCH

a. “Cost Matching” for the non-federal share is calculated as a percentage of the Federal funds only, rather than the Total
Project Cost. The Total Project Cost is the sum of the Government share and Recipient match. The Recipient's cost match
must come from non-Federal sources unless otherwise allowed by law.

Each Recipient is required to match 15 percent of their allocation. In addition, eligible entities performing resilience projects
are required to provide a 100 percent cost match, unless the eligible entity sells not more than 4,000,000 megawatt hours of
electricity per year, then the eligible entity is required to provide a one-third cost match.

By accepting federal funds under this award, the Recipient is liable for the cost match percentage of total expenditures
incurred, even if the project is terminated early or is not funded to its completion.

b. If the Recipient discovers that you may be unable to provide the required cost matching under this award, the Recipient
should immediately provide written notification to the DOE Award Administrator indicating whether the Recipient will
continue or phase out the project. If you plan to continue the project, the notification must describe how replacement cost
matching will be secured.

c. The Recipient must maintain records of all project costs that you claim as cost match, including in-kind costs, as well as
records of costs to be paid by DOE/NNSA. Such records are subject to audit.

d. Failure to provide the cost matching required by this term may result in the subsequent recovery by DOE of some or all
the funds provided under the award.



                                                                                                                               7
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 46 of 556
                                                    PageID #: 5976
                                                                                                     DE-GD0000006/0000

REBUDGETING AND RECOVERY OF INDIRECT COSTS - REIMBURSABLE INDIRECT COSTS AND
FRINGE BENEFITS

a. If actual allowable indirect costs are less than those budgeted and funded under the award, you may use the difference
to pay additional allowable direct costs during the project period. If at the completion of the award the Government's share
of total allowable costs (i.e., direct and indirect), is less than the total costs reimbursed, you must refund the difference.

b. Recipients are expected to manage their indirect costs. DOE will not amend an award solely to provide additional funds
for changes in indirect cost rates. DOE recognizes that the inability to obtain full reimbursement for indirect costs means
the recipient must absorb the underrecovery. Such underrecovery may be allocated as part of the organization's required
cost sharing.

USE OF PROGRAM INCOME - ADDITION

If you earn program income during the project period as a result of this award, you may add the program income to the
funds committed to the award and use it to further eligible project objectives.

POST-AWARD DUE DILIGENCE REVIEWS (MARCH 2023)

During the life of the Award, DOE may conduct ongoing due diligence reviews, through Government resources, to
identify potential risks of undue foreign influence. In the event a risk is identified, DOE may require risk mitigation
measures, including but not limited to, requiring an individual or entity not participate in the Award.

ANNUAL ALLOCATION REQUEST

The Recipient shall submit their annual allocation request in accordance with the instructions provided in the Reporting
Requirements Checklist attached to this award. The Annual Allocation Request must be submitted to the DOE Program
Manager whose name is in Block 15 of the Award Agreement and the DOE Award Administrator whose name is
identified on Page 2 of the Assistance Agreement cover page.
The Annual Allocation Request must include the following information:
        -   SF 424 reflecting the current year allocation and cost match amounts.
        -   Cost Match Information for current year allocation.
                      • Cost Match Value
                      • Identify the source/organization of the proposed cost match.
                      • Type of Cost Match (cash or in-kind)
                      • Provide a description of their proposed cost match.
        -   Program Narrative – copy of current Program Narrative if there are no changes or an updated Program
            Narrative to reflect any changes. If changes have occurred, a Public Notice and Hearing must be documented
            in the updated Program Narrative.

RESILIENCE PROJECT AND SUBAWARD/SUBCONTRACT NOTIFICATION

For all resilience project subawards and any other subaward over $250,000, the Recipient must notify the DOE
Contracting Officer and Project Officer in writing prior to the execution of new or modified subawards/subcontracts. This
notification does not constitute a waiver of the prior approval requirements outlined in 2 CFR 200, nor does it relieve the
Recipient from its obligation to comply with applicable Federal statutes, regulations, and executive orders.
The Recipient is responsible for making a final determination to award or modify subawards/subcontracts under this
agreement, but the Recipient may not proceed with the subaward/subcontract until the DOE determines, and provides the
Recipient written notification, that the information provided is adequate.
In order to satisfy this notification requirement, Recipient documentation must, at a minimum, include the following:

                                                                                                                            8
Case 1:25-cv-00039-JJM-PAS            Document 68-123           Filed 02/07/25       Page 47 of 556
                                        PageID #: 5977
                                                                                        DE-GD0000006/0000

     (a) Recipient confirms that the subawardee:
        (i) is an eligible entity type identified in BIL section 40101(a)(2);
        (ii) is a domestic entity; to qualify as a domestic entity, the entity must be organized, chartered or
             incorporated (or otherwise formed) under the laws of a particular state or territory of the United
             States; have majority domestic ownership and control; and have a physical place of business in
             the United States;
        (iii) is not a debarred or a suspended entity; and
        (iv) will pay all of the laborers and mechanics performing construction, alteration, or repair work in
             excess of $2,000 on projects funded directly by or assisted in whole or in part by and through
             funding under the award, wages at rates not less than those prevailing on projects of a character
             similar in the locality as determined by subchapter IV of Chapter 1 of Title 40, United State Code
             commonly referred to as the “Davis-Bacon Act” (DBA).
     (b) Recipient confirms that:
        (i) the process undertaken to solicit the subaward/subcontract complies with their written
            procurement procedures as outlined in 2 CFR 200.318;
        (ii) the proposed work to be done is an eligible activity identified in BIL Section 40101(e)(1);
        (iii) the proposed subaward effort is consistent with the Program Narrative being executed under the
              award;
        (iv) the primary purpose of the proposed project is not cyber security but that the implementation of
             the proposed project will adhere to any applicable cybersecurity requirements, and where
             possible, best practices in deploying technologies under their subaward;
        (v) no planned, actual or apparent conflict of interest exists between the Recipient and the selected
            subawardee/subcontractor and that the Recipient’s written standards of conduct were followed;
        (vi) as applicable, subaward/subcontracts address the Small Utilities Set Aside requirement set forth
             in BIL Section 40101(d)(6); and
        (vii) all required award provisions will be flowed down in the resulting subaward/subcontract.
     (c) Recipient provides:
        (i) SF-424A Budget Information form and Budget Justification form for all resilience project
            subawards; and any other subaward over $250,000;
        (ii) a completed Environmental Questionnaire covering the subaward activity;
        (iii) cost match commitment letter from the eligible entity committing to meet the cost matching as
              required in BIL Section 40101(h);
        (iv) the proposed metrics that will be collected and reported in the Quarterly Progress Report to
             measure and demonstrate the beneficial impact of the resilience project on the resilience of the
             grid and to the community served;
        (v) listing of Foreign Nationals for subrecipients/eligible entities and technical assistance contractors
            in accordance with the Foreign National Participation – Approval term;
        (vi) Performance of Work in the United States waiver (if applicable);
        (vii)Buy America for Infrastructure Projects waiver (if applicable);
        (viii)Domestic entity waiver for subrecipients (if applicable); and
        (ix) a summary/brief description of any application, similar in nature, submitted by the proposed
        subawardee to the DOE under BIL Section 40101(c), DE-FOA-0002740, Grid Resilience and
        Innovation Partnerships (GRIP).


                                                                                                                  9
         Case 1:25-cv-00039-JJM-PAS                    Document 68-123              Filed 02/07/25          Page 48 of 556
                                                         PageID #: 5978
                                                                                                               DE-GD0000006/0000



If a State or Indian Tribe petitions the Secretary to be designated as an eligible entity for the purpose of executing a
resilience project, it must provide both the 15% cost match for the entire allocation made by DOE to the State or Tribe
(see BIL section 40101(d)(8)) and the project specific cost match requirement of 100% or 1/3 (see BIL section 40101(h)).


REPORTING

Reporting requirements are identified on the Federal Assistance Reporting Checklist and Instructions, DOE F 4600.2,
attached to the award agreement. Additional reporting requirements apply to projects funded by BIL. As part of tracking
progress toward key Departmental goals – ensuring justice and equity, creating jobs, boosting domestic manufacturing,
reducing greenhouse gas emissions, and advancing a pathway to private sector – DOE may require specific data
collection. Examples of data that may be collected include:
                    • project locations,
                    • measurable improvements of resilience,
                    • transmission capacity upgraded, expanded, or built,
                    • electricity storage capacity installed,
                    • funding leveraged,
                    • stakeholders engaged,
                    • technical assistance provided, and
                    • value of contracts or agreements with minority owned business for supplies, services, or
                        equipment.

Recipients must maintain sufficient records to substantiate this information upon request.

FOREIGN NATIONAL PARTICIPATION – APPROVAL REQUIRED (MARCH 2023)
If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign nationals in the performance of this
award, the Recipient must provide DOE with specific information about each foreign national to ensure compliance with the
requirements for foreign national participation and access approvals. The volume and type of information required may depend on
various factors associated with the award.

Approval for foreign nationals in Principal Investigator/Co-Principal Investigator roles, from countries of risk (i.e., China, Iran, North
Korea, and Russia), and from countries identified on the U.S. Department of State’s list of State Sponsors of Terrorism
(https://www.state.gov/state-sponsors-of-terrorism/) must be obtained from DOE before they can participate in the performance of any
work under this award.

A “foreign national” is defined as any person who is not a United States citizen by birth or naturalization. DOE may elect to deny a
foreign national’s participation in the award. Likewise, DOE may elect to deny a foreign national’s access to a DOE sites, information,
technologies, equipment, programs, or personnel.

The Recipient must include this term in any subaward and in any applicable contractual agreement(s) associated with this
award.


STATEMENT OF FEDERAL STEWARDSHIP

DOE/NNSA will exercise normal Federal stewardship in overseeing the project activities performed under this award.
Stewardship activities include, but are not limited to, conducting site visits; reviewing performance and financial reports;
providing technical assistance and/or temporary intervention in unusual circumstances to correct deficiencies which
develop during the project; assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the award objectives have been accomplished.

                                                                                                                                       10
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 49 of 556
                                                    PageID #: 5979
                                                                                                     DE-GD0000006/0000

SITE VISITS

DOE/NNSA's authorized representatives have the right to make site visits at reasonable times to review project
accomplishments and management control systems and to provide technical assistance, if required. You must provide, and
must require your subrecipients to provide, reasonable access to facilities, office space, resources, and assistance for the
safety and convenience of the government representatives in the performance of their duties. All site visits and evaluations
must be performed in a manner that does not unduly interfere with or delay the work.

CATEGORICAL EXCLUSION (CX) – Initial Application

DOE must comply with the National Environmental Policy Act (NEPA) prior to authorizing the use of federal
funds. Based on the initial information provided by the Recipient, DOE has made a NEPA determination by issuing a
CX, thereby authorizing use of funds for technical assistance and administrative project activities only.

NEPA review and approval of proposed resilience project activities are required as per the Resilience Project and
Subaward/Subcontract Notification Term. If any of the proposed projects are likely to require an Environmental
Assessment (EA) or Environmental Impact Statement (EIS), the DOE NEPA Compliance Officer will provide further
guidance. Should the recipient elect to undertake activities prior to authorization from the DOE, the Recipient is doing so
at risk and such costs may not be authorized and recognized as allowable cost.

FEDERAL, STATE, AND MUNICIPAL REQUIREMENTS

You must obtain any required permits and comply with applicable federal, state, and municipal laws, codes, and
regulations for work performed under this award.

ELIGIBLE ENTITY PRIORITIZATION – 40101(d)(5)

In making subawards to eligible entities using funds made available under the program, the Recipient shall give priority to
projects that, in the determination of the Recipient, will generate the greatest community benefit (whether rural or urban) in
reducing the likelihood and consequences of disruptive events.



SMALL UTILITIES SET ASIDE – 40101(d)(6)

The Recipient shall ensure that, of the amounts made available to eligible entities, the percentage made available to eligible
entities that sell not more than 4,000,000 megawatt hours of electricity per year is not less than the percentage of all
customers in the Recipient State or Indian Tribe (as applicable) that are served by those eligible entities.


TECHNICAL ASSISTANCE AND ADMINISTRATIVE EXPENSES – 40101(d)(7)

Of the amounts made available to the Recipient under the program each fiscal year, the Recipient may use not more than 5
percent for technical assistance (see BIL Section 40101(g)(1)(A)) and administrative expenses associated with the program.


NOTICE REGARDING THE PURCHASE OF AMERICAN-MADE EQUIPMENT AND PRODUCTS -- SENSE
OF CONGRESS

It is the sense of the Congress that, to the greatest extent practicable, all equipment and products purchased with funds
made available under this award should be American-made.



                                                                                                                            11
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 50 of 556
                                                    PageID #: 5980
                                                                                                    DE-GD0000006/0000

INSURANCE COVERAGE (DECEMBER 2014)

See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or improved with Federal funds.



REAL PROPERTY – GRID RESILIENCE

Acquisition of land or easements is not permitted under this grant program. Improvements to real property for the
purpose of grid hardening or resilience is not considered acquisition of real property for the purpose of this grant program,
and therefore may be permitted.


EQUIPMENT (DECEMBER 2014)

Subject to the conditions provided in 2 CFR Part 200.313, title to equipment (property) acquired under a Federal award
will vest conditionally with the non-Federal entity.

The non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR Part 200.313 before
disposing of the property.

States must use equipment acquired under a Federal award by the state in accordance with state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was acquired as long as it is
needed, whether or not the project or program continues to be supported by the Federal award. When no longer needed for
the originally authorized purpose, the equipment may be used by programs supported by the Federal awarding agency in
the priority order specified in 2 CFR Part 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are provided in 2 CFR Part
200.313(d).

When equipment acquired under a Federal award is no longer needed, the non-Federal entity must obtain disposition
instructions from the Federal awarding agency or pass-through entity.

Disposition will be made as follows: (a) items of equipment with a current fair market value of $5,000 or less may be
retained, sold, or otherwise disposed of with no further obligation to the Federal awarding agency; (b) Non-Federal entity
may retain title or sell the equipment after compensating the Federal awarding agency as described in 2 CFR Part
200.313(e)(2); or (c) transfer title to the Federal awarding agency or to an eligible third Party as specified in CFR Part
200.313(e)(3).

See 2 CFR Part 200.313 for additional requirements pertaining to equipment acquired under a Federal award. Also see 2
CFR Part 200.439 Equipment and other capital expenditures.

See 2 CFR Part 910.360 for amended requirements for Equipment for For-Profit recipients.

SUPPLIES (DECEMBER 2014)

See 2 CFR Part 200.314 for requirements pertaining to supplies acquired under a Federal award.

See also § 200.453 Materials and supplies costs, including costs of computing devices.

CONTINUED USE OF REAL PROPERTY AND EQUIPMENT (OCTOBER 2022)

                                                                                                                          12
         Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 51 of 556
                                                    PageID #: 5981
                                                                                                     DE-GD0000006/0000

Real property and equipment purchased with project funds (federal share and recipient cost share) under this Award are
subject to the requirements at 2 CFR 200.311, 200.313, and 200.316 (non-Federal entities, except for-profit entities) and 2
CFR 910.360 (for-profit entities). The Recipient may continue to use the real property and equipment after the conclusion
of the award period of performance so long as the Recipient:

    a.   Continues to use the property for the authorized project purposes;
    b.   Complies with the applicable reporting requirements and regulatory property standards;
    c.   As applicable to for-profit entities, UCC filing statements are maintained; and
    d.   Submits a written Request for Continued Use for DOE authorization, which is approved by the DOE Contracting
         Officer.

The Recipient must request authorization from the Contracting Officer to continue to use the property for the authorized
project purposes beyond the award period of performance (“Request for Continued Use”). The Recipient’s written
Request for Continued Use must identify the property and include: a summary of how the property will be used (must
align with the authorized project purposes); a proposed use period (e.g., perpetuity, until fully depreciated, or a calendar
date where the Recipient expects to submit disposition instructions); acknowledgement that the recipient shall not sell or
encumber the property or permit any encumbrance without prior written DOE approval; current fair market value of the
property; and an Estimated Useful Life or depreciation schedule for equipment.

When the property is no longer needed for authorized project purposes, the Recipient must request disposition instructions
from DOE. For-profit entity disposition requirements are set forth at 2 CFR 910.360. Property disposition requirements
for other non-federal entities are set forth in 2 CFR 200.310-200.316.

PROPERTY TRUST RELATIONSHIP (DECEMBER 2014)

Real property, equipment, and intangible property, that are acquired or improved with a Federal award must be held in
trust by the non-Federal entity as trustee for the beneficiaries of the project or program under which the property was
acquired or improved.

See 2 CFR Part 200.316 for additional requirements pertaining to real property, equipment, and intangible property
acquired or improved under a Federal award.

INSOLVENCY, BANKRUPTCY OR RECEIVERSHIP

The Recipient must include the insolvency, bankruptcy or receivership term in any for-profit/non-profit sub-
award(s), at any tier.

a. You shall immediately notify the DOE of the occurrence of any of the following events: (i) you or your parent's filing
of a voluntary case seeking liquidation or reorganization under the Bankruptcy Act; (ii) your consent to the institution of
an involuntary case under the Bankruptcy Act against you or your parent; (iii) the filing of any similar proceeding for or
against you or your parent, or its consent to, the dissolution, winding-up or readjustment of your debts, appointment of a
receiver, conservator, trustee, or other officer with similar powers over you, under any other applicable state or federal
law; or (iv) your insolvency due to your inability to pay your debts generally as they become due.

b. Such notification shall be in writing and shall: (i) specifically set out the details of the occurrence of an event
referenced in paragraph a; (ii) provide the facts surrounding that event; and (iii) provide the impact such event will have
on the project being funded by this award.

c. Upon the occurrence of any of the four events described in the first paragraph, DOE reserves the right to conduct a
review of your award to determine your compliance with the required elements of the award (including such items as cost
share, progress towards technical project objectives, and submission of required reports). If the DOE review determines

                                                                                                                           13
        Case 1:25-cv-00039-JJM-PAS                   Document 68-123       Filed 02/07/25       Page 52 of 556
                                                       PageID #: 5982
                                                                                                   DE-GD0000006/0000

that there are significant deficiencies or concerns with your performance under the award, DOE reserves the right to
impose additional requirements, as needed, including (i) change your payment method; or (ii) institute payment controls.

d. Failure of the Recipient to comply with this term may be considered a material noncompliance of this financial
assistance award by the Contracting Officer.

PERFORMANCE OF WORK IN UNITED STATES

The Recipient agrees that at least 100% of the direct labor cost for the project (including subrecipient labor) shall be
incurred in the United States, unless the Recipient can demonstrate to the satisfaction of the DOE that the United States
economic interest will be better served through a greater percentage of the work being performed outside the United
States.

REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

a. Reporting of first-tier subawards.

1. Applicability. Unless you are exempt as provided in paragraph d. of this award term, you must report each action that
obligates $30,000 or more in Federal funds that does not include Recovery funds (as defined in section 1512(a)(2) of the
American Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity (see definitions in
paragraph e. of this award term).

2. Where and when to report.

   i. You must report each obligating action described in paragraph a.1. of this award term to http://www.fsrs.gov.

   ii. For subaward information, report no later than the end of the month following the month in which the obligation
was made. (For example, if the obligation was made on November 7, 2010, the obligation must be reported by no later
than December 31, 2010.)

3. What to report. You must report the information about each obligating action that the submission instructions posted at
http://www.fsrs.gov specify.

b. Reporting Total Compensation of Recipient Executives.

1. Applicability and what to report. You must report total compensation for each of your five most highly compensated
executives for the preceding completed fiscal year, if

   i. the total Federal funding authorized to date under this award is $30,000 or more;

   ii. in the preceding fiscal year, you received;

      (A) 80 percent or more of your annual gross revenues from Federal procurement contracts (and subcontracts) and
Federal financial assistance subject to the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and

      (B) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and subcontracts) and
Federal financial assistance subject to the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and

    iii. The public does not have access to information about the compensation of the executives through periodic reports
filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of
the Internal Revenue Code of 1986. (To determine if the public has access to the compensation information, see the U.S.
Security and Exchange Commission total compensation filings at http://www.sec.gov/answers/execomp.htm.)

                                                                                                                            14
         Case 1:25-cv-00039-JJM-PAS                Document 68-123              Filed 02/07/25   Page 53 of 556
                                                     PageID #: 5983
                                                                                                    DE-GD0000006/0000

2. Where and when to report. You must report executive total compensation described in paragraph b.1. of this award
term:

   i. As part of your registration profile at http://www.sam.gov.

   ii. By the end of the month following the month in which this award is made, and annually thereafter.

c. Reporting of Total Compensation of Subrecipient Executives.

1. Applicability and what to report. Unless you are exempt as provided in paragraph d. of this award term, for each first-
tier subrecipient under this award, you shall report the names and total compensation of each of the subrecipient's five
most highly compensated executives for the subrecipient's preceding completed fiscal year, if;

   i. in the subrecipient's preceding fiscal year, the subrecipient received;

      (A) 80 percent or more of its annual gross revenues from Federal procurement contracts (and subcontracts) and
Federal financial assistance subject to the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and

      (B) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and subcontracts), and
Federal financial assistance subject to the Transparency Act (and subawards); and

    ii. The public does not have access to information about the compensation of the executives through periodic reports
filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of
the Internal Revenue Code of 1986. (To determine if the public has access to the compensation information, see the U.S.
Security and Exchange Commission total compensation filings at http://www.sec.gov/answers/execomp.htm. )

2. Where and when to report. You must report subrecipient executive total compensation described in paragraph c.1. of
this award term:

   i. To the recipient.

   ii. By the end of the month following the month during which you make the subaward. For example, if a subaward is
obligated on any date during the month of October of a given year ( i.e., between October 1 and 31), you must report any
required compensation information of the subrecipient by November 30 of that year.

d. Exemptions

If, in the previous tax year, you had gross income, from all sources, under $300,000, you are exempt from the
requirements to report:

   i. Subawards,

   and

   ii. The total compensation of the five most highly compensated executives of any subrecipient.

e. Definitions. For purposes of this award term:

1. Entity means all of the following, as defined in 2 CFR part 25:

   i. A Governmental organization, which is a State, local government, or Indian tribe;


                                                                                                                         15
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 54 of 556
                                                    PageID #: 5984
                                                                                                    DE-GD0000006/0000

   ii. A foreign public entity;

   iii. A domestic or foreign nonprofit organization;

   iv. A domestic or foreign for-profit organization;

   v. A Federal agency, but only as a subrecipient under an award or subaward to a non-Federal entity.

2. Executive means officers, managing partners, or any other employees in management positions.

3. Subaward:

   i. This term means a legal instrument to provide support for the performance of any portion of the substantive project
or program for which you received this award and that you as the recipient award to an eligible subrecipient.

   ii. The term does not include your procurement of property and services needed to carry out the project or program (for
further explanation, see Sec. __ .210 of the attachment to OMB Circular A-133, Audits of States, Local Governments, and
Non-Profit Organizations).

   iii. A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
considers a contract.

4. Subrecipient means an entity that:

   i. Receives a subaward from you (the recipient) under this award; and

   ii. Is accountable to you for the use of the Federal funds provided by the subaward.

5. Total compensation means the cash and noncash dollar value earned by the executive during the recipient's or
subrecipient's preceding fiscal year and includes the following (for more information see 17 CFR 229.402(c)(2)):

   i. Salary and bonus.

    ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount recognized for financial
statement reporting purposes with respect to the fiscal year in accordance with the Statement of Financial Accounting
Standards No. 123 (Revised 2004) (FAS 123R), Shared Based Payments.

  iii. Earnings for services under non-equity incentive plans. This does not include group life, health, hospitalization or
medical reimbursement plans that do not discriminate in favor of executives, and are available generally to all salaried
employees.

   iv. Change in pension value. This is the change in present value of defined benefit and actuarial pension plans.

   v. Above-market earnings on deferred compensation which is not tax-qualified.

   vi. Other compensation, if the aggregate value of all such other compensation (e.g. severance, termination payments,
value of life insurance paid on behalf of the employee, perquisites or property) for the executive exceeds $10,000.

SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

A. Requirement for System for Award Management (SAM) Unless exempted from this requirement under 2 CFR 25.110,
the prime recipient must remain registered and maintain current information in SAM for the entire period of performance

                                                                                                                          16
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123          Filed 02/07/25        Page 55 of 556
                                                     PageID #: 5985
                                                                                                     DE-GD0000006/0000

of the award. This includes providing information on the prime recipient’s immediate and highest level owner and
subsidiaries, as well as on all of its predecessors that have been awarded a Federal contract or Federal financial assistance
agreements within the last three years, if applicable, until the prime recipient submits the final financial report required
under this award or receives the final payment, whichever is later. This requires the prime recipient to review its
information in SAM at least annually after the initial registration, and to update its information as soon as there are
changes. Reviews and updates may be required more frequently due to changes in recipient information or as required by
another award term.

B. Requirement for Unique Entity Identifier

If authorized to make subawards under this award, the prime recipient:

   1. Must notify potential subrecipients that no entity (see definition in paragraph C of this award term) may receive a
subaward until the entity has provided its unique entity identifier to the prime recipient.

   2. Must not make a subaward to an entity unless the entity has provided its unique entity identifier to the prime
recipient. Subrecipients are not required to obtain an active SAM registration, but must obtain a unique entity identifier.

C. Definitions

For purposes of this term:

   1. System for Award Management (SAM) means the Federal repository into which a recipient must provide
information required for the conduct of business as a recipient. Additional information about registration procedures may
be found at the SAM internet site (currently at https://www.sam.gov).

   2. Unique Entity Identifier means the identifier assigned by SAM to uniquely identify business entities.

   3. Entity includes non-Federal entities as defined at 2 CFR 200.1 and also includes all of the following for purposes of
this part:

      a. A foreign organization;

      b. A foreign public entity;

      c. A domestic for-profit organization; and

      d. A Federal agency.

   4. Subaward has the meaning given in 2 CFR 200.1.

   5. Subrecipient has the meaning given in 2 CFR 200.1.

FINAL INCURRED COST AUDIT (DECEMBER 2014)

In accordance with 2 CFR Part 200 as amended by 2 CFR Part 910, DOE reserves the right to initiate a final incurred cost
audit on this award. If the audit has not been performed or completed prior to the closeout of the award, DOE retains the
right to recover an appropriate amount after fully considering the recommendations on disallowed costs resulting from the
final audit.




                                                                                                                              17
         Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 56 of 556
                                                      PageID #: 5986
                                                                                                        DE-GD0000006/0000



INDEMNITY

The Recipient must include the following indemnity provision in any sub-awards to eligible entities performing the
resilience projects at any tier:

The Colorado Energy Office shall indemnify the Government and its officers, agents, or employees for any and all
liability, including litigation expenses and attorneys' fees, arising from suits, actions, or claims of any character for death,
bodily injury, or loss of or damage to property or to the environment, resulting from the project, except to the extent that
such liability results from the direct fault or negligence of Government officers, agents or employees, or to the extent such
liability may be covered by applicable allowable costs provisions.

LOBBYING RESTRICTIONS (MARCH 2012)

By accepting funds under this award, you agree that none of the funds obligated on the award shall be expended, directly
or indirectly, to influence congressional action on any legislation or appropriation matters pending before Congress, other
than to communicate to Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.

CORPORATE FELONY CONVICTION AND FEDERAL TAX LIABILITY ASSURANCES (MARCH 2014)

By entering into this agreement, the undersigned attests that Colorado Energy Office has not been convicted of a felony
criminal violation under Federal law in the 24 months preceding the date of signature.

The undersigned further attests that Colorado Energy Office does not have any unpaid Federal tax liability that has been
assessed, for which all judicial and administrative remedies have been exhausted or have lapsed, and that is not being paid
in a timely manner pursuant to an agreement with the authority responsible for collecting the tax liability.

For purposes of these assurances, the following definitions apply:

A Corporation includes any entity that has filed articles of incorporation in any of the 50 states, the District of Columbia,
or the various territories of the United States [but not foreign corporations]. It includes both for-profit and non-profit
organizations.

NONDISCLOSURE AND CONFIDENTIALITY AGREEMENTS ASSURANCES (JUNE 2015)

(1) By entering into this agreement, the undersigned attests that Colorado Energy Office does not and will not require its
employees or contractors to sign internal nondisclosure or confidentiality agreements or statements prohibiting or
otherwise restricting its employees or contactors from lawfully reporting waste, fraud, or abuse to a designated
investigative or law enforcement representative of a Federal department or agency authorized to receive such information.

(2) The undersigned further attests that does not and will not use any Federal funds to implement or enforce any
nondisclosure and/or confidentiality policy, form, or agreement it uses unless it contains the following provisions:

   a.‘‘These provisions are consistent with and do not supersede, conflict with, or otherwise alter the employee
obligations, rights, or liabilities created by existing statute or Executive order relating to (1) classified information, (2)
communications to Congress, (3) the reporting to an Inspector General of a violation of any law, rule, or regulation, or
mismanagement, a gross waste of funds, an abuse of authority, or a substantial and specific danger to public health or
safety, or (4) any other whistleblower protection. The definitions, requirements, obligations, rights, sanctions, and



                                                                                                                                 18
        Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25       Page 57 of 556
                                                    PageID #: 5987
                                                                                                     DE-GD0000006/0000

liabilities created by controlling Executive orders and statutory provisions are incorporated into this agreement and are
controlling.’’

   b. The limitation above shall not contravene requirements applicable to Standard Form 312, Form 4414, or any other
form issued by a Federal department or agency governing the nondisclosure of classified information.

   c. Notwithstanding provision listed in paragraph (a), a nondisclosure or confidentiality policy form or agreement that is
to be executed by a person connected with the conduct of an intelligence or intelligence-related activity, other than an
employee or officer of the United States Government, may contain provisions appropriate to the particular activity for
which such document is to be used. Such form or agreement shall, at a minimum, require that the person will not disclose
any classified information received in the course of such activity unless specifically authorized to do so by the United
States Government. Such nondisclosure or confidentiality forms shall also make it clear that they do not bar disclosures to
Congress, or to an authorized official of an executive agency or the Department of Justice, that are essential to reporting a
substantial violation of law.

REPORTING OF MATTERS RELATED TO RECIPIENT INTEGRITY AND PERFORMANCE (DECEMBER
2015)

a. General Reporting Requirement

If the total value of your currently active grants, cooperative agreements, and procurement contracts from all Federal
awarding agencies exceeds $10,000,000 for any period of time during the period of performance of this Federal award,
then you as the recipient during that period of time must maintain the currency of information reported to the System for
Award Management (SAM) that is made available in the designated integrity and performance system (currently the
Federal Awardee Performance and Integrity Information System (FAPIIS)) about civil, criminal, or administrative
proceedings described in paragraph 2 of this award term and condition. This is a statutory requirement under section 872
of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law 111-212, all
information posted in the designated integrity and performance system on or after April 15, 2011, except past performance
reviews required for Federal procurement contracts, will be publicly available.

b. Proceedings About Which You Must Report

Submit the information required about each proceeding that:

1. Is in connection with the award or performance of a grant, cooperative agreement, or procurement contract from the
Federal Government;

2. Reached its final disposition during the most recent five year period; and

3. Is one of the following:

  (A) A criminal proceeding that resulted in a conviction, as defined in paragraph 5 of this award term and condition;

   (B) A civil proceeding that resulted in a finding of fault and liability and payment of a monetary fine, penalty,
reimbursement, restitution, or damages of $5,000 or more;

   (C) An administrative proceeding, as defined in paragraph 5. of this award term and condition, that resulted in a finding
of fault and liability and your payment of either a monetary fine or penalty of $5,000 or more or reimbursement,
restitution, or damages in excess of $100,000; or

  (D) Any other criminal, civil, or administrative proceeding if:


                                                                                                                            19
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 58 of 556
                                                    PageID #: 5988
                                                                                                    DE-GD0000006/0000

      (i) It could have led to an outcome described in paragraph 2.c.(1), (2), or (3) of this award term and condition;

      (ii) It had a different disposition arrived at by consent or compromise with an acknowledgment of fault on your part;
and

      (iii) The requirement in this award term and condition to disclose information about the proceeding does not
conflict with applicable laws and regulations.

c. Reporting Procedures

Enter in the SAM Entity Management area the information that SAM requires about each proceeding described in
paragraph 2 of this award term and condition. You do not need to submit the information a second time under assistance
awards that you received if you already provided the information through SAM because you were required to do so under
Federal procurement contracts that you were awarded.

d. Reporting Frequency

During any period of time when you are subject to the requirement in paragraph 1 of this award term and condition, you
must report proceedings information through SAM for the most recent five year period, either to report new information
about any proceeding(s) that you have not reported previously or affirm that there is no new information to report.
Recipients that have Federal contract, grant, and cooperative agreement awards with a cumulative total value greater than
$10,000,000 must disclose semiannually any information about the criminal, civil, and administrative proceedings.

e. Definitions

For purposes of this award term and condition:

1. Administrative proceeding means a non-judicial process that is adjudicatory in nature in order to make a determination
of fault or liability (e.g., Securities and Exchange Commission Administrative proceedings, Civilian Board of Contract
Appeals proceedings, and Armed Services Board of Contract Appeals proceedings). This includes proceedings at the
Federal and State level but only in connection with performance of a Federal contract or grant. It does not include audits,
site visits, corrective plans, or A. Reporting of Matters Related to Recipient Integrity and Performance.

2. Conviction, for purposes of this award term and condition, means a judgment or conviction of a criminal offense by any
court of competent jurisdiction, whether entered upon a verdict or a plea, and includes a conviction entered upon a plea of
nolo contendere.

3. Total value of currently active grants, cooperative agreements, and procurement contracts includes—

  (A) Only the Federal share of the funding under any Federal award with a recipient cost share or match; and

  (B) The value of all expected funding increments under a Federal award and options, even if not yet

EXPORT CONTROL (MARCH 2023)

The United States government regulates the transfer of information, commodities, technology, and software considered to
be strategically important to the U.S. to protect national security, foreign policy, and economic interests without imposing
undue regulatory burdens on legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” The Recipient is responsible for ensuring
compliance with all applicable United States Export Control laws and regulations relating to any work performed under
the award, including subrecipient work.


                                                                                                                          20
        Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 59 of 556
                                                    PageID #: 5989
                                                                                                      DE-GD0000006/0000

The Recipient must immediately report to DOE any export control violations related to the project funded under this
award, at the recipient or subrecipient level, and provide the corrective action(s) to prevent future violations.


PROHIBITION ON CERTAIN TELECOMMUNICATIONS AND VIDEO SURVEILLANCE SERVICES OR
EQUIPMENT (MARCH 2023)

As set forth in 2 CFR 200.216, recipients and subrecipients are prohibited from obligating or expending project funds
(Federal and non-Federal funds) to:

     (1) Procure or obtain;

     (2) Extend or renew a contract to procure or obtain; or

     (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment, services, or systems that uses
     covered telecommunications equipment or services as a substantial or essential component of any system, or as
     critical technology as part of any system. As described in Public Law 115-232, section 889, covered
     telecommunications equipment is telecommunications equipment produced by Huawei Technologies Company or
     ZTE Corporation (or any subsidiary or affiliate of such entities).

           (i) For the purpose of public safety, security of government facilities, physical security surveillance of critical
           infrastructure, and other national security purposes, video surveillance and telecommunications equipment
           produced by Hytera Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
           Dahua Technology Company (or any subsidiary or affiliate of such entities).

           (ii) Telecommunications or video surveillance services provided by such entities or using such equipment.

           (iii) Telecommunications or video surveillance equipment or services produced or provided by an entity that
           the Secretary of Defense, in consultation with the Director of the National Intelligence or the Director of the
           Federal Bureau of Investigation, reasonably believes to be an entity owned or controlled by, or otherwise
           connected to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.



PROHIBITION RELATED TO FOREIGN GOVERNMENT-SPONSORED TALENT RECRUITMENT
PROGRAMS (MARCH 2023)


A.      Prohibition
        Persons participating in a Foreign Government-Sponsored Talent Recruitment Program of a Foreign Country of
        Risk are prohibited from participating in this Award. The Recipient must exercise ongoing due diligence to
        reasonably ensure that no individuals participating on the DOE-funded project are participating in a Foreign
        Government-Sponsored Talent Recruitment Program of a Foreign Country of Risk. Consequences for violations
        of this prohibition will be determined according to applicable law, regulations, and policy. Further, the Recipient
        must notify DOE within five (5) business days upon learning that an owner of the Recipient or subrecipient or
        individual on the project team is or is believed to be participating in a Foreign Government-Sponsored Talent
        Recruitment Program of a Foreign Country of Risk. DOE may modify and add requirements related to this
        prohibition to the extent required by law.


                                                                                                                             21
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 60 of 556
                                                     PageID #: 5990
                                                                                                       DE-GD0000006/0000

B.      Definitions

        1.       Foreign Government-Sponsored Talent Recruitment Program. An effort directly or indirectly
                 organized, managed, or funded by a foreign government, or a foreign government instrumentality or
                 entity, to recruit science and technology professionals or students (regardless of citizenship or national
                 origin, or whether having a full-time or part-time position). Some foreign government-sponsored talent
                 recruitment programs operate with the intent to import or otherwise acquire from abroad, sometimes
                 through illicit means, proprietary technology or software, unpublished data and methods, and intellectual
                 property to further the military modernization goals and/or economic goals of a foreign government.
                 Many, but not all, programs aim to incentivize the targeted individual to relocate physically to the foreign
                 state for the above purpose. Some programs allow for or encourage continued employment at United
                 States research facilities or receipt of federal research funds while concurrently working at and/or
                 receiving compensation from a foreign institution, and some direct participants not to disclose their
                 participation to U.S. entities. Compensation could take many forms including cash, research funding,
                 complimentary foreign travel, honorific titles, career advancement opportunities, promised future
                 compensation, or other types of remuneration or consideration, including in-kind compensation.

        2.       Foreign Country of Risk. DOE has designated the following countries as foreign countries of risk: Iran,
                 North Korea, Russia, and China. This list is subject to change.


IMPLEMENTATION OF EXECUTIVE ORDER 13798, PROMOTING FREE SPEECH AND RELIGIOUS
LIBERTY (NOVEMBER 2020)

States, local governments, or other public entities may not condition sub-awards in a manner that would discriminate, or
disadvantage sub-recipients based on their religious character.

INTERIM CONFLICT OF INTEREST REQUIREMENTS FOR FINANCIAL ASSISTANCE (MARCH 2023)

The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-requirements-financial-
assistance. This policy is applicable to all non-Federal entities applying for, or that receive, DOE funding by means of a
financial assistance award (e.g., a grant, cooperative agreement, or technology investment agreement) and, through the
implementation of this policy by the entity, to each Investigator who is planning to participate in, or is participating in, the
project funded wholly or in part under this Award. The term “Investigator” means the PI and any other person, regardless
of title or position, who is responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
proposed for funding by DOE. The Recipient must flow down the requirements of the interim COI Policy to any
subrecipient non-Federal entities, with the exception of DOE National Laboratories. Further, the Recipient must identify
all financial conflicts of interests (FCOI), i.e., managed and unmanaged/ unmanageable, in its initial and ongoing FCOI
reports.

Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award completed their significant
financial disclosures; 2) review the disclosures; 3) determine whether a FCOI exists; 4) develop and implement a
management plan for FCOIs; and 5) provide DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be in full compliance with the
other requirements set forth in DOE’s interim COI Policy.


FRAUD, WASTE AND ABUSE (MARCH 2023)

The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity, economy and efficiency of
DOE’s programs and operations including deterring and detecting fraud, waste, abuse and mismanagement. The OIG

                                                                                                                             22
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 61 of 556
                                                    PageID #: 5991
                                                                                                    DE-GD0000006/0000

accomplishes this mission primarily through investigations, audits, and inspections of Department of Energy activities to
include grants, cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting allegations of
fraud, waste, abuse, or mismanagement. To report such allegations, please visit https://www.energy.gov/ig/ig‐hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR § 200.113 Mandatory disclosures, which
states:

        The non‐Federal entity or applicant for a Federal award must disclose, in a timely manner, in writing
        to the Federal awarding agency or pass‐through entity all violations of Federal criminal law involving
        fraud, bribery, or gratuity violations potentially affecting the Federal award. Non‐Federal entities that
        have received a Federal award including the term and condition outlined in appendix XII of 2 CFR
        Part 200 are required to report certain civil, criminal, or administrative proceedings to SAM (currently
        FAPIIS). Failure to make required disclosures can result in any of the remedies described in §
        200.339. (See also 2 CFR part 180, 31 U.S.C. 3321, and 41 U.S.C. 2313.)


TRANSPARENCY OF FOREIGN CONNECTIONS (MARCH 2023)

During the term of the Award, the Recipient must notify the DOE Contracting Officer within fifteen (15) business days of
learning of the following circumstances in relation to the Recipient or subrecipients:

        1.      The existence of any joint venture or subsidiary that is based in, funded by, or has a foreign affiliation
                with any foreign country of risk;
        2.      Any current or pending contractual or financial obligation or other agreement specific to a business
                arrangement, or joint venture-like arrangement with an enterprise owned by a country of risk or foreign
                entity based in a country of risk;
        3.      Any current or pending change in ownership structure of the Recipient or subrecipients that increases
                foreign ownership related to a country of risk;
        4.      Any current or pending venture capital or institutional investment by an entity that has a general partner
                or individual holding a leadership role in such entity who has a foreign affiliation with any foreign
                country of risk;
        5.      Any current or pending technology licensing or intellectual property sales to a foreign country of risk; and
        6.      Any current or pending foreign business entity, offshore entity, or entity outside the United States related
                to the Recipient or subrecipient.


FOREIGN COLLABORATION CONSIDERATIONS (MARCH 2023)

A.      Consideration of new collaborations with foreign organizations and governments. The Recipient must provide
        DOE with advanced written notification of any potential collaboration with foreign entities, organizations or
        governments in connection with its DOE-funded award scope. The Recipient must await further guidance from
        DOE prior to contacting the proposed foreign entity, organization or government regarding the potential
        collaboration or negotiating the terms of any potential agreement.

B.      Existing collaborations with foreign entities, organizations and governments. The Recipient must provide DOE
        with a written list of all existing foreign collaborations in which has entered in connection with its DOE-funded
        award scope.

C.      Description of collaborations that should be reported: In general, a collaboration will involve some provision of a
        thing of value to, or from, the Recipient. A thing of value includes but may not be limited to all resources made
        available to, or from, the recipient in support of and/or related to the Award, regardless of whether or not they


                                                                                                                            23
     Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 62 of 556
                                                 PageID #: 5992
                                                                                                 DE-GD0000006/0000

     have monetary value. Things of value also may include in-kind contributions (such as office/laboratory space,
     data, equipment, supplies, employees, students). In-kind contributions not intended for direct use on the Award
     but resulting in provision of a thing of value from or to the Award must also be reported. Collaborations do not
     include routine workshops, conferences, use of the Recipient’s services and facilities by foreign investigators
     resulting from its standard published process for evaluating requests for access, or the routine use of foreign
     facilities by awardee staff in accordance with the Recipient’s standard policies and procedures.

BUY AMERICAN REQUIREMENTS FOR INFRASTRUCTURE PROJECTS (MARCH 2023)

A.   Definitions

     Components are defined as the articles, materials, or supplies incorporated directly into the end manufactured
     product(s).

     Construction Materials are an article, material, or supply—other than an item primarily of iron or steel; a
     manufactured product; cement and cementitious materials; aggregates such as stone, sand, or gravel; or aggregate
     binding agents or additives—that is used in an infrastructure project and is or consists primarily of non-ferrous
     metals, plastic and polymer-based products (including polyvinylchloride, composite building materials, and
     polymers used in fiber optic cables), glass (including optic glass), lumber, drywall, coatings (paints and stains),
     optical fiber, clay brick; composite building materials; or engineered wood products.

     Domestic Content Procurement Preference Requirement- means a requirement that no amounts made
     available through a program for federal financial assistance may be obligated for an infrastructure project
     unless—
             (A) all iron and steel used in the project are produced in the United States;
             (B) the manufactured products used in the project are produced in the United States; or
             (C) the construction materials used in the project are produced in the United States.
             Also referred to as the Buy America Requirement.

     Infrastructure includes, at a minimum, the structures, facilities, and equipment located in the United States, for:
     roads, highways, and bridges; public transportation; dams, ports, harbors, and other maritime facilities; intercity
     passenger and freight railroads; freight and intermodal facilities; airports; water systems, including drinking water
     and wastewater systems; electrical transmission facilities and systems; utilities; broadband infrastructure; and
     buildings and real property; and generation, transportation, and distribution of energy -including electric vehicle
     (EV) charging.

     The term “infrastructure” should be interpreted broadly, and the definition provided above should be considered
     as illustrative and not exhaustive.

     Manufactured Products are items used for an infrastructure project made up of components that are not
     primarily of iron or steel; construction materials; cement and cementitious materials’ aggregates such as stone,
     sand, or gravel; or aggregate binding agents or additives.

     Primarily of iron or steel means greater than 50% iron or steel, measured by cost.

     Project- means the construction, alteration, maintenance, or repair of infrastructure in the United States.

     Public- The Buy America Requirement does not apply to non-public infrastructure. For purposes of this guidance,
     infrastructure should be considered “public” if it is: (1) publicly owned or (2) privately owned but utilized
     primarily for a public purpose. Infrastructure should be considered to be “utilized primarily for a public purpose”
     if it is privately operated on behalf of the public or is a place of public accommodation.

                                                                                                                        24
     Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 63 of 556
                                                PageID #: 5993
                                                                                                DE-GD0000006/0000


B.   Buy America Requirement

     None of the funds provided under this award (federal share or recipient cost-share) may be used for a project for
     infrastructure unless:

             1. All iron and steel used in the project is produced in the United States—this means all manufacturing
                processes, from the initial melting stage through the application of coatings, occurred in the United
                States;

             2. All manufactured products used in the project are produced in the United States—this means the
                manufactured product was manufactured in the United States; and the cost of the components of the
                manufactured product that are mined, produced, or manufactured in the United States is greater than
                55 percent of the total cost of all components of the manufactured product, unless another standard
                for determining the minimum amount of domestic content of the manufactured product has been
                established under applicable law or regulation; and

             3. All construction materials are manufactured in the United States—this means that all manufacturing
                processes for the construction material occurred in the United States.

     The Buy America Requirement only applies to articles, materials, and supplies that are consumed in, incorporated
     into, or permanently affixed to an infrastructure project. As such, it does not apply to tools, equipment, and
     supplies, such as temporary scaffolding, brought into the construction site and removed at or before the
     completion of the infrastructure project. Nor does a Buy America Requirement apply to equipment and
     furnishings, such as movable chairs, desks, and portable computer equipment, that are used at or within the
     finished infrastructure project but are not an integral part of the structure or permanently affixed to the
     infrastructure project.

     Recipients are responsible for administering their award in accordance with the terms and conditions, including
     the Buy America Requirement. The recipient must ensure that the Buy America Requirement flows down to all
     subawards and that the subawardees and subrecipients comply with the Buy America Requirement. The Buy
     America Requirement term and condition must be included all sub-awards, contracts, subcontracts, and purchase
     orders for work performed under the infrastructure project.

C.   Certification of Compliance

     The Recipient must certify or provide equivalent documentation for proof of compliance that a good faith effort
     was made to solicit bids for domestic products used in the infrastructure project under this Award.

     The Recipient must also maintain certifications or equivalent documentation for proof of compliance that those
     articles, materials, and supplies that are consumed in, incorporated into, affixed to, or otherwise used in the
     infrastructure project, not covered by a waiver or exemption, are produced in the United States. The certification
     or proof of compliance must be provided by the suppliers or manufacturers of the iron, steel, manufactured
     products and construction materials and flow up from all subawardees, contractors and vendors to the Recipient.
     The Recipient must keep these certifications with the award/project files and be able to produce them upon
     request from DOE, auditors or Office of Inspector General.

D.   Waivers

     When necessary, the Recipient may apply for, and DOE may grant, a waiver from the Buy America Requirement.
     Requests to waive the application of the Buy America Requirement must be in writing to the Contracting Officer.

                                                                                                                       25
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 64 of 556
                                           PageID #: 5994
                                                                                           DE-GD0000006/0000

Waiver requests are subject to review by DOE and the Office of Management and Budget, as well as a public
comment period of no less than 15 calendar days.

Waivers must be based on one of the following justifications:

        1. Public Interest- Applying the Buy America Requirement would be inconsistent with the public
           interest;

        2. Non-Availability- The types of iron, steel, manufactured products, or construction materials are not
           produced in the United States in sufficient and reasonably available quantities or of a satisfactory
           quality; or

        3. Unreasonable Cost- The inclusion of iron, steel, manufactured products, or construction materials
           produced in the United States will increase the cost of the overall project by more than 25 percent.

Requests to waive the Buy America Requirement must include the following:

        •   Waiver type (Public Interest, Non-Availability, or Unreasonable Cost);
        •   Recipient name and Unique Entity Identifier (UEI);
        •   Award information (Federal Award Identification Number, Assistance Listing number);
        •   A brief description of the project, its location, and the specific infrastructure involved;
        •   Total estimated project cost, with estimated federal share and recipient cost share breakdowns;
        •   Total estimated infrastructure costs, with estimated federal share and recipient cost share breakdowns;
        •   List and description of iron or steel item(s), manufactured goods, and/or construction material(s) the
            recipient seeks to waive from the Buy America Preference, including name, cost, quantity(ies),
            country(ies) of origin, and relevant Product Service Codes (PSC) and North American Industry
            Classification System (NAICS) codes for each;
        •   A detailed justification as to how the non-domestic item(s) is/are essential the project;
        •   A certification that the recipient made a good faith effort to solicit bids for domestic products
            supported by terms included in requests for proposals, contracts, and non-proprietary communications
            with potential suppliers;
        •   A justification statement—based on one of the applicable justifications outlined above—as to why the
            listed items cannot be procured domestically, including the due diligence performed (e.g., market
            research, industry outreach, cost analysis, cost-benefit analysis) by the recipient to attempt to avoid
            the need for a waiver. This justification may cite, if applicable, the absence of any Buy America-
            compliant bids received for domestic products in response to a solicitation; and
        •   Anticipated impact to the project if no waiver is issued.

The Recipient should consider using the following principles as minimum requirements contained in their waiver
request:

        •   Time-limited: Consider a waiver constrained principally by a length of time, rather than by the
            specific project/award to which it applies. Waivers of this type may be appropriate, for example,
            when an item that is “non-available” is widely used in the project. When requesting such a waiver, the
            Recipient should identify a reasonable, definite time frame (e.g., no more than one to two years)
            designed so that the waiver is reviewed to ensure the condition for the waiver (“non-availability”) has
            not changed (e.g., domestic supplies have become more available).

        •   Targeted: Waiver requests should apply only to the item(s), product(s), or material(s) or category(ies)
            of item(s), product(s), or material(s) as necessary and justified. Waivers should not be overly broad as
            this will undermine domestic preference policies.

                                                                                                                  26
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 65 of 556
                                                    PageID #: 5995
                                                                                                     DE-GD0000006/0000


                •    Conditional: The Recipient may request a waiver with specific conditions that support the policies of
                     IIJA/BABA and Executive Order 14017.

        DOE may request, and the Recipient must provide, additional information for consideration of this wavier. DOE
        may reject or grant waivers in whole or in part depending on its review, analysis, and/or feedback from OMB or
        the public. DOEs final determination regarding approval or rejection of the waiver request may not be appealed.
        Waiver requests may take up to 90 calendar days to process.

REPORTING, TRACKING AND SEGREGATION OF INCURRED COSTS (MARCH 2023)

BIL funds can be used in conjunction with other funding, as necessary to complete projects, but tracking and reporting
must be separate to meet the reporting requirements of the BIL and related Office of Management and Budget (OMB)
Guidance. The Recipient must keep separate records for BIL funds and must ensure those records comply with the
requirements of the BIL. Funding provided through the BIL that is supplemental to an existing grant or cooperative
agreement is one-time funding.

DAVIS-BACON REQUIREMENTS (MARCH 2023)


This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers and mechanics employed
by the recipient, subrecipients, contractors or subcontractors in the performance of construction, alteration, or repair work
in excess of $2000 on an award funded directly by or assisted in whole or in part by funds made available under this
award shall be paid wages at rates not less than those prevailing on similar projects in the locality, as determined by the
Secretary of Labor in accordance with subchapter IV of chapter 31 of title 40, United States Code commonly referred to
as the “Davis-Bacon Act” (DBA).

Recipients shall provide written assurance acknowledging the DBA requirements for the award or project and confirming
that all of the laborers and mechanics performing construction, alteration, or repair work in excess of $2000 on projects
funded directly by or assisted in whole or in part by and through funding under the award are paid or will be paid wages
at rates not less than those prevailing on projects of a character similar in the locality as determined by Subchapter IV of
Chapter 31 of Title 40, United States Code (Davis-Bacon Act).

The Recipient must comply with all of the Davis-Bacon Act requirements, including but not limited to:

        (1) ensuring that the wage determination(s) and appropriate Davis-Bacon clauses and requirements are flowed
        down to and incorporated into any applicable subcontracts or subrecipient awards.

        (2) being responsible for compliance by any subcontractor or subrecipient with the Davis-Bacon labor standards.

        (3) receiving and reviewing certified weekly payrolls submitted by all subcontractors and subrecipients for
        accuracy and to identify potential compliance issues.

        (4) maintaining original certified weekly payrolls for 3 years after the completion of the project and must make
        those payrolls available to the DOE or the Department of Labor upon request, as required by 29 CFR 5.6(a)(2).

        (5) conducting payroll and job-site reviews for construction work, including interviews with employees, with such
        frequency as may be necessary to assure compliance by its subcontractors and subrecipients and as requested or
        directed by the DOE.




                                                                                                                           27
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 66 of 556
                                                   PageID #: 5996
                                                                                                   DE-GD0000006/0000

        (6) cooperating with any authorized representative of the Department of Labor in their inspection of records,
        interviews with employees, and other actions undertaken as part of a Department of Labor investigation.

        (7) posting in a prominent and accessible place the wage determination(s) and Department of Labor Publication:
        WH-1321, Notice to Employees Working on Federal or Federally Assisted Construction Projects.

        (8) notifying the Contracting Officer of all labor standards issues, including all complaints regarding incorrect
        payment of prevailing wages and/or fringe benefits, received from the recipient, subrecipient, contractor, or
        subcontractor employees; significant labor standards violations, as defined in 29 CFR 5.7; disputes concerning
        labor standards pursuant to 29 CFR parts 4, 6, and 8 and as defined in FAR 52.222-14; disputed labor standards
        determinations; Department of Labor investigations; or legal or judicial proceedings related to the labor standards
        under this Contract, a subcontract, or subrecipient award.

        (9) preparing and submitting to the Contracting Officer, the Office of Management and Budget Control Number
        1910-5165, Davis Bacon Semi-Annual Labor Compliance Report, by April 21 and October 21 of each year. Form
        submittal will be administered through the iBenefits system (https://doeibenefits2.energy.gov) or its successor
        system.

The Recipient must undergo Davis-Bacon Act compliance training and must maintain competency in Davis-Bacon Act
compliance. The Contracting Officer will notify the Recipient of any DOE sponsored Davis-Bacon Act compliance
trainings. The Department of Labor offers free Prevailing Wage Seminars several times a year that meet this requirement,
at https://www.dol.gov/agencies/whd/government-contracts/construction/seminars/events.

The Department of Energy has contracted with, a third-party DBA electronic payroll compliance software application.
The Recipient must ensure the timely electronic submission of weekly certified payrolls as part of its compliance with the
Davis-Bacon Act unless a waiver is granted to a particular contractor or subcontractor because they are unable or limited
in their ability to use or access the software.

Davis Bacon Act Electronic Certified Payroll Submission Waiver
A waiver must be granted before the award starts. The applicant does not have the right to appeal DOE’s decision
concerning a waiver request.

For additional guidance on how to comply with the Davis-Bacon provisions and clauses, see
https://www.dol.gov/agencies/whd/government-contracts/construction and
https://www.dol.gov/agencies/whd/government-contracts/protections-for-workers-in-construction.


AFFIRMATIVE ACTION AND PAY TRANSPARENCY REQUIREMENTS (MARCH 2023)

All federally assisted construction contracts exceeding $10,000 annually will be subject to the requirements of Executive
Order 11246:

        (1) Recipients, subrecipients, and contractors are prohibited from discriminating in employment decisions on the
        basis of race, color, religion, sex, sexual orientation, gender identity or national origin.

        (2) Recipients and Contractors are required to take affirmative action to ensure that equal opportunity is provided
        in all aspects of their employment. This includes flowing down the appropriate language to all subrecipients,
        contractors and subcontractors.




                                                                                                                         28
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 67 of 556
                                                   PageID #: 5997
                                                                                                   DE-GD0000006/0000

        (3) Recipients, subrecipients, contractors and subcontractors are prohibited from taking adverse employment
        actions against applicants and employees for asking about, discussing, or sharing information about their pay or,
        under certain circumstances, the pay of their co‐workers.

The Department of Labor’s (DOL) Office of Federal Contractor Compliance Programs (OFCCP) uses a neutral process to
schedule contractors for compliance evaluations. OFCCP’s Technical Assistance Guide1 should be consulted to gain an
understanding of the requirements and possible actions the recipients, subrecipients, contractors and subcontractors must
take.

For construction projects valued at $35 million or more and lasting more than one year, Recipients, contractors, or
subcontractors may be selected by OFCCP as a mega construction project. If selected, DOE, under relevant legal
authorities including Sections 205 and 303(a) of Executive Order 11246, will require participation as a condition of the
award. This program offers extensive compliance assistance with EO 11246. For more information regarding this
program, see https://www.dol.gov/agencies/ofccp/construction/mega-program.


POTENTIALLY DUPLICATIVE FUNDING NOTICE (MARCH 2023)

If the Recipient or subrecipients have or receive any other award of federal funds for activities that potentially overlap
with the activities funded under this Award, the Recipient must promptly notify DOE in writing of the potential overlap
and state whether project funds (i.e., recipient cost share and federal funds) from any of those other federal awards have
been, are being, or are to be used (in whole or in part) for one or more of the identical cost items under this Award. If
there are identical cost items, the Recipient must promptly notify the DOE Contracting Officer in writing of the potential
duplication and eliminate any inappropriate duplication of funding.




1 See OFCCP’s Technical Assistance Guide at:

https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG.pdf?msclkid=9e397d68c4b111ec9d8e6fecb6c710ec
. Also see the National Policy Assurances http://www.nsf.gov/awards/managing/rtc.jsp.

                                                                                                                           29
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 68 of 556
                               PageID #: 5998




                 EXHIBIT E
Toor Declaration Exhibit E
      Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25    Page 69 of 556
                                           PageID #: 5999


                               Intellectual Property Provisions (NRD-821)
                                      Nonresearch and Development



      Intellectual property rights are subject to 2 CFR 200.315 (e.g. institution of higher education or
      nonprofit organizations) or 2 CFR 910.362 (e.g. for-profit).
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 70 of 556
                                        PageID #: 6000
                                                                             DE-GD0000006 / 0000

                   ATTACHMENT 2 – STATEMENT OF PROJECT OBJECTIVES

     BIPARTISAN INFRASTRUCTURE LAW (BIL) - PREVENTING OUTAGES AND
            ENHANCING THE RESILIENCE OF THE ELECTRIC GRID


PROJECT OBJECTIVES

This project is in direct support of Section 40101(d) of the Infrastructure Investment and Jobs
Act (i.e., Bipartisan Infrastructure Law (BIL)). The objective of this project is to improve the
resilience of the electric grid against disruptive events. Per BIL Section 40101(a)(1), a disruptive
event is an event in which operations of the electric grid are disrupted, preventively shut off, or
cannot operate safely due to extreme weather, wildfire, or a natural disaster.


SCOPE OF WORK

To achieve the objectives of this project, a Recipient shall implement a wide range of resilience
measures, as described in Appendix A.1, “Section 40101 Allowances and Requirements”, of the
SOPO, intended to mitigate the impact of disruptive events. The Recipient may execute
resilience projects that in the determination of the Recipient, will generate the greatest
community benefit in reducing the likelihood and consequences of disruptive events to the
electricity grid serving its jurisdiction. Resilience projects under this project shall comply with
limitations and requirements that are detailed in Appendix A.1 of the SOPO.

Each year, the Recipient shall provide a Program Narrative that describes the criteria and
methods that will be used by the Recipient to make subawards to eligible entities; is adopted
after notice and a public hearing; and describes the proposed funding distributions and recipients
of the subawards to be provided by the Recipient. The requirements of the Program Narrative
are described in the Appendix A.2, Section 40101(d) Program Narrative Template and
Instructions, of the SOPO.

The Recipient shall not use more than 5 percent of the total Federal grant allocation amount to
administer the grant and provide technical assistance in support of grant objectives.


TASKS TO BE PERFORMED
Task 1.0: Project Management & Administration
The Recipient shall manage and administer activities in order to achieve project objectives. The
activities will include tracking and disseminating information regarding the performance of the
project, as well as administrative tasks associated with Government reporting.

An initial Project Management Plan (PMP) shall be provided within ninety (90) days after the
initial award. Revised PMPs shall be submitted when major project changes are proposed, with
less significant changes documented in the submitted Quarterly Progress Report (QPR).

                                                                                                      1
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25     Page 71 of 556
                                       PageID #: 6001
                                                                          DE-GD0000006 / 0000

Phase I – Planning

Task 2.0: Technical Assistance and Planning

The Recipient shall conform to all aspects of the Program Narrative approved at execution of the
award. If the Program Narrative is revised mid-year, the Recipient must provide the revised
Program Narrative within 5 days following the Recipient’s official adoption of the revised
Program Narrative. Program Narrative revisions must be subjected to a public notice and
hearing prior to adoption.

Task 3.0: Resilience Project Approval
The Recipient shall prepare and submit to the DOE Program Manager Resilience Project
Packages in accordance with the Resilience Project and Subaward/Subcontract Notification Term
in the Assistance Agreement.


The Recipient may not execute a proposed resilience project or issue subawards/subcontracts
for resilience projects without DOE Program Manager review and written determination of
adequacy of the Resilience Project Package.


Phase II – Project Execution
Task 4.0: Resilience Project Execution
Upon DOE’s written determination of adequacy of the Resilience Project Package, the Recipient
shall execute the approved resilience project and/or issue subawards to eligible entities to
execute the resilience project. For each resilience project and subaward/subcontract, the
Recipient shall:
    A. monitor the performance of the entity/awardee to assure adherence to the Terms and
       Conditions of the subaward
    B. collect necessary information for the Recipient to provide measurable progress towards
       completion of the funded activity, and
    C. collect necessary information for the Recipient to verify the extent to which its
       established objectives are being realized.
The Recipient shall monitor the execution and performance of the resilience projects and provide
the implementation status, progress towards measurable performance targets, and verifiable
progress towards resilience objectives, as part of its QPRs to the Department of Energy.

DELIVERABLES

Periodic and final reports will be submitted in accordance with the attached “Federal Assistance
Reporting Checklist” and the instructions accompanying the checklist. In addition to the reports
specified in the "Federal Assistance Reporting Checklist", the Recipient will provide the
following

                                                                                               2
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25     Page 72 of 556
                                        PageID #: 6002
                                                                            DE-GD0000006 / 0000


                                                    Instructions/
 Task     Deliverable          Due Date                                   Where to Submit
                                                      Template
                          •    Due 90 days
                               after the
                               effective date
                                                  Section 40101(d)
                               of the award.
         Project                                  Formula Grants to https://www.eere-
                          • Revised PMPs
  1.0    Management                               States & Indian   pmc.energy.gov/SubmitRe
                               due within
         Plan (PMP)                               Tribes |          ports.aspx
                               grant years as a   netl.doe.gov
                               result of major
                               project plan
                               changes
                          If it is revised mid-
                          year, Program                               Email to DOE Program
         Program          Narrative must be       Appendix A.2 of     Manager identified in
  2.0
         Narrative        submitted within 5      the SOPO            Block 15 of Assistance
                          days following                              Agreement
                          adoption
                          Submitted prior to      Award Document
                          the execution of        and Section         Email to DOE Program
         Resilience
                          resilience projects     40101(d) Formula    Manager identified in
  3.0    Project
                          and/or issuance of      Grants to States    Block 15 of Assistance
         Package
                          subawards for           & Indian Tribes |   Agreement
                          resilience projects     netl.doe.gov
                                                  Section 40101(d)
                                                  Formula Grants to
         Subaward                                                     https://www.eere-
                          Due quarterly with      States & Indian
  4.0    Monitoring                                                   pmc.energy.gov/SubmitRe
                          QPR                     Tribes |
         Reports                                                      ports.aspx
                                                  netl.doe.gov


All reports noted in the Deliverables section must be high quality, verified for technical
accuracy, and suitable for publishing in Federal records. Other major products/materials
developed shall be submitted to DOE as they are completed.


BRIEFINGS AND TECHNICAL PRESENTATIONS

Upon request by DOE, the Recipient will provide additional project metrics information and
briefings for presentation to the DOE explaining the plans, progress, and results of the grant
activities.




                                                                                                 3
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 73 of 556
                                          PageID #: 6003
                                                                                 DE-GD0000006 / 0000


                   APPENDIX A.1 - Section 40101 Allowances and Requirements

The Recipient may use Federal funds to make subawards to eligible entities for activities, technologies,
equipment, and hardening measures to reduce the likelihood and consequences of disruptive events,
including:

        A. weatherization technologies and equipment

        B. fire-resistant technologies and fire prevention systems

        C. monitoring and control technologies

        D. the undergrounding of electrical equipment

        E. utility pole management

        F. the relocation of power lines or the reconductoring of power lines with low-sag, advanced
           conductors

        G. vegetation and fuel-load management

        H. the use or construction of distributed energy resources for enhancing system adaptive
           capacity during disruptive events, including:

                a. microgrids; and

                b. battery-storage subcomponents

        I.   adaptive protection technologies

        J.   advanced modeling technologies

        K. hardening of power lines, facilities, substations, of other systems; and

        L. the replacement of old overhead conductors and underground cables, and

        M. other measures as determined or approved by DOE.


A subaward to an eligible entity under this grant program may not be used for:

        A. construction of a

                a. new electric generating facility or

                b. large-scale battery-storage facility that is not used for enhancing system adaptive
                   capacity during disruptive events, or

        B. cybersecurity.

                                                                                                           4
Case 1:25-cv-00039-JJM-PAS                Document 68-123          Filed 02/07/25       Page 74 of 556
                                            PageID #: 6004
                                                                                    DE-GD0000006 / 0000



Eligible entities are:

         A.   an electric grid operator
         B.   an electricity storage operator
         C.   an electricity generator
         D.   a transmission owner or operator
         E.   a distribution provider
         F.   a fuel supplier, and
         G.   any other relevant entity as determined by the Secretary of Energy.

The Recipient shall ensure that, of the amounts made available to eligible entities from funds made
available to the Recipient under the program, the percentage made available to eligible entities that sell
not more than 4,000,000 megawatt hours of electricity per year is not less than the percentage of all
customers in the State, Territory or Indian Tribe that are served by those eligible entities.

The Recipient may not use more than 5 percent of the Federal funding for:

         A. providing technical assistance and facilitating the distribution and sharing of information to
            reduce the likelihood and consequences of disruptive events; and
         B. administrative expenses associated with the program.




                                                                                                             5
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 75 of 556
                                           PageID #: 6005
                                                                                   DE-GD0000006 / 0000


        APPENDIX A.2 – Section 40101(d) Program Narrative Template and Instructions

        [Delete instructions in italics when completing Program Narrative.]

                     Bipartisan Infrastructure Law - SECTION 40101(d)

         PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF THE ELECTRIC GRID

                                [Name of Indian Tribe or State]

                                                 [Date]

                                     Program Narrative
1. Objectives and Metrics:

   List 3-5 objectives that the applicant intends to apply for guiding their resilience investment decisions.
   The intent of this section of the Program Narrative is to ultimately develop a planning framework for
   resilience to address all-hazards including future climate implications. The first year, DOE is seeking
   input on criteria for determining investment decisions. At a minimum, the objectives and metrics
   should address:

       a. resilience and energy justice concerns, including reducing the frequency and duration of
          outages in disadvantaged communities,

       b. how the project will use strong labor standards and protections (including for direct
          employees, contractors, and sub-contractors), such as through the use of project labor
          agreements, local hire agreements, and outline of a plan to attract, train, and retain an
          appropriately skilled workforce (i.e., through registered apprenticeships and other joint labor-
          management training programs that serve all workers, particularly those underrepresented
          or historically excluded); plans to partner with a training provider (labor, community college,
          etc.); and the use of an appropriately credentialed workforce (i.e., requirements for
          appropriate and relevant professional training, certification, and licensure).

   Provide the metrics that will accompany the objectives to measure outcomes associated with
   improving resilience, creating good-paying jobs with the free and fair choice to join a union, and
   advancing energy justice.

   Indicate whether the objectives and metrics are provisional pending further discussion and
   consideration by the State or Indian Tribe with its stakeholders. DOE expects that recipients will
   establish a formal set of objectives and metrics in order to receive Year 2 formula funding. Examples
   of objectives and metrics, in addition to reporting on any DOE required metrics, and approaches for
   establishing them are available at: Section 40101(d) Formula Grants to States & Indian Tribes |
   netl.doe.gov

                                                                                                           6
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 76 of 556
                                           PageID #: 6006
                                                                                   DE-GD0000006 / 0000




2. Criteria:

   Describe the criteria used for selecting and determining the awards to eligible entities. At a minimum,
   the criteria should address the following specific requirements set forth in Section 40101(d):

       Priority should be given to projects that will generate the greatest community benefit (whether
       rural or urban) in reducing the likelihood and consequences of disruptive events,

       The percentage made available to eligible entities that sell not more than 4,000,000 megawatt
       hours of electricity per year should not be less than the percentage of all customers in the State
       or Indian Tribe that are served by those eligible entities, and

       Awards should be provided to eligible entities for projects within the State or on the land of the
       Indian Tribe.



3. Methods:

   Provide a description of the methods the applicant anticipates using for soliciting, awarding, and
   distributing funds. These might include several options, including the use of competitive solicitations,
   direct awards, and the use of financial instruments, such as Green Banks, to leverage the funds through
   40101(d).

   Provide also a description of the methods the applicant anticipates using to track and make public the
   metrics achieved by awardee uses of program funds to improve resilience by reducing the likelihood
   and consequences of disruptive events, to generate quality jobs, and to improve equity and community
   benefits.

4. Funding Distribution:

   Provide a description of the proposed funding distributions and categories of recipients of the
   subgrants to be provided to eligible entities. Also, indicate preferences for eligible entities if they do
   not explicitly appear on the list of eligible entities provided in Section 40101.

5. Equity Approach:

   To achieve the greatest impact for all Americans with this once-in-a-generation investment in
   infrastructure, it is critical that the BIL-funded projects not only contribute to the country’s energy
   technology and climate goals, but also (1) support the BIL objectives to invest in America’s workforce
   by including specific elements to accelerate job growth and job quality, including approaches to give
   workers a free and fair choice to join or form a union; and (2) advance DOE’s equity, environmental
   and energy justice priorities, including DOE’s commitment to the Justice40 Initiative. Accordingly, the



                                                                                                           7
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 77 of 556
                                           PageID #: 6007
                                                                                   DE-GD0000006 / 0000

   Program Narrative must describe how the State or Indian Tribe will ensure their proposed project will
   incorporate:

       a. Quality Jobs: Strengthening prosperity by expanding good-paying, safe jobs accessible to all
          workers and supporting job growth through investments in domestic supply chains is a key
          goal set by President Biden, discussed in depth in his Executive Orders on Ensuring the Future
          Is Made in All of America by All of America's Workers (EO 14005), Tackling the Climate Crisis
          at Home and Abroad (EO 14008), Worker Organizing and Empowerment (EO 14025), Boosting
          Quality of Federal Construction Contracts (EO 14063), Promoting Competition in the American
          Economy (EO 14036), and Implementing the Infrastructure Investment and Jobs Act (EO
          14052). Accordingly, this section of the Program Narrative should address efforts to achieve
          these goals, including

                i. efforts to attract, train, and retain a skilled workforce and

                ii. workforce opportunities in communities that have lost jobs due to the displacements
                    of fossil energy jobs; and

       b. Community Benefits: Section 40101(d)(5) requires a State or Indian Tribe to give priority to
          projects that would generate the greatest community benefit (whether rural or urban) in
          reducing the likelihood and consequences of disruptive events. The Program Narrative
          should include an explanation of how the State or Indian Tribe will make such a
          determination for the projects that will be receiving funding and should include information
          on how the projects go beyond measures that are already being undertaken through current
          resilience planning by the State or Indian Tribe.

       c. Diversity, Equity, Inclusion and Accessibility: DOE strongly encourages efforts to reach
          historically underserved populations, racial minorities, and women. These strategies should
          create the connectivity and conditions for growth where they may not exist, such as in rural
          and underserved communities. The Program Narrative should articulate the strategy the
          State or Indian Tribe will use for sharing and maximizing the project’s benefits across
          disadvantaged communities and include a discussion of how resident, worker, and
          community leadership will be engaged throughout the project’s duration.


   Provide an explanation of how the State or Indian Tribe will make such a determination for the projects
   that will be receiving funding and should include information on how the projects go beyond measures
   that are already being undertaken through current resilience planning by the State or Indian Tribe.

6. Technical Assistance and Administration:

   Provide a description of how the State or Indian Tribe intends to utilize up to 5 percent of Federal grant
   funds for project administration and technical assistance.


                                                                                                           8
Case 1:25-cv-00039-JJM-PAS               Document 68-123          Filed 02/07/25       Page 78 of 556
                                           PageID #: 6008
                                                                                  DE-GD0000006 / 0000




7. Public Notice and Hearing:

    Section 40101(d)(2)(B)(ii) requires that eligible applicants give notice and undertake a public hearing
    to review the criteria and methods they anticipate using to grant awards to eligible entities and the
    proposed funding distributions and recipients of the grant awards to eligible entities. The applicant
    should use the public hearing to share the approach envisioned for setting objectives and metrics and
    the proposed funding distributions and recipients of the grant awards to eligible entities. Provide a
    brief description of the notice and public hearing process, including the number and types of
    organizations that attended. Also, report on the outcome of the public hearing such as approaches
    for engaging stakeholders for establishing formal objectives and metrics and for implementing
    strategic planning processes. Provide a copy of the notice as an attachment to the Program Narrative.


Note: DOE anticipates that the Program Narrative will be between 5 and 15 pages, depending upon the
grant amount and complexity of resilience activities. DOE may reject applications and require revisions, if
it determines that the program narrative lacks sufficient detail or does not comply with stated
requirements. Save the information in a single file named (APPLICANT NAME PROGRAM NARRATIVE.pdf).




                                                                                                         9
       Case 1:25-cv-00039-JJM-PAS                           Document 68-123               Filed 02/07/25                Page 79 of 556
                                                              PageID #: 6009


                                                                   Federal Assistance Reporting Checklist
                                                                                                                                        Attachment 3



1.      Award Number:                                                        2.     Program/Project Title:
        DE-GD0000006
                                                                                    BIL – Preventing Outages and Enhancing the Resilience of the Electric
3.      Recipient:
                                                                                    Grid, Formula Grants to States and Indian Tribes
        Colorado Energy Office
4. Reporting Requirements (see also the Special Instructions)                Frequency                                      Addresses


I.       PROJECT MANAGEMENT REPORTING
☐ A. Performance Report – Narrative                                                Q        A.   EERE PMC
☐ B. Performance Report – Quantitative                                             Q        B.   EERE PMC
☒ C. Financial Report (SF-425)                                                    F, Q      C.   EERE PMC
☐ D. Scientific and Technical Reporting
         ☐ 1. Accepted Manuscript of Journal Article(s)                           A5, P     D.1. OSTI E-Link
         ☐ 2. Conference Product(s)                                               A5, P     D.2. OSTI E-Link

         ☐ 3. Technical Report(s)                                                 A5, P     D.3. OSTI E-Link

         ☐ 4. Software & Manual(s)                                                A5, P     D.4. DOE CODE
         ☐ 5. Dataset(s)                                                          A5, P     D.5. OSTI E-Link Datasets
         ☐ 6. Other STI (Dissertation / Thesis, etc.)                             A5, P     D.6. OSTI E-Link
☐ E. Intellectual Property Reporting
         ☐ 1. Intellectual Property Reporting                                     A5, P     E.1. iEdison
         ☐ 2. Invention Utilization Report                                        A5, P     E.2. iEdison
☒ F. Project Management Plan (PMP)                                                 A5       F.   EERE PMC
☒ G. Special Status Report                                                         A5       G.   EERE PMC
☐ H. Continuation Application                                                      A5       H.   EERE PMC
☒ I.     Other (see Special Instructions)                                          A5       I.   See Special Instructions


II.      AWARD MANAGEMENT REPORTING
☐ A. Current and Pending Support                                                   A5       A.   EERE PMC
☒ B. Demographic Reporting                                                         A5       B.   EERE PMC
☒ C. Financial Conflict of Interest Report                                         A5       C.   EERE PMC
☐ D. Tangible Personal Property Report – Annual Property Report                    Y        D.   EERE PMC
     (SF-428 & SF-428A)
☒ E. Tangible Personal Property Report – Disposition Request/Report                A5       E.   EERE PMC
     (SF-428 & SF-428C)
☒ F. Uniform Commercial Code (UCC) Financing Statements                            A5       F.   See section II. F. for instructions and due dates
☒ G. Federal Subaward Reporting System (FSRS)                                      A5       G.   FSRS
☐ H. Annual Incurred Cost Proposal                                                Y180      H.   See section II. H. for instructions and due dates
☐ I.     DOE For-Profit Compliance Audit                                           O        I.   See section II. I. for instructions and due dates
☒ J.     Single Audit: States, Locals, Tribal Governments, and Non-Profits         O        J.   See section II. J. for instructions and due dates
☒ K. Other (see Special Instructions)                                              A        K.   See Special Instructions

III.     CLOSEOUT REPORTING
☐ A. Final Scientific/Technical Report
         ☐ A.1. Final Scientific/Technical Report – Unlimited                      F        A.1. OSTI E-Link
         ☐ A.2. Final Scientific/Technical Report – Data Protection                F        A.2. OSTI E-Link
☐ B. Invention Certification (DOE F 2050.11)                                       F        B.   EERE PMC
☒ C. Tangible Personal Property Report – Final Report                              F        C.   EERE PMC
     (SF-428 & SF-428B)




      Template Version 04/01/23 (NETL 05/14/2023)
      Case 1:25-cv-00039-JJM-PAS                           Document 68-123                     Filed 02/07/25             Page 80 of 556
                                                             PageID #: 6010

                                                                  Federal Assistance Reporting Checklist
                                                                                                                                            Attachment 3

☐ D. Verification of Receipt of Accepted Manuscripts                                      F     D.   See section III. D. for instructions and due dates
☐ E. Other (see Special Instructions)                                                     F     E.   See Special Instructions




IV.    POST-PROJECT REPORTING
☐ A. Scientific and Technical Reporting                                                   P     A.   OSTI E-Link
☐ B. Intellectual Property Reporting                                                      P     B.   iEdison

4. Reporting Requirements (see also the Special Instructions)                     Frequency                                     Addresses


V.     BIPARTISAN INFRASTRUCTURE LAW REPORTING
☒ A. Community Benefits Plan/Equity Plan                                             A5, F      A.   EERE PMC
☐ B. Cybersecurity Plan                                                               A5        B.   CR-IIJACybersecurityplans@hq.doe.gov
☐ C. Boosting Domestic Manufacturing                                                A5, Y, F    C.   EERE PMC
☒ D. Quality Job Creation
       ☒ 1. Direct Jobs                                                               A5        D.1. See Section V. D. I for instructions and due dates.
       ☒ 2. Training Outcomes                                                         Y, F      D.2. EERE PMC
       ☒ 3. Good Jobs Outcomes                                                        Y, F      D.3. EERE PMC
       ☒ 4. Permanent Jobs                                                            Y, F      D.4. EERE PMC
☒ E. Equity and Justice
       ☒ 1. Community Engagement Process                                              Y, F      E.1. EERE PMC
       ☒ 2. Engagement Events and Technical Assistance                                Y, F      E.2. EERE PMC
       ☐ 3. Community Ownership                                                           Q     E.3. EERE PMC
☐ F. Pathway to Net-Zero
       ☐ 1. Infrastructure Supported                                                A5, Y, F    F.1. EERE PMC
       ☐ 2. Hydrogen Production                                                     A5, Y, F    F.2. EERE PMC
       ☐ 3. Carbon Capture, Removal, and Storage                                    A5, Y, F    F.3. EERE PMC
       ☐ 4. Energy Saved                                                            A5, Y, F    F.4. EERE PMC



FREQUENCY CODES AND DUE DATES:
A5 – As Specified or within five (5) calendar days after the event.
F – Final; within 120 calendar days after expiration or termination of the award.
O – Other: See instructions for further details.
P – Post-project (after the period of performance); within five (5) calendar days after the event, or as specified.
Q – Quarterly; within 30 calendar days after the end of the federal fiscal year quarter.
S – Semiannually; within 30 days after end of the reporting period.
Y – Yearly; within 90 calendar days after the end of the federal fiscal year.
Y180 – Yearly; within 180 calendar days after the close of the recipient’s fiscal year.


FULL URLS:
OSTI E-Link: https://www.osti.gov/elink/2413-submission.jsp
OSTI E-Link Datasets: https://www.osti.gov/elink/2416-submission.jsp
DOE CODE: https://www.osti.gov/doecode/
iEdison: https://www.nist.gov/iedison
EERE PMC: https://www.eere-pmc.energy.gov/SubmitReports.aspx
FSRS: https://www.fsrs.gov




                                                                           2
     Case 1:25-cv-00039-JJM-PAS                   Document 68-123             Filed 02/07/25         Page 81 of 556
                                                    PageID #: 6011

                                                        Federal Assistance Reporting Checklist
                                                                                                                 Attachment 3


5.    Special Instructions:



      I.    Project Management Reporting:

            I.     Other

            SOPO Deliverables

            All deliverables identified in the Statement of Project Objectives (SOPO) must be submitted to the address
            identified in the SOPO deliverables table.

           Quarterly Progress Reports (QPR)

                 Submit to:          https://www.eere-pmc.energy.gov/SubmitReports.aspx

                 First QPR           Due within 30 calendar days after the end of the first full quarterly reporting
                 Submission          period following the issuance of the award.
                 Deadline:
                 Submission          Within 30 calendar days after the end of the quarterly reporting period
                 Deadline for        (January 30, April 30, July 30, October 30)
                 Subsequent QPRs:
                 Template and        Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov
                 Instructions

            The QPR template utilizes the same template document as the Project Management Plan (PMP). The Recipient
            Will use the QPR to report the progress made from the baseline information set forth in the PMP. The final QPR
             shall reflect any final close-out activities, costs, payments and reimbursements that occurred following the
            submission of the QPR for the last reporting period of the Period of Performance.

           Annual Program Metrics and Impact Report

                 Submit to:         https://www.eere-pmc.energy.gov/SubmitReports.aspx

                 Submission         Within 30 calendar days after the end of the annual reporting period (i.e.,
                 deadline:          October 30). The reporting period is the Federal fiscal year (i.e., October 1 –
                                    September 30).


            The Annual Program Metrics and Impact Report will capture benefits that communities realize through the
            program. Information collected will include communities affected by specific projects, avoided outages and
            Reduced restoration time because of projects, community and labor engagement; workforce and community
            agreements, collective bargaining agreements and project labor agreements, investments in job quality and
            skilled workforce; diversity, equity, inclusion and accessibility; and Justice40 benefits. The annual reporting
             template is available here Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov or is
            available upon request from the DOE Project Officer.




                                                               3
Case 1:25-cv-00039-JJM-PAS              Document 68-123             Filed 02/07/25        Page 82 of 556
                                          PageID #: 6012

                                              Federal Assistance Reporting Checklist
                                                                                                      Attachment 3




   Annual Allocation Request

     Submit to:         https://www.eere-pmc.energy.gov/SubmitReports.aspx DOE Program Manager
                        identified in Block 15 and the DOE Award Administrator identified on Page 2 of
                        the Award Agreement
     Submission         Within 90 calendar days after issuance of the ALRD DE-FOA-00002736
     deadline:          amendment publicizing the Annual Allocations.
     Content and        See the “Annual Allocation Request” provision in the Special Terms and Conditions.
     Information



 II. Award Management Reporting:

    F. Uniform Commercial Code (UCC) Financing Statements:
    If a piece of equipment is planned to be purchased by a for-profit Recipient or a for-profit Subrecipient with
    either Federal and/or non-Federal funds, and when the DOE share of the award exceeds $1M, the for-profit
    Recipient or the for-profit Subrecipient must record Uniform Commercial Code (UCC) financing statement(s)
    before being reimbursed for the DOE share of the equipment. See “Reporting Instructions” for specific guidance.




                                                     4
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 83 of 556
                               PageID #: 6013

                                Federal Assistance Reporting Checklist
                                                                         Attachment 3

Table of Contents
I.              7
      A.        7
      B.        7
      C.        7
      D.        7
      E.        7
      F.        7
           1.       8
           2.       8
      G.        9
      H.        10
      I.        10
II.             11
      A.        11
      B.        11
      C.        12
      D.        13
      E.        13
      F.        13
      G.        14
      H.        15
      I.        15
      J.        15
III.            17
      A.        17
      B.        17
      C.        17
      D.        17
      E.        17
IV.             17
      A.        17


                                     5
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 84 of 556
                               PageID #: 6014

                                Federal Assistance Reporting Checklist
                                                                         Attachment 3

     B.        18
V.             18
     A.        18
     B.        18
     C.        18
     D.        18
          1.    18
          2.    19
          3.    19
          4.    20
     E.        20
          1.    20
          2.    20
          3.    20
     F.        20
VI.            21




                                     6
 Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25        Page 85 of 556
                                            PageID #: 6015

                                                Federal Assistance Reporting Checklist
                                                                                                         Attachment 3



                               Reporting Instructions (05/2023)
           Throughout the performance of the project, it is important that you mark
           Protected Data/Limited Rights Data as described in Appendix A. It is equally
***        important that you not submit Protected Personally Identifiable Information
           (Protected PII) to DOE. See Appendix A for guidance on Protected PII.
                                                                                                             ***
 I. Project Management Reporting

 A. Performance Report Narrative (PRN) - Not Required


 B. Performance Report Quantitative (PRQ) - Not Required


 C. Financial Report SF-425 Federal Financial Report

        Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
        Submission     Within 30 calendar days after the end of the quarterly reporting period (January 30,
        deadline:      April 30, July 30, October 30) and within 120 calendar days after expiration or
                       termination of the award

      Every quarter, the prime recipient is required to submit a completed SF-425 for the project
      to DOE, covering the entirety of work performed by the prime recipient, subrecipients, and
      contractors – to DOE. A fillable version of the SF-425 is available at
      https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html or
      https://www.netl.doe.gov/business/business-forms/financial-assistance.

 D. Scientific and Technical Reporting - Not Required

 E. Intellectual Property Reporting - Not Required

 F. Project Management Plan (PMP)

       Submit to:             https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission deadline:   Within 90 days of the effective date of the DOE award
       Template and
                              Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov
       Instructions

      The recipient is required to develop, update, and adhere to a project management plan. The
      purpose of the plan is to establish cost, schedule, and technical performance baselines, and


                                                       7
Case 1:25-cv-00039-JJM-PAS                  Document 68-123            Filed 02/07/25    Page 86 of 556
                                              PageID #: 6016

                                                 Federal Assistance Reporting Checklist
                                                                                                 Attachment 3

  to formalize the processes by which the project will be managed. These processes include
  considerations such as risk management, change management, and communications
  management. While it is primarily the project recipient’s responsibility to maintain the plan,
  federal staff may request changes. The plan is intended to be a living document, modified as
  necessary, and comprising the following iterations:

  1. Revised Plan(s)

     During the life of the project the recipient must submit a revised project management
     plan based on the following circumstances:

     a. Developments that have a significant favorable impact on the project.

     b. Problems, delays, or adverse conditions which materially impair the recipient’s
        ability to meet the objectives of the award or which may require the program office
        to respond to questions relating to such events from the public. Specifically, the
        recipient must update the plan when any of the following incidents occur:

        i.       Any event which is anticipated to cause significant schedule or cost changes,
                 such as changes to the funding and costing profile or changes to the project
                 timeline.
        ii.      Any change to Technology Readiness Level.
       iii.      Any significant change to risk events (including both potential and realized
                 events) or to risk management strategies.
       iv.       Failure to meet a milestone or milestones; any dependencies should be adjusted.
        v.       Any changes to partnerships.
       vi.       Any significant change to facilities or other project resources.
      vii.       Any other incident that has the potential for high visibility in the media.

  2. Content of revised PMP

  All interim and draft PMP revisions can be exchanged via email with the NETL project
  officer. However, all final versions of the PMP need to be uploaded to the EERE PMC
  website. The revised PMP must stay consistent with the PMP instructions and template
  located at:

              Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov




                                                        8
Case 1:25-cv-00039-JJM-PAS             Document 68-123            Filed 02/07/25   Page 87 of 556
                                         PageID #: 6017

                                            Federal Assistance Reporting Checklist
                                                                                           Attachment 3



G. Special Status Reports

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within five (5) calendar days after the event, or as specified
    deadline:

   Problems, delays, or adverse conditions which materially impair the recipient’s ability to
   meet the objectives of the award or which may require DOE to respond to questions
   relating to such events from the public. The recipient must report any of the following
   incidents and include the anticipated impact and remedial action to be taken to correct or
   resolve the problem/condition.

   The prime recipient is required to report the following events to DOE:

       1. If the recipient or project team member receives any other award of federal funds
          for activities that potentially overlap with the activities funded under the DOE
          award, the recipient must promptly notify DOE in writing of the potential overlap
          and state whether project funds from any of those other federal awards have been,
          are being, or are to be used (in whole or in part) for one or more of the identical cost
          items under the DOE award;
       2. Any change in ownership or control of the recipient or project team member which
          increases the percentage of ownership or control by an entity that is based in,
          funded by, or has a foreign affiliation with a foreign country of risk;
       3. If an individual on the project team is or is believed to be participating in a foreign
          government-sponsored talent recruitment program of a foreign country of risk.
       4. If the recipient is considering new collaborations with foreign entities and
          governments, the recipient must provide written notification to DOE and await
          further guidance from DOE prior to contacting the proposed foreign entity or
          government regarding the potential collaboration or negotiating the terms of any
          potential agreement. In general, a collaboration will involve some provision of a
          thing of value to, or from, the recipient. A thing of value includes but may not be
          limited to all resources made available to, or from, the recipient in support of and/or
          related to the DOE award, regardless of whether or not they have monetary value.
          Things of value also may include in-kind contributions (such as office/laboratory
          space, data, equipment, supplies, employees, students). In-kind contributions not
          intended for direct use on the DOE award but resulting in provision of a thing of
          value from or to the DOE award must also be reported.
       5. The existence of any joint venture or subsidiary that is based in, funded by, or has a
          foreign affiliation with any foreign country of risk;
       6. Any current or pending contractual or financial obligation or other agreement
          specific to a business arrangement, or joint venture-like arrangement with an
          enterprise owned by a country of risk or foreign entity based in a country of risk;


                                                   9
Case 1:25-cv-00039-JJM-PAS              Document 68-123            Filed 02/07/25   Page 88 of 556
                                          PageID #: 6018

                                             Federal Assistance Reporting Checklist
                                                                                            Attachment 3

       7. Any current or pending venture capital or institutional investment by an entity that
           has a general partner or individual holding a leadership role in such entity who has a
           foreign affiliation with any foreign country of risk;
       8. Any current or pending technology licensing or intellectual property sales to a
           foreign country of risk; and
       9. Any current or pending foreign business entity, offshore entity, or entity outside the
           United States related to the Recipient or subrecipient.
       10. Any fatality or injuries requiring hospitalization arising out of or relating to work
           under the award;
       11. Potential or actual violations of environmental, health, or safety laws and
           regulations, any significant environmental permit violation, and any incident which
           causes a significant process or hazard control system failure;
       12. Any incident arising out of or relating to work under the award that has the potential
           for high visibility in the media;
       13. Potential or actual violations of federal, state, and municipal laws arising out of or
           relating to work under the award;
       14. Potential or actual noncompliance with DOE reporting requirements under the
           award;
       15. Potential or actual bankruptcy/insolvency of the prime recipient or subrecipient;
       16. Potential or actual violation of U.S. export control laws and regulations arising out of
           or relating to the work under the award;
       17. Any notices or claims of patent or copyright infringement arising out of or relating to
           the performance of the DOE award;
       18. Refusal of a subrecipient to accept flow down requirements in the Special Terms and
           Conditions and/or any Attachment to the DOE award;
       19. Any improper claims or excess payments arising out of or relating to work under the
           award;
       20. Potential or actual violations of the cost share requirements under the award;
       21. Potential or actual violations of the lobbying restrictions in the award;
       22. Any event which is anticipated to cause a significant schedule slippage or cost
           increase;
       23. Any damage to Government-owned equipment in excess of $50,000; and,
       24. Developments that have a significant favorable impact on the project.


H. Continuation Application - Not Required

I. Other (see Special Instructions)

    Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission     Within five (5) calendar days after the event, or as specified
    deadline:




                                                    10
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25    Page 89 of 556
                                      PageID #: 6019

                                         Federal Assistance Reporting Checklist
                                                                                      Attachment 3



II. Award Management Reporting

A. Current and Pending Support - Not Required

B. Demographic Reporting

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 30 days after issuance of award
    deadline:

   DEMOGRAPHIC INFORMATION FOR SIGNIFICANT CONTRIBUTORS

   Demographic data (i.e., gender, ethnicity, race, and disability status) should be provided
   directly by the Principal Investigator and Business Contact with the understanding that the
   submission of this report is mandatory for awards made after 03/01/2022. There are no
   adverse consequences for responding “Do not wish to provide” in any question. Principal
   Investigators and Business Contacts of awards made prior to 03/01/2022 are encouraged,
   but not required, to submit demographic reporting. Confidentiality of demographic data will
   be in accordance with agency’s policy and practices for complying with the requirements of
   the Privacy Act. Demographic Reporting is submitted via a web-based form in the EERE PMC
   and includes the questions outlined below.

      Gender:
         o Male
         o Female
         o Do not wish to provide

      Ethnicity:
         o Hispanic or Latina/o
         o Not-Hispanic or not-Latina/o
         o Do not wish to provide

      Race (select one or more):
         o American Indian or Alaska Native
         o Asian
         o Black or African American
         o Native Hawaiian or other Pacific Islander
         o White
         o Do not wish to provide

      Disability Status:



                                              11
Case 1:25-cv-00039-JJM-PAS             Document 68-123           Filed 02/07/25        Page 90 of 556
                                         PageID #: 6020

                                            Federal Assistance Reporting Checklist
                                                                                                   Attachment 3



           o Yes (check yes if any of the following apply to you)
                 ▪ Deaf or serious difficulty hearing
                 ▪ Blind or serious difficulty seeing even when wearing glasses
                 ▪ Serious difficulty walking or climbing stairs
                 ▪ Other serious disability related to a physical, mental, or emotional
                    condition.
           o No
           o Do not wish to provide

       This measure is designed as a binary measure; it encompasses all self-reported
       disabilities. Please do not use it to report the number of individuals who have different
       types of disabilities (e.g., hearing impairments).

       Note: This construct is not designed to be used at an individual-level (i.e., it should not
       be used for determining accommodation needs or disability status for particular
       individuals associated with the project).

C. Financial Conflict of Interest Report

    Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission     Within 180 days of the date of the award and within thirty (30) calendar days
    deadline:      only when there is a change

   Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
   completed their significant financial disclosures; 2) review the disclosures; 3) determine
   whether a FCOI exists; 4) develop and implement a management plan for FCOIs; and 5)
   provide DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
   unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient
   must be in full compliance with the other requirements set forth in DOE’s interim COI Policy
   https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
   requirements-financial-assistance. Further, the recipient must submit updated reports
   within 30 days of a change.

   The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) is applicable
   to all non-Federal entities applying for, or that receive, DOE funding by means of a financial
   assistance award (e.g., a grant, cooperative agreement, or technology investment
   agreement) and, through the implementation of this policy by the entity, to each
   Investigator who is planning to participate in, or is participating in, the project funded
   wholly or in part under this Award. The term “Investigator” means the PI and any other
   person, regardless of title or position, who is responsible for the purpose, design, conduct,
   or reporting of a project funded by DOE or proposed for funding by DOE. The Recipient
   must flow down the requirements of the interim COI Policy to any subrecipient non-Federal


                                                  12
Case 1:25-cv-00039-JJM-PAS             Document 68-123             Filed 02/07/25   Page 91 of 556
                                         PageID #: 6021

                                             Federal Assistance Reporting Checklist
                                                                                            Attachment 3

   entities, with the exception of DOE National Laboratories. Further, the Recipient must
   identify all financial conflicts of interests (FCOI), i.e., managed and unmanaged/
   unmanageable, in its initial and ongoing FCOI reports.

D. Tangible Personal Property Report – Annual Property Report (SF-428 & SF-428A) - Not
   Required

E. Tangible Personal Property Report – Disposition Request/Report (SF-428 & SF-428C)

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 5 calendar days of the event or as specified
    deadline:

   The prime recipient must request disposition instructions for or report disposition of
   federally-owned property or equipment acquired with project funds, whether the property
   or equipment is/was in the possession of the prime recipient or subrecipient(s). Recipients
   may also be required to provide compensation to the awarding agency when acquired
   equipment is sold or retained for use on activities not sponsored by the federal
   government. Any equipment with an acquisition cost above $5,000 must be included in the
   inventory.

   If disposition occurs at any time other than award closeout (i.e., at any time throughout the
   life of the project or after project completion and closeout as long as the federal
   government retains an interest in the item), the prime recipient must complete an SF-428
   and SF-428C, available at https://www.grants.gov/web/grants/forms/post-award-reporting-
   forms.html or https://www.netl.doe.gov/business/business-forms/financial-assistance.

   If disposition instructions are requested at the time of award closeout, the prime recipient
   must submit the SF-428 and SF-428B (see section III. C. Tangible Personal Property Report –
   Final Report).

   Only the DOE Contracting Officer has authority to approve disposition requests and issue
   disposition instructions.

F. Uniform Commercial Code (UCC) Financing Statements

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within five (5) calendar days after the event, or as specified.
    deadline:

   If a for-profit recipient or subrecipient desires to purchase a piece of equipment for their
   project, and the per-unit dollar value of said equipment is $5,000 or more, and the federal
   share of the financial assistance agreement is more than $1M, the recipient or subrecipient



                                                   13
Case 1:25-cv-00039-JJM-PAS            Document 68-123           Filed 02/07/25        Page 92 of 556
                                        PageID #: 6022

                                           Federal Assistance Reporting Checklist
                                                                                                   Attachment 3

   must file a UCC financing statement. These financing statement(s) must be approved in
   writing by the Contracting Officer prior to the recording.

   A UCC financing statement provides public notice that the federal government has an
   undivided reversionary interest in the equipment, and as such the equipment cannot be
   sold or used as collateral for a loan (encumbered).

   The for-profit recipient or subrecipient must file the UCC financing statement(s) with the
   Secretary of State where the equipment will be physically located and must pay any
   associated costs for such filings.

   The initial UCC financing statement may also be referred to as a UCC1. For additional pieces
   of equipment not specified in the award budget, TBD equipment, or equipment needed in
   future budget periods, the recipient can file an amendment to the original UCC1 financing
   statement, by submitting the UCC3 financing statement amendment.

   Each UCC financing statement or amendment is to be filed with the appropriate Secretary
   of State office, where the equipment will be physically located.

   Note: All costs associated with filing UCC financing statements, UCC financing statement
   amendments, and UCC financing statement terminations, are allowable and allocable costs
   which can be charged to the federal award.

   At a minimum, the recipient must have stated in their UCC financing statement in block 4.
   (collateral) the following:

   o “Title to all equipment (not real property) purchased with federal funds under this
     financial assistance agreement is conditional pursuant to the terms of 2 CFR 910.360,
     and the federal government retains an undivided reversionary interest in the equipment
     at the federal cost-share proportion specified in the award terms and conditions.”

   o Federal Award Identification Number (e.g., DE-EE000XXXX)

G. Federal Subaward Reporting System (FSRS)

    Submit to:    https://www.fsrs.gov/
    Submission    The prime recipient is required to file a FFATA sub-award report by the end of
    deadline:     the month following the month in which the prime recipient awards any sub-
                  grant greater than or equal to $30,000.

   The Federal Subaward Reporting System (FSRS) is the reporting tool prime recipients use to
   capture and report subaward and executive compensation data regarding their first-tier
   subrecipients to meet the FFATA reporting requirements. Prime recipients will report


                                                 14
Case 1:25-cv-00039-JJM-PAS             Document 68-123            Filed 02/07/25        Page 93 of 556
                                         PageID #: 6023

                                            Federal Assistance Reporting Checklist
                                                                                                    Attachment 3

   against subrecipients’ awards. The subrecipient information entered in FSRS will then be
   displayed on USASpending.gov associated with the prime recipient’s award furthering
   federal spending transparency.

   The prime recipient is required to file a FFATA sub-award report by the end of the month
   following the month in which the prime recipient awards any sub-award greater than or
   equal to $30,000.

H. Annual Incurred Cost Proposals - Not Required

I. DOE For-Profit Compliance Audit - Not Required

J. Single Audit: States, Local Government, Tribal Governments, Institution of Higher
   Education (IHE), or Non-Profit Organization

   Submit to:        Federal Audit Clearinghouse -
                     https://harvester.census.gov/facweb/Default.aspx
   Submission        Within the earlier of 30 days after receipt of the auditor’s report(s) or 9 months
   deadline:         after the end of the audit period (recipient’s fiscal year-end)*
                     *The end of the period of the performance, or closure of an award, does not
                     dismiss this reporting requirement.

   As required by 2 CFR 200 Subpart F, non-federal entities that expend $750,000 or more
   during the non-federal entity's fiscal year in federal awards must have a single or program-
   specific audit conducted. The single audit must be conducted in accordance with §200.514
   Scope of audit, except when it elects to have a program-specific audit conducted.

   For most single audits, the requirement is for annual single audits. However, there are
   occasions where a single audit is not required annually. Per 2 CFR 200.504 - Frequency of
   audits, a state, local government, or Indian tribe that is required by constitution or statute
   to undergo its audits less frequently than annually, is permitted to undergo its audits
   biennially. Also, any nonprofit organization that had biennial audits for all biennial periods
   ending between July 1, 1992, and January 1, 1995, is permitted to undergo its single audits
   biennially.

   For a program-specific audit, when a recipient expends federal award funds under only one
   federal program (excluding R&D) and the federal program's statutes, regulations, or the
   terms and conditions of the federal award do not require a financial statement audit of the
   auditee, the auditee may elect to have a program-specific audit conducted. A program-
   specific audit may not be elected for R&D unless all of the federal awards expended were
   received from the same federal agency, or the same federal agency and the same pass-




                                                  15
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 94 of 556
                                      PageID #: 6024

                                        Federal Assistance Reporting Checklist
                                                                                        Attachment 3

  through entity, and that federal agency, or pass-through entity in the case of a subrecipient,
  approves in advance a program-specific audit.

  The single audit report shall include audited financial statements.




                                              16
Case 1:25-cv-00039-JJM-PAS            Document 68-123           Filed 02/07/25       Page 95 of 556
                                        PageID #: 6025

                                           Federal Assistance Reporting Checklist
                                                                                             Attachment 3




III. Closeout Reporting

A. Final Scientific/Technical Report - Not Required

B. Invention Certification (DOE F 2050.11) - Not Required

C. Tangible Personal Property Report – Final Report (SF-428 & SF-428B)

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 120 calendar days after expiration or termination of the award
    deadline:

   The prime recipient must submit a final inventory of and request disposition instructions for
   any federally-owned property and/or property or equipment acquired with project funds
   with an acquisition cost above $5,000, whether the property is/was in the possession of the
   prime recipient or subrecipients.

   The prime recipient must complete an SF-428 and SF-428B, available at
   https://www.netl.doe.gov/business/business-forms or
   https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html.

   If disposition occurs at any time other than award closeout, the prime recipient must
   complete an SF-428 and SF-428C (see section II. E. Tangible Personal Property Report –
   Disposition Request/Report).

   Only the DOE Contracting Officer has authority to approve disposition requests and issue
   disposition instructions.

D. Verification of Receipt of Accepted Manuscripts - Not Required

E. Other (see Special Instructions)

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 120 calendar days after expiration or termination of the award
    deadline:



IV. Post-Project Reporting

A. Scientific and Technical Reporting - Not Required



                                                 17
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25      Page 96 of 556
                                         PageID #: 6026

                                            Federal Assistance Reporting Checklist
                                                                                            Attachment 3



B. Intellectual Property Reporting - Not Required

V. Bipartisan Infrastructure Law (BIL) Reporting

A. Community Benefits Plan

    Submit to:       https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission       As Specified or within 30 calendar days after the end of the annual
    deadline:        reporting period (i.e., October 30). The reporting period is the Federal
                     fiscal year (i.e., October 1 – September 30).

   The Recipient must meet the stated objectives and milestones set forth in its
   Community Benefits Plan, which is incorporated into Recipient’s Program Narrative.
   A report on the Recipient’s progress towards meeting the objectives and milestones
   set forth will be included in the Annual Program Metrics and Impact Report.

B. Cybersecurity Plan - Not Required

C. Boosting Domestic Manufacturing - Not Required

D. Quality Job Creation

   1. Direct Jobs

        Submit to:      Consult DOE Project Team for URL
        Submission      Weekly
        deadline:

       This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All
       laborers and mechanics employed by the recipient, subrecipients, contractors or
       subcontractors in the performance of construction, alteration, or repair work in excess
       of $2000 on an award funded directly by or assisted in whole or in part by funds made
       available under this award shall be paid wages at rates not less than those prevailing on
       similar projects in the locality, as determined by the Secretary of Labor in accordance
       with subchapter IV of chapter 31 of title 40, United States Code commonly referred to
       as the “Davis-Bacon Act” (DBA).

       The Recipient must ensure the timely electronic submission of weekly certified payrolls
       to a third-party DBA electronic payroll compliance software application unless a waiver
       is granted to a particular contractor or subcontractor because they are unable or limited
       in their ability to use or access the software.



                                                 18
Case 1:25-cv-00039-JJM-PAS           Document 68-123           Filed 02/07/25       Page 97 of 556
                                       PageID #: 6027

                                          Federal Assistance Reporting Checklist
                                                                                               Attachment 3

  2. Training Outcomes

   Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
   Submission    Within 30 calendar days after the end of the annual reporting period (i.e.,
   deadline:     October 30). The reporting period is the Federal fiscal year (i.e., October 1 –
                 September 30).

     This report on training and training outcomes is required for all projects requiring DBA
     compliance, those that discuss workforce development or training in statute, as well as
     any projects where recipients utilize a portion of their BIL funding on workforce
     development. Only career-track training that focuses on skill development or pathways
     into career-track training such as pre-apprenticeship should be tracked for this metric.
     Career-track training leads to an appropriate industry-recognized credential,
     professional qualification, or license. It teaches broad occupational knowledge and skills
     that can be applied across a range of technologies, leading to several different career
     paths. Continuing education allowing incumbent workers to keep up with the latest
     technology and practices, and to advance in their careers, is another important element
     of career-track training. This report will also track the number of workforce partnerships
     involving employers, community-based organizations (CBOs), or labor unions, including
     partnerships specified in community benefits agreements and project labor agreements,
     or similar.

     A report on the Recipient’s progress towards meeting the training outcomes will
     be included in the Annual Program Metrics and Impact Report.

  3. Good Jobs Outcomes

   Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
   Submission    Within 30 calendar days after the end of the annual reporting period (i.e.,
   deadline:     October 30). The reporting period is the Federal fiscal year (i.e., October 1 –
                 September 30).

     This report is required of all recipients of BIL funding. To assess activities contributing to
     growing American jobs, improving the quality of energy jobs, and facilitating equitable
     access to good jobs and training opportunities, all BIL recipients must report annually on
     good jobs outcomes.

     Good Jobs Outcomes reporting shall be included in the Annual Program Metrics and
     Impact Report.




                                                19
Case 1:25-cv-00039-JJM-PAS            Document 68-123           Filed 02/07/25       Page 98 of 556
                                        PageID #: 6028

                                           Federal Assistance Reporting Checklist
                                                                                                Attachment 3

   4. Permanent Jobs

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 30 calendar days after the end of the annual reporting period (i.e.,
    deadline:     October 30). The reporting period is the Federal fiscal year (i.e., October 1 –
                  September 30).

       All BIL funding recipients who are creating ongoing operations, maintenance, and
       production jobs should report the number of hires for each reporting period and
       associated demographic information.

       Permanent Jobs reporting shall be included in the Annual Program Metrics and Impact
       Report.

E. Equity and Justice

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 30 calendar days after the end of the annual reporting period (i.e.,
    deadline:     October 30). The reporting period is the Federal fiscal year (i.e., October 1 –
                  September 30).

   Applicable Equity and Justice reporting shall be reported in the Annual Program Metrics and
   Impact Report.

   1. Community Engagement Process

       This report applies to all projects that include building, expanding, or retrofitting a
       facility. Recipients should report on engagement activities such as participatory
       research, citizen advisory committees, open planning forums, etc. and the outputs of
       those activities such as memorandums of understanding, letters of support, etc.
       Information in this tab should reflect the objectives outlined in the Program Narrative.

   2. Engagement Events and Technical Assistance

       This report applies to all projects that hold stakeholder engagement events as outlined
       in their Program Narrative. Recipients are required to report on stakeholders engaged
       and from what, if any, communities of interest.

   3. Community Ownership – Not Required


F. Pathways to Net Zero – Not Required




                                                 20
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 99 of 556
                                       PageID #: 6029

                                          Federal Assistance Reporting Checklist
                                                                                          Attachment 3


VI. Appendix A: Notice To Recipients (Prime Recipients And Subrecipients)
       Regarding Protected Data, Limited Rights Data And Protected Personally
       Identifiable Information

I. PROTECTED DATA AND LIMITED RIGHTS DATA

The recipient is required to mark protected data and limited rights data in accordance with the
IP clause set of the award agreement. Failure to properly mark data may result in its public
disclosure under the Freedom of Information Act (FOIA, 5 U.S.C. § 552) or otherwise.

   A. Protected Data - Technical Data or Commercial or Financial Data First Produced in the
      Performance of the Award

The U.S. Government normally retains unlimited rights in any technical data or commercial or
financial data produced in performance of Government financial assistance awards, including
the right to distribute to the public.

However, under certain DOE awards, the recipient may mark certain categories of data
produced under the award as protected from public disclosure for a period of time (“Protected
Data”).￼If the award agreement provides for protected data and the recipient wants the data
to be protected, the recipient must properly mark any documents containing Protected Data.
The recipient should review the IP clause set of the award agreement to determine the
applicability of protected data, the maximum length of period of time for data protection and
the required markings that must be used to invoke data protection for the award.

   B. Limited Rights Data - Data Produced Outside of the Award at Private Expense

Limited Rights Data is data (other than computer software) developed at private expense
outside any Government financial assistance award or contract that embody trade secrets or
are commercial or financial and confidential or privileged. Prior to including any Limited Rights
Data in any documents to DOE, the recipient should review the award agreement. In most DOE
awards, the recipient should not deliver any limited rights data to DOE if the recipient wants to
protect the Limited Rights Data. If the DOE award does allow and require the delivery of
limited rights data, then the recipient must properly mark any documents containing Limited
Rights Data as set forth in the IP clause of the award agreement.




                                               21
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25     Page 100 of 556
                                      PageID #: 6030

                                         Federal Assistance Reporting Checklist
                                                                                          Attachment 3

II. PROTECTED PERSONALLY IDENTIFIABLE INFORMATION

The recipient should not include any Protected Personally Identifiable Information (Protected
PII) in their submissions to DOE. Protected PII is defined as any data that, if compromised,
could cause harm to an individual such as identify theft. Protected PII includes, but is not
limited to:

   ●   Social Security Numbers in any form;
   ●   Place of Birth associated with an individual;
   ●   Date of Birth associated with an individual;
   ●   Mother’s maiden name associated with an individual;
   ●   Biometric record associated with an individual;
   ●   Fingerprint;
   ●   Iris Scan;
   ●   DNA;
   ●   Medical history information associated with an individual;
   ●   Medical conditions, including history of disease;
   ●   Metric information, e.g., weight, height, blood pressure;
   ●   Criminal history associated with an individual;
   ●   Ratings;
   ●   Disciplinary actions;
   ●   Passport number;
   ●   Educational transcripts;
   ●   Financial information associated with an individual;
   ●   Credit card numbers; and
   ●   Security clearance history or related information (not including actual clearances held).




                                               22
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 101 of 556
                               PageID #: 6031




                 EXHIBIT F
Toor Declaration Exhibit F
        Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25        Page 102 of 556
                                                 PageID #: 6032



                      Bipartisan Infrastructure Law - SECTION 40101(d)
                      PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF THE ELECTRIC GRID

                                                  State of Colorado

                                                       April 2024

                         Year 3-5 Revised Program Narrative
         Introduction and Overview
               The Grid Resilience Grant Program, funded through Section 40101(d) of the Infrastructure
               Investment and Jobs Act (IIJA), will be administered through the Colorado Energy Office (CEO)
               and Colorado Department of Local Affairs (DOLA). The IIJA provides $2.5 billion in formula grants
               to states and tribes for the purpose of improving the all-hazards resilience of electric grids.
               Under this U.S. Department of Energy (DOE) formula program, Colorado is estimated to be
               awarded approximately $8.3 million annually for the next five years, or approximately $42.5
               million over the five year timeframe of 2022-2026. This application is for years 3-5 of the
               program, for approximately $8.3 million for each year, or a total of about $24.9 million.

               The state of Colorado’s Greenhouse Gas Pollution Reduction Roadmap identified reducing
               emissions from electric utilities by at least 80% by 2030 (from a 2005 baseline) and reducing
               emissions from buildings as key strategies to meet Colorado’s greenhouse gas emissions targets.
               Microgrids and the technologies that expand the use of smart appliances and grid interactive
               buildings will help meet both of these goals. In addition, the state of Colorado has experienced
               significant, recent climate related extreme weather events including wildfires (including
               Cameron Peak and East Troublesome fires in 2020, and the Marshall fire in 2021), extreme heat,
               winter storm Uri (2021), and flooding (2013) that have tested the resilience and reliability of the
               state’s energy infrastructure. The state intends to use the Grid Resilience Grant Program federal
               funding, matched with state matching funds from a program specifically set up for required state
               match for IIJA-funded programs, as well as utility funding to support investments in microgrids,
               grid hardening projects, advanced system monitoring, and technical and administrative
               assistance to support these programs.

         1. Objectives and Metrics

               The State of Colorado has been designated to receive $8,359,178 for the third year of funding
               (Federal FY 2024) from IIJA 40101(d) formula funding, and approximately the same amount for
               the fourth and fifth years. The State of Colorado is pursuing this funding to work with eligible
               entities- including utilities, storage operators, and others- to support investments in solutions


                                                                                                                1
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 103 of 556
                                       PageID #: 6033



      that can provide reliable energy through the climate related extreme impacts. The objectives of
      the programs that Colorado will be funding include:

          1. Identifying the need for, design, and construct microgrids that serve communities in
             areas of high risk of power outages.
          2. Implementing grid hardening projects of greatest need for cooperative and municipal
             utilities.
          3. Deploying advanced grid monitoring systems to protect the grid against wildfires and
             other risks.
          4. Ensuring that subgrantee utilities use strong labor standards and protections, including
             project labor agreements, local hire agreements, and a plan to attract, train, and retain
             an appropriately skilled workforce.

      Each of these objectives have a focus on responding to resilience and energy justice concerns in
      Colorado. The end goal of each of these objectives is to reduce the frequency and duration of
      power outages, especially in disadvantaged communities that have historically had higher
      incidences of power outages and/or have less resources to address the problem of power
      outages.

      The Colorado Energy Office (CEO), as the applicant for these funds, is partnering with the
      Colorado Department of Local Affairs (DOLA). Together, CEO and DOLA will implement the
      following five programs to meet the above objectives:

          A. Microgrids for Community Resilience (restricted to rural electric cooperatives and
             municipal utilities): Construction of distributed energy resources for enhancing system
             adaptive capacity during disruptive events, including microgrids and battery-storage
             subcomponents
          B. Microgrids for Community Resilience (open to all utilities): Construction of distributed
             energy resources for enhancing system adaptive capacity during disruptive events,
             including microgrids and battery-storage subcomponents
          C. Development of grid hardening projects for small cooperative and municipal utilities that
             advance the state’s goal of an equitable transition to a low-carbon economy through
             access to renewable energy (Colorado's goal is 100% renewable energy for the grid by
             2040).
          D. Implementation of advanced grid monitoring for use in smart grids and microgrids.
          E. Technical assistance and administrative support as needed (5% of federal funding).

      DOLA will administer programs A and B, while CEO will administer programs C, D, and E.

      Objective 1 (microgrids) will be a primary focus of programs A, B, and E. The outcome metrics of
      these programs towards objective 1 will include:




                                                                                                    2
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25        Page 104 of 556
                                        PageID #: 6034



        i.    Number of microgrid grants and funding amount awarded to communities that express
              the greatest risks and vulnerabilities including climate risks, socioeconomic risks, and
              infrastructure risks.
        ii.   Increases grid reliability and resiliency through avoided and/or reduced outages in
              benefit communities, as reported by subgrantees.
       iii.   Number of microgrid grants and amount of funding awarded to disproportionately
              impacted communities as defined by Justice40 and Colorado EnviroScreen.
       iv.    The Colorado Microgrid Roadmap will identify communities most at risk to power
              outages, communities that would most benefit from microgrids, and regulatory,
              statutory, and other changes that would facilitate the creation of microgrids in those
              communities.

      Objective 2 (grid hardening projects for utilities/communities of greatest need) will be the
      primary focus of program C. The metrics used to measure outcomes of this program towards
      meeting objective 1 include:

        i.    The ability of specific grid hardening activities to mitigate risks of power outages in
              specific communities, including but not limited to outage frequency and duration, as
              measured by estimated impacts on SAIDI and SAIFI.
        ii.   The proportion of historically disadvantaged community members in the communities
              benefiting from the projects (as measured by percentage below area median income
              (AMI), ethnic composition, and other socioeconomic factors).
       iii.   Advances energy justice through a combination of metrics (i) and (ii).
       iv.    The demonstrated financial need of the cooperative or small municipal utility shows that
              the identified projects could not be completed without outside grant funding.

      Objective 3 (advanced grid monitoring) is the primary focus of program D. The metrics used to
      measure outcomes of this program towards meeting objective 1 include:

        i.    Ability of the projects to increase grid reliability and resiliency through grid monitoring
              technologies, through SAIDI and SAIFI.
        ii.   Justification of need: Demonstrated financial need of the applying entity to cover the
              costs of developing or updating an advanced monitoring system.
       iii.   Share of electricity in impacted communities from renewable and distributed generation
              sources and the ability of the advanced grid monitoring systems to support the current
              and future deployment of higher percentages of renewable energy.
       iv.    Projected equitable impacts: Degree to which application demonstrates process or
              projections by which at least 40% of the benefits from the projects flow to
              disproportionately impacted communities, in alignment with the federal Justice40
              initiative.




                                                                                                       3
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 105 of 556
                                           PageID #: 6035



       Objective 4 (strong labor standards) is an additional focus of each program (A, B, C, D, and E).
       The metrics used to measure the outcomes of these programs towards meeting objective 4
       include:

          i.     Degree to which applicants demonstrate that the projects are projected to create or
                 maintain jobs that will meet or exceed local prevailing wages and benefits, as
                 determined by the Davis Bacon Act.
         ii.     Inclusion of workforce development opportunities for current and future employees as
                 part of the projects, including training practices, and partnering with a training provider.
        iii.     Extent to which the workers employed by the projects have a free and fair choice to join
                 a union.
         iv.     The proportion of workers employed that have appropriate and applicable credentials.
          v.     The extent to which the subgrantee uses labor agreements, such as project labor
                 agreements and local hire agreements.

2. Criteria

       CEO and DOLA plan to use a competitive process to award grant funding, based on the criteria
       below, with the planned allocation and matching funds following the budget below. Each
       program will have its own competitive subgrantee or vendor selection process, and the criteria
       are described in detail below.

   a. Priority to projects that will generate the greatest community benefit in reducing the likelihood
      and consequences of disruptive events

       Each of the proposed programs will have separate criteria for the selection of the subgrantees,
       with priority to projects that will generate the greatest community benefit in reducing the
       likelihood and consequences of disruptive outages and other impacts to the electrical grid. As
       DOLA and CEO are separate agencies both under the current Administration, they have
       developed slightly different, yet similar criteria.

       DOLA Criteria for Programs A and B:

       DOLA’s scoring tool will be out of a maximum of 90 points.

              1. a. Project Description and Management - 20 points
                     a. The problem, opportunity, or challenge this project will address
                     b. Describe the ability to generate the greatest community benefit and how these
                         funds will reduce the likelihood and consequences of disruptive events.
                     c. Demonstrated community support of the proposed activities described in 1.b
                            i.   The project realizes and outlines mutual community benefits as
                                 demonstrated by signed letters of support from community-based




                                                                                                           4
Case 1:25-cv-00039-JJM-PAS         Document 68-123           Filed 02/07/25       Page 106 of 556
                                     PageID #: 6036



                             partners, including anchor institutions, local governments, organizations
                             representing socially vulnerable areas, and/or partner agencies.
        2. Project Readiness - 30 points
               a. Time frame for completion
               b. Steps taken in advance of this application
                       i.    Applicant has a strong track record of actions and planning towards
                             energy efficiency, demand-side management, incentive programs, or
                             other initiatives that demonstrate commitment to local energy resiliency
                             and reliability. For example:
                                 1. Proposed microgrid has a higher reliance on
                                     non-fossil-fuel-based generation
                                 2. The utility has (or is proposing to) take the opportunity to
                                     promote energy efficiency and demand-side management
                                     programs
                                 3. The utility has (or is proposing to develop) an incentive program
                                     that saves partners money when they use energy storage to
                                     reduce electricity use during peak electricity use periods
                                 4. Other programs that demonstrate a commitment to local energy
                                     resiliency, reliability, and "microgrid readiness"
               c. Alignment of project with other local and regional plans
                       i.    Demonstrate readiness through financial resources being committed
                             and aligned with risk mitigation and community goals
               d. How the utility has utilized and/or promoted energy efficiency or demand-side
                   management programs
        3. Measures of Risks and Vulnerability (Reduces vulnerabilities and increases grid reliability
           and resiliency) - 30 points
               a. Socioeconomic risks and vulnerabilities
                       i.    Evidence of social vulnerability is demonstrated through the Justice40
                             and Colorado EnviroScreen mapping tools
               b. Climate/extreme weather risks and vulnerabilities
                       i.    Data and narrative is provided to support the degree of exposure to
                             climate related severe weather or natural disaster events for a rural
                             community or communities that are part of a proposed project
               c. Infrastructure risk and vulnerabilities
                       i.    Data is provided to show infrastructure vulnerability, including but not
                             limited to utility-provided or FEMA data (e.g., standard Key Performance
                             Indicators: MTBF (mean time before failure), MTTR (mean time to
                             recovery, repair, respond, or resolve), MTTF (mean time to failure), and
                             MTTA (mean time to acknowledge)
        4. Budget and timeline - 10 points
               a. Total budget, including match amount and source
                       i.    Demonstrates eligibility through local effort and match



                                                                                                    5
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25       Page 107 of 556
                                        PageID #: 6037



                  b. Cost estimates determination
                  c. Timeline and deliverables
                        i.   Timeline is feasible

      CEO Criteria for Programs C and D:

      CEO’s scoring tool will be out of 100%

                  1.    Demonstrated need - 40%
                           a. Historic frequency and duration of power outages
                           b. Proportion of historically underserved populations in the target
                                community or communities
                           c. Demonstrated financial need of cooperative or municipal utility
                  2.   Project Impact - 30%
                           a. Climate and social vulnerability
                           b. Ability of the project to mitigate risks of power outages to the
                                community
                  3.   Labor Impact - 10%
                           a. The focus of the applying utility on strong labor standards and
                                protections, such as through project labor agreements, training
                                practices, plans to partner with a training provider, and the use of
                                appropriately credentialed workforce
                  4.    Project Readiness - 10%
                           a. Demonstration of administrative, technical and operational
                                preparedness
                  5.    Cost Match - 10%
                           a. Ability of the utility to meet or exceed the 33% minimum cost match

      CEO Criteria for Program E:

          Staff at CEO and DOLA will analyze the needs for additional technical assistance in grid
          resilience in the upcoming years to identify specific funding priorities and projects that are
          needed. Criteria for these programs will include:

          1. Demonstrated need for the technical assistance from sub-recipients, potential
             subrecipients, utilities, local governments, and other organizations in Colorado
             concerned with grid resilience.
          2. Alignment with state policies and goals relating to grid resiliency, decarbonization,
             worker safety, equity, and electrification.
          3. Usefulness of other similar technical assistance programs and/or potential for
             replicability of this technical assistance in other states or jurisdictions.




                                                                                                       6
Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25           Page 108 of 556
                                             PageID #: 6038



              4. Assurance that the cost of the program will not exceed the 5% cap for technical
                 assistance and administration for the federal IIJA 40101(d) funding.

   b. Percentage made available to eligible entities that sell not more than 4,000,000 megawatt hours
      of electricity per year being not less than the percentage of all customers in the state that are
      served by those eligible entities

                  Colorado has fifty-four retail electric utilities, and five wholesale electric utilities and
                  only two of these retail utilities, Xcel Energy and Colorado Springs Utilities, sell more
                  than 4,000,000 megawatt hours (MWh) of electricity per year.1 The other retail utilities
                  (“small utilities”) provide electricity to the remaining 37% of Colorado electricity
                  customers. Colorado is anticipated to receive $8,359,178 for program year three, with
                  the state of Colorado providing a 15% match of $1,253,877, for a total state-federal
                  allocation of $9,613,055. The percentage of this total funding that is equivalent to the
                  same percentage of Colorado residents that receive funding from small utility companies
                  (37%) is $3,556,830. To ensure that at least this amount of funding flows directly to
                  Colorado's small utility companies, two of the five programs that will be created by this
                  funding will be restricted to small utilities: Programs A and C. The combined total
                  allocation to these two programs will be greater than the amount listed above.

   c. Awards should be provided to eligible entities for projects within the State or on the land of the
          Indian Tribe.

                  Regardless of lead agency, each eligibility determination will start with the applicant
                  being reviewed as eligible within the state of Colorado. CEO and DOLA will ensure that
                  subawards are only selected from the “Eligible Entities for Subawards”, as identified in
                  the 40101d FOA (III.A.ii). In particular, CEO and DOLA are focused on electricity grid
                  operators, although it is possible that sub-awardees include electricity storage operators,
                  electricity generators, and/or transmission owners or operators.

                  Below are specific eligibility criteria for each of the specific programs.

                      Programs A and B led by DOLA

                           A - Eligibility for this program is meeting the definition of a small utility provider
                      (note, this eligibility is representative of Section 40101(d) which includes that the
                      eligible entity sell not more than 4,000,000 megawatt hours of electricity per year as
                      not less than the percentage of all customers served by that entity.
                           B - Eligibility for DOLA program B is open to any utility provider.

                      Programs C, D, and E led by CEO


   1
       Based on 2021 data from the U.S. Energy Information Administration.


                                                                                                               7
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25        Page 109 of 556
                                         PageID #: 6039



                       C - Eligibility for this program is for GRID hardening for small and remote utility
                   providers
                       D - Eligibility for this program is open to all Colorado electric utility providers
                       E-Eligibility for this program is for eligible and competent
                   organizations/companies who are able to meet the requirements of the study
                   required by statute. Eligibility and competency will be determined by the criteria
                   described above.

3. Methods

       CEO and DOLA will each use competitive methods for the solicitation, awarding, and distribution
       of funding. Even though these grants will be led by different agencies, there will be consistency
       in the reviewers by having staff representatives from CEO and DOLA reviewing each applicant
       through the five different opportunities. This will enable the review process to be consistent and
       have enough reviewers to create a balance in the overall scores.

       Each agency has program managers dedicated to the programs this funding opportunity will help
       create. These program managers will work through all phases of the programs, including
       program and application development, application review, subgrantee selection and notification,
       grant implementation, reporting to DOE and the public, and grant closeout. Some of the tasks
       will include: distributing information pertaining to each program through various methods to
       the full body of potential applicants (via email, website, vendor self service platform, social
       media, etc.); holding stakeholder meetings to gain input on the application process; posting
       application directions, receiving applications, and leading selection committee review of
       applications; contacting applicants on award status and contracting subgrantees; establishing
       protocols and platforms for invoicing, reimbursements, and reporting; and maintaining websites
       that make public the metrics achieved by awardee uses of program funds to improve resilience
       by reducing the likelihood and consequences of disruptive events, generating and maintaining
       quality jobs, and improving equity and community benefits.

4. Funding Distribution
       Distribution of the allocated formula funding from the IIJA section 40101(d) for Colorado will be
       allocated amongst these four programs based on need, interest, and the ability of the programs
       to best meet the needs of the most Coloradoans and meet the criteria as listed above. The first
       two years of funding allocated 59% of the funding to the DOLA-led Microgrid Programs, 24.6% to
       the Grid Hardening for Small and Rural Communities, 11.5% to the Advanced Grid Monitoring
       Program, and 5% to administration and technical assistance. As there was the highest number of
       applications and requested amounts for the Grid Hardening program, approximately 49% of the
       funding for year 3 will be allocated to that program, the remaining amount distributed among
       the other programs. The funding in years 4 and 5 will be allocated amongst these existing
       programs based on interest and applications received for the first three years to ensure that the



                                                                                                        8
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 110 of 556
                                          PageID #: 6040



       objectives of the IIJA 40101(d) and Colorado Grid Resiliency programs are met to the fullest
       extent possible.


       Program A: Microgrids for Community Resilience (cooperative/municipal utilities only),
       The State of Colorado has a large and diverse geography, with rural communities located in
       remote canyons and widely dispersed along the eastern plains. These rural communities are
       vulnerable to electric interruptions, as they are often located far along the electricity distribution
       lines from the generation sources and transmission lines. The Colorado Microgrids for
       Community Resilience Act (HB22-1013) states: “The use of microgrids can help increase a
       community’s resilience regarding severe or natural disaster events that can affect the electric
       grid by providing the community with an alternative, reliable source of electricity that is not
       dependent on the electric grid”. Therefore, the HB22-1013 funding will be tied to essential
       infrastructure and support strengthening community resilience. This Objective A program is
       closely aligned with the Objective B program, with the exception that Objective A funding is
       reserved for cooperative and municipal utilities that serve rural areas. Rural is defined as being in
       a county that has less than 50,000 people or a town that has less than 25,000 residents.

       Program B: Microgrids for Community Resilience (open award for all utilities)
       Colorado is already experiencing the impacts of climate change including increased flooding and
       wildfires. The use of microgrids, including distributed generation and storage, can improve the
       resilience of the grid and improve the reliability of energy delivery by providing communities
       with reliable sources of power. This funding will support microgrid development in vulnerable
       communities. The objectives and metrics of this program will be the same as those from
       Objective A: Microgrids for Community Resilience, with the exception of that the applicant need
       not be restricted to small rural cooperatives and municipal utilities. If the utility is over the
       threshold of 4 million MWh per year, the match increases from 1/3 to 100%. The metrics for
       Objective B are the same as those for Objective A, with the exception that they are not reserved
       only for small and rural communities.

       Program C: Grid Hardening in Small and Remote Communities
       The Grid Hardening Act of 2021 defined grid hardening as “ The ability to use technology,
       equipment, or hardening measures to enable the electric grid to better withstand the effects of
       extreme weather, a wildfire, or any other natural disaster.” Grid hardening projects typically
       focus on and prioritize options to reduce the impact of these events, make the components of
       the system more resilient to the impacts, and often use innovative response approaches.2 This
       funding will be reserved for rural electricity cooperatives and small municipally-owned utilities.

       Some of the uses for this funding include:



   2
     Richard, Jeffery. 2017. "The Keys to Grid Hardening." Leidos.com. retrieved 8/22/22 from:
   https://www.leidos.com/insights/keys-grid-hardening-how-implement-effective-solution


                                                                                                           9
Case 1:25-cv-00039-JJM-PAS             Document 68-123            Filed 02/07/25        Page 111 of 556
                                         PageID #: 6041



          ●   monitoring and control technologies
          ●   the undergrounding of electrical equipment
          ●   utility pole management
          ●   the relocation of power lines or the reconductoring of power lines with low-sag,
              advanced conductors
          ●   vegetation and fuel-load management
          ●   the replacement of old overhead conductors and underground cables


      Objective D: Advanced system monitoring for use in smart grids and microgrids
      Per statutory requirements, Colorado’s electrical utilities are rapidly transitioning from primarily
      depending on fossil fuels as generation sources to renewable energy sources, particularly wind
      and solar. Smart grids have a higher reliance on distributed generation resources, whereas
      microgrids have the ability to function independently of the wider grid (“island mode”). The use
      of wind, solar, and storage as energy sources for smart grids and microgrids requires a more
      precise understanding of weather conditions as relating to electricity generation, storage, and
      use. This funding would incentivize communities operating smart grids and microgrids to invest
      in technologies that would support this advanced system monitoring.

      Program E: Technical Assistance and Administration of Colorado Grid Resilience Programs
      In addition to investing in projects, Colorado intends to use some of the funding to support
      technical assistance and administration of these programs. During the first round of funding, CEO
      and DOLA utilized a portion of the 5% allowable Technical Assistance and Administrative funding
      to pay for stakeholder engagement and report research, writing, and review to create the
      Colorado Microgrid Roadmap. This project was required by Colorado Legislation HB22-1249, and
      will be published by January 1, 2025. While specific technical assistance programs for grid
      resilience in Colorado have not been specifically identified for years 3-5, the State plans to fund
      eligible technical assistance programs that have been identified as needed through the Microgrid
      Roadmap, administration of grid resiliency grants, or are State priorities. For example, in the
      development of the Colorado Microgrid Roadmap, stakeholders identified the need for a course
      or training on battery storage safety.

      Eligible Entities - During the first two rounds of funding for the Microgrids for Community
      Resilience program, concern was raised by a number of potential applicants that the fact that
      funding was limited to electrical utilities restricted the widespread deployment of microgrids.
      The project managers have been working with the NETL Federal Program Officer to expand the
      list of eligible entities to include “electricity storage operators” and “electricity generators”, even
      if they produce or maintain small scale storage or generation equipment. This will allow for more
      community anchor institutions, such as schools, public and non-profit hospitals or other
      health-care facilities, libraries, law enforcement, emergency medical service providers, other
      public safety agencies, government offices, community organizations that support marginalized




                                                                                                          10
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25       Page 112 of 556
                                       PageID #: 6042



      communities, or other critical community service facilities. DOLA and CEO will work closely with
      the NETL FPO to ensure that any entity selection will meet the requirements of the IIJA 40101(d).

5. Equity Approach
      Colorado is committed to a just and equitable access to the benefits of clean, renewable energy
      including reduced air pollution and investing in Colorado’s workforce. As described in the
      “criteria” section above, CEO and DOLA intend to include equity and employment as criteria in
      determining awards for each of the funding objectives including:

                  a. Quality Jobs
                        i.    Degree to which application demonstrates that the project is projected
                              to create and maintain new jobs or workforce demand, and inclusion of
                              planning for funding past initial grant funding as needed.
                       ii.    Demonstration of the utility’s plans to pay wages that meet or exceed
                              local prevailing wages, as determined by the Davis Bacon Act.
                      iii.    Just Transition: Workforce opportunities in communities that have lost
                              jobs due to the displacements of fossil energy jobs
                  b. Community Benefits
                        i.    Historic frequency and duration of power outages, especially those due
                              to natural disasters and extreme weather events
                       ii.    The project realizes and outlines mutual community benefits as
                              demonstrated by official letters of support explicitly describing the
                              community benefits from community-based partners, including anchor
                              institutions, local governments, and/or partner agencies.
                      iii.    Demonstrated financial need of the cooperative or small municipal
                              utility demonstrating that the identified projects could not be completed
                              without outside grant funding.
                  c. Diversity, Equity, Inclusion, and Accessibility:
                        i.    Projected equitable impacts: Degree to which application demonstrates
                              process or projections by which at least 40% of funds will be invested in
                              projects in disproportionately impacted communities, in alignment with
                              the federal Justice40 initiative.
                       ii.    Measures of Risks and Vulnerability (Reduces vulnerabilities and
                              increases grid reliability and resiliency)
                                   1. Socioeconomic risks and vulnerabilities: Evidence of social
                                       vulnerability is demonstrated through the Justice40 and
                                       Colorado EnviroScreen mapping tools
                                   2. Climate/extreme weather risks and vulnerabilities: Data and
                                       narrative is provided to support the degree of exposure to
                                       climate related severe weather or natural disaster events for a




                                                                                                    11
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 113 of 556
                                          PageID #: 6043



                                       rural community or communities that are part of a proposed
                                       project
                                    3. Infrastructure risk and vulnerabilities : Data is provided to show
                                       infrastructure vulnerability, including but not limited to
                                       utility-provided or FEMA data (e.g., standard Key Performance
                                       Indicators: MTBF (mean time before failure), MTTR (mean time
                                       to recovery, repair, respond, or resolve), MTTF (mean time to
                                       failure), and MTTA (mean time to acknowledge)




6. Technical Assistance and Administration:


        Administration of the five programs listed above by CEO, DOLA, and the Subgrantees
        CEO and DOLA are cognizant of the 5% administrative budget cap associated with the 40101d
        funding. This budget amount plus the Program E budget is equivalent to five percent of the total
        allocation to the state of Colorado for all the years of this program. Any funding that will be
        passed from CEO to DOLA will go through an interagency agreement with clear restrictions and
        reporting requirements.

        Technical assistance will be provided to sub-grantees through contractors approved by the
        Department of Energy. Additionally, DOLA has already conducted a grant application, review and
        approval for planning grants for programs A and B, paid for out of state funding.



7. Public Notice and Hearing:

        Colorado will post a draft of its application to its “Colorado Electric Grid Resilience Funds”
        website as well as to relevant agencies' IIJA websites or main site. The Colorado DOLA and CEO
        held an open informational meeting on Thursday, March 6, 2024, 2-3:30pm (MST) via Zoom,
        which was attended by over 50 interested parties, mostly representing Colorado’s electric
        utilities. The designated State of Colorado staff reached out to parties that would be potentially
        interested in applying for this grant funding, including rural municipal and cooperative utilities,
        the Colorado Rural Electric Association (CREA), Ute and Southern Ute Tribes. These state staff are
        also making public announcements via:

                    ●   In person and virtual meetings with various utilities, NGOs, and interested
                        groups.
                    ●   Social media posts.

        This was the third such public meeting related to the allocation of the IIJA section 40101(d)
        funds in Colorado, with the first one being held on November 17, 2022. Following the initial


                                                                                                        12
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25        Page 114 of 556
                                        PageID #: 6044



      public hearing, a draft of the narrative and the Microgrids for Community Resilience Application
      Guidelines were posted on state of Colorado websites, including that of the Colorado Energy
      Office and the Department of Local Affairs. Contact information for the appropriate staff
      members was provided and the public were encouraged to submit comments on these
      documents and the proposed use of these funds. The initial deadline for commenting was set for
      December 5, but was later extended to December 12, 2022. A total of 10 parties submitted
      comments, which were subsequently posted, and commented on by Colorado State staff
      members. Additionally, key changes to the narrative were made by staff based on the comments
      provided by the public.

      CEO and DOLA held an additional stakeholder meeting and October 10, 2023 after the award
      notification was made by DOE. The purpose of this meeting was to provide updated information
      on the five programs Colorado’s 40101d funding will support, and to receive additional input on
      the criteria, grant sizes and numbers, and other important programmatic updates and timelines.
      The state of Colorado is dedicated to ensuring that these funding opportunities are most
      effective at increasing grid resiliency and reliability in Colorado, increasing energy justice, and
      creating good jobs and lasting careers in the electric utility industry.




                                                                                                      13
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 115 of 556
                               PageID #: 6045
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 116 of 556
                               PageID #: 6046
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 117 of 556
                               PageID #: 6047
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 118 of 556
                                      PageID #: 6048




To: U.S. Department of Energy, Grid Deployment Office, ℅ Lucas Greza, NETL FPO
From: John Parks, Colorado Energy Office
Date: April 12, 2024
RE: Colorado 2024 IIJA 40101(d) Cost Match Letter

As part of the IIJA 40101(d) Formula Funding application, a State funding match of at least
15% is required. The Colorado Energy Office will be using State matching funds through the
Colorado Infrastructure Investment and Jobs Act Cash Fund. The Colorado General Assembly
passed Senate Bill 22-215 and Senate Bill 23-283 (creating Colorado Revised Statute
24-75-232), the Infrastructure Investment and Jobs Act Cash Fund, which allocates
approximately $164 million in state General Funds for local match support for state agencies
and local governments for the non-federal match requirements included in the federal
Infrastructure Investment and Jobs Act (IIJA.) From these bills, the Colorado Governor’s
Office, in collaboration with the Office of Economic Development and International Trade
(OEDIT) has created the Infrastructure Investment and Jobs Act (IIJA) Match grant program to
support non-federal match requirement when are applying directly to the federal government
for an IIJA Program.

Cost Match Value: $1,253,877 has been approved for Federal FY 2024 award (which is equal
to 15% of the $8,359,178 IIJA 40101(d) grant for Colorado), and approximately the same
amount has been requested for Federal Fiscal Years 2025 and 2026.

Organization of the cost match: Colorado Governor’s Office

Type of Cost Match: Cash

Description: This match will be met through the program specifically set up in the State of
Colorado to meet state needs for matching funds for programs supported by the IIJA. These
cash funds are available now. The matching funds from the State of Colorado will be
allocated to the four Grid Resiliency programs in Colorado, which are managed by the
Colorado Energy Office and the Colorado Department of Local Affairs. Therefore, these funds
meet the 15% state match requirement, and will be further matched by the 33% or 100%
match from the eligible entity (percentage based on type and size of entity), all of which will
increase electrical grid resilience in Colorado.
                  Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 119 of 556
                                                        PageID #: 6049




Colorado IIJA 40101(d) 2024 Public Notice Hearing Documentation
April 17. 2024

The Grid Resiliency Team at the Colorado Energy Office (CEO) and Department of Local Affairs (DOLA) decided to keep the same
four programs from the first funding cycle of the IIJA 40101(d) program, but to change the allocation amounts and percentages
amongst the existing programs. This decision was based on the following factors:
    1. In the program narrative that we submitted in the first round in January 2023 and updated in June 2023, the distribution
        between the programs was very explicit and the dollar amounts were provided.
    2. The 2024 allocation to Colorado (and all states) is different from the first allocation, which included both 2022 and 2023.
    3. There were some programs that were oversubscribed by sub-grant applicants and some that were undersubscribed. The
        reallocation was done in a way to address these differences and meet the needs of Coloradoans to increase grid resiliency
        most effectively.
    4. We were advised that by removing the specific numerical and percentile allocation between each of these programs in the
        program narrative, the updated program narrative would apply for the remaining three years of the program (2024-2026), and
        we could make adjustments in each year’s allocations depending on the solicitations received in the previous years.

We also recognize that Colorado is unique in that we are offering multiple sub-grant programs with our Grid Resiliency formula
funding.

On March 6, 2024, John Parks from CEO and Julia Masters from DOLA held a virtual public notice and hearing via Zoom. Invitations
to this event were emailed to a list of several hundred people who represent utilities, municipalities, NGOs, and interested people
who have signed up for updates to our program over the past two years. Notice of the meeting was also posted on our website for
three weeks. There were 66 registrants for this meeting, most of whom attended. The meeting included a Q&A session and
discussion at the end. The whole meeting was recorded and posted on Youtube on the CEO channel, where it has received 33
viewings over the past month.
                  Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 120 of 556
                                                        PageID #: 6050


Below is a screenshot of the Colorado Grid Resiliency Website with a link to the recording and Power Point Presentation.
https://energyoffice.colorado.gov/federal-funding-incentives/colorado-electric-grid-resilience-funds
                  Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25   Page 121 of 556
                                                         PageID #: 6051


Below is a screenshot of the Youtube posting of this webinar at: https://www.youtube.com/watch?v=ouUhrh4B700




Below are the slides from the presentation that was presented at this public meeting.
           Case 1:25-cv-00039-JJM-PAS        Document 68-123    Filed 02/07/25   Page 122 of 556
                                               PageID #: 6052



                 2024 Update to Colorado’s
                  Grid Resilience 40101(d)
                     Funding Allocation
               Funding under the Infrastructure Investment and Jobs
                                     Act (IIJA)




      John Parks                                                      Julia Masters
Electricity Markets & Transmission Policy Analyst               Microgrids for Community Resilience Program Manager
             Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 123 of 556
                                            PageID #: 6053
Colorado 2024 Grid Resiliency Public Meeting Agenda

1.   First Round of Electric Grid Resilience Funding in Colorado
2.   Proposed Allocation of Year 3 funding
3.   Programs within IIJA Grid Resilience Funding
     a.    Colorado Resilience Office
             i.   Microgrids for Community Resilience (Planning & Construction)
     b.    Colorado Energy Office
             i.   Grid Hardening Grants for Small Utilities
            ii.   Advanced Grid Monitoring Grant Program
           iii.   Microgrid Roadmap
4.   Discussion
5.   Q&A
       Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 124 of 556
                                      PageID #: 6054
Background on Electric Grid Resilience in Colorado

  Building on the State’s GHG Pollution Reduction
  Roadmap 2.0, Energy Assurance Emergency Plan,
  and Colorado Resiliency Framework, Colorado will:
   ● Create a Microgrid Roadmap to guide
     investments (per HB22-1249)
   ● Support initial investments in solutions that
     make energy systems resilient while advancing
     an equitable transition to a low-carbon
     economy
          Case 1:25-cv-00039-JJM-PAS Document 68-123 Filed 02/07/25 Page 125 of 556
Initial 2 Year       Budget - FY            2022
                                       PageID #: 6055 & FY 2023
                                                                 Studies,
                                                                Technical
            Microgrids                         Advanced         Support &
                              Grid Hardening
           (non-generation)                    Monitoring      Administrati
                                                                    on
U.S. DOE
40101(d)
funding:                                                                        U.S. DOE
           $10,170,136         $4,236,494      $1,980,666      $862,489          TOTAL:
                                                                              $17,249,786


Colorado
            $2,587,467                          Remaining
Matching                                                                            GRAND TOTAL:
 funds                            $564,000      HB22-1013
                                                  Funding                            $20,402,253
 (15%):
                                                (generation)
       Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 126 of 556
                                      PageID #: 6056
40101d Funding So Far:




     # of Sub-Awards        4           7         6
    Proposed to DOE:
                          Case 1:25-cv-00039-JJM-PAS             Document 68-123             Filed 02/07/25    Page 127 of 556
                                                                   PageID #: 6057

      Initial Grid Resilience Funding Timeline


  10/23                        11/23                        12/23                             1/24                      2/24
  W       W      W       W      W       W      W     W      W       W          W   W         W     W       W    W        W     W      W     W
  1       2      3       4      1       2      3     4      1       2          3   4         1     2       3    4        1     2      3     4




MCR Application Window                                   Selection Committee           Award/Denial - To DOE            DOE Review…

                                                                                                                    Award/Denial - To DOE       DOE
       Grid Hardening Application Window                                   Selection Comm.                                                      Review…
                                                                                                                    Award/Denial - To DOE       DOE
       Advanced Grid Monitoring Application Window                                       Selection Comm.
                                                                                                                                                Review…




               All Projects selected by the State are currently pending U.S. DOE compliance review.
                             DOE review may take 2-6 months, depending on NEPA review time.
      Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 128 of 556
                                     PageID #: 6058
Colorado’s 2024 Year 3 40101(d) Funding

                        Federal Funding
                           $8,359,178
                      State Match (15%)
                           $1,253,877
         Total Funding Federal & State
                           $9,613,055
        Case 1:25-cv-00039-JJM-PAS Document 68-123 Filed 02/07/25 Page 129 of 556
Year 3 Budget         - 2024 ProposedPageID #: 6059  Allocations

                                                              Studies,
            Microgrids                          Advanced     Technical
                              Grid Hardening                 Support &
           (non-generation)                     Monitoring
                                                              Admin.
U.S. DOE
40101(d)
funding:                                                                    Federal Funding

           $2,006,203
                                                                             $8,359,178
                               $4,095,997      $1,839,019    $417,959
              (24%)               (49%)           (22%)        (5%)
Colorado
Matching                                                                   State Match (15%)
 funds       $300,930            $614,400       $275,853      $62,694        $1,253,877
 (15%):

                                $4,710,397     $2,114,872    $480,653       GRAND TOTAL:
Total      $2,307,133
                                                                             $9,613,055
      Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 130 of 556
                                     PageID #: 6060
Proposed Year 3 Funding
      Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 131 of 556
                                     PageID #: 6061
Total 40101d Allocations To-Date
             Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 132 of 556
                                            PageID #: 6062
Colorado 2024 Grid Resiliency Public Meeting Agenda
1.   Background on Electric Grid Resilience in Colorado
2.   Proposed Allocation for Year 3 funding
3.   Programs within IIJA Grid Resilience Funding
     a.    Colorado Resilience Office
            i.    Microgrids for Community Resilience (Planning & Construction)
     b.    Colorado Energy Office
            i.    Grid Hardening Grants for Small Utilities
           ii.    Advanced Grid Monitoring Grant Program
           iii.   Microgrid Roadmap
4.   Discussion
5.   Q&A
               Case 1:25-cv-00039-JJM-PAS    Document 68-123    Filed 02/07/25   Page 133 of 556
                                               PageID #: 6063
MCR Program Overview
  Microgrid: a group of interconnected electric
  loads and distributed energy resources that
  can be connected to or disconnected from
  the electric grid to enable it to operate
  either in “grid-connected mode” or in
  “island mode.”


Program Purpose:
Increase community-level climate resilience
through:
      ● Funding (1) Planning grants (2)
          Implementation Grants
      ● Funding “multi-objective” plans and
          projects that integrate all three elements:
          mitigation, adaption, and advancing IDEA
          Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 134 of 556
                                         PageID #: 6064

Classifications of Microgrids

Level 1 “Single Customer Microgrid”:
Single distributed energy resource (DER) system
that is serving one customer through a single
meter. This microgrid class is connected to and
can island from the distribution grid.
          Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 135 of 556
                                         PageID #: 6065

Classifications of Microgrids

Level 2 “Campus Microgrid”:
Single or multiple DER system
connecting multiple buildings,
controlled by one meter at the
point of common coupling. This
microgrid class is connected to
and can island from the
distribution grid
            Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 136 of 556
                                           PageID #: 6066

Classifications of Microgrids
Level 3 “Community Microgrid”:
Single or multiple DER system that serves several different buildings/customers that are not
on the same meter or on the same site as the DER. The individual buildings/customers may
be independently connected to the larger distribution grid.
            Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25              Page 137 of 556
                                                PageID #: 6067
Resilience Benefits of Microgrids
                                                             Communications                                  Economic Resilience
                                                               Resilience
                                                                                                              Poudre Valley Rural
                                                           San Miguel Power                                   Electric Association
                                                             Association
                                                                                                                  Solar/storage/backup
                                                             Solar/storage microgrid                         generation microgrid dedicated
                                                          dedicated to supporting the                       to supporting a ﬁre station, retail
                                                        utility's critical communications                      store, restaurant, elementary
                                                        equipment. Although this is NOT                     school, post oﬃce, CDOT facility,
                                                             a community facility, the                       church, gas station, and several
                                                                   justiﬁcation for                            homes. System installed at
                                                                community-serving                               Livermore Fire Station and
                                                         communications offer strong                          supports a range of economic
                                                                 resilience beneﬁts.                              vitality within the area




                                                                                       Grid Resilience
 See the full list of all 8 planning grants
       funded in February 2023                                                              City of Delta
                                                                      Adding heat and Power (CHP) generation
                                                                    source to support community’s grid in event of
                                                                      shortfall, prolonged outage, or EMP attack
             Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 138 of 556
                                            PageID #: 6068
Existing Colorado Community Based Microgrids

City of Fort Collins
 ●   Solar/storage microgrid installed at Northside Aztlan
     Community Center, designed to provide backup power during
     the fire season to enable the center to host base operations
     for first responders
 ●   Partially funded by DOLA

Red Feather Lakes
 ●   Resiliency and emergency response supported for remote
     community
 ●   Developed through local, regional, and national partnership,
     and included funding from NREA, DOE, and others

San Miguel Power Association
 ●   Centered around mission-critical loads (building lighting,
     receptacles, communications and internet, control rooms, IT
     servers and radio rooms, and protective custody and lock
     systems)
                Case 1:25-cv-00039-JJM-PAS           Document 68-123       Filed 02/07/25    Page 139 of 556
                                                       PageID #: 6069
  MCR March 2024 Funding Availability
                     Planning           Construction                        Construction                       Total
                      (NOFA)              Generation                  Storage/Controller (NOFA)
                                            (NOFA)

Funding            $467,000           $ 540,000              $10,100,000                                    $11.1M
Available:

Eligible           Rural electric cooperatives and           All utilities, local governments, and public
applicants:        municipal-utilities only                  or non-profit community-based anchor
                                                             institutions

Maximum Award      $36,000 grant      $94,000 grant          $2,000,000 grant request
                   request            request

Match              ⅓ match            ⅓ match                ⅓ match for coops/munis, 100% match for
                                                             local gov/anchor institutions** or utilities
                                                             who sell over 4M MWh per year

                                                             **If local gov own or operate existing
                                                             solar/storage, DOLA will work with DOE to
                                                             reduce match from 100% to 1/3

         *Funding demand from this round will inform future rounds, including Year 3 Funding
              Case 1:25-cv-00039-JJM-PAS    Document 68-123    Filed 02/07/25   Page 140 of 556
                                              PageID #: 6070
Community Anchor Institutions
Community anchor institutions are schools; libraries; [public and     Resilience Hubs: trusted
non-profit] hospitals or other health-care facilities; law            community-serving facilities
enforcement, emergency medical service providers, or other public     augmented to support residents and
safety agencies; government offices; community organizations that     coordinate resource distribution and
support marginalized communities; or other critical community         services before, during, or after a
service facilities (as defined by HB22-1013, pg 2-3).                 natural hazard event
            Case 1:25-cv-00039-JJM-PAS            Document 68-123       Filed 02/07/25     Page 141 of 556
                                                    PageID #: 6071
Example MCR Grant Projects
 Project     Planning                              Construction/Implementation
 Type

 Examples    Establish community’s potential       New microgrid facilities, including shovel-ready projects.
 uses        for microgrid projects, including     Priority will be given to projects leveraging pre-existing
             scale, size, and cost                 assets. Projects are technology agnostic, and can include
                                                   funding* for:
             Evaluate existing infrastructure
             vulnerability through resiliency        ●    Energy storage (batteries, vehicle to grid battery
             criteria                                     storage, pumped hydro, geothermal)
                                                     ●    Microgrid controller
             Develop recommendations to              ●    Switchgears, inverters, and other electric system
             integrate resiliency criteria into           components
             forthcoming energy projects             ●    Replacing old generation components with new
                                                          components of the same type in order to ensure
                                                          weatherization/resilience, such as wind turbine blade
                                                          replacement or damaged solar cells within an existing
                                                          solar farm.


                                                         For HB22-1013 funding, new generation is an
                                                         eligible use of funds.
      Case 1:25-cv-00039-JJM-PAS    Document 68-123       Filed 02/07/25   Page 142 of 556
                                      PageID #: 6072
Application and Selection Criteria


                                   Demonstrates the greatest
                      01           community need, beneﬁt, and
                                   collaboration
                                   Reduces vulnerabilities and
                      02           increases grid reliability and
                                   resiliency


                      03           Local commitment and readiness




                  For more details, please see MCR Guidelines
           Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 143 of 556
                                          PageID #: 6073
MCR Webinars and Office Hours
●   March 6, 10-11:30 a.m. - Webinar 1: Public Health, Extreme Weather & Microgrids: This session
    will include presentations from Collective Energy and Colorado Department of Public Health
    and Environment on the intersecting needs of healthcare centers, extreme weather, and grid
    resilience [recording will be available on website]
●   April 2, 1-2 p.m. - Webinar 2: Microgrids for Community Resilience Overview & Best Practices:
    This session will include an overview of the project, eligible entities and projects, as well as
    best practices learned from previous awardees.
●   April 17, 9-10 a.m. - Webinar 3: Technical Assistance Offerings: This session will include an
    overview of free technical assistance, COSSA’s Solar In Your Community programming, and
    direct pay overview from the Colorado Energy Office.
●   May 30, 1-2 p.m. - Office Hours. This session is offered as drop-in support ahead of the
    application deadline.
          Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 144 of 556
                                         PageID #: 6074
Microgrids Technical Assistance Offerings

A compiled list of state and federal technical assistance is available, including
support from DOE and NREL. Reach out to Program Manager Julia Masters at
julia.masters@state.co.us for more support
             Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 145 of 556
                                            PageID #: 6075
Agenda
1.   Background on Electric Grid Resilience in Colorado
2.   Proposed Allocation for Year 3 funding
3.   Programs within IIJA Grid Resilience Funding
     a.    Colorado Resilience Office
            i.    Microgrids for Community Resilience (Planning & Construction)
     b.    Colorado Energy Office
            i.    Grid Hardening Grants for Small Utilities
           ii.    Advanced Grid Monitoring Grant Program
           iii.   Microgrid Roadmap
4.   Discussion
5.   Q&A
          Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 146 of 556
                                         PageID #: 6076
Colorado Energy Office Grid Resiliency Programs
1.   Grid Hardening Grants for Small and Remote Communities
              a.   $4.7 million available
              b.   Up to $1,000,000 per grant
2.   Advanced Grid Monitoring Grant Program
              a.   $2.1 million available
              b.   Up to $500,000 per grant
3.   Microgrid Roadmap
              a.   Jan-Feb Stakeholder Engagement - Vulnerabilities
              b.   Draft late June, Regional meetings in July
        Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 147 of 556
                                       PageID #: 6077
Rural and Small Community Grid Hardening - Uses
● Eligible entities: Colorado small and rural coop. and municipal
  utilities
● Eligible uses:
                             a) weatherization technologies and equipment;
                             b) fire-resistant technologies and fire prevention
                                   systems;
                             d) the undergrounding of electrical equipment;
                             e) utility pole management;
                             f) the relocation of power lines or the reconductoring
                                   of power lines with low-sag, advanced
                                   conductors;
                             g) vegetation and fuel-load management;
                             h) adaptive protection technologies;
                             j) hardening of power lines, facilities, substations, or
                                   other systems from weather events, fire, etc.
                             k) the replacement of old overhead conductors and
                                   underground cables.
         Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 148 of 556
                                        PageID #: 6078
Grid Hardening Grants - How much & When
● Up to $1,000,000 per grant
● One third Match requirement
    ○   $333,333 minimum if requesting maximum grant award
    ○   $1.33 million total per grant
●   Timeline:
    ○   Early Fall: Round 2 Application window opens
    ○   Late Fall: Applications due
    ○   Winter : Applicants notified
Colorado
       CaseEnergy         OfficeDocument 68-123 Filed 02/07/25 Page 149 of 556
           1:25-cv-00039-JJM-PAS
                                  PageID #: 6079
Advanced Grid Monitoring Grants

                              ● Communications systems that
                                identify or allow a utility to
                                respond to disruptions on the
                                transmission or distribution system
                              ● Technologies that allow real-time
                                monitoring of power flow or power
                                quality on the distribution system
            Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 150 of 556
                                           PageID #: 6080
 Advanced Grid Monitoring Grants - Uses
Eligible entities: all Colorado utilities
Eligible uses:
    ○   Fire monitoring technologies and fire
        prevention systems
    ○   Advanced Vegetation and fuel-load
        management, using LiDAR, satellites, AI, or
        other information technology
    ○   Distribution pole sensors
    ○   Smart meters (advanced metering
        infrastructure, or AMI)
    ○   Grid modeling
    ○   Studies to identify where best to strategically
        locate weather stations, HD cameras, and
        other grid monitoring technologies
         Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 151 of 556
                                        PageID #: 6081
Advanced Grid Monitoring Grants
Up to $500,000 per grant (4 available at this level)
Match:
    ○ One third local match (2022 utility sales < 4 million MWh)
    ○ 100% cost match for Colorado’s largest utilities
         (2022 sales > 4 million MWh)
    ○ Cost match can be cash, in-kind, or a combination of the two
Timeline:
● Early Fall: Grant window open
● Late Fall: Grants due
● Winter: Award announcements
             Case 1:25-cv-00039-JJM-PAS    Document 68-123    Filed 02/07/25   Page 152 of 556
                                             PageID #: 6082
Grid Hardening & Advanced Monitoring Scoring Criteria
●   Demonstrated need - 40%
     ○ Historic frequency and duration of power outages
     ○ Proportion of historically underserved populations in the target community or
         communities
     ○ Demonstrated financial need of utility
●   Project Impact - 30%
     ○ Climate risk and social vulnerability of the target population and how the project will
         mitigate those risks and vulnerabilities
     ○ Ability of the project to mitigate risks of power outages to the community
●   Labor Impact - 10%
     ○ The focus of the applying utility on strong labor standards and protections, such as
         through project labor agreements, training practices, plans to partner with a training
         provider, and the use of appropriately credentialed workforce
●   Project Readiness - 20%
     ○    demonstration of administrative, technical and operational preparedness
      Case 1:25-cv-00039-JJM-PAS   Document 68-123     Filed 02/07/25   Page 153 of 556
                                     PageID #: 6083
Microgrid Roadmap - HB22-1249

                                               ●      Joint effort between the Colorado
                                                      Energy Office and Colorado Resiliency
                                                      Office
                                               ●      Identify communities at highest risk of
                                                      power outages due to natural disasters
                                                      or grid interruptions
                                               ●      Recommend processes for Microgrid
                                                      development (site selection, tech
                                                      support, financial, administrative,
                                                      legislative, etc.)
                                               ●      Regional Stakeholder meetings: July 2024
                                               ●      Draft due 7/1/24, Final due 1/1/25
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 154 of 556
                               PageID #: 6084




                                                                                   Visit our
                                                                                   website
                                                                                    to find
                                                                                      out
                                                                                    more.
       Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 155 of 556
                                      PageID #: 6085
Equity Approach

● Colorado will follow Justice40 principles, using its state
  built EnviroScreen tool to score proposals on how they
  serve disproportionately impacted communities
● Scoring criteria for all allowable uses will include a
  narrative on how applicant entities will prioritize equity
  in their program use
● Applicants will be asked to also provide proposed
  allocation of funding by zip code to determine how
  funding is being spent in DI/Justice40 communities
             Case 1:25-cv-00039-JJM-PAS   Document 68-123        Filed 02/07/25   Page 156 of 556
                                            PageID #: 6086
 IIJA Additional Grant Opportunities
Grid Resiliency and Innovation Partnership                 Long-Duration Energy Storage Demonstration
(GRIP) Competitive Funding                                 Projects

 ●   3 programs under IIJA                                   ●     $350 million available
 ●   $10.5 Billion over 5 years                              ●     Aims to extend storage potential from 10 to 24
                                                                   hours or longer, to support a low-cost, reliable,
Building Energy Codes: Resilient and Efficient                     carbon-free electric grid
Codes Implementation Program
                                                           Assistance to High Energy Cost Rural
 ●   $225,000,000 available                                Communities

Rural Energy for America Program (REAP)                      ●     $9.7 million available
                                                             ●     Specifically for rural utilities to build clean
Renewable Energy Systems & Energy Efficiency                       energy assets
Improvement Guaranteed Loans & Grants

 ●   Guaranteed loan financing and grant funding to
     rural small businesses for renewable energy systems
     or to make energy efficiency improvements                           Subscribe to the Infrastructure
                                                                            (+IRA) Funding Tracker
           Case 1:25-cv-00039-JJM-PAS      Document 68-123     Filed 02/07/25   Page 157 of 556
                                             PageID #: 6087
Additional Microgrid-Related Funding
  DOLA:
   ●     Climate Resilience Challenge

  CDPHE:
   ●     Clean Fleet Enterprise

  DHSEM:
   ●     Building Resilient Infrastructure and Communities (BRIC)
   ●     Hazard Mitigation Grant Program (HMGP)
          ○    Emergency Back-Up Power Mitigation Projects, including microgrids and generators
  CEO:
   ●     Public Building Electrification Grant
        Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 158 of 556
                                       PageID #: 6088
Discussion
1. Thoughts on the allocation of funding?
2. Thoughts on selection criteria?
3. Any additional technical assistance or support needed by
   subapplicants that would support the implementation of
   grid resilience efforts?
4. What should we be considering that we aren’t currently
   focused on in order to increase grid resilience against
   disruptive events in the State?
        Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 159 of 556
                                       PageID #: 6089
Questions?

Grid Hardening Grants for Small
    and Rural Communities                                Microgrids for Community
                                                        Resilience Construction and
Advanced Grid Monitoring Grant                                    Planning
          Program
      Microgrid Roadmap


             Contact:                                             Contact:
   john.m.parks@state.co.us                               Julia.Masters@state.co.us
   gridresiliency@state.co.us

                           Sign up for Grid Resiliency Updates
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 160 of 556
                               PageID #: 6090




                 EXHIBIT G
Toor Declaration  Exhibit G
         Case 1:25-cv-00039-JJM-PAS                               Document 68-123                  Filed 02/07/25           Page 161 of 556
                                                                    PageID #: 6091
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-GD0000006                                                 0001                         08/15/2024                  81.254
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
COLORADO ENERGY OFFICE                                                  Grid Deployment Office (GD)
                                                                                                                                          08/30/2023
Attn: Jonathon Bray                                                     U.S. Department of Energy                                         through
1600 BROADWAY STE 1960                                                                                                                    04/30/2032
                                                                        1000 Independence Avenue, SW
DENVER CO 802024955
                                                                        Forrestal Building , GD-1
                                                                        Washington DC 20585


8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           See page 2                                                             24GD000354
     Cooperative Agreement
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
COLORADO ENERGY OFFICE                                                    Govt. Share: $25,608,964.00                   This action: $8,359,178.00
Attn: Jonathon Bray
1600 Broadway                                                             Cost Share : $5,683,544.00                    Total      :
Suite 1960                                                                                                              $25,608,964.00
Denver CO 802024955
                                                                          Total             : $31,292,508.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   Lucas S. Greza                                       U.S. DOE/NETL
                                                   Phone: 304-285-4663                                  NATIONAL ENERGY TECH LAB
                                                                                                        3610 Collins Ferry Road
                                                                                                        Morgantown WV 26505-2353



17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 3
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data
See Schedule

21. Research Title and/or Description of Project
Bipartisan Infrastructure Law (BIL) – PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF THE ELECTRIC
GRID FORMULA GRANTS TO STATES AND INDIAN TRIBEs
                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Sheldon E. Funk                                           08/15/2024
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 162 of 556
                                                        PageID #: 6092
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-GD0000006/0001                                                               2              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                                  (B)                                 (C)     (D)       (E)                   (F)
           UEI: JLVGQ4E7RD53
           Project Period: 08/30/2023 - 4/30/2032

           Budget Period: 08/30/2023 - 4/30/2032

           Block 9 Authority:
           Infrastructure Investment and Jobs Act of 2021,
           Section 40101(d), 42 U.S.C. . § 18711(d) (2023).

           Block 14. Principal Investigator:
           John Parks
           john.m.parks@state.co.us
           (970)631-6786

           Recipient Business Point-Of-Contact:
           Gregg Hefner
           gregg.hefner@state.co.us
           (303)866-2601

           Block 15. DOE Program Manager:
           Lucas S. Greza
           lucas.greza@netl.doe.gov
           (304)285-4663

           DOE Adward Administrator:
           Rachel L. Price
           rachel.price@netl.doe.gov
           (412)484-8479
           ASAP: YES Extent Competed: NOT COMPETED
           Davis-Bacon Act: YES PI: John Parks
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 163 of 556
                               PageID #: 6093
                                                                                   JULY 2004
Case 1:25-cv-00039-JJM-PAS             Document 68-123           Filed 02/07/25      Page 164 of 556
                                         PageID #: 6094
                                                                                        DE-GD00000006
                                                                                       Amendment 0001
                                                                                            Page 4 of 4

The purpose of this amendment is to authorize the Fiscal Year (FY) 2024 funding allocation, increase the
Total Estimated Cost of the Award, incrementally fund the award, extend the Period of Performance and
Budget Period, incorporate the revised Attachment 3 - Federal Assistance Reporting Checklist, and
incorporate the revised Special Terms and Conditions. Accordingly, the agreement is amended as
follows:

1. In accordance with the "Annual Allocation Request" award term and the Recipient's annual
   allocation application dated April 2024, the Recipient is hereby authorized Fiscal Year 2024 allocated
   funding. The authorization results in no change to the Statement of Project Objectives.

2. As reflected in Block 7, the Period of Performance end date is changed to 04/30/2032.

3. As reflected in Block 12 of the Assistance Agreement, the Total Amount is increased by $11,455,255.
   This is inclusive of $8,359,178 FY2024 Funding Allocation and $3,096,077 Recipient Share (inclusive
   of the 15% Cost Match requirement and any approved resilience project cost match requirement at
   the time of this amendment).

4. As reflected in Block 13, the DOE Funds Obligated is increased by $8,359,178 from $17,249,786 to
   $25,608,964. This is inclusive of the FY 24 funding allocation.


5. As reflected on Page 2 of the Assistance Agreement, the Period of Performance and Budget Period
   end date is changed to 04/30/2032.

6. Attachment 3 – Federal Assistance Reporting Checklist is deleted in its entirety and replaced with
   the attached Attachment 3 - Federal Assistance Reporting Checklist. Changes to the FARC are
   highlighted in yellow.

7. The Special Terms and Conditions have been deleted in its entirety and replaced with the attached
   Special Terms and Conditions. Changes to the Special Terms are highlighted in yellow.

8. All other terms and conditions remain the same and in full force and effect.

                                     - END OF AMENDMENT 0001 -
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 165 of 556
                               PageID #: 6095




                 EXHIBIT H
Toor Declaration Exhibit H
        Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 166 of 556
                                       PageID #: 6096
                                                                          DE-GD0000006 / 0001



     SPECIAL TERMS AND CONDITIONS FOR USE IN FORMULA GRANTS ISSUED UNDER THE GRID
     DEPLOYMENT OFFICE (GDO) ADMINISTRATIVE AND LEGAL REQUIREMENTS DOCUMENT
     (ALRD)                                                                     3
     LEGAL AUTHORITY AND EFFECT (JUNE 2015)                                     3
     RESOLUTION OF CONFLICTING CONDITIONS                                       3
     AWARD AGREEMENT TERMS AND CONDITIONS (DECEMBER 2014) (NETL – APRIL 2024)   3
     FLOW DOWN REQUIREMENT                                                      3
     CONFERENCE SPENDING (FEBRUARY 2015)                                        4
     PAYMENT PROCEDURES - ADVANCES THROUGH THE AUTOMATED STANDARD APPLICATION
     FOR PAYMENTS (ASAP) SYSTEM                                                 4
     COST MATCH                                                                 4
     REBUDGETING AND RECOVERY OF INDIRECT COSTS - REIMBURSABLE INDIRECT COSTS
     AND FRINGE BENEFITS                                                        5
     USE OF PROGRAM INCOME - ADDITION                                           5
     ANNUAL ALLOCATION REQUEST                                                  5
     RESILIENCE PROJECT AND SUBAWARD/SUBCONTRACT NOTIFICATION                   5
     REPORTING                                                                  7
     FOREIGN NATIONAL PARTICIPATION – APPROVAL REQUIRED (APRIL 2024)            7
     STATEMENT OF FEDERAL STEWARDSHIP                                           7
     SITE VISITS                                                                7
     CATEGORICAL EXCLUSION (CX) – Initial Application                           8
     FEDERAL, STATE, AND MUNICIPAL REQUIREMENTS                                 8
     ELIGIBLE ENTITY PRIORITIZATION – 40101(d)(5)                               8
     SMALL UTILITIES SET ASIDE – 40101(d)(6)                                    8
     TECHNICAL ASSISTANCE AND ADMINISTRATIVE EXPENSES – 40101(d)(7)             8
     NOTICE REGARDING THE PURCHASE OF AMERICAN-MADE EQUIPMENT AND PRODUCTS --
     SENSE OF CONGRESS                                                          8
     INSURANCE COVERAGE (DECEMBER 2014)                                         8
     REAL PROPERTY – GRID RESILIENCE                                            9
     EQUIPMENT (DECEMBER 2014) (NETL - MAY 2024)                                9
     SUPPLIES (DECEMBER 2014)                                                   9
     CONTINUED USE OF REAL PROPERTY AND EQUIPMENT (OCTOBER 2022)                9
     PROPERTY TRUST RELATIONSHIP (DECEMBER 2014)                               10
     INSOLVENCY, BANKRUPTCY OR RECEIVERSHIP                                    10
     PERFORMANCE OF WORK IN UNITED STATES                                      11
     REPORTING SUBAWARD AND EXECUTIVE COMPENSATION (SEPTEMBER 2023)            11
     SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS         13
     FINAL INCURRED COST AUDIT (DECEMBER 2014)                                 14
     INDEMNITY                                                                 14
     LOBBYING RESTRICTIONS (MARCH 2012)                                        14
     CORPORATE FELONY CONVICTION AND FEDERAL TAX LIABILITY ASSURANCES (MARCH
     2014)                                                                     14
     NONDISCLOSURE AND CONFIDENTIALITY AGREEMENTS ASSURANCES (JUNE 2015)       15
     REPORTING OF MATTERS RELATED TO RECIPIENT INTEGRITY AND PERFORMANCE
     (DECEMBER 2015)                                                           15



                                                                                           Page 1
   Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 167 of 556
                                  PageID #: 6097
                                                                     DE-GD0000006 / 0001

EXPORT CONTROL (JUNE 2024)                                                 17
PROHIBITION ON CERTAIN TELECOMMUNICATIONS AND VIDEO SURVEILLANCE SERVICES
OR EQUIPMENT (APRIL 2024)                                                  17
PROHIBITION RELATED TO FOREIGN GOVERNMENT-SPONSORED TALENT RECRUITMENT
PROGRAMS (MARCH 2023)                                                      18
IMPLEMENTATION OF EXECUTIVE ORDER 13798, PROMOTING FREE SPEECH AND RELIGIOUS
LIBERTY (NOVEMBER 2020)                                                    18
INTERIM CONFLICT OF INTEREST REQUIREMENTS FOR FINANCIAL ASSISTANCE (MARCH
2023)                                                                      19
ORGANIZATIONAL CONFLICT OF INTEREST (APRIL 2024)                           19
FRAUD, WASTE AND ABUSE (MARCH 2023)                                        19
TRANSPARENCY OF FOREIGN CONNECTIONS (APRIL 2024)                           20
FOREIGN COLLABORATION CONSIDERATIONS (MARCH 2023)                          21
BUY AMERICAN REQUIREMENT FOR INFRASTRUCTURE PROJECTS (MAY 2024)            21
REPORTING, TRACKING AND SEGREGATION OF INCURRED COSTS (MARCH 2023)         24
DAVIS-BACON REQUIREMENTS (NETL – JUNE 2024)                                25
AFFIRMATIVE ACTION AND PAY TRANSPARENCY REQUIREMENTS (SEPTEMBER 2023)      27
POTENTIALLY DUPLICATIVE FUNDING NOTICE (MARCH 2023)                        27
CONSTRUCTION SIGNAGE (MAY 2024)                                            27
POST AWARD DUE DILIGENCE REVIEWS (APRIL 2024)                              28




                                                                                      2
        Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 168 of 556
                                                    PageID #: 6098
                                                                                                      DE-GD0000006 / 0001

 SPECIAL TERMS AND CONDITIONS FOR USE IN FORMULA GRANTS ISSUED UNDER THE
GRID DEPLOYMENT OFFICE (GDO) ADMINISTRATIVE AND LEGAL REQUIREMENTS DOCUMENT
                                                           (ALRD)

LEGAL AUTHORITY AND EFFECT (JUNE 2015)

(a) A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or electronically, by a
DOE Contracting Officer.

(b) Recipients are free to accept or reject the award. A request to draw down DOE funds constitutes the Recipient's
acceptance of the terms and conditions of this Award.

RESOLUTION OF CONFLICTING CONDITIONS

Any apparent inconsistency between Federal statutes and regulations and the terms and conditions contained in this award
must be referred to the DOE Award Administrator for guidance.

AWARD AGREEMENT TERMS AND CONDITIONS (DECEMBER 2014) (NETL – APRIL 2024)

This assistance agreement consists of the Assistance Agreement Cover Page and Award Terms and Conditions, plus the
following:
a.      Special terms and conditions.
b.      Attachments:

           Attachment           Title
           No.
           1                    Intellectual Property Provisions
           2                    Statement of Project Objectives
           3                    Federal Assistance Reporting Checklist


c.      Applicable program regulations: NONE
d.      DOE Assistance Regulations, 2 CFR part 200 as amended by 2 CFR part 910 at http://www.eCFR.gov.
e.      Research Terms and Conditions and the DOE Agency Specific Requirements at
        http://www.nsf.gov/bfa/dias/policy/rtc/index.jsp (if the Award is for research and the Award is to a university or
        non-profit).
f.      Application/proposal as approved by DOE.
g.      National Policy Assurances to Be Incorporated as Award Terms in effect on date of award at
        https://www.nsf.gov/awards/managing/rtc.jsp.
h.      Public Law 117-58, also known as the Bipartisan Infrastructure Law (BIL)

FLOW DOWN REQUIREMENT

The Recipient agrees to apply the terms and conditions of this Award, as applicable, including the Intellectual Property
Provisions, to all subrecipients (and subcontractors, as appropriate), as required by 2 CFR 200.101, and to require their
strict compliance therewith. Further, the Recipient must apply the Award terms as required by 2 CFR 200.327 to all
subrecipients (and subcontractors, as appropriate), and to require their strict compliance therewith.




                                                                                                                                  3
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 169 of 556
                                                   PageID #: 6099
                                                                                                   DE-GD0000006 / 0001

CONFERENCE SPENDING (FEBRUARY 2015)

The recipient shall not expend any funds on a conference not directly and programmatically related to the purpose for
which the grant or cooperative agreement was awarded that would defray the cost to the United States Government of a
conference held by any Executive branch department, agency, board, commission, or office for which the cost to the
United States Government would otherwise exceed $20,000, thereby circumventing the required notification by the head
of any such Executive Branch department, agency, board, commission, or office to the Inspector General (or senior ethics
official for any entity without an Inspector General), of the date, location, and number of employees attending such
conference.

PAYMENT PROCEDURES - ADVANCES THROUGH THE AUTOMATED STANDARD APPLICATION FOR
PAYMENTS (ASAP) SYSTEM

a. Method of Payment. Payment will be made by advances through the Department of Treasury's ASAP system.

b. Requesting Advances. Requests for advances must be made through the ASAP system. You may submit requests as
frequently as required to meet your needs to disburse funds for the Federal share of project costs. If feasible, you should
time each request so that you receive payment on the same day that you disburse funds for direct project costs and the
proportionate share of any allowable indirect costs. If same-day transfers are not feasible, advance payments must be as
close as is administratively feasible to actual disbursements.

c. Adjusting payment requests for available cash. You must disburse any funds that are available from repayments to and
interest earned on a revolving fund, program income, rebates, refunds, contract settlements, audit recoveries, credits,
discounts, and interest earned on any of those funds before requesting additional cash payments from DOE/NNSA.

d. Payments. All payments are made by electronic funds transfer to the bank account identified on the ASAP Bank
Information Form that you filed with the U.S. Department of Treasury.

COST MATCH

a. “Cost Matching” for the non-federal share is calculated as a percentage of the Federal funds only, rather than the Total
Project Cost. The Total Project Cost is the sum of the Government share and Recipient match. The Recipient's cost
match must come from non-Federal sources unless otherwise allowed by law.

Each Recipient is required to match 15 percent of their allocation. In addition, eligible entities performing resilience
projects are required to provide a 100 percent cost match, unless the eligible entity sells not more than 4,000,000
megawatt hours of electricity per year, then the eligible entity is required to provide a one-third cost match.

By accepting federal funds under this award, the Recipient is liable for the cost match percentage of total expenditures
incurred, even if the project is terminated early or is not funded to its completion.

b. If the Recipient discovers that you may be unable to provide the required cost matching under this award, the Recipient
should immediately provide written notification to the DOE Award Administrator indicating whether the Recipient will
continue or phase out the project. If you plan to continue the project, the notification must describe how replacement cost
matching will be secured.

c. The Recipient must maintain records of all project costs that you claim as cost match, including in-kind costs, as well as
records of costs to be paid by DOE/NNSA. Such records are subject to audit.

d. Failure to provide the cost matching required by this term may result in the subsequent recovery by DOE of some or all
the funds provided under the award.


                                                                                                                              4
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 170 of 556
                                                    PageID #: 6100
                                                                                                    DE-GD0000006 / 0001

REBUDGETING AND RECOVERY OF INDIRECT COSTS - REIMBURSABLE INDIRECT COSTS AND
FRINGE BENEFITS

a. If actual allowable indirect costs are less than those budgeted and funded under the award, you may use the difference
to pay additional allowable direct costs during the project period. If at the completion of the award the Government's share
of total allowable costs (i.e., direct and indirect), is less than the total costs reimbursed, you must refund the difference.

b. Recipients are expected to manage their indirect costs. DOE will not amend an award solely to provide additional funds
for changes in indirect cost rates. DOE recognizes that the inability to obtain full reimbursement for indirect costs means
the recipient must absorb the underrecovery. Such underrecovery may be allocated as part of the organization's required
cost sharing.

USE OF PROGRAM INCOME - ADDITION

If you earn program income during the project period as a result of this award, you may add the program income to the
funds committed to the award and use it to further eligible project objectives.

ANNUAL ALLOCATION REQUEST

The Recipient shall submit their annual allocation request in accordance with the instructions provided in the Reporting
Requirements Checklist attached to this award. The Annual Allocation Request must be submitted to the DOE Program
Manager whose name is in Block 15 of the Award Agreement and the DOE Award Administrator whose name is
identified on Page 2 of the Assistance Agreement cover page.
The Annual Allocation Request must include the following information:
        -   SF 424 reflecting the current year allocation and cost match amounts.
        -   Cost Match Information for current year allocation.
                      ● Cost Match Value
                      ● Identify the source/organization of the proposed cost match.
                      ● Type of Cost Match (cash or in-kind)
                      ● Provide a description of their proposed cost match.
        -   Program Narrative – copy of current Program Narrative if there are no changes or an updated Program
            Narrative to reflect any changes. If changes have occurred, a Public Notice and Hearing must be documented
            in the updated Program Narrative.

RESILIENCE PROJECT AND SUBAWARD/SUBCONTRACT NOTIFICATION

For all resilience project subawards and any other subaward over $250,000, the Recipient must notify the DOE
Contracting Officer and Project Officer in writing prior to the execution of new or modified subawards/subcontracts. This
notification does not constitute a waiver of the prior approval requirements outlined in 2 CFR 200, nor does it relieve the
Recipient from its obligation to comply with applicable Federal statutes, regulations, and executive orders.
The Recipient is responsible for making a final determination to award or modify subawards/subcontracts under this
agreement, but the Recipient may not proceed with the subaward/subcontract until the DOE determines, and provides the
Recipient written notification, that the information provided is adequate.
In order to satisfy this notification requirement, Recipient documentation must, at a minimum, include the following:
                (a) Recipient confirms that the subawardee:
                     (i) is an eligible entity type identified in BIL section 40101(a)(2);
                     (ii) is a domestic entity; to qualify as a domestic entity, the entity must be organized, chartered or
                          incorporated (or otherwise formed) under the laws of a particular state or territory of the United


                                                                                                                               5
       Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 171 of 556
                                                   PageID #: 6101
                                                                                                   DE-GD0000006 / 0001

                        States; have majority domestic ownership and control; and have a physical place of business in
                        the United States;
                    (iii) is not a debarred or a suspended entity; and
                    (iv) will pay all of the laborers and mechanics performing construction, alteration, or repair work in
                         excess of $2,000 on projects funded directly by or assisted in whole or in part by and through
                         funding under the award, wages at rates not less than those prevailing on projects of a character
                         similar in the locality as determined by subchapter IV of Chapter 1 of Title 40, United State Code
                         commonly referred to as the “Davis-Bacon Act” (DBA).
                (b) Recipient confirms that:
                    (i) the process undertaken to solicit the subaward/subcontract complies with their written
                        procurement procedures as outlined in 2 CFR 200.318;
                    (ii) the proposed work to be done is an eligible activity identified in BIL Section 40101(e)(1);
                    (iii) the proposed subaward effort is consistent with the Program Narrative being executed under the
                          award;
                    (iv) the primary purpose of the proposed project is not cyber security but that the implementation of
                         the proposed project will adhere to any applicable cybersecurity requirements, and where
                         possible, best practices in deploying technologies under their subaward;
                    (v) no planned, actual or apparent conflict of interest exists between the Recipient and the selected
                        subawardee/subcontractor and that the Recipient’s written standards of conduct were followed;
                    (vi) as applicable, subaward/subcontracts address the Small Utilities Set Aside requirement set forth
                         in BIL Section 40101(d)(6); and
                    (vii) all required award provisions will be flowed down in the resulting subaward/subcontract.
                (c) Recipient provides:
                    (i) SF-424A Budget Information form and Budget Justification form for all resilience project
                        subawards; and any other subaward over $250,000;
                    (ii) a completed Environmental Questionnaire covering the subaward activity;
                    (iii) cost match commitment letter from the eligible entity committing to meet the cost matching as
                          required in BIL Section 40101(h);
                    (iv) the proposed metrics that will be collected and reported in the Quarterly Progress Report to
                         measure and demonstrate the beneficial impact of the resilience project on the resilience of the
                         grid and to the community served;
                    (v) listing of Foreign Nationals for subrecipients/eligible entities and technical assistance contractors
                        in accordance with the Foreign National Participation – Approval term;
                    (vi) Performance of Work in the United States waiver (if applicable);
                    (vii)Buy America for Infrastructure Projects waiver (if applicable);
                    (viii)Domestic entity waiver for subrecipients (if applicable); and
                    (ix) a summary/brief description of any application, similar in nature, submitted by the proposed
                    subawardee to the DOE under BIL Section 40101(c), DE-FOA-0002740, Grid Resilience and
                    Innovation Partnerships (GRIP).


If a State or Indian Tribe petitions the Secretary to be designated as an eligible entity for the purpose of executing a
resilience project, it must provide both the 15% cost match for the entire allocation made by DOE to the State or Tribe
(see BIL section 40101(d)(8)) and the project specific cost match requirement of 100% or 1/3 (see BIL section 40101(h)).


                                                                                                                            6
        Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25       Page 172 of 556
                                                   PageID #: 6102
                                                                                                    DE-GD0000006 / 0001

REPORTING

Reporting requirements are identified on the Federal Assistance Reporting Checklist and Instructions, DOE F 4600.2,
attached to the award agreement. Additional reporting requirements apply to projects funded by BIL. As part of tracking
progress toward key Departmental goals – ensuring justice and equity, creating jobs, boosting domestic manufacturing,
reducing greenhouse gas emissions, and advancing a pathway to private sector – DOE may require specific data
collection. Examples of data that may be collected include:
                    ● project locations,
                    ● measurable improvements of resilience,
                    ● transmission capacity upgraded, expanded, or built,
                    ● electricity storage capacity installed,
                    ● funding leveraged,
                    ● stakeholders engaged,
                    ● technical assistance provided, and
                    ● value of contracts or agreements with minority owned business for supplies, services, or
                        equipment.

Recipients must maintain sufficient records to substantiate this information upon request.

FOREIGN NATIONAL PARTICIPATION – APPROVAL REQUIRED (APRIL 2024)

If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign nationals in the
performance of this award, the Recipient must provide DOE with specific information about each foreign national to
ensure compliance with the requirements for foreign national participation and access approvals. The volume and type of
information required may depend on various factors associated with the award.

Approval for foreign nationals in Principal Investigator/Co-Principal Investigator roles, from countries of risk (i.e., China,
Iran, North Korea, and Russia), and from countries identified on the U.S. Department of State’s list of State Sponsors of
Terrorism (https://www.state.gov/state-sponsors-of-terrorism/) must be obtained from DOE before they can participate in
the performance of any work under this award.

A “foreign national” is defined as a person without United States citizenship or nationality (may include a stateless
person). DOE may elect to deny a foreign national’s participation in the award. Likewise, DOE may elect to deny a
foreign national’s access to a DOE sites, information, technologies, equipment, programs, or personnel. DOE’s
determination to deny participation or access is not appealable.

The Recipient must include this term in any subaward and in any applicable contractual agreement(s) associated
with this award.

STATEMENT OF FEDERAL STEWARDSHIP

DOE/NNSA will exercise normal Federal stewardship in overseeing the project activities performed under this award.
Stewardship activities include, but are not limited to, conducting site visits; reviewing performance and financial reports;
providing technical assistance and/or temporary intervention in unusual circumstances to correct deficiencies which
develop during the project; assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the award objectives have been accomplished.

SITE VISITS

DOE/NNSA's authorized representatives have the right to make site visits at reasonable times to review project
accomplishments and management control systems and to provide technical assistance, if required. You must provide, and


                                                                                                                               7
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 173 of 556
                                                   PageID #: 6103
                                                                                                   DE-GD0000006 / 0001

must require your subrecipients to provide, reasonable access to facilities, office space, resources, and assistance for the
safety and convenience of the government representatives in the performance of their duties. All site visits and evaluations
must be performed in a manner that does not unduly interfere with or delay the work.

CATEGORICAL EXCLUSION (CX) – Initial Application

DOE must comply with the National Environmental Policy Act (NEPA) prior to authorizing the use of federal funds.
Based on the initial information provided by the Recipient, DOE has made a NEPA determination by issuing a CX,
thereby authorizing use of funds for technical assistance and administrative project activities only.

NEPA review and approval of proposed resilience project activities are required as per the Resilience Project and
Subaward/Subcontract Notification Term. If any of the proposed projects are likely to require an Environmental
Assessment (EA) or Environmental Impact Statement (EIS), the DOE NEPA Compliance Officer will provide further
guidance. Should the recipient elect to undertake activities prior to authorization from the DOE, the Recipient is doing so
at risk and such costs may not be authorized and recognized as allowable cost.

FEDERAL, STATE, AND MUNICIPAL REQUIREMENTS

You must obtain any required permits and comply with applicable federal, state, and municipal laws, codes, and
regulations for work performed under this award.

ELIGIBLE ENTITY PRIORITIZATION – 40101(d)(5)

In making subawards to eligible entities using funds made available under the program, the Recipient shall give priority to
projects that, in the determination of the Recipient, will generate the greatest community benefit (whether rural or urban)
in reducing the likelihood and consequences of disruptive events.



SMALL UTILITIES SET ASIDE – 40101(d)(6)

The Recipient shall ensure that, of the amounts made available to eligible entities, the percentage made available to
eligible entities that sell not more than 4,000,000 megawatt hours of electricity per year is not less than the percentage of
all customers in the Recipient State or Indian Tribe (as applicable) that are served by those eligible entities.


TECHNICAL ASSISTANCE AND ADMINISTRATIVE EXPENSES – 40101(d)(7)

Of the amounts made available to the Recipient under the program each fiscal year, the Recipient may use not more than 5
percent for technical assistance (see BIL Section 40101(g)(1)(A)) and administrative expenses associated with the
program.


NOTICE REGARDING THE PURCHASE OF AMERICAN-MADE EQUIPMENT AND PRODUCTS -- SENSE
OF CONGRESS

It is the sense of the Congress that, to the greatest extent practicable, all equipment and products purchased with funds
made available under this award should be American-made.

INSURANCE COVERAGE (DECEMBER 2014)

See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or improved with Federal funds.

                                                                                                                            8
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 174 of 556
                                                     PageID #: 6104
                                                                                                      DE-GD0000006 / 0001

REAL PROPERTY – GRID RESILIENCE

Acquisition of land or easements is not permitted under this grant program. Improvements to real property for the purpose
of grid hardening or resilience is not considered acquisition of real property for the purpose of this grant program, and
therefore may be permitted.


EQUIPMENT (DECEMBER 2014) (NETL - MAY 2024)


Subject to the conditions provided in 2 CFR 200.313 and 2 CFR 910.360 (as applicable), title to equipment (property)
acquired under a Federal award will vest conditionally with the non-Federal entity.

The non-Federal entity cannot encumber this property or permit encumbrance without prior written approval by the DOE
Contracting Officer and must follow the requirements of 2 CFR 200.313 before disposing of the property.

States must use equipment acquired under a Federal award by the state in accordance with state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was acquired as long as it is
needed, whether or not the project or program continues to be supported by the Federal award. When no longer needed for
the originally authorized purpose, the equipment may be used by programs supported by the Federal awarding agency in
the priority order specified in 2 CFR 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are provided in 2 CFR 200.313(d).

When equipment acquired under a Federal award is no longer needed, the non-Federal entity must obtain disposition
instructions from the Federal awarding agency or pass-through entity. However, pursuant to the FY23 Consolidated
Appropriations Act (Pub. L. No. 117-328), Division D, Title III, Section 309, the Secretary, or a designee of the Secretary
may, at their discretion, vest unconditional title or other property interests acquired under this project regardless of the fair
market value of the property at the end of the award period.

Subject to the vesting of any property pursuant to Section 309 of the FY23 Consolidated Appropriations Act (Pub. L. No.
117-328), Division D, Title III, disposition will be made as follows: (a) items of equipment with a current fair market
value of $5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to the Federal awarding
agency; (b) non-Federal entity may retain title or sell the equipment after compensating the Federal awarding agency as
described in 2 CFR 200.313(e)(2); or (c) transfer title to the Federal awarding agency or to an eligible third Party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a Federal award. Also see 2 CFR
200.439 Equipment and other capital expenditures.

See 2 CFR 910.360 for supplemental requirements for Equipment for for-profit Recipients.

SUPPLIES (DECEMBER 2014)

See 2 CFR Part 200.314 for requirements pertaining to supplies acquired under a Federal award.

See also § 200.453 Materials and supplies costs, including costs of computing devices.

CONTINUED USE OF REAL PROPERTY AND EQUIPMENT (OCTOBER 2022)



                                                                                                                                9
         Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25        Page 175 of 556
                                                    PageID #: 6105
                                                                                                      DE-GD0000006 / 0001

Real property and equipment purchased with project funds (federal share and recipient cost share) under this Award are
subject to the requirements at 2 CFR 200.311, 200.313, and 200.316 (non-Federal entities, except for-profit entities) and 2
CFR 910.360 (for-profit entities). The Recipient may continue to use the real property and equipment after the conclusion
of the award period of performance so long as the Recipient:

    a.   Continues to use the property for the authorized project purposes;
    b.   Complies with the applicable reporting requirements and regulatory property standards;
    c.   As applicable to for-profit entities, UCC filing statements are maintained; and
    d.   Submits a written Request for Continued Use for DOE authorization, which is approved by the DOE Contracting
         Officer.

The Recipient must request authorization from the Contracting Officer to continue to use the property for the authorized
project purposes beyond the award period of performance (“Request for Continued Use”). The Recipient’s written
Request for Continued Use must identify the property and include: a summary of how the property will be used (must
align with the authorized project purposes); a proposed use period (e.g., perpetuity, until fully depreciated, or a calendar
date where the Recipient expects to submit disposition instructions); acknowledgement that the recipient shall not sell or
encumber the property or permit any encumbrance without prior written DOE approval; current fair market value of the
property; and an Estimated Useful Life or depreciation schedule for equipment.

When the property is no longer needed for authorized project purposes, the Recipient must request disposition instructions
from DOE. For-profit entity disposition requirements are set forth at 2 CFR 910.360. Property disposition requirements
for other non-federal entities are set forth in 2 CFR 200.310-200.316.

PROPERTY TRUST RELATIONSHIP (DECEMBER 2014)

Real property, equipment, and intangible property, that are acquired or improved with a Federal award must be held in
trust by the non-Federal entity as trustee for the beneficiaries of the project or program under which the property was
acquired or improved.

See 2 CFR Part 200.316 for additional requirements pertaining to real property, equipment, and intangible property
acquired or improved under a Federal award.

INSOLVENCY, BANKRUPTCY OR RECEIVERSHIP

The Recipient must include the insolvency, bankruptcy or receivership term in any for-profit/non-profit
sub-award(s), at any tier.

a. You shall immediately notify the DOE of the occurrence of any of the following events: (i) you or your parent's filing of
a voluntary case seeking liquidation or reorganization under the Bankruptcy Act; (ii) your consent to the institution of an
involuntary case under the Bankruptcy Act against you or your parent; (iii) the filing of any similar proceeding for or
against you or your parent, or its consent to, the dissolution, winding-up or readjustment of your debts, appointment of a
receiver, conservator, trustee, or other officer with similar powers over you, under any other applicable state or federal
law; or (iv) your insolvency due to your inability to pay your debts generally as they become due.

b. Such notification shall be in writing and shall: (i) specifically set out the details of the occurrence of an event referenced
in paragraph a; (ii) provide the facts surrounding that event; and (iii) provide the impact such event will have on the
project being funded by this award.

c. Upon the occurrence of any of the four events described in the first paragraph, DOE reserves the right to conduct a
review of your award to determine your compliance with the required elements of the award (including such items as cost
share, progress towards technical project objectives, and submission of required reports). If the DOE review determines

                                                                                                                              10
       Case 1:25-cv-00039-JJM-PAS                Document 68-123          Filed 02/07/25        Page 176 of 556
                                                   PageID #: 6106
                                                                                                  DE-GD0000006 / 0001

that there are significant deficiencies or concerns with your performance under the award, DOE reserves the right to
impose additional requirements, as needed, including (i) change your payment method; or (ii) institute payment controls.

d. Failure of the Recipient to comply with this term may be considered a material noncompliance of this financial
assistance award by the Contracting Officer.

PERFORMANCE OF WORK IN UNITED STATES

The Recipient agrees that at least 100% of the direct labor cost for the project (including subrecipient labor) shall be
incurred in the United States, unless the Recipient can demonstrate to the satisfaction of the DOE that the United States
economic interest will be better served through a greater percentage of the work being performed outside the United
States.

REPORTING SUBAWARD AND EXECUTIVE COMPENSATION (SEPTEMBER 2023)

a. Reporting of first-tier subawards.

    1. Applicability. Unless the Recipient is exempt as provided in paragraph d. of this award term, the Recipient must
       report each action that equals or exceeds $30,000 in Federal funds for a subaward to a non-Federal entity or
       Federal agency (see definitions in paragraph e. of this award term).

    2. Where and when to report.

           i.   The non-Federal entity or Federal agency must report each obligating action described in paragraph a.1.
                of this award term to http://www.fsrs.gov.
          ii.   For subaward information, report no later than the end of the month following the month in which the
                obligation was made. (For example, if the obligation was made on November 7, 2010, the obligation must
                be reported by no later than December 31, 2010.)

    3. What to report. The Recipient must report the information about each obligating action that the submission
       instructions posted at http://www.fsrs.gov specify.

b. Reporting total compensation of recipient executives for non-Federal entities.

    1. Applicability and what to report. The Recipient must report total compensation for each of its five most highly
       compensated executives for the preceding completed fiscal year, if

           i.   The total Federal funding authorized to date under this Federal award is $30,000 or more as defined in 2
                CFR 170.320;
          ii.   In the preceding fiscal year, the Recipient received:

                a) 80 percent or more of the Recipient’s annual gross revenues from Federal procurement contracts (and
                   subcontracts) and Federal financial assistance subject to the Transparency Act, as defined at 2 CFR
                   170.320 (and subawards); and
                b) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and subcontracts)
                   and Federal financial assistance subject to the Transparency Act, as defined at 2 CFR 170.320 (and
                   subawards); and

         iii.   The public does not have access to information about the compensation of the executives through periodic
                reports filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78m(a),
                78o(d)) or section 6104 of the Internal Revenue Code of 1986. (To determine if the public has access to

                                                                                                                            11
       Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25       Page 177 of 556
                                                   PageID #: 6107
                                                                                                  DE-GD0000006 / 0001

                the compensation information, see the U.S. Security and Exchange Commission total compensation
                filings at https://www.sec.gov/answers/execomp.htm.)

    2. Where and when to report. The Recipient must report executive total compensation described in paragraph b.1. of
       this award term:

           i.   As part of the Recipients registration profile at https://www.sam.gov.
          ii.   By the end of the month following the month in which this award is made, and annually thereafter.

c. Reporting of total compensation of subrecipient executives.

    1. Applicability and what to report. Unless the Recipient is exempt as provided in paragraph d. of this award term,
       for each first-tier non-Federal entity subrecipient under this award, the Recipient shall report the names and total
       compensation of each of the subrecipient's five most highly compensated executives for the subrecipient's
       preceding completed fiscal year, if:

           i.   In the subrecipient’s preceding fiscal year, the subrecipient received;

                a) 80 percent or more of its annual gross revenues from Federal procurement contracts (and
                   subcontracts) and Federal financial assistance subject to the Transparency Act, as defined at 2 CFR
                   170.320 (and subawards); and
                b) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                   subcontracts), and Federal financial assistance subject to the Transparency Act (and subawards); and

          ii.   The public does not have access to information about the compensation of the executives through periodic
                reports filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78m(a),
                78o(d)) or section 6104 of the Internal Revenue Code of 1986. (To determine if the public has access to
                the compensation information, see the U.S. Security and Exchange Commission total compensation
                filings at https://www.sec.gov/answers/execomp.htm.)

    2. Where and when to report. The Recipient must report subrecipient executive total compensation described in
       paragraph c.1. of this award term:

           i.   To the recipient
          ii.   By the end of the month following the month during which the Recipient makes the subaward. For
                example, if a subaward is obligated on any date during the month of October of a given year ( i.e.,
                between October 1 and 31), the Recipient must report any required compensation information of the
                subrecipient by November 30 of that year.

d. Exemptions
   If, in the previous tax year, the Recipient had gross income, from all sources, under $300,000, it is exempt from the
   requirements to report:

           i.   Subawards, and
          ii.   The total compensation of the five most highly compensated executives of any subrecipient.

e. Definitions. For purposes of this award term:

    1. Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by 5 U.S.C. 552(f).
    2. Non-Federal entity means all of the following, as defined in 2 CFR part 25:


                                                                                                                           12
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 178 of 556
                                                   PageID #: 6108
                                                                                                   DE-GD0000006 / 0001

           i.    A Governmental organization, which is a State, local government, or Indian tribe;
          ii.    A foreign public entity;
         iii.    A domestic or foreign nonprofit organization; and
         iv.     A domestic or foreign for-profit organization;

    3. Executive means officers, managing partners, or any other employees in management positions.

    4. Subaward:

           i.    This term means a legal instrument to provide support for the performance of any portion of the
                 substantive project or program for which the Recipient received this award and that the recipient awards
                 to an eligible subrecipient.
          ii.    The term does not include the Recipient’s procurement of property and services needed to carry out the
                 project or program (for further explanation, see 2 CFR 200.331).
         iii.    A subaward may be provided through any legal agreement, including an agreement that the Recipient or a
                 subrecipient considers a contract.

    5. Subrecipient means a non-Federal entity or Federal agency that:

           i.    Receives a subaward from the Recipient under this award; and
          ii.    Is accountable to the Recipient for the use of the Federal funds provided by the subaward.

    6. Total compensation means the cash and noncash dollar value earned by the executive during the recipient's or
       subrecipient's preceding fiscal year and includes the following (for more information see 17 CFR 229.402(c)(2)).

SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

A. Requirement for System for Award Management (SAM) Unless exempted from this requirement under 2 CFR 25.110,
the prime recipient must remain registered and maintain current information in SAM for the entire period of performance
of the award. This includes providing information on the prime recipient’s immediate and highest-level owner and
subsidiaries, as well as on all of its predecessors that have been awarded a Federal contract or Federal financial assistance
agreements within the last three years, if applicable, until the prime recipient submits the final financial report required
under this award or receives the final payment, whichever is later. This requires the prime recipient to review its
information in SAM at least annually after the initial registration, and to update its information as soon as there are
changes. Reviews and updates may be required more frequently due to changes in recipient information or as required by
another award term.

B. Requirement for Unique Entity Identifier

If authorized to make subawards under this award, the prime recipient:

   1. Must notify potential subrecipients that no entity (see definition in paragraph C of this award term) may receive a
subaward until the entity has provided its unique entity identifier to the prime recipient.

   2. Must not make a subaward to an entity unless the entity has provided its unique entity identifier to the prime
recipient. Subrecipients are not required to obtain an active SAM registration but must obtain a unique entity identifier.

C. Definitions

For purposes of this term:



                                                                                                                             13
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123         Filed 02/07/25        Page 179 of 556
                                                     PageID #: 6109
                                                                                                   DE-GD0000006 / 0001

   1. System for Award Management (SAM) means the Federal repository into which a recipient must provide
information required for the conduct of business as a recipient. Additional information about registration procedures may
be found at the SAM internet site (currently at https://www.sam.gov).

   2. Unique Entity Identifier means the identifier assigned by SAM to uniquely identify business entities.

   3. Entity includes non-Federal entities as defined at 2 CFR 200.1 and also includes all of the following for purposes of
this part:

      a. A foreign organization;

      b. A foreign public entity;

      c. A domestic for-profit organization; and

      d. A Federal agency.

   4. Subaward has the meaning given in 2 CFR 200.1.

   5. Subrecipient has the meaning given in 2 CFR 200.1.

FINAL INCURRED COST AUDIT (DECEMBER 2014)

In accordance with 2 CFR Part 200 as amended by 2 CFR Part 910, DOE reserves the right to initiate a final incurred cost
audit on this award. If the audit has not been performed or completed prior to the closeout of the award, DOE retains the
right to recover an appropriate amount after fully considering the recommendations on disallowed costs resulting from the
final audit.

INDEMNITY

The Recipient must include the following indemnity provision in any sub-awards to eligible entities performing the
resilience projects at any tier:

The Recipient shall indemnify the Government and its officers, agents, or employees for any and all liability, including
litigation expenses and attorneys' fees, arising from suits, actions, or claims of any character for death, bodily injury, or
loss of or damage to property or to the environment, resulting from the project, except to the extent that such liability
results from the direct fault or negligence of Government officers, agents or employees, or to the extent such liability may
be covered by applicable allowable costs provisions.

LOBBYING RESTRICTIONS (MARCH 2012)

By accepting funds under this award, you agree that none of the funds obligated on the award shall be expended, directly
or indirectly, to influence congressional action on any legislation or appropriation matters pending before Congress, other
than to communicate to Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.

CORPORATE FELONY CONVICTION AND FEDERAL TAX LIABILITY ASSURANCES (MARCH 2014)

By entering into this agreement, the undersigned attests that Colorado Energy Office has not been convicted of a felony
criminal violation under Federal law in the 24 months preceding the date of signature.



                                                                                                                           14
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 180 of 556
                                                     PageID #: 6110
                                                                                                       DE-GD0000006 / 0001

The undersigned further attests that Colorado Energy Office does not have any unpaid Federal tax liability that has been
assessed, for which all judicial and administrative remedies have been exhausted or have lapsed, and that is not being paid
in a timely manner pursuant to an agreement with the authority responsible for collecting the tax liability.

For purposes of these assurances, the following definitions apply:

A Corporation includes any entity that has filed articles of incorporation in any of the 50 states, the District of Columbia,
or the various territories of the United States [but not foreign corporations]. It includes both for-profit and non-profit
organizations.

NONDISCLOSURE AND CONFIDENTIALITY AGREEMENTS ASSURANCES (JUNE 2015)

(1) By entering into this agreement, the undersigned attests that Colorado Energy Office does not and will not require its
employees or contractors to sign internal nondisclosure or confidentiality agreements or statements prohibiting or
otherwise restricting its employees or contactors from lawfully reporting waste, fraud, or abuse to a designated
investigative or law enforcement representative of a Federal department or agency authorized to receive such information.

(2) The undersigned further attests that does not and will not use any Federal funds to implement or enforce any
nondisclosure and/or confidentiality policy, form, or agreement it uses unless it contains the following provisions:

    a.‘‘These provisions are consistent with and do not supersede, conflict with, or otherwise alter the employee
obligations, rights, or liabilities created by existing statute or Executive order relating to (1) classified information, (2)
communications to Congress, (3) the reporting to an Inspector General of a violation of any law, rule, or regulation, or
mismanagement, a gross waste of funds, an abuse of authority, or a substantial and specific danger to public health or
safety, or (4) any other whistleblower protection. The definitions, requirements, obligations, rights, sanctions, and
liabilities created by controlling Executive orders and statutory provisions are incorporated into this agreement and are
controlling.’’

   b. The limitation above shall not contravene requirements applicable to Standard Form 312, Form 4414, or any other
form issued by a Federal department or agency governing the nondisclosure of classified information.

   c. Notwithstanding provision listed in paragraph (a), a nondisclosure or confidentiality policy form or agreement that is
to be executed by a person connected with the conduct of an intelligence or intelligence-related activity, other than an
employee or officer of the United States Government, may contain provisions appropriate to the particular activity for
which such document is to be used. Such form or agreement shall, at a minimum, require that the person will not disclose
any classified information received in the course of such activity unless specifically authorized to do so by the United
States Government. Such nondisclosure or confidentiality forms shall also make it clear that they do not bar disclosures to
Congress, or to an authorized official of an executive agency or the Department of Justice, that are essential to reporting a
substantial violation of law.

REPORTING OF MATTERS RELATED TO RECIPIENT INTEGRITY AND PERFORMANCE (DECEMBER
2015)

a. General Reporting Requirement

If the total value of your currently active grants, cooperative agreements, and procurement contracts from all Federal
awarding agencies exceeds $10,000,000 for any period of time during the period of performance of this Federal award,
then you as the recipient during that period of time must maintain the currency of information reported to the System for
Award Management (SAM) that is made available in the designated integrity and performance system (currently the
Federal Awardee Performance and Integrity Information System (FAPIIS)) about civil, criminal, or administrative
proceedings described in paragraph 2 of this award term and condition. This is a statutory requirement under section 872


                                                                                                                                 15
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 181 of 556
                                                    PageID #: 6111
                                                                                                    DE-GD0000006 / 0001

of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law 111-212, all
information posted in the designated integrity and performance system on or after April 15, 2011, except past performance
reviews required for Federal procurement contracts, will be publicly available.

b. Proceedings About Which You Must Report

Submit the information required about each proceeding that:

1. Is in connection with the award or performance of a grant, cooperative agreement, or procurement contract from the
Federal Government;

2. Reached its final disposition during the most recent five-year period; and

3. Is one of the following:

  (A) A criminal proceeding that resulted in a conviction, as defined in paragraph 5 of this award term and condition;

   (B) A civil proceeding that resulted in a finding of fault and liability and payment of a monetary fine, penalty,
reimbursement, restitution, or damages of $5,000 or more;

   (C) An administrative proceeding, as defined in paragraph 5. of this award term and condition, that resulted in a finding
of fault and liability and your payment of either a monetary fine or penalty of $5,000 or more or reimbursement,
restitution, or damages in excess of $100,000; or

  (D) Any other criminal, civil, or administrative proceeding if:

      (i) It could have led to an outcome described in paragraph 2.c.(1), (2), or (3) of this award term and condition;

      (ii) It had a different disposition arrived at by consent or compromise with an acknowledgment of fault on your part;
and

      (iii) The requirement in this award term and condition to disclose information about the proceeding does not
conflict with applicable laws and regulations.

c. Reporting Procedures

Enter in the SAM Entity Management area the information that SAM requires about each proceeding described in
paragraph 2 of this award term and condition. You do not need to submit the information a second time under assistance
awards that you received if you already provided the information through SAM because you were required to do so under
Federal procurement contracts that you were awarded.

d. Reporting Frequency

During any period of time when you are subject to the requirement in paragraph 1 of this award term and condition, you
must report proceedings information through SAM for the most recent five-year period, either to report new information
about any proceeding(s) that you have not reported previously or affirm that there is no new information to report.
Recipients that have Federal contract, grant, and cooperative agreement awards with a cumulative total value greater than
$10,000,000 must disclose semiannually any information about the criminal, civil, and administrative proceedings.

e. Definitions

For purposes of this award term and condition:

                                                                                                                          16
       Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 182 of 556
                                                   PageID #: 6112
                                                                                                     DE-GD0000006 / 0001

1. Administrative proceeding means a non-judicial process that is adjudicatory in nature in order to make a determination
of fault or liability (e.g., Securities and Exchange Commission Administrative proceedings, Civilian Board of Contract
Appeals proceedings, and Armed Services Board of Contract Appeals proceedings). This includes proceedings at the
Federal and State level but only in connection with performance of a Federal contract or grant. It does not include audits,
site visits, corrective plans, or A. Reporting of Matters Related to Recipient Integrity and Performance.

2. Conviction, for purposes of this award term and condition, means a judgment or conviction of a criminal offense by any
court of competent jurisdiction, whether entered upon a verdict or a plea, and includes a conviction entered upon a plea of
nolo contendere.

3. Total value of currently active grants, cooperative agreements, and procurement contracts includes—

  (A) Only the Federal share of the funding under any Federal award with a recipient cost share or match; and

  (B) The value of all expected funding increments under a Federal award and options, even if not yet

EXPORT CONTROL (JUNE 2024)

The United States government regulates the transfer of information, commodities, technology, and software considered to
be strategically important to the U.S. to protect national security, foreign policy, and economic interests without imposing
undue regulatory burdens on legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” The Recipient is responsible for ensuring compliance
with all applicable United States Export Control laws and regulations relating to any work performed under the award.
The Recipient must immediately report to DOE any export control investigations, charges, convictions, and violations
upon occurrence, at the recipient or subrecipient level, and for convictions/violations, provide the corrective action(s) to
prevent future convictions/violations.

PROHIBITION ON CERTAIN TELECOMMUNICATIONS AND VIDEO SURVEILLANCE SERVICES OR
EQUIPMENT (APRIL 2024)

As set forth in 2 CFR 200.216, recipients and subrecipients are prohibited from obligating or expending project funds
(Federal and non-Federal funds) to:

     (1) Procure or obtain;

     (2) Extend or renew a contract to procure or obtain;

     (3) Exercise an option to procure; or

     (4) Enter into a contract (or extend or renew a contract) to procure or obtain equipment, services, or systems that uses
     covered telecommunications equipment or services as a substantial or essential component of any system, or as
     critical technology as part of any system. As described in Public Law 115-232, section 889, covered
     telecommunications equipment is telecommunications equipment produced by Huawei Technologies Company or
     ZTE Corporation (or any subsidiary or affiliate of such entities).

           (i) For the purpose of public safety, security of government facilities, physical security surveillance of critical
           infrastructure, and other national security purposes, video surveillance and telecommunications equipment
           produced by Hytera Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
           Dahua Technology Company (or any subsidiary or affiliate of such entities).

           (ii) Telecommunications or video surveillance services provided by such entities or using such equipment.

                                                                                                                             17
       Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25       Page 183 of 556
                                                    PageID #: 6113
                                                                                                    DE-GD0000006 / 0001

             (iii) Telecommunications or video surveillance equipment or services produced or provided by an entity that
             the Secretary of Defense, in consultation with the Director of the National Intelligence or the Director of the
             Federal Bureau of Investigation, reasonably believes to be an entity owned or controlled by, or otherwise
             connected to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

PROHIBITION RELATED TO FOREIGN GOVERNMENT-SPONSORED TALENT RECRUITMENT
PROGRAMS (MARCH 2023)


A.      Prohibition
        Persons participating in a Foreign Government-Sponsored Talent Recruitment Program of a Foreign Country of
        Risk are prohibited from participating in this Award. The Recipient must exercise ongoing due diligence to
        reasonably ensure that no individuals participating on the DOE-funded project are participating in a Foreign
        Government-Sponsored Talent Recruitment Program of a Foreign Country of Risk. Consequences for violations of
        this prohibition will be determined according to applicable law, regulations, and policy. Further, the Recipient
        must notify DOE within five (5) business days upon learning that an owner of the Recipient or subrecipient or
        individual on the project team is or is believed to be participating in a Foreign Government-Sponsored Talent
        Recruitment Program of a Foreign Country of Risk. DOE may modify and add requirements related to this
        prohibition to the extent required by law.

B.      Definitions

        1.        Foreign Government-Sponsored Talent Recruitment Program. An effort directly or indirectly
                  organized, managed, or funded by a foreign government, or a foreign government instrumentality or
                  entity, to recruit science and technology professionals or students (regardless of citizenship or national
                  origin, or whether having a full-time or part-time position). Some foreign government-sponsored talent
                  recruitment programs operate with the intent to import or otherwise acquire from abroad, sometimes
                  through illicit means, proprietary technology or software, unpublished data and methods, and intellectual
                  property to further the military modernization goals and/or economic goals of a foreign government.
                  Many, but not all, programs aim to incentivize the targeted individual to relocate physically to the foreign
                  state for the above purpose. Some programs allow for or encourage continued employment at United
                  States research facilities or receipt of federal research funds while concurrently working at and/or
                  receiving compensation from a foreign institution, and some direct participants not to disclose their
                  participation to U.S. entities. Compensation could take many forms including cash, research funding,
                  complimentary foreign travel, honorific titles, career advancement opportunities, promised future
                  compensation, or other types of remuneration or consideration, including in-kind compensation.

        2.        Foreign Country of Risk. DOE has designated the following countries as foreign countries of risk: Iran,
                  North Korea, Russia, and China. This list is subject to change.


IMPLEMENTATION OF EXECUTIVE ORDER 13798, PROMOTING FREE SPEECH AND RELIGIOUS
LIBERTY (NOVEMBER 2020)

States, local governments, or other public entities may not condition sub-awards in a manner that would discriminate, or
disadvantage sub-recipients based on their religious character.

INTERIM CONFLICT OF INTEREST REQUIREMENTS FOR FINANCIAL ASSISTANCE (MARCH 2023)


                                                                                                                               18
        Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25        Page 184 of 556
                                                     PageID #: 6114
                                                                                                      DE-GD0000006 / 0001

The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-requirements-financial-assistanc
e. This policy is applicable to all non-Federal entities applying for, or that receive, DOE funding by means of a financial
assistance award (e.g., a grant, cooperative agreement, or technology investment agreement) and, through the
implementation of this policy by the entity, to each Investigator who is planning to participate in, or is participating in, the
project funded wholly or in part under this Award. The term “Investigator” means the PI and any other person, regardless
of title or position, who is responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
proposed for funding by DOE. The Recipient must flow down the requirements of the interim COI Policy to any
subrecipient non-Federal entities, with the exception of DOE National Laboratories. Further, the Recipient must identify
all financial conflicts of interests (FCOI), i.e., managed and unmanaged/ unmanageable, in its initial and ongoing FCOI
reports.

Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award completed their significant
financial disclosures; 2) review the disclosures; 3) determine whether a FCOI exists; 4) develop and implement a
management plan for FCOIs; and 5) provide DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be in full compliance with the
other requirements set forth in DOE’s interim COI Policy.

ORGANIZATIONAL CONFLICT OF INTEREST (APRIL 2024)

Organizational conflicts of interest are those where, because of relationships with a parent company, affiliate, or
subsidiary organization, the Recipient is unable or appears to be unable to be impartial in conducting procurement action
involving a related organization (2 CFR 200.318(c)(2)).

The Recipient must disclose in writing any potential or actual organizational conflict of interest to the DOE Contracting
Officer. The Recipient must provide the disclosure prior to engaging in a procurement or transaction using project funds
with a parent, affiliate, or subsidiary organization that is not a state, local government, or Indian Tribe. For a list of the
information that must be included the disclosure, see Section VI. of the DOE interim Conflict of Interest Policy for
Financial Assistance at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-requirements-financial-assistanc
e.

If the effects of the potential or actual organizational conflict of interest cannot be avoided, neutralized, or mitigated, the
Recipient must procure goods and services from other sources when using project funds.

The Recipient must flow down the requirements of the interim COI Policy to any subrecipient non-Federal entities, with
the exception of DOE National Laboratories. The Recipient is responsible for ensuring subrecipient compliance with this
term.

If the Recipient has a parent, affiliate, or subsidiary organization that is not a state, local government, or Indian Tribe, the
Recipient must maintain written standards of conduct covering organizational conflicts of interest.

FRAUD, WASTE AND ABUSE (MARCH 2023)

The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity, economy and efficiency of
DOE’s programs and operations including deterring and detecting fraud, waste, abuse and mismanagement. The OIG
accomplishes this mission primarily through investigations, audits, and inspections of Department of Energy activities to
include grants, cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting allegations of
fraud, waste, abuse, or mismanagement. To report such allegations, please visit https://www.energy.gov/ig/ig‐hotline.



                                                                                                                              19
       Case 1:25-cv-00039-JJM-PAS                 Document 68-123            Filed 02/07/25       Page 185 of 556
                                                    PageID #: 6115
                                                                                                    DE-GD0000006 / 0001

Additionally, the Recipient must be cognizant of the requirements of 2 CFR § 200.113 Mandatory disclosures, which
states:

        The non‐Federal entity or applicant for a Federal award must disclose, in a timely manner, in writing
        to the Federal awarding agency or pass‐through entity all violations of Federal criminal law involving
        fraud, bribery, or gratuity violations potentially affecting the Federal award. Non‐Federal entities that
        have received a Federal award including the term and condition outlined in appendix XII of 2 CFR
        Part 200 are required to report certain civil, criminal, or administrative proceedings to SAM (currently
        FAPIIS). Failure to make required disclosures can result in any of the remedies described in § 200.339.
        (See also 2 CFR part 180, 31 U.S.C. 3321, and 41 U.S.C. 2313.)

TRANSPARENCY OF FOREIGN CONNECTIONS (APRIL 2024)

The Recipient must notify the DOE Contracting Officer within fifteen (15) business days of learning of the following
circumstances in relation to the Recipient and subrecipients:

        1.        Any current or pending subsidiary, foreign business entity, or offshore entity that is based in or funded by
                  any foreign country of risk or foreign entity based in a country of risk;
        2.        Any current or pending contractual or financial obligation or other agreement specific to a business
                  arrangement, or joint venture-like arrangement with an entity owned by a country of risk or foreign entity
                  based in a country of risk;
        3.        Any current or pending change in ownership structure of the Recipient or subrecipients that increases
                  foreign ownership related to a country of risk. Each notification shall be accompanied by a complete and
                  up-to-date capitalization table showing all equity interests held including limited liability company (LLC)
                  and partnership interests, as well as derivative securities. Include both the number of shares issued to
                  each equity holder, as well as the percentage of that series and of all equity on fully diluted basis. For
                  each equity holder, provide the place of incorporation and the principal place of business, as applicable.
                  If the equity holder is a natural person, identify the citizenship(s);
        4.        Any current or pending venture capital or institutional investment by an entity that has a general partner
                  or individual holding a leadership role in such entity who has a foreign affiliation with any foreign
                  country of risk;
        5.        Any current or pending technology licensing or intellectual property sales to a foreign country of risk; and
        6.        Any changes to the Recipient or the subrecipients’ board of directors, including additions to the number
                  of directors, the identity of new directors, as well as each new director’s citizenship, shareholder
                  affiliation (if applicable); each notification shall include a complete up-to-date list of all directors (and
                  board observers), including their full name, citizenship and shareholder affiliation, date of appointment,
                  duration of term, as well as a description of observer rights as applicable.
        7.        Any proposed changes to the equipment used on the project that would result in:
             a.   Equipment originally made or manufactured in a foreign country of risk (including relabeled or rebranded
                  equipment).
             b.   Coded equipment where the source code is written in a foreign country of risk.
             c.   Equipment from a foreign country of risk that will be connected to the internet or other remote
                  communication system.
             d.   Any companies from a foreign country of risk that will have physical or remote access to any part of the
                  equipment used on the project after delivery.

Should DOE determine the connection poses a risk to economic or national security, DOE will require measures to
mitigate or eliminate the risk.

DOE has designated the following countries as foreign countries of risk: Iran, North Korea, Russia, and China. This list is
subject to change.

                                                                                                                            20
       Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 186 of 556
                                                  PageID #: 6116
                                                                                                  DE-GD0000006 / 0001


Recognizing the disclosures may contain business confidential information, subrecipients may submit their disclosures
directly to DOE.

FOREIGN COLLABORATION CONSIDERATIONS (MARCH 2023)

A.      Consideration of new collaborations with foreign organizations and governments. The Recipient must provide
        DOE with advanced written notification of any potential collaboration with foreign entities, organizations or
        governments in connection with its DOE-funded award scope. The Recipient must await further guidance from
        DOE prior to contacting the proposed foreign entity, organization or government regarding the potential
        collaboration or negotiating the terms of any potential agreement.

B.      Existing collaborations with foreign entities, organizations and governments. The Recipient must provide DOE
        with a written list of all existing foreign collaborations in which has entered in connection with its DOE-funded
        award scope.

C.      Description of collaborations that should be reported: In general, a collaboration will involve some provision of a
        thing of value to, or from, the Recipient. A thing of value includes but may not be limited to all resources made
        available to, or from, the recipient in support of and/or related to the Award, regardless of whether or not they
        have monetary value. Things of value also may include in-kind contributions (such as office/laboratory space,
        data, equipment, supplies, employees, students). In-kind contributions not intended for direct use on the Award
        but resulting in provision of a thing of value from or to the Award must also be reported. Collaborations do not
        include routine workshops, conferences, use of the Recipient’s services and facilities by foreign investigators
        resulting from its standard published process for evaluating requests for access, or the routine use of foreign
        facilities by awardee staff in accordance with the Recipient’s standard policies and procedures.
BUY AMERICAN REQUIREMENT FOR INFRASTRUCTURE PROJECTS (MAY 2024)

A.   Definitions
Components See 2 CFR 184.3 “Definitions.”

Construction Materials See 2 CFR 184.3 “Definitions.”

Buy America Preference, Buy America Requirement, or domestic content procurement preference”
means a requirement that no amount of funds made available through a program for federal financial assistance
may be obligated for an infrastructure project unless—
         (A) all iron and steel used in the project are produced in the United States;
         (B) the manufactured products used in the project are produced in the United States; or
         (C) the construction materials used in the project are produced in the United States.

Infrastructure See 2 CFR 184.4 (c) and (d).

Manufactured Products See 2 CFR 184.3 “Definitions.”

Predominantly of iron or steel See 2 CFR 184.3 “Definitions."

Infrastructure Project- See 2 CFR 184.3 “Definitions."




                                                                                                                            21
       Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25      Page 187 of 556
                                                PageID #: 6117
                                                                                            DE-GD0000006 / 0001

Public- The Buy America Requirement does not apply to non-public infrastructure. For purposes of this
guidance, infrastructure should be considered “public” if it is: (1) publicly owned or (2) privately owned but
utilized primarily for a public purpose. Infrastructure should be considered to be “utilized primarily for a public
purpose” if it is privately operated on behalf of the public or is a place of public accommodation.

B.          Buy America Requirement for Infrastructure Projects (Buy America Requirement)
None of the funds provided under this award (federal share or recipient cost-share) may be used for a project for
infrastructure unless:

   1. All iron and steel used in the project is produced in the United States—this means all
      manufacturing processes, from the initial melting stage through the application of coatings,
      occurred in the United States;

   2. All manufactured products used in the project are produced in the United States—this means the
      manufactured product was manufactured in the United States; and the cost of the components of
      the manufactured product that are mined, produced, or manufactured in the United States is
      greater than 55 percent of the total cost of all components of the manufactured product, unless
      another standard for determining the minimum amount of domestic content of the manufactured
      product has been established under applicable law or regulation. See 2 CFR 184.5 for
      determining the cost of components for manufactured products; and

   3. All construction materials are manufactured in the United States—this means that all
      manufacturing processes for the construction material occurred in the United States. See 2 CFR
      184.6 for construction material standards.

The Buy America Requirement only applies to those articles, materials, and supplies that are consumed in,
incorporated into, or permanently affixed to the infrastructure in the project. As such, it does not apply to tools,
equipment, and supplies, such as temporary scaffolding, brought into the construction site and removed at or
before the completion of the infrastructure project. Nor does a Buy America Requirement apply to equipment
and furnishings, such as movable chairs, desks, and portable computer equipment, that are used at or within the
finished infrastructure project but are not an integral part of the structure or permanently affixed to the
infrastructure project.

The Buy America Requirement only applies to an article, material, or supply classified into one of the following
categories* based on its status at the time it is brought to the work site for incorporation into an infrastructure
project:

       (i) Iron or steel products;
       (ii) Manufactured products; or
       (iii) Construction materials;

The Buy America Requirement only applies to the iron or steel products, manufactured products, and
construction materials used for the construction, alteration, maintenance, or repair of public infrastructure in the
United States when those items are consumed in, incorporated into, or permanently affixed to the infrastructure.
An article, material, or supply incorporated into an infrastructure project should not be considered to fall into



                                                                                                                  22
       Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25     Page 188 of 556
                                               PageID #: 6118
                                                                                           DE-GD0000006 / 0001

multiple categories, but rather must meet the Buy America Preference Requirement for only the single category
in which it is classified.

All iron and steel, manufactured products, and construction materials used in the infrastructure project must be
produced in the United States.

* Section 70917(c) of the BABA states that “construction materials” do not include cement and cementitious
materials; aggregates such as stone, sand, or gravel; or aggregate binding agents or additives. Section 70917(c)
materials are excluded from Construction materials. Asphalt concrete pavement mixes are typically composed
of asphalt cement (a binding agent) and aggregates such as stone, sand, and gravel. Accordingly, asphalt is also
excluded from the definition of Construction materials.

Section 70917(c) materials, on their own, are not manufactured products. Further, Section 70917(c) materials
should not be considered manufactured products when they are used at or combined proximate to the work
site—such as is the case with wet concrete or hot mix asphalt brought to the work site for incorporation.
However, when certain Section 70917(c) materials (such as stone, sand, and gravel) are used to produce a
manufactured product, such as is precast concrete processed into a specific shape or form, and is in such state
when brought to the work site, then that product is subject to the BABA requirements.
Further clarification is provided in 2 CFR 184 on the circumstances under which a determination is made that
Section 70917(c) materials should be treated as components of a manufactured product. That determination is
based on consideration of: (i) the revised definition of the “manufactured products” at 2 CFR 184.3; (ii) a new
definition of “section 70917(c) materials” at 2 CFR 184.3; (iii) new instructions at 2 CFR 184.4(e) on how and
when to categorize articles, materials, and supplies; and (iv) new instructions at 2 CFR 184.4(f) on how to apply
the Buy America preference by category.

Recipients are responsible for administering their award in accordance with the terms and conditions, including
the Buy America Requirement. The recipient must ensure that the Buy America Requirement flows down to all
subawards and that the subawardees and subrecipients comply with the Buy America Requirement. The Buy
America Requirement term and condition must be included all sub-awards, contracts, subcontracts, and
purchase orders for work performed under the infrastructure project.

C.           Certification of Compliance
Recipients must certify or provide equivalent documentation for proof of compliance that a good faith effort
was made to solicit bids for domestic products used in the infrastructure project under this award.
Recipients must also maintain certifications or equivalent documentation for proof of compliance that those
articles, materials, and supplies that are consumed in, incorporated into, affixed to, or otherwise used in the
infrastructure project, not covered by a waiver or exemption provided in 2 CFR 184.8, are produced in the
United States. The certification or proof of compliance must be provided by the suppliers or manufacturers of
the iron, steel, manufactured products and construction materials and flow up from all subawardees, contractors
and vendors to the recipient. Recipients must keep these certifications with the award/project files and be able to
produce them upon request from DOE, auditors or Office of Inspector General.

D.        Waivers
When necessary, recipients may apply for, and DOE may grant, a waiver from the Buy America Requirement.
Waiver requests are subject to review by DOE and the Office of Management and Budget, as well as a public
comment period of no less than 15 calendar days.


                                                                                                                23
       Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 189 of 556
                                              PageID #: 6119
                                                                                         DE-GD0000006 / 0001

   1. Waivers must be based on one of the following justifications:
       a) Public Interest- Applying the Buy America Requirement would be inconsistent with the public
          interest;
       b) Non-Availability- The types of iron, steel, manufactured products, or construction materials are not
          produced in the United States in sufficient and reasonably available quantities or of a satisfactory
          quality; or
       c) Unreasonable Cost- The inclusion of iron, steel, manufactured products, or construction materials
          produced in the United States will increase the cost of the overall project by more than 25 percent.

   2. Requests to waive the Buy America Requirement must include the following:
      ● Waiver type (Public Interest, Non-Availability, or Unreasonable Cost);
      ● Recipient name and Unique Entity Identifier (UEI);
      ● Award information (Federal Award Identification Number, Assistance Listing number);
      ● A brief description of the project, its location, and the specific infrastructure involved;
      ● Total estimated project cost, with estimated federal share and recipient cost share breakdowns;
      ● Total estimated infrastructure costs, with estimated federal share and recipient cost share
         breakdowns;
      ● List and description of iron or steel item(s), manufactured goods, and/or construction material(s) the
         recipient seeks to waive from the Buy America Preference, including name, cost, quantity(ies),
         country(ies) of origin, and relevant Product Service Codes (PSC) and North American Industry
         Classification System (NAICS) codes for each;
      ● A detailed justification as to how the non-domestic item(s) is/are essential the project;
      ● A certification that the recipient made a good faith effort to solicit bids for domestic products
         supported by terms included in requests for proposals, contracts, and non-proprietary
         communications with potential suppliers;
      ● A justification statement—based on one of the applicable justifications outlined above—as to why
         the listed items cannot be procured domestically, including the due diligence performed (e.g., market
         research, industry outreach, cost analysis, cost-benefit analysis) by the recipient to attempt to avoid
         the need for a waiver. This justification may cite, if applicable, the absence of any Buy
         America-compliant bids received for domestic products in response to a solicitation;
      ● A description of the market research conducted that includes who conducted the market research,
         when it was conducted, sources that were used, and the methods used to conduct the research; and
      ● Anticipated impact to the project if no waiver is issued.

   3. How to submit a waiver
      Requests to waive the application of the Buy America Requirement must be submitted in writing to your
      cognizant Contracting Officer or Grants Officer.

DOE may request, and the recipient must provide, additional information for consideration of this wavier. DOE
may reject or grant waivers in whole or in part depending on its review, analysis, and/or feedback from OMB or
the public. DOEs final determination regarding approval or rejection of the waiver request may not be appealed.
Waiver requests may take up to 90 calendar days to process.

REPORTING, TRACKING AND SEGREGATION OF INCURRED COSTS (MARCH 2023)



                                                                                                                 24
       Case 1:25-cv-00039-JJM-PAS               Document 68-123          Filed 02/07/25       Page 190 of 556
                                                  PageID #: 6120
                                                                                                DE-GD0000006 / 0001

BIL funds can be used in conjunction with other funding, as necessary to complete projects, but tracking and reporting
must be separate to meet the reporting requirements of the BIL and related Office of Management and Budget (OMB)
Guidance. The Recipient must keep separate records for BIL funds and must ensure those records comply with the
requirements of the BIL. Funding provided through the BIL that is supplemental to an existing grant or cooperative
agreement is one-time funding.

DAVIS-BACON REQUIREMENTS (NETL – JUNE 2024)

This Award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers and mechanics
employed by the recipient, subrecipients, contractors or subcontractors in the performance of construction,
alteration, or repair work in excess of $2,000 on a project assisted in whole or in part by funds made available
under this Award shall be paid wages at rates not less than those prevailing on similar projects in the locality, as
determined by the Secretary of Labor in accordance with Subchapter IV of Chapter 31 of Title 40, United States
Code commonly referred to as the “Davis-Bacon Act” (DBA) and its implementing regulations in 29 CFR parts
1, 3, and 5 (collectively the “Davis-Bacon Act Requirements”).

Award recipients shall provide written acknowledgement and confirmation of compliance with the Davis-Bacon
Act Requirements which include but are not limited to:

    1. Ensuring that laborers and mechanics on BIL funded/assisted projects are paid at least the prevailing
       wage for their work classification on applicable projects.
    2. Ensuring that laborers and mechanics on BIL funded/assisted projects are paid on a weekly basis.
    3. Ensuring that the applicable wage determination(s) for construction work performed by laborers and
       mechanics employed by the recipient, subrecipients, contractors, or subcontractors are identified and
       obtained from the database at www.sam.gov, by 1) selecting “Wage Determinations,” then, 2) selecting
       “Public Buildings and Public Works,” then, 3) filtering search results by State (selecting the appropriate
       state from the drop-down menus), and by County or Independent City (selecting the appropriate
       County/Independent City from the drop-down menu) in which the work will take place, then, 4)
       selecting the appropriate construction type (e.g., Building, Residential, Heavy, or Highway). The
       appropriate wage determination number hyperlink should be selected from the result. If the wage
       determination which opens lists a “Last Revised Date” after the date of the contract award/start of
       construction, then scroll to the bottom of the document, and under History, click on the wage
       determination with the date closest to, but still before the date of contract award/start of construction.
    4. Ensuring that applicable wage determination(s) are uploaded to LCPtracker (see below section on
       LCPtracker).
    5. Ensuring that the applicable wage determination(s) and the required contract provisions per 29 CFR 5.5
       are flowed down to and incorporated into any applicable contracts/subcontracts or subrecipient awards.
    6. Preserving a copy of the applicable wage determination(s) identified and obtained from www.sam.gov,
       for a period of 3 years after the construction, alteration or repair work herein is completed.
    7. Maintaining responsibility for compliance by any lower-tier subcontractors or subrecipients subject to
       the Davis-Bacon Act Requirements.
    8. Receiving and reviewing certified weekly payrolls submitted by all subcontractors and subrecipients for
       accuracy as needed and identifying potential compliance issues.



                                                                                                                         25
       Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25     Page 191 of 556
                                              PageID #: 6121
                                                                                         DE-GD0000006 / 0001

   9. Maintaining original certified weekly payrolls for 3 years after the completion of the project and making
      those payrolls available to the Department of Energy or the Department of Labor upon request.
   10. Conducting site-visit interviews with employees as needed to provide reasonable assurance of
       compliance with subcontractors and subrecipients.
   11. Cooperating with authorized representatives of the Department of Energy or Department of Labor in the
       inspection of DBA-related records, on-site interviews of laborers and mechanics, and other reasonable
       requests related to a DBA investigation.
   12. Posting in a prominent and accessible place the applicable wage determination(s) and Department of
       Labor Publication: WH-1321, Notice to Employees Working on Federal or Federally Assisted
       Construction Projects.
   13. Notifying the Contracting Officer of Davis-Bacon Act Requirement issues, including complaints,
       violations (as defined in 29 CFR 5.7), disputes (pursuant to 29 CFR parts 4, 6, and 8 and as defined in
       FAR 52.222-14), disputed DBA-related determinations, Department of Labor investigations, or
       legal/judicial proceedings related to the Davis-Bacon Act Requirements under this contract, subcontract,
       or subrecipient award.
   14. Preparing and submitting the Semi-Annual Labor Enforcement Report, by April 21 and October 21 of
       each year, in accordance with the reporting instructions in Attachment 2, Federal Assistance Reporting
       Checklist.

   15. Maintain competency in complying with Davis-Bacon Act Requirements. The Contracting Officer will
       notify the recipient of any DOE-sponsored Davis-Bacon Act compliance trainings. The Department of
       Labor offers free Prevailing Wage Seminars several times a year that meet this requirement, at
       https://www.dol.gov/agencies/whd/government-contracts/construction/seminars/events.

To avoid voluminous attachments under this award, all applicable wage determination(s) included in the
www.sam.gov database and uploaded to LCPtracker are incorporated by reference herein as if set forth and
attached in full. The applicable wage determination(s) are effective herein even if they have not been attached
to the contract/subcontract(s) or subrecipient awards thereunder or have not been correctly identified and
obtained from www.sam.gov and/or uploaded to LCPtracker.

The Department of Energy has contracted with LCPtracker, a third-party DBA electronic payroll compliance
software application. A waiver for the use of LCPtracker may be granted to a particular contractor or
subcontractor if they are unable or limited in their ability to use or access the software.

Davis-Bacon Act Electronic Certified Payroll Submission Waiver

A waiver must be granted before the start of work subject to Davis-Bacon Act requirements (e.g., construction,
alteration, or repair work). The recipient does not have the right to appeal DOE’s decision concerning a waiver
request.

For additional guidance on how to comply with the Davis-Bacon provisions and clauses, see
https://www.dol.gov/agencies/whd/government-contracts/construction and
https://www.dol.gov/agencies/whd/government-contracts/protections-for-workers-in-construction.


                                                                                                              26
        Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 192 of 556
                                                    PageID #: 6122
                                                                                                    DE-GD0000006 / 0001

AFFIRMATIVE ACTION AND PAY TRANSPARENCY REQUIREMENTS (SEPTEMBER 2023)

All federally assisted construction contracts exceeding $10,000 annually will be subject to the requirements of
Executive Order 11246:

        (1) Recipients, subrecipients, and contractors are prohibited from discriminating in employment
        decisions on the basis of race, color, religion, sex, sexual orientation, gender identity or national origin.

        (2) Recipients and Contractors are required to take affirmative action to ensure that equal opportunity is
        provided in all aspects of their employment. This includes flowing down the appropriate language to all
        subrecipients, contractors and subcontractors.

        (3) Recipients, subrecipients, contractors and subcontractors are prohibited from taking adverse
        employment actions against applicants and employees for asking about, discussing, or sharing
        information about their pay or, under certain circumstances, the pay of their co‐workers.

The Department of Labor’s (DOL) Office of Federal Contractor Compliance Programs (OFCCP) uses a neutral
process to schedule contractors for compliance evaluations. OFCCP’s Technical Assistance Guide should be
consulted to gain an understanding of the requirements and possible actions the recipients, subrecipients,
contractors and subcontractors must take. See OFCCP’s Technical Assistance Guide at:
https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG.pdf?msclkid=9e397d68c4b11
1ec9d8e6fecb6c710ec.

Additionally, for construction projects valued at $35 million or more and lasting more than one year, Recipients,
subrecipients, contractors, or subcontractors may be selected by OFCCP to participate in the Mega Construction
Project Program. DOE, under relevant legal authorities including Sections 205 and 303(a) of Executive Order
11246, will require participation as a condition of the award. This program offers extensive compliance
assistance with EO 11246. For more information regarding this program, see
https://www.dol.gov/agencies/ofccp/construction/mega-program.

POTENTIALLY DUPLICATIVE FUNDING NOTICE (MARCH 2023)

If the Recipient or subrecipients have or receive any other award of federal funds for activities that potentially overlap
with the activities funded under this Award, the Recipient must promptly notify DOE in writing of the potential overlap
and state whether project funds (i.e., recipient cost share and federal funds) from any of those other federal awards have
been, are being, or are to be used (in whole or in part) for one or more of the identical cost items under this Award. If there
are identical cost items, the Recipient must promptly notify the DOE Contracting Officer in writing of the potential
duplication and eliminate any inappropriate duplication of funding.


CONSTRUCTION SIGNAGE (MAY 2024)

The Recipient is encouraged to display DOE Investing in America signage during and after construction. Guidance can be
found at: (https://www.energy.gov/design). Proposed signage costs that meet these specifications are an allowable cost and
may be included in the proposed project budget.




                                                                                                                            27
        Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 193 of 556
                                                   PageID #: 6123
                                                                                                   DE-GD0000006 / 0001

POST AWARD DUE DILIGENCE REVIEWS (APRIL 2024)
During the period of performance of the Award, DOE may conduct ongoing due diligence reviews, through Government
resources, to identify potential risks of undue foreign influence. In the event a risk is identified, DOE may require risk
mitigation measures, including but not limited to, requiring an individual or entity not participate in the Award. As part of
the research, technology, and economic security risk review, DOE may contact the Recipient project team members for
additional information to inform the review.




                                                                                                                           28
     Case 1:25-cv-00039-JJM-PAS                          Document 68-123              Filed 02/07/25                Page 194 of 556
                                                           PageID #: 6124


                                                                  Federal Assistance Reporting Checklist
                                                                                                                                   Attachment 3



1.      Award Number:                                                    2.     Program/Project Title:

        DE-GD0000006 / 0001
                                                                                BIL – Preventing Outages and Enhancing the Resilience of
3.      Recipient:
                                                                                the Electric Grid, Formula Grants to States and Indian Tribes
        Colorado Energy Office
4. Reporting Requirements (see also the Special Instructions)            Frequency                               Addresses

I.       PROJECT MANAGEMENT REPORTING
☐ A. Performance Report – Narrative                                            Q        A.   EERE PMC
☐ B. Performance Report – Quantitative                                         Q        B.   EERE PMC
☒ C. Financial Report (SF-425)                                                F, S      C.   EERE PMC
☐ D. Scientific and Technical Reporting
     ☐ 1. Accepted Manuscript of Journal Article(s)                           A5, P     D.1. OSTI E-Link
     ☐ 2. Conference Product(s)                                               A5, P     D.2. OSTI E-Link
     ☐ 3. Technical Report(s)                                                 A5, P     D.3. OSTI E-Link
     ☐ 4. Software & Manual(s)                                                A5, P     D.4. DOE CODE
     ☐ 5. Dataset(s)                                                          A5, P     D.5. OSTI E-Link Datasets
     ☐ 6. Other STI (Dissertation / Thesis, etc.)                             A5, P     D.6. OSTI E-Link
☐ E. Intellectual Property Reporting
     ☐ 1. Intellectual Property Reporting                                     A5, P     E.1. iEdison
     ☐ 2. Invention Utilization Report                                        A5, P     E.2. iEdison
☒ F. Project Management Plan (PMP)                                             A5       F.   EERE PMC
☒ G. Special Status Report                                                     A5       G. EERE PMC
☐ H. Continuation Application                                                  A5       H. EERE PMC
☒ I. Other Project Management Reporting (see Special Instructions)             Q        I.   See Special Instructions


II.      AWARD MANAGEMENT REPORTING
☒ A. Current and Pending Support                                               A5       A.   EERE PMC
☒ B. Demographic Reporting                                                     A5       B.   EERE PMC
☒ C. Financial Conflict of Interest Report                                     A5       C.   EERE PMC
☐ D. Tangible Personal Property Report – Annual Property Report                Y        D.   EERE PMC
     (SF-428 & SF-428A)
☒ E. Tangible Personal Property Report – Disposition Request/Report            A5       E.   EERE PMC
     (SF-428 & SF-428C)
☒ F. Uniform Commercial Code (UCC) Financing Statements                        A5       F.   See section II. F. for instructions and due dates
☒ G. Federal Subaward Reporting System (FSRS)                                  A5       G.   FSRS
☐ H. Annual Incurred Cost Proposal                                            Y180      H.   See section II. H. for instructions and due dates
☐ I. Fringe Reconciliation Form                                               Y180      I.   See Section II. I. for instructions and due dates
☐ J. DOE For-Profit Compliance Audit                                           O        J.   See section II. J. for instructions and due dates
☒ K. Single Audit: States, Locals, Tribal Governments, and Non-Profits         O        K.   See section II. K. for instructions and due dates
☒ L. Other Award Management Reporting (see Special Instructions)               A5       L.   See Special Instructions

III.     CLOSEOUT REPORTING
☐ A. Final Scientific/Technical Report
     ☐ A.1. Final Scientific/Technical Report – Unlimited                        F      A.1. OSTI E-Link
     ☐ A.2. Final Scientific/Technical Report – Data Protection                  F      A.2. OSTI E-Link
☐ B. Invention Certification (DOE F 2050.11)                                     F      B. EERE PMC
☒ C. Tangible Personal Property Report – Final Report                         F, A5     C. EERE PMC
     (SF-428 & SF-428B)
☐ D. Verification of Receipt of Accepted Manuscripts                           F        D.   See section III. D. for instructions and due dates
☐ E. Other Closeout Reporting (see Special Instructions)                       F        E.   See Special Instructions




      Template Version 01/2024 (NETL 04/17/2024)
 Case 1:25-cv-00039-JJM-PAS                               Document 68-123                      Filed 02/07/25             Page 195 of 556
                                                            PageID #: 6125


                                                                   Federal Assistance Reporting Checklist
                                                                                                                                           Attachment 3

IV.  POST-PROJECT REPORTING
☐ A. Scientific and Technical Reporting                                                   P     A.   OSTI E-Link
☐ B. Intellectual Property Reporting                                                      P     B.   iEdison
4. Reporting Requirements (see also the Special Instructions)                      Frequency                             Addresses

V.   BIPARTISAN INFRASTRUCTURE LAW/INFLATION REDUCTION ACT
     REPORTING
☒ A. Community Benefits Report                                                        Y         A.   EERE PMC
☐ B. Boosting Domestic Manufacturing                                                A5, Y, F    B.   EERE PMC
☒ C. Quality Job Creation
     ☒ 1. Direct Jobs                                                                 A5        C.1. See Section V. C. I for instructions and due dates.
     ☒ 2. Training Outcomes                                                          A5, F      C.2. EERE PMC
     ☒ 3. Good Jobs Outcomes                                                         A5, F      C.3. EERE PMC
     ☒ 4. Permanent Jobs                                                              A5        C.4. EERE PMC
☒ D. Equity and Justice
     ☒ 1. Community Engagement Process                                                A5        D.1. EERE PMC
     ☒ 2. Engagement Events and Technical Assistance                                  A5        D.2. EERE PMC
     ☐ 3. Community Ownership                                                         Q         D.3. EERE PMC
☐ E. Pathway to Net-Zero
     ☐ 1. Infrastructure Supported                                                  A5, Y, F    E.1. EERE PMC
     ☐ 2. Hydrogen Production                                                       A5, Y, F    E.2. EERE PMC
     ☐ 3. Carbon Capture, Removal, and Storage                                      A5, Y, F    E.3. EERE PMC
     ☐ 4. Energy Saved                                                              A5, Y, F    E.4. EERE PMC
☒ F. Davis Bacon Act Semi-Annual Labor Compliance Report                              A5        F.   EERE PMC



FREQUENCY CODES AND DUE DATES:
A5 – As Specified or within five (5) calendar days after the event.
F – Final; within 120 calendar days after expiration or termination of the award.
O – Other: See instructions for further details.
P – Post-project (after the period of performance); within five (5) calendar days after the event, or as specified.
Q – Quarterly; within 30 calendar days after the end of the federal fiscal year quarter.
S – Semiannually; within 30 days after end of the reporting period.
Y – Yearly; within 90 calendar days after the end of the federal fiscal year or termination of the award.
Y180 – Yearly; within 180 calendar days after the close of the recipient’s fiscal year.
FULL URLS:
OSTI E-Link: https://www.osti.gov/elink/2413-submission.jsp
OSTI E-Link Datasets: https://www.osti.gov/elink/2416-submission.jsp
DOE CODE: https://www.osti.gov/doecode/
iEdison: https://www.nist.gov/iedison
EERE PMC: https://www.eere-pmc.energy.gov/SubmitReports.aspx
FSRS: https://www.fsrs.gov




5.   Special Instructions:




                                                                           2
 Case 1:25-cv-00039-JJM-PAS                  Document 68-123            Filed 02/07/25         Page 196 of 556
                                               PageID #: 6126


                                                    Federal Assistance Reporting Checklist
                                                                                                           Attachment 3



          Recipient’s fiscal year end date: 06/30
              ☐ No indirect costs proposed
              ☐ De minimis rate used/No fringe proposed

     Project Management Reporting:
         I.        Other Project Management Reporting
         All deliverables identified in the Statement of Project Objectives (SOPO), Award Attachment 2, must be submitted
         to the address identified in the SOPO deliverables table.

5.   Special Instructions (Continued):




                                                          3
Case 1:25-cv-00039-JJM-PAS               Document 68-123              Filed 02/07/25         Page 197 of 556
                                           PageID #: 6127


                                                Federal Assistance Reporting Checklist
                                                                                                          Attachment 3



    Quarterly Progress Report (QPR)
      Submit to:            https://www.eere-pmc.energy.gov/SubmitReports.aspx
      First QPR             Due within 30 calendar days after the end of the first full quarterly reporting
      Submission            period following the issuance of the award.
      Deadline:
      Submission            Within 30 calendar days after the end of the quarterly reporting period (January
      Deadline for          30, April 30, July 30, October 30)
      Subsequent QPRs:

      Template and          Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov
      Instructions
    The QPR template utilizes the same template document as the Project Management Plan (PMP). The Recipient
    will use the QPR to report the progress made from the baseline information set forth in the PMP. The Final QPR
    shall reflect any final close-out activities, costs, payments, and reimbursements that occurred following the
    submission of the QPR for the last reporting period of the Period of Performance.

    II.      Award Management Reporting:

    F. Uniform Commercial Code (UCC) Financing Statements:
    If a piece of equipment is planned to be purchased by a for-profit Recipient or a for-profit Subrecipient with
    either Federal and/or non-Federal funds, and when the DOE share of the prime award exceeds $1M, the
    for-profit Recipient or the for-profit Subrecipient must record Uniform Commercial Code (UCC) financing
    statement(s) before being reimbursed for the DOE share of the equipment. See “Reporting Instructions” for
    specific guidance.

    L. Other Award Management Reporting
    Annual Allocation Request
     Submit To:               Program Manager identified in Block 15 and the DOE Award Administrator
                              identified on Page 2 of the Award Agreement
     Submission Deadline:     Within the specified time after issuance of the ALRD DE-FOA-00002736
                              amendment publicizing the Annual Allocations.
     Content and Information: See the “Annual Allocation Request” provision in the Special Terms and
                              Conditions.




                                                       4
Case 1:25-cv-00039-JJM-PAS                    Document 68-123       Filed 02/07/25     Page 198 of 556
                                                PageID #: 6128


                                                    Federal Assistance Reporting Checklist
                                                                                                    Attachment 3




Table of Contents
I.              Project Management Reporting                                                              6
      A.        Performance Report Narrative (PRN) - Not Required                                         6
      B.        Performance Report Quantitative (PRQ) - Not Required                                      6
      C.        Financial Report SF-425 Federal Financial Report                                          6
      D.        Scientific and Technical Reporting - Not Required                                         6
      E.        Intellectual Property Reporting - Not Required                                            6
      F.        Project Management Plan (PMP)                                                             6
           1.     Revised Plan(s)                                                                         7
           2.     Content of revised PMP                                                                  7
      G.        Special Status Reports                                                                    7
      H.        Continuation Application - Not Required                                                 10
      I.        Other Project Management Reporting (see Special Instructions)                           10
II.             Award Management Reporting                                                              10
      A.        Current and Pending Support                                                             10
      B.        Demographic Reporting                                                                   12
      C.        Financial Conflict of Interest Report                                                   13
      D.        Tangible Personal Property Report – Annual Property Report (SF-428 & SF-428A) - Not
                Required                                                                            14
      E.        Tangible Personal Property Report – Disposition Request/Report (SF-428 & SF-428C) 14
      F.        Uniform Commercial Code (UCC) Financing Statements                                      15
      G.        Federal Subaward Reporting System (FSRS)                                                16
      H.        Annual Incurred Cost Proposals- Not Required                                            16
      I.        Fringe Reconciliation Form- Not Required                                                16
      J.        DOE For-Profit Compliance Audit- Not Required                                           16
      K.        Single Audit: States, Local Government, Tribal Governments, Institution of Higher
                Education (IHE), or Non-Profit Organization                                             16
      L.        Other Award Management Reporting (see Special Instructions)                             17
III.            Closeout Reporting                                                                      17
      A.        Final Scientific/Technical Report - Not Required                                        17
      B.        Invention Certification (DOE F 2050.11) - Not Required                                  17


                                                        5
Case 1:25-cv-00039-JJM-PAS                   Document 68-123          Filed 02/07/25   Page 199 of 556
                                               PageID #: 6129


                                                  Federal Assistance Reporting Checklist
                                                                                               Attachment 3


      C.        Tangible Personal Property Report – Final Report (SF-428 & SF-428B)                17
      D.        Verification of Receipt of Accepted Manuscripts - Not Required                     18
      E.        Other Closeout Reporting (see Special Instructions)                                18
IV.             Post-Project Reporting                                                             18
      A.        Scientific and Technical Reporting - Not Required                                  18
      B.        Intellectual Property Reporting - Not Required                                     18
V.              Bipartisan Infrastructure Law/Inflation Reduction Act Reporting                    18
      A.        Community Benefits Report (Annual Program Metrics and Impact Report)               18
      B.        Boosting Domestic Manufacturing - Not Required                                     18
      C.        Quality Job Creation                                                               19
           1.     Direct Jobs                                                                      19
           2.     Training Outcomes                                                                19
           3.     Good Jobs Outcomes                                                               19
           4.     Permanent Jobs                                                                   20
      D.        Equity and Justice                                                                 20
           1.     Community Engagement Process                                                     20
           2.     Engagement Events and Technical Assistance                                       20
           3.     Community Ownership - Not Required                                               20
      E.        Pathways to Net Zero - Not Required                                                20
      F.        Davis Bacon Act Semi-Annual Labor Compliance Report                                20
VI.    Appendix A: Notice To Recipients (Prime Recipients And Subrecipients) Regarding
Protected Data, Limited Rights Data And Protected Personally Identifiable Information              22




                                                        6
 Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25         Page 200 of 556
                                            PageID #: 6130


                                                 Federal Assistance Reporting Checklist
                                                                                                        Attachment 3



                                Reporting Instructions (02/2024)
           Throughout the performance of the project, it is important that you mark
           Protected Data/Limited Rights Data as described in Appendix A. It is equally

***        important that you not submit Protected Personally Identifiable Information
           (Protected PII) to DOE. See Appendix A for guidance on Protected PII.                             ***
 I.      Project Management Reporting

 A. Performance Report Narrative (PRN) - Not Required

 B. Performance Report Quantitative (PRQ) - Not Required

 C. Financial Report SF-425 Federal Financial Report

        Submit to:      https://www.eere-pmc.energy.gov/SubmitReports.aspx
        Submission      Within 30 calendar days after the end of the semi-annual reporting period (, April 30,
        deadline:       October 30) and within 120 calendar days after expiration or termination of the
                        award

      The prime recipient is required to submit a completed SF-425 for the project to DOE,
      covering the entirety of work performed by the prime recipient, subrecipients, and
      contractors – to DOE. A fillable version of the SF-425 is available at
      https://www.grants.gov/forms/forms-repository/post-award-reporting-forms.

 D. Scientific and Technical Reporting - Not Required

 E. Intellectual Property Reporting - Not Required

 F. Project Management Plan (PMP)

       Submit To:                     https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission Deadline:           Within 90 days of the effective date of the DOE award
       Template and Instructions:     Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov


      The recipient is required to develop, update, and adhere to a project management plan. The
      purpose of the plan is to establish cost, schedule, and technical performance baselines, and
      to formalize the processes by which the project will be managed. These processes include
      considerations such as risk management, change management, and communications



                                                       7
Case 1:25-cv-00039-JJM-PAS              Document 68-123             Filed 02/07/25    Page 201 of 556
                                          PageID #: 6131


                                               Federal Assistance Reporting Checklist
                                                                                              Attachment 3


   management. While it is primarily the project recipient’s responsibility to maintain the plan,
   federal staff may request changes. The plan is intended to be a living document, modified as
   necessary, and comprising the following iterations:

   1. Revised Plan(s)
      During the life of the project the recipient must submit a revised project management
      plan based on the following circumstances:

       a. Developments that have a significant favorable impact on the project.

       b. Problems, delays, or adverse conditions which materially impair the recipient’s
          ability to meet the objectives of the award or which may require the program office
          to respond to questions relating to such events from the public. Specifically, the
          recipient must update the plan when any of the following incidents occur:

            i.    Any event which is anticipated to cause significant schedule or cost changes,
                  such as changes to the funding and costing profile or changes to the project
                  timeline.
            ii.   Any change to Technology Readiness Level.
           iii.   Any significant change to risk events (including both potential and realized
                  events) or to risk management strategies.
           iv.    Failure to meet a milestone or milestones; any dependencies should be
                  adjusted.
            v.    Any changes to partnerships.
           vi.    Any significant change to facilities or other project resources.
          vii.    Any other incident that has the potential for high visibility in the media.

   2. Content of revised PMP
   All interim and draft PMP revisions can be exchanged via email with the NETL project officer.
   However, all final versions of the PMP need to be uploaded to the EERE PMC website. The
   revised PMP must stay consistent with the PMP instructions and template located at:

           Section 40101(d) Formula Grants to States & Indian Tribes | netl.doe.gov

G. Special Status Reports

    Submit to:      https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission      Within five (5) calendar days after the event, or as specified
    deadline:

   Problems, delays, or adverse conditions which materially impair the recipient’s ability to
   meet the objectives of the award or which may require DOE to respond to questions relating



                                                     8
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 202 of 556
                                       PageID #: 6132


                                           Federal Assistance Reporting Checklist
                                                                                             Attachment 3


   to such events from the public. The recipient must report any of the following incidents and
   include the anticipated impact and remedial action to be taken to correct or resolve the
   problem/condition.

   Within forty-eight (48) hours, provide notification to the DOE Program/Project Manager by
   email, with a copy to the DOE Award Contracting Officer/Grants and Agreements Officer, the
   following events:

       1. Any fatality, injury, or illness that results in loss of consciousness or requires medical
          treatment beyond first aid involving an employee, or member of the public.
       2. An imminent or actual environmental contamination or the need for environmental
          cleanup (including, but not limited to, contamination or cleanup resulting from an
          accident connected to or arising from the presence, leakage or spill of hazardous
          materials) in accordance with National Environmental Policy Act 42 USC §§4321, et
          seq. Examples of due care may include, but are not limited to, visual site inspection
          of any portions of the property where environmental contamination is likely or
          suspected, or other reasonable measures. Such notice must be made to DOE
          following any immediate mitigation efforts, as appropriate, and contacts made to
          requisite agencies.
       3. Actual physical property damage in excess of $50,000.

Within 48 hours, the recipient is responsible for reporting cybersecurity incident(s) as follows
       4. The recipient is responsible for identifying a cybersecurity incident. In general, a
          cybersecurity incidents is identified as any incident that may cause financial harm or
          loss of intellectual property created or supported in performance of the award,
          including malware and ransomware attacks; affecting operations or the security of,
          or access to, data, including disruption of both physical operations and business
          operations for a duration greater than one (1) hour or any Cybersecurity incidents
          that have national security implications.

           Once identified, the Recipient is responsible for reporting Cybersecurity incidents to
           the Cyber Incident mailbox within 48 hours of the incident. The recipient sends a
           password protected document via email attachment that includes the date and time
           of the incident, a high-level description of the incident, a summary of the known
           impacts, and current and planned mitigation activities. The recipient sends a second
           email to the Cyber Incident mailbox including the password to the protected
           document.

   The prime recipient is required to report the following events to the DOE Program/Project
   Manager by email, with a copy to the DOE Award Contracting Officer/Grants and
   Agreements Officer, within 5 business days:



                                                 9
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25     Page 203 of 556
                                      PageID #: 6133


                                         Federal Assistance Reporting Checklist
                                                                                          Attachment 3


      5. If the recipient or project team member receives any other award of federal funds
          for activities that potentially overlap with the activities funded under the DOE
          award, the recipient must promptly notify DOE in writing of the potential overlap
          and state whether project funds from any of those other federal awards have been,
          are being, or are to be used (in whole or in part) for one or more of the identical cost
          items under the DOE award;
      6. Any change in ownership or control of the recipient or project team member which
          increases the percentage of ownership or control by an entity that is based in,
          funded by, or has a foreign affiliation with a foreign country of risk;
      7. If an individual on the project team is or is believed to be participating in a foreign
          government-sponsored talent recruitment program of a foreign country of risk.
      8. If the recipient is considering new collaborations with foreign entities and
          governments, the recipient must provide written notification to DOE and await
          further guidance from DOE prior to contacting the proposed foreign entity or
          government regarding the potential collaboration or negotiating the terms of any
          potential agreement. In general, a collaboration will involve some provision of a
          thing of value to, or from, the recipient. A thing of value includes but may not be
          limited to all resources made available to, or from, the recipient in support of and/or
          related to the DOE award, regardless of whether or not they have monetary value.
          Things of value also may include in-kind contributions (such as office/laboratory
          space, data, equipment, supplies, employees, students). In-kind contributions not
          intended for direct use on the DOE award but resulting in provision of a thing of
          value from or to the DOE award must also be reported.
      9. The existence of any joint venture or subsidiary that is based in, funded by, or has a
          foreign affiliation with any foreign country of risk;
      10. Any current or pending contractual or financial obligation or other agreement
          specific to a business arrangement, or joint venture-like arrangement with an
          enterprise owned by a country of risk or foreign entity based in a country of risk;
      11. Any current or pending venture capital or institutional investment by an entity that
          has a general partner or individual holding a leadership role in such entity who has a
          foreign affiliation with any foreign country of risk;
      12. Any current or pending technology licensing or intellectual property sales to a
          foreign country of risk; and
      13. Any current or pending foreign business entity, offshore entity, or entity outside the
          United States related to the Recipient or subrecipient.
      14. Potential or actual violations of environmental, health, or safety laws and
          regulations, any significant environmental permit violation, and any incident which
          causes a significant process or hazard control system failure;
      15. Any incident arising out of or relating to work under the award that has the potential
          for high visibility in the media;
      16. Potential or actual violations of federal, state, and municipal laws arising out of or
          relating to work under the award;


                                               10
Case 1:25-cv-00039-JJM-PAS                Document 68-123             Filed 02/07/25      Page 204 of 556
                                            PageID #: 6134


                                                 Federal Assistance Reporting Checklist
                                                                                                        Attachment 3


          17. Potential or actual noncompliance with DOE reporting requirements under the
              award;
          18. Potential or actual bankruptcy/insolvency of the prime recipient or subrecipient;
          19. Potential or actual violation of U.S. export control laws and regulations arising out of
              or relating to the work under the award;
          20. Any notices or claims of patent or copyright infringement arising out of or relating to
              the performance of the DOE award;
          21. Refusal of a subrecipient to accept flow down requirements in the Special Terms and
              Conditions and/or any Attachment to the DOE award;
          22. Any improper claims or excess payments arising out of or relating to work under the
              award;
          23. Potential or actual violations of the cost share requirements under the award;
          24. Potential or actual violations of the lobbying restrictions in the award;
          25. Any event which is anticipated to cause a significant schedule slippage or cost
              increase; and
          26. Developments that have a significant favorable impact on the project.

H. Continuation Application - Not Required

I. Other Project Management Reporting (see Special Instructions)

       Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission     Within five (5) calendar days after the event, or as specified
       deadline:


II.       Award Management Reporting

A. Current and Pending Support

       Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission     Within thirty (30) calendar days only when there is a change to Current and
       deadline:      Pending Support (i.e., new PI or senior/key personnel join the project or there
                      are changes to previously submitted current and pending disclosures for this
                      Award)

      Applicable for all awards issued after 10/01/2021. For awards issued prior to 10/01/21, refer to your
      award terms and conditions for applicability.

      Prior to award, the Recipient was required to provide current and pending support
      disclosure statements for each principal investigator (PI) and senior/key personnel, at the
      recipient and subrecipient level, regardless of funding source. Throughout the life of the
      award, the Recipient must submit current and pending support disclosure statements and a



                                                       11
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25     Page 205 of 556
                                       PageID #: 6135


                                          Federal Assistance Reporting Checklist
                                                                                           Attachment 3


   CV or Biosketch for any new PI and senior/key personnel at the recipient and subrecipient
   level, added to the project funded under this Award within thirty (30) days of the individual
   joining the project. In addition, if there are any changes to current and pending support
   disclosure statements previously submitted to DOE, the Recipient must submit updated
   current and pending disclosure statements within thirty (30) days of the change. The
   Recipient must ensure all PIs and senior/key personnel at the recipient and subrecipient
   level, are aware of the requirement to submit updated current and pending support
   disclosure statements to DOE.

   If there has been a change that would prompt the submission of a new or updated current
   and pending support disclosure, the instructions to complete the new or updated disclosure
   is listed below.

   Current and pending support is intended to allow the identification of potential duplication,
   overcommitment, potential conflicts of interest or commitment, and all other sources of
   support. All PIs and senior/key personnel at the recipient and subrecipient level must
   provide a list of all sponsored activities, awards, and appointments, whether paid or unpaid;
   provided as a gift with terms or conditions or provided as a gift without terms or conditions;
   full-time, part-time, or voluntary; faculty, visiting, adjunct, or honorary; cash or in-kind;
   foreign or domestic; governmental or private-sector; directly supporting the individual’s
   research or indirectly supporting the individual by supporting students, research staff, space,
   equipment, or other research expenses. All foreign government-sponsored talent
   recruitment programs must be identified in current and pending support.

   For every activity, list the following items:
   ● The sponsor of the activity or the source of funding.
   ● The award or other identifying number.
   ● The title of the award or activity. If the title of the award or activity is not descriptive,
       add a brief description of the research being performed that would identify any overlaps
       or synergies with the proposed research.
   ● The total cost or value of the award or activity, including direct and indirect costs and
       cost share. For pending proposals, provide the total amount of requested funding.
   ● The award period (start date – end date).
   ● The person-months of effort per year being dedicated to the award or activity.
   ● Identify any overlap, duplication of effort, or synergistic efforts, with a description of the
       other award or activity to the current and pending support.
   ● Details of any obligations, contractual or otherwise, to any program, entity, or
       organization sponsored by a foreign government must be provided to DOE.

   All PIs and senior/key personnel must provide a separate disclosure statement listing the
   required information above regarding current and pending support. The individual must sign



                                                12
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25   Page 206 of 556
                                     PageID #: 6136


                                         Federal Assistance Reporting Checklist
                                                                                       Attachment 3


   and date their respective disclosure statement and include the following certification
   statement:
        I, [Full Name and Title], certify to the best of my knowledge and belief that the
        information contained in this Current and Pending Support Disclosure Statement
        is true, complete and accurate. I understand that any false, fictitious, or
        fraudulent information, misrepresentations, half-truths, or omissions of any
        material fact, may subject me to criminal, civil or administrative penalties for
        fraud, false statements, false claims or otherwise. (18 U.S.C. §§ 1001 and 287,
        and 31 U.S.C. 3729-3730 and 3801-3812). I further understand and agree that (1)
        the statements and representations made herein are material to DOE’s funding
        decision, and (2) I have a responsibility to update the disclosures during the
        period of performance of the award should circumstances change which impact
        the responses provided above.
   The information may be provided in the format approved by the National Science
   Foundation (NSF), which may be generated by the Science Experts Network Curriculum Vita
   (SciENcv), a cooperative venture maintained at https://www.ncbi.nlm.nih.gov/sciencv/, and
   is also available at
   https://www.nsf.gov/bfa/dias/policy/researchprotection/commonform_cps.pdf. The use of
   a format required by another agency is intended to reduce the administrative burden to
   researchers by promoting the use of common formats. If the NSF format is used, the
   individual must still include a signature, date, and a certification statement using the
   language included in the paragraph above.

B. Demographic Reporting

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 30 days after issuance of award
    deadline:

   DEMOGRAPHIC INFORMATION FOR SIGNIFICANT CONTRIBUTORS

   Demographic data (i.e., gender, ethnicity, race, and disability status) should be provided
   directly by the Principal Investigator and Business Contact with the understanding that the
   submission of this report is mandatory for awards made after 03/01/2022. There are no
   adverse consequences for responding “Do not wish to provide” in any question. Principal
   Investigators and Business Contacts of awards made prior to 03/01/2022 are encouraged,
   but not required, to submit demographic reporting. Confidentiality of demographic data will
   be in accordance with agency’s policy and practices for complying with the requirements of
   the Privacy Act. Demographic Reporting is submitted via a web-based form in the EERE PMC
   and includes the questions outlined below.

      Gender:


                                              13
Case 1:25-cv-00039-JJM-PAS            Document 68-123            Filed 02/07/25       Page 207 of 556
                                        PageID #: 6137


                                             Federal Assistance Reporting Checklist
                                                                                                   Attachment 3


           o Male
           o Female
           o Do not wish to provide

       Ethnicity:
          o Hispanic or Latina/o
          o Not-Hispanic or not-Latina/o
          o Do not wish to provide


       Race (select one or more):
          o American Indian or Alaska Native
          o Asian
          o Black or African American
          o Native Hawaiian or other Pacific Islander
          o White
          o Do not wish to provide

       Disability Status:

           o Yes (check yes if any of the following apply to you)
                 ▪ Deaf or serious difficulty hearing
                 ▪ Blind or serious difficulty seeing even when wearing glasses
                 ▪ Serious difficulty walking or climbing stairs
                 ▪ Other serious disability related to a physical, mental, or emotional
                    condition.
           o No
           o Do not wish to provide

       This measure is designed as a binary measure; it encompasses all self-reported
       disabilities. Please do not use it to report the number of individuals who have different
       types of disabilities (e.g., hearing impairments).

       Note: This construct is not designed to be used at an individual-level (i.e., it should not
       be used for determining accommodation needs or disability status for particular
       individuals associated with the project).

C. Financial Conflict of Interest Report

    Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission     Within 180 days of the date of the award and within thirty (30) calendar days
    deadline:      only when there is a change



                                                  14
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25     Page 208 of 556
                                      PageID #: 6138


                                          Federal Assistance Reporting Checklist
                                                                                          Attachment 3



   Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
   completed their significant financial disclosures; 2) review the disclosures; 3) determine
   whether a FCOI exists; 4) develop and implement a management plan for FCOIs; and 5)
   provide DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
   unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must
   be in full compliance with the other requirements set forth in DOE’s interim COI Policy
   https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-r
   equirements-financial-assistance. Further, the recipient must submit updated reports within
   30 days of a change.

   The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) is applicable
   to all non-Federal entities applying for, or that receive, DOE funding by means of a financial
   assistance award (e.g., a grant, cooperative agreement, or technology investment
   agreement) and, through the implementation of this policy by the entity, to each
   Investigator who is planning to participate in, or is participating in, the project funded
   wholly or in part under this Award. The term “Investigator” means the PI and any other
   person, regardless of title or position, who is responsible for the purpose, design, conduct,
   or reporting of a project funded by DOE or proposed for funding by DOE. The Recipient must
   flow down the requirements of the interim COI Policy to any subrecipient non-Federal
   entities, with the exception of DOE National Laboratories. Further, the Recipient must
   identify all financial conflicts of interests (FCOI), i.e., managed and unmanaged/
   unmanageable, in its initial and ongoing FCOI reports.

D. Tangible Personal Property Report – Annual Property Report (SF-428 & SF-428A) - Not
   Required

E. Tangible Personal Property Report – Disposition Request/Report (SF-428 & SF-428C)

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within 5 calendar days of the event or as specified
    deadline:

   The prime recipient must request disposition instructions for or report disposition of
   federally-owned property or equipment acquired with project funds, whether the property
   or equipment is/was in the possession of the prime recipient or subrecipient(s). Recipients
   may also be required to provide compensation to the awarding agency when acquired
   equipment is sold or retained for use on activities not sponsored by the federal government.
   Any equipment with an acquisition cost above $5,000 must be included in the inventory.

   If disposition occurs at any time other than award closeout (i.e., at any time throughout the
   life of the project or after project completion and closeout as long as the federal


                                               15
Case 1:25-cv-00039-JJM-PAS            Document 68-123             Filed 02/07/25    Page 209 of 556
                                        PageID #: 6139


                                             Federal Assistance Reporting Checklist
                                                                                            Attachment 3


   government retains an interest in the item), the prime recipient must complete an SF-428
   and SF-428C, available at
   https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html or
   https://www.netl.doe.gov/business/business-forms/financial-assistance.

   If disposition instructions are requested at the time of award closeout, the prime recipient
   must submit the SF-428 and SF-428B (see section III. C. Tangible Personal Property Report –
   Final Report).

   Only the DOE Contracting Officer has authority to approve disposition requests and issue
   disposition instructions.

F. Uniform Commercial Code (UCC) Financing Statements

    Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
    Submission    Within five (5) calendar days after the event, or as specified.
    deadline:

   If a for-profit recipient or subrecipient desires to purchase a piece of equipment for their
   project, and the per-unit dollar value of said equipment is $5,000 or more, and the federal
   share of the financial assistance agreement is more than $1M, the recipient or subrecipient
   must file a UCC financing statement. These financing statement(s) must be approved in
   writing by the Contracting Officer prior to the recording.

   A UCC financing statement provides public notice that the federal government has an
   undivided reversionary interest in the equipment, and as such the equipment cannot be
   sold or used as collateral for a loan (encumbered).

   The for-profit recipient or subrecipient must file the UCC financing statement(s) with the
   Secretary of State where the equipment will be physically located and must pay any
   associated costs for such filings.

   The initial UCC financing statement may also be referred to as a UCC1. For additional pieces
   of equipment not specified in the award budget, TBD equipment, or equipment needed in
   future budget periods, the recipient can file an amendment to the original UCC1 financing
   statement, by submitting the UCC3 financing statement amendment.

   Each UCC financing statement or amendment is to be filed with the appropriate Secretary of
   State office, where the equipment will be physically located.




                                                   16
Case 1:25-cv-00039-JJM-PAS           Document 68-123            Filed 02/07/25        Page 210 of 556
                                       PageID #: 6140


                                            Federal Assistance Reporting Checklist
                                                                                                  Attachment 3


   Note: All costs associated with filing UCC financing statements, UCC financing statement
   amendments, and UCC financing statement terminations, are allowable and allocable costs
   which can be charged to the federal award.

   At a minimum, the recipient must have stated in their UCC financing statement in block 4.
   (collateral) the following:

   o “Title to all equipment (not real property) purchased with federal funds under this
     financial assistance agreement is conditional pursuant to the terms of 2 CFR 910.360,
     and the federal government retains an undivided reversionary interest in the equipment
     at the federal cost-share proportion specified in the award terms and conditions.”

   o Federal Award Identification Number (e.g., DE-EE0000006)

G. Federal Subaward Reporting System (FSRS)

    Submit to:    https://www.fsrs.gov/
    Submission    The prime recipient is required to file a FFATA sub-award report by the end of the
    deadline:     month following the month in which the prime recipient awards any sub-grant
                  greater than or equal to $30,000.

   The Federal Subaward Reporting System (FSRS) is the reporting tool prime recipients use to
   capture and report subaward and executive compensation data regarding their first-tier
   subrecipients to meet the FFATA reporting requirements. Prime recipients will report against
   subrecipients’ awards. The subrecipient information entered in FSRS will then be displayed
   on USASpending.gov associated with the prime recipient’s award furthering federal
   spending transparency.

   The prime recipient is required to file a FFATA sub-award report by the end of the month
   following the month in which the prime recipient awards any sub-award greater than or
   equal to $30,000.

H. Annual Incurred Cost Proposals- Not Required

I. Fringe Reconciliation Form- Not Required

J. DOE For-Profit Compliance Audit- Not Required

K. Single Audit: States, Local Government, Tribal Governments, Institution of Higher
   Education (IHE), or Non-Profit Organization




                                                  17
Case 1:25-cv-00039-JJM-PAS                 Document 68-123             Filed 02/07/25        Page 211 of 556
                                             PageID #: 6141


                                                  Federal Assistance Reporting Checklist
                                                                                                         Attachment 3


       Submit to:        Federal Audit Clearinghouse -
                         https://harvester.census.gov/facweb/Default.aspx

       Submission         Within the earlier of 30 days after receipt of the auditor’s report(s) or 9 months
       deadline:          after the end of the audit period (recipient’s fiscal year-end)*
                          *The end of the period of the performance, or closure of an award, does not
                          dismiss this reporting requirement.

       As required by 2 CFR 200 Subpart F, non-federal entities that expend $750,000 or more
       during the non-federal entity's fiscal year in federal awards must have a single or
       program-specific audit conducted. The single audit must be conducted in accordance with
       §200.514 Scope of audit, except when it elects to have a program-specific audit conducted.

       For most single audits, the requirement is for annual single audits. However, there are
       occasions where a single audit is not required annually. Per 2 CFR 200.504 - Frequency of
       audits, a state, local government, or Indian tribe that is required by constitution or statute to
       undergo its audits less frequently than annually, is permitted to undergo its audits biennially.
       Also, any nonprofit organization that had biennial audits for all biennial periods ending
       between July 1, 1992, and January 1, 1995, is permitted to undergo its single audits
       biennially.

       For a program-specific audit, when a recipient expends federal award funds under only one
       federal program (excluding R&D) and the federal program's statutes, regulations, or the
       terms and conditions of the federal award do not require a financial statement audit of the
       auditee, the auditee may elect to have a program-specific audit conducted. A
       program-specific audit may not be elected for R&D unless all of the federal awards
       expended were received from the same federal agency, or the same federal agency and the
       same pass-through entity, and that federal agency, or pass-through entity in the case of a
       subrecipient, approves in advance a program-specific audit.

       The single audit report shall include audited financial statements.

L. Other Award Management Reporting (see Special Instructions)

        Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx
        Submission     Within five (5) calendar days after the event, or as specified
        deadline:


III.       Closeout Reporting

A. Final Scientific/Technical Report - Not Required

B. Invention Certification (DOE F 2050.11) - Not Required


                                                        18
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 212 of 556
                                          PageID #: 6142


                                              Federal Assistance Reporting Checklist
                                                                                                Attachment 3



C. Tangible Personal Property Report – Final Report (SF-428 & SF-428B)

       Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission    Within 120 calendar days after expiration or termination of the award
       deadline:

      The prime recipient must submit a final inventory of and request disposition instructions for
      any federally-owned property and/or property or equipment acquired with project funds
      with an acquisition cost above $5,000, whether the property is/was in the possession of the
      prime recipient or subrecipients.

      The prime recipient must complete an SF-428 and SF-428B, available at
      https://www.netl.doe.gov/business/business-forms or
      https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html.

      If disposition occurs at any time other than award closeout, the prime recipient must
      complete an SF-428 and SF-428C (see section II. E. Tangible Personal Property Report –
      Disposition Request/Report).

      Only the DOE Contracting Officer has authority to approve disposition requests and issue
      disposition instructions.

D. Verification of Receipt of Accepted Manuscripts - Not Required

E. Other Closeout Reporting (see Special Instructions)

       Submit to:    https://www.eere-pmc.energy.gov/SubmitReports.aspx
       Submission    Within 120 calendar days after expiration or termination of the award
       deadline:


IV.      Post-Project Reporting

A. Scientific and Technical Reporting - Not Required

B.    Intellectual Property Reporting - Not Required

V.       Bipartisan Infrastructure Law/Inflation Reduction Act Reporting

A.                                                 Community Benefits Report (Annual Program
                                                   Metrics and Impact Report)



                                                    19
Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25          Page 213 of 556
                                           PageID #: 6143


                                                Federal Assistance Reporting Checklist
                                                                                                          Attachment 3



      Submit to:             https://www.eere-pmc.energy.gov/SubmitReports.aspx
      Submission Deadline:   Within 90 calendar days after the end of the annual reporting period
                             (i.e., October 30). The reporting period is the Federal fiscal year (i.e.,
                             October 1 – September 30).

     The Recipient must meet the stated objectives and milestones set forth in its
     Program Narrative. A report on the Recipient’s progress towards meeting the
     objectives and milestones set forth will be included in the Annual Program Metrics
     and Impact Report. The annual reporting template is available here Section 40101(d)
     Formula Grants to States & Indian Tribes | netl.doe.gov or is available upon request
     from the DOE Project Officer.

B.                                                   Boosting Domestic Manufacturing - Not
                                                     Required

C.                                                   Quality Job Creation

     1. Direct Jobs

         Submit to:      https://www.lcptracker.com/
         Submission      Weekly
         deadline:

        This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All
        laborers and mechanics employed by the recipient, subrecipients, contractors or
        subcontractors in the performance of construction, alteration, or repair work in excess
        of $2000 on an award funded directly by or assisted in whole or in part by funds made
        available under this award shall be paid wages at rates not less than those prevailing on
        similar projects in the locality, as determined by the Secretary of Labor in accordance
        with subchapter IV of chapter 31 of title 40, United States Code commonly referred to as
        the “Davis-Bacon Act” (DBA).

        The Recipient must ensure the timely electronic submission of weekly certified payrolls
        to LCPtracker unless a waiver is granted to a particular contractor or subcontractor
        because they are unable or limited in their ability to use or access the software.

     2. Training Outcomes

         Submit to:      https://www.eere-pmc.energy.gov/SubmitReports.aspx
         Submission      Within 90 calendar days after the end of the federal fiscal year and Final; within
         deadline:       120 calendar days after expiration or termination of the award.



                                                      20
Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 214 of 556
                                            PageID #: 6144


                                                Federal Assistance Reporting Checklist
                                                                                                           Attachment 3



        A report on the Recipient’s progress towards meeting the training outcomes will
        be included in the Annual Program Metrics and Impact Report.

     3. Good Jobs Outcomes

         Submit to:       https://www.eere-pmc.energy.gov/SubmitReports.aspx
         Submission       Within 90 calendar days after the end of the federal fiscal year and Final; within
         deadline:        120 calendar days after expiration or termination of the award.

        This report is required of all recipients of BIL funding. To assess activities contributing to
        growing American jobs, improving the quality of energy jobs, and facilitating equitable
        access to good jobs and training opportunities, all BIL recipients must report annually on
        good jobs outcomes.

        Good Jobs Outcomes reporting shall be included in the Annual Program Metrics and
        Impact Report.

     4. Permanent Jobs

         Submit to:       https://www.eere-pmc.energy.gov/SubmitReports.aspx
         Submission       Within 90 calendar days after the end of the federal fiscal year and Final; within
         deadline:        120 calendar days after expiration or termination of the award.

        All BIL funding recipients who are creating ongoing operations, maintenance, and
        production jobs should report the number of hires for each reporting period and
        associated demographic information.

        Permanent Jobs reporting shall be included in the Annual Program Metrics and Impact
        Report.

D.                                                   Equity and Justice

      Submit to:      https://www.eere-pmc.energy.gov/SubmitReports.aspx
      Submission      Within 90 calendar days after the end of the federal fiscal year and Final; within
      deadline:       120 calendar days after expiration or termination of the award.

     Applicable Equity and Justice reporting shall be reported in the Annual Program Metrics and
     Impact Report.

     1. Community Engagement Process




                                                      21
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25       Page 215 of 556
                                         PageID #: 6145


                                             Federal Assistance Reporting Checklist
                                                                                              Attachment 3


        This report applies to all projects that include building, expanding, or retrofitting a
        facility. Recipients should report on engagement activities such as participatory research,
        citizen advisory committees, open planning forums, etc. and the outputs of those
        activities such as memorandums of understanding, letters of support, etc. Information in
        this tab should reflect the objectives outlined in the Community Benefits Plan.

     2. Engagement Events and Technical Assistance

        This report applies to all projects that hold stakeholder engagement events as outlined
        in their Community Benefits Plan. Recipients are required to report on stakeholders
        engaged and from what, if any, communities of interest.

     3. Community Ownership - Not Required

E.                                               Pathways to Net Zero - Not Required

F.                                               Davis Bacon Act Semi-Annual Labor Compliance
                                                 Report

      Submit to:     https://www.eere-pmc.energy.gov/SubmitReports.aspx and email
                     DBAenforcementreports@hq.doe.gov
      Submission     As Specified, April 21 and October 21
      deadline:

     This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers
     and mechanics employed by the recipient, subrecipients, contractors or subcontractors in
     the performance of construction, alteration, or repair work in excess of $2,000 on an award
     funded directly by or assisted in whole or in part by funds made available under this award
     shall be paid wages at rates not less than those prevailing on similar projects in the locality,
     as determined by the Secretary of Labor in accordance with Subchapter IV of Chapter 31 of
     Title 40, United States Code commonly referred to as the “Davis-Bacon Act” (DBA).

     Calendar year semi-annual reports are required on compliance with and enforcement of the
     labor standards provisions of the Davis-Bacon Act and its related acts covering the periods
     of October 1st through March 31st, and April 1st through September 30th, respectively.
     Please submit your semi-annual report to DOE three weeks after the end of semi-annual
     reporting period by April 21st and October 21st for the applicable performance period.

     A template is available at: https://www.energy.gov/infrastructure/reporting-checklists.




                                                  22
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25     Page 216 of 556
                                       PageID #: 6146


                                           Federal Assistance Reporting Checklist
                                                                                          Attachment 3



VI.      Appendix A: Notice To Recipients (Prime Recipients And Subrecipients)
         Regarding Protected Data, Limited Rights Data And Protected Personally
         Identifiable Information

I. PROTECTED DATA AND LIMITED RIGHTS DATA

The recipient is required to mark protected data and limited rights data in accordance with the
IP clause set of the award agreement. Failure to properly mark data may result in its public
disclosure under the Freedom of Information Act (FOIA, 5 U.S.C. § 552) or otherwise.

      A. Protected Data - Technical Data or Commercial or Financial Data First Produced in the
         Performance of the Award

The U.S. Government normally retains unlimited rights in any technical data or commercial or
financial data produced in performance of Government financial assistance awards, including
the right to distribute to the public.

However, under certain DOE awards, the recipient may mark certain categories of data
produced under the award as protected from public disclosure for a period of time (“Protected
Data”).￼If the award agreement provides for protected data and the recipient wants the data
to be protected, the recipient must properly mark any documents containing Protected Data.
The recipient should review the IP clause set of the award agreement to determine the
applicability of protected data, the maximum length of period of time for data protection and
the required markings that must be used to invoke data protection for the award.

      B. Limited Rights Data - Data Produced Outside of the Award at Private Expense

Limited Rights Data is data (other than computer software) developed at private expense
outside any Government financial assistance award or contract that embody trade secrets or
are commercial or financial and confidential or privileged. Prior to including any Limited Rights
Data in any documents to DOE, the recipient should review the award agreement. In most DOE
awards, the recipient should not deliver any limited rights data to DOE if the recipient wants to
protect the Limited Rights Data. If the DOE award does allow and require the delivery of limited
rights data, then the recipient must properly mark any documents containing Limited Rights
Data as set forth in the IP clause of the award agreement.




                                               23
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25     Page 217 of 556
                                       PageID #: 6147


                                          Federal Assistance Reporting Checklist
                                                                                          Attachment 3


II. PROTECTED PERSONALLY IDENTIFIABLE INFORMATION

The recipient should not include any Protected Personally Identifiable Information (Protected
PII) in their submissions to DOE. Protected PII is defined as any data that, if compromised, could
cause harm to an individual such as identify theft. Protected PII includes, but is not limited to:

   ●   Social Security Numbers in any form;
   ●   Place of Birth associated with an individual;
   ●   Date of Birth associated with an individual;
   ●   Mother’s maiden name associated with an individual;
   ●   Biometric record associated with an individual;
   ●   Fingerprint;
   ●   Iris Scan;
   ●   DNA;
   ●   Medical history information associated with an individual;
   ●   Medical conditions, including history of disease;
   ●   Metric information, e.g., weight, height, blood pressure;
   ●   Criminal history associated with an individual;
   ●   Ratings;
   ●   Disciplinary actions;
   ●   Passport number;
   ●   Educational transcripts;
   ●   Financial information associated with an individual;
   ●   Credit card numbers; and
   ●   Security clearance history or related information (not including actual clearances held).




                                               24
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 218 of 556
                               PageID #: 6148




                 EXHIBIT I
Toor Declaration  Exhibit I
         Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 219 of 556
                                                PageID #: 6149
          V. PY22-26 BIL Plan: Master File



          V1. Eligibility
          V.1.1 Approach to Determining Client Eligibility
          Provide a description of the definition of income used to determine eligibility
          Per Weatherization Program Notice (WPN) 22-3, in which the Colorado Energy Office
          Weatherization Assistance Program (CEO WAP) will comply with annually approved income
          eligibility for the BIL Grant period of PY22-PY26. When determining client eligibility, income is
          defined as the gross income (all cash receipts) at or below 60% of the State Median Income
          (SMI) to align eligibility with Colorado Department of Human Services LEAP [LIHEAP] eligibility.
          For PY22, 60% SMI will be used to determine eligibility for households up to seven residents
          per household; households with eight or more residents will be qualified using 200% Federal
          Poverty Level (FPL).

          Gross income is calculated before taxes, insurance, etc., are deducted from the total cash
          receipts. When Social Security is included in income, the gross income must be calculated
          after Medicare deductions. In the event that a legal dissolution of a family unit occurs, an
          individual may use their sole income since the dissolution, annualized, to determine eligibility in
          accordance with the proposed income limits. Application eligibility expires 12 months from
          subgrantee certification date if work on the dwelling unit (energy audit) has not been initiated.

          Please see “Colorado FPL to SMI Comparison” for a comparison from a 1 to 8 person
          household.

          Describe what household eligibility basis will be used in the Program
          To be eligible for CEO WAP services under the BIL grant, clients must meet the income criteria
          outlined in 10 CFR 440.22, or meet a minimum of one of the following three criteria as outlined
          in WPN 22-3:
             1. Have a gross household income (total annual cash receipts) at or below 60% SMI up to
                a seven person household
             2. No greater than 200% of the FPL for households with eight or more residents
             3. Receive cash assistance payments under Title IV or Title XVI of the Social Security Act,
                or in accordance with applicable State or local law, at any time during the past five
                years preceding the determination of eligibility. Acceptable programs include:
                    a) Temporary Assistance for Needy Families (TANF)
                    b) Aid to the Needy and Disabled (AND)
                    c) Supplemental Security Income (SSI)
                    d) Low-Income Home Energy Assistance Program (LEAP)
                    e) Supplemental Nutrition Assistance Program (SNAP)
             4. Currently enrolled for assistance under the Low Income Energy Assistance Act of 1981,
                provided that such a basis is at least 60% of the SMI as determined with the criteria
                established by the Director of the Office of Management and Budget.


          Describe the process for ensuring qualified aliens are eligible for weatherization
          benefits


          The process for ensuring that qualified immigrants are eligible for weatherization benefits is:
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 220 of 556
                                       PageID #: 6150


   1.   Completion of a Lawful Presence Affidavit, signed by the applicant. In the event that
        there is no lawfully present adult, but there is a lawfully present individual under the age
        of 18, proof of lawful presence is not required, however confirmation of lawful presence
        must be in writing and noted in the client file.
   2.   The Lawful Presence Affidavit must include a copy of a current picture identification of
        the applicant. Acceptable forms of identification include:
             a) A valid Colorado driver’s license or a valid Colorado identification card
             b) A valid United States military card/Common Access Card
             c) A valid United States Coast Guard Merchant Mariner card
             d) A Indigenous American tribal document
             e) A valid United States passport
             f) If an applicant cannot provide one of the aforementioned documents, they must
                provide one of the forms of identification set forth in §24-76.5-103(4)(a) C.R.S.
                or in 1 CCR 204-30 Rule 5 from the Executive Director of the Colorado
                Department of Revenue.
   3.   If the applicant checks the "I am lawfully present in the United State pursuant to Federal
        Law" box, residency status is verified through the Systematic Alien Verification for
        Entitlements (SAVE) by WAP staff. Acceptable forms of identification for a SAVE
        verification are:
             a) Colorado license (expired less than 10 years, image on file)
             b) Colorado ID card (expired less than 10 years, image on file)
             c) US passport (expired less than 10 years, image on file)
             d) Out of State ID from LP state (expired less than one year)
             e) Foreign passport w/photo, US Visa, I-94
             f) Valid Military ID/Common Access Card
             g) Certificate of Naturalization with photo less than 20 years old
             h) Valid I-551
             i) Valid EAD/ Temporary Resident
             j) Refugee/Asylee I-94 w/photo less than 20 years old
             k) Social Security Card verified by SSOLV
             l) U.S. birth certificate
             m) Certificate of Citizenship from the Department of Interior
             n) U.S. adoption order with birth information
             o) BIA ID Card with photo less than 10 years expired
             p) VA card with photo less than 20 years old
             q) Parent/Guardian affidavit if under 21 years old
             r) Colorado Department of Corrections or Federal Bureau of Prisons ID card

V.1.2 Approach to Determining Building Eligibility
Box 1: Procedures to determine that units weatherized have eligibility documentation

All clients receiving services under WAP must first have their eligibility verified as outlined in
V.1.1 of the BIL Plan by the local administrative subgrantee, and client eligibility must be
documented in the client file. Single family, manufactured housing, and small multifamily
buildings consisting of only 2-4 units are eligible building types for weatherization using BIL
funding in the state of Colorado.

Per 10 CFR 440.22(b)(3)., subgrantees are required to establish procedures for dwellings
which consist of a rental unit or rental units to ensure that:


                                                                                                  2
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 221 of 556
                                      PageID #: 6151


   a) The benefits of weatherization assistance associated with such rental units, including
      units where the tenants pay for their energy through their rent, will accrue primarily to
      the low-income tenants residing in such units
   b) For a reasonable period after weatherization work has been completed on a dwelling
      containing a unit occupied by an eligible household, the tenants in that unit (including
      households paying for their energy through their rent) will not be subjected to rent
      increases unless those increases are demonstrably related to matters other than the
      weatherization work performed
   c) The enforcement is provided through procedures established by the State by which
      tenants may file complaints, and owners, in response to such complaints, shall
      demonstrate that the rent increase concerned is related to matters other than the
      weatherization work performed
   d) Subgrantees are expected to receive tenant complaints regarding rent increases and
      should refer them to organizations (legal aide, tenant landlord mediation organizations,
      etc.) which can offer assistance in resolving the complaint
   e) No undue or excessive enhancement shall occur to the value of the dwelling units
In order to secure the federal investment and address the issues of eviction from and sale of
property receiving weatherization materials, CEO WAP may seek landlord agreements for
placement of a lien or other contractual restrictions. For buildings identified in the BIL Plan,
CEO WAP will continue to be responsible for ensuring compliance with the remaining
requirements of this section, and CEO WAP has established requirements and procedures to
ensure such compliance in accordance with this section.

The weatherization of non-stationary campers and trailers that do not have a mailing address
associated with the eligible applicants is not allowed. The use of a post office box for
non-stationary campers or trailers does not meet this requirement.The intentional partial
weatherization of units is not permitted.

STATE HISTORICAL PRESERVATION PROCESS
Per WAP Memorandum 066, the requirements for the weatherization of federally or locally
registered historic properties within the State of Colorado are located within the Prototype
Programmatic Agreement between DOE, CEO, and Colorado State Historic Preservation
Office (SHPO) originally dated July 2011, amended July 2012, and then again in October 2020.
The undertakings covered under this Programmatic Agreement (PA) are primarily smaller scale
activities and routine projects, without the potential for adversely affecting historic properties,
rather than complex undertakings with a greater potential to adversely affect historic properties,
which would require completion of the typical Section 106 review process. All undertakings will
be done in accordance with applicable local building codes or the International Building Code,
where applicable.

QUALIFIED PROFESSIONALS
Subgrantees are required to use qualified professionals in conducting its Section 106
requirements. For the purposes of this PA, the term “qualified professionals” means an
individual or group of individuals who fulfill one of the following:
    1. Meet the Secretary of Interior Professional Qualification Standards for Archeology and
       Historic Preservation
    2. Have at least a total of one year full time prior experience in, or primary responsibility
       for, Section 106 reviews or state/local historic preservation reviews



                                                                                                 3
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25       Page 222 of 556
                                       PageID #: 6152


    3. Are currently employed by, or have worked in historic preservation matters, for a
       designated certified local government
    4. Have completed a formal training in the Section 106 review process conducted by the
       Advisory Council on Historic Preservation (ACHP), SHPO, or DOE
    5. Are listed as a historic preservation consultant or contract resource on the Directory of
       Cultural Resource Management Agencies, Consultants, and Personnel for Colorado
Subgrantees may decide to utilize qualified professionals in the manner that is most
appropriate given the scope and nature of their particular program and projects, including hiring
qualified professionals on a full-time, part-time, project specific, employee, or contractual basis.

NON-EXEMPT PROJECTS
When a measure or unit does not fall within the agreed upon exempt undertakings, the
following process will be used:
   1. CEO WAP and/or the subgrantee will retain qualified professionals to act as its primary
      point of contact for Section 106 historic preservation matters and to assist CEO WAP or
      subgrantee in implementing their responsibilities under the PA throughout the Section
      106 process (including, without limitation, initiating consultations, evaluating a property
      against the criteria of eligibility for the National Register, or evaluating the applicability of
      PA exemptions to particular projects).
   2. If a qualified professional requires assistance in making a determination of eligibility of a
      property for inclusion on the National Register, then the qualified professional may
      submit a photograph of the property involved by email to oahp.isu@state.co.us in order
      to receive the SHPO’s preliminary opinion on whether or not the property may be
      eligible for inclusion in the National Register (only a qualified professional may utilize
      this email process to gain SHPO’s preliminary opinion on eligibility).
   3. The qualified professional will also contact SHPO at joseph.saldibar@state.co.us to
      inform the office that an email has been forwarded. SHPO will respond within 10
      business days of the email to the qualified professional. If SHPO responds that the
      property does not have the potential to be eligible, subgrantees or their contractors may
      proceed with the project without additional consultation. If SHPO responds that the
      property may have the potential to be eligible, the subgrantee will follow the procedures
      to reach a final determination of eligibility.
RECORDS
Records are to be maintained for a period of six years from the project completion and be
made available for review if requested by the DOE or the ACHP.

FILE DOCUMENTATION
For all homes 50 years or older, client file documentation must include proof that the following
measures were taken:
   1. A recording of the year in which the unit was built
   2. Verification that the unit addressed was searched against national and local historical
        registries
   3. Confirmation of whether or not the unit is a Registered Historic Property
   4. The date on which the unit was verified
   5. The initials of the staff member who completed the verification

For all units that are within Registered Historic Properties, documentation must additionally
include the following:
     1. The Historical Register paperwork printed from the website of registry

                                                                                                     4
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25    Page 223 of 556
                                     PageID #: 6153


    2. The historical site identification number
    3. A copy of the audit form with EA signature and date
    4. Explanation of the auditor’s evaluation of whether or not weatherization measures will
       alter or compromise the historical integrity of the building
    5. A record of all communication with Colorado SHPO in regards to that property

REPORTS
Subgrantees are required to submit to CEO WAP an annual report due August 30th of each
program year which is to include all of the following information:
   1.   Brief summary of undertakings (nonexempt projects if applicable)
   2.   Number of non-exempt undertakings
   3.   Number of exempt undertakings
   4.   Any reviews conducted by SHPO
CEO WAP will then submit this information to the DOE, ACHP (Advisory Council on Historic
Preservation), and NCSHPO (National Conference of State Historical Preservation Officers) in
an annual report.

WAP UNDERTAKINGS EXEMPT FROM SECTION 106 REVIEW
In accordance with 36 CFR 800.3(a)(1), the following undertakings have been determined to
have no potential to compromise the historical integrity of the registered properties:
   1. EXTERIOR WORK ON BUILDINGS OR STRUCTURES
        a) Air sealing of the building shell, including caulking, weather-stripping, and other
           air infiltration control measures on windows and doors and installing thresholds
           in a manner that does not harm or obscure historic windows or trim.
        b) Thermal insulation in walls, floors, ceilings, attics, and foundations in a manner
           that does not harm or damage historic fabric.
        c) Blown-in wall insulation where no holes are drilled through exterior siding, or
           where holes have no permanent visible alteration to the structure.
        d) Removable film on windows (if the film is transparent, solar screens, or window
           louvers, in a manner that does not harm or obscure historic windows or trim.
        e) Reflective roof coating in a manner that closely resembles the historic materials
           and form, or with materials that restore the original feature based on historic
           evidence, and in a manner that does not alter the roofline, or where not on a
           primary roof elevation or visible from the public right-of-way.
        f) Storm windows or doors, and wood screen doors in a manner that does not
           harm or obscure historic windows or trim.
        g) In-kind replacement or repair of primary windows, doors and door frames that
           closely resemble existing substrate and framing on buildings and structures built
           after 1950.
        h) Repair of minor roof and wall leaks prior to insulating attics or walls, provided
           repairs closely resemble existing surface composite.
        i) Interior spaces where the work will not be visible from the public right of way, no
           structural alterations are made, no demolition of walls, ceilings or floors occurs,
           no drop ceilings are added, or no walls are leveled with furring or moved, should
           be automatically excluded from SHPO review.

   2. INTERIOR WORK UNDERTAKINGS
         a) Energy efficiency work within the building shell


                                                                                            5
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 224 of 556
                                     PageID #: 6154


          b) Thermal insulation in floors, ceilings, attics, crawl spaces, ducts and
             foundations, wall insulation for buildings and structures built after 1950, and, for
             buildings and structures built in 1950 or before, wall insulation if performed by a
             contractor with experience with historic buildings in order to ensure there are no
             gaps in which condensation may form.
          c) Blown-in wall insulation where no decorative plaster is damaged for buildings
             and structures built after 1950; for buildings and structures built in 1950 or
             before, if performed by a contractor with experience with historic buildings in
             order to ensure there are no gaps in which condensation may form.
          d) Plumbing work, including installation of water heaters.
          e) Electrical work, including improving lamp efficiency.
          f) Sealing air leaks using weather stripping, door sweeps, and caulk and sealing
             major air leaks associated with bypasses, ducts, air conditioning units, etc.
          g) Repair or replace water heaters.
          h) Adding adjustable speed drives such as fans on air handling units, cooling tower
             fans, and pumps.
          i) Install insulation on water heater tanks and water heating pipes
          j) Installation of solar water heating systems provided the structure is not visible
             from the public right of way.
          k) Install waste heat recovery devices, including desuperheater water heaters,
             condensing heat exchangers, heat pump and water heating heat recovery
             systems, and other energy recovery equipment.
          l) Repair or replace electric motors and motor controls like variable speed drives.
          m) Incorporate other lighting technologies such as dimmable ballasts, day lighting
             controls, and occupant controlled dimming.

   3. WORK ON HEATING AND COOLING SYSTEMS
        a) Clean, tune, repair or replace heating systems, including furnaces, oilers, heat
           pumps, vented space heaters, and wood stoves
        b) Clean, tune, repair, or replace cooling systems, including central air
           conditioners, window air conditioners, heat pumps, and evaporative coolers
        c) Install insulation on ducts and heating pipes
        d) Conduct other efficiency improvements on heating and cooling systems,
           including replacing standing pilot lights with electronic ignition devices and
           installing vent dampers
        e) Modify duct and pipe systems so heating and cooling systems operate efficiently
           and effectively, including adding return ducts, replace diffusers and registers,
           replacing air filters, and installing thermostatic radiator controls on steam and
           hot water heating systems.
        f) Install programmable thermostats, outdoor reset controls, UL listed energy
           management systems or building automation systems and other HVAC control
           systems.

   4. ENERGY EFFICIENCY WORK AFFECTING THE ELECTRIC BASE LOAD OF THE
      PROPERTY
        a) Convert incandescent lighting to fluorescent.
        b) Add reflectors, LED exit signs, efficient HID fixtures, and occupancy (motion)
           sensors.
        c) Replace refrigerators.

   5. HEALTH AND SAFETY MEASURES

                                                                                               6
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 225 of 556
                                      PageID #: 6155


           a) Installing fire, smoke, or carbon monoxide alarms.
           b) Repair or replace vent systems on fossil-fuel-fired heating systems and water
              heaters to ensure that combustion gasses draft safely to outside.
           c) Install mechanical ventilation in a manner not visible from the public right of way.

    6. ADDITIONAL MISCELLANEOUS EXEMPT ACTIVITIES
         a) Replacement or installation of new storm windows where the finish on the new
             storm windows matches the finish of the existing windows in color.
         b) Replacement of interior doors that meet incidental repair expenditure criteria
             where the size of the openings is not altered. If the interior door replacements
             exceed the incidental repair expenditure criteria, replacements will not be
             performed with BIL or leveraged funding.
         c) Replacement or repair of door knobs and other door hardware.
         d) Installation of furnace outdoor termination plates.
         e) Installation of exterior furnace vents and caps


V.1.2 Box 2: Describe Re-weatherization compliance


Per 10 CFR 440.18, dwelling units are eligible for re-weatherization if it has been damaged by
fire, flood, or force majeure and the repair of the weatherization materials is not covered by
insurance.
Per Public Law 116-260, dwelling units are eligible for re-weatherization after a period of 15
years from when the previous weatherization job was completed. If a dwelling unit has been
previously weatherized, under this program or under other Federal programs, they may receive
further financial assistance for weatherization provided that:
    a) The previous weatherization occurred more than 15 years before the date of application
       approval
    b) The occupant reapplies for assistance under the program and is certified to be eligible,
    c) The local subgrantee prioritizes the application with all others adhering to program
       priorities,
    d) A new energy audit is performed which considers all previous energy conservation
       improvements to the dwelling.

The 15 year rolling date will be tracked within the CEO WAP database using a previously
weatherized report and “closed date” field.

V.1.2 Box 3: Describe what structures are eligible for Weatherization

Structures eligible for weatherization with BIL funds include site-built homes, manufactured
homes, rentals, duplexes, triplexes, and four-plexes, which meet the requirements of 10 CFR
440.22. CEO WAP exercises caution in dealing with non-traditional dwelling units such as
apartments over businesses,etc. to ensure they meet program regulations on whether the unit
is, in fact, eligible. Weatherizing these types of units is discussed with and approved by the
DOE Project Officer prior to weatherization. The weatherization of non-stationary campers and
trailers that do not have a mailing address associated with the eligible applicants is not allowed.
The use of a post office box for non-stationary campers or trailers does not meet this
requirement.


                                                                                                 7
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 226 of 556
                                      PageID #: 6156



V.1.2. Box 4: Describe how Rental Units/Multifamily Buildings will be addressed


Structures eligible for weatherization with BIL funds include: site-built homes, manufactured
homes, duplexes, triplexes, and four-plexes, which meet the requirements of 10 CFR 440.22
(any of which may be rentals).The weatherization of non-stationary campers and trailers that
do not have a mailing address associated with the eligible applicants is not allowed. The use of
a post office box for non-stationary campers or trailers does not meet this requirement.
Per 10 CFR 440.22, WPN 16-5, and WPN 16-6, a subgrantee may weatherize a building
containing rental dwelling units, provided that:
   1. The subgrantee has obtained the written permission of the owner, landlord, or a duly
      authorized agent to perform the installation of all weatherization materials and provide
      energy saving services.

   2. No fewer than:
         a. A total of 50% of dwelling units in two to four unit buildings are eligible dwelling
            units or will become eligible dwelling units within 180 days under either a
            Federal, State, or Local Government program for rehabilitating the building, or
            making similar improvements.

   3. The subgrantee has ensured that:
         a. The benefits of weatherization assistance, including instances in which tenants
            pay for their energy through rent, will accrue primarily to the low-income tenants
            residing in such units.
         b. The landlord, owner, or authorized agent has signed a document agreeing that
            rent will not be increased for a reasonable amount of time following
            weatherization improvements unless rent increases can be demonstrably
            proven to be related to matters other than the weatherization work performed.

   4. Subgrantees are expected to receive tenant complaints regarding rent increases and
      should refer them to organizations (legal aid, tenant-landlord mediation organizations,
      etc.) which can offer assistance in resolving this issue. CEO WAP will not intervene or
      render a decision on tenant complaints involving landlord rent increases.

V.1.2 Box 5: Describe the Deferral Process

The following Deferral Process was developed by CEO WAP to assist subgrantee field staff in
determining which situations are “beyond the scope” of the weatherization program and thus
represent a unit that should not be served until the conditions change. Generally speaking,
situations which constitute a threat to the health and safety of the subgrantees' staff should be
avoided until such time as the conditions are remedied.

Situations which constitute a threat to the health and safety of subgrantee staff and/or WAP
clients should be avoided until the unsafe conditions are remedied. Subgrantee staff who
choose to work on a unit that could or should be a deferral, do so at their own risk; however,
putting occupants at further risk as a result of doing the work is never allowable. CEO WAP
does not require, expect, or encourage subgrantee crews to work in unsafe or unhealthy
conditions. Subgrantees who wish to classify a unit as a deferral must include an audit form
that includes the following information related to the deferral:


                                                                                               8
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 227 of 556
                                       PageID #: 6157


   1.  Date(s) of the audit/assessment.
   2.  A description of the issue(s) that caused the deferral.
   3.  Potential reasons for deferral.
   4.  A description of the conditions under which WAP work could continue, specifying how
       the home may be made weatherization-ready.
   5. A clear description of the responsibilities of all parties involved.
   6. The client’s signature indicating that they have been informed of their rights/options,
       and that they understand the issues and their responsibilities.
   7. How client eligibility and priority will be addressed for deferred dwellings, including
       defined time limit before requalifying clients for the program becomes necessary.
   8. The date the client was informed of the deferral.
   9. Appeal process of deferral for client.
   10. The date the issue causing a deferral was resolved, if applicable.
All subgrantees are required to document the following information: client identification, job
number, stated problem(s), the root cause of the situation, and potential resolution. Any
substantiating evidence, such as photos, staff written comments, defective materials, additional
costs, etc., must be included. All of this information should be recorded in the client file as well
as provided to the client. CEO WAP requires that subgrantees also record this information in
the CEO WAP database.

DEFERRAL CONDITIONS
   1. Client/Access Issues:
          a. The client cannot be reached at telephone number on file due to the service
              being disconnected or due to client unavailability AND follow up mail goes
              unanswered.
          b. The client is uncooperative, abusive, hostile, or threatening to the crew,
              subcontractors, auditors, inspectors, or others who must work on or visit the
              home or who, based upon the judgment of the senior staff person in the field,
              makes the working conditions intolerable for workers.
          c. The client refuses to allow energy auditor(s) access to all areas of the home
              necessary to conduct the comprehensive energy audit.
          d. The presence of animals which pose a risk to the weatherization workers.
                i. The work may be deferred until such animals have been secured
                    adequately so that they no longer pose a threat.
          e. The inability to gain access to the area to perform the work.
                i. The work may be deferred until the blocked access is cleared to allow the
                    necessary access to perform the work.
          f. Refusal of ASHRAE 62.2 2016 ventilation or other required measures.
   2. Human Health Issues:
          a. The client, or other household member, has known health conditions that
              prohibit the installation of insulation or other weatherization materials.
          b. The house has raw sewage, excessive animal feces, or other sanitation
              problems that would further endanger the client and weatherization crews if the
              weatherization work were performed.
          c. Dangerous conditions exist due to high carbon monoxide levels associated with
              combustion appliances which cannot be resolved under existing health and
              safety measures and guidance.




                                                                                                  9
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25     Page 228 of 556
                                     PageID #: 6158


        d. The extent and condition of lead-based paint in the house would potentially
           create increased health and safety hazards for both the occupants and crew
           members.
        e. Volatile organic compounds (VOC) and other chemicals on the premises are
           poorly stored and represent a health risk (via breathing or skin contact) to the
           workers or client’s safety.
        f. In the judgment of the energy auditor, if there are any conditions which may
           endanger the health and/or safety of the work crew or subcontractor, the work
           should not proceed until the identified condition is satisfactorily corrected.
   3. Combustion Appliance Issues:
        a. Open combustion heating systems situated in a bedroom, bathroom, or closet
           that cannot be replaced under CEO WAP Program Guidance.
              i. This includes all rooms that are used or designed to be used as a bedroom
                 or any enclosed space that has access only through such a room.
        b. Combustion systems that are operating in an unsafe manner, that cannot be
           repaired or replaced within the scope of the program.
        c. Furnaces that have no service access.
              i. Examples include attic furnaces with access doors through which the crew
                 cannot enter, or furnaces where the client has finished the room around
                 the unit but did not allow enough room to get to the controls and vents.

                ii. Such situations should be discussed with supervisory staff.
          d. Mobile homes with non-mobile home type furnaces.
                 i. This includes all furnaces that are added to the unit.
          e. Furnaces with no cold air return or hot air delivery system (ductwork).
                 i. Typically, this type of installation is in the middle of a room with limited
                    ductwork.
                ii. It is particularly important if it has a delivery or return but not both.
          f. Any unvented heater.
                 i. This includes all types of unvented heaters, portable kerosene space
                    heaters or freestanding gas and propane heaters.
                ii. Work should only be done at the home if the portable heater can be
                    permanently disabled or vented (with client/owner permission).
          g. Any furnace that is installed in a dangerous manner or cannot be brought to
             code at a reasonable cost (under $400 cost to the program).
                 i. Examples: units installed in an area where it could easily be broken.
   4. Structural Issues:
          a. The building structure or its mechanical systems, including electrical and
             plumbing, are in such a state of disrepair that failure is imminent and the
             conditions cannot be resolved cost effectively or within the scope of the
             Weatherization Assistance Program guidance.
          b. If the house is structurally in a condition that is unsafe or beyond repair (the
             home needs significant rehabilitation work from another funding source) and
             presents a risk to the worker or client safety.
          c. A foundation that is not sound and will not support one or more of the walls.
          d. A unit that is under renovation or where original construction is incomplete and
             completion will require more than one sheet of drywall material.
                 i. There is the possibility of coordinating weatherization with
                    renovation/rehabilitation work underway; this is a judgment call of the
                    subgrantees, considering all relevant factors (timetable for work being


                                                                                             10
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 229 of 556
                                      PageID #: 6159


                    done and likelihood of it occurring; option of waiting until work is done
                    before weatherization, etc.).
         e. Structurally unsound walls
                 i. Where a substantial part of a wall is unstable and that wall is involved in
                    one or more of the desired energy conservation measures for the home;
                    consult an approved computer audit, a supervisor, or State Staff.
                ii. The same is true for structurally unsound floors and ceilings.
         f. Drainage issues
                 i. This would include any exterior drainage material or structure that does not
                    function properly and may lead to internal leakage or flooding.
   5. Electrical Issues:
         a. Major electrical problems where a major portion of the total electrical system
              appears to be questionable (consult an “expert”); also, consult an approved
              computer audit.
         b. There are major electrical problems and when the cost is included with
              measures it is not cost effective to repair.
   6. Safety Issues:
         a. Moisture problems that are so severe they cannot be resolved under existing
              health and safety measures or as incidental minor repairs.
                 i. This includes standing water in the crawl space or any other source that is
                    beyond the scope of the program to resolve.
         b. Friable asbestos or vermiculite in the home or significant enough in various
              locations that it precludes performing most of the cost-effective energy
              conservation work.
         c. If a mold condition is discovered during the initial audit of the home by an energy
              auditor and it cannot be adequately addressed by the weatherization crew, the
              unit will be referred to the appropriate public or non-profit subgrantee for
              remedial action. Subgrantees shall defer work on the home until another funding
              source or the owner completes mold remediation.
                 i. Colorado weatherization shall distribute the pamphlet from the U.S.
                    Environmental Protection Subgrantee (EPA), Indoor Environment Division
                    (IED), “A Brief Guide to Mold, Moisture, and Your Home” to clients whose
                    homes have a moisture and/or mold problem. The pamphlet can be found
                    at: https://www.epa.gov/mold/brief-guide-mold-moisture-and-your-home
         d. The area is slated to be redeveloped (highway development, economic
              development, flood area).
           e. The house has been condemned or electrical, heating, plumbing, or other
              equipment has been “red tagged” by local, county, or state building officials or
              utilities due to safety or code issues.
           f. The presence of any illegal activity.


REMOVING DEFERRAL STATUS
The status of deferral from a unit may be removed if the conditions which warranted the
deferral are addressed and/or a client’s appeal results in the removal of deferral status. If there
were multiple issues causing a dwelling to be deferred, the resolution date will be the day on
which the last issue has been ameliorated.

The client is responsible for remedying the conditions, as specified in the communication that
client received from the subgrantee, and contacting the subgrantee once these conditions have


                                                                                                11
Case 1:25-cv-00039-JJM-PAS              Document 68-123     Filed 02/07/25      Page 230 of 556
                                          PageID #: 6160


been addressed. Once the subgrantee verifies that the conditions have been remedied, they
are required to return to the unit and complete all work.

Combustion appliance situations that threaten client safety are of great concern to WAP.
Attempts should be made to remedy the situation, rather than deferring the unit.

APPEAL PROCESS
The following process should be used should a client request an appeal or second opinion on a
deferral:
   1. Clients should submit a written appeal to the direct supervisor of the subgrantee staff
      member who determined the unit should be deferred.
   2. If the deferral is upheld by the direct supervisor, the client may submit a written appeal
      to a CEO WAP Manager.
   3. If the deferral is upheld by a CEO WAP Manager, the client may submit a written appeal
      to the CEO WAP Director.
   4. The decision rendered by the CEO WAP Director is considered final and no further
      appeals are allowed.
If at any point in this process, the original deferral is either not upheld or the conditions that
caused the initial deferral are mediated, the subgrantee is required to return to the unit and
complete all work.


V.1.3 Definition of Children

Definition of children (below age): 6

V.1.4 Approach to Tribal Organizations

In accordance with 10 CFR 400.16(f), CEO WAP requires all subgrantees to provide the same
weatherization services to eligible Indigenous American households that eligible
non-Indigenous American households receive. Indigenous Americans residing on either the
Ute Mountain Ute or Southern Ute reservations are eligible for weatherization services via
standard allocation provided to Housing Resources of Western Colorado (HRWC). Assistance
to low-income Indigenous American populations and other low income persons is equal in all
respects.

V.2 Selection of Areas to be Served

Colorado is committed to providing services to eligible households throughout all 64 counties
within the state. Currently, the state is divided into five single family regions which are managed
by five weatherization subgrantees. In addition, there is one statewide subgrantee that provides
service to centrally heated multifamily units in all 64 counties. However, BIL funds will not be
utilized to weatherize multifamily units in Colorado. For PY22, the five regions served are:

Region 2 Southeast Plains - The counties included within this region are: Baca, Bent, Crowley,
Custer, Huerfano, Kiowa, Las Animas, Otero, Prowers, and Pueblo.




                                                                                                12
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 231 of 556
                                      PageID #: 6161


Region 4 Southwest - The counties included within this region are: Archuleta, Delta, Dolores,
Gunnison, Hinsdale, La Plata, Mesa, Montezuma, Montrose, Ouray, San Juan, and San
Miguel.
Region 5 High Country - The counties included within this region are: Chaffee, Clear Creek,
Eagle, Garfield, Grand, Jackson, Lake, Moffat, Park, Pitkin, Rio Blanco, Routt, and Summit.
Region 7 East Denver Metro Area - The counties included within this region are: Adams and
Arapahoe.

Region 8 Front Range, Northeast Plains, and San Luis Valley - The counties included within
this service territory are: Alamosa, Boulder, Broomfield, Cheyenne, Conejos, Costilla, Denver,
Douglas, El Paso, Elbert, Fremont, Gilpin, Jefferson, Kit Carson, Larimer, Lincoln, Logan,
Mineral, Morgan, Phillips, Rio Grande, Saguache, Sedgwick, Teller, Washington, Weld, and
Yuma.

FUNDING ALLOCATIONS
The CEO WAP funding allocation ensures funding will be fully utilized according to the
approved BIL Plan, that prior contractual funding obligations are able to be met, and that the
distribution of remaining available funds are allocated on an equitable basis as much as
possible (and in accordance with the requirements of the funding source) across all five
program subgrantees.


V.3 Priorities for Service Delivery
As defined in 10 CFR 440.16, priority is given to identifying and providing weatherization
assistance to clients that fall into one or more of the priority categories below:
   a)   Households with a high energy burden
   b)   Elderly persons (aged 60 years and over)
   c)   Persons with disabilities
   d)   Families with children (children below age 40)
In addition, subgrantees are required to track and report the number of Indigenous American
populations served.

Subgrantees will be monitored on their provision of service to high priority groups, as approved
in the subgrantee’s plan to ensure compliance. Once a subgrantee satisfies all prioritization
requirements, they may develop region-specific service models that promote cost-effective
delivery of services due to constraining factors such as weather, geography, or the need to
fulfill other contractual obligations, such as serving specific utility customers so long as the
prioritization of specific clients as previously identified is achieved. CEO WAP provides
oversight of the subgrantee client selection criteria at monitoring visits to ensure that local
procedures are in accordance with DOE and CEO WAP policies. CEO WAP will report the
number of priority clients served by priority type, as well as the number of Indigenous
Americans served on a quarterly basis, to the DOE.

The Colorado Weatherization Assistance Program automatically falls in line with the Justice 40
initiative as the entirety of the clients served are from low-income families, and/or are members
of disadvantaged communities greatly impacted by climate change.



                                                                                              13
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 232 of 556
                                      PageID #: 6162



V.4 Climatic Conditions

Climatic conditions within the State of Colorado vary significantly depending on the region of
the State. Colorado is somewhat unique in that the climatic conditions range include the
semiarid plains of eastern Colorado, to a high alpine mountain climate in the middle and
western portions of the state. According to the 2009 International Energy Conservation Code,
Colorado had four distinct climate zones, including Mixed Dry (4B), Cold (5B and 6B), and Very
Cold (7B). Low-income residences in Colorado encounter a significant heating load in the
winter months due to decreased temperatures across the state, especially within the mountain
regions. Heating Degree Day (HDD) averages for the 64 counties vary from a low of 4,714
(Fremont County) to a high of 11,656 (Lake County). The more populated areas along the
Front Range have HDD ranges from the low 6,000's to around 7,500. Due to the variance in
climatic zones, use of site specific audits is necessary to capture this variety and properly apply
measures.

HDD data from weather stations around the State of Colorado is used in the Colorado
subgrantee allocation formula. Data is used from 6 weather stations operated at:

Denver: Lat = 39.57 / Long = -104.85, Elevation = 5,882.55
Colorado Springs: Lat = 38.83 / Long = -104.72, Elevation = 6,201.12
Pueblo: Lat = 38.29 / Long = -104.52, Elevation = 4,684.06
Grand Junction: Lat = 39.12 / Long = -108.53, Elevation = 4,839.9
Eagle: Lat = 39.66 / Long = -106.92, Elevation = 6,497.05
Leadville: Lat = 39.22 / Long = -106.32, Elevation = 9,927.82

V.5 Type of Weatherization Work to be Done
V.5.1 Technical Guides and Materials

All weatherization work completed is consistent with CEO WAP DOE approved energy audits
per Appendix A of 10 CFR 440, and WPN 22-4. Per WPN 22-4, CEO WAP has developed and
implemented the Colorado Standard Work Specifications (SWS) which provides the
benchmarks and standards for home energy upgrades in accordance with the Standard Work
Specification standards developed by the National Renewable Energy Laboratory (NREL) and
the Department of Energy (DOE). The SWS does not prescribe specific actions, materials, or
techniques that must be used by subgrantees or subcontractors in order to achieve energy
conservation goals. Instead, the SWS provides subgrantees and subcontractors the minimum
set of requirements necessary to achieve the desired energy efficiency outcomes. CEO WAP
has language in subgrantee contracts that outlines the expectations for work quality and
instructs subgrantees to include these expectations in any contracts entered into with
contractors and vendors. All subgrantee agreements and vendor contracts contain language
which clearly references the SWS for work quality outlined in WPN 22-4. All subgrantees and
contractors are provided with the CEO WAP website where CEO policy and the Colorado Field
Guide are located. They can be downloaded and viewed at any time during the program year.
Subgrantees and contractors are required to acknowledge that they have received a copy of
CEO policy and field guide or the link to the website when contracts are signed. In addition,
CEO WAP staff requests subgrantee managers and staff review CEO WAP Policies and
Colorado SWS in the first quarter of each program year.
Per CEO-WAP-501.2.1.2 “Subgrantees are responsible for ensuring that subcontractors are
trained and in compliance with all relevant CEO WAP Policies and Procedures and the



                                                                                                14
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 233 of 556
                                      PageID #: 6163


Colorado Field Guide, also known as the SWS. This requirement will also be part of the signed
contract between the subgrantee and the subcontractor.”



V.5.2 Energy Audit Procedures
Audit Procedures and Dates Most Recently Approved by DOE


SUBMITTAL OF AUDIT PROCEDURES
Per WPN 22-1 and 10 CFR 440.21(i), CEO WAP Quality Management (QM) Team will resubmit
their energy audit procedures, and priority list, as applicable, to DOE for approval every five
years. If the CEO WAP energy audit procedures are found to be out of compliance with this
requirement, a corrective action plan will be submitted with this grant application as designated
by a DOE Project Officer. Per WPN 19-4, CEO WAP QM Team will submit energy audit
approval requests at least six months in advance of the current expiration date.

As the DOE specifically requires energy audit procedures to be separately developed and
approved for use on site built single-family homes and manufactured homes, CEO WAP uses
the appropriate energy audit procedures further described below.

STANDARD ENERGY AUDIT PROCEDURES
Energy audits will be performed using Weatherization Assistant for both site-built and
manufactured homes. In the event that a home is a combination of a site built or modular home
and a manufactured home, subgrantees must contact CEO to determine which audit tool to
use.

Subgrantees must assess for the following three components as a part of the standard audit:
   1. Incidental Repair Measures – Per WPN 12-9, an Incidental Repair Measure (IRM) is a
      repair that is necessary for the effective performance or preservation of weatherization
      materials. IRMs require cost justification through the electronic energy audit, however,
      they are not to be included with the cost of an Energy Conservation Measure (ECM).
      Written justification and photos for the necessity of the repair must be in the client file
      and the repair must be associated with an ECM identified on the Recommended
      Measures Report.
           a) All incidental repairs must be completed according to SWS standards, if
               applicable. If an IRM has no associated SWS procedure, subgrantees and
               subcontractors are required to document the incidental repair measure and
               install the IRM per CEO WAP Program Guidance and SWS.
           b) If neither a SWS, nor a CEO WAP Program Guidance exists for the installation
               of the IRM, subgrantees and subcontractors must install the IRM using industry
               best practices.
   2. Energy Conservation Measures – Per WPN 12-9, ECMs are a procedure, including
      weatherization materials installation, which are considered or performed for its
      anticipated energy savings.
           a) Per WPN 22-7 and Colorado WAP Policy & Program Guidance, all measures
               must be cost tested as energy conservation measures by the energy audit. If
               they do not rank and meet the criteria for “at-risk” clients, certain equipment
               replacements, such as furnaces and water heaters, may be replaced under the
               Health and Safety category.

                                                                                              15
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25     Page 234 of 556
                                     PageID #: 6164


          b) All approved ECMs that achieve a Savings to Investment Ratio (SIR) of 1.0 or
              greater MUST appear on the Recommended Measures Report.
   3. Health and Safety Measures – Per WPN 22-7, Health and Safety measures are those
      measures that are necessary to maintain the physical wellbeing of both the occupants
      and/or weatherization workers. The actions must be taken to effectively perform
      weatherization work or the actions are necessary as a result of the weatherization work.
      Subgrantees are required to:
          a) Identify all health and safety deficiencies as a part of the initial audit. These
              health and safety measures must be identified in the work order and completed
              prior to beginning the installation of any IRM or ECM.
          b) Document all hazards, concerns, questionable situations, etc. as part of the
              standard audit. Make sure digital images can be linked back to the job. WPN
              22-7 defines the activities allowed as Health & Safety.
HEALTH AND SAFETY
Per WPN 22-7, allowable energy related Health and Safety (H&S) actions are those actions
necessary to maintain the physical well-being of both the occupants and weatherization
workers where costs are reasonable, and the actions must be taken to effectively perform
weatherization work; or the actions are necessary as a result of weatherization work. No H&S
measure can be performed in a home unless ECMs are also part of the scope of work.
Subgrantees are required to adhere to the following SWS Health and Safety standards:
   1. Subgrantee Responsibility
   2. Safe Work Practices
   3. Combustion Safety Testing
   4. Moisture
   5. Electrical
   6. Warranty
   7. Asbestos
   8. Radon
   9. Incidental Repairs
   10. Lead
   11. Pests/Unsanitary Conditions
   12. Common Health and Safety Practices


BUILDING SHELL & AIR SEALING
Building shell and air sealing of a unit creates a separation between the interior and exterior
environments and slows air flow, increasing energy efficiency through heat loss reduction. In
addition, this prevents particulate matter from the outside from entering the unit. Subgrantees
and/or subcontractors are required to follow the SWS for the following building shell and air
sealing measures that are within the scope of CEO WAP:
   1.   Attic Penetrations and Chases
   2.   Open Stairwells
   3.   Dropped Ceiling and Soffit
   4.   Windows and Doors
   5.   Basement and Crawlspace
   6.   Attached Garages
   7.   Ducts


                                                                                            16
Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25     Page 235 of 556
                                      PageID #: 6165


INSULATION
Insulation is building material that slows heat flow to create a separation from interior and
exterior environments. This aids in heat retention, which lowers the cost of home energy.
Subgrantees and/or subcontractors are required to follow the SWS for the following Insulation
measures that are within the scope of CEO WAP:
   1.   General Requirements
   2.   Attic Insulation General Preparation
   3.   Knee Walls
   4.   Attic Openings
   5.   Walls
   6.   Floors
   7.   Basements and Crawl Spaces
   8.   Duct Insulation
HVAC
HVAC is the technology of indoor environmental comfort. Its goal is to provide thermal comfort
and acceptable indoor air quality. Subgrantees and/or subcontractors are required to follow the
SWS for the following HVAC measures that are within the scope of CEO WAP:
   1.   General Requirements
   2.   Combustion Safety Requirements
   3.   Forced Air Furnace Replacements
   4.   Warranty
VENTILATION
Ventilation is the mechanical system or equipment used to circulate air or to replace stale air
with fresh air. Subgrantees and/or subcontractors are required to follow the SWS for the
following ventilation measures that are within the scope of CEO WAP:
   1.   Ventilation Assessment Requirements
   2.   ASHRAE 62.2.2016
   3.   Installation
   4.   Inspection
   5.   Client Education
   6.   Dryer Venting/Ducts
   7.   Supply
   8.   Whole Building
BASELOAD
Baseloads are the common appliance-related energy costs that are common to units.
Subgrantees and/or subcontractors are required to follow the SWS for the following baseload
measures that are within the scope of CEO WAP:
    1. Refrigerator
    2. Water Heating General Items
    3. Water Heater Insulation
    4. Water Pipe Insulation
    5. Water Heater Replacement
    6. Water Use Reduction
    7. Lighting
    8. Rooftop Photovoltaics
INSPECTION REQUIREMENTS

                                                                                            17
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 236 of 556
                                     PageID #: 6166


The following inspection requirements constitute the minimum standards by which all
subgrantees and subcontractors should assess all previously listed policies:
   1.   Subgrantee Quality Control Inspection
   2.   Client File Documentation
   2.   Quality Complaints
   3.   State Monitoring General Requirements
   4.   State Monitoring Field Visit Requirements
MISCELLANEOUS REQUIREMENTS
Miscellaneous Requirements are managerial and programmatic requirements that are not
necessarily related to the installation of measures. They include: general program
requirements, state and technical waiver requirements, subgrantee subcontract requirements,
and training and certification requirements:

   1. Multifamily Requirements
   2. Multifamily specific requirements for individually and centrally heated multifamily units

SAVINGS TO INVESTMENT RATIO
As detailed in 10 CFR 440.21(c), in order to provide cost effective service, all assessed energy
efficiency measures must meet the conditions as outlined in 10 CFR 440, Appendix A, and
achieve a savings to investment ratio (SIR) of at least 1.0 or greater. All mandatory assessment
measures that meet the SIR of 1.0 or greater must be installed by subgrantees or
subcontractors.

COMMUNICATION OF GUIDELINES AND STANDARDS
Communication of Colorado Standard Work Specifications Guidelines and Standards (SWS),
including updates, training plans, implementation schedules, and all other associated training
and technical documents is the responsibility of CEO WAP Quality Management Team. The
new or updated SWS will be communicated via email in the form of an electronic memorandum
to each subgrantee's Executive Director or Program Manager, with all subgrantee trainers
copied on the memorandum. This electronic memorandum will, at a minimum:
   1. Identify the approved changes to the SWS
   2. Identify the dates the changes will be effective
   3. Identify any additional training for the new policies and procedures scheduled by CEO
      WAP Quality Management Team
CEO WAP staff will require that the Executive Director or a Program Manager of each
subgrantee sign and return the electronic memorandum to CEO WAP Management,
acknowledging receipt of the updated SWS. It is the responsibility of the Executive
Director/Program Manager and/or trainers to distribute the updated SWS sections to their
respective subgrantee personnel and crews. In the event that subcontractors are hired by the
subgrantees to perform weatherization work, subgrantees are responsible for providing
subcontractors with the SWS and to ensure that all work performed by subcontractors meets
the specifications and standards identified within the SWS. A sample of subcontractor contracts
will be reviewed during each Administrative Monitoring to ensure subgrantee compliance with
this requirement.

In addition to the electronic memorandum, CEO WAP staff will update the controlled copy of
the SWS that exists on the CEO WAP database within 10 business days of issuing the


                                                                                                  18
Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25     Page 237 of 556
                                     PageID #: 6167


electronic memorandum. This is done so that all subgrantees and subcontractors may
reference the most current version of the SWS at all times.

If SWS requirements are changed in the future by the DOE, CEO WAP will send confirmation
to the DOE Project Officer responsible for Colorado that CEO WAP acknowledges these
changes in the SWS requirements, has issued an electronic memorandum to all subgrantees
identifying the changes, and that the controlled copy of the SWS on the CEO WAP database
has been updated to reflect these changes. CEO WAP will submit a variance request
pertaining to any new SWS requirements, via the standard variance procedure, to the DOE
Project Officer, if CEO WAP feels it is warranted.

WORK QUALITY CONTRACT LANGUAGE
Per WPN 22-4, CEO WAP is required to include language in all subgrantee contracts that
identify the requirements for work quality. CEO WAP developed the following work quality
language beginning in PY15-16 that will be included in all PY22-PY26 subgrantee contracts
scopes of work:
   1. CEO WAP Weatherization Field Standards in the SWS and CEO Weatherization
      Policies and Procedures shall apply to the grantee and their subcontractors providing
      weatherization services through CEO WAP in order to ensure consistency in work
      quality.
   2. These regulatory documents are not intended to abridge safety, health, environmental,
      or local codes or other ordinances. In such circumstances where there are conflicts the
      more stringent of rules shall apply.
   3. The health and safety of the clients, grantee staff, grantee subcontractors and the
      integrity of the building structure shall not be compromised by any work completed with
      CEO WAP funds.
   4. The Grantee, CEO WAP Administrator, has overall responsibility for proper
      implementation of the procedures and for the quality control of all repair and energy
      conservation work.
   5. All installed WAP materials shall meet the materials standards taken from Appendix A
      of 10CFR440, Title 10 Part 440 of the US Department of Energy’s (DOE) WAP for
      low-income persons, and shall be of good quality, and shall be installed in a safe,
      cost-effective manner.
   6. Work not meeting quality expectations may be subject to findings, re-inspections,
      go-backs, and disallowed costs, as determined by the CEO WAP with reference to
      10CFR440 and CEO WAP Policies and Procedures.”

FLOW-DOWN REQUIREMENTS
Per WPN 22-4, all subgrantee contracts signed with subcontractors will contain language which
clearly states that subcontractors must meet all the requirements contained within the SWS, as
well as CEO WAP policies and procedures.

CONFIRMATION OF RECEIPT
Per WPN 22-4, CEO WAP will use the signature on the contract as the method by which a
subgrantee confirms receipt.

V.5.3 Final Inspection

CEO WAP has decided to utilize an independent Quality Control Inspector (QCI) model in
which the subgrantee or subcontracted QCI is not permitted to have had any prior involvement

                                                                                           19
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 238 of 556
                                     PageID #: 6168


with the unit being inspected. CEO WAP complies with all final inspection requirements
outlined in WPN 22-4.

SUBGRANTEE QCI STAFFING LEVELS
Subgrantee QCI staffing levels should be commensurate with subgrantee needs based on a
combination of size, funding, and unit production. Although CEO WAP does not require a
subgrantee to have a specific number of QCI on staff, CEO WAP does require that all
subgrantee employees who conduct Final Inspections of units be QCI certified. Subgrantees
are required to have policies and procedures in place to address subgrantee shortages of QCI.
All subgrantees have adequate capacity of QCI.

SUBGRANTEE QCI FINAL INSPECTION
All units reported as completed by a subgrantee must receive a final inspection from a
subgrantee QCI or third party QCI if needed. The QCI must ensure that all work meets the
minimum specifications as outlined in the SWS and must meet the applicable standards as
found in 10 CFR 440. Units are deemed to be completed by CEO WAP once a QCI has
determined that all incidental repair measures, energy conservation materials, and any
necessary health and safety repairs have been installed in compliance with SWS standards
and all installations meet all DOE SWS standards, if applicable. QCI are responsible for
ensuring all materials have been accurately reported on the Building Weatherization Reports
(BWRs), and that all energy savings measures listed on the BWR reflect accurate cost
estimation. Inspectors are required to ensure accurate reporting of all measure costs,
materials, and fuel types for all jobs in either NEAT or MHEA or approved multifamily auditing
software.

All client files must include a form, signed by a QCI for the unit, signifying that all
weatherization work performed by the subgrantee has met all applicable SWS or NREL SWS
Standards. A QCI Final Inspection Report must include an assessment of the original audit,
confirmation that the measures called for on the work order were appropriate per the audit
procedures and protocols approved by the DOE, a record of final diagnostic testing, and that all
measures costs were reported accurately.

SUBGRANTEE QCI CORRECTIVE ACTION PROCEDURES
Per Department of Energy (DOE), Weatherization Program Notice (WPN) 19-1, Program Year
2019 Weatherization Grant Guidance, Section 2.5, Quality Work Plan Implementation, and
WPN 22-4 “Quality Work Plan Requirement Update,” subgrantee QCI “who repeatedly fail to
perform to program expectations must be disqualified from performing work in the future.
Grantees must establish protocols to remove poor performers from their network.” Also,
subgrantees must establish internal protocols to remove poor performing QCI contractors from
the network. When a subgrantee QCI fails to adequately inspect to the most recently approved
SWS, they will be subject to the following corrective action procedures:

   ●   Corrective Action-Removal Procedures are dictated by the number of Quality
       Assurance (QA) identified defects of similar nature requiring corrective action that can
       be directly tied back to a specific subgrantee QCI during a single QA visit over a
       two-year program period
          1. First QA identified corrective action defect of similar nature
                  1. Subgrantees shall fix issues using non- DOE funds and conduct
                      classroom training within the subgrantee for the inspector prior to them
                      performing subsequent inspection work within the network.
          2. Second QA identified corrective action defect of similar nature

                                                                                             20
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25       Page 239 of 556
                                       PageID #: 6169


                  1. Subgrantees shall fix issues using non BIL funds, conduct classroom
                      training outside of the subgrantee, and supervised on-the-job training for
                      the inspector prior to them performing subsequent inspection work within
                      the network. guidance
          3. Third QA identified corrective action defect of similar nature
                  1. Subgrantees shall fix issues using non-BIL funds, suspend the inspector
                      from performing inspections for a six month period from the date of
                      inspector notification, and have the inspector complete a QCI
                      performance plan during the suspension period prior to them performing
                      subsequent inspection work within the network.
          4. Fourth QA identified corrective action defect of similar nature
                  1. Subgrantees shall fix issues using their own funds (not from any
                      Weatherization grant) and then permanently disqualify the applicable
                      inspector from performing all future inspection work within the network.
   ●   Corrective Action-Removal Procedures Tracking
          1. Subgrantees are responsible for tracking where each impacted inspector is
              within the process outlined above. If subgrantees suspend or permanently
              disqualify an inspector, they shall notify a CEO Manager responsible for Quality
              Assurance via email. Prior to hiring and providing subsequent QCI work to an
              inspector, subgrantees are responsible for checking with the Quality Manager to
              ensure that the inspector is not suspended or permanently disqualified.

The corrective action-removal procedures listed above are outlined in CEO WAP Policy 602,
Corrective Action-Removal Procedures. Additionally, per WPN 11-3, if a DOE funded unit has
received a final inspection, subgrantees cannot return and expend BIL funds for corrections.

PROCESS FOR VALIDATING SUBGRANTEE CERTIFICATIONS
In accordance with WPN 22-4, CEO WAP has developed a comprehensive process for
ensuring that all subgrantees acquire and maintain Building Performance Institute (BPI) QCI
certifications for all inspectors. All subgrantees are required to include a list of all QCI that are
on staff, as well as the date that each Inspector's existing certification expires, as a part of their
annual Training Plan. These Training Plans are to be submitted as a required component of
each subgrantee's annual Competitive and/or Noncompetitive RFA Applications. CEO WAP
staff review all Training Plans to ensure compliance with this requirement. Competitive or
noncompetitive applications missing these requirements will not be accepted by CEO WAP
staff.

In addition to checking subgrantee Training Plans, CEO WAP Quality Management Team will
use the BPI certification database to periodically check that each employee identified by a
subgrantee as having a current QCI certification on their Training Plan is QCI certified at the
time of the Training Plan submission. If the CEO WAP Quality Management Team find that
either an individual listed as an Inspector on the Training Plan does not have a current QCI
certification, or that an existing certification has expired and has not been renewed, CEO WAP
Quality Management Team will issue an electronic memorandum to the subgrantee director or
Program Manager, and copy all Trainers, that the employee needs either certification or
recertification. A subgrantee representative (either the Executive Director, a Program Manager,
or a Trainer) must respond within 30 business days with a plan to certify the individual.
Subgrantees are prohibited from allowing Inspectors without a current QCI certification to
conduct Final Inspections of any units. Subgrantees who fail to comply with this requirement
are subject to the Policies to Address Subgrantee Noncompliance listed later within this
section.

                                                                                                   21
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 240 of 556
                                       PageID #: 6170




SUBCONTRACTOR QCI STAFFING LEVELS
Recognizing that subgrantees may encounter situations in which subgrantee QCI staffing
levels are not adequate to meet production needs, CEO WAP will allow independent, third
party subcontractors to perform QCI provided that the subcontractor has a current QCI
certification.

SUBCONTRACTOR QCI INSPECTIONS
In the event that subgrantees utilize a contractor to perform final inspections, the subgrantee
must ensure that those contractors possess a QCI certification and will inspect to the level
required by the SWS as outlined in the SWS.

PROCESS FOR VALIDATION OF SUBCONTRACTOR QCI CERTIFICATION
Subgrantees are responsible for ensuring subcontractors have a current QCI certification at the
time the work is performed. Subgrantees who allow non-QCI certified subcontractors to
perform Final Inspections are subject to CEO WAP noncompliance procedures and may have
all costs associated with that job disallowed.

CEO WAP QCI STAFFING LEVELS
CEO WAP currently operates under the Independent QCI Model, which requires CEO WAP
Quality Management Team to perform QCI Inspections of a minimum of 5% of units reported
as completed using BIL funds across the State. Four CEO WAP Quality Management Team
members have successfully received their QCI certifications, or recertifications, and were able
to conduct inspections on all BIL funded units beginning July 1, 2022.

CEO WAP STAFF QCI INSPECTIONS
CEO WAP staff are required to conduct onsite examinations of subgrantee and subcontractor
work on 5% of BIL funded units designated as complete by subgrantees. These onsite audits
are inspected to ensure that all weatherization work has been done in accordance with SWS
and CEO Policies, and to assess subgrantee inspector effectiveness and knowledge. QCI
certified CEO WAP staff members will sign a Final Inspection Form indicating that the job has
been inspected and has passed all QCI requirements. This document has been developed by
CEO WAP and is available for DOE Project Officer review at their request.

PROCESS FOR VALIDATION OF CEO WAP STAFF QCI CERTIFICATIONS
CEO WAP Quality Management Team are required to be QCI certified at all times and are
responsible for all certification and recertification. Proof of QCI Certification and recertification
of all CEO WAP Quality Management Team are available to the assigned DOE Project Officer
as requested.

POLICIES TO ADDRESS SUBGRANTEE NONCOMPLIANCE
Per 2 CFR 200.338, if a subgrantee fails to comply with any term of an award as stated in
Federal or CEO WAP policies and procedures, the subgrantee may be subject to one or more
of the following actions:
   1.   Temporarily withhold cash payments pending correction of the deficiency.
   2.   Disallow all or part of the cost of the activity or action not in compliance.
   3.   Wholly or partly suspend or terminate the current award.
   4.   Withhold further awards.
   5.   Board notification and required response from the Board.
   6.   Take other remedies that may be legally available.

                                                                                                  22
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 241 of 556
                                      PageID #: 6171


   7. May result in reallocation of funding or production to another CEO WAP contracted
      entity.
If a subgrantee has a repeated history of poor performance, financial instability,
mismanagement, violates the terms and conditions of the Cooperative Agreement (contract), or
is irresponsible in administering the Weatherization program, CEO WAP may impose additional
requirements needed in the following manner:
    1. Subgrantees will be notified in writing (mail or electronically) as to the special
       conditions.
    2. Reasons why the special conditions are being imposed.
    3. Nature of required corrective action.
    4. Time allowed for completion of the corrective action.
The standard CEO WAP grievance procedure can be requested by the subgrantee at any time.
Once the special conditions have been corrected to the satisfaction of CEO WAP, they will be
removed.

In addition to the above remedies, funding may be suspended in whole or in part by CEO WAP
for frequent or repeated violations as well as financial mismanagement. In such a case written
notification will be sent to the subgrantee and DOE stating the reasons for suspension, the
effective date, and in the case of a partial termination the reduced or modified portion of the
funding. Should termination of an subgrantee contract be determined the following steps will be
taken:


   1. Notification in writing and effective date of termination to the subgrantee.
   2. Complete inventory of all tools, materials, equipment and capital equipment will be
      conducted.
   3. All grant purchased items (capital equipment, computers, tools, inventory, etc.) will be
      removed from the premises.
   4. Close out procedures will begin.
   5. All other actions will be determined by the CEO WAP Director.

In addition to these noncompliance measures, standard contract language included in each
subgrantee's contract further outlines the remedies available to the State of Colorado.


V.6 Weatherization Analysis of Effectiveness


CEO WAP utilizes a four-pronged approach to assess subgrantee effectiveness in relation to
overall program administration and performance. This four-pronged approach allows CEO
WAP staff to conduct multifaceted analysis of the program that allows CEO WAP to use
historical performance and current program trends to identify and mediate any potential issues
that might impact the program in the future. CEO WAP believes that this process leads to
long-term program stability, effective and responsible utilization of taxpayer funds, and overall
program health. The four methods used by CEO WAP staff to evaluate program effectiveness
include:
    1. Evaluating subgrantees in regards to specific performance indicators
    2. Evaluating subgrantees’ risk in relation to proper administration of grant funding through
       a Risk Management Assessment

                                                                                              23
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25     Page 242 of 556
                                     PageID #: 6172


    3. Analyzing performance in relation to other subgrantees with similar subgrantee profiles
    4. Fostering a welcoming and inclusive environment based on equity, diversity, and
       inclusion (EDI) at both the grantee and subgrantee levels.

The following sections provide greater detail as to how CEO WAP staff use each of these four
methods to evaluate subgrantee and program effectiveness.

PERFORMANCE INDICATORS
Using previous program year data, CEO WAP has identified the following five performance
indicators that generally can be used to assess subgrantee effectiveness and overall program
success. These performance indicators are:
   1. Efficient Spending of BIL Funds – Subgrantee effectiveness is largely determined by the
      full and efficient spending of all allocated BIL funds within a designated program year.
      Subgrantees that consistently bill to the grant show proper use of ASHRAE testing and
      installation requirements, proper allocation of subgrantee resources, effective use of
      funds, proper program administration, proper understanding of allowable and
      disallowable costs, and successful implementation of the program in general. From a
      top-level perspective, subgrantee spending of BIL funds in a responsible manner
      ensures program continuity in future funding cycles, which assists in the overall health
      of CEO WAP.
   2. Per Unit Average (PUA) – Program effectiveness is also determined by how well
      subgrantees are able to meet or better their target PUA for BIL allocated funds.
      Subgrantees that meet or better their target PUA show proper financial and program
      administration, as well as a fundamental understanding of allowable and disallowable
      costs. Subgrantees are consistently compared to their historical PUA to identify trends
      around efficient unit production. Issues such as spikes in costs, or growth in labor
      charged to the grant are assessed to identify deficiencies or trends that may show that
      subgrantees are not conducting work effectively.
   3. Unit Production – The third component that determines subgrantee effectiveness is how
      successful subgrantees are at providing high quality weatherization services to low
      income citizens of Colorado. This unit of effectiveness is measured by how many high
      quality, cost effective units a subgrantee is able to complete in a given program year.
      Subgrantees are allocated contractual targets based on a standard formula of the total
      BIL budget/ACPU and are assessed on their ability to meet these targets. Subgrantees
      that meet or exceed proposed production trends are deemed more effective and show
      greater program administration than those which lag in their proposed production
      targets.
   4. Service in all 64 Colorado Counties – Due to the significant amount of leveraged
      funding that Colorado receives, it is increasingly important to ensure service to all 64
      Colorado counties. CEO WAP requires that each county receive a minimum of one
      weatherized unit per program year. Service to all 64 counties in Colorado shows proper
      use of the prioritization requirements, proper administration of program dollars and
      ensures overall program health.
   5. Quality Installation of Weatherization Materials – Subgrantees are also assessed on
      how effectively they utilize BIL funding to perform quality installation of weatherization
      materials. This performance indicator is assessed using the following four metrics as
      identified below.
          a. Site Visits: The site visit provides CEO WAP staff an opportunity to assess not
              only the quality of the work, it also allows CEO WAP staff to assess subgrantee
              compliance with SWS Field Standards and CEO WAP policies and procedures.

                                                                                             24
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 243 of 556
                                     PageID #: 6173


             This provides CEO WAP staff an opportunity to provide real time training to
             subgrantee field staff in both the SWS and CEO WAP policies and procedures to
             enhance the program.
          b. Utilization of the CEO WAP database: All installed measures on a home are
             collected through CEO WAP database and can be sorted, compared and
             evaluated in real time. This data provides insights regarding costs per unit, costs
             related to field functions or office functions, types of energy efficiency and
             health/safety measures being performed and their relative frequencies, and
             beginning and ending air leakage rates. CEO WAP monitors this data to
             determine if agencies are underperforming or lacking proficiency in any one area.
             This data, along with the site visit information, provides a starting point for
             empirical and qualitative assessment of the effectiveness of the work being
             performed.
          c. Quality Assurance Reports: Following a site visit, CEO WAP staff examines past
             quality assurance monitoring reports to identify recurring quality deficiencies
             within specific measures and/or processes. This process allows for the
             identification of Specific Training needs for specific subgrantees and also allows
             CEO WAP staff to identify issues that may occur across the entire subgrantee
             network, which could lead to additional Specific subgrantee network training as
             needed. This allows the subgrantee network greater program knowledge and a
             path to continuous improvement.
          d. Communication with Subgrantees: CEO WAP staff is in continuous
             communication with subgrantee staff on waiver requests, question and answers,
             T&TA calls and T&TA meetings. Frequently, the training needs of a subgrantee
             are best understood by themselves and are expressed accordingly. This
             interaction, and the information gathered from it, is vital to determining the
             training needs of agencies and their staff and to assess the overall health of the
             program..

RISK MANAGEMENT ASSESSMENT
Per CEO WAP policy, each subgrantee undergoes a Risk Management Assessment that
classifies each subgrantee as either a low, medium, or high risk to CEO WAP, and by
extension, all CEO WAP funding partners. This comprehensive Risk Management Assessment
includes a detailed, six-step audit of all aspects of subgrantee organizational methods,
financials, work quality, including the following risk factors as outlined in standard CEO WAP
policy. These risk factors include:
   1. Substantial financial or programmatic mismanagement is documented utilizing but not
      limited to the Administrative Monitoring Reports.
         a. “Substantial” is defined as disallowed costs of a large dollar amount (generally
              $1,000 or more, or of a repetitive nature).
   2. Gross or deliberate neglect of generally accepted workmanship standards as evidenced
      by utilizing QA Monitoring Reports.
         a. “Gross neglect” is defined as frequently recurring corrective action item
              deficiencies that have not improved through additional training and guidance.
   3. Production goals are not completed in a timely manner, according to the goals set forth
      in the current program year’s contract and as documented in monthly production
      reports.
   4. Substantial noncompliance with applicable rules and regulations as documented in
      Administrative Monitoring, Quality Assurance Monitoring, monthly production reports, or
      monthly fiscal reports.

                                                                                             25
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 244 of 556
                                      PageID #: 6174




CEO WAP implements subgrantee risk management assessment by applying a comprehensive
six-step risk management plan that includes the following steps:
   1. Identifying Standards for Subgrantee Success (can be considered low-risk)
   2. Identifying and Evaluating Relevant Stakeholders (actively involved, impacted by
      performance, and exert influence)
   3. Conducting Communication (inform and collaborate with stakeholders on risk
      management plan implementation)
   4. Conduct Risk Assessment (outline risk status, identification, categorization, impact and
      probability, and prioritization)
   5. Develop Avoidance, Mitigation, and Response (avoid and mitigate all risks, while
      implementing response plans for high priority risks)
   6. Oversight (systematic monitoring and control reviews)
Once the avoidance, mitigation, and response step is successfully implemented at the
subgrantee level and verified through oversight by CEO WAP, the subgrantee is then
reassessed with the intent of decreasing their overall risk status. This process allows CEO
WAP to identify specific subgrantee risks and, using a replicable process, enact comprehensive
change to reduce risk to the Grant. This provides CEO WAP with greater overall information,
allows CEO WAP to assess subgrantee compliance, and to increase overall program health.

SUBGRANTEE PROFILE COMPARISON
CEO WAP also assesses a subgrantee’s effectiveness based on comparisons to other
subgrantees with similar subgrantee profiles. These subgrantee profiles include elements that
are not necessarily financial in scope, things such as heating degree days, population
characteristics, size of territory served, region specific costs, budgets, subgrantee
organizational structures, and many other elements that have a direct impact on how effective
a subgrantee is in delivering service. By comparing subgrantees with similar subgrantee’s
profile, CEO WAP can better identify subgrantee deficiencies, long term program trends,
evaluate cost effectiveness of service, innovative best practices, and track the true financial
and administrative impact of changes to CEO WAP and DOE policies and procedures. This
allows CEO WAP to identify potential issues in advance and allows CEO WAP to continuously
update and tailor the program to preemptively address these issues. This process leads to long
term program stability, effective and responsible utilization of taxpayer funds, and overall
program health. This process also allows for the identification of training needs that exist within
the subgrantee network which allows CEO WAP to customize Specific training needs to
support both national comprehensive training and standards as well as CEO WAP and industry
best practice standards.

EQUITY, DIVERSITY AND INCLUSION (EDI)
On the ground, WAP subgrantees are expected to prioritize underserved populations, primarily
those who bear the highest energy burden, as well as approach working with members in the
practice of EDI at all times. For the past two years, CEO WAP has provided contracted EDI
training to the Colorado WAP network on a semiannual basis, encouraging the professional
growth of grantee and subgrantee staff. Recent topics have dealt with Principles of Inclusion,
Impact vs. Intent, Allyship, and Bias Awareness. Using an EDI lens to approach CEO WAP’s
work allows for conscientiously ensuring that Colorado residents and Colorado WAP Network
Staff are being served with equity.




                                                                                                26
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 245 of 556
                                      PageID #: 6175


Multiple members of CEO WAP staff are involved in an office-wide EDI working group striving
to improve the accessibility, hiring, and retention challenges that exist across the network. One
member of the CEO WAP team sits on the Hiring subcommittee for the EDI working group
which is working to foster a welcoming and inclusive environment through the editing of
language on job descriptions, work location and accessibility, and in the thoughtful review of
applications. CEO WAP staff additionally has a presence at the Colorado Equity Alliance as
well as the NASCSP Racial Equity Working Group. The CEO WAP Engagement Manager is
developing a statewide Workforce Advisory Group to further address EDI throughout Colorado
WAP.


V.7 Health and Safety
Per WPN 22-7 and 10 CFR 440.16, subgrantees are required to develop and implement
detailed Health and Safety plans to ensure the health and safety of both workers and clients at
all times. Subgrantee Health and Safety Plans must comply with all Occupational Safety and
Health Administration (OSHA) regulations, all Colorado (SWS) Field Guide Health and Safety
standards, all CEO WAP Health and Safety standards, as well as any other applicable State or
Federal health and safety regulations. Subcontractors hired to perform weatherization work for
a subgrantee are required to follow all Health and Safety standards as listed within the
subgrantee's Health and Safety Plans and the SWS. CEO WAP complies with all health and
safety requirements outlined in WPN 22-7.

Please reference “BIL Grantee Health and Safety Plan”.

V.8 Program Management
V.8.1 Overview and Organization
CEO WAP operates within the Colorado Energy Office (CEO). CEO WAP staff consists of:

Deputy Director: Dominique Gomez
Director: Stephanie Insinna-Sahondo
Senior Program Manager: Amy Miller
Engagement Manager: Michelle Butler
Senior Quality Manager: Andy Cordova
Salesforce Administrator: Sarah Burns
Quality and Technical Manager: Zac Stewart
Quality Manager: Jacob Wolff
Program Manager: Elizabeth Jaenicke
Contract Manager: Randi Nusser
Program Associate: Elizabeth Lenox
Program Associate: Barbara Pazos Brown
Quality Specialist: Mick McHone
Communications Associate: Erin Edwards

Other CEO staff provide support to the Weatherization Assistance Program, such as CEO
Executive Director Will Toor, Procurement Director Sara Graf, Director of Finance & Operations
Gregg Hefner, Senior Budget Analyst Natalie Doerre, Accountant Alex Lopez, and Office
Manager/HR Coordinator Susannah Blythe.




                                                                                              27
Case 1:25-cv-00039-JJM-PAS        Document 68-123        Filed 02/07/25    Page 246 of 556
                                    PageID #: 6176


ALLOCATION OF STAFF SALARY COLORADO PROGRAM YEAR 2021
Deputy Director: Admin 10%, T&TA 0%
Director: Admin 23.35%, T&TA 35.00%
Senior Program Manager: Admin 18.80%, T&TA 39.55%
Senior Program Manager:Admin 6.9%, T&TA 7.8%
Program Manager: Admin 18.80%, T&TA 39.55%
Program Associate: Admin 19.10%, T&TA 39.25%
Program Associate: Admin 12.28%, T&TA 36.82%
Program Associate: Admin 12.28%, T&TA 36.82%
Quality Manager: Admin 14.25%, T&TA 44.10%
Senior Technical and Training Manager: Admin 16.15%, T&TA 42.20%
Quality and Technical Manager: Admin 18.30%, T&TA 51.70%

ALLOCATION OF STAFF SALARY COLORADO PROGRAM YEARS 2022-2026
Deputy Director: Admin 4%, T&TA 4.5%
Director: Admin 6.9%, T&TA 7.8%
Senior Program Manager:Admin 6.9%, T&TA 7.8%
Senior Quality Manager: Admin 6.9%, T&TA 7.8%
Program Manager: Admin 6.9%, T&TA 7.8%
Contract Manager: Admin 6.9%, T&TA 7.8%
Quality and Technical Manager: 6.9%, T&TA 7.8%
Quality Manager: Admin 6.9%, T&TA 7.8%
Salesforce Administrator: 6.9%, T&TA 7.8%
Program Associate: Admin 6.9%, T&TA 7.8%
Program Associate: Admin 6.9%, T&TA 7.8%
Engagement Manager: Admin 6.9%, T&TA 7.8%
Quality Specialist: Admin 6.9%, T&TA 7.8%
Program Associate (communications): Admin 6.9%, T&TA 7.8%

SELECTION OF SUBGRANTEES
CEO WAP will utilize its request for applications (RFA) process for the commencement of
Program Year 2024. The subgrantees selected until then are as follows:

     (1) Region 2: Pueblo County Department of Human Services
     (2) Region 4: Housing Resources of Western Colorado (HRWC)
     (3) Region 5: Northwest Colorado Council of Governments (NWCCOG)
     (4) Region 7: Arapahoe County Weatherization Division
     (5) Region 8: Energy Resource Center (ERC)

All aforementioned subgrantees were CEO WAP local administering agencies during PY21 and
selected for PY22 based on the criteria outlined in 10 CFR 440.15.

Each subgrantee is a public or nonprofit entity, underwent the opportunity to be commented on
via the public hearing, have the requisite experience and history of performance, have
experience in assisting low-income persons in its areas to be served, and continue to
demonstrate the capacity to undertake a timely and effective weatherization program.

V.8.2 Administrative Expenditure Limits
The following budgetary caps are not to be exceeded by CEO WAP and by extension all
subgrantees:

                                                                                          28
Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25    Page 247 of 556
                                    PageID #: 6177


   1. No more than 15% of the BIL grant may be used by the grantee and subgrantees for
      administrative purposes.
   2. Not more than 7.5% may be used by CEO WAP for administrative purposes.
   3. No less than 7.5% must be made available to subgrantees by CEO WAP.

V.8.3 Monitoring Activities
Per WPN 20-4, CEO WAP is responsible for executing the activities identified in the BIL Plan
as approved by DOE. This responsibility includes ensuring that grant funds are expended in
accordance with applicable law, including the regulations contained in 10 CFR 440, Financial
Assistance Rule 2 CFR 200, Weatherization Program Notices, and other procedures that DOE
may issue. Specifically, CEO WAP is required to conduct monitoring and oversight of all
subgrantees in the following areas:
              1. Programmatic and Management Monitoring
                       a) Subgrantee Review
                       b) Financial/Administrative
                       c) Equipment/Inventory/Materials
                       d) Eligibility
                       e) Rental
                       f) Feedback and Reporting
                       g) Energy Audits
                       h) Field Work
                       i) Health & Safety
                       j) Quality Assurance Subgrantee Monitoring
                       k) Training & Technical Assistance
                       l) Staff or entity performing the monitoring
                       m) How monitoring results are handled and required follow-up
                          procedures
              2. Subgrantee Monitoring
                       a) Program Overview (Client File Review, Work Orders, etc.)
                       b) Financial/Administration
                       c) Inventory
                       d) Energy Audits
                       e) Qualifications & Training
                       f) Weatherization of Units
                       g) Health & Safety
                       h) Final Inspections
                       i) Staff or entity performing the monitoring
                       j) How monitoring results are handled and required follow-up
                          procedures
              3. Financial Monitoring
                       a) Financial Management/Accounting Systems and Operations
                       b) Audits
                       c) Payroll/Personnel
                       d) Vehicles and Equipment
                       e) Procurement
                       f) Invoicing
                       g) Records Retention
                       h) Staff or entity performing the monitoring
                       i) How monitoring results are handled and required follow-up
                          procedures Sub-awards/Subgrantee Monitoring


                                                                                         29
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 248 of 556
                                      PageID #: 6178


Per 10 CFR 440.12(b)(6), CEO WAP accomplishes oversight and monitoring of subgrantees by
conducting annual administrative and technical monitoring that allows CEO WAP staff with
specialized knowledge in these specific areas to assess subgrantee compliance. Per DOE
guidance, CEO WAP reserves the right to monitor more units than the baseline requirement for
subgrantees who have significant deficiencies. CEO WAP monitoring staff is comprised of one
FTE who is responsible for conducting administrative monitoring of subgrantees in relation to
financial and administrative functions, one 0.8 FTE certified QCI/0.2 FTE Trainer, and two 0.4
FTE certified QCI/0.6 FTE Trainers, who are responsible for performing technical monitoring of
subgrantees related to the installation of energy conservation measures and health and safety
repairs in clients’ homes. For the BIL grant period of PY22-PY26, the following individuals will
conduct monitoring of the following subgrantees:

Stephanie Insinna-Sahondo will be supervising the Administrative Monitoring efforts. Elizabeth
Jaenicke will be leading the efforts with support from Randi Nusser, Libby Lenox, and Barbara
Pazos: Administrative/Financial Monitoring – Pueblo County Department of Human Services,
Housing Resources of Western Colorado, Northwest Colorado Council of Governments,
Arapahoe County Weatherization Division, and Energy Resource Center.

Jacob Wolff: (0.8) Technical Monitoring /(0.2) Training – Pueblo County Department of Human
Services, Housing Resources of Western Colorado, Northwest Colorado Council of
Governments, Arapahoe County Weatherization Division, and Energy Resource Center

Andy Cordova: (0.4) Technical Monitoring/(0.6) Training – Pueblo County Department of
Human Services, Housing Resources of Western Colorado, Northwest Colorado Council of
Governments, Arapahoe County Weatherization Division, and Energy Resource Center

Zac Stewart: (0.4) Technical Monitoring/(0.6) Training – Pueblo County Department of Human
Services, Housing Resources of Western Colorado, Northwest Colorado Council of
Governments, Arapahoe County Weatherization Division, and Energy Resource Center

Mick McHone: (0.8) Technical Monitoring/(0.2) Training – Pueblo County Department of Human
Services, Housing Resources of Western Colorado, Northwest Colorado Council of
Governments, Arapahoe County Weatherization Division, and Energy Resource Center

A total of 9.3% of Administrative and 9.3% of T&TA funds are allocated for monitoring activities.

ADMINISTRATIVE MONITORING
Administrative monitoring of all subgrantees is conducted by either a Senior Program Manager
or Program Manager and Program Associates at a minimum of once per program year. During
an administrative monitoring, each subgrantee’s programmatic and financial management are
reviewed for compliance with DOE and CEO WAP policies and procedures. Following the
completion of an administrative monitoring, a Senior Program Manager or Program Manager is
required to complete and submit to the subgrantees the standard CEO WAP Administrative
Monitoring Report within 30 days of conducting the administrative monitoring.

Prior to the monitoring, subgrantees submit electronic versions of core policies, procedures,
financial audits, insurance certificates, and key operational documents for review and archiving.
Administrative monitoring is primarily concerned with addressing subgrantee performance in
the following areas:

1.     Organizational Information

                                                                                               30
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25     Page 249 of 556
                                      PageID #: 6179


2.      Outreach and Production
3.      Personnel
4.      Documentation
5.      Procurement
6.      Inventory
7.      Financial Management
8.      Review of previous administrative monitoring outcomes

Administrative monitoring allows CEO WAP staff to disseminate efficiencies by identifying
administrative best practices that can be shared with other subgrantees, thus, reducing
functional program requirements where feasible, building in quality checks for administrative
processes and procedures, and identifying ways of streamlining operations.

The Administrative Monitoring Report contains the following elements:

A.      Introduction
B.      Methodology
C.      Administrative Monitoring Review
D.      Client File Review
E.      Action Items
F.      Subgrantee Acknowledgment and Performance Statement

Upon receipt of the Administrative Monitoring Report, subgrantees have 30 days for an
authorized representative to sign the Administrative Monitoring Report, archive internally for
future reference, and provide corrective action plans back to CEO WAP addressing all
deficiencies identified during monitoring, per WPN 20-4. The corrective action plans must
identify a process and resolution to address a major deficiency and state a reasonable time
period for resolution to occur.

CLIENT FILE REVIEW
As part of administrative monitoring, a minimum of 5% of all BIL funded client files are provided
for review to ensure subgrantee compliance with DOE, BIL, and CEO WAP client file
requirements. In order to ensure transparency and consistency across all client file reviews,
CEO WAP uses the standard CEO WAP Pre-Interview & Client File Checklist. The checklist
includes the following elements, as applicable:

     1. Unit Information (i.e. funding source, heating fuel, job number, own or rent, priorities,
        structure type, year built)
     2. Eligibility and Permission (i.e. application date, call-back and go-back documentation,
        client complaint and resolution documentation, client sign and date application, copy of
        valid ID, deferral information, lawful presence affidavit, permission form for client and
        landlord if renter, permission to photograph, prequalified or income qualified,
        subgrantee sign and date application)
     3. Field Requirements (i.e. ASHRAE 62.2 calculation form, audit form, BWR accurate to
        application, combustion appliance zone (CAZ)summary, chemical sensitivity form, cost
        records and invoices, date of final QCI inspection, deviation documentation, duct
        testing, final inspection form, final QCI sign and date, health and safety
        inspection/notification form, HVAC system efficiency testing, mold/moisture assessment
        form, NEAT or MHEA audit/work order, NEAT or MHEA economic analysis report,
        permits, photo documentation, pre and post blower door tests, radon informed consent
        language/form, radon pamphlet received by client and landlord if renter, refrigerator

                                                                                              31
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 250 of 556
                                      PageID #: 6180


        replacement form, state waivers, subgrantee waivers, suspected asbestos material
        inspection form, utility data consent forms, ventilation calculation form)
   4.   Renovate Right Procedures (RRP) (i.e. certified renovator certificate, lead safe
        pamphlet
   5.   State Historic Preservation Office (SHPO) (i.e. historical documentation, historical
        property, required SHPO review)
   6.   Landlord Contribution (i.e. contribution amount, date of landlord payment)
   7.   Rooftop PV (i.e. cost records and invoices, DOE project officer approval email, rooftop
        PV final inspection form, rooftop PV owner agreement, solar assist grant form, solar site
        assessment, solar workbook printout)

Included in the Administrative Monitoring Report are details regarding deficient areas of client
files. Subgrantees are required to develop action plans based on deficiencies and are required
to regain compliance prior to the end of the program year. CEO WAP staff check to ensure that
any issues that occur with client file documentation are corrected by the subgrantee in
accordance with the severity of the violation.

ANTICIPATED PY22-PY26 ADMINISTRATIVE MONITORING SCHEDULE
Due to costs associated with administrative monitoring, CEO WAP typically conducts the
administrative monitoring and client file review during the same visit, however, due to unit
production schedules and when units are reported as closed, this can sometimes pose a
challenge. As a result,CEO WAP may or may not be able to complete both portions of the
review at the same time. The schedule, which is subject to change, for PY22-PY26 is:

R7: Arapahoe, December 2022
R2: Pueblo, January 2023
R8: ERC, February2023
R5: NWCCOG, March 2023
R4: HRWC, May 2023

Additionally, CEO WAP will perform an annual review of subgrantee Financial Audits.

TECHNICAL MONITORING
Technical monitoring of subgrantees allows CEO WAP Quality Management Team to assess
subgrantee work in regards to the quality installation of weatherization materials, incidental
repair measures and health and safety measures. The technical monitoring schedule typically
begins in late August and runs through the end of June and is dependent upon when
subgrantees report closed units for BIL jobs. When the subgrantee reports an adequate
number of BIL jobs as being closed, members of CEO WAP Technical team inspect the work to
ensure the work is being completed in accordance with BIL, CEO WAP, and SWS standards,
policies, rules, and regulations.

The quality of the field work and client service is assessed by conducting onsite visits of homes
served at various stages in the production process (during initial audits, while work is in
progress, accompanying the subgrantee inspector, or after the home has been reported to the
state as a completed unit). A minimum of 5% of completed units receive an onsite inspection
by the CEO WAP Quality Management Team. This approach provides the greatest possible
insights into the subgrantee's processes and how these processes might be affecting quality.
Also, the opportunity to have a positive impact upon local performance is increased by
interacting with the local field staff during the work, thus providing immediate feedback, rather
than just communicating feedback to them indirectly via reports which are addressed to

                                                                                              32
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 251 of 556
                                       PageID #: 6181


management staff. This will allow both state and subgrantee staff to ascertain the overall
quality of measures and to recognize trends, both within the subgrantees' organization and
throughout the state. Statewide or region-wide problems will be addressed in group training
and seminars. The specific needs of an individual subgrantee will be addressed through T&TA
visits. Work quality is assessed and recorded via Technical Monitoring Reports that are issued
to each subgrantee by CEO WAP staff within 30 days of the visit, following a QA monitoring.
These reports are used to identify areas of strength and weakness found during the QA visits,
and identify quality issues related to the installation of weatherization materials. CEO WAP
Quality Management Team classify inspected work into one of the following categories:


   1. No Corrective Action Deficiencies       – No deficiencies constituting substantial
      noncompliance with CEO WAP Program Guidance or the SWS.
   2. Corrective Action Deficiencies – Deficiencies constituting substantial noncompliance
      with CEO WAP Program Guidance or the SWS.
   3. Recommendation – Conditions observed that do not constitute substantial
      noncompliance with CEO WAP Program Guidance or the SWS.
   4. Best Practice – Work installed or weatherization processes completed that are
      exemplary in nature.
Once the QA report has been completed, CEO WAP Quality Management Team forward the
report to the appropriate subgrantee's designated point of contact, and request a signature
indicating that the subgrantee has read the QA report in its entirety. The subgrantee has 30
days from receipt of the report to return a signed copy indicating the subgrantee has read the
report, and, in the case of corrective action deficiencies, have developed an action plan for
remedying all corrective action deficiencies.

VIRTUAL TECHNICAL MONITORING PLANS
The virtual technical monitoring plan will only be used in the event of pandemic level shut
downs as in the case of COVID-19.

Technical Monitoring (Final Inspection by Grantee):
Virtual Technical Monitoring would consist of receiving the contents of the client file before the
virtual site visit. The file review would be completed, and any questions or comments noted so
the grantee monitor could respond during the virtual site visit. For the actual site visit, we would
have the subgrantee conduct a live streaming application so the grantee monitor could observe
the completed work and all diagnostic testing. We would be using all the same forms,
checklists, and procedures we do when on site. This virtual technical monitoring will be
conducted to satisfy the grantee final inspection requirement (5%) of completed units.

   Step Process:

   1. A completed unit that needs a final inspection is selected and the client file is sent to
      grantee staff electronically.
   2. The monitors view the contents of the file and view the home via Google Earth if
      available. Notes are made in preparation.
   3. The subgrantee is present for the final inspection and will video call the grantee monitor
      from the vehicle when they arrive on site.
   4. The subgrantee conducts the inspection, and holds the device for very clear and
      focused zooming on the inspection that is being done. The subgrantee may have more
      than one device on hand as a backup if the first one battery life is not long enough to


                                                                                                 33
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 252 of 556
                                      PageID #: 6182


        support the entire final inspection. The subgrantee describes each activity like they
        would during a proctored field exam.
   5.   Everything that the subgrantee would normally do is completed and video streamed
        with the grantee monitor. The grantee will ask the team of inspectors to slow down,
        stop, explain, or show a closer shot of certain measures as needed.
   6.   The diagnostic testing is highly important, and the camera must be angled to clearly see
        the meters, gauges, location of testing, and appliance operation. It is assumed this will
        take the most time of the inspection.
   7.   As the final inspection is ending, the grantee monitor gives the inspectors an
        opportunity to address anything they might have missed.
   8.   If it appears the home is being left in an unsafe manner, the grantee monitor alerts the
        inspectors so that it can be corrected, and notations are made for the monitoring letter.
        Observations are made about how the inspectors addressed problems with the work or
        missed opportunities.
   9.   The final inspection visit is compared to the client file, and is a technical tool for
        consistency as the final inspection procedures are concluded.

Technical Monitoring (Work-In-Progress):
The virtual Technical Monitoring for work-in-progress jobs would consist of subgrantee staff
conducting a live streaming application where the grantee monitor could observe the work
being performed and view any diagnostic testing. We would be using all the same forms,
checklists, and procedures we do when on site.

    Step Process:
    1. A client is selected from homes that have been assessed with materials and supplies
       on hand. If possible, select a home with multiple measures being installed to gain a
       wide understanding of the subgrantee’s overall field practices. The client name and
       address are sent to grantee staff prior to the virtual monitoring visit.
    2. Once the subgrantee’s staff has unloaded their equipment and started work, they will
       contact the grantee monitor for a group video call. This occurs from the vehicle to obtain
       street view.
    3. The grantee monitor will observe the staff working from the street view and approach
       the person operating the device and tour the job site. The person operating the device
       should be familiar with that home’s scope of work to know what areas of the home to
       view. It will be requested that the tour is slowed with closer zooms on areas the grantee
       monitors need to see with more detail.
    4. Each worker starting with the crew leader is asked what they are working on and how
       they are doing it.
    5. The grantee monitor views the condition of the vehicles and tools and views safety
       equipment, location of Personal Protective Equipment (PPE), and Field Guides.
    6. Specific areas of work in progress are compared against the grantee Field Guides and
       general OSHA compliance and safety practices are observed.
    7. Safety violations or concerns are immediately brought up and communicated to the
       crew leader.
    8. If it appears something is being missed, or not addressed properly, the team is given a
       chance to explain the reasoning.
    9. The notes and video are later reviewed and compared to the technical tool for
       conclusion of the work-in-progress monitoring.

Client File Review:


                                                                                              34
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 253 of 556
                                      PageID #: 6183


The grantee will review all client files and documents at the subgrantees’ office. Documents will
be scanned and sent to the grantee staff prior to the meeting. The grantee staff would review
the documents before the site visit. The subgrantee will redact confidential client information
and/or utilize a secure file transfer protocol (FTP) so confidential information can be safely
shared between the local subgrantee and the grantee staff. The following steps will be
followed:

    Step Process:
    1. Grantee staff will choose the required number of client files to review from the list of
       recently completed jobs. They will provide the request to the local subgrantee.
    2. Grantee staff will review the files and note any questions or concerns.
    3. The interview is scheduled with the subgrantee involving key staff.
    4. When the interview is complete, the information will be organized with any issues noted
       for follow-up during the virtual field visits.
    5. If there are major deficiencies based on the subgrantee’s answers and provided
       information, that will also be documented in the monitoring report.

BIL ONSITE MONITORING
Per WPN 20-4, CEO WAP will provide all requested documents to the DOE Project Officer
pertaining to the following areas during any BIL monitoring of CEO WAP or subgrantees:

Grantee Program Materials
   1. Grantee and subgrantee most recent amended agreement
   2. Completed subgrantee monitoring reports
   3. Monitoring tool/instrument
   4. Procedures manuals for program implementation (with technical reports)
   5. Most recent grantee support contract/training entities or other contracted activities
   6. Procurement documentation related to agreements
   7. Inventory tracking and records

Subgrantee Program Materials
   1. Current grantee State Plan & BIL Plan
   2. Most recently amended award with the grantee
   3. Grantee Weatherization Policies and Procedures
   4. Copies of files of homes to be reviewed and/or visited
   5. Inventory tracking materials (if applicable)
   6. Subcontractor Contracts
   7. Procurement documents to verify competition
   8. Most recent documentation of grantee monitoring visit
   9. Costs and fixed price list (materials, services, audits, inspections, etc.)
   10. CEO WAP shall confirm receipt of these requests and shall provide all documentation
       within the time period designated by the DOE Project Officer in all instances.

Detailed monitoring schedules for Administrative, Fiscal, and Technical Monitorings for the
span of the grant period can be found in the BIL Planning Workbook.

V.8.4 Training and Technical Assistance (T&TA) Approach and Activities
CEO WAP places a high priority on training and technical assistance (T&TA) to ensure the
delivery of high quality, safe, cost-effective, and consistent energy efficiency and health and
safety services throughout the State of Colorado. To support this goal, CEO WAP training


                                                                                              35
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 254 of 556
                                      PageID #: 6184


programs focusing on providing specific training and technical assistance to all subgrantees
while maintaining strong and consistent program administration of BIL funds. Comprehensive
training is provided by IREC entities and are typically related to certifications. The following
sections provide a detailed outline of the comprehensive and specific technical training, as well
as the administrative training that all occur under the umbrella of the CEO WAP T&TA program.
CEO WAP complies with all training and technical assistance requirements outlined in WPN
22-4.

WORKFORCE EFFORTS
The Workforce Advisory Group working to further address Equity, Diversity and Inclusion
throughout Colorado WAP will also be working on growing administrative and technical
trainings to fortify our current staff capacity and engage more with potential employees
throughout the state. A collaboration with the National Association of State Energy Officials
(NASEO) and Markle is underway, currently working to identify representatives from relevant
unions, education or training institutions, and private sector employers specific to the clean
energy workforce in Colorado.

ADMINISTRATIVE TRAINING
CEO WAP staff conduct administrative training up to three times a year. The first annual
administrative training is the Winter Meeting in which CEO WAP staff and subgrantees meet for
two days to discuss CEO WAP program guidance, regulatory issues, and other administrative
topics and changes that will be applicable to subgrantees in the upcoming program year. The
second administrative training performed by CEO WAP staff on a regular basis is the 2 CFR
200 training which all subgrantees are invited to attend. The 2 CFR 200 training is conducted
by an outside contractor who provides CEO WAP staff and subgrantees with information
regarding Federal fiscal policies, processes and changes that will be applicable for CEO WAP
staff and subgrantees in the upcoming program year. The final administrative training occurs in
the summer/fall, usually within a few months of the beginning of the new program year. This
CEO WAP Summer Meeting provides subgrantees and CEO WAP staff the opportunity to
discuss changes in CEO WAP policy, understand program goals, and provide greater
information as to the structure and process of the new program year. Training occurs on CEO
WAP processes and procedures, reporting dates, database training, allowable and unallowable
costs, and other administrative-based information.

In addition to these planned training events, a CEO WAP Senior Program Manager conducts
subgrantee specific administrative training as needed. Administrative training is focused on
providing, single issue, short term training to subgrantees on CEO WAP policies, procedures,
database, forms, fiscals, and other administrative elements as needed.

COMPREHENSIVE TECHNICAL TRAINING
Per WPN 22-4 CEO WAP has developed and implemented a comprehensive, statewide
subgrantee Technical Training Plan for PY22-PY26 that meets the requirements for
comprehensive training as found in the National Renewable Energy Laboratory (NREL) Job
Task Analysis (JTA) for QCI, Crew Leaders, Retrofit Installers, and Energy Auditors.

Per DOE standards, all subgrantee Inspectors, retrofit installers, crew leaders, and Energy
Auditors are required to receive comprehensive training from an Interstate Renewable Energy
Council (IREC) accredited program whose curriculum is aligned with the Job Task Analysis
(JTA) for that occupation as identified by NREL. In order to ease the training burden, each
subgrantee may select the training delivery method (i.e. in person, via distance learning, or a
hybrid approach) that best meets the needs and capabilities of each subgrantee.

                                                                                              36
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 255 of 556
                                       PageID #: 6185




In order to maintain program continuity from a production and certification standpoint,
subgrantees will be required to use the following timeline for certification of all subgrantee and
subcontractor employees whose primary and secondary responsibilities fall within each of the
associated JTA’s.

CEO maintains workforce credentials through a partnership with the EnergySmart Academy
(ESA) at Santa Fe Community College, which is a nationally recognized weatherization and
energy efficiency training center that offers in-person and online training to its WAP
subgrantees.

For the upcoming program year 2022, CEO will cover the cost of tuition for field and
administrative staff that wish to take the following online courses offered by ESA as follows:
Energy Auditor, Building Science Principles, Quality Control Inspector, Multifamily Quality
Control Inspector, Retrofit Installer Technician, Crew Leader, Advanced Retrofits- Smart
Thermostats, Energy Auditing Software, Cold-Climate Heat Pumps, Healthy Home Evaluator-
The Essentials of Healthy Home, and other available classes offered.

The courses offered by ESA qualify for Continuing Education Units (CEU) from BPI, and can
therefore be applied to the required CEUs needed for recertification of existing credentials.

SUBGRANTEE EMPLOYEES
QUALITY CONTROL INSPECTORS:
CEO WAP subgrantees are required to have all individuals that are either full-time or part-time
Inspectors complete comprehensive training and be certified as a BPI QCI. Inspectors that are
hired must receive their QCI certification prior to conducting any final inspections for a
subgrantee. In order to maintain program transparency, subgrantees are required to identify all
Quality Control Inspectors on staff, as well as the date that each QCI certification expires, on
the subgrantee Training Plan that is submitted annually to CEO WAP. Subgrantees will be
responsible for ensuring certifications of all QCI are maintained and valid at all times and are
responsible for recertification in all instances. In addition to QCI certifications, all inspectors
must receive an OSHA 30 and Lead Safe Renovator certifications. Additionally, a minimum of
one subgrantee employee, not necessarily an inspector, must be a Colorado Certified Asbestos
Inspector. Subgrantee QCI are required to receive comprehensive training only when they are
renewing existing certifications. Certifications will be renewed and updated prior to expiration.

RETROFIT INSTALLERS, CREW LEADERS, AND ENERGY AUDITORS:
Subgrantee employees whose primary and secondary duties fall under the JTA’s for Retrofit
Installers, Crew Leaders, and Energy Auditors are required to undergo comprehensive training
and certification after the employees' existing Building Performance Institute (BPI) certifications
have expired.

In order to maintain program transparency, subgrantees are required to identify all retrofit
installers, crew leaders, and Energy Auditors that are on staff, as well as the date that each
certification expires on the Training Plan that is submitted annually to CEO WAP. Subgrantees
will be responsible for ensuring certifications of all retrofit installers, crew leaders, and Energy
Auditors are maintained and current at all times and are responsible for recertification in all
instances. OSHA 30 or CPR/ First Aid certification is required for crew leaders. Additionally, a
minimum of one subgrantee employee, must have a Colorado Department of Public Health and
Environment (CDPHE) Certified Asbestos Building Inspector on staff.


                                                                                                 37
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 256 of 556
                                      PageID #: 6186


SUBCONTRACTORS
QUALITY CONTROL INSPECTORS:
Subgrantees are allowed to hire subcontractors to perform final inspections of BIL funded units
provided that the inspector is QCI certified. Subgrantees are required to verify that all
subcontractors hired to conduct a final inspection are QCI certified at all times, and that the
QCI has not had any prior contact with the unit per the independent QCI model that has been
adapted for the program.

SUBCONTRACTOR RETROFIT INSTALLERS, CREW LEADER, AND ENERGY AUDITOR
Subcontractors hired by subgrantees are not required to have retrofit installers, crew leaders,
and Energy Auditor certifications, however all work performed by subcontractors must meet the
standards and practices found in the SWS and SWS. Subgrantees are responsible for
distributing applicable SWS guidelines to all subcontractors and are also responsible for
ensuring all work performed by subcontractors meets the standards as found in the SWS at all
times. Work performed that does not have an associated SWS standard, must comply with all
DOE SWS & Field Guide standards, if applicable. Work performed by subcontractors that do
not have an associated SWS or DOE SWS must be compliant with CEO WAP Policies.

Agency Trainers may invite subcontractors to participate in local field training or provide
on-the-job training to subcontractors on the job-site. Subcontractors are encouraged to enroll in
subgrantee training courses, such as the BPI certification courses or field internships. T&TA
funds may be used to train contractors, provided that the subcontractor is participating in the
program during the program year. In making the determination for contractor participation in
training with grant funds, subgrantees must secure a retention agreement in exchange for the
training. The contract agreement must stipulate that contractors will work in the program, at a
minimum, for a specific amount of time that aligns with the cost of the T&TA provided.
Subgrantees must obtain approval to enter into such agreements by CEO prior to engaging
with the contractor. After the approval process, proof of agreement in the form of a contract
must be provided to CEO before contractors can receive scholarship compensation. CEO will
only compensate for tuition costs. Travel, per diem, and other ancillary costs associated with
training will not be approved.

SPECIFIC TECHNICAL TRAINING
Specific Trainings consist of single issue, short-term training designed to address acute
deficiencies in the field or in day-to-day program management, or based on Quality Assurance
Inspection deficiencies. The primary objective of Specific training is to review the work flow
process, identify inefficiencies, and to discuss ways to improve the overall processes of
subgrantees. Specific training is conducted by CEO WAP Quality Management Team and other
approved training entities. All subgrantees will receive specific training during PY22-PY26.
specific training consists of training in all elements of CEO WAP, and SWS Policies, including,
but not limited to: combustion appliance testing, pressure diagnostics, NEAT/MHEA, work order
development, SWS, ASHRAE 62.2.2016, manufactured homes, measures installation, and
other trainings as requested. Training typically includes classroom training and hands-on
training out in the field. In addition, a general review of the training objectives and an overview
of the Weatherization Assistance Program from a national and state perspective will be
conducted at each subgrantee training. Additionally, general work processes including job set
up, safety, and good or best practices will be covered in the initial training review and
throughout the training process.




                                                                                                38
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25       Page 257 of 556
                                       PageID #: 6187


Other, more specific Specific training needs are assessed by CEO WAP Quality Management
Team via four methods, they are:
   1. Site Visits provide an opportunity for the CEO WAP Quality Management Team to
       assess subgrantee work quality and compliance with the SWS and CEO WAP Policies
       and Procedures. Site visits consist of evaluating completed and in-progress work for
       adherence to the SWS standards, review of client files to ensure adherence to CEO
       WAP policies, and to identify subgrantee specific issues that require additional training.
       Onsite visits help the CEO WAP Quality Management Team to identify specific
       subgrantee training needs as well as best practices that one subgrantee may have
       developed that could be used by other subgrantees. All site visits performed by the
       CEO WAP Quality Management Team have an associated Quality Assurance (QA)
       Report for that visit that provides detailed analysis of the work performed by the
       subgrantee on completed BIL units. Once the QA Report for a subgrantee has been
       completed, the CEO WAP Quality Management Team                      meets to discuss the
       subgrantee’s overall performance, outstanding issues and concerns to be aware of
       during future visits. During these meetings, subgrantee specific training needs are
       identified and discussed. If subgrantee specific training is deemed necessary, the
       technical team will create a training plan that will address these deficiencies. If
       corrective action item deficiencies are identified during the visit, specific action items
       are discussed and responses are required by the subgrantee. These reports, including
       their corrective action item deficiencies, are stored on the CEO WAP database and
       reviewed before the subgrantee’s next QA visit to ensure the problem has been
       resolved and the subgrantee complies moving forward.
   2. All information relating to installed measures are collected through the CEO WAP
       database, and can be sorted, compared and evaluated in real time. This data provides
       insights regarding costs per unit, costs related to field functions or office functions, types
       of energy efficiency and health/safety measures being performed and their relative
       frequencies, and beginning and ending air leakage rates. Each month, reports including
       subgrantee specific production analysis (including all installed measures and their
       costs) and fiscal analysis (including budget to actual reports) are completed and posted
       on the CEO WAP database. CEO WAP monitors this data to determine if agencies are
       underperforming or lacking proficiency in any one particular area. Outliers are
       determined and necessary Specific training activities are developed by the technical
       team. This data, along with the site visit information, provides a starting point for
       empirical and qualitative assessment of the effectiveness of the work being performed.
   3. External QA reports that are reviewed include, but are not limited to: DOE Project
       Officer monitoring reports, internal state audits, and IG reports. CEO WAP examines
       ALL quality assurance monitoring reports to identify recurring quality deficiencies within
       specific measures and/or processes.
   4. CEO WAP maintains copies of all standards and policies, including the SWS, CEO
       WAP Policies and Procedures, and all other technical requirements on the CEO WAP
       database, to which all subgrantees have access to. Upon updating the rules,
       regulations, or standards of any documents, CEO WAP emails a copy of the changed
       requirements to the Program Director of each subgrantee and requests that each
       Director send back an email stating that they have received the updated requirements.
       In addition, CEO WAP staff update the control copy on CEO WAP database with the
       updated information so that all subgrantees have access to the most recent standards.
CLIENT EDUCATION
Per CEO WAP Policies and Procedures all clients are provided with education about the
materials being used in their homes. Educational pamphlets are discussed and provided to the

                                                                                                  39
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 258 of 556
                                       PageID #: 6188


clients about materials already present in the home that may be detrimental to the health of the
client, such as asbestos, lead, and radon. Upon receipt of these documents all clients are
required to sign and date that they have been notified of the potential dangers of having these
substances in their home. Materials created and provided to clients for educational purposes
also include, but are not limited to, information on solar photovoltaic systems, insulation,
appliances in the home, thermostats, etc. All grantee and subgrantee staff assist in client
education on an as-needed basis.

It is the responsibility of the Energy Auditor and crew lead, to review the measures to be
completed in the home before work commences, as well as educate clients about the
potentials for energy savings and operating any appliances which may be added or replaced.

EO WAP Quality Management Team
TRAINING:
CEO WAP Quality Management Team maintains the highest levels of training in DOE and
industry standards in order to ensure quality and consistency in reviewing subgrantee work.
CEO WAP Quality Management Team are required to hold a QCI, Asbestos Building Inspector
(ABI), and Renovation, Repair, and Painting (RRP) certification from the Environmental
Protection Agency (EPA), and an OSHA 30 certification. In addition, CEO WAP Quality
Management Team may have other certifications that assist in their ability to perform QA
inspections of subgrantee work. CEO WAP Quality Management Team members doing
Quality Assurance inspections meet the certification requirements as outlined above.

PERCENT OF OVERALL TRAININGS
Comprehensive Trainings: 14%
Specific Trainings: 86%

BREAKDOWN OF T&TA TRAINING BUDGET
Percent of budget allocated to Auditor/QCI trainings: 16%
Percent of budget allocated to Crew/Installer trainings: 41%
Percent of budget allocated to Management/Financial trainings: 43%

V.9 Energy Crisis and Disaster Response Plan

The purpose of the CEO WAP Disaster Relief Plan is to provide weatherization emergency
services to low-income individuals and families affected by a disaster as determined by a
Presidential or Gubernatorial order declaring either a Federal or State Emergency. The disaster
generally involves the following phases: the crisis itself, cleanup, and repair or rebuilding of the
area. It is not uncommon for weatherization work to be suspended during the crisis and early
cleanup period until such time as community services including electricity, water and other
infrastructure can be restored. The plan will be in effect dependent upon the anticipated
recovery period.

Disaster relief services are only available to qualified low-income residential households
directly affected by the declared disaster. Local agencies are required to identify and provide
weatherization assistance to elderly persons, persons with disabilities, and families with
children five and under. However, in the case of a declared disaster, households located in the
disaster area can take top priority as long as the households are income eligible and meet one
of the priorities established in regulation and are free and clear of any insurance claim or other
form of compensation resulting from damage incurred from the disaster. Local authorities must


                                                                                                 40
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 259 of 556
                                     PageID #: 6189


deem the dwelling unit salvageable as well as habitable and if the damage to the materials is
not covered by insurance or other form of compensation.For qualified households, the unit
allowance will be a maximum of $6,500 as permitted by DOE WPN 19-5.

The use of BIL funds to pay for weatherization personnel to perform relief work in the
community as a result of a disaster are not allowable. Allowable expenditures under WAP
include:


   1. The cost of incidental repairs to an eligible dwelling unit if such repairs are necessary to
      make the installation of weatherization materials effective.
   2. The cost of eliminating health and safety hazards, elimination of which is necessary
      before the installation of weatherization materials. To the extent that services are in
      support of eligible weatherization (or permissible re-weatherization) work, such
      expenditure would be allowable. For example, debris removal at a dwelling unit so that
      the unit can be weatherized would be an allowable cost. Debris removal from a dwelling
      unit that is not to be weatherized would not be an allowable cost.
   3. Guidance under WPN 22-7 will determine the allowability of installed Health and Safety
      Measures for affected homes in the disaster area.
   4. Applications will be taken to determine and verify eligibility for potential.
   5. Low-income individuals affected by the disaster. Reporting will be the same as normal
      requirements with notes indicating in the comment section that the unit was
      weatherized as a result of the disaster. All measures must be cost justified using the
      DOE approved energy audits, i.e. NEAT/MHEA with a SIR of 1.0 or greater. Incidental
      repairs can be made to preserve or protect a measure and should be cost justified
      within the measure(s) identified in the assessment per DOE guidance WPN 19-5. Any
      unusual circumstances will require the pre-approval of CEO WAP staff and possibly
      pre-approval of DOE.
   6. Any low-income qualified home damaged by disaster such as flooding can be
      re-weatherized without regard to the date of weatherization, if the damage to materials
      is not covered by insurance.
   7. All remaining measures are to be installed in order of priority in accordance with CEO
      WAP Policies and Procedures for managing the Low-Income Weatherization Assistance
      Program.
   8. Local agencies may use Weatherization vehicles and/or equipment to help assist in
      disaster relief provided WAP is reimbursed according to 2 CFR 200 rules.
      Weatherization personnel can be paid from BIL funds to perform functions related to
      protecting the BIL investment. Such activities include: securing weatherization
      materials, tools, equipment, weatherization vehicles, or protection of local subgrantee
      weatherization files, records and the like during the initial phase of the disaster
      response.




                                                                                               41
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 260 of 556
                               PageID #: 6190




                   EXHIBIT J
Toor Declaration Exhibit J
        Case 1:25-cv-00039-JJM-PAS                                Document 68-123                  Filed 02/07/25           Page 261 of 556
                                                                    PageID #: 6191
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-EE0009976                                                 0001                         07/01/2022                  81.042
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
COLORADO ENERGY OFFICE                                                  Energy Effcy & Renewable Energy
                                                                                                                                          07/01/2022
Attn: Vanessa Dam                                                       EE-1                                                              through
1580 LOGAN STREET, SUITE 100                                                                                                              06/30/2027
                                                                        U.S. Department of Energy
DENVER CO 802031940
                                                                        1000 Independence Avenue, S.W.
                                                                        Washington DC 20585


8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           117-58 Infrastructure Investment and Job                               23EE000467
     Cooperative Agreement         109-58 Energy Policy Act 2005
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
COLORADO ENERGY OFFICE                                                    Govt. Share: $50,064,163.00                   This action:
Attn: Vanessa Dam                                                                                                       $17,522,457.00
1580 LOGAN STREET, SUITE 100                                              Cost Share : $0.00                            Total      :
DENVER CO 802031940                                                                                                     $25,032,081.00
                                                                          Total             : $50,064,163.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   Jonny M. Muckey                                      Golden Field Office
                                                   Phone: 202-287-1809                                  U.S. Department of Energy
                                                                                                        Golden Field Office
                                                                                                        15013 Denver West Parkway
                                                                                                        Golden CO 80401


17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 2
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data



21. Research Title and/or Description of Project
BIL: WAP – Colorado


                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Nicholas C. Oscarsson                                     01/20/2023
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 262 of 556
                                                        PageID #: 6192
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-EE0009976/0001                                                               2              3
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           DUNS Number: Not Available
           UEI: JLVGQ4E7RD53
           The purposes of this modification are to:

           1) Approve the full Grantee Plan;

           2) Provide incremental funding of 35% of total
           grantee allocation, as shown in Block 13;

           3) Delete and replace Attachment 3, Budget
           Information; and

           4) Add Attachment 4, Annual File; Attachment 5,
           Master File; and Attachment 5a, Health and Safety
           Plan.

           The Project Period for this award is 07/01/2022 –
           06/30/2027, consisting of the following Budget
           Period:

           Project Period and Budget Period: 07/01/2022 to
           06/30/2027.

           In Block 7 of the Assistance Agreement, the
           Period of Performance reflects the beginning of
           the Project Period through the end of the current
           Budget Period.

           All other terms and conditions remain unchanged.

           DOE Award Administrator: Denise McCracken
           Email: Denise.Mccracken@ee.doe.gov
           Phone: 240-562-1485

           DOE Project Officer: Jon Muckey
           E-mail: Jon.Muckey@ee.doe.gov
           Phone: 202-287-1809

           Recipient Business Officer: Stephanie
           Insinna-Sahondo
           E-mail: stephanie.insinnasahondo@state.co.us
           Phone: 720-384-4220

           Recipient Principal Investigator: Elizabeth
           Jaenicke
           E-mail: elizabeth.jaenicke@state.co.us
           Phone: 303-335-5119


           Electronic signature or signatures as used in
           this document means a method of signing an
           Continued ...
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 263 of 556
                                                        PageID #: 6193
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-EE0009976/0001                                                               3              3
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           electronic message that—

           (A) Identifies and authenticates a particular
           person as the source of the electronic message;
           (B) Indicates such person's approval of the
           information contained in the electronic message;
           and,
           (C) Submission via FedConnect constitutes
           electronically signed documents.




           ASAP: YES Extent Competed: NOT COMPETED
           Davis-Bacon Act: YES PI: Jaenicke, Elizabeth
           Fund: 05461 Appr Year: 2022 Allottee: 31 Report
           Entity: 200835 Object Class: 41020 Program:
           1004759 Project: 0000000 WFO: 0000000 Local Use:
           0000000
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 264 of 556
                               PageID #: 6194
                                                                                   JULY 2004
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 265 of 556
                               PageID #: 6195




                 EXHIBIT K
Toor Declaration  Exhibit K
         Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 266 of 556
                                               PageID #: 6196




                              Bipartisan Infrastructure Law (BIL)
                                Special Terms and Conditions
         The Grantee (“Recipient”), which is identified in Block 5 of the Assistance Agreement, and the
         Office of Energy Efficiency and Renewable Energy (“EERE”), an office within the United States
         Department of Energy (“DOE”), enter into this Award, referenced above, to achieve the project
         objectives stated in this Award.

         This Award consists of the following documents including all terms and conditions therein:

                                      Assistance Agreement Form
                                      Special Terms and Conditions
                    Attachment 1      Intellectual Property Provisions
                    Attachment 2      Federal Assistance Reporting Checklist and
                                      Instructions
                    Attachment 3      Budget Information SF-424A
                    Attachment 4      Annual File
                    Attachment 5      Master File
                    Attachment 5a     Health and Safety Plan
                    Attachment 6      NEPA Determination

            The following are incorporated into this Award by reference:
                     ● DOE Assistance Regulations, 2 CFR part 200 as amended by 2 CFR part 910 at
                        http://www.eCFR.gov.
                     ● Public Law 117-58 Bipartisan Infrastructure Law (BIL)
                     ● National Policy Requirements (November 12, 2020) at
                        http://www.nsf.gov/awards/managing/rtc.jsp.
                     ● The Recipient’s application/proposal as approved by EERE.
                     ● Applicable program regulations at http://www.eCFR.gov, including 10 CFR Part
                        440 – Weatherization Assistance for Low-Income Persons.
Case 1:25-cv-00039-JJM-PAS                 Document 68-123           Filed 02/07/25       Page 267 of 556
                                             PageID #: 6197                          Special Terms and Conditions
                                                          Colorado Energy Office Award No. DE-EE0009976.0000
          ​                                                 ​


​                          ​               Table of Contents
Subpart A. General Provisions​                                                                                 4

    Term 1.​    Legal Authority and Effect​                                                                    4
    Term 2.​    Flow Down Requirement​                                                                         4
    Term 3.​    Compliance with Federal, State, and Municipal Law​                                             4
    Term 4.​    Inconsistency with Federal Law​                                                                4
    Term 5.​    Federal Stewardship​                                                                           4
    Term 6.​    Federal Involvement​                                                                           4
    Term 7.​    NEPA Requirements​                                                                             6
    Term 8.​    Historic Preservation​                                                                         7
    Term 9.​    Performance of Work in United States​                                                          8
    Term 10.​   Foreign National Involvement​                                                                  9
    Term 11.​   Reporting Requirements​                                                                        9
    Term 12.​   Lobbying​                                                                                      9
    Term 13.​   Publications​                                                                                 10
    Term 14.​   No-Cost Extension​                                                                            10
    Term 15.​   Property Standards​                                                                           10
    Term 16.​   Insurance Coverage​                                                                           11
    Term 17.​   Real Property​                                                                                11
    Term 18.​   Equipment​                                                                                    11
    Term 19.​   Supplies​                                                                                     12
    Term 20.​   Property Trust Relationship​                                                                  12
    Term 21.​   Record Retention​                                                                             12
    Term 22.​   Audits​                                                                                       12
Subpart B. Financial Provisions​                                                                              13
    Term 23.​   Maximum Obligation​                                                                           13
    Term 24.​   Continuation Application and Funding​                                                         14
    Term 25.​   Refund Obligation​                                                                            14
    Term 26.​   Allowable Costs​                                                                              15
    Term 27.​   Indirect Costs​                                                                               15
    Term 28.​   Decontamination and/or Decommissioning (D&D) Costs​                                           17
    Term 29.​   Use of Program Income​                                                                        17
    Term 30.​   Payment Procedures​                                                                           17
    Term 31.​   Budget Changes​                                                                               18
    Term 32.​   Carryover of Unobligated Balances​                                                            19
Subpart C. Miscellaneous Provisions​                                                                          19
    Term 33.​   Reporting Subawards and Executive Compensation​                                               19
    Term 34.​   System for Award Management and Universal Identifier Requirements​                            23
    Term 35.​   Nondisclosure and Confidentiality Agreements Assurances​                                      25
    Term 36.​   Subrecipient Change Notification​                                                             26
    Term 37.​   Minimum Privacy Protections Regarding Applicant Information​                                  26
    Term 38.​   Conference Spending​                                                                          27
    Term 39.​   Recipient Integrity and Performance Matters​                                                  27
    Term 40.​   Export Control​                                                                               29
    Term 41.​   Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment​       30

2
Case 1:25-cv-00039-JJM-PAS                    Document 68-123             Filed 02/07/25    Page 268 of 556
                                                PageID #: 6198                         Special Terms and Conditions
                                                              Colorado Energy Office Award No. DE-EE0009976.0000
          ​                                                      ​


    Term 42.​   Fraud, Waste and Abuse​                                                                         31
    Term 43.​   Interim Conflict of Interest Policy for Financial Assistance Policy​                            31
Subpart D. Bipartisan Infrastructure Law (BIL)- specific requirements​                                          32

    Term 44.​   Recipient Notification of prospective BIL - specific requirements​                              32
    Term 45.​   Reporting Tracking and Segregation of Incurred Costs​                                           32
    Term 46.​   Buy American Requirements for Infrastructure Projects​                                          32
    Term 47.​   Davis Bacon Requirements​                                                                       35




3
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25      Page 269 of 556
                                         PageID #: 6199                        Special Terms and Conditions
                                                     Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                               ​




Subpart A. General Provisions

Term 1.​        Legal Authority and Effect
A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
electronically, by a DOE Contracting Officer.

The Recipient may accept or reject the Award. A request to draw down DOE funds or
acknowledgement of award documents by the Recipient’s authorized representative through
electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
of the terms and conditions of this Award. Acknowledgement via FedConnect by the Recipient’s
authorized representative constitutes the Recipient's electronic signature.

Term 2.​        Flow Down Requirement
The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
subcontractors, as appropriate), and to require their strict compliance therewith.

Term 3.​        Compliance with Federal, State, and Municipal Law
The Recipient is required to comply with applicable Federal, state, and local laws and
regulations for all work performed under this Award. The Recipient is required to obtain all
necessary Federal, state, and local permits, authorizations, and approvals for all work
performed under this Award.

Term 4.​        Inconsistency with Federal Law
Any apparent inconsistency between Federal statutes and regulations and the terms and
conditions contained in this Award must be referred to the DOE Award Administrator for
guidance.

Term 5.​        Federal Stewardship
EERE will exercise normal Federal stewardship in overseeing the project activities performed
under this Award. Stewardship activities include, but are not limited to, conducting site visits;
reviewing performance and financial reports; providing technical assistance and/or temporary
intervention in unusual circumstances to address deficiencies that develop during the project;
assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the project objectives have been accomplished.

Term 6.​        Federal Involvement

4
Case 1:25-cv-00039-JJM-PAS          Document 68-123          Filed 02/07/25      Page 270 of 556
                                      PageID #: 6200                        Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                              ​


      A.​ Review Meetings
          The Recipient, including but not limited to, the principal investigator (or, if
          applicable, co-principal investigators), is required to participate in periodic review

          meetings with EERE. Review meetings enable EERE to assess the work performed
          under this Award and determine whether the Recipient has timely achieved the
          program goals stated in Attachment 4 (Annual Plan) and deliverables stated in
          Attachment 2 (Federal Assistance Reporting Checklist) to this Award.

          EERE shall determine the frequency of review meetings and select the day, time, and
          location of each review meeting and shall do so in a reasonable and good faith
          manner. EERE will provide the Recipient with reasonable notice of the review
          meetings.

          For each review meeting, the Recipient is required to provide a comprehensive
          overview of the project, including:

          ●​ The Recipient’s program progress compared to the Annual Plan stated in
             Attachment 4 to this Award.
          ●​ The Recipient’s actual expenditures compared to the approved budget in
             Attachment 3 to this Award.
          ●​ Other subject matter specified by the DOE Technology Manager/Project Officer.

      B.​ Project Meetings
          The Recipient is required to notify EERE in advance of scheduled tests and internal
          project meetings that would entail discussion of topics that could result in major
          changes to the baseline project technical scope/approach, cost, or schedule. Upon
          request by EERE, the Recipient is required to provide EERE with reasonable access
          (by telephone, webinar, or otherwise) to the tests and project meetings. The
          Recipient is not expected to delay any work under this Award for the purpose of
          government insight.

      C.​ Site Visits
          EERE's authorized representatives have the right to make site visits at reasonable
          times to review project accomplishments and management control systems and to
          provide technical assistance, if required. The Recipient must provide, and must
          require subrecipients to provide, reasonable access to facilities, office space,
          resources, and assistance for the safety and convenience of the government
          representatives in the performance of their duties. All site visits and evaluations
          must be performed in a manner that does not unduly interfere with or delay the
          work.

      D.​ EERE Access
          The Recipient must provide any information, documents, site access, or other
          assistance requested by EERE for the purpose of its Federal stewardship or
5
Case 1:25-cv-00039-JJM-PAS            Document 68-123      Filed 02/07/25      Page 271 of 556
                                        PageID #: 6201                    Special Terms and Conditions
                                                 Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                            ​


           substantial involvement.




Term 7.​      NEPA Requirements

      A.​ Authorization
          DOE must comply with the National Environmental Policy Act (NEPA) prior to
          authorizing the use of Federal funds.

           For Recipients with a DOE executed Historic Preservation Programmatic Agreement
           (PA), EERE has determined that the “Allowable” listed in the Weatherization
           Assistance Program (WAP) NEPA Determination (Attachment 6) are categorically
           excluded and require no further NEPA review, when the Recipient demonstrates the
           activities are compliant with the restrictions of the “Allowable Activities. The
           Recipient is thereby authorized to use Federal funds for the “Allowable Activities”
           listed in the WAP Bipartisan Infrastructure Law, Administrative and Legal
           Requirements Document (WAP-BIL-ALRD) and, NEPA Determination, subject to the
           Recipient’s compliance with paragraphs B. “Conditions” and C. “Activities Not Listed
           As Allowable Activities,” and the restrictions listed in Attachment 6.

      B.​ Conditions
             1.​ This NEPA Determination only applies to activities funded by the
                 WAP-BIL-ALRD, Administrative and Legal Requirements Document .
             2.​ Activities not listed under "Allowable Activities" including ground disturbing
                 activities and tree removal, are subject to additional NEPA review and
                 approval by DOE. For activities requiring additional NEPA review, Recipients
                 must complete the environmental questionnaire found at https:
                 //www.eere-pmc.energy.gov/NEPA.aspx and receive notification from DOE
                 that the NEPA review has been completed and approved by the Contracting
                 Officer prior to initiating the project or activities.
             3.​ This authorization does not include activities where the following elements
                 exist: extraordinary circumstances; cumulative impacts or connected actions
                 that may lead to significant effects on the human environment; or any
                 inconsistency with the "integral elements" (as contained in 10 CFR Part 1021,
                 Appendix B) as they relate to a particular project.
             4.​ The Recipient must identify and promptly notify DOE of extraordinary
                 circumstances, cumulative impacts or connected actions that may lead to
                 significant effects on the human environment, or any inconsistency with the
                 “integral elements” (as contained in 10 CFR Part 1021, Appendix B) as they
                 relate to project activities.
             5.​ Recipients must have a DOE executed Historic Preservation Programmatic
                 Agreement and adhere to the terms and restrictions of its DOE executed
6
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 272 of 556
                                      PageID #: 6202                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                             ​


                 Historic Preservation Programmatic Agreement. DOE executed historic
                 preservation programmatic agreements are available on the Weatherization
                 and Intergovernmental Programs website:

                 https://www.energy.gov/eere/wipo/historic-preservation-executed-program
                 matic-agreements.
             6.​ Most activities listed under "Allowable Activities" are more restrictive than
                 the Categorical Exclusion. The restrictions listed in the "Allowable Activities"
                 must be followed.
             7.​ Recipients are responsible for completing the online NEPA and Historic
                 preservation training at www.energy.gov/node/4816816 and contacting
                 NEPA with any questions at GONEPA@ee.doe.gov.
             8.​ This authorization excludes any activities that are otherwise subject to a
                 restriction set forth elsewhere in the Award.

      C.​ Activities Not Listed As “Allowable Activities”
          If the Recipient seeks to fund activities that do not qualify as "Allowable Activities"
          as defined in Attachment 6, those activities are subject to additional NEPA review
          which requires submission of an environmental questionnaire found at
          https://www.eere-pmc.energy.gov/NEPA.aspx and those activities are not authorized
          for Federal funding unless and until the DOE Contracting Officer provides written
          authorization for those activities. Should the Recipient elect to undertake activities
          prior to written authorization from the Contracting Officer, the Recipient does so at
          risk of not receiving Federal funding for those activities, and such costs may not be
          recognized as allowable cost share.

Term 8.​     Historic Preservation

      A. Authorization
      DOE must comply with the requirements of Section 106 of the National Historic
      Preservation Act (NHPA) prior to authorizing the use of Federal funds. Section 106
      applies to historic properties that are listed in or eligible for listing in the National
      Register of Historic Places. Recipients with a DOE-executed Programmatic Agreement
      (PA) must comply with the requirements identified in paragraph B. Conditions below.

      B. Conditions
      Recipients with a DOE executed PA for Historic Preservation
      (AL, AK, AS, AZ, AR, CA, CO, CT, DE, DC, FL, GA, HI, ID, IL, IN, IA, KS, KY, LA, ME, MD,
      MA, MI, MN, MP, MS, MO, MT, ND, NE, NV, NH, NJ, NM, NY, NC, OH, OK, OR, PA, RI, PR,
      SC, SD, TN, TX, UT, VI, VT, VA, WA, WI, WV, WY)

      Recipients with a DOE executed historic preservation Programmatic Agreement (PA)
      must adhere to all the Stipulations of their PA. All DOE executed PAs are available on the
      Weatherization and Intergovernmental Programs website:

7
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 273 of 556
                                       PageID #: 6203                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


       https://www.energy.gov/eere/wipo/historic-preservation-executed-programmatic-agree
       ments


       In addition to the Stipulations in their PAs, Recipients must notify EERE via
       GONEPA@ee.doe.gov whenever:

       ●​ Either the Recipient or the State Historic Preservation Office (SHPO)/Tribal Historic
          Preservation Office (THPO) believes that the Criteria of Adverse Effect pursuant to 36
          CFR § 800.5, apply to the proposal under consideration by EERE;
       ●​ There is a disagreement between an Applicant, or it authorized representative, and
          the SHPO/THPO about the scope of the area of potential effects, identification, and
          evaluation of historic properties and/or the assessment of effects;
       ●​ There is an objection from a consulting party or the public regarding their
          involvement in the review process established by 36 CFR Part 800, Section 106
          findings and determinations, or implementation of agreed upon measures; or
There is the potential for a foreclosure situation or anticipatory demolition as defined under 36
CFR §800.9 (b) and 36 CFR § 800.9 (c).

Term 9.​       Performance of Work in United States

       A.​ Requirement
           All work performed under this Award must be performed in the United States unless
           the Contracting Officer provides a waiver. This requirement does not apply to the
           purchase of supplies and equipment; however, the Recipient should make every
           effort to purchase supplies and equipment within the United States. The Recipient
           must flow down this requirement to its subrecipients.

       B.​ Failure to Comply
           If the Recipient fails to comply with the Performance of Work in the United States
           requirement, the Contracting Officer may deny reimbursement for the work
           conducted outside the United States and such costs may not be recognized as
           allowable Recipient cost share regardless if the work is performed by the Recipient,
           subrecipients, vendors or other project partners.

       C.​ Waiver for Work Outside the U.S.
           All work performed under this Award must be performed in the United States.
           However, the Contracting Officer may approve the Recipient to perform a portion of
           the work outside the United States under limited circumstances. The Recipient must
           obtain a waiver from the Contracting Officer prior to conducting any work outside
           the U.S. To request a waiver, the Recipient must submit a written waiver request to
           the Contracting Officer, which includes the following information:
               ●​ The rationale for performing the work outside the U.S.;
               ●​ A description of the work proposed to be performed outside the U.S.;
8
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 274 of 556
                                       PageID #: 6204                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


              ●​ Proposed budget of work to be performed; and
              ●​ The countries in which the work is proposed to be performed.


           For the rationale, the Recipient must demonstrate to the satisfaction of the
           Contracting Officer that the performance of work outside the United States would
           further the purposes of the FOA or Program that the Award was selected under and
           is in the economic interests of the United States. The Contracting Officer may
           require additional information before considering such request.

Term 10.​     Foreign National Involvement

The Recipient and project participants (including subrecipients and contractors) who anticipate
involving foreign nationals in the performance of an award, may be required to provide DOE
with specific information about each foreign national to satisfy requirements for foreign
national participation. A foreign national is defined as any person who is not a U.S. citizen by
birth or naturalization. The volume and type of information collected may depend on various
factors associated with the award.

Term 11.​     Reporting Requirements

       A.​ Requirements
           The reporting requirements for this Award are identified on the Federal Assistance
           Reporting Checklist, attached to this Award. Failure to comply with these reporting
           requirements is considered a material noncompliance with the terms of the Award.
           Noncompliance may result in withholding of future payments, suspension, or
           termination of the current award, and withholding of future awards. A willful failure
           to perform, a history of failure to perform, or unsatisfactory performance of this
           and/or other financial assistance awards, may also result in a debarment action to
           preclude future awards by Federal agencies.

       B.​ Dissemination of Scientific and Technical Information
           Scientific and Technical Information (STI) generated under this Award will be
           submitted to DOE via the Office of Scientific and Technical Information’s Energy Link
           (E-Link) system. STI submitted under this Award will be disseminated via DOE’s
           OSTI.gov website subject to approved access limitations. Citations for journal articles
           produced under the Award will appear on the DOE PAGES website.

       C.​ Restrictions
           Scientific and Technical Information submitted to E-Link must not contain any
           Protected Personal Identifiable Information (PII), limited rights data (proprietary
           data), classified information, information subject to export control classification, or
           other information not subject to release.

Term 12.​     Lobbying
9
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 275 of 556
                                       PageID #: 6205                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                            ​


By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
the Award shall be expended, directly or indirectly, to influence congressional action on any
legislation or appropriation matters pending before Congress, other than to communicate to

Members of Congress as described in 18 U.S.C. § 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.


Term 13.​      Publications
The Recipient is required to include the following acknowledgement in publications arising out
of, or relating to, work performed under this Award, whether copyrighted or not:

     ●​ Acknowledgment: “This material is based upon work supported by the U.S. Department
        of Energy’s Office of Energy Efficiency and Renewable Energy (EERE) under the
        Weatherization Assistance Program Award Number DE-__________.”

     ●​ Full Legal Disclaimer: “This report was prepared as an account of work sponsored by an
        agency of the United States Government. Neither the United States Government nor
        any agency thereof, nor any of their employees, makes any warranty, express or implied,
        or assumes any legal liability or responsibility for the accuracy, completeness, or
        usefulness of any information, apparatus, product, or process disclosed, or represents
        that its use would not infringe privately owned rights. Reference herein to any specific
        commercial product, process, or service by trade name, trademark, manufacturer, or
        otherwise does not necessarily constitute or imply its endorsement, recommendation,
        or favoring by the United States Government or any agency thereof. The views and
        opinions of authors expressed herein do not necessarily state or reflect those of the
        United States Government or any agency thereof.”

        Abridged Legal Disclaimer: “The views expressed herein do not necessarily represent the
        views of the U.S. Department of Energy or the United States Government.”

        Recipients should make every effort to include the full Legal Disclaimer. However, in the
        event that recipients are constrained by formatting and/or page limitations set by the
        publisher, the abridged Legal Disclaimer is an acceptable alternative.

Term 14.​      No-Cost Extension
As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
must include the supporting reasons and the revised period of performance. The Recipient
must submit this notification in writing to the Contracting Officer and DOE Technology
Manager/ Project Officer at least 30 days before the end of the current budget period.

Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of this
Award. Extensions require explicit prior Federal awarding agency approval when carrying
forward unobligated balances to subsequent budget periods.
10
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 276 of 556
                                       PageID #: 6206                      Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                            ​




Term 15.​      Property Standards
The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
Also see 2 CFR 910.360 for additional requirements for real property and equipment for
For-Profit recipients.


Term 16.​      Insurance Coverage
See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
property and equipment for For-Profit recipients.

Term 17.​      Real Property
Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.311 before disposing of the property.

Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
property will be used for the originally authorized purpose as long as needed for that purpose.
When real property is no longer needed for the originally authorized purpose, the non-Federal
entity must obtain disposition instructions from DOE or pass-through entity. The instructions
must provide for one of the following alternatives: (1) retain title after compensating DOE as
described in 2 CFR 200.311(c)(1); (2) Sell the property and compensate DOE as specified in 2
CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE as
specified in 2 CFR 200.311(c)(3).

See 2 CFR 200.311 for additional requirements pertaining to real property acquired or improved
under a Federal award. Also see 2 CFR 910.360 for additional requirements for real property for
For-Profit recipients.

Term 18.​      Equipment
Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.313 before disposing of the property.

A state must use equipment acquired under a Federal award by the state in accordance with
state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was
acquired as long as it is needed, whether or not the project or program continues to be
supported by the Federal award. When no longer needed for the originally authorized purpose,

11
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 277 of 556
                                      PageID #: 6207                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                            ​


the equipment may be used by programs supported by DOE in the priority order specified in 2
CFR 200.313(c)(1)(i) and (ii).


Management requirements, including inventory and control systems, for equipment are
provided in 2 CFR 200.313(d).

When equipment acquired under a Federal award is no longer needed, the non-Federal entity
must obtain disposition instructions from DOE or pass-through entity.

Disposition will be made as follows: (1) items of equipment with a current fair market value of
$5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

Term 19.​     Supplies
See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

Term 20.​     Property Trust Relationship
Real property, equipment, and intangible property, that are acquired or improved with a Federal
award must be held in trust by the non-Federal entity as trustee for the beneficiaries of the
project or program under which the property was acquired or improved. See 2 CFR 200.316 for
additional requirements pertaining to real property, equipment, and intangible property
acquired or improved under a Federal award.

Term 21.​     Record Retention
Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
relating to this Award.

Term 22.​     Audits

       A.​ Government-Initiated Audits
           The Recipient must provide any information, documents, site access, or other
           assistance requested by EERE, DOE or Federal auditing agencies (e.g., DOE Inspector
           General, Government Accountability Office) for the purpose of audits and
           investigations. Such assistance may include, but is not limited to, reasonable access
           to the Recipient’s records relating to this Award.


12
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 278 of 556
                                       PageID #: 6208                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


           Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
           Recipient’s financial records or administrative records relating to this Award at any
           time. Government-initiated audits are generally paid for by DOE.


           DOE may conduct a final audit at the end of the project period (or the termination of
           the Award, if applicable). Upon completion of the audit, the Recipient is required to
           refund to DOE any payments for costs that were determined to be unallowable. If
           the audit has not been performed or completed prior to the closeout of the award,
           DOE retains the right to recover an appropriate amount after fully considering the
           recommendations on disallowed costs resulting from the final audit.

           DOE will provide reasonable advance notice of audits and will minimize interference
           with ongoing work, to the maximum extent practicable.

       B.​ Annual Independent Audits (Single Audit or Compliance Audit)
           The Recipient must comply with the annual independent audit requirements in 2 CFR
           200.500 through .521 for institutions of higher education, nonprofit organizations,
           and state and local governments (Single audit), and 2 CFR 910.500 through .521 for
           for-profit entities (Compliance audit).

           The annual independent audits are separate from Government-initiated audits
           discussed in part A. of this Term, and must be paid for by the Recipient. To minimize
           expense, the Recipient may have a Compliance audit in conjunction with its annual
           audit of financial statements. The financial statement audit is not a substitute for
           the Compliance audit. If the audit (Single audit or Compliance audit, depending on
           Recipient entity type) has not been performed or completed prior to the closeout of
           the award, DOE may impose one or more of the actions outlined in 2 CFR 200.338,
           Remedies for Noncompliance.

Subpart B. Financial Provisions

Term 23.​     Maximum Obligation

The maximum obligation of DOE for this Award is the total “Funds Obligated” as stated in Block
13 of the Assistance Agreement to this Award. “Funds Obligated” is equivalent to 15% of the
total allocation for this award. DOE will evaluate project performance, project schedule
adherence, the extent milestone objectives are met, compliance with reporting requirements,
and overall contribution to the program goals and objectives. Additional
funding will be released at the following negotiation and project milestones:
         • 35% of the total allocation - Upon DOE approval of the Grantee Plan that
         identifies the quarterly milestones over the 5-year period of performance. (due October
         1, 2022)
         • Balance of total allocation (50%) is based on the Grantee demonstrating
         progress in meeting expenditures goals, production targets and reporting
13
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 279 of 556
                                      PageID #: 6209                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                            ​


       requirement compliance. Demonstrated progress is defined as:
              1. 30% of all units estimated to be weatherized in approved
              Weatherization Plans are weatherized.

               2. Each Grantee has been fulfilling its monitoring and inspection protocol
               as part of its approved annual Grantee plan.
               3. Each Grantee is monitoring local agencies at least once each year to
               determine compliance with administrative, fiscal, and Grantee field policies
               and guidelines.
               4. Local quality control efforts are in place.
               5. At least 5% of the completed units are inspected by the Grantee Quality
               Control Inspection (QCI) staff during the course of the year.
               6. Grantees progress reports are acceptable, submitted in accordance
               with grant requirements, including being on time and accurate.
               7. Monitoring reviews by DOE confirm acceptable performance. If DOE’s
               review reveals deficiencies, such as funds not disbursed, insufficient
               technical monitoring, or failure to meet reporting requirements, DOE
               reserves the right to place a hold on current balances and withhold
               funding until deficiencies are corrected.

Additional Federal funding is contingent upon: (1) Recipient’s demonstrated substantial
progress towards meeting the objectives of the Award; (2) availability of Federal funds
appropriated by Congress for the purpose of this program; and (3) the availability of future-year
budget authority.

Term 24.​      Continuation Application and Funding

       A.​ Continuation Application
           A continuation application is a non-competitive application for an additional budget
           period and extended project period. The continuation application shall be submitted
           to EERE in accordance with the annual Announcement/Grant Guidance that is
           issued.

       B.​ Continuation Funding
           Continuation funding is contingent on (1) the availability of funds appropriated by
           Congress for the purpose of this program; (2) the availability of future-year budget
           authority; (3) Recipient’s satisfactory progress towards meeting the objectives of the
           Weatherization Assistance Program; (4) Recipient’s submittal of required reports; (5)
           Recipient’s compliance with the terms and conditions of the Award; (6) the
           Recipient’s submission of a continuation application; and (7) written approval of the
           continuation application by the Contracting Officer.

Term 25.​      Refund Obligation
The Recipient must refund any excess payments received from EERE, including any costs
determined unallowable by the Contracting Officer. Upon the end of the project period (or the
14
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 280 of 556
                                       PageID #: 6210                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


termination of the Award, if applicable), the Recipient must refund to EERE the difference
between (1) the total payments received from EERE, and (2) the Federal share of the costs
incurred. Refund obligations under this Term do not supersede the annual reconciliation or true

up process if specified under the Indirect Cost Term.

Term 26.​      Allowable Costs
EERE determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
must document and maintain records of all project costs, including, but not limited to, the costs
paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
claims as cost sharing, including in-kind contributions. The Recipient is responsible for
maintaining records adequate to demonstrate that costs claimed have been incurred, are
reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
Recipient is required to provide such records to EERE. Such records are subject to audit. Failure
to provide EERE adequate supporting documentation may result in a determination by the
Contracting Officer that those costs are unallowable.

The Recipient is required to obtain the prior written approval of the Contracting Officer for any
foreign travel costs.

Term 27.​      Indirect Costs

       A.​ Indirect Cost Allocation:
           The Recipient has a Federally approved provisional Negotiated Indirect Cost Rate
           Agreement (NICRA) with a current effective period identified for billing and
           estimation purposes and it applies uniformly across all Federal awards. These costs
           shall be reconciled or trued up (actual incurred costs) on an annual basis with the
           Recipient’s cognizant agency. An updated rate proposal or NICRA is required if the
           Recipient requests to bill the DOE higher billing rates than those listed in the current
           NICRA.

       B.​ Fringe Cost Allocation:
           Fringe benefit costs have been allocated to this award under a segregated fringe
           billing rate. The fringe costs were found to be reasonable, allocable, and allowable
           as reflected in the budget. Fringe elements apply to both direct and indirect labor.
           Under a segregated cost pool, the fringe billing rate shall be treated as an indirect
           cost expenditure and must be reconciled annually.

       C.​ Subrecipient Indirect Costs (If Applicable):
           The Recipient must ensure its subrecipient’s indirect costs are appropriately
           managed, have been found to be allowable, and comply with the requirements of
           this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

       D.​ Indirect Cost Stipulations:
15
Case 1:25-cv-00039-JJM-PAS          Document 68-123          Filed 02/07/25      Page 281 of 556
                                      PageID #: 6211                        Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                              ​



           i.​    Modification to Indirect Cost Billing Rates
                  EERE will not modify this Award solely to provide additional funds to cover

                  increases in the Recipient’s indirect cost billing rate(s). Adjustments to the
                  indirect cost billing rates must be approved by the Recipient’s Cognizant
                  Agency or Cognizant Federal Agency Official.

                  The Recipient must provide a copy of an updated NICRA or indirect rate
                  proposal to the DOE Award Administrator in order to increase indirect cost
                  billing rates. If the Contracting Officer provides prior written approval, the
                  Recipient may incur an increase in the indirect cost billing rates.
                  Reimbursement will be limited by the budgeted dollar amount for indirect
                  costs for each budget period as shown in Attachment 3 to this Award.

          ii.​    Annual Cost Reconciliation
                  In accordance with Appendices III-VII of 2 CFR Part 200 or 48 CFR Part
                  42.7, governing for-profit organizations, the indirect cost billing rates
                  shall be reconciled or trued up (actual incurred costs) on an annual
                  basis via the annual incurred cost proposal within six months after the
                  Recipient’s fiscal year end.

          iii.​   Adjustments to Indirect Cost Billing Rates
                  Following an official audit or adequacy review of the incurred cost
                  proposal, one of the following shall apply:

                     1.​ If the Recipient’s actual and final annual indirect cost billing rate(s)
                         reflect that Recipient invoiced at higher billing rates than actually
                         incurred, the Recipient must refund the Government the
                         over-recovered amounts.

                     2.​ If the Recipient’s actual and final annual indirect cost billing rate(s)
                         reflect that the Recipient invoiced at lower billing rates than actually
                         incurred, the Recipient may not be reimbursed for increases in its
                         indirect cost rate, which resulted in an under-recovery. Increased
                         indirect cost billing rates cannot be retroactively applied to the DOE
                         award.

          iv.​    Award Closeout
                  The closeout of the DOE award does not affect (1) the right of the DOE
                  to disallow costs and recover funds on the basis of a later audit or other
                  review; (2) the requirement for the Recipient to return any funds due as
                  a result of later refunds, corrections or other transactions including final
                  indirect cost billing rate adjustments; and (3) the ability of the DOE to
                  make financial adjustments to a previously closed award resolving
16
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 282 of 556
                                       PageID #: 6212                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


                   indirect cost payments and making final payments.



Term 28.​      Decontamination and/or Decommissioning (D&D) Costs
Notwithstanding any other provisions of this Award, the Government shall not be responsible
for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
(D&D) of any of the Recipient’s facilities, or (2) any costs which may be incurred by the Recipient
in connection with the D&D of any of its facilities due to the performance of the work under this
Award, whether said work was performed prior to or subsequent to the effective date of the
Award.

Term 29.​      Use of Program Income
If the Recipient earns program income during the project period as a result of this Award, the
Recipient must add the program income to the funds committed to the Award and used to
further eligible project objectives.

Term 30.​      Payment Procedures

       A.​ Method of Payment
           Payment will be made by advances through the Department of Treasury’s ASAP
           system.

       B.​ Requesting Advances
           Requests for advances must be made through the ASAP system. The Recipient may
           submit requests as frequently as required to meet its needs to disburse funds for the
           Federal share of project costs. If feasible, the Recipient should time each request so
           that the Recipient receives payment on the same day that the Recipient disburses
           funds for direct project costs and the proportionate share of any allowable indirect
           costs. If same-day transfers are not feasible, advance payments must be as close to
           actual disbursements as administratively feasible.

       C.​ Adjusting Payment Requests for Available Cash
         ​ The Recipient must disburse any funds that are available from repayments to and
           interest earned on a revolving fund, program income, rebates, refunds, contract
           settlements, audit recoveries, credits, discounts, and interest earned on any of those
           funds before requesting additional cash payments from EERE.

       D.​ Payments
           All payments are made by electronic funds transfer to the bank account identified on
           the Bank Information Form that the Recipient filed with the U.S. Department of
           Treasury.

       E.​ Unauthorized Drawdown of Federal Funds
           For each budget period, the Recipient may not spend more than the Federal share
17
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 283 of 556
                                      PageID #: 6213                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                             ​


          authorized to that particular budget period, without specific written approval from
          the Contracting Officer. The Recipient must immediately refund EERE any amounts
          spent or drawn down in excess of the authorized amount for a budget period. The

          Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
          interest earned on advances drawn in excess of disbursement needs, and shall
          comply with the procedure for remitting interest earned to the Federal government
          per 2 CFR 200.305, as applicable.

Term 31.​    Budget Changes

      A.​ Budget Changes Generally
          The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
          this Award.

          Any increase in the total project cost, whether DOE share or Cost Share, which is
          stated as “Total” in Block 12 to the Assistance Agreement of this Award, must be
          approved in advance and in writing by the Contracting Officer.

          Any change that alters the project scope, milestones or deliverables requires prior
          written approval of the Contracting Officer. EERE may deny reimbursement for any
          failure to comply with the requirements in this term.

      B.​ Transfers of Funds Among Direct Cost Categories.
          The Recipient is required to submit written notification via email (not in PAGE) to the
          Project Officer identified in the Assistance Agreement of any transfer of funds among
          direct cost categories and/or functions where the cumulative amount of such
          transfers exceeds or is expected to exceed 10 percent of the total project cost, which
          is stated as “Total” in Block 12 to the Assistance Agreement of this Award.

          Upon receipt of adequate notification documentation by the Project Officer, the
          recipient is hereby authorized to transfer funds among direct cost categories for
          program activities consistent with their approved State/Annual Plan, without prior
          approval by the awarding agency.

          Limitations in existing rules and guidance, including Administration and Training and
          Technical Assistance (T&TA), along with prior approval of equipment as detailed in
          the respective year's WAP Grant Guidance and in the regulations still apply.

      C.​ Transfer of Funds Between Direct and Indirect Cost Categories
          The Recipient is required to obtain the prior written approval of the Contracting
          Officer for any transfer of funds between direct and indirect cost categories. If the
          Recipient’s actual allowable indirect costs are less than those budgeted in
          Attachment 3 to this Award, the Recipient may use the difference to pay additional
          allowable direct costs during the project period so long as the total difference is less
18
Case 1:25-cv-00039-JJM-PAS             Document 68-123        Filed 02/07/25      Page 284 of 556
                                         PageID #: 6214                      Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                             ​


            than 10% of total project costs and the difference is reflected in actual requests for
            reimbursement to DOE.


Term 32.​       Carryover of Unobligated Balances
The Recipient is hereby authorized to carry over unobligated balances of Federal and
non-Federal funds from one budget period to a subsequent budget period, for program
activities consistent with their approved State/Annual Plan, without prior approval by the
Contracting Officer. Should the Recipient wish to use carryover funds for activities that are not
consistent with the approved State/Annual Plan, a budget revision application must be
submitted for approval by DOE.

For purposes of this Award, an unobligated balance is the portion of the funds authorized by
DOE that have not been obligated by the Recipient at the end of a budget period. The Recipient
is advised to carefully manage grant funds to minimize unobligated balances each year, but
especially at the end of the grant project period.

Subpart C. Miscellaneous Provisions
Term 33.​       Reporting Subawards and Executive Compensation

        A.​ Reporting of first-tier subawards

              i.​    Applicability. Unless the Recipient is exempt as provided in paragraph D. of
                     this award term, the Recipient must report each action that equals or
                     exceeds $30,000 in Federal funds for a subaward to an entity (see definitions
                     in paragraph E. of this award term).

              ii.​   Where and when to report.

                        1.​ The Recipient must report each obligating action described in
                            paragraph A.i. of this award term to https://www.fsrs.gov.

                        2.​ For subaward information, report no later than the end of the month
                            following the month in which the obligation was made. (For example,
                            if the obligation was made on November 7, 2010, the obligation must
                            be reported no later than December 31, 2010.)

             iii.​   What to report. The Recipient must report the information about each
                     obligating action that the submission instructions posted at
                     https://www.fsrs.gov specify.

        B.​ Reporting Total Compensation of Recipient Executives

              i.​    Applicability and what to report. The Recipient must report total
19
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25       Page 285 of 556
                                      PageID #: 6215                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                             ​


                  compensation for each of its five most highly compensated executives for the
                  preceding completed fiscal year, if:


                     1.​ The total Federal funding authorized to date under this Award equals
                         or exceeds $30,000 as defined in 2 CFR 170.320;

                     2.​ In the preceding fiscal year, the Recipient received;

                             a.​ 80 percent or more of the Recipient’s annual gross revenues
                                 from Federal procurement contracts (and subcontracts) and
                                 Federal financial assistance subject to the Transparency Act, as
                                 defined at 2 CFR 170.320 (and subawards); and

                             b.​ $25,000,000 or more in annual gross revenues from Federal
                                 procurement contracts (and subcontracts) and Federal
                                 financial assistance subject to the Transparency Act, as defined
                                 at 2 CFR 170.320 (and subawards)

                     3.​ The public does not have access to information about the
                         compensation of the executives through periodic reports filed under
                         section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                         U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                         of 1986. (To determine if the public has access to the compensation
                         information, see the U.S. Security and Exchange Commission total
                         compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.​   Where and when to report. The Recipient must report executive total
                  compensation described in paragraph B.i. of this award term:

                     1.​ As part of the Recipient’s registration profile at https://www.sam.gov.

                     2.​ By the end of the month following the month in which this award is
                         made, and annually thereafter.

      C.​ Reporting of Total Compensation of Subrecipient Executives

           i.​    Applicability and what to report. Unless the Recipient is exempt as provided
                  in paragraph D. of this award term, for each first-tier subrecipient under this
                  award, the Recipient shall report the names and total compensation of each
                  of the subrecipient's five most highly compensated executives for the
                  subrecipient's preceding completed fiscal year, if:

                     1.​ In the subrecipient's preceding fiscal year, the subrecipient received:

20
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 286 of 556
                                      PageID #: 6216                       Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                             ​


                             a.​ 80 percent or more of its annual gross revenues from Federal
                                 procurement contracts (and subcontracts) and Federal
                                 financial assistance subject to the Transparency Act, as defined

                                 at 2 CFR 170.320 (and subawards); and

                             b.​ $25,000,000 or more in annual gross revenues from Federal
                                 procurement contracts (and subcontracts), and Federal
                                 financial assistance subject to the Transparency Act (and
                                 subawards)

                     2.​ The public does not have access to information about the
                         compensation of the executives through periodic reports filed under
                         section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                         U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                         of 1986. (To determine if the public has access to the compensation
                         information, see the U.S. Security and Exchange Commission total
                         compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.​   Where and when to report. The Recipient must report subrecipient executive
                  total compensation described in paragraph C.i. of this award term:

                     1.​ To the recipient.

                     2.​ By the end of the month following the month during which the
                         Recipient makes the subaward. For example, if a subaward is
                         obligated on any date during the month of October of a given year
                         (i.e., between October 1 and 31), the Recipient must report any
                         required compensation information of the subrecipient by November
                         30 of that year.

      D.​ Exemptions
          If, in the previous tax year, the Recipient had gross income, from all sources, under
          $300,000, it is exempt from the requirements to report:

            i.​   Subawards; and

           ii.​   The total compensation of the five most highly compensated executives of
                  any subrecipient.

      E.​ Definitions
          For purposes of this Award term:

            i.​   Entity means all of the following, as defined in 2 CFR Part 25:

21
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 287 of 556
                                     PageID #: 6217                       Special Terms and Conditions
                                                 Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                            ​


                     1.​ A Governmental organization, which is a State, local government, or
                         Indian tribe.
                     2.​ A foreign public entity.

                     3.​ A domestic or foreign nonprofit organization.
                     4.​ A domestic or foreign for-profit organization.
                     5.​ A Federal agency, but only as a subrecipient under an award or
                         subaward to a non-Federal entity.

          ii.​    Executive means officers, managing partners, or any other employees in
                  management positions.

          iii.​   Subaward:

                     1.​ This term means a legal instrument to provide support for the
                         performance of any portion of the substantive project or program for
                         which the Recipient received this award and that the recipient awards
                         to an eligible subrecipient.

                     2.​ The term does not include the Recipient’s procurement of property
                         and services needed to carry out the project or program (for further
                         explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                         and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                         Subrecipients and Contractors).

                     3.​ A subaward may be provided through any legal agreement, including
                         an agreement that the Recipient or a subrecipient considers a
                         contract.

          iv.​    Subrecipient means an entity that:

                     1.​ Receives a subaward from the Recipient under this award; and

                     2.​ Is accountable to the Recipient for the use of the Federal funds
                         provided by the subaward.

           v.​    Total compensation means the cash and noncash dollar value earned by the
                  executive during the recipient's or subrecipient's preceding fiscal year and
                  includes the following (for more information see 17 CFR 229.402(c)(2)):

                     1.​ Salary and bonus.

                     2.​ Awards of stock, stock options, and stock appreciation rights. Use the
                         dollar amount recognized for financial statement reporting purposes
                         with respect to the fiscal year in accordance with the Statement of
22
Case 1:25-cv-00039-JJM-PAS              Document 68-123         Filed 02/07/25      Page 288 of 556
                                          PageID #: 6218                       Special Terms and Conditions
                                                      Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                               ​


                              Financial Accounting Standards No. 123 (Revised 2004) (FAS 123R),
                              Shared Based Payments.


                          3.​ Earnings for services under non-equity incentive plans. This does not
                              include group life, health, hospitalization or medical reimbursement
                              plans that do not discriminate in favor of executives, and are available
                              generally to all salaried employees.

                          4.​ Change in pension value. This is the change in present value of
                              defined benefit and actuarial pension plans.

                          5.​ Above-market earnings on deferred compensation which is not
                              tax-qualified.

                          6.​ Other compensation, if the aggregate value of all such other
                              compensation (e.g. severance, termination payments, value of life
                              insurance paid on behalf of the employee, perquisites or property) for
                              the executive exceeds $10,000.


Term 34.​          System for Award Management and Universal Identifier
                   Requirements

        A.​ Requirement for Registration in the System for Award Management (SAM)
            Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
            Recipient must maintain the currency of its information in SAM until the Recipient
            submits the final financial report required under this Award or receive the final
            payment, whichever is later. This requires that the Recipient reviews and updates
            the information at least annually after the initial registration, and more frequently if
            required by changes in its information or another award term.

        B.​ Unique Entity Identifier (UEI)
            SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no
            longer have to go to a third-party website to obtain their identifier. This information
            is displayed on SAM.gov.

              If the Recipient is authorized to make subawards under this Award, the Recipient:

            i.​    Must notify potential subrecipients that no entity (see definition in paragraph C
                   of this award term) may receive a subaward from the Recipient unless the entity
                   has provided its UEI number to the Recipient.

            ii.​   May not make a subaward to an entity unless the entity has provided its UEI
                   number to the Recipient.
23
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 289 of 556
                                       PageID #: 6219                        Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
      ​                                               ​




      C.​ Definitions
          For purposes of this award term:

            i.​    System for Award Management (SAM) means the Federal repository into
                   which an entity must provide information required for the conduct of
                   business as a recipient. Additional information about registration procedures
                   may be found at the SAM Internet site (currently at https://www.sam.gov).

           ii.​    Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                   that will be assigned by SAM.gov upon registration.

           iii.​   Entity, as it is used in this award term, means all of the following, as defined
                   at 2 CFR Part 25, subpart C:

                      1.​ A Governmental organization, which is a State, local government, or
                          Indian Tribe.
                      2.​ A foreign public entity.
                      3.​ A domestic or foreign nonprofit organization.
                      4.​ A domestic or foreign for-profit organization.
                      5.​ A Federal agency, but only as a subrecipient under an award or
                          subaward to a non-Federal entity.

           iv.​    Subaward:

                      1.​ This term means a legal instrument to provide support for the
                          performance of any portion of the substantive project or program for
                          which the Recipient received this Award and that the Recipient
                          awards to an eligible subrecipient.

                      2.​ The term does not include the Recipient’s procurement of property
                          and services needed to carry out the project or program (for further
                          explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                          and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                          Subrecipients and Contractors).

                      3.​ A subaward may be provided through any legal agreement, including
                          an agreement that the Recipient considers a contract.

            v.​    Subrecipient means an entity that:

                      1.​ Receives a subaward from the Recipient under this Award; and
24
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25      Page 290 of 556
                                         PageID #: 6220                       Special Terms and Conditions
                                                     Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                              ​


                        2.​ Is accountable to the Recipient for the use of the Federal funds
                            provided by the subaward.


Term 35.​       Nondisclosure and Confidentiality Agreements Assurances
        A.​ By entering into this agreement, the Recipient attests that it does not and will not
            require its employees or contractors to sign internal nondisclosure or confidentiality
            agreements or statements prohibiting or otherwise restricting its employees or
            contactors from lawfully reporting waste, fraud, or abuse to a designated
            investigative or law enforcement representative of a Federal department or agency
            authorized to receive such information.

        B.​ The Recipient further attests that it does not and will not use any Federal funds to
            implement or enforce any nondisclosure and/or confidentiality policy, form, or
            agreement it uses unless it contains the following provisions:

              i.​    ‘‘These provisions are consistent with and do not supersede, conflict with, or
                     otherwise alter the employee obligations, rights, or liabilities created by
                     existing statute or Executive order relating to (1) classified information, (2)
                     communications to Congress, (3) the reporting to an Inspector General of a
                     violation of any law, rule, or regulation, or mismanagement, a gross waste of
                     funds, an abuse of authority, or a substantial and specific danger to public
                     health or safety, or (4) any other whistleblower protection. The definitions,
                     requirements, obligations, rights, sanctions, and liabilities created by
                     controlling Executive orders and statutory provisions are incorporated into
                     this agreement and are controlling.’’

             ii.​    The limitation above shall not contravene requirements applicable to
                     Standard Form 312, Form 4414, or any other form issued by a Federal
                     department or agency governing the nondisclosure of classified information.

             iii.​   Notwithstanding provision listed in paragraph (a), a nondisclosure or
                     confidentiality policy form or agreement that is to be executed by a person
                     connected with the conduct of an intelligence or intelligence-related activity,
                     other than an employee or officer of the United States Government, may
                     contain provisions appropriate to the particular activity for which such
                     document is to be used. Such form or agreement shall, at a minimum,
                     require that the person will not disclose any classified information received
                     in the course of such activity unless specifically authorized to do so by the
                     United States Government. Such nondisclosure or confidentiality forms shall
                     also make it clear that they do not bar disclosures to Congress, or to an
                     authorized official of an executive agency or the Department of Justice, that
                     are essential to reporting a substantial violation of law.

25
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                Filed 02/07/25            Page 291 of 556
                                                    PageID #: 6221                                   Special Terms and Conditions
                                                                    Colorado Energy Office Award No. DE-EE0009976.0000
          ​                                                            ​




Term 36.​           Subrecipient Change Notification
Except for subrecipients specifically proposed as part of the Recipient’s Application for award,
the Recipient must notify the Contracting Officer and Project Manager in writing 30 days prior
to the execution of new or modified subrecipient agreements, including naming any To Be
Determined subrecipients. This notification does not constitute a waiver of the prior approval
requirements outlined in 2 CFR part 200 as amended by 2 CFR part 910, nor does it relieve the
Recipient from its obligation to comply with applicable Federal statutes, regulations, and
executive orders.

In order to satisfy this notification requirement, the Recipient documentation must, as a
minimum, include the following:

               ●​ A description of the research to be performed, the service to be provided, or the
                  equipment to be purchased.
               ●​ Cost share commitment letter if the subrecipient is providing cost share to the
                  Award.
               ●​ An assurance that the process undertaken by the Recipient to solicit the
                  subrecipient complies with their written procurement procedures as outlined in
                  2 CFR 200.317 through 200.329.
               ●​ An assurance that no planned, actual or apparent conflict of interest exists
                  between the Recipient and the selected subrecipient and that the Recipient’s
                  written standards of conduct were followed.1
               ●​ A completed Environmental Questionnaire, if applicable.
               ●​ An assurance that the subrecipient is not a debarred or suspended entity.
               ●​ An assurance that all required award provisions will be flowed down in the
                  resulting subrecipient agreement.

The Recipient is responsible for making a final determination to award or modify subrecipient
agreements under this Award, but the Recipient may not proceed with the subrecipient
agreement until the Contracting Officer determines, and provides the Recipient written
notification, that the information provided is adequate.

Should the Recipient not receive a written notification of adequacy from the Contracting Officer
within 30 days of the submission of the subrecipient documentation stipulated above, the

1
  It is DOE’s position that the existence of a “covered relationship” as defined in 5 CFR 2635.502(a)&(b) between a member of
the Recipient’s owners or senior management and a member of a subrecipient’s owners or senior management creates at a
minimum an apparent conflict of interest that would require the Recipient to notify the Contracting Officer and provide detailed
information and justification (including, for example, mitigation measures) as to why the subrecipient agreement does not
create an actual conflict of interest. The Recipient must also notify the Contracting Officer of any new subrecipient agreement
with: (1) an entity that is owned or otherwise controlled by the Recipient; or (2) an entity that is owned or otherwise controlled
by another entity that also owns or otherwise controls the Recipient, as it is DOE’s position that these situations also create at a
minimum an apparent conflict of interest.
26
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 292 of 556
                                        PageID #: 6222                       Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                              ​


Recipient may proceed to award or modify the proposed subrecipient agreement.

Term 37.​      Minimum Privacy Protections Regarding Applicant Information

       A.​ States, Tribes and their subawardees, including, but not limited to subrecipients,
           subgrantees, contractors and subcontractors that participate in the Weatherization
           Assistance Program (WAP) are required to treat all requests for information
           concerning applicants and recipients of WAP funds in a manner consistent with the
           federal government's treatment of information requested under the Freedom of
           Information Act (FOIA), 5 U.S.C. 552, including the privacy protections contained in
           Exemption (b)(6) of the FOIA, 5 U.S.C. 552(b)(6). Under 5 U.S.C. 552(b)(6),
           information relating to an individual's eligibility application or the individual's
           participation in the program, such as name, address, or income information, are
           generally exempt from disclosure.

       B.​ A balancing test must be used in applying Exemption (b)(6) in order to determine:

             i.​    whether a significant privacy interest would be invaded;

             ii.​   whether the release of the information would further the public interest by
                    shedding light on the operations or activities of the Government; and

            iii.​   whether in balancing the privacy interests against the public interest,
                    disclosure would constitute a clearly unwarranted invasion of privacy.

       C.​ A request for personal information including but not limited to the names,
           addresses, or income information of WAP applicants or recipients would require the
           state or other service provider to balance a clearly defined public interest in
           obtaining this information against the individuals' legitimate expectation of privacy.

       D.​ Given a legitimate, articulated public interest in the disclosure, States and other
           service providers may release information regarding recipients in the aggregate that
           does not identify specific individuals. However, a State or service provider must
           apply a FOIA Exemption (b)(6) balancing test to any request for information that
           cannot be satisfied by such less-intrusive methods.

Term 38.​      Conference Spending
The Recipient shall not expend any funds on a conference not directly and programmatically
related to the purpose for which the grant or cooperative agreement was awarded that would
defray the cost to the United States Government of a conference held by any Executive branch
department, agency, board, commission, or office for which the cost to the United States
Government would otherwise exceed $20,000, thereby circumventing the required notification
by the head of any such Executive Branch department, agency, board, commission, or office to
the Inspector General (or senior ethics official for any entity without an Inspector General), of
27
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 293 of 556
                                       PageID #: 6223                      Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                             ​


the date, location, and number of employees attending such conference.

Term 39.​     Recipient Integrity and Performance Matters

       A.​ General Reporting Requirement
           If the total value of the Recipient’s currently active Financial Assistance awards,
           cooperative agreements, and procurement contracts from all Federal awarding
           agencies exceeds $10,000,000 for any period of time during the period of
           performance of this Federal award, then you as the recipient during that period of
           time must maintain the currency of information reported to the System for Award
           Management (SAM) that is made available in the designated integrity and
           performance system (currently the Federal Awardee Performance and Integrity
           Information System (FAPIIS)) about civil, criminal, or administrative proceedings
           described in paragraph 2 of this term. This is a statutory requirement under section
           872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section
           3010 of Public Law 111-212, all information posted in the designated integrity and
           performance system on or after April 15, 2011, except past performance reviews
           required for Federal procurement contracts, will be publicly available.

       B.​ Proceedings About Which You Must Report
           Submit the information required about each proceeding that:
              i.​ Is in connection with the award or performance of a Financial Assistance,
                  cooperative agreement, or procurement contract from the Federal
                  Government;
             ii.​ Reached its final disposition during the most recent five-year period; and
            iii.​ Is one of the following:
                       1.​ A criminal proceeding that resulted in a conviction, as defined in
                           paragraph E of this award term and condition;
                       2.​ A civil proceeding that resulted in a finding of fault and liability and
                           payment of a monetary fine, penalty, reimbursement, restitution, or
                           damages of $5,000 or more;
                       3.​ An administrative proceeding, as defined in paragraph E of this term,
                           that resulted in a finding of fault and liability and your payment of
                           either a monetary fine or penalty of $5,000 or more or
                           reimbursement, restitution, or damages in excess of $100,000; or
                       4.​ Any other criminal, civil, or administrative proceeding if:
                               a.​ It could have led to an outcome described in paragraph B.iii.1,
                                    2, or 3 of this term;
                               b.​ It had a different disposition arrived at by consent or
                                    compromise with an acknowledgment of fault on your part;
                                    and
                               c.​ The requirement in this term to disclose information about the
                                    proceeding does not conflict with applicable laws and
                                    regulations.
28
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 294 of 556
                                       PageID #: 6224                        Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                              ​



       C.​ Reporting Procedures
           Enter in the SAM Entity Management area the information that SAM requires about

           each proceeding described in paragraph B of this term. You do not need to submit
           the information a second time under assistance awards that you received if you
           already provided the information through SAM because you were required to do so
           under Federal procurement contracts that you were awarded.

       D.​ Reporting Frequency
           During any period of time when you are subject to the requirement in paragraph A
           of this term, you must report proceedings information through SAM for the most
           recent five-year period, either to report new information about any proceeding(s)
           that you have not reported previously or affirm that there is no new information to
           report. Recipients that have Federal contract, Financial Assistance awards, (including
           cooperative agreement awards) with a cumulative total value greater than
           $10,000,000, must disclose semiannually any information about the criminal, civil,
           and administrative proceedings.


       E.​ Definitions
           For purposes of this term:
              i.​ Administrative proceeding means a non-judicial process that is adjudicatory
                   in nature in order to make a determination of fault or liability (e.g., Securities
                   and Exchange Commission Administrative proceedings, Civilian Board of
                   Contract Appeals proceedings, and Armed Services Board of Contract Appeals
                   proceedings). This includes proceedings at the Federal and State level but
                   only in connection with performance of a Federal contract or Financial
                   Assistance awards. It does not include audits, site visits, corrective plans, or
                   inspection of deliverables.
             ii.​ Conviction means a judgment or conviction of a criminal offense by any court
                   of competent jurisdiction, whether entered upon a verdict or a plea, and
                   includes a conviction entered upon a plea of nolo contendere.
            iii.​ Total value of currently active Financial Assistance awards, cooperative
                   agreements and procurement contracts includes—
                       1.​ Only the Federal share of the funding under any Federal award with a
                           recipient cost share or match; and
                       2.​ The value of all expected funding increments under a Federal award and
                           options, even if not yet exercised.

Term 40.​      Export Control
The U.S. government regulates the transfer of information, commodities, technology, and
software considered to be strategically important to the U.S. to protect national security, foreign
policy, and economic interests without imposing undue regulatory burdens on legitimate
international trade. There is a network of Federal agencies and regulations that govern exports
29
Case 1:25-cv-00039-JJM-PAS             Document 68-123         Filed 02/07/25       Page 295 of 556
                                         PageID #: 6225                        Special Terms and Conditions
                                                     Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                              ​


that are collectively referred to as “Export Controls.” To ensure compliance with Export
Controls, it is the Recipient’s responsibility to determine when its project activities trigger
Export Controls and to ensure compliance.


Certain information, technology or material under an award may be considered
export-controlled items that cannot be released to any foreign entity (organization, company, or
person) without a license. The Recipient, and any subrecipients, must take the appropriate
steps to obtain any required licenses, monitor and control access to restricted information and
material, and safeguard all controlled items to ensure compliance with Export Controls. Under
no circumstances may any foreign entity (organizations, companies, or persons) receive access
to an export-controlled item unless proper export procedures have been satisfied and such
access is authorized pursuant to law or regulation.

The Recipient must immediately report to DOE any export control violations related to the
project funded under this Award, at the recipient or subrecipient level, and provide the
corrective action(s) to prevent future violations.




Term 41.​       Prohibition on Certain Telecommunications and Video Surveillance
                Services or Equipment

As set forth in 2 CFR 200.116, recipients and subrecipients are prohibited from obligating or
expending project funds (federal funds and recipient cost share) to:

     (1) Procure or obtain;

     (2) Extend or renew a contract to procure or obtain; or

     (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
     services, or systems that uses covered telecommunications equipment or services as a
     substantial or essential component of any system, or as critical technology as part of any
     system. As described in Public Law 115-232, section 889, covered telecommunications
     equipment is telecommunications equipment produced by Huawei Technologies Company
     or ZTE Corporation (or any subsidiary or affiliate of such entities).

            (i) For the purpose of public safety, security of government facilities, physical security
            surveillance of critical infrastructure, and other national security purposes, video
            surveillance and telecommunications equipment produced by Hytera
            Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
            Dahua Technology Company (or any subsidiary or affiliate of such entities).

            (ii) Telecommunications or video surveillance services provided by such entities or
            using such equipment.
30
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 296 of 556
                                        PageID #: 6226                       Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                              ​


           (iii) Telecommunications or video surveillance equipment or services produced or
           provided by an entity that the Secretary of Defense, in consultation with the Director
           of the National Intelligence or the Director of the Federal Bureau of Investigation,

           reasonably believes to be an entity owned or controlled by, or otherwise connected
           to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

Term 42.​      Fraud, Waste and Abuse
The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity, economy
and efficiency of DOE’s programs and operations including deterring and detecting fraud, waste,
abuse and mismanagement. The OIG accomplishes this mission primarily through
investigations, audits, and inspections of Department of Energy activities to include grants,
cooperative agreements, loans, and contracts.

The OIG maintains a Hotline for reporting allegations of fraud, waste, abuse, or
mismanagement. To report such allegations, please visit
https://www.energy.gov/ig/ig‐hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR § 200.113
Mandatory disclosures:, which states:

               The non-Federal entity or applicant for a Federal award must disclose, in a timely
               manner, in writing to the Federal awarding agency or pass-through entity all
               violations of Federal criminal law involving fraud, bribery, or gratuity violations
               potentially affecting the Federal award. Non-Federal entities that have received a
               Federal award including the term and condition outlined in appendix XII to this
               part are required to report certain civil, criminal, or administrative proceedings to
               SAM (currently FAPIIS). Failure to make required disclosures can result in any of
               the remedies described in § 200.339. (See also 2 CFR part 180, 31 U.S.C. 3321,
               and 41 U.S.C. 2313.) [85 FR 49539, Aug. 13, 2020]

Term 43.​      Interim Conflict of Interest Policy for Financial Assistance Policy
The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/pf-2022-17-department-energy-interim-conflict-interest-
policy-requirements-financial. This policy is applicable to all non-Federal entities applying for, or
that receive, DOE funding by means of a financial assistance award (e.g., a grant, cooperative
agreement, or technology investment agreement) and, through the implementation of this
policy by the entity, to each Investigator who is planning to participate in, or is participating in,
the project funded wholly or in part under the DOE financial assistance award.

Recipients must flow down the requirements of the interim COI Policy to any subrecipient
non-Federal entities.

31
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 297 of 556
                                       PageID #: 6227                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                            ​


It is understood that non-Federal entities and individuals receiving DOE financial assistance
awards will need sufficient time to come into full compliance with DOE’s interim COI Policy. To
provide some flexibility, EERE allows for a staggered implementation. Specifically, prior to

award, the Recipient must ensure all Investigators complete their significant financial
disclosures; review the disclosures; determine whether a FCOI exists; develop and implement a
management plan for FCOIs; and provide DOE with an initial FCOI report that includes any
unmanaged/ unmanageable FCOIs.

To further ease the administrative burden, EERE established a model conflict of interest policy
that WIPO Recipients may adopt and implement. The Recipients has 180 days from the date of
this Award to either adopt and implement the WIPO model conflict of interest policy or ensure
its existing conflict of interest policy aligns with the requirements of the WIPO model COI policy.
The WIPO model COI Policy is available upon request from the Contracting Officer.




Subpart D. Bipartisan Infrastructure Law (BIL)- specific requirements

Term 44.​      Recipient Notification of prospective BIL - specific requirements
The funding for this Award is made available under the BIL and is subject to the applicable
requirements included in the BIL. Requirements for this Award are listed in the subsequent
award terms, however the Recipient should be aware that additional terms and modifications
may be included when the Award is modified with the incororation of the Full Application.
Additional terms that may be incorporated include, but are not limited to:
               1.​ Publication of Information on the Internet
               2.​ Certification and Registration
               3.​ Whistleblowers and False Claims

Term 45.​       Reporting Tracking and Segregation of Incurred Costs
BIL funds may be used in conjunction with other funding, as necessary to complete projects, but
tracking and reporting must be separate. The Recipient must keep separate records for BIL
funds and must ensure those records comply with the requirements of the BIL.

Term 46.​       Buy American Requirements for Infrastructure Projects
     A.​ Definitions
Infrastructure includes, at a minimum, the structures, facilities, and equipment for, in the
United States:
    ●​ Roads, highways, and bridges;
    ●​ Public transportation;
    ●​ Dams, ports, harbors, and other maritime facilities;
    ●​ Intercity passenger and freight railroads;
    ●​ Freight and intermodal facilities;
32
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 298 of 556
                                        PageID #: 6228                       Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                             ​


     ●​ Airports;
     ●​ Water systems, including drinking water and wastewater systems;
     ●​ Electrical transmission facilities and systems;
     ●​ Utilities;
     ●​ Broadband infrastructure;
     ●​ Buildings and real property; and
     ●​ Facilities that generate, transport, and distribute energy.
Further, the “infrastructure” in question must either be publicly owned or serve a public
function; privately owned infrastructure that is not open to the public, such as a personal
residence, is not considered “infrastructure” for purposes of this requirement. In cases where
the “public” nature of the infrastructure is unclear, the recipient is required to consult with the
DOE Grants Officer who will render a determination.



Project means the construction, alteration, maintenance, or repair of infrastructure in the
United States.

Construction Materials includes an article, material, or supply—other than an item of primarily
iron or steel; a manufactured product; cement and cementitious materials; aggregates such as
stone, sand, or gravel; or aggregate binding agents or additives—that is, or consists primarily of:
    ●​ Non-ferrous metals;
    ●​ Plastic and polymer-based products (including polyvinylchloride, composite building
        materials, and polymers used in fiber optic cables);
    ●​ Glass (including optic glass);
    ●​ Lumber; or
    ●​ Drywall.
Domestic content procurement preference means and refers to the same thing as “Buy
America Preference.”

     B.​ Buy America Preference
None of the funds provided under this award may be used for a project for infrastructure
unless:
   1.​ All iron and steel used in the project are produced in the United States—this means all
        manufacturing processes, from the initial melting stage through the application of
        coatings, occurred in the United States;​

     2.​ All manufactured products used in the project are produced in the United States—this
         means the manufactured product was manufactured in the United States; and the cost
         of the components of the manufactured product that are mined, produced, or
         manufactured in the United States is greater than 55 percent of the total cost of all
33
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25      Page 299 of 556
                                        PageID #: 6229                       Special Terms and Conditions
                                                    Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                             ​


        components of the manufactured product, unless another standard for determining the
        minimum amount of domestic content of the manufactured product has been
        established under applicable law or regulation; and​


     3.​ All construction materials are manufactured in the United States—this means that all
         manufacturing processes for the construction material occurred in the United States.
The Buy America Preference only applies to articles, materials, and supplies that are consumed
in, incorporated into, or affixed to an infrastructure project. As such, it does not apply to tools,
equipment, and supplies, such as temporary scaffolding, brought into the construction site and
removed at or before the completion of the infrastructure project. Nor does a Buy America
Preference apply to equipment and furnishings, such as movable chairs, desks, and portable
computer equipment, that are used at or within the finished infrastructure project but are not
an integral part of the structure or permanently affixed to the infrastructure project.​


     C.​ Waivers
When necessary, recipients may apply for, and DOE may grant, a waiver from the Buy America
Preference requirements. Requests to waive the application of the Buy America Preference
must be in writing. Waiver requests are subject to public comment periods of no less than 15
days, as well as review by the Office of Management and Budget.
Waivers must be based on one of the following justifications:
    1.​ Applying the Buy America Preference would be inconsistent with the public interest
        (Public Interest);
    2.​ The types of iron, steel, manufactured products, or construction materials are not
        produced in the United States in sufficient and reasonably available quantities or of a
        satisfactory quality (Nonavailability); or
    3.​ The inclusion of iron, steel, manufactured products, or construction materials produced
        in the United States will increase the cost of the overall project by more than 25 percent
        (Unreasonable Cost).
Requests to waive the Buy America Preference must include the following:
   ●​ Waiver type (Public Interest, Nonavailability, or Unreasonable Cost);
   ●​ Recipient name and Unique Entity Identifier (UEI);
   ●​ A detailed justification as to how the non-domestic item(s) is/are essential the project;
   ●​ A certification that the recipient made a good faith effort to solicit bids for domestic
      products supported by terms included in requests for proposals, contracts, and
      non-proprietary communications with potential suppliers;
   ●​ Total estimated project cost, with estimated Federal share and recipient cost share
      breakdowns;
   ●​ Total estimated infrastructure costs, with estimated Federal share and recipient cost
      share breakdowns;
   ●​ A brief description of the project, its location, and the specific infrastructure involved;
34
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 300 of 556
                                       PageID #: 6230                       Special Terms and Conditions
                                                   Colorado Energy Office Award No. DE-EE0009976.0000
        ​                                            ​


     ●​ List and description of iron or steel item(s), manufactured goods, and/or construction
        material(s) the recipient seeks to waive from the Buy America Preference, including
        name, cost, country(ies) of origin, and relevant PSC and NAICS codes for each;
     ●​ A justification statement—based on one of the applicable justifications outlined
        above—as to why the items in question cannot be procured domestically, including the
        due diligence performed (e.g., market research, industry outreach) by the recipient to
        attempt to avoid the need for a waiver. This justification may cite, if applicable, the
        absence of any Buy America-compliant bids received for domestic products in response
        to a solicitation; and
     ●​ Anticipated impact to the project if no waiver is issued.
DOE may request, and the recipient must provide, additional information for consideration of
this wavier. The Agency’s final determination regarding approval or rejection of the waiver
request may not be appealed.

Term 47.​       Davis Bacon Requirements
This Award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers and
mechanics employed by the recipient, subrecipients, contractors or subcontractors in the
performance of construction, alteration, or repair work on multifamily buildings with five (5) or
more units which has been assisted in whole or in part by funds made available under this
Award shall be paid wages at rates not less than those prevailing on similar projects in the
locality, as determined by the Secretary of Labor in accordance with subchapter IV of chapter 31
of title 40, United States Code commonly referred to as the “Davis-Bacon Act” (DBA).

With respect to work funded under the Weatherization Assistance Program, this requirement
only applies to work performed on multifamily buildings with 5 or more units. Single family
homes or multifamily buildings with 4 or less units are not required to include this requirement.

By accepting this award, the Recipient acknowledges the DBA requirements for the Award and
confirms that all of the laborers and mechanics performing construction, alteration, or repair
work on applicable projects are paid or will be paid wages at rates not less than those prevailing
on projects of a character similar in the locality as determined by Subchapter IV of Chapter 31 of
Title 40, United States Code (Davis-Bacon Act).

The Recipient must comply with all of the Davis-Bacon Act requirements, including but not
limited to:

(1) ensuring that the wage determination(s) and appropriate Davis-Bacon clauses and
requirements are flowed down to and incorporated into any applicable subcontracts or
subrecipient awards.

(2) being responsible for compliance by any subcontractor or subrecipient with the Davis-Bacon
labor standards.

35
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 301 of 556
                                       PageID #: 6231                      Special Terms and Conditions
                                                  Colorado Energy Office Award No. DE-EE0009976.0000
       ​                                            ​


(3) receiving and reviewing certified weekly payrolls submitted by all subcontractors and
subrecipients for accuracy and to identify potential compliance issues.


(4) maintaining original certified weekly payrolls for 3 years after the completion of the project
and must make those payrolls available to the DOE or the Department of Labor upon request, as
required by 29 CFR 5.6(a)(2).

(5) conducting payroll and job-site reviews for construction work, including interviews with
employees, with such frequency as may be necessary to assure compliance by its
subcontractors and subrecipients and as requested or directed by the DOE.

(6) cooperating with any authorized representative of the Department of Labor in their
inspection of records, interviews with employees, and other actions undertaken as part of a
Department of Labor investigation.

(7) posting in a prominent and accessible place the wage determination(s) and Department of
Labor Publication: WH-1321, Notice to Employees Working on Federal or Federally Assisted
Construction Projects.

(8) notifying the Contracting Officer of all labor standards issues, including all complaints
regarding incorrect payment of prevailing wages and/or fringe benefits, received from the
recipient, subrecipient, contractor, or subcontractor employees; significant labor standards
violations, as defined in 29 CFR 5.7; disputes concerning labor standards pursuant to 29 CFR
parts 4, 6, and 8 and as defined in FAR 52.222-14; disputed labor standards determinations;
Department of Labor investigations; or legal or judicial proceedings related to the labor
standards under this Contract, a subcontract, or subrecipient award.

(9) preparing and submitting to the Contracting Officer, the Office of Management and Budget
Control Number 1910-5165, Davis Bacon Semi-Annual Labor Compliance Report, by April 21 and
October 21 of each year. Form submittal will be administered through the iBenefits system
(https://doeibenefits2.energy.gov) or its successor system.

The Recipient must undergo Davis-Bacon Act compliance training and must maintain
competency in Davis-Bacon Act compliance. The Contracting Officer will notify the Recipient of
any DOE sponsored Davis-Bacon Act compliance trainings. The U.S. Department of Labor
(“DOL”) offers free Prevailing Wage Seminars several times a year that meet this requirement, at
https://www.dol.gov/agencies/whd/government-contracts/construction/seminars/events.

For additional guidance on how to comply with the Davis-Bacon provisions and clauses, see
https://www.dol.gov/agencies/whd/government-contracts/construction and
https://www.dol.gov/agencies/whd/government-contracts/protections-for-workers-in-construct
ion.



36
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 302 of 556
                               PageID #: 6232




                  EXHIBIT L
Toor Declaration  Exhibit L
         Case 1:25-cv-00039-JJM-PAS                Document 68-123    Filed 02/07/25   Page 303 of 556
                                                     PageID #: 6233
         ‭Colorado Solar For All: Program Narrative‬                                     ‭October 2023‬




         ‭Colorado Solar for All Program Narrative‬

          ‭ olorado Solar for All Program Narrative‬
          C                                                                                                          ‭‬
                                                                                                                     1
          ‭1. Program Strategy Narrative                                                                             ‭2‬
                  ‭1. Impact Assessment                                                                               ‭2‬
                  ‭2. Meaningful Benefits Plan                                                                         ‭8‬
                  ‭3. Distributed Market Strategy                                                         ‭13‬
                  ‭4. Financial Assistance Strategy                                                        ‭19‬
                  ‭5. Project-Deployment Technical Assistance Strategy                                      ‭25‬
                  ‭6. Equitable Access and Meaningful Involvement Plan                                       ‭30‬
                  ‭7. Program Planning Timeline and Workplan Narrative                                        ‭36‬
         ‭2. Program Administration Narrative                                                                  ‭37‬
                  ‭1. Budget Narrative                                                                          ‭37‬
                  ‭2. Fiscal Stewardship Plan                                                                    ‭39‬
                  ‭3. Reporting Plan                                                                              ‭40‬
         ‭3. Programmatic Capability and Environmental Results Past Performance                                    ‭40‬




                                                                                                                 ‭1‬
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                 Filed 02/07/25             Page 304 of 556
                                                    PageID #: 6234
‭Colorado Solar For All: Program Narrative‬                                                                      ‭October 2023‬



‭1. Program Strategy Narrative‬
‭ he‬‭Colorado‬‭Solar‬‭for‬‭All‬‭(COS4A)‬‭program‬‭will‬‭provide‬‭all‬‭three‬‭installation‬‭types‬‭described‬
T
‭in‬ ‭the‬ ‭EPA’s‬ ‭Request‬ ‭for‬ ‭Application‬ ‭of‬ ‭single-family‬ ‭rooftop‬ ‭solar,‬ ‭multifamily‬ ‭rooftop‬‭solar,‬
 ‭and‬ ‭community‬ ‭solar‬ ‭to‬‭balance‬‭serving‬‭the‬‭highest‬‭energy‬‭burdened‬‭residents,‬‭maximizing‬‭the‬
  ‭resident‬‭cost‬‭savings‬‭and‬‭emissions‬‭reductions,‬‭and‬‭the‬‭market‬‭transformation‬‭potential‬‭of‬‭such‬‭a‬
   ‭large‬ ‭scale‬ ‭program.‬ ‭Colorado‬ ‭is‬ ‭seeking‬ ‭$250M‬ ‭under‬ ‭the‬ ‭medium‬‭program‬‭award‬‭tier‬‭which‬
    ‭aligns‬ ‭with‬ ‭the‬ ‭total‬ ‭population‬ ‭of‬ ‭the‬ ‭census‬ ‭tracts‬ ‭identified‬ ‭by‬ ‭CEJST‬ ‭as‬ ‭disadvantaged‬ ‭in‬
     ‭Colorado‬ ‭of‬ ‭1,060,921.‬ ‭COS4A‬ ‭program‬ ‭represents‬ ‭a‬ ‭diverse‬ ‭array‬ ‭of‬ ‭stakeholders‬ ‭with‬ ‭the‬
      ‭Colorado‬ ‭Energy‬ ‭Office‬ ‭(CEO)‬ ‭as‬ ‭the‬ ‭lead‬‭applicant.‬‭This‬‭application‬‭was‬‭prepared‬‭with‬‭input‬
       ‭from‬ ‭entities‬ ‭representing‬ ‭a‬ ‭cross‬ ‭section‬‭of‬‭affordable‬‭housing‬‭advocates,‬‭nonprofits,‬‭financial‬
        ‭institutions,‬ ‭local‬ ‭government,‬ ‭solar‬ ‭industry‬ ‭experts‬ ‭and‬ ‭interested‬ ‭parties‬ ‭in‬ ‭Colorado.‬ ‭With‬
         ‭varying‬ ‭expertise‬ ‭and‬ ‭capacity‬ ‭across‬‭our‬‭stakeholder‬‭network,‬‭COS4A‬‭is‬‭positioned‬‭to‬‭deliver‬
          ‭the‬ ‭benefits‬ ‭of‬ ‭solar‬ ‭to‬ ‭more‬ ‭than‬ ‭40,000‬ ‭households‬ ‭living‬ ‭in‬ ‭low-income‬ ‭or‬ ‭disadvantaged‬
           ‭communities‬ ‭(LIDC)‬ ‭across‬ ‭the‬ ‭entire‬ ‭state‬ ‭of‬ ‭Colorado.‬ ‭The‬ ‭EPA’s‬ ‭Solar‬ ‭for‬ ‭All‬ ‭grant‬ ‭will‬
            ‭complement‬‭the‬‭robust‬‭solar‬‭market‬‭in‬‭Colorado‬‭by‬‭enabling‬‭the‬‭state‬‭to‬‭increase‬‭the‬‭number‬‭of‬
             ‭low-income‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭that‬ ‭can‬ ‭take‬ ‭advantage‬ ‭of‬ ‭distributed‬ ‭solar‬
              ‭investments‬ ‭and‬‭providing‬‭access‬‭to‬‭affordable,‬‭resilient,‬‭and‬‭clean‬‭solar‬‭energy‬‭and‬‭the‬‭related‬
               ‭benefits‬ ‭including‬ ‭lower‬ ‭utility‬ ‭bills.‬ ‭These‬ ‭efforts‬ ‭are‬ ‭critical‬ ‭to‬ ‭achieving‬ ‭the‬ ‭Governor’s‬
                ‭objective‬ ‭of‬ ‭100%‬ ‭carbon-free‬ ‭electricity‬ ‭for‬ ‭Colorado‬ ‭by‬ ‭2040‬ ‭while‬ ‭protecting‬ ‭Colorado‬
                 ‭consumers from the high and unpredictable costs of natural gas and other fossil fuels.‬


‭1.‬‭Impact Assessment‬
‭ o‬‭understand‬‭the‬‭potential‬‭scope‬‭of‬‭COS4A‬‭programming,‬‭it‬‭is‬‭necessary‬‭to‬‭consider‬‭the‬‭current‬
T
‭state‬‭of‬‭the‬‭solar‬‭industry‬‭in‬‭Colorado‬‭by‬‭examining‬‭the‬‭deployed‬‭capacity‬‭of‬‭solar‬‭in‬‭Colorado,‬
 ‭what‬ ‭proportion‬ ‭of‬ ‭the‬ ‭existing‬ ‭capacity‬ ‭serves‬ ‭LIDC‬ ‭populations,‬ ‭the‬ ‭available‬ ‭industry‬ ‭and‬
  ‭workforce,‬ ‭the‬ ‭enabling‬ ‭policy‬ ‭(and‬ ‭subsequent‬ ‭limitations),‬ ‭and‬ ‭the‬ ‭estimated‬ ‭serviceable‬
   ‭customer‬ ‭base‬ ‭for‬ ‭the‬ ‭COS4A‬ ‭program.‬ ‭The‬ ‭Impact‬ ‭Assessment‬ ‭section‬ ‭defines‬ ‭the‬ ‭expected‬
    ‭programmatic‬ ‭targets‬ ‭for‬ ‭installed‬ ‭capacity,‬ ‭households‬ ‭served‬ ‭and‬ ‭annual‬ ‭CO2‬ ‭emissions‬
     ‭avoided‬ ‭through‬ ‭assessment‬ ‭of‬ ‭the‬ ‭state’s‬ ‭existing‬ ‭solar‬ ‭market‬ ‭and‬ ‭future‬ ‭potential‬ ‭to‬ ‭serve‬
      ‭low-income and disadvantaged households.‬
1‭ .1 Existing Solar Market & Industry Baseline‬
 ‭Nationally,‬ ‭the‬ ‭residential‬ ‭solar‬‭market‬‭has‬‭grown‬‭continuously‬‭since‬‭the‬‭year‬‭2000.‬‭According‬
  ‭to‬ ‭the‬ ‭Lawrence‬ ‭Berkeley‬ ‭Laboratory‬ ‭(LBL)‬ ‭Tracking‬ ‭the‬ ‭Sun‬ ‭report,‬ ‭as‬ ‭of‬ ‭2022‬ ‭the‬ ‭median‬
   ‭installed‬ ‭system‬ ‭size‬ ‭for‬ ‭residential‬ ‭applications‬ ‭is‬ ‭7.2‬ ‭kW.‬‭1‬ ‭While‬ ‭the‬ ‭system‬ ‭size‬ ‭in‬ ‭the‬
    ‭residential‬ ‭market‬ ‭has‬ ‭grown‬ ‭there‬ ‭have‬ ‭been‬ ‭fluctuations‬ ‭in‬ ‭the‬ ‭ownership‬ ‭mechanisms‬ ‭for‬
     ‭residential solar installations.‬
‭ BL‬ ‭Tracking‬ ‭the‬ ‭Sun‬ ‭reports‬ ‭that‬‭over‬‭time,‬‭third-party‬‭ownership‬‭(TPO)‬‭of‬‭residential‬‭assets‬
L
‭has‬ ‭declined‬ ‭since‬ ‭2012‬ ‭in‬ ‭the‬ ‭national‬ ‭market.‬ ‭However,‬ ‭TPO‬ ‭continues‬ ‭to‬ ‭be‬ ‭steady‬ ‭in‬
 ‭non-residential‬ ‭segments‬ ‭and‬ ‭is‬ ‭generally‬ ‭higher‬ ‭in‬ ‭states‬ ‭that‬ ‭offer‬ ‭deep‬ ‭incentive/subsidy‬

‭1‬
  ‭Galen Barbose, Naim Darbhouth, Eric O’Shaughnessy, Sydney Forrester. “Tracking the Sun” Lawrence Berkeley‬
‭Laboratories.‬‭https://emp.lbl.gov/tracking-the-sun‬


                                                                                                                                    ‭2‬
Case 1:25-cv-00039-JJM-PAS                     Document 68-123               Filed 02/07/25           Page 305 of 556
                                                 PageID #: 6235
‭Colorado Solar For All: Program Narrative‬                                                               ‭October 2023‬


p‭ rograms..‬‭2‬ ‭The‬ ‭broad‬ ‭trends‬ ‭in‬ ‭ownership‬ ‭structure‬ ‭have‬ ‭market-based‬ ‭implications‬ ‭for‬ ‭the‬
 ‭balance‬‭of‬‭project‬‭deployment‬‭in‬‭the‬‭COS4A‬‭program.‬‭As‬‭a‬‭state,‬‭Colorado‬‭has‬‭both‬‭policy‬‭(see‬
  ‭Section‬ ‭3.‬ ‭Distributed‬ ‭Market‬ ‭Strategy‬‭)‬ ‭and‬ ‭financing‬ ‭(see‬ ‭Section‬ ‭4.‬ ‭Financial‬ ‭Assistance‬
   ‭Strategy‬‭) conditions that make TPO residential projects‬‭a viable Solar For All pathway.‬
‭ he‬‭growth‬‭in‬‭the‬‭national‬‭solar‬‭market‬‭is‬‭reflected‬‭in‬‭the‬‭deployed‬‭market‬‭in‬‭Colorado.‬‭Across‬
T
‭the‬‭entire‬‭solar‬‭sector,‬‭Colorado‬‭has‬‭a‬‭robust‬‭market.‬‭Solar‬‭Energy‬‭Industries‬‭Association‬‭(SEIA)‬
 ‭reports‬‭that‬‭Colorado‬‭has‬‭a‬‭total‬‭installed‬‭capacity‬‭of‬‭2,671‬‭MW‬‭of‬‭solar‬‭as‬‭of‬‭2022‬‭which‬‭could‬
  ‭serve‬ ‭an‬ ‭estimated‬ ‭515,688‬ ‭homes‬ ‭and‬ ‭is‬ ‭approximately‬ ‭6.45%‬‭of‬‭Colorado’s‬‭total‬‭electricity.‬‭3‬
   ‭Nationally,‬ ‭this‬ ‭puts‬ ‭Colorado‬ ‭13th‬ ‭in‬ ‭total‬ ‭installed‬ ‭capacity.‬ ‭In‬ ‭addition,‬ ‭adopted‬ ‭electric‬
    ‭resource‬ ‭plans‬ ‭by‬ ‭Colorado‬ ‭utilities‬ ‭include‬ ‭vast‬ ‭increases‬ ‭in‬ ‭renewable‬ ‭energy‬ ‭deployment‬
     ‭throughout‬ ‭the‬ ‭decade.‬ ‭For‬ ‭example,‬ ‭the‬ ‭plan‬ ‭currently‬ ‭under‬ ‭consideration‬ ‭by‬ ‭the‬ ‭Colorado‬
      ‭Public‬ ‭Utility‬ ‭Commission‬ ‭(PUC)‬ ‭for‬ ‭the‬ ‭state’s‬ ‭largest‬ ‭utility,‬ ‭Public‬ ‭Service‬ ‭Company‬ ‭of‬
       ‭Colorado,‬ ‭will‬ ‭lead‬ ‭to‬ ‭approximately‬ ‭83%‬ ‭renewable‬ ‭electricity‬ ‭generation‬ ‭by‬ ‭2030,‬‭including‬
        ‭3,406 MW of wind, 1,969 MW of solar, and 1,170 MW of storage.‬
1‭ .2 Colorado Deployed Market Share in Low and Moderate Income (LMI) Populations‬
 ‭According‬ ‭to‬ ‭data‬ ‭from‬ ‭Lawrence‬ ‭Berkeley‬ ‭Lab,‬ ‭in‬ ‭Colorado‬ ‭a‬‭projected‬‭15.5%‬‭of‬‭distributed‬
  ‭solar‬ ‭adopters‬ ‭are‬ ‭LMI‬ ‭households.‬‭4‬ ‭As‬ ‭an‬ ‭early‬ ‭adopter‬ ‭of‬ ‭regulated‬ ‭TPO‬ ‭solar,‬ ‭the‬ ‭first‬
   ‭community‬ ‭solar‬ ‭project‬ ‭installed‬ ‭in‬ ‭Colorado‬ ‭dates‬ ‭to‬ ‭2009.‬ ‭Similar‬ ‭to‬‭the‬‭goals‬‭of‬‭Solar‬‭For‬
    ‭All,‬ ‭Colorado’s‬ ‭Community‬ ‭Solar‬ ‭Gardens‬ ‭have‬ ‭long‬ ‭had‬ ‭an‬ ‭emphasis‬ ‭on‬ ‭serving‬ ‭LMI‬
     ‭communities.‬‭Since‬‭then,‬‭another‬‭92‬‭community‬‭solar‬‭projects‬‭have‬‭been‬‭installed‬‭in‬‭the‬‭state‬‭of‬
      ‭Colorado‬‭as‬‭of‬‭July‬‭2023‬‭with‬‭a‬‭total‬‭of‬‭158.68‬‭MW-AC‬‭of‬‭installed‬‭capacity.‬‭5‬ ‭While‬‭not‬‭all‬‭of‬
       ‭this‬‭capacity‬‭serves‬‭LMI‬‭populations,‬‭17.66‬‭MW-AC‬‭of‬‭statewide‬‭community‬‭solar‬‭is‬‭devoted‬‭to‬
        ‭serving‬ ‭this‬ ‭population.‬‭6‬ ‭On‬ ‭average,‬ ‭11%‬ ‭(or‬ ‭1,900‬ ‭kW-AC)‬ ‭of‬ ‭existing‬ ‭community‬ ‭solar‬
         ‭capacity‬ ‭in‬ ‭Colorado‬ ‭serves‬ ‭LMI‬ ‭populations.‬ ‭This‬ ‭existing‬ ‭capacity‬ ‭supports‬ ‭1,860‬ ‭LMI‬
          ‭subscriber‬‭households.‬‭Colorado‬‭was‬‭also‬‭the‬‭first‬‭state‬‭in‬‭the‬‭nation‬‭to‬‭receive‬‭approval‬‭from‬‭the‬
           ‭U.S.‬ ‭Department‬ ‭of‬ ‭Energy‬ ‭(DOE)‬ ‭to‬ ‭integrate‬ ‭rooftop‬ ‭PV‬ ‭into‬ ‭the‬ ‭Weatherization‬‭Assistance‬
            ‭Program and is enthusiastic about partnering with this program to leverage weatherized homes.‬
‭ hile‬ ‭discrete‬ ‭data‬ ‭of‬ ‭solar‬ ‭installations‬ ‭in‬ ‭LMI‬ ‭single-family‬ ‭households‬ ‭in‬ ‭Colorado‬ ‭is‬ ‭not‬
W
‭available,‬ ‭a‬ ‭snapshot‬ ‭of‬ ‭the‬ ‭market‬ ‭is‬ ‭available‬ ‭through‬ ‭the‬ ‭Colorado‬ ‭Energy‬ ‭Office’s‬
 ‭Weatherization‬‭Assistance‬‭Program‬‭(WAP).‬‭Data‬‭from‬‭the‬‭last‬‭two‬‭fiscal‬‭years‬‭of‬‭WAP‬‭provides‬
  ‭a‬ ‭baseline‬ ‭for‬ ‭the‬ ‭rate‬ ‭of‬ ‭LMI‬ ‭single-family‬ ‭solar‬ ‭installations.‬ ‭In‬ ‭Fiscal‬ ‭Year‬ ‭22/23‬ ‭WAP‬
   ‭installed‬ ‭147‬ ‭solar‬ ‭arrays‬ ‭at‬ ‭qualifying‬ ‭households‬ ‭for‬ ‭a‬ ‭total‬ ‭of‬ ‭724‬‭kW.‬‭In‬‭Fiscal‬‭Year‬‭21/22‬
    ‭WAP‬ ‭installed‬ ‭155‬ ‭arrays‬ ‭at‬‭qualifying‬‭households‬‭for‬‭a‬‭total‬‭of‬‭652‬‭kW.‬‭Across‬‭both‬‭program‬
     ‭years the average installed cost was $3.18/W-DC at an average of 4.65 kW per system.‬‭7‬



‭2‬
          I‭ bid.‬
‭3‬
           ‭SEIA/Wood Mackenzie Power & Renewables. “Solar Market Insight.” State Summaries.‬
‭https://www.seia.org/sites/default/files/2023-07/Colorado.pdf‬
 ‭4‬
            ‭Lawrence Berkeley Labs. “Equity and Income Trends of Residential PV Adopters in Colorado.” Contracted‬
  ‭Analysis.‬
   ‭5‬
        ‭Gabriel Chan, Jenny Heeter,, and Kaifeng Xu. 2022. "Sharing the Sun Community Solar Project Data (June 2022)."‬
    ‭NREL Data Catalog. Golden, CO: National Renewable Energy Laboratory.‬‭https://data.nrel.gov/submissions/203‬
     ‭6‬
             ‭Ibid.‬
      ‭7‬
              ‭Colorado Energy Office. Weatherization Assistance Program. Program Data.‬


                                                                                                                            ‭3‬
Case 1:25-cv-00039-JJM-PAS                     Document 68-123               Filed 02/07/25           Page 306 of 556
                                                 PageID #: 6236
‭Colorado Solar For All: Program Narrative‬                                                               ‭October 2023‬


‭ vailable‬ ‭data‬ ‭on‬ ‭LMI‬ ‭multifamily‬ ‭solar‬ ‭installations‬ ‭in‬ ‭Colorado‬ ‭is‬ ‭even‬ ‭more‬ ‭sparse.‬ ‭As‬ ‭a‬
A
‭result,‬ ‭that‬ ‭is‬ ‭not‬ ‭included‬ ‭in‬ ‭the‬ ‭baseline‬ ‭analysis‬ ‭here.‬ ‭While‬ ‭distinguishing‬ ‭the‬ ‭amount‬ ‭of‬
 ‭deployed‬ ‭solar‬ ‭in‬ ‭multifamily‬ ‭contexts‬ ‭is‬ ‭challenging,‬ ‭Colorado‬ ‭has‬ ‭approximately‬ ‭69,388‬
  ‭federally‬ ‭assisted‬ ‭units‬ ‭of‬ ‭housing‬ ‭in‬‭Colorado‬‭according‬‭to‬‭the‬‭National‬‭Housing‬‭Preservation‬
   ‭Database.‬‭8‬ ‭Not‬ ‭every‬‭multifamily‬‭unit‬‭would‬‭be‬‭a‬‭candidate‬‭for‬‭Solar‬‭for‬‭All‬‭programming.‬‭As‬
    ‭merely‬‭a‬‭subset‬‭of‬‭the‬‭multifamily‬‭landscape,‬‭this‬‭shows‬‭the‬‭scale‬‭of‬‭opportunity‬‭for‬‭multifamily‬
     ‭solar in Colorado.‬
1‭ .3 Solar Market Costs in Colorado‬
 ‭Current‬ ‭market‬ ‭costs‬ ‭in‬ ‭Colorado‬ ‭are‬‭dependent‬‭on‬‭the‬‭type‬‭of‬‭installation‬‭and‬‭size.‬‭Generally,‬
  ‭SEIA‬‭reports‬‭that‬‭prices‬‭have‬‭dropped‬‭54%‬‭in‬‭Colorado‬‭over‬‭the‬‭past‬‭decade.‬‭9‬ ‭LBL‬‭Tracking‬‭the‬
   ‭Sun‬ ‭disaggregates‬ ‭costs‬ ‭by‬ ‭residential‬ ‭and‬ ‭non-residential‬ ‭installations.‬ ‭According‬ ‭to‬‭LBL,‬‭the‬
    ‭median‬ ‭installed‬‭cost‬‭for‬‭residential‬‭systems‬‭(1-12‬‭kW)‬‭in‬‭Colorado‬‭was‬‭$4.60/W-DC.‬‭10‬ ‭This‬‭is‬
     ‭higher‬‭than‬‭the‬‭national‬‭median‬‭installed‬‭cost‬‭of‬‭$3.80/W-DC.‬‭However,‬‭it‬‭should‬‭be‬‭noted‬‭that‬
      ‭both‬ ‭the‬ ‭CEO‬ ‭WAP‬ ‭program‬ ‭and‬ ‭non-profit‬ ‭installer‬ ‭GRID‬ ‭Alternatives‬ ‭report‬ ‭installed‬ ‭costs‬
       ‭closer‬ ‭to‬ ‭$3.50/W-DC.‬ ‭Tracking‬ ‭the‬ ‭Sun‬ ‭identifies‬ ‭a‬ ‭median‬ ‭installed‬ ‭cost‬ ‭of‬ ‭$2.4/W-DC‬ ‭in‬
        ‭non-residential‬ ‭systems‬ ‭(1-100‬ ‭kW)‬ ‭in‬ ‭Colorado.‬ ‭This‬ ‭is‬ ‭substantially‬ ‭lower‬ ‭than‬ ‭the‬ ‭national‬
         ‭median‬‭installed‬‭cost‬‭of‬‭$3.0/W-DC.‬‭11‬ ‭More‬‭granular‬‭estimates‬‭of‬‭expected‬‭deployment‬‭costs‬‭for‬
          ‭various‬ ‭types‬ ‭of‬ ‭COS4A‬ ‭programming‬ ‭can‬ ‭be‬ ‭found‬ ‭in‬ ‭the‬ ‭Section‬ ‭4:‬ ‭Financial‬ ‭Assistance‬
           ‭Strategy‬‭.‬‭We‬‭also‬‭hypothesize‬‭that‬‭the‬‭COS4A‬‭initiative‬‭will‬‭help‬‭drive‬‭down‬‭the‬‭costs‬‭of‬‭solar‬
            ‭installations‬ ‭in‬ ‭Colorado‬ ‭by‬ ‭creating‬ ‭additional‬ ‭demand-pull‬ ‭and‬‭competition‬‭for‬‭solar‬‭projects‬
             ‭within the relevant guidelines described in this application and as prescribed by EPA.‬
1‭ .4 Colorado Solar Industry and Workforce‬
 ‭Consistent‬ ‭with‬ ‭its‬ ‭high-levels‬ ‭of‬ ‭installed‬ ‭solar‬ ‭capacity,‬ ‭Colorado‬‭also‬‭has‬‭a‬‭substantial‬‭solar‬
  ‭industry‬ ‭workforce.‬ ‭The‬ ‭most‬ ‭recent‬ ‭Interstate‬ ‭Renewable‬ ‭Energy‬ ‭Council‬ ‭(IREC)‬ ‭report‬
   ‭indicates‬‭a‬‭robust,‬‭and‬‭growing,‬‭solar‬‭workforce‬‭in‬‭Colorado.‬‭As‬‭of‬‭2022,‬‭Colorado‬‭has‬‭the‬‭8th‬
    ‭largest‬‭per‬‭capita‬‭solar‬‭workforce‬‭in‬‭the‬‭country‬‭at‬‭roughly‬‭7,600‬‭people‬‭employed.‬‭12‬ ‭Supporting‬
     ‭these‬ ‭workers‬ ‭in‬ ‭Colorado‬ ‭are‬ ‭at‬ ‭least‬ ‭388‬ ‭distinct‬ ‭solar‬ ‭companies‬ ‭-‬ ‭of‬ ‭which‬ ‭186‬ ‭are‬
      ‭installers/developers.‬‭13‬
‭ rom‬ ‭2017-2022‬ ‭Colorado‬ ‭experienced‬ ‭a‬ ‭five-year‬ ‭solar‬ ‭workforce‬ ‭growth‬ ‭rate‬ ‭of‬ ‭more‬ ‭than‬
F
‭12%.‬‭In‬‭2023,‬‭projected‬‭growth‬‭is‬‭6.4%.‬‭14‬ ‭Despite‬‭the‬‭naturally‬‭occurring‬‭growth‬‭in‬‭the‬‭industry,‬
 ‭National‬ ‭Renewable‬ ‭Energy‬ ‭Lab‬ ‭(NREL)‬ ‭modeling‬ ‭suggests‬ ‭a‬ ‭significant‬ ‭need‬ ‭for‬ ‭growth‬ ‭in‬
  ‭solar‬‭energy‬‭jobs‬‭to‬‭support‬‭the‬‭trends‬‭and‬‭targets‬‭of‬‭the‬‭national‬‭market.‬‭In‬‭Colorado‬‭alone‬‭the‬



‭8‬
           ‭ ational Affordable Housing Preservation Database. Colorado.‬‭https://reports.mysidewalk.com/335c0f64f5‬
           N
‭9‬
           ‭SEIA/Wood Mackenzie Power & Renewables. “Solar Market Insight.” State Summaries.‬
‭https://www.seia.org/sites/default/files/2023-07/Colorado.pdf‬
 ‭10‬
             ‭Galen Barbose, Naim Darbhouth, Eric O’Shaughnessy, Sydney Forrester. “Tracking the Sun: Pricing and Design‬
  ‭for Distributed Photovoltaic Systems in the United States 2023 Edition” Lawrence Berkeley Laboratories.‬
   ‭https://emp.lbl.gov/tracking-the-sun‬
    ‭11‬
                ‭Ibid‬‭.‬
     ‭12‬
              ‭Interstate Renewable Energy Council (IREC). National Solar Jobs Census 2022.‬
      ‭https://irecusa.org/programs/solar-jobs-census/‬
       ‭13‬
               ‭SEIA/Wood McKenzie.‬
        ‭14‬
                  ‭Interstate Renewable Energy Council (IREC). National‬‭Solar Jobs Census 2022.‬


                                                                                                                            ‭4‬
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                 Filed 02/07/25             Page 307 of 556
                                                    PageID #: 6237
‭Colorado Solar For All: Program Narrative‬                                                                      ‭October 2023‬


p‭ rojected‬‭market‬‭growth‬‭calls‬‭for‬‭a‬‭need‬‭to‬‭double‬‭the‬‭existing‬‭workforce‬‭by‬‭2030.‬‭15‬ ‭We‬‭believe‬
 ‭COS4A‬ ‭is‬‭well-positioned‬‭to‬‭support‬‭additional‬‭workforce‬‭growth‬‭to‬‭meet‬‭demand‬‭in‬‭Colorado‬
  ‭and ensure the solar industry offers good-paying, family-sustaining jobs in the sector.‬
1‭ .5 COS4A Serviceable Target Market Characteristics‬
 ‭In‬‭determining‬‭the‬‭success‬‭of‬‭a‬‭COS4A‬‭program,‬‭it‬‭is‬‭valuable‬‭to‬‭consider‬‭the‬‭potential‬‭scale‬‭of‬
  ‭the‬ ‭serviceable‬ ‭target‬ ‭market.‬ ‭Using‬ ‭a‬ ‭maximum‬ ‭of‬ ‭80%‬ ‭statewide‬ ‭AMI,‬ ‭43%‬ ‭of‬ ‭Colorado‬
   ‭households‬‭are‬‭income-eligible‬‭for‬‭Solar‬‭for‬‭All‬‭low-income‬‭programs‬‭estimated‬‭at‬‭925,750‬‭total‬
    ‭households.‬‭16‬
‭ cross‬ ‭Colorado,‬ ‭64%‬ ‭of‬ ‭all‬ ‭renter-occupied‬ ‭households‬ ‭are‬ ‭income-eligible‬ ‭and‬ ‭32%‬ ‭of‬ ‭all‬
A
‭owner-occupied‬ ‭households‬ ‭are‬ ‭income-eligible.‬‭17‬ ‭Based‬ ‭on‬ ‭income‬ ‭alone,‬ ‭there‬ ‭is‬ ‭a‬
 ‭disproportionate‬ ‭need‬ ‭to‬ ‭provide‬ ‭service‬ ‭to‬ ‭Colorado‬ ‭renter‬ ‭households.‬ ‭CEO‬ ‭recognizes‬ ‭that‬
  ‭serving‬ ‭this‬ ‭population‬ ‭is‬ ‭inherently‬ ‭complex‬ ‭but‬ ‭the‬ ‭goals‬ ‭of‬ ‭Solar‬ ‭for‬ ‭All‬ ‭offer‬ ‭a‬‭significant‬
   ‭opportunity‬ ‭to‬ ‭close‬ ‭the‬ ‭gap.‬ ‭A‬ ‭majority‬‭of‬‭renter‬‭households‬‭live‬‭in‬‭apartments‬‭of‬‭10‬‭or‬‭more‬
    ‭units‬ ‭and‬ ‭could‬ ‭be‬ ‭functionally‬ ‭served‬ ‭by‬ ‭community‬ ‭solar‬ ‭applications‬ ‭or‬ ‭rooftop‬ ‭systems.‬
     ‭Proprietary‬ ‭data‬‭from‬‭BlocPower‬‭indicates‬‭that‬‭there‬‭are‬‭76,116‬‭majority‬‭low-moderate-income‬
      ‭multifamily‬ ‭rental‬ ‭buildings‬ ‭in‬ ‭Colorado.‬‭18‬ ‭In‬ ‭addition,‬ ‭25%‬ ‭of‬ ‭Colorado‬ ‭renters‬ ‭live‬ ‭in‬
       ‭single-family detached units that could be served with behind-the-meter initiatives.‬‭19‬
‭ f‬ ‭the‬ ‭population‬ ‭under‬ ‭the‬ ‭80%‬ ‭AMI‬ ‭threshold‬ ‭statewide,‬ ‭an‬ ‭estimated‬ ‭549,000‬ ‭Colorado‬
O
‭households‬ ‭are‬ ‭cost‬ ‭burdened‬ ‭by‬ ‭housing.‬ ‭In‬ ‭Colorado,‬ ‭housing‬ ‭burden‬ ‭transcends‬‭geographic‬
 ‭boundaries‬ ‭as‬ ‭rural,‬ ‭rural‬ ‭resort,‬ ‭and‬ ‭urban‬ ‭communities‬ ‭all‬ ‭face‬ ‭significant‬ ‭impacts‬ ‭from‬
  ‭housing‬‭affordability.‬‭20‬ ‭While‬‭housing‬‭burden‬‭is‬‭widely‬‭distributed,‬‭Colorado‬‭households‬‭facing‬
   ‭the‬ ‭highest‬ ‭energy‬ ‭costs‬‭are‬‭disproportionately‬‭rural.‬‭When‬‭considering‬‭households‬‭at‬‭or‬‭below‬
    ‭80%‬‭AMI‬‭in‬ ‭Colorado,‬‭50‬‭(out‬‭of‬‭64)‬‭counties‬‭have‬‭LI‬‭households‬‭who‬‭on‬‭average‬‭pay‬‭between‬
     ‭6-13%‬ ‭of‬ ‭their‬ ‭gross‬ ‭income‬ ‭to‬ ‭energy‬ ‭costs.‬‭21‬ ‭All‬ ‭but‬ ‭two‬ ‭of‬ ‭these‬ ‭counties‬‭are‬‭rural‬‭or‬‭rural‬
      ‭resort‬‭in‬‭state‬‭classification‬‭systems‬‭utilized‬‭by‬‭the‬‭Colorado‬‭Division‬‭of‬‭Housing.‬‭An‬‭analysis‬‭of‬
       ‭statewide‬ ‭energy‬ ‭burden‬ ‭commissioned‬ ‭by‬ ‭the‬‭Colorado‬‭Energy‬‭Office‬‭highlights‬‭that‬‭many‬‭of‬
        ‭these‬‭high-burden,‬‭rural‬‭communities‬‭would‬‭benefit‬‭greatly‬‭from‬‭community‬‭solar‬‭opportunities‬
         ‭to‬ ‭help‬ ‭reduce‬ ‭cost.‬‭22‬ ‭The‬ ‭same‬ ‭analysis‬ ‭also‬ ‭highlights‬ ‭that‬ ‭black,‬ ‭indigenous,‬ ‭and‬ ‭people‬ ‭of‬
          ‭color‬ ‭(BIPOC)‬ ‭in‬ ‭Colorado‬ ‭are‬ ‭also‬ ‭disproportionately‬ ‭impacted‬ ‭by‬ ‭energy‬ ‭burden‬ ‭and‬ ‭have‬
           ‭historically‬ ‭lacked‬ ‭effective‬ ‭access‬ ‭to‬ ‭renewable‬ ‭energy‬ ‭generation‬ ‭programs.‬‭COS4A‬‭plans‬‭to‬
            ‭directly‬‭address‬‭this‬‭through‬‭our‬‭program‬‭deployment‬‭strategies‬‭addressed‬‭in‬‭Sections‬‭2‬‭and‬‭3‬‭of‬
             ‭this application.‬

‭15‬
             ‭Sarah Truitt, James Elsworth, Juliana Williams, David Keyser, Allison MOe, Julia Sullivan, Kevin Wu.‬
‭ tate-Level Employment Projections for Four Clean Energy Technologies in 2025 and 2030.‬
S
‭https://www.nrel.gov/docs/fy22osti/81486.pdf‬
 ‭16‬
              ‭Comprehensive Housing Affordability Strategy (CHAS) Data Based on 2015-2019 American Community Survey.‬
  ‭2022.‬‭https://www.huduser.gov/portal/datasets/cp.html‬
   ‭17‬
               ‭Ibid‬
    ‭18‬
                ‭Proprietary Data. BlocPower. Personal Communication.‬
     ‭19‬
                 ‭Ibid.‬
      ‭20‬
                  ‭Energy Burden. DOE LEAD Tool.‬‭https://www.energy.gov/scep/slsc/lead-tool‬
       ‭21‬
                   ‭Energy Burden. DOE LEAD Tool.‬‭https://www.energy.gov/scep/slsc/lead-tool‬
        ‭22‬
                    ‭Colorado Energy Office. “Pathways to Energy Affordability in Colorado”. Prepared by Physicians, Scientists, and‬
         ‭Engineers for Healthy Energy and the Institute for Energy and Environmental‬
          ‭Research.‬‭https://drive.google.com/file/d/1oTnkG1oiDrLrtoU9Ay7Se7bBbvG0KNcp/view‬


                                                                                                                                    ‭5‬
Case 1:25-cv-00039-JJM-PAS                      Document 68-123                 Filed 02/07/25           Page 308 of 556
                                                  PageID #: 6238
‭Colorado Solar For All: Program Narrative‬                                                                  ‭October 2023‬


1‭ .6 Applying Historic Data to Contemporary Context‬
 ‭With‬ ‭the‬ ‭context‬ ‭of‬ ‭the‬ ‭existing‬ ‭socio-economic‬ ‭conditions‬ ‭and‬ ‭the‬ ‭market‬ ‭dynamics‬
  ‭summarized‬ ‭previously,‬ ‭CEO‬ ‭recognizes‬ ‭the‬ ‭need‬ ‭to‬ ‭maximize‬ ‭efficacy‬ ‭in‬ ‭Colorado’s‬
   ‭highly-enabling‬ ‭policy‬ ‭environment.‬ ‭In‬ ‭the‬ ‭absence‬ ‭of‬ ‭an‬ ‭existing‬ ‭Solar‬ ‭for‬ ‭All‬ ‭program‬ ‭in‬
    ‭Colorado,‬‭COS4A‬‭will‬‭expand‬‭access‬‭to‬‭low-income,‬‭historically‬‭underserved‬‭and‬‭disadvantaged‬
     ‭communities‬ ‭by‬ ‭focusing‬ ‭on‬ ‭targeted‬ ‭and‬ ‭contextualized‬ ‭technical‬ ‭assistance‬ ‭and‬ ‭heavily‬
      ‭subsidized‬ ‭financing‬ ‭products‬ ‭while‬ ‭also‬ ‭looking‬ ‭to‬ ‭address‬ ‭any‬ ‭localized‬ ‭barriers‬ ‭(reference‬
       ‭Section‬ ‭2‬‭Meaningful‬‭Benefits‬‭Plan‬‭for‬‭cultural‬‭and‬‭financial‬‭barriers‬‭and‬‭Section‬‭3‬‭Distributed‬
        ‭Market Strategy‬‭for market barriers).‬
‭ iven‬‭the‬‭context‬‭of‬‭the‬‭solar‬‭market‬‭in‬‭Colorado‬‭and‬‭the‬‭existing‬‭rates‬‭of‬‭deployment‬‭in‬‭LIDC,‬
G
‭CEO‬‭believes‬‭the‬‭metrics‬‭and‬‭outcomes‬‭highlighted‬‭in‬‭the‬‭next‬‭section‬‭are‬‭attainable‬‭within‬‭the‬
 ‭five-year period of the award.‬
1‭ .7 COS4A Metrics of Success: Outputs and Outcomes‬
 ‭While‬‭the‬‭following‬‭outcomes‬‭are‬‭based‬‭on‬‭reasonable‬‭(vetted‬‭with‬‭solar‬‭developers‬‭and‬‭industry‬
  ‭professionals)‬ ‭and‬ ‭ambitious‬ ‭(maximizing‬ ‭households‬‭served‬‭and‬‭household‬‭savings)‬‭modeling‬
   ‭assumptions,‬ ‭COS4A‬ ‭recognizes‬ ‭that‬ ‭on-going‬ ‭performance‬ ‭evaluation‬ ‭of‬ ‭programmatic‬
    ‭offerings‬ ‭may‬ ‭result‬ ‭in‬ ‭reallocation‬ ‭of‬ ‭resources‬‭across‬‭programs,‬‭which‬‭could‬‭mean‬‭improved‬
     ‭performance‬ ‭over‬ ‭current‬ ‭estimates.‬ ‭The‬ ‭values‬ ‭below‬ ‭represent‬ ‭an‬ ‭estimation‬ ‭of‬ ‭anticipated‬
      ‭funding‬ ‭allocations,‬ ‭however‬ ‭market‬ ‭conditions‬ ‭and‬ ‭actual‬ ‭uptake‬ ‭will‬ ‭ultimately‬ ‭inform‬ ‭final‬
       ‭program‬ ‭results,‬ ‭and‬ ‭Colorado‬ ‭remains‬ ‭committed‬ ‭to‬ ‭offering‬ ‭real-world‬ ‭data‬ ‭to‬ ‭EPA‬ ‭on‬ ‭the‬
        ‭efficacy‬ ‭of‬ ‭the‬ ‭program‬ ‭in‬ ‭the‬ ‭spirit‬ ‭of‬ ‭continuous‬ ‭improvement.‬ ‭Colorado‬ ‭expects‬ ‭the‬ ‭final‬
         ‭deployment‬ ‭numbers‬ ‭to‬ ‭change‬ ‭throughout‬ ‭the‬ ‭program‬ ‭and‬ ‭reserves‬ ‭the‬ ‭right‬ ‭to‬ ‭reallocate‬
          ‭dollars‬ ‭appropriately‬ ‭to‬ ‭serve‬ ‭the‬ ‭market,‬ ‭but‬ ‭for‬ ‭the‬ ‭purposes‬ ‭of‬ ‭this‬ ‭application,‬ ‭finite‬
           ‭allocations‬ ‭have‬ ‭been‬ ‭carefully‬‭estimated‬‭in‬‭order‬‭to‬‭project‬‭possible‬‭outcomes.‬‭After‬‭thorough‬
            ‭coordination‬‭with‬‭industry‬‭stakeholders‬‭and‬‭careful‬‭modeling‬‭based‬‭on‬‭the‬‭best‬‭available‬‭market‬
             ‭data‬ ‭and‬ ‭appropriate‬ ‭estimation,‬ ‭COS4A‬ ‭is‬ ‭projecting‬ ‭the‬ ‭following‬ ‭outputs‬ ‭and‬ ‭outcomes‬ ‭for‬
              ‭households‬‭served,‬‭megawatts‬‭(MW)‬‭of‬‭solar‬‭deployed,‬‭and‬‭GHG‬‭emissions‬‭(short‬‭tons)‬‭reduced‬
               ‭across these three primary categories of solar deployment.‬


                                                       ‭ rogram‬
                                                       P                   ‭ ystem Life‬
                                                                           S
                              ‭ otal‬
                              T
                ‭Total‬                                ‭Period (4 yrs)‬    ‭(20 yrs)‬       ‭Program‬          ‭System Life‬
‭Type of‬                     ‭Installed‬
                 ‭Households‬                           ‭GHG‬               ‭GHG‬            ‭Period (4 yrs)‬ ‭(20 yrs)‬
 ‭Installation‬                ‭Capacity‬
                  ‭Served‬                               ‭Reductions*‬       ‭Reductions*‬ ‭Savings ($)‬        ‭Savings ($)‬
                                ‭(MW)‬
                                                          ‭(CO2e)‬            ‭(CO2e)‬
‭Residential‬               ‭3400‬              ‭17‬           ‭107,040‬        ‭535,200‬     ‭$12,606,912‬       ‭$63,034,560‬
‭Multifamily‬             ‭14,000‬            ‭20.5‬           ‭129,040‬        ‭645,200‬     ‭$15,200,776‬       ‭$76,003,880‬
‭ ommunity‬
C
‭Solar Low‬               ‭25,166‬              ‭93‬           ‭693,920‬      ‭3,469,600‬     ‭$81,896,064‬ ‭$409,480,320‬
‭ ommunity‬
C
‭Solar High‬              ‭25,166‬         ‭125.83‬            ‭939,280‬      ‭4,696,400‬ ‭$110,807,264‬ ‭$554,036,320‬
‭Table 1.7: Colorado Solar for All summary table of projected outcomes and outputs‬




                                                                                                                                ‭6‬
Case 1:25-cv-00039-JJM-PAS                  Document 68-123              Filed 02/07/25         Page 309 of 556
                                              PageID #: 6239
‭Colorado Solar For All: Program Narrative‬                                                         ‭October 2023‬


‭ esidential Rooftop‬
R
‭Total Households Served: 3,400‬
‭Total Installed Capacity: 17 MW‬‭(Assumes a 5 kW average‬‭installed system size)‬
‭4-Year Program Period Avoided GHG*: 107,040 short tons CO‬‭2‭e‬ ‬
‭20-Year System Life Avoided GHG*: 535,200 short tons of CO‬‭2‭e‬ ‬
‭ rojected‬‭Annual‬‭Household‬‭Savings:‬‭Savings‬‭are‬‭modeled‬‭at‬‭95%‬‭per‬‭household‬‭while‬‭systems‬
P
‭will‬ ‭be‬ ‭designed‬ ‭to‬ ‭provide‬ ‭75%‬ ‭to‬ ‭120%‬ ‭of‬ ‭household‬ ‭electricity‬ ‭use.‬ ‭(Based‬ ‭on‬ ‭financial‬
 ‭modeling assumptions)‬

‭ ultifamily Rooftop‬
M
‭Total Households Served: 14,000‬
‭Total Installed Capacity: 20.5 MW‬‭(Assumes 410 installations/buildings,‬‭50 kW each, @$3/W)‬
‭4-Year Program Period Avoided GHG*: 129,040 short tons CO‬‭2‭e‬ ‬
‭20-Year System Life Avoided GHG*: 645,200 short tons of CO‬‭2‭e‬ ‬
‭Projected Annual Household Savings: 30%‬‭(Based on‬‭financial modeling assumptions)‬

‭ ommunity Solar‬
C
‭Total Households Served: 25,166‬
‭Total‬‭Installed‬‭Capacity:‬‭93‬‭MW-‬‭125.83‬‭MW‬‭(Range‬‭contingent‬‭upon‬‭varying‬‭subscription‬‭size‬
‭from 3.7-5 kW)‬
‭4-Year‬ ‭Program‬ ‭Period‬ ‭Avoided‬ ‭GHG*:‬ ‭693,920‬ ‭-‬ ‭939,280‬‭short‬‭tons‬‭CO‬‭2‬‭e‬‭(Range‬‭contingent‬
‭upon variation in total MW deployed across 4 years of production)‬
‭20-Year‬‭System‬‭Life‬‭Avoided‬‭GHG*:‬‭3,469,600‬‭-‬‭4,696,400‬‭short‬‭tons‬‭CO‬‭2‭e‬ ‬‭(Range‬‭contingent‬
‭upon variation in total MW deployed across 20 years of production)‬
‭Projected Annual Household Savings: 50%‬‭(Based on‬‭financial modeling assumptions)‬

‭ OS4A Totals‬
C
‭Households Served: 42,566‬
‭Total‬‭Installed‬‭Capacity:‬ ‭130.5‬‭-‬‭163.33‬‭MW‬‭(Range‬‭contingent‬‭upon‬‭installed‬‭community‬‭solar‬
‭capacity)‬
‭4-Year‬ ‭Program‬ ‭Life‬ ‭Avoided‬ ‭GHG*:‬ ‭930,000-1,175,360‬ ‭short‬ ‭tons‬ ‭CO‬‭2‬‭e‬ ‭(Range‬ ‭contingent‬
‭upon total installed MW capacity across 4 years of production)‬
‭20-Year‬‭System‬‭Life‬‭Avoided‬‭GHG*:‬‭4,650,000‬‭-‬‭5,876,800‬‭short‬‭tons‬ ‭CO‬‭2‭e‬ ‬‭(Range‬‭contingent‬
‭upon total installed MW capacity across 20 years of production)‬



                                                                                                                     ‭7‬
Case 1:25-cv-00039-JJM-PAS                         Document 68-123                  Filed 02/07/25             Page 310 of 556
                                                     PageID #: 6240
‭Colorado Solar For All: Program Narrative‬                                                                        ‭October 2023‬


‭*All avoided emissions calculations were conducted utilizing the EPA AVERT web edition.‬
‭ stimated‬ ‭Annual‬ ‭Average‬ ‭Savings‬ ‭per‬ ‭Household‬‭:‬ ‭Blended‬ ‭average‬ ‭across‬ ‭deployment‬
E
‭structures yields an average estimate of 47% savings.‬
‭ atio‬ ‭of‬ ‭Dollars‬ ‭Requested‬ ‭to‬ ‭Installed‬ ‭Capacity‬‭:‬ ‭Based‬ ‭on‬ ‭total‬ ‭dollars‬ ‭requested,‬ ‭COS4A‬
R
‭anticipates a cost of between $1,519,018 - $1,897,533 per installed megawatt.‬
‭ atio‬ ‭of‬ ‭Dollars‬ ‭Requested‬ ‭to‬ ‭Households‬ ‭Served‬‭:‬ ‭Based‬ ‭on‬ ‭total‬ ‭dollars‬ ‭requested,‬ ‭COS4A‬
R
‭anticipates a cost of $5,873 per household served.‬
‭ atio‬ ‭of‬ ‭Dollars‬ ‭Requested‬ ‭to‬ ‭CO‬‭2‬ ‭Emissions‬ ‭Avoided**‬‭:‬ ‭Based‬ ‭on‬ ‭total‬ ‭dollars‬ ‭requested,‬
R
‭COS4A‬‭anticipates‬‭a‬‭cost‬‭between‬‭$213-269‬‭per‬‭short‬‭ton‬‭of‬‭CO₂e‬‭mitigated‬‭across‬‭the‬‭period‬‭of‬
 ‭performance‬ ‭(4‬ ‭years).‬ ‭Across‬ ‭the‬ ‭lifetime‬ ‭of‬ ‭the‬‭installed‬‭capacity‬‭(assumed‬‭conservatively‬‭at‬
  ‭20 years) the estimated cost is between $43-54 per short ton of CO₂e mitigated.‬
‭ atio‬ ‭of‬ ‭Dollars‬ ‭Requested‬ ‭per‬ ‭Dollars‬ ‭of‬ ‭Household‬ ‭Savings**:‬ ‭Based‬ ‭on‬ ‭total‬ ‭dollars‬
R
‭requested,‬‭COS4A‬‭anticipates‬‭that‬‭the‬‭ratio‬‭of‬‭dollars‬‭of‬‭household‬‭savings‬‭will‬‭vary‬‭across‬‭the‬
 ‭three‬‭implementation‬‭strategies,‬‭particularly‬‭given‬‭the‬‭variation‬‭in‬‭potential‬‭subscription‬‭size‬‭for‬
  ‭community‬ ‭solar‬ ‭arrays.‬ ‭So‬ ‭in‬ ‭this‬ ‭calculation‬ ‭an‬ ‭average‬ ‭savings‬‭across‬‭the‬‭three‬‭deployment‬
   ‭mechanisms was calculated.‬

‭ OS4A‬ ‭anticipates‬ ‭that‬ ‭every‬ ‭dollar‬ ‭of‬ ‭savings‬ ‭generated‬ ‭by‬ ‭SFA‬ ‭funds‬ ‭during‬ ‭the‬ ‭period‬ ‭of‬
C
‭performance‬‭(4‬‭years)‬‭will‬‭cost‬‭between‬‭$1.80-$2.28‬‭of‬‭requested‬‭dollars.‬‭Extending‬‭this‬‭cost‬‭to‬
 ‭the life of the system reduces the cost to $0.36-$0.43.‬
*‭ *These‬‭estimates‬‭were‬‭generated‬‭utilizing‬‭estimated‬‭output‬‭from‬‭PVWatts‬‭for‬‭the‬‭City‬‭of‬‭Denver‬
 ‭and the statewide average cost of electricity per the EIA.‬‭23‬


‭2.‬‭Meaningful Benefits Plan‬
2‭ .1 A Minimum of 20% Household Savings‬
 ‭The‬ ‭Colorado‬ ‭Solar‬ ‭for‬ ‭All‬ ‭(COS4A)‬ ‭program‬ ‭will‬ ‭include‬ ‭single-family‬ ‭rooftop‬ ‭solar,‬
  ‭multifamily‬ ‭rooftop‬ ‭solar‬‭and‬‭community‬‭solar.‬‭Single-family‬‭rooftop‬‭systems‬‭will‬‭be‬‭designed‬
   ‭to‬ ‭provide‬ ‭75%‬ ‭to‬ ‭120%‬ ‭of‬ ‭household‬ ‭electricity‬ ‭use‬ ‭where‬ ‭solar‬ ‭access‬ ‭and‬ ‭roof‬ ‭space‬ ‭is‬
    ‭available.‬‭Achieving‬‭greater‬‭than‬‭the‬‭minimum‬‭of‬‭20%‬‭recognizes‬‭the‬‭high‬‭mobilization‬‭cost‬‭of‬
     ‭installing‬ ‭a‬ ‭single-family‬ ‭rooftop‬ ‭system–‬ ‭the‬ ‭relatively‬ ‭marginal‬ ‭overall‬ ‭cost‬ ‭of‬ ‭adding‬
      ‭additional‬ ‭panels–‬ ‭as‬ ‭well‬ ‭as‬ ‭the‬ ‭benefit‬ ‭to‬ ‭future‬ ‭housing‬ ‭affordability‬ ‭as‬ ‭Colorado‬ ‭homes‬
       ‭transition‬ ‭to‬ ‭electric‬ ‭heat‬ ‭pumps‬ ‭for‬ ‭heating‬ ‭and‬ ‭to‬ ‭add‬ ‭cooling,‬ ‭especially‬ ‭in‬‭low-income‬‭and‬
        ‭disadvantaged‬ ‭communities‬ ‭that‬ ‭are‬ ‭experiencing‬ ‭heat‬ ‭events‬ ‭due‬ ‭to‬ ‭climate‬ ‭change‬ ‭and‬ ‭may‬
         ‭have‬ ‭increased‬ ‭demand‬ ‭due‬ ‭to‬ ‭electric‬ ‭vehicle‬ ‭charging‬ ‭and‬ ‭other‬ ‭electric‬ ‭loads.‬ ‭Multifamily‬
          ‭properties‬‭participating‬‭in‬‭the‬‭program‬‭will‬‭be‬‭required‬‭to‬‭demonstrate‬‭that‬‭tenants‬‭are‬‭receiving‬
           ‭at‬ ‭least‬ ‭a‬ ‭30%‬ ‭reduction‬ ‭in‬ ‭average‬ ‭electricity‬ ‭bills‬ ‭or‬ ‭that‬ ‭they‬ ‭are‬ ‭receiving‬ ‭an‬ ‭equivalent‬
            ‭benefit.‬‭Proposed‬‭“equivalent‬‭benefits”‬‭will‬‭be‬‭reviewed‬‭through‬‭a‬‭competitive‬‭selection‬‭process‬
             ‭and‬ ‭affordable‬ ‭housing‬ ‭owners‬ ‭will‬ ‭be‬ ‭required‬ ‭to‬ ‭demonstrate‬ ‭protections‬ ‭against‬ ‭increased‬
‭23‬
   ‭U.S. Energy Information Administration. US Electricity Profile 2021. State Electricity Profiles. Colorado.‬
‭https://www.eia.gov/electricity/state/‬



                                                                                                                                      ‭8‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25            Page 311 of 556
                                                   PageID #: 6241
‭Colorado Solar For All: Program Narrative‬                                                                   ‭October 2023‬


r‭ ents‬ ‭or‬ ‭supplanting‬ ‭of‬ ‭already‬ ‭existing‬ ‭benefits.‬ ‭Community‬ ‭solar‬ ‭projects‬ ‭will‬‭be‬‭required‬‭to‬
 ‭provide‬ ‭a‬ ‭reduction‬ ‭of‬ ‭at‬ ‭least‬‭50%‬‭of‬‭the‬‭average‬‭household‬‭electricity‬‭bill‬‭when‬‭compared‬‭to‬
  ‭the‬ ‭average‬ ‭bill‬ ‭in‬ ‭the‬ ‭utility‬ ‭territory.‬ ‭As‬ ‭funding‬ ‭for‬ ‭community‬ ‭solar‬ ‭will‬ ‭be‬ ‭a‬ ‭competitive‬
   ‭process, projects that cost-effectively reduce bills by more than 50% will be prioritized.‬

2‭ .2 Equitable Access to Solar‬
 ‭As‬ ‭described‬ ‭in‬ ‭Section‬‭6:‬‭Equitable‬‭Access‬‭and‬‭Meaningful‬‭Involvement‬‭,‬‭COS4A‬‭will‬‭include‬
  ‭four‬ ‭pathways‬ ‭for‬ ‭program‬ ‭entry‬ ‭to‬ ‭diversify‬ ‭our‬ ‭approach‬ ‭and‬ ‭ensure‬ ‭that‬ ‭we‬ ‭are‬ ‭reaching‬
   ‭historically‬ ‭underserved‬ ‭communities‬ ‭with‬ ‭products‬ ‭that‬ ‭address‬ ‭their‬ ‭needs.‬ ‭These‬ ‭pathways‬
    ‭include:‬ ‭1)‬ ‭integrating‬ ‭solar‬ ‭with‬ ‭state‬ ‭programs;‬ ‭2)‬ ‭integrating‬ ‭solar‬ ‭with‬ ‭and/or‬ ‭expanding‬
     ‭partner‬ ‭programs;‬ ‭3)‬ ‭integrating‬ ‭solar‬ ‭with‬ ‭affordable‬ ‭housing;‬ ‭and‬ ‭4)‬ ‭community-designed,‬
      ‭community-led‬ ‭programs.‬‭Our‬‭education‬‭and‬‭engagement‬‭strategies‬‭will‬‭be‬‭designed‬‭to‬‭address‬
       ‭lack‬ ‭of‬ ‭trust,‬ ‭cultural‬ ‭barriers‬ ‭and‬ ‭financial‬ ‭barriers‬ ‭that‬ ‭have‬ ‭resulted‬ ‭in‬ ‭inequitable‬ ‭solar‬
        ‭adoption‬‭in‬‭Colorado.‬‭These‬‭include‬‭developing‬‭culturally‬‭competent‬‭messaging‬‭and‬‭educational‬
         ‭materials;‬‭working‬‭through‬‭partners‬‭that‬‭have‬‭demonstrated‬‭long-term‬‭trusted‬‭relationships‬‭with‬
          ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬ ‭communities;‬ ‭incubating‬ ‭community-based‬ ‭and‬
           ‭Tribal‬ ‭partnerships‬ ‭with‬ ‭technical‬ ‭assistance;‬ ‭incorporating‬ ‭and‬ ‭promoting‬ ‭strong‬ ‭consumer‬
            ‭protections;‬‭offering‬‭both‬‭rooftop‬‭and‬‭community‬‭solar‬‭options;‬‭and‬‭designing‬‭financial‬‭options‬
             ‭that‬ ‭make‬ ‭solar‬ ‭for‬ ‭low-income‬ ‭households‬ ‭financially‬ ‭attractive‬ ‭and‬ ‭low-risk‬ ‭(see‬ ‭Section‬ ‭4:‬
              ‭Financial Assistance Strategy‬‭).‬

‭ o‬ ‭improve‬ ‭equitable‬ ‭access,‬ ‭COS4A‬ ‭will‬ ‭implement‬ ‭low-barrier‬ ‭household‬ ‭qualification‬
T
‭mechanisms including:‬
     ‭●‬ ‭Categorical‬‭qualification‬‭through‬‭other‬‭state‬‭programs‬‭including‬‭WAP,‬‭SNAP,‬‭TANF‬‭and‬
                  ‭LIHEAP.‬ ‭CEO‬ ‭will‬ ‭work‬ ‭with‬ ‭the‬ ‭Colorado‬ ‭Department‬‭of‬‭Human‬‭Services‬‭to‬‭identify‬
                   ‭other‬ ‭income‬‭qualified‬‭programs‬‭that‬‭meet‬‭COS4A‬‭criteria‬‭and‬‭to‬‭develop‬‭processes‬‭for‬
              ‭validating client eligibility through those programs.‬
      ‭●‬ ‭Combined‬‭application‬‭through‬‭programs‬‭including‬‭single-family‬‭owner-occupied‬‭housing‬
               ‭rehabilitation programs and the IRA Home Rebate programs.‬
       ‭●‬ ‭Geographic‬ ‭qualification‬‭with‬‭income‬‭self-attestation‬‭in‬‭CEJST-identified‬‭disadvantaged‬
                ‭communities.‬
        ‭●‬ ‭Income‬‭qualification‬‭through‬‭affordable‬‭housing‬‭partners‬‭operating‬‭under‬‭federal‬‭income‬
                 ‭qualification guidelines.‬
         ‭●‬ ‭Income qualification through other approved partner programs.‬

‭ ddressing‬ ‭historic‬ ‭disinvestment‬ ‭is‬ ‭also‬ ‭essential‬ ‭to‬ ‭equitable‬ ‭access‬ ‭to‬ ‭solar.‬ ‭Wherever‬
A
‭possible,‬ ‭we‬ ‭will‬ ‭leverage‬ ‭existing‬ ‭programs‬ ‭to‬ ‭accomplish‬ ‭enabling‬ ‭upgrades‬ ‭for‬ ‭energy‬
 ‭efficiency,‬ ‭structural‬ ‭deficiencies‬ ‭or‬ ‭electrical‬ ‭upgrades‬ ‭(e.g.‬ ‭WAP,‬ ‭housing‬ ‭rehabilitation‬
  ‭programs,‬ ‭IRA‬ ‭home‬ ‭rebate‬ ‭programs)‬ ‭but‬ ‭we‬ ‭recognize‬ ‭this‬ ‭as‬ ‭a‬ ‭significant‬ ‭barrier‬ ‭to‬
   ‭participation‬ ‭for‬ ‭households‬ ‭living‬ ‭in‬ ‭naturally‬ ‭occurring‬‭affordable‬‭housing,‬‭and‬‭single-family‬
    ‭owner-occupied‬ ‭housing‬ ‭in‬ ‭rural‬ ‭and‬ ‭urban‬ ‭disadvantaged‬ ‭communities.‬ ‭The‬ ‭COS4A‬ ‭budget‬
     ‭estimates‬‭40%‬‭of‬‭the‬‭single-family‬‭rooftop‬‭systems‬‭will‬‭need‬‭electrical‬‭panel‬‭upgrades‬‭based‬‭on‬
      ‭historical‬ ‭data‬ ‭from‬ ‭the‬ ‭Colorado‬ ‭WAP‬ ‭(this‬ ‭amounts‬ ‭to‬ ‭less‬ ‭than‬ ‭3%‬ ‭of‬ ‭the‬ ‭total‬ ‭financial‬
       ‭assistance‬ ‭package‬ ‭or‬ ‭nearly‬ ‭8%‬ ‭of‬ ‭the‬ ‭single-family‬ ‭rooftop‬ ‭solar‬ ‭investment).‬ ‭Other‬ ‭eligible‬
        ‭upgrades‬ ‭may‬ ‭include‬ ‭roof‬ ‭repairs‬ ‭and‬ ‭new‬ ‭roofing,‬ ‭minor‬ ‭structural‬ ‭repairs,‬ ‭and‬ ‭energy‬


                                                                                                                                 ‭9‬
Case 1:25-cv-00039-JJM-PAS                         Document 68-123                  Filed 02/07/25             Page 312 of 556
                                                     PageID #: 6242
‭Colorado Solar For All: Program Narrative‬                                                                        ‭October 2023‬


e‭ fficiency‬ ‭improvements.‬ ‭Households‬ ‭will‬ ‭be‬ ‭prioritized‬ ‭for‬ ‭enabling‬ ‭upgrades‬ ‭based‬ ‭on‬
 ‭unavailability‬ ‭of‬ ‭other‬ ‭program‬ ‭offerings‬ ‭within‬ ‭a‬ ‭reasonable‬ ‭timeframe‬ ‭(i.e.‬ ‭outside‬ ‭of‬ ‭WAP‬
  ‭territory;‬ ‭no‬ ‭emergency‬ ‭repair‬ ‭or‬ ‭home‬ ‭rehab‬ ‭program‬ ‭in‬ ‭the‬ ‭jurisdiction;‬ ‭program‬ ‭backlog‬‭of‬
   ‭more‬‭than‬‭12‬‭months),‬‭lack‬‭of‬‭access‬‭to‬‭services,‬‭financial‬‭need,‬‭and‬‭reasonableness‬‭of‬‭expense‬
    ‭that‬‭will‬‭facilitate‬‭rooftop‬‭solar.‬‭Grid‬‭infrastructure‬‭also‬‭poses‬‭a‬‭barrier‬‭to‬‭participation‬‭for‬‭both‬
     ‭rooftop‬ ‭and‬ ‭community‬ ‭solar‬ ‭in‬ ‭rural‬ ‭Colorado.‬ ‭While‬ ‭we‬ ‭recognize‬ ‭that‬ ‭addressing‬ ‭grid‬
      ‭infrastructure‬‭may‬‭be‬‭prohibitively‬‭expensive‬‭in‬‭many‬‭cases,‬‭we‬‭will‬‭explore‬‭the‬‭possibilities‬‭of‬
       ‭leveraging‬ ‭Solar‬ ‭for‬ ‭All‬ ‭enabling‬ ‭upgrades‬ ‭funds‬‭with‬‭other‬‭sources‬‭to‬‭address‬‭this‬‭barrier‬‭and‬
        ‭also‬‭explore‬‭policy‬‭(legislative‬‭and‬‭regulatory)‬‭solutions.‬‭During‬‭the‬‭planning‬‭phase,‬‭with‬‭input‬
         ‭from‬ ‭impacted‬ ‭communities,‬ ‭partner‬ ‭programs,‬ ‭and‬ ‭rural‬ ‭utilities,‬ ‭we‬ ‭will‬ ‭further‬ ‭define‬ ‭the‬
          ‭terms‬ ‭and‬ ‭use‬ ‭cases‬ ‭for‬ ‭access‬ ‭to‬ ‭funding‬ ‭for‬ ‭enabling‬ ‭upgrades;‬ ‭however,‬ ‭it‬ ‭is‬ ‭our‬ ‭intent‬ ‭to‬
           ‭remove these barriers to participation in disadvantaged communities.‬

‭ o‬‭protect‬‭renters‬‭from‬‭displacement,‬‭COS4A‬‭will‬‭implement‬‭protections‬‭against‬‭rent‬‭increases‬
T
‭resulting‬‭from‬‭solar‬‭installed‬‭on‬‭rental‬‭housing‬‭by‬‭focusing‬‭renter‬‭benefits‬‭from‬‭community‬‭solar‬
 ‭and‬ ‭partnerships‬ ‭with‬ ‭deed‬ ‭restricted‬ ‭affordable‬ ‭housing‬ ‭property‬ ‭owners.‬ ‭Participation‬ ‭from‬
  ‭owners‬‭of‬‭naturally‬‭occurring‬‭affordable‬‭housing‬‭properties‬‭will‬‭require‬‭program‬‭payback‬‭terms‬
   ‭when‬‭affordability‬‭is‬‭not‬‭maintained.‬ ‭On‬‭the‬‭homeownership‬‭side,‬‭solar‬‭panels‬‭are‬‭exempt‬‭from‬
    ‭Colorado‬ ‭property‬ ‭tax.‬ ‭We‬ ‭will‬ ‭work‬ ‭with‬ ‭the‬ ‭State‬ ‭Division‬ ‭of‬ ‭Property‬ ‭Taxation‬ ‭to‬ ‭educate‬
     ‭county‬‭assessors‬‭to‬‭ensure‬‭that‬‭this‬‭exemption‬‭is‬‭being‬‭properly‬‭considered‬‭to‬‭prevent‬‭increased‬
      ‭property taxes due to solar.‬

2‭ .3 Resilience Benefits‬
 ‭COS4A‬ ‭recognizes‬ ‭the‬ ‭benefits‬ ‭of‬ ‭pairing‬ ‭solar‬ ‭with‬ ‭battery‬ ‭storage,‬ ‭but‬ ‭also‬ ‭that‬ ‭storage‬
  ‭technology‬‭remains‬‭a‬‭costly‬‭investment‬‭that,‬‭particularly‬‭in‬‭areas‬‭with‬‭reliable‬‭service,‬‭is‬‭rarely‬
   ‭put‬ ‭into‬ ‭use.‬ ‭Given‬ ‭that‬ ‭Colorado‬ ‭already‬ ‭invests‬ ‭state‬ ‭and‬ ‭federal‬ ‭dollars‬‭into‬‭microgrids‬‭and‬
    ‭storage,‬ ‭COS4A‬ ‭will‬ ‭not‬ ‭include‬ ‭explicit‬ ‭funding‬ ‭for‬ ‭storage.‬ ‭Colorado's‬ ‭existing‬ ‭program,‬
     ‭Microgrids‬ ‭for‬ ‭Community‬ ‭Resilience,‬ ‭already‬ ‭allows‬ ‭for‬ ‭$13M‬ ‭to‬ ‭be‬ ‭directed‬ ‭towards‬ ‭the‬
      ‭development‬ ‭of‬ ‭microgrids‬ ‭(including‬ ‭storage)‬ ‭in‬ ‭Colorado’s‬ ‭communities‬ ‭at‬ ‭highest‬ ‭risk‬ ‭for‬
       ‭power‬ ‭outages.‬ ‭This‬ ‭funding‬ ‭comes‬ ‭from‬ ‭state‬ ‭sources‬ ‭as‬ ‭well‬ ‭as‬ ‭the‬ ‭federal‬ ‭Grid‬ ‭Resilience‬
        ‭formula‬ ‭funding‬ ‭from‬ ‭BIL‬ ‭section‬ ‭40101(d).‬ ‭Additionally,‬‭the‬‭State‬‭is‬‭working‬‭on‬‭a‬‭Microgrid‬
         ‭Roadmap,‬ ‭which‬ ‭will‬ ‭identify‬ ‭grid‬ ‭vulnerabilities,‬ ‭how‬ ‭microgrids‬‭can‬‭improve‬‭resiliency,‬‭and‬
          ‭financial,‬ ‭administrative,‬ ‭regulatory,‬ ‭and‬ ‭legislative‬ ‭pathways‬ ‭to‬ ‭facilitate‬ ‭wider‬ ‭microgrid‬
           ‭adoption.‬

2‭ .4 Community Ownership‬
 ‭COS4A‬ ‭will‬ ‭include‬ ‭community‬ ‭ownership‬ ‭opportunities‬ ‭through‬ ‭both‬ ‭rooftop‬ ‭solar‬ ‭and‬
  ‭community‬ ‭solar.‬ ‭Our‬ ‭single-family‬ ‭rooftop‬ ‭solar‬ ‭opportunities‬ ‭will‬ ‭provide‬ ‭low-income‬
   ‭households‬ ‭with‬ ‭the‬ ‭opportunity‬‭for‬‭ownership‬‭through‬‭grants‬‭and‬‭a‬‭path‬‭to‬‭ownership‬‭through‬
    ‭third-party‬ ‭solar‬ ‭leases.‬ ‭These‬ ‭systems‬ ‭will‬ ‭provide‬ ‭customer‬ ‭benefits‬ ‭by‬ ‭reducing‬ ‭utility‬ ‭bills‬
     ‭and increase the value of the home at sale.‬‭24‬


‭24‬
  ‭Ben Hoen‬‭,‬‭Sandra Adomatis‬‭,‬‭Thomas Jackson‬‭,‬‭Joshua‬‭Graff-Zivin‬‭,‬‭Mark A Thayer‬‭,‬‭Geoffrey T Klise‬‭,‬‭Ryan‬‭H‬
‭ iser‬‭,‬‭“Selling into the Sun: Price Premium Analysis‬‭of a Multi-State Dataset of Solar Homes”, Lawrence Berkeley‬
W
‭National Laboratory, 2015. https://eta-publications.lbl.gov/sites/default/files/lbnl-6942e.pdf‬


                                                                                                                                     ‭10‬
Case 1:25-cv-00039-JJM-PAS                      Document 68-123               Filed 02/07/25           Page 313 of 556
                                                  PageID #: 6243
‭Colorado Solar For All: Program Narrative‬                                                                ‭October 2023‬


‭ or‬‭community‬‭solar,‬‭COS4A‬‭will‬‭provide‬‭technical‬‭assistance,‬‭training,‬‭and‬‭financial‬‭incentives‬
F
‭to‬ ‭increase‬ ‭the‬ ‭options‬ ‭for‬ ‭financial‬ ‭ownership,‬ ‭governance‬ ‭oversight,‬ ‭wealth‬ ‭building‬
 ‭opportunities‬ ‭for‬ ‭members,‬ ‭and‬ ‭community‬ ‭benefits‬ ‭agreements.‬ ‭During‬ ‭the‬ ‭COS4A‬ ‭planning‬
  ‭phase,‬ ‭CEO‬ ‭will‬ ‭research‬ ‭best‬ ‭practices‬ ‭and‬ ‭develop‬ ‭a‬ ‭training‬ ‭toolkit‬ ‭to‬ ‭help‬ ‭communities‬
   ‭consider‬ ‭the‬ ‭benefits,‬ ‭costs‬ ‭and‬ ‭levels‬ ‭of‬ ‭involvement‬ ‭of‬‭these‬‭models.‬‭Throughout‬‭the‬‭project‬
    ‭period,‬ ‭CEO‬ ‭will‬ ‭offer‬ ‭trainings‬ ‭targeted‬ ‭to‬ ‭non-profits,‬ ‭resident‬ ‭coops,‬ ‭community‬
     ‭organizations,‬ ‭housing‬ ‭authorities‬ ‭and‬ ‭other‬ ‭entities‬ ‭interested‬ ‭in‬ ‭exploring‬ ‭community-owned‬
      ‭community‬ ‭solar‬ ‭projects,‬ ‭on‬ ‭these‬ ‭ownership‬ ‭and‬ ‭benefit‬ ‭models.‬ ‭Community‬ ‭solar‬ ‭projects‬
       ‭will‬ ‭be‬ ‭evaluated‬ ‭for‬ ‭funding‬ ‭with‬ ‭consideration‬ ‭for‬ ‭additional‬ ‭benefits‬ ‭gained‬ ‭through‬
        ‭community‬ ‭ownership‬ ‭such‬ ‭as‬ ‭wealth‬ ‭building,‬ ‭energy‬ ‭sovereignty,‬ ‭resilience,‬ ‭and‬‭community‬
         ‭co-benefits.‬ ‭For‬ ‭example,‬ ‭Colorado’s‬ ‭rural‬ ‭communities‬ ‭have‬ ‭expressed‬ ‭a‬ ‭strong‬ ‭interest‬ ‭in‬
          ‭agrivoltaics‬‭as‬‭a‬‭way‬‭to‬‭preserve‬‭agricultural‬‭farmland‬‭while‬‭addressing‬‭energy‬‭burden.‬‭It‬‭is‬‭our‬
           ‭intent‬ ‭to‬ ‭pilot‬ ‭innovative‬ ‭replicable‬ ‭models‬ ‭of‬ ‭community‬ ‭solar‬ ‭with‬ ‭community‬‭ownership‬‭or‬
            ‭partnerships.‬

‭ ngoing‬‭operations‬‭and‬‭maintenance‬‭expenses‬‭will‬‭be‬‭considered‬‭in‬‭our‬‭financial‬‭support‬‭of‬‭all‬
O
‭community-owned‬ ‭systems.‬ ‭The‬ ‭third‬ ‭party‬ ‭owned‬ ‭systems‬ ‭will‬ ‭require‬ ‭project‬ ‭owners‬ ‭to‬
 ‭provide‬‭O&M‬‭service‬‭to‬‭the‬‭systems‬‭and‬‭ensure‬‭that‬‭systems‬‭are‬‭performing‬‭through‬‭the‬‭life‬‭of‬
  ‭the lease term - multifamily, single-family and community solar.‬

2‭ .5 Workforce Development and Entrepreneurship‬
 ‭Commitment to High Quality Jobs‬
  ‭COS4A‬‭is‬‭committed‬‭to‬‭ensuring‬‭that‬‭the‬‭projects‬‭it‬‭finances‬‭support‬‭high‬‭quality,‬‭middle-class‬
   ‭jobs. This commitment includes requiring preference:‬
        ‭●‬ ‭to‬ ‭contractors‬ ‭that‬ ‭agree‬ ‭to‬ ‭the‬ ‭U.S.‬ ‭Department‬ ‭of‬ ‭Labor‬‭and‬‭Commerce’s‬‭eight‬‭Good‬
                ‭Jobs Principles‬
         ‭●‬ ‭contractors providing services to COS4A to pay prevailing wages‬
          ‭●‬ ‭contractors‬ ‭providing‬ ‭services‬ ‭to‬ ‭COS4A‬ ‭to‬ ‭agree‬ ‭to‬ ‭a‬ ‭collective‬ ‭bargaining‬ ‭and‬‭union‬
                 ‭neutrality clause‬
           ‭●‬ ‭contractors that leverage registered apprenticeship programs.‬
‭ OS4A‬‭will‬‭build‬‭systems‬‭and‬‭policies‬‭that‬‭focus‬‭the‬‭opportunities‬‭for‬‭these‬‭high‬‭quality‬‭jobs‬‭in‬
C
‭the‬ ‭low-income‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭where‬ ‭solar‬ ‭energy‬‭is‬‭being‬‭deployed‬‭through‬
 ‭targeted‬ ‭job‬ ‭training,‬ ‭entrepreneurship‬ ‭and‬ ‭business‬ ‭development‬ ‭support,‬ ‭and‬ ‭local‬ ‭hiring‬
  ‭preferences.‬

‭ ulti-sector Partnership‬
M
‭The‬‭state‬‭of‬‭Colorado‬‭has‬‭a‬‭robust‬‭solar‬‭workforce‬‭with‬‭more‬‭than‬‭7,600‬‭jobs‬‭across‬‭the‬‭sector.‬
 ‭Collectively,‬ ‭this‬ ‭is‬ ‭the‬ ‭8th‬ ‭largest‬ ‭per‬ ‭capita‬ ‭solar‬ ‭workforce‬ ‭in‬ ‭the‬ ‭country.‬‭25‬ ‭Despite‬ ‭this‬
  ‭established‬‭workforce,‬‭Colorado‬‭will‬‭need‬‭to‬‭continue‬‭to‬‭grow‬‭its‬‭solar‬‭industry‬‭workforce,‬‭and‬
   ‭do‬‭so‬‭rapidly,‬‭to‬‭account‬‭for‬‭anticipated‬‭COS4A‬‭programming.‬‭Data‬‭models‬‭from‬‭NREL‬‭suggest‬
    ‭that‬ ‭by‬ ‭2030‬ ‭the‬ ‭solar‬ ‭workforce‬ ‭statewide‬ ‭will‬ ‭need‬ ‭to‬ ‭double‬ ‭to‬ ‭support‬ ‭market‬ ‭trends‬ ‭and‬
     ‭national‬‭renewable‬‭energy‬‭deployment‬‭targets.‬‭Fortunately,‬‭Colorado‬‭will‬‭be‬‭able‬‭to‬‭build‬‭upon‬‭a‬
      ‭strong‬ ‭ecosystem‬ ‭of‬ ‭solar‬ ‭workforce‬ ‭development‬ ‭programming‬ ‭and‬ ‭expects‬ ‭to‬ ‭partner‬ ‭with‬

‭25‬
       ‭Interstate Renewable Energy Council (IREC). National‬‭Solar Jobs Census 2022.‬


                                                                                                                            ‭11‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                 Filed 02/07/25            Page 314 of 556
                                                   PageID #: 6244
‭Colorado Solar For All: Program Narrative‬                                                                    ‭October 2023‬


t‭raining‬ ‭and‬ ‭workforce‬ ‭organizations‬ ‭through‬ ‭a‬ ‭competitive‬ ‭process‬ ‭(see‬ ‭attached‬ ‭letters‬ ‭of‬
 ‭support‬ ‭in‬‭Attachments‬‭I‬‭and‬‭K‬‭from‬‭some‬‭of‬‭the‬‭strong‬‭workforce‬‭organizations‬‭in‬‭Colorado).‬
  ‭Colorado’s solar workforce ecosystem includes:‬
      ‭●‬ ‭State-sponsored‬ ‭programs‬ ‭through‬ ‭the‬ ‭Colorado‬ ‭Department‬ ‭of‬‭Labor‬‭and‬‭Employment‬
                    ‭(CDLE)‬ ‭and‬ ‭the‬ ‭Colorado‬ ‭Workforce‬ ‭Development‬ ‭Council‬ ‭(CWDC),‬ ‭including‬ ‭My‬
                     ‭Colorado‬ ‭Journey,‬ ‭a‬ ‭web-based‬ ‭tool‬ ‭identifying‬ ‭the‬ ‭pathways‬ ‭to‬ ‭specific‬ ‭careers,‬
               ‭including those in energy and renewables.‬
       ‭●‬ ‭Local‬ ‭workforce‬ ‭programs‬ ‭which‬ ‭partner‬ ‭with‬ ‭employers,‬ ‭trade‬ ‭organizations,‬ ‭training‬
                      ‭providers,‬‭and‬‭community‬‭organizations‬‭to‬‭provide‬‭paid‬‭training‬‭opportunities‬‭and‬‭career‬
                ‭pathways in renewable energy.‬
        ‭●‬ ‭Labor union registered apprenticeship programs.‬
         ‭●‬ ‭Nonprofits‬ ‭that‬ ‭provide‬ ‭in-depth‬ ‭training‬ ‭and‬ ‭certification‬ ‭for‬ ‭solar‬ ‭installers‬ ‭or‬
                       ‭workforce‬‭training‬‭and‬‭on-the-job‬‭experience‬‭to‬‭workers‬‭in‬‭the‬‭areas‬‭of‬‭their‬‭installs.‬‭(See‬
                        ‭attached‬ ‭letters‬ ‭of‬ ‭support‬ ‭from‬ ‭Solar‬ ‭Energy‬ ‭International‬ ‭and‬ ‭GRID‬ ‭Alternatives‬ ‭in‬
                 ‭Attachments I and K)‬
          ‭●‬ ‭Higher‬ ‭education‬ ‭programs‬ ‭that‬ ‭specialize‬ ‭in‬ ‭workforce‬ ‭development‬ ‭for‬ ‭solar‬ ‭careers.‬
                         ‭One‬ ‭example‬ ‭is‬ ‭the‬ ‭Colorado‬ ‭Community‬ ‭College‬ ‭System‬ ‭Strengthening‬ ‭Photovoltaic‬
                          ‭and‬ ‭Renewable‬ ‭Careers‬ ‭(SPARC)‬ ‭workforce‬ ‭development‬ ‭program‬ ‭which‬ ‭operates‬
                           ‭through‬ ‭Aurora,‬ ‭Arapahoe‬ ‭County,‬ ‭Northeastern‬ ‭(Sterling),‬ ‭and‬ ‭Pueblo‬ ‭Community‬
                  ‭Colleges.‬
           ‭●‬ ‭High‬ ‭school‬ ‭programs‬ ‭which‬ ‭connect‬ ‭secondary‬ ‭students‬ ‭to‬ ‭careers‬ ‭in‬ ‭the‬ ‭renewable‬
                            ‭energy‬ ‭industry‬ ‭in‬ ‭conjunction‬ ‭with‬ ‭local‬ ‭nonprofits.‬ ‭Denver‬ ‭Public‬ ‭Schools‬ ‭has‬ ‭a‬
                   ‭Summer Renewable Energy Program.‬

‭ espite‬‭this‬‭strong‬‭ecosystem‬‭of‬‭solar‬‭workforce‬‭capacity,‬‭numerous‬‭barriers‬‭to‬‭participation‬‭for‬
D
‭residents‬ ‭of‬ ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭have‬ ‭been‬ ‭identified‬
 ‭including:‬
      ‭●‬ ‭English-only trainings‬
       ‭●‬ ‭Cost of trainings‬
        ‭●‬ ‭Unpaid time or low-paid time required for trainings‬
         ‭●‬ ‭Lack of geographic diversity of training opportunities‬
          ‭●‬ ‭Lack of wrap around services available during training‬
           ‭●‬ ‭Uncertainty of the career path forward for students‬

‭ e‬ ‭will‬ ‭invite‬ ‭the‬ ‭breadth‬ ‭of‬ ‭workforce‬ ‭development‬ ‭partners‬ ‭to‬‭participate‬‭in‬‭and‬‭collaborate‬
W
‭with‬ ‭our‬ ‭Advisory‬ ‭Council‬ ‭(See‬ ‭Section‬‭6:‬‭Equitable‬‭Access‬‭and‬‭Meaningful‬‭Involvement‬‭)‬‭and‬
 ‭other stakeholders during the project planning phase.‬

‭ entering on Delivering Meaningful Benefits to Low-income and Disadvantaged Communities‬
C
‭COS4A‬ ‭will‬ ‭devote‬ ‭approximately‬ ‭8%‬ ‭of‬ ‭the‬ ‭total‬ ‭Solar‬ ‭for‬ ‭All‬ ‭funding‬ ‭to‬ ‭workforce‬
 ‭development‬ ‭in‬ ‭order‬ ‭to‬ ‭leverage‬ ‭existing‬ ‭program‬ ‭capacity‬ ‭while‬ ‭seeking‬ ‭innovative‬ ‭ways‬ ‭to‬
  ‭address‬ ‭gaps‬ ‭and‬ ‭barriers‬ ‭to‬ ‭participation‬ ‭by‬ ‭residents‬ ‭of‬ ‭low-income‬ ‭and‬ ‭disadvantaged‬
   ‭communities.‬‭Broadly,‬‭COS4A‬‭workforce‬‭programming‬‭will‬‭take‬‭an‬‭industry‬‭wide‬‭approach‬‭that‬
    ‭considers‬ ‭the‬ ‭entire‬ ‭value‬ ‭and‬ ‭supply‬ ‭chain‬ ‭of‬ ‭the‬ ‭solar‬ ‭industry‬‭for‬‭engaging‬‭stakeholders‬‭for‬


                                                                                                                                 ‭12‬
Case 1:25-cv-00039-JJM-PAS                         Document 68-123                  Filed 02/07/25             Page 315 of 556
                                                     PageID #: 6245
‭Colorado Solar For All: Program Narrative‬                                                                         ‭October 2023‬


‭ orkforce‬ ‭development‬ ‭including‬ ‭manufacturers,‬ ‭installers,‬ ‭sales‬‭representatives,‬‭skilled-trades‬
w
‭and‬ ‭non-profit‬‭employees.‬‭Our‬‭vision‬‭for‬‭delivering‬‭meaningful‬‭benefits‬‭to‬‭the‬‭low-income‬‭and‬
 ‭disadvantaged‬‭communities‬‭served‬‭by‬‭COS4A‬‭includes‬‭increasing‬‭and‬‭diversifying‬‭the‬‭baseline‬
  ‭workforce,‬ ‭upskilling‬ ‭the‬ ‭existing‬‭workforce‬‭including‬‭small‬‭contractors‬‭located‬‭in‬‭low-income‬
   ‭communities, and supporting local business incubation and development.‬

‭COS4A program elements to achieve this vision include:‬
   ‭●‬ ‭Encouraging‬ ‭participation‬ ‭from‬ ‭women-owned,‬ ‭minority-owned‬ ‭businesses‬ ‭in‬ ‭all‬
                     ‭competitive bidding through education and outreach on the state procurement process.‬
    ‭●‬ ‭Implementing‬ ‭application‬ ‭scoring‬ ‭criteria‬ ‭that‬ ‭values‬ ‭local‬ ‭hiring‬ ‭commitments,‬ ‭local‬
                      ‭training commitments, community workforce agreements and project labor agreements.‬
     ‭●‬ ‭Providing‬ ‭enhanced‬ ‭financial‬ ‭incentives‬ ‭for‬ ‭qualified‬ ‭entities‬ ‭such‬ ‭as‬ ‭disadvantaged‬
                                 ‭business‬ ‭enterprises,‬ ‭small‬ ‭business‬ ‭enterprises,‬ ‭non-profit‬ ‭organizations‬ ‭and‬ ‭tribal‬
                       ‭entities.‬
      ‭●‬ ‭Consider‬ ‭providing‬ ‭enhanced‬ ‭financial‬ ‭incentives‬ ‭for‬ ‭systems‬ ‭located‬ ‭in‬ ‭and‬ ‭serving‬
                        ‭disadvantaged communities as defined by CEJST.‬
       ‭●‬ ‭In‬‭conjunction‬‭with‬‭unions,‬‭COS4A‬‭will‬‭consider‬‭ways‬‭to‬‭aggregate‬‭resulting‬‭projects‬‭to‬
                                  ‭ensure‬ ‭more‬ ‭opportunity‬ ‭for‬ ‭Project‬ ‭Labor‬ ‭Agreements‬ ‭(PLA)‬ ‭that‬ ‭support‬ ‭prevailing‬
                         ‭wages and ‘high road’ labor practices.‬
        ‭●‬ ‭Using‬ ‭innovative‬ ‭ways‬ ‭to‬ ‭address‬ ‭the‬ ‭geographic‬ ‭limitations‬ ‭of‬ ‭existing‬ ‭workforce‬
                          ‭training opportunities, such as ‘mobile labs’.‬
         ‭●‬ ‭Partnering‬ ‭with‬ ‭Colorado’s‬ ‭Hispanic‬ ‭Serving‬ ‭Institutions‬ ‭(HSI)‬‭and‬‭our‬‭singular‬‭Native‬
                                   ‭American/American‬ ‭Indian‬ ‭Serving‬ ‭Institution‬ ‭(NA/AIS)‬ ‭to‬ ‭catalyze‬ ‭business‬
                           ‭development in underserved communities.‬
          ‭●‬ ‭Incubate‬ ‭entrepreneurship‬ ‭through‬‭localized‬‭micro-financing‬‭and‬‭assistance‬‭to‬‭build‬‭and‬
                            ‭grow clean energy businesses in disadvantaged communities.‬
           ‭●‬ ‭Providing‬ ‭contracted‬‭consultancy‬‭options‬‭for‬‭business‬‭development‬‭strategies‬‭within‬‭the‬
                             ‭solar industry.‬
            ‭●‬ ‭Supporting solar business development and incubation.‬
             ‭●‬ ‭Improving‬ ‭trainee‬ ‭retention‬ ‭by‬ ‭improving‬ ‭soft-skills‬ ‭and‬ ‭cultural‬ ‭competency‬ ‭amongst‬
                                    ‭trainers/certificate‬ ‭providers‬ ‭to‬ ‭ensure‬ ‭students‬ ‭finish‬ ‭apprenticeships‬ ‭and‬ ‭other‬
                              ‭certification programs.‬
              ‭●‬ ‭Expanding‬ ‭and‬ ‭deepening‬ ‭recruitment‬ ‭for‬ ‭workforce‬ ‭development‬ ‭in‬ ‭low-income‬ ‭and‬
                               ‭disadvantaged communities by partnering with community based organizations‬
               ‭●‬ ‭Partnering‬ ‭with‬ ‭community‬ ‭based‬ ‭organizations‬ ‭to‬ ‭provide‬ ‭thorough‬ ‭and‬ ‭effective‬
                                ‭wrap-around services where they are absent or inadequate in existing programs.‬
                ‭●‬ ‭Hiring culturally competent recruitment specialists.‬

‭ he‬‭planning‬‭phase‬‭in‬‭collaboration‬‭with‬‭stakeholders‬‭and‬‭our‬‭workforce‬‭ecosystem‬‭will‬‭solidify‬
T
‭the‬ ‭COS4A‬ ‭strategies‬ ‭and‬ ‭program‬ ‭planning‬ ‭to‬ ‭achieve‬ ‭our‬ ‭vision‬ ‭of‬ ‭meaningful‬ ‭workforce‬
 ‭benefits for residents of low-income and disadvantaged communities served by COS4A.‬




                                                                                                                                      ‭13‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25            Page 316 of 556
                                                   PageID #: 6246
‭Colorado Solar For All: Program Narrative‬                                                                   ‭October 2023‬



‭3.‬‭Distributed Market Strategy‬
‭ olorado‬ ‭has‬ ‭immense‬ ‭solar‬ ‭potential‬ ‭given‬ ‭its‬ ‭sunny‬ ‭climate‬ ‭and‬ ‭nation-leading‬ ‭enabling‬
C
‭legislation,‬ ‭and‬ ‭is‬ ‭already‬ ‭planning‬ ‭additional‬ ‭work‬ ‭(outside‬ ‭of‬ ‭the‬ ‭COS4A‬ ‭application‬ ‭and‬
 ‭funds)‬ ‭to‬ ‭ensure‬ ‭continued‬ ‭progress‬ ‭on‬ ‭reducing‬ ‭barriers‬ ‭to‬ ‭solar‬ ‭adoption,‬ ‭particularly‬ ‭for‬
  ‭low-income‬ ‭and‬ ‭disadvantaged‬ ‭communities.‬ ‭Nationally,‬ ‭Colorado‬ ‭is‬ ‭ranked‬ ‭13th‬ ‭for‬ ‭total‬
   ‭installed‬ ‭solar‬ ‭capacity‬ ‭with‬ ‭a‬ ‭$5.6B‬ ‭solar‬ ‭market‬ ‭value‬‭26‬ ‭and‬ ‭according‬ ‭to‬ ‭the‬ ‭National‬
    ‭Renewable‬ ‭Laboratory’s‬ ‭2023‬ ‭Sharing‬ ‭the‬ ‭Sun‬ ‭Database‬ ‭released‬ ‭in‬ ‭July‬ ‭of‬ ‭2023,‬ ‭Colorado‬
     ‭ranks‬ ‭8th‬ ‭in‬ ‭community‬ ‭solar‬ ‭capacity‬ ‭across‬ ‭the‬ ‭nation.‬ ‭Policy‬ ‭plays‬ ‭an‬ ‭important‬ ‭role‬ ‭in‬
      ‭Colorado’s‬‭ability‬‭to‬‭execute‬‭solar‬‭at‬‭scale‬‭and‬‭reach‬‭communities‬‭historically‬‭underserved.‬‭The‬
       ‭Distributed‬ ‭Market‬‭Strategy‬‭section‬‭describes‬‭the‬‭existing‬‭policies,‬‭statutes‬‭and‬‭rules‬‭in‬‭support‬
        ‭of solar development for Colorado.‬
3‭ .1 Net Metering Policies in Colorado‬
 ‭Colorado‬ ‭law‬ ‭requires‬ ‭all‬ ‭electric‬ ‭utilities‬ ‭–‬ ‭except‬ ‭municipalities‬ ‭with‬ ‭fewer‬ ‭than‬ ‭5,000‬
  ‭customers‬ ‭–‬ ‭to‬ ‭offer‬ ‭net‬ ‭metering.‬‭27‬ ‭State‬ ‭policies‬ ‭in‬ ‭Colorado‬ ‭also‬ ‭determine‬ ‭how‬ ‭credit‬ ‭for‬
   ‭excess‬ ‭generation‬ ‭gets‬ ‭carried‬ ‭forward‬ ‭and‬ ‭compensated,‬ ‭as‬ ‭well‬ ‭as‬ ‭how‬ ‭large‬ ‭a‬ ‭rooftop‬ ‭solar‬
    ‭system‬ ‭can‬ ‭be.‬ ‭Given‬ ‭these‬ ‭policies,‬ ‭for‬‭many‬‭Coloradans,‬‭net‬‭metering‬‭rates‬‭are‬‭favorable‬‭to‬
     ‭residential‬ ‭distributed‬ ‭solar‬ ‭deployment,‬ ‭but‬ ‭additional‬ ‭incentives‬ ‭are‬ ‭needed‬ ‭in‬ ‭smaller,‬
      ‭municipal utilities and for LIDC populations.‬
‭ olorado‬ ‭enacted‬ ‭legislation‬ ‭in‬ ‭2008‬ ‭(House‬ ‭Bill‬ ‭(HB)‬ ‭08-1160)‬ ‭requiring‬ ‭municipal‬ ‭utilities‬
C
‭with‬‭more‬‭than‬‭5,000‬‭customers‬‭and‬‭all‬‭electric‬‭cooperatives‬‭to‬‭offer‬‭net‬‭metering‬‭for‬‭residential‬
 ‭systems‬ ‭up‬ ‭to‬ ‭10‬ ‭kW.‬ ‭Electric‬ ‭cooperatives‬ ‭and‬ ‭municipal‬ ‭utilities‬ ‭are‬ ‭provided‬ ‭discretion‬ ‭to‬
  ‭exceed‬ ‭these‬ ‭minimum‬ ‭size‬ ‭standards.‬ ‭Any‬ ‭customer's‬ ‭net‬‭excess‬‭generation‬‭(NEG)‬‭in‬‭a‬‭given‬
   ‭month‬ ‭is‬ ‭applied‬ ‭as‬ ‭a‬ ‭kWh‬ ‭credit‬ ‭to‬ ‭the‬ ‭customer's‬ ‭next‬ ‭bill,‬ ‭with‬ ‭each‬ ‭kWh‬ ‭credit‬ ‭of‬ ‭NEG‬
    ‭off-setting‬ ‭1‬ ‭kWh‬ ‭of‬ ‭electricity‬ ‭consumption‬ ‭in‬ ‭a‬ ‭future‬ ‭month.‬ ‭Electric‬ ‭cooperatives‬ ‭and‬
     ‭municipal‬ ‭utilities‬ ‭are‬ ‭required‬ ‭to‬ ‭pay‬ ‭for‬ ‭any‬ ‭remaining‬ ‭NEG‬ ‭at‬ ‭the‬ ‭end‬ ‭of‬ ‭an‬ ‭annual‬ ‭period‬
      ‭based on a "rate deemed appropriate" by the electric cooperative or municipal utility.‬
I‭ n‬ ‭IOU‬ ‭service‬ ‭territories,‬ ‭systems‬ ‭that‬ ‭generate‬ ‭electricity‬ ‭using‬ ‭qualifying‬ ‭renewable‬ ‭energy‬
 ‭resources‬ ‭are‬ ‭eligible‬ ‭for‬ ‭net‬ ‭metering‬ ‭up‬ ‭to‬ ‭200%‬ ‭of‬ ‭the‬ ‭customer's‬ ‭annual‬ ‭average‬
  ‭consumption.‬ ‭In‬ ‭2018,‬ ‭Senate‬ ‭Bill‬ ‭(SB)‬ ‭18-009‬ ‭expanded‬ ‭eligible‬ ‭qualifying‬ ‭equipment‬ ‭to‬
   ‭include‬ ‭solar-plus-storage‬ ‭systems‬ ‭for‬ ‭net‬ ‭metering.‬ ‭In‬ ‭2021,‬ ‭SB21-261‬ ‭established‬ ‭that‬ ‭all‬
    ‭renewable‬ ‭energy‬ ‭storage‬ ‭systems‬ ‭are‬ ‭eligible‬ ‭for‬ ‭net‬ ‭metering‬ ‭and‬ ‭allowed‬ ‭master‬ ‭meter‬
     ‭operators,‬ ‭like‬ ‭multifamily‬ ‭housing‬ ‭unit‬ ‭owners,‬ ‭to‬ ‭supply‬ ‭distributed‬ ‭generation‬ ‭electricity‬ ‭to‬
      ‭customers.‬ ‭The‬ ‭Public‬ ‭Utilities‬ ‭Commission‬ ‭(PUC)‬ ‭is‬ ‭currently‬ ‭forming‬ ‭rules‬ ‭to‬ ‭regulate‬ ‭how‬
       ‭master meter multifamily housing operators and their tenants can participate in net metering.‬
‭ inally,‬‭Colorado‬‭state‬‭law‬‭(40-2-127,‬‭CRS)‬‭establishes‬‭economic‬‭compensation‬‭for‬‭community‬
F
‭solar‬ ‭garden‬ ‭(CSG)‬ ‭customers‬ ‭as‬ ‭net‬ ‭metering‬ ‭“minus‬ ‭a‬ ‭reasonable‬ ‭charge”‬ ‭for‬ ‭transmission,‬
 ‭integration,‬ ‭and‬ ‭administration‬ ‭by‬ ‭a‬ ‭utility‬ ‭and‬ ‭as‬ ‭determined‬ ‭by‬ ‭the‬ ‭PUC.‬ ‭The‬ ‭benefits‬ ‭of‬
  ‭Colorado’s‬ ‭net‬ ‭metering‬ ‭programs‬ ‭have‬ ‭helped‬ ‭drive‬ ‭participation‬ ‭in‬ ‭Colorado’s‬ ‭largest‬ ‭utility‬
   ‭(Public‬‭Service‬‭Company‬‭of‬‭Colorado).‬‭They‬‭recently‬‭reported‬‭that‬‭of‬‭the‬‭customers‬‭that‬‭sought‬

‭26‬
      ‭Davis, Michelle. “US Solar Market Insight.”‬‭Wood‬‭Mackenzie Power & Renewables‬‭, June 2023.‬
‭https://www.seia.org/sites/default/files/2023-07/Colorado.pdf‬
 ‭27‬
       ‭40-2-124 and 40-9.5-118, CRS, which codified Amendment 37 in 2004‬


                                                                                                                               ‭14‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25            Page 317 of 556
                                                   PageID #: 6247
‭Colorado Solar For All: Program Narrative‬                                                                   ‭October 2023‬


t‭o‬‭install‬‭solar,‬‭99%‬‭applied‬‭for‬‭solar‬‭with‬‭net‬‭energy‬‭metering‬‭(NEM)‬‭credits‬‭only‬‭(i.e.,‬‭they‬‭did‬
 ‭not seek additional incentives such as renewable energy credits).‬
‭ owever,‬‭NEM‬‭alone‬‭is‬‭often‬‭not‬‭enough‬‭incentive‬‭for‬‭income-qualified‬‭and‬‭disproportionately‬
H
‭impacted‬ ‭communities‬ ‭to‬ ‭install‬ ‭on-site‬ ‭solar.‬ ‭Barriers‬ ‭include‬ ‭upfront‬ ‭costs,‬ ‭condition‬ ‭of‬
 ‭house/roof,‬ ‭not‬ ‭owning‬ ‭the‬ ‭house,‬ ‭shading/solar‬ ‭orientation‬ ‭and‬ ‭understanding‬ ‭of‬ ‭the‬ ‭logistics‬
  ‭and‬ ‭process.‬ ‭To‬ ‭address‬ ‭this,‬ ‭Public‬ ‭Service‬ ‭Company‬ ‭of‬ ‭Colorado‬ ‭has‬ ‭invested‬ ‭$583,000‬ ‭in‬
   ‭incentives‬ ‭provided‬ ‭for‬ ‭98‬ ‭systems‬ ‭(291.65‬ ‭kWac)‬ ‭and‬ ‭offers‬ ‭an‬ ‭up-front‬ ‭incentive‬ ‭of‬ ‭$1‬ ‭per‬
    ‭watt.‬
3‭ .2 Third-Party Ownership Policy in Colorado‬
 ‭Third-party‬‭ownership‬‭is‬‭permitted‬‭for‬‭distributed‬‭solar‬‭generation‬‭in‬‭Colorado,‬‭and‬‭both‬‭leasing‬
  ‭and‬ ‭financing‬ ‭are‬ ‭common‬ ‭models‬ ‭of‬ ‭rooftop‬ ‭solar‬ ‭acquisition.‬ ‭Third-party‬ ‭ownership‬ ‭also‬
   ‭facilitates‬‭CSGs‬‭for‬‭customers‬‭who‬‭cannot‬‭install‬‭distributed‬‭generation‬‭directly‬‭on‬‭their‬‭home‬‭or‬
    ‭premise‬ ‭for‬ ‭a‬ ‭variety‬ ‭of‬ ‭reasons.‬ ‭Colorado‬ ‭was‬ ‭the‬ ‭first‬ ‭state‬ ‭to‬ ‭adopt‬ ‭a‬ ‭traditional‬‭third-party‬
     ‭community‬‭solar‬‭program‬‭in‬‭2010,‬‭which‬‭allows‬‭customers‬‭to‬‭subscribe‬‭to‬‭a‬‭portion‬‭of‬‭a‬‭shared‬
      ‭solar‬ ‭project‬ ‭and‬ ‭receive‬ ‭credits‬ ‭on‬ ‭their‬ ‭electricity‬ ‭bill‬ ‭for‬ ‭the‬ ‭power‬‭generated‬‭by‬‭their‬‭share‬
       ‭without‬ ‭having‬ ‭to‬ ‭directly‬ ‭host‬ ‭a‬ ‭distributed‬ ‭generation‬ ‭system.‬ ‭In‬ ‭addition,‬ ‭Colorado‬ ‭has‬
        ‭implemented‬ ‭several‬ ‭initiatives‬ ‭to‬ ‭expand‬ ‭access‬ ‭and‬ ‭affordability‬ ‭of‬ ‭community‬ ‭solar‬ ‭for‬
         ‭low-income and disadvantaged communities and households.‬
‭ ne‬ ‭example‬ ‭is‬ ‭a‬ ‭low-income‬ ‭community‬ ‭solar‬ ‭demonstration‬ ‭project‬ ‭CEO‬‭launched‬ ‭in‬‭2015‬
O
‭with‬ ‭GRID‬ ‭Alternatives‬ ‭to‬ ‭build‬ ‭six‬ ‭community‬ ‭solar‬ ‭models‬‭with‬‭different‬‭utilities,‬‭financing‬
 ‭structures,‬ ‭and‬ ‭siting‬ ‭options.‬ ‭The‬ ‭purpose‬ ‭of‬ ‭the‬ ‭project‬ ‭was‬ ‭twofold:‬ ‭1)‬ ‭to‬ ‭demonstrate‬ ‭the‬
  ‭feasibility‬ ‭of‬ ‭building‬ ‭100%‬ ‭low-income‬ ‭community‬ ‭solar‬ ‭models,‬ ‭and‬‭2)‬‭to‬‭reduce‬‭household‬
   ‭energy‬ ‭burden.‬ ‭As‬ ‭of‬ ‭October‬ ‭2017,‬ ‭380‬ ‭households‬ ‭were‬ ‭benefiting‬ ‭from‬ ‭1,485‬ ‭kW‬ ‭of‬
    ‭community‬ ‭solar,‬ ‭surpassing‬ ‭the‬ ‭original‬ ‭project‬ ‭goals‬ ‭of‬ ‭300‬ ‭impacted‬ ‭households‬ ‭with‬ ‭most‬
     ‭projects‬‭offsetting‬‭up‬‭to‬‭100%‬‭of‬‭the‬‭subscribers’‬‭electricity‬‭usage.‬‭28‬ ‭Another‬‭example‬‭is‬‭the‬‭City‬
      ‭and‬‭County‬‭of‬‭Denver’s‬‭program‬‭that‬‭uses‬‭community‬‭solar‬‭gardens‬‭to‬‭own‬‭and‬‭operate‬‭projects‬
       ‭through‬ ‭which‬ ‭they‬ ‭can‬ ‭generate‬ ‭and‬ ‭donate‬ ‭bill‬ ‭credits‬ ‭to‬‭low-income‬‭residential‬‭households.‬
        ‭The‬ ‭City‬ ‭of‬ ‭Denver‬ ‭has‬ ‭collaborated‬ ‭with‬ ‭Denver‬ ‭Public‬ ‭Schools‬ ‭(DPS)‬ ‭and‬ ‭the‬ ‭non-profit,‬
         ‭Energy‬ ‭Outreach‬ ‭Colorado,‬ ‭to‬ ‭donate‬ ‭bill‬ ‭credits‬ ‭to‬ ‭DPS‬ ‭families‬ ‭in‬ ‭need.‬ ‭The‬ ‭portfolio‬ ‭of‬
          ‭projects‬ ‭will‬ ‭support‬ ‭more‬ ‭than‬ ‭250‬‭DPS‬‭families‬‭through‬‭discounted‬‭utility‬‭bills.‬‭The‬‭projects‬
           ‭also‬‭provide‬‭paid‬‭training‬‭opportunities‬‭for‬‭clean‬‭energy‬‭jobs,‬‭student‬‭internships,‬‭and‬‭hands-on‬
            ‭classroom‬ ‭activities.‬ ‭These‬ ‭are‬ ‭just‬ ‭two‬ ‭examples‬ ‭of‬ ‭successful‬ ‭community‬ ‭solar‬ ‭projects‬ ‭in‬
             ‭Colorado that demonstrate how the benefits can flow directly to Colorado residents.‬
‭ olorado‬ ‭utilities‬ ‭are‬ ‭also‬ ‭playing‬ ‭a‬ ‭role‬ ‭in‬ ‭community‬ ‭solar.‬ ‭Xcel‬ ‭Energy‬ ‭Inc.’s‬ ‭(the‬ ‭parent‬
C
‭company‬‭of‬‭Public‬‭Service‬‭Company‬‭of‬‭Colorado)‬‭2022-2025‬‭Renewable‬‭Standard‬‭Energy‬‭Plan‬
 ‭commits‬‭to‬‭provide‬‭300‬‭MW‬‭29‬ ‭of‬‭community‬‭solar,‬‭more‬‭than‬‭half‬‭of‬‭which‬‭will‬‭be‬‭dedicated‬‭to‬
  ‭significant‬‭bill‬‭reduction‬‭for‬‭low-income‬‭subscribers.‬‭Participants‬‭will‬‭receive‬‭between‬‭50%‬‭and‬
   ‭100% of their electricity usage credited by their community solar subscription.‬
‭28‬
       ‭Dobos, Hillary and Artale, Emily. (2017)‬‭Insights‬‭from the Colorado Energy Office Low-Income Community‬
‭Solar Demonstration Project‬‭. Colorado Energy Office.‬
 ‭29‬
      ‭Verified Application of Public Service Company of Colorado for approval of its 2022–2025 Renewable Energy‬
  ‭Compliance Plan. December 20, 2021.‬
   ‭https://www.xcelenergy.com/staticfiles/xe-responsive/Company/Rates%20&%20Regulations/21A-0625EG-HE_100‬
    ‭-Public_Service_2022-25_RE_Plan_Application.pdf‬


                                                                                                                                ‭15‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123               Filed 02/07/25            Page 318 of 556
                                                   PageID #: 6248
‭Colorado Solar For All: Program Narrative‬                                                                  ‭October 2023‬


‭ espite‬ ‭the‬ ‭increase‬ ‭of‬ ‭community‬ ‭solar‬ ‭across‬ ‭the‬ ‭state,‬ ‭low-income‬ ‭renters‬ ‭are‬ ‭still‬
D
‭disproportionately‬ ‭underrepresented‬ ‭in‬ ‭solar‬‭in‬‭Colorado.‬‭While‬‭43%‬‭of‬‭Colorado’s‬‭households‬
 ‭are‬ ‭low-‬ ‭to‬ ‭moderate-income,‬ ‭only‬ ‭11%‬ ‭of‬ ‭community‬ ‭solar‬ ‭in‬ ‭Colorado‬ ‭is‬ ‭serving‬ ‭these‬
  ‭households.‬‭30‬ ‭EPA’s‬‭Solar‬‭for‬‭All‬‭funds‬‭will‬‭help‬‭Colorado‬‭bring‬‭clean‬‭energy‬‭parity‬‭to‬‭the‬‭state’s‬
   ‭residents‬ ‭that‬ ‭are‬ ‭experiencing‬ ‭the‬ ‭greatest‬ ‭energy‬ ‭burden‬ ‭while‬ ‭also‬ ‭reducing‬ ‭emissions‬ ‭of‬
    ‭greenhouse gas emissions from alternative heating sources.‬
3‭ .3 Interconnection Policy in Colorado‬
 ‭Slow‬‭interconnection‬‭timelines‬‭and‬‭high‬‭fees‬‭create‬‭barriers‬‭that‬‭can‬‭discourage‬‭customers‬‭from‬
  ‭installing‬ ‭solar‬ ‭or‬ ‭increase‬ ‭their‬ ‭payback‬ ‭period.‬ ‭A‬ ‭lack‬ ‭of‬ ‭clear‬ ‭and‬ ‭timely‬ ‭information‬ ‭from‬
   ‭utilities‬ ‭about‬ ‭their‬ ‭interconnection‬ ‭processes,‬ ‭requirements,‬ ‭and‬ ‭status‬ ‭to‬ ‭customers‬ ‭and‬
    ‭developers‬ ‭can‬ ‭create‬ ‭uncertainty,‬ ‭confusion,‬ ‭and‬ ‭frustration‬ ‭for‬ ‭solar‬ ‭applicants,‬ ‭and‬ ‭delay‬ ‭or‬
     ‭even‬ ‭stop‬ ‭projects.‬ ‭Colorado‬ ‭has‬ ‭worked‬ ‭to‬ ‭mitigate‬ ‭these‬ ‭challenges‬ ‭through‬ ‭PUC‬
      ‭interconnection‬‭rules‬‭and‬‭legislation.‬‭In‬‭2021,‬‭SB21-261‬‭clarified‬‭interconnection‬‭rules,‬‭making‬
       ‭it‬ ‭easier‬ ‭for‬ ‭solar‬ ‭projects‬ ‭to‬ ‭qualify‬ ‭for‬‭fast-track‬‭processing‬‭and‬‭hold‬‭utilities‬‭accountable‬‭for‬
        ‭sticking‬ ‭to‬ ‭interconnection‬ ‭deadlines.‬ ‭Recent‬ ‭PUC‬ ‭rulemaking‬ ‭determined‬ ‭that‬‭interconnection‬
         ‭fees must be demonstrated as cost-based.‬
‭ urrent‬‭state‬‭policy‬‭has‬‭made‬‭Colorado‬‭a‬‭leader‬‭in‬‭addressing‬‭interconnection‬‭barriers,‬‭however‬
C
‭CEO‬ ‭recognizes‬ ‭interconnection‬ ‭costs,‬ ‭delays,‬ ‭and‬ ‭process‬ ‭can‬ ‭still‬ ‭hinder‬ ‭COS4A‬ ‭success.‬
 ‭Currently‬ ‭the‬ ‭PUC‬ ‭has‬ ‭an‬ ‭open‬ ‭proceeding‬ ‭that‬ ‭is‬ ‭assessing‬ ‭the‬ ‭potential‬ ‭for‬ ‭policy‬ ‭changes,‬
  ‭including‬‭the‬‭development‬‭of‬‭a‬‭bi-directional‬‭performance‬‭incentive‬‭(an‬‭incentive‬‭and‬‭a‬‭penalty)‬
   ‭to‬ ‭encourage‬ ‭more‬ ‭efficient‬ ‭interconnection‬ ‭of‬ ‭distributed‬ ‭energy‬ ‭resources‬ ‭like‬ ‭solar‬ ‭and‬
    ‭community‬ ‭solar‬ ‭gardens.‬ ‭As‬ ‭Colorado‬ ‭updates‬ ‭its‬ ‭Greenhouse‬ ‭Gas‬‭Roadmap,‬‭the‬‭state‬‭is‬‭also‬
     ‭considering‬ ‭recommending‬ ‭additional‬ ‭policy‬ ‭changes‬ ‭that‬ ‭would‬ ‭improve‬ ‭transparency‬ ‭in‬ ‭the‬
      ‭distribution‬ ‭system‬ ‭planning‬ ‭process‬ ‭by‬ ‭better‬ ‭identifying‬ ‭locations‬ ‭where‬ ‭there‬ ‭is‬ ‭capacity‬ ‭to‬
       ‭interconnect‬ ‭without‬ ‭the‬ ‭need‬ ‭for‬ ‭significant‬ ‭upgrades‬ ‭and‬ ‭locations‬ ‭where‬‭upgrades‬‭would‬‭be‬
        ‭required.‬
3‭ .4 Plan to Maximize and Leverage Relevant Enabling Renewable Portfolio Standard‬
 ‭Colorado‬‭became‬‭the‬‭first‬‭state‬‭to‬‭pass‬‭a‬‭voter‬‭adopted‬‭Renewable‬‭Portfolio‬‭Standard‬‭(RPS)‬‭by‬
  ‭ballot‬‭initiative‬‭through‬‭Amendment‬‭37‬‭in‬‭2004.‬‭This‬‭RPS‬‭required‬‭qualified‬‭utilities‬‭to‬‭generate‬
   ‭a‬ ‭certain‬ ‭proportion‬ ‭of‬ ‭electricity‬ ‭from‬ ‭eligible‬ ‭energy‬ ‭resources.‬‭31‬ ‭While‬‭utilities‬‭have‬‭all‬‭met‬
    ‭that‬ ‭standard,‬ ‭the‬ ‭state‬ ‭continues‬ ‭to‬ ‭adopt‬ ‭climate‬ ‭and‬ ‭clean‬ ‭energy‬ ‭targets.‬‭In‬‭2019,‬‭Colorado‬
     ‭adopted‬‭science-based‬‭greenhouse‬‭gas‬‭emissions‬‭reduction‬‭targets‬‭of‬‭26%‬‭below‬‭2005‬‭levels‬‭by‬
      ‭2025,‬ ‭50%‬ ‭by‬ ‭2030‬ ‭and‬ ‭90%‬‭by‬‭2050.‬‭32‬ ‭In‬‭2023,‬‭the‬‭state‬‭updated‬‭the‬‭targets‬‭requiring‬‭a‬‭65%‬
       ‭reduction‬ ‭by‬‭2035,‬‭a‬‭75%‬‭reduction‬‭by‬‭2040,‬‭a‬‭90%‬‭reduction‬‭by‬‭2045,‬‭and‬‭achieving‬‭net‬‭zero‬
        ‭emissions‬ ‭by‬ ‭2050.‬ ‭In‬ ‭2019‬ ‭the‬ ‭state‬ ‭passed‬ ‭SB19-236‬ ‭,‬ ‭and‬ ‭followed‬ ‭with‬ ‭HB21-1266,‬ ‭that‬
‭30‬
    ‭% of households earning <=80% AMI from: “Comprehensive Housing Affordability Strategy (CHAS) Data Based‬
o‭ n 2015-2019 American Community Survey” 2022.‬‭https://www.huduser.gov/portal/datasets/cp.html‬‭.‬‭% of MW‬
 ‭community solar serving low- and moderate-income households from “2023 Sharing the Sun Database Final‬
  ‭Release” National Renewable Energy Laboratory.‬




‭31‬
       h‭ ttps://programs.dsireusa.org/system/program/co‬
‭32‬
        ‭Colorado House Bill 19-1261.‬


                                                                                                                              ‭16‬
Case 1:25-cv-00039-JJM-PAS                          Document 68-123                   Filed 02/07/25              Page 319 of 556
                                                      PageID #: 6249
‭Colorado Solar For All: Program Narrative‬                                                                           ‭October 2023‬


t‭ogether‬‭require‬‭utilities‬‭in‬‭the‬‭state‬‭to‬‭adopt‬‭clean‬‭energy‬‭plans‬‭(or‬‭in‬‭the‬‭case‬‭of‬‭Generating‬‭and‬
 ‭Transmission‬ ‭Cooperatives,‬ ‭electric‬ ‭resource‬ ‭plans)‬ ‭that‬ ‭achieve‬ ‭at‬ ‭least‬ ‭80%‬ ‭emissions‬
  ‭reduction‬ ‭below‬‭2005‬‭levels‬‭by‬‭2030.‬‭To‬‭date,‬‭utilities‬‭representing‬‭99%‬‭of‬‭fossil‬‭generation‬‭in‬
   ‭the‬‭state‬‭have‬‭approved‬‭plans‬‭that‬‭achieve,‬‭collectively,‬‭84-87%‬‭emission‬‭reduction‬‭by‬‭2030.‬‭In‬
    ‭addition,‬ ‭many‬ ‭of‬ ‭the‬ ‭coal‬ ‭plant‬ ‭retirements‬ ‭included‬ ‭in‬ ‭these‬ ‭plans‬ ‭(which‬ ‭retire‬ ‭all‬ ‭coal‬
     ‭generation‬‭in‬‭the‬‭state‬‭by‬‭the‬‭end‬‭of‬‭2030),‬‭have‬‭been‬‭included‬‭in‬‭the‬‭state‬‭implementation‬‭plan‬
      ‭for‬ ‭regional‬ ‭haze,‬ ‭making‬ ‭them‬ ‭federally‬ ‭enforceable.‬ ‭Our‬ ‭largest‬ ‭utility‬ ‭has‬‭submitted‬‭a‬‭plan,‬
       ‭currently‬‭under‬‭review‬‭by‬‭the‬‭PUC,‬‭that‬‭would‬‭exceed‬‭80%‬‭of‬‭total‬‭generation‬‭from‬‭renewables‬
        ‭by‬ ‭2030.‬ ‭These‬ ‭policies‬ ‭demonstrate‬ ‭how‬ ‭our‬ ‭state‬ ‭continues‬‭to‬‭serve‬‭as‬‭a‬‭clean‬‭energy‬‭leader‬
         ‭and continues to develop policy to support solar deployment‬
3‭ .5 Enabling Regulatory Frameworks that Support Solar Deployment‬
 ‭Colorado‬ ‭has‬ ‭a‬ ‭20-year‬ ‭history‬ ‭of‬ ‭enabling‬ ‭legislation‬ ‭that‬ ‭will‬ ‭support‬ ‭the‬ ‭execution‬ ‭of‬ ‭a‬
  ‭Colorado‬ ‭Solar‬ ‭for‬ ‭All‬ ‭grant‬ ‭program.‬ ‭The‬ ‭last‬ ‭five‬ ‭years‬ ‭have‬ ‭been‬ ‭primarily‬ ‭focused‬ ‭on‬
   ‭supporting‬ ‭system‬ ‭transparency,‬ ‭community‬ ‭solar‬ ‭garden‬ ‭implementation,‬ ‭allowance‬ ‭of‬ ‭net‬
    ‭metering,‬ ‭participation‬ ‭by‬ ‭low-income‬ ‭communities‬ ‭and‬ ‭reductions‬ ‭in‬ ‭greenhouse‬ ‭emissions‬
     ‭through‬ ‭clean‬ ‭energy.‬ ‭In‬ ‭2019,‬ ‭SB19-236‬ ‭required‬ ‭the‬ ‭PUC‬ ‭to‬ ‭adopt‬ ‭distribution‬ ‭system‬
      ‭planning‬‭rules,‬‭which‬‭included‬‭the‬‭creation‬‭of‬‭hosting‬‭capacity‬‭maps‬‭to‬‭help‬‭create‬‭transparency‬
       ‭on‬ ‭grid‬ ‭capacity‬ ‭on‬ ‭a‬ ‭utility’s‬ ‭distribution‬ ‭system.‬ ‭Also‬ ‭in‬ ‭2019,‬ ‭HB19-1003‬ ‭expanded‬ ‭the‬
        ‭maximum‬ ‭size‬ ‭of‬ ‭a‬ ‭CSG‬ ‭(now‬ ‭up‬ ‭to‬ ‭10‬ ‭MW‬ ‭for‬ ‭investor‬ ‭owned‬ ‭utilities)‬ ‭and‬ ‭removed‬
         ‭geographic‬ ‭restrictions‬ ‭within‬ ‭a‬ ‭utility’s‬ ‭service‬ ‭territory‬ ‭making‬ ‭siting‬ ‭and‬ ‭developing‬ ‭CSGs‬
          ‭easier.‬
I‭ n‬ ‭2021,‬ ‭HB21-1284‬ ‭capped‬ ‭permitting‬ ‭costs‬ ‭for‬ ‭rooftop‬ ‭solar‬ ‭while‬ ‭SB21-261‬ ‭increased‬ ‭the‬
 ‭deployment‬ ‭of‬ ‭rooftop‬ ‭solar‬ ‭to‬ ‭meet‬ ‭Colorado's‬ ‭energy‬ ‭needs,‬ ‭raised‬‭the‬‭allowable‬‭capacity‬‭of‬
  ‭customer-sited‬‭renewable‬‭energy‬‭generation‬‭facilities,‬‭permitted‬‭virtual‬‭net‬‭metering‬‭and‬‭use‬‭of‬‭a‬
   ‭meter‬ ‭collar‬‭to‬‭avoid‬‭more‬‭expensive‬‭electrical‬‭upgrades‬‭and‬‭allowed‬‭residents‬‭in‬‭IOU‬‭territory‬
    ‭to‬‭earn‬‭net‬‭metering‬‭credits‬‭indefinitely.‬‭Also‬‭in‬‭2021,‬‭SB21-272‬‭required‬‭a‬‭minimum‬‭percentage‬
     ‭of‬ ‭utility‬ ‭renewable‬ ‭energy‬ ‭funding‬ ‭go‬ ‭towards‬ ‭vulnerable‬ ‭customers‬ ‭to‬ ‭support‬ ‭greater‬ ‭solar‬
      ‭adoption.‬ ‭In‬ ‭2022,‬ ‭the‬ ‭legislature‬ ‭adopted‬ ‭HB22-1362,‬ ‭which‬ ‭created‬ ‭new‬ ‭minimum‬ ‭energy‬
       ‭code‬ ‭requirements‬ ‭that‬ ‭include‬ ‭solar-ready,‬ ‭electric-ready‬ ‭and‬ ‭EV-ready‬ ‭requirements‬ ‭for‬
        ‭residential‬ ‭and‬ ‭commercial‬ ‭construction.‬ ‭Most‬ ‭recently,‬ ‭2023‬ ‭legislation‬ ‭provides‬ ‭funding‬ ‭for‬
         ‭permitting‬ ‭jurisdictions‬ ‭to‬ ‭adopt‬ ‭the‬ ‭SolarAPP‬ ‭software‬ ‭(HB23-1234),‬ ‭which‬ ‭can‬ ‭instantly‬
          ‭process‬‭up‬‭to‬‭80%‬‭of‬‭typical‬‭solar‬‭permits,‬‭leading‬‭to‬‭decreased‬‭administrative‬‭and‬‭cost‬‭burdens‬
           ‭on‬ ‭permitting‬ ‭entities,‬ ‭reduced‬ ‭install‬ ‭times,‬ ‭better‬‭compliance‬‭with‬‭codes‬‭and‬‭regulations,‬‭and‬
            ‭fewer‬ ‭project‬ ‭cancellations.‬ ‭Additional‬ ‭legislation‬ ‭provides‬ ‭an‬ ‭alternative‬ ‭bill‬‭methodology‬‭for‬
             ‭CSGs‬ ‭that‬ ‭provides‬ ‭greater‬ ‭price‬ ‭stability‬ ‭(HB23-1137)‬ ‭and‬ ‭supports‬ ‭the‬ ‭development‬ ‭of‬
              ‭agrivoltaics‬ ‭(SB23-092).‬ ‭In‬ ‭April‬ ‭of‬ ‭2023,‬ ‭the‬ ‭state‬ ‭air‬ ‭quality‬ ‭commission‬ ‭adopted‬ ‭building‬
               ‭performance‬ ‭standards‬ ‭(BPS)‬ ‭for‬ ‭buildings‬ ‭over‬ ‭50,000‬ ‭square‬ ‭feet,‬ ‭including‬ ‭multifamily‬
                ‭residential,‬ ‭requiring‬ ‭the‬ ‭sector‬ ‭to‬ ‭reduce‬ ‭emissions‬ ‭20%‬ ‭below‬‭2020‬‭levels‬‭by‬‭2030,‬‭allowing‬
                 ‭the‬ ‭use‬ ‭of‬ ‭a‬ ‭combination‬ ‭of‬ ‭energy‬ ‭efficiency,‬ ‭building‬ ‭electrification,‬ ‭and‬ ‭solar‬ ‭generation‬ ‭to‬
                  ‭achieve‬‭these‬‭targets.‬‭This‬‭BPS‬‭will‬‭drive‬‭significant‬‭interest‬‭from‬‭multifamily‬‭properties‬‭in‬‭solar‬
                   ‭generation;‬ ‭and‬ ‭as‬ ‭the‬ ‭program‬ ‭is‬ ‭administered‬ ‭by‬ ‭the‬ ‭Colorado‬ ‭Energy‬ ‭Office,‬ ‭the‬ ‭Colorado‬
                    ‭Solar for All program will be well situated to engage with the properties.‬




                                                                                                                                         ‭17‬
Case 1:25-cv-00039-JJM-PAS                          Document 68-123                  Filed 02/07/25             Page 320 of 556
                                                      PageID #: 6250
‭Colorado Solar For All: Program Narrative‬                                                                         ‭October 2023‬


‭ lectricity‬ ‭generation‬ ‭is‬ ‭Colorado's‬ ‭second‬ ‭largest‬ ‭contributor‬ ‭to‬ ‭statewide‬ ‭greenhouse‬ ‭gas‬
E
‭emissions.‬‭33‬ ‭Replacing‬ ‭coal‬ ‭generation‬ ‭with‬ ‭solar‬ ‭and‬ ‭other‬ ‭no-‬ ‭and‬ ‭low-emissions‬ ‭energy‬
 ‭resources‬ ‭will‬ ‭be‬ ‭essential‬ ‭in‬ ‭meeting‬ ‭these‬ ‭greenhouse‬ ‭gas‬ ‭reductions‬ ‭for‬ ‭the‬ ‭electric‬ ‭grid.‬
  ‭Colorado‬ ‭is‬ ‭a‬ ‭national‬ ‭leader‬ ‭in‬ ‭climate‬ ‭action‬ ‭strategies‬ ‭and‬ ‭funding‬ ‭a‬ ‭COS4A‬ ‭program‬ ‭will‬
   ‭support further progress to reduce greenhouse gas emissions through clean energy investments.‬
3‭ .6‬‭Describe‬‭a‬‭plan‬‭to‬‭ensure‬‭the‬‭program‬‭will‬‭maximize‬‭deployment‬‭breadth‬‭and‬‭diversity‬
 ‭across‬‭the‬‭geography,‬‭despite‬‭jurisdictional‬‭differences‬‭between‬‭different‬‭utility‬‭territories‬
  ‭and/or regulatory jurisdictions in the geography the application proposes to serve.‬
   ‭The‬ ‭Colorado‬ ‭Solar‬ ‭for‬ ‭All‬ ‭program‬ ‭will‬ ‭maximize‬ ‭deployment‬ ‭breadth‬ ‭and‬ ‭diversity‬ ‭across‬
    ‭Colorado,‬ ‭through‬ ‭a‬ ‭statewide‬ ‭plan‬ ‭that‬ ‭will‬ ‭ensure‬ ‭communities‬ ‭that‬ ‭have‬ ‭been‬ ‭historically‬
     ‭underserved‬ ‭in‬ ‭the‬ ‭solar‬ ‭market‬ ‭have‬ ‭the‬ ‭opportunity‬ ‭to‬ ‭participate‬ ‭in‬ ‭rooftop‬ ‭or‬ ‭community‬
      ‭solar.‬ ‭Colorado‬ ‭has‬ ‭53‬ ‭electric‬ ‭utilities:‬ ‭two‬ ‭IOUs,‬ ‭29‬ ‭municipal‬ ‭utilities,‬ ‭and‬ ‭22‬‭rural‬‭electric‬
       ‭cooperative‬ ‭utilities‬ ‭and‬ ‭electric‬ ‭rates‬ ‭vary‬ ‭for‬‭each‬‭utility,‬‭but‬‭the‬‭Colorado‬‭Energy‬‭Office‬‭has‬
        ‭experience‬ ‭working‬ ‭directly‬ ‭with‬ ‭IOUs,‬ ‭municipal‬ ‭utilities,‬ ‭electric‬ ‭cooperatives,‬ ‭and‬ ‭the‬‭state‬
         ‭associations‬ ‭for‬ ‭both‬ ‭municipal‬ ‭and‬ ‭cooperative‬‭utilities.‬‭As‬‭a‬‭result,‬‭the‬‭state‬‭is‬‭well‬‭poised‬‭to‬
          ‭work‬‭collaboratively‬‭with‬‭the‬‭various‬‭electric‬‭utilities‬‭statewide‬‭to‬‭understand‬‭how‬‭to‬‭determine,‬
           ‭calculate,‬ ‭and‬ ‭deliver‬ ‭the‬ ‭benefits‬ ‭of‬ ‭Colorado‬ ‭Solar‬ ‭for‬ ‭All‬ ‭for‬ ‭customers‬ ‭of‬ ‭all‬ ‭utilities.‬ ‭As‬
            ‭described‬‭above,‬‭the‬‭state‬‭has‬‭adopted‬‭substantial‬‭legislation‬‭to‬‭support‬‭the‬‭growth‬‭of‬‭distributed‬
             ‭generation‬‭in‬‭Colorado,‬‭and‬‭key‬‭policies–‬‭such‬‭as‬‭net‬‭metering–‬‭which‬‭apply‬‭to‬‭all‬‭utilities‬‭in‬‭the‬
              ‭state.‬
I‭ n order to identify any major variation in adoption rates between utility territories, we will start‬
 ‭our program development with a statewide assessment of solar adoption to date, based on the‬
  ‭current and projected solar capacity, policy landscape, customer demand, and utility participation‬
   ‭The program will establish clear goals and metrics to measure the success of the program in‬
    ‭terms of increasing the number and capacity of community solar projects; expanding access and‬
     ‭affordability of community solar for low-income customers and customers in disadvantaged‬
      ‭communities; reducing energy burden and greenhouse gas emissions; creating local jobs and‬
       ‭economic opportunities; improving health and environmental quality; enhancing social cohesion‬
        ‭and empowerment; and advancing equity and justice in the energy sector. This data will‬
         ‭demonstrate the progress and impact of the program on the deployment breadth and diversity of‬
          ‭community solar across the geography despite jurisdictional differences between different utility‬
           ‭territories and/or regulatory jurisdictions.‬
‭ ummary‬
S
‭Colorado‬ ‭is‬ ‭fortunate‬ ‭to‬ ‭have‬ ‭long‬ ‭invested‬ ‭in‬ ‭the‬ ‭support‬ ‭for‬ ‭solar‬ ‭adoption,‬ ‭and‬ ‭has‬ ‭nation‬
 ‭leading‬‭enabling‬‭policies‬‭already‬‭in‬‭place.‬‭That‬‭being‬‭said,‬‭there‬‭are‬‭still‬‭clear‬‭additional‬‭barriers‬
  ‭for‬‭low-income‬‭and‬‭disadvantaged‬‭communities‬‭that‬‭Colorado‬‭is‬‭working‬‭to‬‭address.‬‭In‬‭addition‬
   ‭to‬ ‭the‬ ‭community‬ ‭engagement‬ ‭and‬ ‭technical‬ ‭assistance‬ ‭discussed‬ ‭below,‬ ‭Colorado’s‬ ‭plan‬ ‭is‬ ‭to‬
    ‭work‬ ‭with‬ ‭community‬ ‭based‬‭organizations‬‭that‬‭serve‬‭rural‬‭and‬‭disadvantaged‬‭communities‬‭that‬
     ‭tend‬ ‭to‬ ‭have‬ ‭particularly‬ ‭high‬ ‭energy‬ ‭burden.‬ ‭In‬ ‭addition,‬ ‭we‬ ‭will‬ ‭partner‬ ‭with‬ ‭other‬ ‭state‬
      ‭agencies‬‭including‬‭our‬‭Department‬‭of‬‭Local‬‭Affairs‬‭and‬‭others‬‭that‬‭have‬‭a‬‭statewide‬‭network‬‭of‬
       ‭contacts‬ ‭with‬ ‭local‬ ‭governments,‬‭nonprofits,‬‭and‬‭other‬‭organizations‬‭that‬‭can‬‭help‬‭promote‬‭this‬
        ‭program.‬

‭33‬
       ‭Colorado Greenhouse Gas Pollution Reduction Roadmap. January 14, 2021.‬


                                                                                                                                       ‭18‬
Case 1:25-cv-00039-JJM-PAS                   Document 68-123              Filed 02/07/25          Page 321 of 556
                                               PageID #: 6251
‭Colorado Solar For All: Program Narrative‬                                                             ‭October 2023‬




‭Figure 3.1 shows a map of Colorado with colored shading to represent different utility territories.‬


‭4.‬‭Financial Assistance Strategy‬
‭4.1 Introduction‬
‭Financial Assistance Overview‬‭:‬
‭Single-family Rooftop (Lease & 100% Subsidy):‬ ‭$61,340,483‬

‭Multifamily On-Site and Rooftop:‬                       ‭$61,446,517‬

‭Community Solar:‬                                       ‭$64,713,000‬

‭Total Financial Assistance‬‭:‬                         ‭$187,500,000‬

‭ he‬ ‭financial‬ ‭assistance‬ ‭strategies‬ ‭in‬ ‭this‬ ‭application‬ ‭have‬ ‭been‬ ‭identified‬ ‭and‬ ‭designed‬ ‭to‬
T
‭advance‬‭and‬‭maximize‬‭the‬‭three‬‭overarching‬‭objectives‬‭of‬‭the‬‭Greenhouse‬‭Gas‬‭Reduction‬‭Fund‬
 ‭(GGRF)‬‭program‬‭1)‬‭maximize‬‭solar‬‭deployment‬‭with‬‭financial‬‭assistance‬‭to‬‭reduce‬‭overall‬‭GHG‬
  ‭emissions‬‭in‬‭affected‬‭communities,‬‭2)‬‭finance‬‭and‬‭incentivize‬‭distributed‬‭solar‬‭to‬‭directly‬‭deliver‬
   ‭benefits‬ ‭to‬ ‭America’s‬ ‭low-income‬ ‭and‬ ‭disadvantaged‬ ‭communities,‬ ‭3)‬ ‭mobilize‬ ‭private‬ ‭capital‬
    ‭and‬ ‭building‬ ‭financing‬ ‭mechanisms‬ ‭to‬ ‭support‬ ‭market‬ ‭transformation‬ ‭towards‬ ‭a‬ ‭clean‬ ‭energy‬
     ‭economy‬ ‭for‬ ‭all‬ ‭Coloradans.‬ ‭This‬ ‭financial‬ ‭assistance‬ ‭package‬ ‭will‬ ‭complement,‬ ‭and‬ ‭not‬



                                                                                                                         ‭19‬
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                 Filed 02/07/25            Page 322 of 556
                                                    PageID #: 6252
‭Colorado Solar For All: Program Narrative‬                                                                     ‭October 2023‬


d‭ uplicate,‬ ‭existing‬ ‭subsidies,‬ ‭tax‬ ‭credits,‬ ‭and‬ ‭other‬ ‭sources‬ ‭of‬‭financing‬‭to‬‭support‬‭deployment‬
 ‭that would not have occurred otherwise.‬
‭ he‬ ‭strategies‬ ‭outlined‬ ‭below‬ ‭deliver‬ ‭a‬ ‭balanced‬ ‭approach‬ ‭to‬ ‭achieve‬ ‭the‬ ‭Solar‬ ‭for‬ ‭All‬ ‭goals‬
T
‭outlined‬ ‭in‬ ‭the‬ ‭Request‬ ‭for‬‭Application,‬‭including‬‭enabling‬‭the‬‭rapid‬‭deployment‬‭of‬‭distributed‬
 ‭solar,‬ ‭increasing‬ ‭equitable‬ ‭access‬ ‭to‬ ‭solar,‬ ‭facilitating‬ ‭ownership‬ ‭models‬ ‭that‬ ‭allow‬ ‭LIDCs‬ ‭to‬
  ‭access‬‭the‬‭economic‬‭benefits‬‭of‬‭asset‬‭ownership,‬‭and‬‭catalyzing‬‭public/private‬‭participation‬‭that‬
   ‭leverage‬ ‭additional‬ ‭capital‬ ‭and‬‭lead‬‭to‬‭market‬‭transformation‬‭beyond‬‭the‬‭Solar‬‭for‬‭All‬‭program‬
    ‭period.‬‭Subsidies‬‭are‬‭proposed‬‭values‬‭which‬‭came‬‭from‬‭case‬‭studies‬‭in‬‭Colorado‬‭and‬‭other‬‭states‬
     ‭and‬‭will‬‭be‬‭refined‬‭and‬‭finalized‬‭with‬‭industry‬‭partners‬‭and‬‭current‬‭market‬‭conditions‬‭during‬‭the‬
      ‭program‬ ‭planning‬ ‭period‬ ‭should‬ ‭an‬ ‭award‬ ‭be‬ ‭made.‬ ‭CEO‬ ‭recognizes‬ ‭the‬‭benefit‬‭to‬‭provide‬‭all‬
       ‭three‬‭of‬‭the‬‭solar‬‭installation‬‭types‬‭of‬‭single-family‬‭rooftop,‬‭multifamily‬‭rooftop‬‭and‬‭community‬
        ‭solar.‬ ‭While‬ ‭allocations‬ ‭have‬ ‭been‬ ‭proposed‬ ‭based‬ ‭on‬ ‭potential‬ ‭serviceable‬ ‭markets,‬ ‭enabling‬
         ‭legislation‬ ‭and‬ ‭discussions‬ ‭with‬ ‭industry‬‭partners,‬‭there‬‭remains‬‭considerable‬‭uncertainty.‬‭CEO‬
          ‭plans‬ ‭to‬ ‭use‬ ‭the‬ ‭planning‬ ‭period‬ ‭to‬ ‭refine‬ ‭the‬ ‭methodology‬ ‭and‬ ‭expects‬ ‭to‬ ‭adjust‬ ‭the‬ ‭program‬
           ‭annually based on market conditions, participant demand, and benefits realized.‬
4‭ .2 Single-Family Residential Rooftop Solar and Enabling Upgrades‬
 ‭The‬‭subsidy‬‭provided‬‭in‬‭the‬‭single-family‬‭sector‬‭is‬‭a‬‭per-home‬‭calculation‬‭depending‬‭on‬‭whether‬
  ‭the‬ ‭participating‬ ‭home‬ ‭requires‬ ‭enabling‬ ‭upgrades.‬ ‭CEO‬ ‭projects‬ ‭serving‬ ‭40%‬ ‭of‬ ‭households‬
   ‭with‬ ‭a‬ ‭main‬ ‭electrical‬ ‭service‬ ‭panel‬ ‭upgrade‬ ‭at‬ ‭an‬ ‭average‬ ‭cost‬ ‭of‬ ‭$3,500.‬ ‭The‬ ‭market‬ ‭in‬
    ‭Colorado‬‭for‬‭solar‬‭installation‬‭costs‬‭(across‬‭rural‬‭and‬‭urban)‬‭ranges‬‭from:‬‭$2.65/watt-$3.80/watt.‬
     ‭A‬ ‭fully‬ ‭subsidized‬ ‭model‬ ‭will‬ ‭cover‬ ‭the‬ ‭entire‬ ‭cost‬ ‭for‬ ‭qualified‬ ‭households,‬ ‭and‬ ‭a‬ ‭low‬ ‭cost‬
      ‭partially‬ ‭subsidized‬ ‭leasing‬ ‭model‬ ‭will‬ ‭serve‬ ‭other‬ ‭households.‬ ‭These‬ ‭models‬ ‭utilize‬ ‭current‬
       ‭market‬‭and‬‭historical‬‭data‬‭for‬‭projecting‬‭an‬‭average‬‭solar‬‭system‬‭size‬‭of‬‭5kW‬‭per‬‭household‬‭and‬
        ‭an‬ ‭approximate‬ ‭cost‬ ‭of‬ ‭$3.50/watt,‬ ‭for‬ ‭an‬‭average‬‭system‬‭cost‬‭of‬‭$17,500.‬‭When‬‭including‬‭the‬
         ‭electrical‬‭upgrade‬‭package‬‭for‬‭40%‬‭of‬‭the‬‭homes,‬‭the‬‭average‬‭cost‬‭across‬‭the‬‭portfolio‬‭is‬‭$17,900‬
          ‭per household.‬
‭ ingle-Family Immediate Solar Ownership Model (100% Subsidy)‬
S
‭Colorado’s‬ ‭Weatherization‬‭Assistance‬‭Program‬‭(WAP)‬‭has‬‭been‬‭serving‬‭LIDCs‬‭in‬‭Colorado‬‭for‬
 ‭more‬‭than‬‭45‬‭years.‬‭In‬‭2017‬‭Colorado’s‬‭WAP‬‭sought‬‭and‬‭gained‬‭approval‬‭from‬‭the‬‭Department‬
  ‭of‬ ‭Energy‬ ‭to‬ ‭utilize‬ ‭WAP‬ ‭funds‬ ‭for‬ ‭rooftop‬ ‭solar‬ ‭installations‬ ‭for‬ ‭qualified‬ ‭households,‬
   ‭increasing‬ ‭access‬ ‭to‬ ‭clean‬ ‭energy‬ ‭and‬ ‭pairing‬ ‭with‬ ‭energy‬ ‭conservation‬ ‭solutions‬ ‭for‬ ‭eligible‬
    ‭income‬‭qualified‬‭Coloradans.‬‭This‬‭was‬‭the‬‭first‬‭time‬‭in‬‭the‬‭nation‬‭that‬‭DOE‬‭allowed‬‭WAP‬‭funds‬
     ‭to‬ ‭be‬ ‭used‬ ‭for‬ ‭solar.‬ ‭This‬ ‭program‬ ‭has‬ ‭driven‬ ‭changes‬ ‭in‬ ‭energy‬ ‭production‬ ‭and‬ ‭the‬ ‭built‬
      ‭environment‬ ‭that‬‭counteracts‬‭a‬‭history‬‭of‬‭racist‬‭and‬‭discriminatory‬‭policy‬‭by‬‭providing‬‭benefits‬
       ‭to disproportionately impacted communities and underserved populations.‬
‭ hrough‬ ‭Solar‬ ‭for‬ ‭All,‬ ‭Colorado‬ ‭will‬ ‭create‬ ‭a‬ ‭solar‬ ‭ownership‬ ‭model‬ ‭by‬ ‭leveraging‬ ‭the‬
T
‭long-standing‬ ‭and‬ ‭successful‬ ‭infrastructure‬ ‭of‬ ‭the‬ ‭WAP‬ ‭program.‬ ‭CEO‬ ‭has‬ ‭a‬ ‭pipeline‬ ‭of‬‭these‬
 ‭weatherized‬ ‭and‬ ‭solar‬ ‭ready‬ ‭homes‬ ‭-‬ ‭over‬ ‭10,000‬ ‭single-family‬ ‭homes‬ ‭have‬ ‭been‬ ‭serviced‬ ‭by‬
  ‭WAP‬ ‭over‬ ‭the‬ ‭last‬ ‭decade‬ ‭-‬ ‭and‬ ‭will‬ ‭install‬‭solar‬‭on‬‭the‬‭homes‬‭best‬‭situated‬‭for‬‭rooftop‬‭solar.‬
   ‭CEO‬‭will‬‭grant‬‭funds‬‭to‬‭implement‬‭these‬‭installations‬‭at‬‭no‬‭cost‬‭to‬‭the‬‭homeowners‬‭(i.e.,‬‭100%‬
    ‭subsidy).‬ ‭In‬ ‭addition‬ ‭to‬ ‭direct‬ ‭ownership,‬ ‭CEO‬ ‭will‬ ‭work‬ ‭with‬ ‭nonprofit‬ ‭solar‬ ‭developers‬ ‭and‬
     ‭relevant‬ ‭third-party‬ ‭project‬ ‭owners‬ ‭who‬ ‭are‬ ‭eligible‬ ‭to‬ ‭monetize‬ ‭the‬ ‭federal‬ ‭investment‬ ‭tax‬
      ‭credits‬‭(ITC)‬‭through‬‭direct‬‭pay‬‭on‬‭behalf‬‭of‬‭these‬‭households.‬ ‭These‬‭entities‬‭receiving‬‭these‬‭tax‬
       ‭credits‬‭will‬‭be‬‭required‬‭through‬‭this‬‭program‬‭to‬‭utilize‬‭funds‬‭to‬‭provide‬‭ongoing‬‭operations‬‭and‬

                                                                                                                                  ‭20‬
Case 1:25-cv-00039-JJM-PAS                          Document 68-123                  Filed 02/07/25             Page 323 of 556
                                                      PageID #: 6253
‭Colorado Solar For All: Program Narrative‬                                                                         ‭October 2023‬


‭ aintenance‬ ‭associated‬ ‭with‬ ‭the‬ ‭long‬ ‭term‬ ‭performance‬ ‭of‬ ‭the‬ ‭solar‬ ‭asset‬ ‭(20+‬ ‭years‬ ‭in‬ ‭most‬
m
‭cases) and when applicable reduce the system’s installation price accordingly.‬
‭ hese‬ ‭projects‬ ‭will‬ ‭deliver‬ ‭nearly‬ ‭100%‬‭electricity‬‭savings‬‭for‬‭Colorado’s‬‭most‬‭vulnerable‬‭and‬
T
‭energy‬‭burdened‬‭households.‬‭Leveraging‬‭WAP,‬‭CEO‬‭will‬‭ensure‬‭solar‬‭is‬‭installed‬‭on‬‭homes‬‭that‬
 ‭have‬‭already‬‭received‬‭weatherization‬‭improvements‬‭and‬‭enabling‬‭upgrades,‬‭extending‬‭the‬‭impact‬
  ‭of‬ ‭Colorado’s‬ ‭Solar‬ ‭for‬ ‭All‬ ‭allocation‬ ‭(i.e.,‬ ‭by‬ ‭enabling‬ ‭more‬ ‭households‬ ‭to‬ ‭benefit‬ ‭from‬ ‭this‬
   ‭funding‬ ‭and‬ ‭ensuring‬ ‭funding‬ ‭leads‬ ‭to‬ ‭an‬ ‭optimized‬ ‭solar‬ ‭system).‬ ‭The‬ ‭solar‬ ‭system‬ ‭can‬ ‭also‬
    ‭offset‬ ‭any‬ ‭additional‬ ‭electric‬ ‭load‬ ‭resulting‬ ‭from‬ ‭electrification‬ ‭measures.‬ ‭CEO‬ ‭will‬ ‭direct‬
     ‭approximately‬ ‭$29.53M‬ ‭through‬ ‭this‬ ‭fully‬ ‭subsidized‬ ‭model‬ ‭and‬ ‭anticipates‬ ‭installing‬
      ‭approximately‬ ‭1,650‬ ‭households‬ ‭with‬ ‭rooftop‬ ‭solar‬‭photovoltaic‬‭systems‬‭of‬‭which‬‭roughly‬‭660‬
       ‭homes would receive main electrical service panel upgrades.‬
‭ ingle-Family Third-Party Owned Solar Lease Ownership Model‬
S
‭Colorado‬ ‭will‬ ‭work‬ ‭with‬ ‭entities‬ ‭who‬ ‭will‬ ‭deliver‬ ‭a‬ ‭solar‬ ‭ownership‬ ‭model,‬ ‭based‬ ‭on‬ ‭a‬
 ‭third-party‬ ‭owned‬ ‭solar‬ ‭lease‬ ‭that‬ ‭will‬ ‭lead‬ ‭to‬ ‭solar‬ ‭asset‬ ‭ownership‬ ‭over‬ ‭time.‬ ‭Households‬ ‭in‬
  ‭Colorado‬‭with‬‭eligible‬‭income‬‭criteria‬‭and‬‭lease‬‭terms‬‭with‬‭appropriate‬‭financial‬‭protections‬‭will‬
   ‭be‬‭determined‬‭during‬‭the‬‭program‬‭planning‬‭period.‬‭Third-party‬‭owned‬‭solar‬‭lease‬‭models‬‭are‬‭an‬
    ‭effective‬ ‭tool‬ ‭to‬ ‭expand‬ ‭access‬ ‭to‬ ‭solar‬ ‭for‬‭low-income‬‭single-family‬‭homeowners‬‭and‬‭renters.‬
     ‭CEO‬‭will‬‭allocate‬‭$31.74M‬‭towards‬‭this‬‭model,‬‭and‬‭will‬‭use‬‭approximately‬‭$2M‬‭in‬‭the‬‭form‬‭of‬‭a‬
      ‭$0.30‬ ‭-‬ ‭$0.650/watt‬ ‭subsidy‬ ‭for‬ ‭participating‬ ‭households.‬ ‭The‬ ‭remaining‬ ‭approximately‬ ‭$29M‬
       ‭will‬‭be‬‭used‬‭to‬‭provide‬‭two‬‭different‬‭forms‬‭of‬‭financing‬‭to‬‭third-party‬‭solar‬‭lease‬‭providers.‬‭First,‬
        ‭CEO‬‭will‬‭capitalize‬‭a‬‭revolving‬‭bridge‬‭loan‬‭fund‬‭with‬‭approximately‬‭$4.4M‬‭that‬‭will‬‭be‬‭used‬‭for‬
         ‭bridge‬ ‭financing‬ ‭of‬ ‭third-party‬ ‭lease‬ ‭providers‬ ‭to‬ ‭bridge‬ ‭the‬ ‭time‬ ‭between‬ ‭when‬ ‭a‬ ‭project‬ ‭is‬
          ‭installed‬‭and‬‭when‬‭the‬‭tax‬‭credits‬‭are‬‭captured,‬‭including‬‭state‬‭and‬‭local‬‭rebates‬‭and‬‭incentives.‬
           ‭The‬‭timing‬‭between‬‭when‬‭a‬‭lease‬‭provider‬‭funds‬‭installation‬‭and‬‭receives‬‭the‬‭relevant‬‭tax‬‭credits‬
            ‭can‬ ‭create‬ ‭cash‬ ‭flow‬ ‭issues‬ ‭which‬ ‭is‬ ‭mitigated‬ ‭with‬ ‭low-cost‬ ‭bridge‬‭loans‬‭(i.e.,‬‭priced‬‭at‬‭a‬‭4%‬
             ‭interest‬ ‭rate).‬ ‭Paired‬ ‭with‬ ‭a‬ ‭long-term‬ ‭revolving‬ ‭loan‬ ‭product,‬ ‭CEO‬ ‭will‬ ‭offer‬ ‭this‬ ‭directly‬ ‭to‬
              ‭selected‬‭third-party‬‭lease‬‭providers.‬‭This‬‭low-cost‬‭loan‬‭product‬‭(i.e.,‬‭priced‬‭at‬‭a‬‭1%‬‭interest‬‭rate)‬
               ‭will‬ ‭be‬ ‭blended‬ ‭with‬ ‭the‬ ‭existing‬ ‭capital‬ ‭base‬ ‭of‬ ‭lease‬ ‭providers,‬ ‭allowing‬ ‭the‬ ‭selected‬ ‭lease‬
                ‭providers‬‭to‬‭offer‬‭reduced‬‭cost‬‭lease‬‭rates‬‭(1-2%)‬‭to‬‭participating‬‭households,‬‭with‬‭the‬‭option‬‭for‬
                 ‭the household to assume ownership at the completion of the lease term.‬
‭ his‬ ‭lease‬ ‭program‬ ‭allows‬ ‭eligible‬ ‭households‬ ‭without‬ ‭tax‬ ‭liability‬ ‭(or‬ ‭otherwise‬ ‭unable‬ ‭to‬
T
‭realize‬‭tax‬‭credits)‬‭a‬‭pathway‬‭to‬‭monetize‬‭and‬‭receive‬‭these‬‭benefits‬‭via‬‭lease‬‭providers‬‭creating‬
 ‭a‬ ‭reduced‬ ‭lease.‬ ‭Homeownership‬ ‭is‬ ‭lower‬ ‭in‬ ‭America’s‬ ‭CEJST‬ ‭communities‬‭relative‬‭to‬‭higher‬
  ‭income‬‭communities,‬‭and‬‭this‬‭solution‬‭will‬‭also‬‭be‬‭designed‬‭to‬‭allow‬‭single-family‬‭renters‬‭access‬
   ‭to‬ ‭the‬ ‭solar‬ ‭lease‬ ‭model.‬ ‭This‬ ‭third-party‬ ‭owned‬ ‭solar‬ ‭lease‬ ‭allows‬ ‭households‬ ‭to‬ ‭enjoy‬ ‭the‬
    ‭benefits‬ ‭of‬ ‭solar‬ ‭without‬ ‭assuming‬ ‭the‬ ‭burden‬ ‭of‬ ‭operating‬ ‭and‬ ‭maintaining‬ ‭the‬ ‭system‬ ‭-‬ ‭this‬
     ‭responsibility‬ ‭remains‬‭with‬‭the‬‭lease‬‭providers‬‭throughout‬‭the‬‭lease‬‭term.‬‭Households‬‭that‬‭wish‬
      ‭to‬‭take‬‭ownership‬‭of‬‭the‬‭solar‬‭asset‬‭will‬‭have‬‭the‬‭option‬‭to‬‭purchase‬‭at‬‭“fair‬‭market‬‭value”‬‭after‬
       ‭all‬ ‭tax‬ ‭incentives,‬ ‭including‬ ‭the‬ ‭ITC‬ ‭and‬ ‭depreciation,‬ ‭have‬ ‭been‬ ‭realized‬ ‭and‬ ‭the‬ ‭recapture‬
        ‭period has passed.‬
‭ his‬‭lease‬‭model‬‭is‬‭designed‬‭to‬‭support‬‭the‬‭development‬‭of‬‭long‬‭term‬‭market‬‭transformation,‬‭and‬
T
‭reduce‬‭the‬‭barriers‬‭for‬‭solar‬‭lease‬‭providers‬‭to‬‭enter‬‭underserved‬‭markets‬‭statewide.‬ ‭Posi‬‭Gen’s‬
 ‭work‬‭in‬‭Louisiana‬‭in‬‭the‬‭aftermath‬‭of‬‭Hurricane‬‭Katrina‬‭is‬‭a‬‭case‬‭study‬‭CEO‬‭may‬‭use‬‭to‬‭replicate‬
  ‭through‬‭this‬‭program‬‭design,‬‭utilizing‬‭public‬‭funds‬‭to‬‭support‬‭growth‬‭and‬‭market‬‭development‬‭to‬

                                                                                                                                       ‭21‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                 Filed 02/07/25            Page 324 of 556
                                                   PageID #: 6254
‭Colorado Solar For All: Program Narrative‬                                                                    ‭October 2023‬


u‭ ltimately‬ ‭attract‬ ‭private,‬ ‭non-public‬ ‭capital‬ ‭including‬ ‭philanthropic‬ ‭funds‬ ‭to‬ ‭deploy‬ ‭solar‬ ‭in‬
 ‭underserved‬ ‭markets‬ ‭across‬ ‭the‬ ‭state.‬ ‭Prudent‬ ‭financial‬ ‭practices‬ ‭by‬ ‭the‬ ‭CEO‬ ‭will‬‭ensure‬‭this‬
  ‭capital‬‭in‬‭the‬‭long‬‭term‬‭revolving‬‭loan‬‭fund‬‭continues‬‭to‬‭circulate‬‭after‬‭the‬‭five-year‬‭performance‬
   ‭period‬‭has‬‭ended,‬‭and‬‭also‬‭allows‬‭solar‬‭lease‬‭provider’s‬‭to‬‭blend‬‭their‬‭existing‬‭capital‬‭base‬‭with‬
    ‭Solar‬ ‭for‬ ‭All‬‭funds.‬ ‭This‬‭model‬‭unlocks‬‭potential‬‭funding‬‭sources‬‭that‬‭currently‬‭don't‬‭exist‬‭for‬
     ‭the LIDC market in Colorado.‬
‭ ingle-Family Rooftop Solar Program Outcomes‬
S
‭The‬ ‭single-family‬ ‭residential‬ ‭financial‬ ‭assistance‬ ‭package‬ ‭is‬ ‭projected‬ ‭to‬ ‭serve‬ ‭approximately‬
 ‭3,400‬‭households‬‭and‬‭produce‬‭significant‬‭energy‬‭utility‬‭bill‬‭savings‬‭since‬‭systems‬‭are‬‭required‬‭to‬
  ‭be‬ ‭designed‬ ‭to‬ ‭support‬ ‭75-120%‬ ‭of‬ ‭participating‬ ‭households'‬ ‭energy‬ ‭usage.‬ ‭CEO’s‬ ‭financial‬
   ‭model‬ ‭determined‬ ‭that‬ ‭the‬ ‭100%‬ ‭subsidy‬ ‭model‬ ‭will‬ ‭serve‬ ‭1,650‬ ‭households‬ ‭and‬ ‭the‬ ‭leasing‬
    ‭structure‬ ‭(i.e.,‬ ‭subsidy,‬ ‭short‬ ‭term‬ ‭bridge‬ ‭and‬‭long‬‭term‬‭revolving‬‭loan‬‭fund‬‭package),‬‭with‬‭the‬
     ‭total‬‭capitalization‬‭referenced‬‭above,‬‭is‬‭projected‬‭to‬‭support‬‭a‬‭minimum‬‭of‬‭approximately‬‭1,750‬
      ‭households,‬ ‭with‬ ‭an‬ ‭additional‬ ‭approximately‬ ‭95‬ ‭households‬ ‭served‬ ‭from‬ ‭lease‬ ‭repayments‬
       ‭being‬ ‭recycled‬ ‭to‬‭the‬‭principal‬‭in‬‭the‬‭revolving‬‭loan‬‭fund.‬‭The‬‭number‬‭of‬‭households‬‭served‬‭in‬
        ‭this‬‭leasing‬‭program‬‭may,‬‭more‬‭than‬‭likely,‬‭be‬‭higher‬‭depending‬‭on‬‭the‬‭amount‬‭of‬‭private‬‭capital‬
         ‭leveraged‬ ‭from‬ ‭solar‬ ‭lease‬ ‭providers‬ ‭and‬ ‭will‬ ‭be‬ ‭determined‬ ‭during‬ ‭the‬ ‭rollout‬ ‭of‬ ‭Colorado's‬
          ‭Solar‬ ‭for‬ ‭All‬ ‭lease‬ ‭program.‬ ‭The‬ ‭lease‬ ‭projection‬ ‭is‬ ‭conservative,‬ ‭with‬ ‭Solar‬ ‭for‬ ‭All‬ ‭funding‬
           ‭being‬‭the‬‭only‬‭assumption‬‭of‬‭capital‬‭for‬‭the‬‭lease‬‭program.‬‭During‬‭the‬‭program‬‭planning‬‭period,‬
            ‭CEO‬ ‭will‬ ‭be‬ ‭engaging‬ ‭with‬ ‭a‬ ‭stakeholder‬ ‭network‬ ‭of‬ ‭non-profit‬ ‭solar‬ ‭lease‬ ‭providers‬ ‭and‬
             ‭additional‬ ‭interested‬‭private‬‭capital‬‭providers‬‭who‬‭will‬‭be‬‭supporting‬‭this‬‭lease‬‭program.‬‭Funds‬
              ‭may‬ ‭be‬ ‭reallocated‬ ‭between‬ ‭the‬ ‭two‬ ‭models‬ ‭depending‬ ‭on‬ ‭actual‬ ‭uptake‬ ‭and‬ ‭current‬ ‭market‬
               ‭conditions.‬
4‭ .3 Multi-Family Residential Rooftop Solar‬
 ‭The‬ ‭financial‬ ‭assistance‬ ‭strategy‬ ‭for‬ ‭multifamily‬ ‭residential‬ ‭rooftop‬ ‭creates‬ ‭two‬ ‭deployment‬
  ‭models‬ ‭that‬ ‭rely‬ ‭on‬ ‭financing‬ ‭as‬ ‭opposed‬ ‭to‬ ‭subsidies:‬ ‭1)‬ ‭a‬ ‭long-term‬ ‭loan‬ ‭product‬ ‭that‬
   ‭immediately‬ ‭transfers‬ ‭solar‬ ‭ownership‬ ‭to‬ ‭the‬ ‭building‬ ‭owner,‬ ‭and‬ ‭2)‬ ‭a‬ ‭third-party‬‭owned‬‭solar‬
    ‭lease‬ ‭model‬ ‭that‬ ‭eventually‬ ‭leads‬ ‭to‬ ‭solar‬ ‭ownership‬ ‭for‬ ‭the‬ ‭building‬ ‭owner.‬ ‭CEO‬ ‭will‬ ‭direct‬
     ‭approximately‬ ‭$61.5M‬ ‭towards‬ ‭solar‬ ‭for‬ ‭both‬ ‭public‬ ‭housing‬ ‭and‬‭privately‬‭owned‬‭multifamily‬
      ‭and‬ ‭affordable‬ ‭housing‬ ‭developments.‬ ‭The‬‭multifamily‬‭affordable‬‭housing‬‭solar‬‭financing,‬‭will‬
       ‭seek‬ ‭matching‬ ‭funds‬ ‭from‬ ‭other‬ ‭GGRF‬ ‭funds‬ ‭from‬ ‭the‬ ‭National‬ ‭Clean‬ ‭Investment‬ ‭Fund‬ ‭and‬
        ‭Clean‬ ‭Communities‬ ‭Investment‬ ‭Accelerator‬ ‭when‬ ‭possible.‬ ‭CEO’s‬ ‭multifamily‬ ‭housing‬ ‭solar‬
         ‭financing‬ ‭program,‬ ‭will‬ ‭complement‬ ‭and‬ ‭expand‬ ‭funding‬ ‭capacity‬ ‭for‬ ‭existing‬ ‭financing‬ ‭solar‬
          ‭products‬‭in‬‭the‬‭multifamily‬‭marketplace.‬‭CEO’s‬‭allocation‬‭of‬‭capital‬‭in‬‭the‬‭multifamily‬‭housing‬
           ‭sector‬ ‭creates‬ ‭efficiency‬ ‭and‬ ‭provides‬ ‭greater‬ ‭service‬ ‭coverage‬ ‭to‬ ‭eligible‬ ‭households.‬ ‭The‬
            ‭following‬ ‭describes‬ ‭the‬ ‭financing‬ ‭tools,‬ ‭program‬ ‭goals‬ ‭and‬ ‭households‬ ‭that‬ ‭can‬ ‭be‬ ‭reached‬
             ‭through the multifamily housing sector.‬
‭ ultifamily and Affordable Housing - Solar Loan and Revolving Loan Fund‬
M
‭CEO‬ ‭will‬ ‭use‬ ‭Solar‬ ‭for‬ ‭All‬ ‭funding‬ ‭to‬ ‭support‬ ‭and‬ ‭complement‬ ‭the‬ ‭expansion‬ ‭and‬ ‭growth‬ ‭of‬
 ‭existing‬ ‭affordable‬ ‭multifamily‬ ‭loan‬ ‭programs‬ ‭managed‬ ‭by‬ ‭specialty‬ ‭lenders‬ ‭experienced‬ ‭in‬
  ‭underwriting‬ ‭and‬ ‭financing‬ ‭energy‬ ‭efficient‬ ‭affordable‬ ‭housing‬ ‭developments.‬ ‭This‬ ‭model‬‭will‬
   ‭provide‬‭low-cost‬‭bridge‬‭financing‬‭(i.e.,‬‭priced‬‭at‬‭a‬‭4%‬‭interest‬‭rate)‬‭to‬‭secure‬‭rebates,‬‭incentives‬
    ‭and‬‭tax‬‭credits,‬‭associated‬‭with‬‭solar‬‭and‬‭pair‬‭this‬‭with‬‭long-term‬‭financing‬‭(i.e.,‬‭priced‬‭at‬‭a‬‭1%‬
     ‭interest‬ ‭rate)‬ ‭to‬ ‭affordable‬ ‭multifamily‬ ‭housing‬ ‭building‬ ‭owners‬ ‭that‬ ‭agree‬ ‭to‬ ‭pass-through‬ ‭at‬


                                                                                                                                 ‭22‬
Case 1:25-cv-00039-JJM-PAS                         Document 68-123                 Filed 02/07/25             Page 325 of 556
                                                     PageID #: 6255
‭Colorado Solar For All: Program Narrative‬                                                                       ‭October 2023‬


l‭east‬‭30%‬‭electricity‬‭savings‬‭to‬‭tenants.‬‭The‬‭financing‬‭terms‬‭of‬‭this‬‭program‬‭will‬‭be‬‭paired‬‭with‬‭a‬
 ‭$0.25‬ ‭-‬ ‭$0.40/watt‬ ‭subsidy‬ ‭directed‬ ‭at‬‭solar‬‭developers‬‭and/or‬‭project‬‭owners‬‭that‬‭will‬‭produce‬
  ‭the desired electricity savings for building owners and tenants.‬
‭ ultifamily and Affordable Housing Solar Lease‬
M
‭In‬ ‭addition,‬ ‭a‬ ‭third-party‬ ‭owned‬ ‭solar‬ ‭lease‬ ‭product‬ ‭will‬ ‭be‬ ‭available‬ ‭for‬ ‭multifamily‬
 ‭developments.‬ ‭This‬ ‭allows‬ ‭the‬‭project‬‭owner‬‭to‬‭monetize‬‭the‬‭federal‬‭IRA‬‭investment‬‭tax‬‭credit‬
  ‭and‬‭require‬‭that‬‭O&M‬‭costs‬‭and‬‭responsibilities‬‭are‬‭borne‬‭by‬‭the‬‭third-party‬‭lease‬‭provider‬‭rather‬
   ‭than‬ ‭the‬ ‭building‬ ‭owner,‬ ‭and‬ ‭provides‬ ‭a‬ ‭flexible‬ ‭approach‬ ‭for‬ ‭the‬ ‭state’s‬ ‭multifamily‬ ‭housing‬
    ‭sector.‬ ‭This‬ ‭flexible‬ ‭approach‬ ‭allows‬ ‭multi-family‬ ‭housing‬ ‭owners‬ ‭to‬ ‭access‬ ‭a‬ ‭third-party‬
     ‭ownership‬ ‭and‬ ‭solar‬ ‭lease‬ ‭financing‬ ‭arrangement‬ ‭to‬ ‭provide‬ ‭solar‬ ‭benefits‬ ‭to‬ ‭their‬ ‭tenants‬
      ‭without‬ ‭increasing‬ ‭debt‬ ‭and‬ ‭ensuring‬ ‭long‬ ‭term‬ ‭system‬ ‭performance‬ ‭is‬ ‭managed‬ ‭by‬ ‭the‬ ‭solar‬
       ‭project owner.‬
‭ imilar‬‭to‬‭the‬‭single-family‬‭third‬‭party‬‭owned‬‭solar‬‭lease‬‭product‬‭described‬‭above,‬‭this‬‭will‬‭pair‬
S
‭a‬ ‭subsidy‬ ‭approximately‬ ‭$0.25‬ ‭-‬ ‭$0.45/watt‬ ‭with‬‭two‬‭different‬‭forms‬‭of‬‭financing‬‭available‬‭for‬
 ‭the‬ ‭third-party‬ ‭lease‬ ‭provider‬ ‭-‬ ‭a‬ ‭low‬ ‭cost‬ ‭revolving‬ ‭bridge‬ ‭loan‬ ‭(i.e.,‬ ‭3%)‬ ‭and‬ ‭long-term‬
  ‭revolving‬‭loan‬‭(i.e.,‬‭1%).‬‭The‬‭long-term‬‭loan‬‭may‬‭be‬‭blended‬‭with‬‭the‬‭lease‬‭provider’s‬‭existing‬
   ‭capital‬ ‭base‬ ‭(philanthropic,‬ ‭and/or‬ ‭other‬ ‭public‬ ‭and‬ ‭private‬ ‭sources),‬ ‭reducing‬ ‭the‬‭lease‬‭rate‬‭to‬
    ‭ensure‬ ‭an‬ ‭affordable‬ ‭low‬ ‭cost‬ ‭solar‬ ‭lease‬ ‭to‬ ‭the‬ ‭multifamily‬ ‭housing‬ ‭owner‬ ‭and‬ ‭tenants.‬ ‭This‬
     ‭model‬‭recycles‬‭the‬‭capital‬‭available‬‭and‬‭doesn't‬‭require‬‭the‬‭building‬‭owner‬‭to‬‭assume‬‭ownership‬
      ‭or a debt liability but delivers solar benefits to tenants.‬
‭ ultifamily and Affordable Housing Rooftop Solar Program Outcomes‬
M
‭The‬‭total‬‭multifamily‬‭program‬ ‭consisting‬‭of‬‭the‬‭revolving‬‭loan‬‭fund‬‭and‬‭third-party‬‭owned‬‭solar‬
 ‭lease‬ ‭option‬ ‭will‬ ‭serve‬ ‭approximately‬ ‭14,000‬ ‭household‬ ‭units.‬ ‭This‬ ‭figure‬ ‭is‬ ‭based‬ ‭on‬ ‭the‬
  ‭assumption‬‭that‬‭an‬‭average‬‭project‬‭size‬‭approximately‬‭50‬‭kW‬‭and‬‭that‬‭an‬‭average‬‭installed‬‭solar‬
   ‭cost‬‭will‬‭be‬‭approximately‬‭$3‬‭per‬‭watt.‬‭These‬‭two‬‭models‬‭rely‬‭on‬‭different‬‭subsidy‬‭amounts,‬‭as‬
    ‭referenced‬ ‭above,‬ ‭and‬‭thus‬‭the‬‭number‬‭of‬‭households‬‭served‬‭by‬‭each‬‭model‬‭will‬‭depend‬‭on‬‭the‬
     ‭financing model that the building owner selects.‬
I‭ n‬‭addition‬‭to‬‭producing‬‭efficiencies‬‭in‬‭capital‬‭deployment,‬‭these‬‭models‬‭enable‬‭CEO‬‭to‬‭support‬
 ‭equitable‬‭access‬‭to‬‭solar‬‭for‬‭low-income‬‭renters.‬‭Colorado‬‭has‬‭a‬‭pipeline‬‭of‬‭eligible‬‭multifamily‬
  ‭renters.‬ ‭Colorado‬ ‭has‬ ‭approximately‬ ‭69,388‬ ‭federally‬ ‭assisted‬ ‭units‬ ‭of‬ ‭multi-family‬‭housing‬‭in‬
   ‭Colorado‬ ‭according‬ ‭to‬ ‭the‬ ‭National‬ ‭Housing‬ ‭Preservation‬ ‭Database.‬‭34‬ ‭Although‬ ‭not‬ ‭every‬
    ‭multifamily‬‭unit‬‭would‬‭be‬‭a‬‭candidate‬‭for‬‭Solar‬‭for‬‭All‬‭programming‬‭this‬‭inventory‬‭far‬‭exceeds‬
     ‭the‬ ‭14,000‬ ‭multifamily‬ ‭unit‬ ‭target.‬ ‭Additionally,‬ ‭Colorado‬ ‭WAP‬ ‭has‬ ‭a‬ ‭database‬ ‭of‬ ‭over‬ ‭9,000‬
      ‭units‬ ‭that‬ ‭have‬ ‭been‬ ‭weatherized‬ ‭that‬ ‭are‬ ‭renter‬ ‭occupied‬ ‭units‬ ‭between‬ ‭manufactured‬ ‭homes,‬
       ‭2/3/4‬ ‭plex‬ ‭and‬ ‭multi-family‬ ‭properties‬‭and‬‭there‬‭are‬‭over‬‭30,000‬‭eligible‬‭participants‬‭identified‬
        ‭through‬ ‭the‬ ‭Colorado‬ ‭LIHEAP‬‭(“LEAP”).‬‭There‬‭are‬‭also‬‭independent‬‭statewide‬‭nonprofits‬‭that‬
         ‭raise‬‭funds‬‭to‬‭help‬‭low-income‬‭Coloradans‬‭afford‬‭their‬‭home‬‭energy‬‭that‬‭CEO‬‭will‬‭partner‬‭with‬
          ‭that‬ ‭have‬ ‭relationships‬ ‭and‬ ‭access‬‭to‬‭additional‬‭eligible‬‭households.‬‭As‬‭described‬‭in‬‭a‬‭previous‬
           ‭section,‬ ‭CEO‬ ‭will‬ ‭also‬ ‭administer‬ ‭the‬ ‭state’s‬ ‭BPS‬ ‭(building‬ ‭performance‬ ‭standards)‬ ‭program,‬
            ‭which‬ ‭strongly‬ ‭incentivizes‬ ‭large‬ ‭multifamily‬ ‭properties‬ ‭to‬ ‭pursue‬ ‭improvements‬ ‭including‬
             ‭energy‬‭efficiency,‬‭building‬‭electrification,‬‭and‬‭solar‬‭generation.‬‭CEO‬‭will‬‭make‬‭sure‬‭that‬‭eligible‬
              ‭multifamily‬ ‭properties‬ ‭that‬ ‭are‬ ‭required‬ ‭to‬ ‭comply‬ ‭with‬ ‭the‬ ‭BPS‬ ‭are‬ ‭aware‬ ‭of‬ ‭Solar‬ ‭for‬ ‭All‬

‭34‬
       ‭National Affordable Housing Preservation Database. Colorado.‬‭https://reports.mysidewalk.com/335c0f64f5‬


                                                                                                                                    ‭23‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                 Filed 02/07/25            Page 326 of 556
                                                   PageID #: 6256
‭Colorado Solar For All: Program Narrative‬                                                                    ‭October 2023‬


o‭ pportunities.‬‭The‬‭existing‬‭pipeline‬‭of‬‭multifamily‬‭affordable‬‭housing‬‭developments‬‭will‬‭enable‬
 ‭CEO to complement and support existing programs, including projects that lack solar financing.‬
4‭ .4 Community Solar‬
 ‭Colorado‬‭is‬‭well‬‭positioned‬‭to‬‭deploy‬‭Solar‬‭for‬‭All‬‭funding‬‭to‬‭support‬‭community‬‭solar‬‭gardens,‬
  ‭including‬ ‭supporting‬ ‭existing‬ ‭projects‬ ‭delayed‬ ‭due‬ ‭to‬ ‭financing‬ ‭constraints‬ ‭in‬ ‭both‬ ‭IOU‬ ‭and‬
   ‭non-IOU‬ ‭territory‬ ‭immediately‬ ‭on‬ ‭receipt‬ ‭of‬ ‭the‬ ‭COS4A‬ ‭package.‬ ‭Community‬ ‭solar‬ ‭helps‬
    ‭provide‬‭the‬‭benefits‬‭of‬‭solar‬‭to‬‭homeowners‬‭and‬‭renters,‬‭including‬‭single-family‬‭and‬‭multifamily‬
     ‭residences,‬‭as‬‭well‬‭as‬‭other‬‭customers‬‭who‬‭are‬‭not‬‭able‬‭to‬‭install‬‭solar‬‭on‬‭a‬‭property.‬‭Community‬
      ‭solar‬ ‭also‬ ‭scales‬ ‭at‬ ‭a‬ ‭faster‬ ‭rate‬ ‭compared‬ ‭to‬ ‭rooftop‬ ‭installations‬ ‭because‬ ‭the‬ ‭barriers‬ ‭to‬
       ‭deployment‬‭are‬‭lower,‬‭and‬‭all‬‭development‬‭risks‬‭are‬‭borne‬‭by‬‭development‬‭firms‬‭as‬‭opposed‬‭to‬
        ‭low-income‬ ‭individuals.‬ ‭Installation‬ ‭barriers‬ ‭inherent‬ ‭with‬ ‭single-family‬ ‭rooftop‬ ‭solar‬ ‭due‬ ‭to‬
         ‭shading,‬ ‭solar‬ ‭orientation,‬ ‭or‬ ‭inadequate‬ ‭structural‬ ‭or‬ ‭electrical‬ ‭capacity‬ ‭are‬ ‭non-existent‬ ‭for‬
          ‭community‬‭solar.‬‭The‬‭number‬‭of‬‭households‬‭served‬‭per‬‭dollar‬‭invested‬‭is‬‭greater‬‭for‬‭community‬
           ‭solar‬ ‭than‬ ‭residential‬ ‭rooftop‬ ‭through‬ ‭economies‬ ‭of‬ ‭scale‬ ‭and‬ ‭will‬ ‭contribute‬ ‭to‬ ‭the‬ ‭program’s‬
            ‭overall‬ ‭solar‬ ‭market‬ ‭transformation.‬ ‭CEO‬ ‭will‬ ‭direct‬ ‭approximately‬ ‭$64.71M‬ ‭towards‬
             ‭community‬‭solar.‬‭Colorado’s‬‭financial‬‭assistance‬‭strategy‬‭for‬‭community‬‭solar‬‭will‬‭focus‬‭on‬‭one‬
              ‭deployment‬ ‭model‬ ‭-‬ ‭an‬ ‭upfront‬ ‭incentive‬ ‭that‬ ‭will‬ ‭be‬ ‭used‬ ‭to‬ ‭buy‬ ‭down‬ ‭the‬ ‭cost‬ ‭of‬ ‭the‬
               ‭community‬‭solar‬‭subscriptions‬‭for‬‭the‬‭household.‬‭In‬‭order‬‭to‬‭deliver‬‭the‬‭most‬‭efficient‬‭capital‬‭for‬
                ‭large‬‭scale‬‭solar‬‭development‬‭in‬‭eligible‬‭communities,‬‭developers‬‭and‬‭owners‬‭will‬‭be‬‭allowed‬‭to‬
                 ‭pool‬‭incentives‬‭at‬‭the‬‭project‬‭level‬ ‭to‬‭pass‬‭through‬‭subsidized‬‭subscription‬‭rates‬‭to‬‭participating‬
                  ‭households.‬
I‭ n‬ ‭this‬ ‭incentive‬ ‭model,‬ ‭the‬ ‭community‬ ‭solar‬ ‭project‬ ‭owner‬ ‭or‬ ‭developer‬ ‭will‬ ‭be‬ ‭required‬ ‭to‬
 ‭manage‬ ‭their‬ ‭project‬ ‭finance‬ ‭and‬ ‭capital‬ ‭requirements;‬ ‭they‬ ‭will‬ ‭be‬ ‭responsible‬ ‭to‬ ‭build‬ ‭a‬
  ‭business‬ ‭model‬ ‭and‬ ‭secure‬ ‭long‬ ‭term‬‭financing‬‭that‬‭delivers‬‭approximately‬‭50%‬‭electric‬‭utility‬
   ‭bill‬‭savings‬‭to‬‭their‬‭enrolled‬‭subscribers.‬ ‭The‬‭project‬‭finance‬‭will‬‭come‬‭from‬‭financial‬‭partners‬
    ‭including‬ ‭state‬ ‭“greenbanks”‬ ‭and/or‬ ‭any‬ ‭awardees‬ ‭of‬ ‭NCIF‬ ‭and‬ ‭CCIA‬ ‭and‬ ‭other‬ ‭applicable‬
     ‭community‬ ‭lenders.‬ ‭This‬ ‭incentive‬ ‭model‬ ‭payable‬ ‭to‬ ‭the‬ ‭project‬ ‭owner‬ ‭allows‬ ‭for‬ ‭maximum‬
      ‭flexibility‬‭for‬‭community‬‭solar‬‭project‬‭owners‬‭to‬‭capture‬‭relevant‬‭tax‬‭credits‬‭(solar‬‭ITC,‬‭energy‬
       ‭communities,‬‭domestic‬‭content‬‭and‬‭other‬‭state‬‭and‬‭local‬‭credits).‬‭These‬‭additional‬‭tax‬‭credits‬‭and‬
        ‭rebate‬ ‭benefits‬ ‭will‬ ‭be‬ ‭transferred‬ ‭to‬ ‭the‬ ‭community‬ ‭solar‬ ‭subscribers,‬ ‭via‬ ‭any‬ ‭mechanism‬‭the‬
         ‭project‬ ‭owner‬ ‭may‬ ‭choose.‬ ‭Both‬ ‭direct‬ ‭pay‬ ‭and‬ ‭transferability‬ ‭are‬ ‭encouraged‬ ‭in‬ ‭this‬‭program‬
          ‭design‬‭and‬‭can‬‭be‬‭in‬‭the‬‭form‬‭of‬‭bill‬‭credits‬‭or‬‭reduced‬‭project‬‭cost‬‭for‬‭subscribers.‬‭Community‬
           ‭solar‬‭developers,‬‭project‬‭owners,‬‭utilities‬‭and‬‭project‬‭originators‬‭will‬‭utilize‬‭CEO’s‬‭incentives‬‭for‬
            ‭any‬ ‭of‬ ‭the‬ ‭following:‬ ‭project‬ ‭design‬ ‭including‬ ‭development‬ ‭of‬ ‭project‬ ‭models‬ ‭that‬ ‭allocate‬
             ‭adequate‬ ‭benefits‬ ‭to‬ ‭an‬ ‭environmental‬ ‭justice‬ ‭(EJ)‬ ‭community,‬ ‭project‬ ‭development‬ ‭process,‬
              ‭equipment‬‭purchasing,‬‭other‬‭development‬‭costs‬‭necessary‬‭for‬‭solar‬‭deployment,‬‭and‬‭for‬‭securing‬
               ‭necessary long term project finance.‬
‭ ommunity Solar Investor Owned Utility Territory‬
C
‭In‬ ‭IOU‬ ‭territory,‬ ‭CEO‬ ‭will‬‭leverage‬‭existing‬‭frameworks‬‭for‬‭pipeline‬‭and‬‭project‬‭development.‬
 ‭The‬ ‭proposed‬ ‭incentive‬ ‭amount‬ ‭available‬ ‭to‬ ‭solar‬ ‭developers,‬ ‭utilities‬ ‭or‬ ‭other‬ ‭project‬ ‭owners‬
  ‭will‬ ‭range‬ ‭from‬ ‭$0.40-$0.60/watt‬ ‭based‬ ‭on‬ ‭current‬ ‭market‬ ‭data‬ ‭and‬ ‭the‬ ‭corresponding‬ ‭utility‬
   ‭territory,‬ ‭recognizing‬ ‭electric‬ ‭costs‬ ‭in‬ ‭IOU‬ ‭territories‬ ‭are‬ ‭lower‬ ‭compared‬ ‭to‬ ‭cooperative‬
    ‭distribution‬ ‭utility‬ ‭territories.‬ ‭This‬ ‭incentive‬ ‭range‬ ‭will‬ ‭create‬ ‭the‬ ‭desired‬ ‭electric‬ ‭savings‬ ‭and‬
     ‭increased‬ ‭level‬ ‭of‬‭solar‬‭deployment‬‭in‬‭IOU‬‭territories‬‭as‬‭compared‬‭to‬‭a‬‭larger‬‭incentive‬‭needed‬


                                                                                                                                 ‭24‬
Case 1:25-cv-00039-JJM-PAS                     Document 68-123               Filed 02/07/25           Page 327 of 556
                                                 PageID #: 6257
‭Colorado Solar For All: Program Narrative‬                                                               ‭October 2023‬


f‭ or‬ ‭cooperative‬ ‭utility‬ ‭territories.‬ ‭CEO‬ ‭will‬ ‭maximize‬ ‭rapid‬ ‭solar‬ ‭deployment‬ ‭in‬‭this‬‭model‬‭by‬
 ‭leveraging‬ ‭the‬‭economies‬‭of‬‭scale‬‭for‬‭community‬‭solar‬‭projects‬‭and‬‭working‬‭to‬‭adapt‬‭and‬‭align‬
  ‭eligible‬ ‭projects‬ ‭in‬ ‭established‬ ‭programs‬ ‭from‬‭Public‬‭Service‬‭Company‬‭of‬‭Colorado‬‭and‬‭Black‬
   ‭Hills Electric servicing eligible communities.‬
‭ ommunity Solar Non - Investor Owned Utility Territory‬
C
‭The‬‭incentive‬‭amount‬‭will‬‭be‬‭larger‬‭for‬‭projects‬‭in‬‭non-IOU‬‭utilities‬‭and‬‭co-op‬‭territories.‬ ‭This‬
 ‭will‬ ‭allow‬ ‭community‬ ‭solar‬ ‭project‬ ‭owners‬ ‭to‬ ‭complete‬ ‭projects‬ ‭in‬ ‭harder‬ ‭to‬ ‭access‬ ‭rural‬
  ‭communities‬‭and‬‭when‬‭possible‬‭bundle‬‭solar‬‭projects‬‭across‬‭rural‬‭territories,‬‭to‬‭build‬‭a‬‭portfolio‬
   ‭of‬‭projects‬‭and‬‭achieve‬‭economies‬‭of‬‭scale.‬ ‭This‬‭approach‬‭supports‬‭the‬‭state’s‬‭goals‬‭of‬‭providing‬
    ‭a‬ ‭geographically‬ ‭dispersed‬ ‭financial‬ ‭assistance‬ ‭package‬ ‭while‬ ‭incentivizing‬‭solar‬‭developers‬‭to‬
     ‭ensure projects are successful.‬
‭ ommunity Solar Outcomes‬
C
‭Assuming‬‭a‬‭3.7‬‭-‬‭5‬‭kW‬‭average‬‭size‬‭subscription‬‭for‬‭households,‬‭and‬‭an‬‭average‬‭installed‬‭cost‬‭of‬
 ‭$1.80/watt,‬ ‭and‬ ‭an‬ ‭average‬ ‭upfront‬ ‭incentive‬ ‭of‬ ‭$0.50/watt‬ ‭CEO‬ ‭anticipates‬ ‭serving‬
  ‭approximately‬ ‭25,166‬ ‭households‬ ‭and‬ ‭producing‬ ‭approximately‬ ‭50%‬ ‭electricity‬ ‭bill‬ ‭savings‬ ‭to‬
   ‭those‬ ‭households.‬ ‭This‬ ‭funding‬ ‭amount‬ ‭of‬ ‭$64.71M‬ ‭will‬ ‭be‬ ‭split‬ ‭between‬ ‭IOU‬ ‭and‬ ‭non-IOU‬
    ‭community solar development.‬
4‭ .5 Conclusion‬
 ‭Goals, Outcomes and Performance Criteria Financial Assistance COS4A‬
  ‭This‬ ‭financial‬ ‭assistance‬ ‭package‬ ‭will‬ ‭accomplish‬ ‭the‬ ‭intended‬ ‭goals‬ ‭from‬ ‭EPA‬ ‭to‬ ‭service‬
   ‭Colorado’s‬‭communities‬‭through:‬‭1)‬‭maximizing‬‭solar‬‭deployment‬‭and‬‭reducing‬‭GHG‬‭emissions‬
    ‭across‬‭all‬‭housing‬‭sectors‬‭and‬‭community‬‭types‬‭through‬‭mobilizing‬‭public‬‭and‬‭private‬‭capital,‬‭2)‬
     ‭supporting‬‭market‬‭transformation‬‭for‬‭distributed‬‭solar‬‭with‬‭financing‬‭and‬‭incentive‬‭structures‬‭to‬
      ‭directly‬ ‭deliver‬ ‭benefits‬ ‭to‬ ‭America’s‬ ‭low-income‬‭and‬‭disadvantaged‬‭communities,‬‭3)‬‭ensuring‬
       ‭fiscal‬ ‭stewardship‬‭of‬‭funding‬‭is‬‭managed‬‭effectively‬‭and‬‭according‬‭to‬‭all‬‭applicable‬‭regulations‬
        ‭4)‬ ‭and‬ ‭providing‬‭a‬‭geographically‬‭dispersed‬‭statewide‬‭financial‬‭assistance‬‭package.‬‭During‬‭this‬
         ‭five‬ ‭year‬ ‭award‬ ‭period‬ ‭CEO‬‭expects‬‭to‬‭serve‬‭over‬‭40,000‬‭eligible‬‭households‬‭with‬‭a‬‭long‬‭term‬
          ‭plan‬‭to‬‭continue‬‭this‬‭work‬‭after‬‭the‬‭award‬‭period‬‭ends‬‭by‬‭recycling‬‭this‬‭capital‬‭to‬‭support‬‭future‬
           ‭market transformation statewide.‬


‭5.‬‭Project-Deployment Technical Assistance Strategy‬
‭ olorado‬ ‭is‬ ‭home‬ ‭to‬ ‭roughly‬ ‭5.8M‬ ‭people‬ ‭(67%‬ ‭white,‬ ‭22%‬ ‭Hispanic,‬ ‭4%‬ ‭black‬ ‭or‬ ‭African‬
C
‭American,‬ ‭3%‬ ‭Asian‬ ‭American‬‭35‬ ‭and‬ ‭less‬ ‭than‬ ‭2%‬ ‭of‬ ‭American‬ ‭Indian‬ ‭descent.‬ ‭Colorado’s‬
 ‭population‬‭increased‬‭by‬‭74,000‬‭on‬‭average‬‭each‬‭year‬‭between‬‭2010-2020‬‭with‬‭similar‬‭growth‬‭in‬
  ‭the‬ ‭preceding‬ ‭decade.‬ ‭Growth‬ ‭in‬ ‭the‬ ‭last‬ ‭decade‬ ‭has‬ ‭led‬ ‭to‬ ‭increased‬ ‭housing‬‭costs‬‭across‬‭our‬
   ‭2.5M‬ ‭housing‬ ‭units.‬‭36‬ ‭According‬ ‭to‬ ‭the‬ ‭American‬ ‭Community‬ ‭Survey,‬ ‭more‬ ‭than‬ ‭800,000‬
    ‭households,‬ ‭largely‬‭along‬‭our‬‭most‬‭populated‬ ‭“front‬‭range‬‭corridor”‬‭earn‬‭80%‬‭average‬‭median‬
     ‭income or lower and roughly half of those households are rentals.‬‭37‬

‭35‬
       ‭“SDO Crosstabs Page.”‬‭Colorado Department of Local Affairs: State Demography Office‬‭,‬
‭demography.dola.colorado.gov/assets/html/crosstabs.html.‬
 ‭36‬
        ‭United States Census Bureau.‬ ‭https://www.census.gov/quickfacts/fact/table/CO/PST045222‬
  ‭37‬
         ‭Comprehensive Housing Affordability Strategy (CHAS)‬‭Data. based on 2015-2019 American Community Survey‬
   ‭2022,‬ ‭https://www.huduser.gov/portal/datasets/cp.html‬


                                                                                                                           ‭25‬
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                 Filed 02/07/25             Page 328 of 556
                                                    PageID #: 6258
‭Colorado Solar For All: Program Narrative‬                                                                      ‭October 2023‬




‭ igure‬ ‭5.1:‬ ‭Number‬‭of‬‭households‬‭in‬‭Colorado‬‭counties‬‭at‬‭80%‬‭or‬‭lower‬‭AMI‬‭based‬‭on‬‭the‬‭Low-income‬‭Energy‬
F
‭Affordability‬ ‭Data‬ ‭Tool.‬ ‭U.S.‬ ‭Dept.‬ ‭of‬ ‭Energy‬‭,‬‭https://www.energy.gov/scep/slsc/lead-tool‬‭.‬ ‭Counties‬ ‭in‬ ‭yellow‬
 ‭represent‬‭less‬‭than‬ ‭5K‬‭households,‬‭light‬‭green‬‭less‬‭than‬‭19K‬‭households,‬‭light‬‭aqua‬‭less‬‭than‬‭48K‬‭households,‬‭dark‬
  ‭aqua‬‭less‬‭than‬‭75K‬‭households,‬‭blue‬‭less‬‭than‬‭123K‬‭households‬‭(Denver‬‭=‬‭122,905‬‭households‬‭at‬‭lower‬‭than‬‭80%‬
   ‭AMI).‬

‭ olorado‬ ‭households‬ ‭are‬ ‭spread‬ ‭across‬ ‭103,000‬ ‭square‬ ‭miles.‬ ‭While‬ ‭the‬ ‭front‬ ‭range‬ ‭corridor‬
C
‭continues‬ ‭to‬ ‭house‬ ‭large‬ ‭population‬ ‭centers‬ ‭(Pueblo,‬ ‭Colorado‬ ‭Springs,‬ ‭Denver,‬ ‭Fort‬ ‭Collins),‬
 ‭recent‬ ‭Census‬ ‭data‬ ‭points‬ ‭to‬ ‭population‬ ‭growth‬ ‭trajectories‬ ‭that‬ ‭are‬ ‭eastward‬‭and‬‭more‬‭rural,‬‭38‬
  ‭largely due to the availability and affordability of housing.‬
‭ olorado‬ ‭continues‬ ‭to‬ ‭build‬ ‭back‬ ‭better‬‭from‬‭the‬‭2021‬‭Marshall‬‭fire‬‭through‬‭high-performance‬
C
‭homes‬ ‭that‬ ‭are‬ ‭more‬ ‭resilient‬ ‭to‬ ‭future‬ ‭climate‬ ‭crises‬‭39‬ ‭in‬ ‭response‬ ‭to‬ ‭the‬ ‭impacts‬ ‭of‬ ‭climate‬
 ‭change‬ ‭(worsened‬ ‭air‬ ‭quality,‬ ‭more‬ ‭frequent‬ ‭natural‬ ‭disasters,‬ ‭limited‬ ‭recreation‬ ‭opportunities‬
  ‭and‬‭jeopardized‬‭food‬‭production)‬‭40‬ ‭but‬‭we‬‭also‬‭face‬‭a‬‭crisis‬‭of‬‭affordable‬‭housing,‬‭especially‬‭in‬
   ‭rural‬‭areas‬‭which‬‭has‬‭impacted‬‭not‬‭only‬‭solar‬‭deployment‬‭but‬‭also‬‭the‬‭ability‬‭for‬‭communities‬‭to‬
    ‭overcome‬‭barriers‬‭to‬‭the‬‭creation‬‭of‬‭housing‬‭that‬‭meets‬‭the‬‭needs‬‭of‬‭disadvantaged‬‭communities,‬
     ‭low-income residents and our workforce.‬‭41‬
‭ n‬ ‭analysis‬ ‭of‬ ‭the‬ ‭socio-economic‬ ‭factors‬ ‭around‬ ‭Colorado‬ ‭solar‬ ‭adoption‬ ‭follows‬ ‭national‬
A
‭trends:‬

‭38‬
         ‭Wenzler‬‭,‬‭Elliott‬‭and Fish,‬‭Sandra.‬ ‭“Census: Colorado’s‬‭smaller communities are growing while large cities level‬
‭off” The Colorado Sun. May 18, 2023.‬
 ‭39‬
          ‭https://rebuildingbetter.org/‬
  ‭40‬
           ‭https://conservationco.org/2020/05/13/blog-four-ways-climate-change-impacts-colorado/‬
   ‭41‬
            ‭“[L]ocal small housing agencies are unable to develop in areas of the state that are in fact the areas most in need of‬
    ‭development, especially for economic purposes. As the agency is unable to develop real estate its capacity‬
     ‭diminishes, further reducing the potential for community development. Both the agency capacity and the access to‬
      ‭capital are paramount hurdles to overcome in addressing housing needs.”‬‭Affordable Housing Policy‬
       ‭Recommendations‬‭Colorado Strategic Housing Working‬‭Group, 2021.‬


                                                                                                                                   ‭26‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25            Page 329 of 556
                                                   PageID #: 6259
‭Colorado Solar For All: Program Narrative‬                                                                   ‭October 2023‬


       ‭●‬ ‭Only‬‭5-15%‬‭of‬‭Colorado‬‭solar‬‭(PV)‬‭adopters‬‭have‬‭a‬‭household‬‭income‬‭less‬‭than‬‭200%‬‭of‬
              ‭the‬‭federal‬‭poverty‬‭level‬‭and‬‭15-20%‬‭of‬‭Colorado‬‭solar‬‭(PV)‬‭adopters‬‭have‬‭a‬‭household‬
            ‭income less than 80% of the average median household income.‬‭42‬
        ‭●‬ ‭Areas‬‭of‬‭highest‬‭adoption‬‭by‬‭low‬‭and‬‭moderate‬‭income‬‭households‬‭follow‬‭the‬‭front‬‭range‬
               ‭corridor‬ ‭with‬ ‭greater‬ ‭participation‬ ‭in‬ ‭some‬ ‭rural‬ ‭areas‬ ‭including‬ ‭Teller,‬ ‭Mesa,‬ ‭Weld,‬
             ‭Adams, Arapahoe, and Clear Creek counties.‬




‭ igure‬‭5.2:‬ ‭Maps‬‭of‬‭Colorado‬‭which‬‭highlight‬‭counties‬‭of‬‭solar‬‭(PV)‬‭adoption‬‭below‬‭200%‬‭of‬‭the‬‭federal‬‭poverty‬
F
‭level‬‭in‬‭shades‬‭of‬‭green‬‭and‬‭below‬‭80%‬‭in‬‭shades‬‭of‬‭purple‬‭for‬‭Public‬‭Service‬‭Company‬‭of‬‭Colorado,‬‭Black‬‭Hills‬
 ‭and other utilities.‬

5‭ .1 Incubating Localized Workforce through Turnkey Project Assistance‬
 ‭As‬ ‭described‬ ‭in‬ ‭Section‬ ‭2.5,‬ ‭Colorado‬ ‭has‬ ‭a‬ ‭robust‬ ‭solar‬‭workforce‬‭with‬‭more‬‭than‬‭7,600‬‭jobs‬
  ‭across‬ ‭the‬ ‭sector‬ ‭and‬ ‭a‬ ‭strong‬ ‭ecosystem‬ ‭of‬ ‭solar‬ ‭workforce‬ ‭development‬ ‭programming.‬
   ‭However,‬‭high‬‭demand‬‭and‬‭low‬‭participation‬‭continues‬‭to‬‭stretch‬‭Colorado’s‬‭energy‬‭workforce.‬
    ‭Gaps‬ ‭in‬ ‭workforce‬ ‭availability‬ ‭affect‬ ‭installation‬ ‭quality,‬ ‭increase‬ ‭cost,‬ ‭and‬ ‭lengthen‬
     ‭disruption–all‬ ‭impacts‬ ‭that‬‭impede‬‭the‬‭development‬‭of‬‭projects‬‭for‬‭low-income‬‭households‬‭and‬
      ‭in communities that have been historically underserved already.‬
I‭ n‬‭response‬‭to‬‭these‬‭workforce‬‭shortages‬‭and‬‭our‬‭commitment‬‭to‬‭delivering‬‭meaningful‬‭benefits‬
 ‭to‬ ‭disadvantaged‬ ‭and‬ ‭historically‬ ‭underserved‬ ‭communities,‬‭Colorado‬‭will‬‭develop‬‭capacity‬‭by‬
  ‭removing‬ ‭barriers‬ ‭to‬ ‭access‬ ‭workforce‬ ‭training,‬ ‭improving‬ ‭trainee‬ ‭retention‬ ‭by‬ ‭improving‬
   ‭soft-skills‬‭and‬‭cultural‬‭competency‬‭among‬‭trainers,‬‭incentivizing‬‭local‬‭hiring,‬‭and‬‭fostering‬‭local‬
    ‭business‬ ‭development‬ ‭and‬ ‭entrepreneurship.‬ ‭We‬ ‭will‬ ‭pursue‬ ‭partnerships‬ ‭with‬ ‭high‬ ‭schools,‬
     ‭community‬ ‭colleges,‬ ‭trade‬ ‭schools,‬ ‭unions‬ ‭and‬ ‭universities‬ ‭to‬ ‭expand‬ ‭workforce‬ ‭training‬
      ‭capacity,‬ ‭and‬ ‭recruit‬ ‭and‬ ‭retain‬ ‭individuals‬ ‭from‬ ‭disadvantaged‬ ‭and‬ ‭historically‬ ‭underserved‬
       ‭communities.‬ ‭Further,‬ ‭we‬‭will‬‭incubate‬‭entrepreneurship‬‭through‬‭localized‬‭micro-financing‬‭and‬
        ‭assistance to build and grow clean energy businesses in disadvantaged communities.‬



‭42‬
   ‭Equity and Income Trends of Residential PV Adopters in Colorado by Naïm Darghouth and Sydney Forrester,‬
‭from the Lawrence Berkeley National Laboratory‬‭Solar‬‭Demographics Tool‬‭, provided to Colorado in February‬‭2022.‬



                                                                                                                               ‭27‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25            Page 330 of 556
                                                   PageID #: 6260
‭Colorado Solar For All: Program Narrative‬                                                                   ‭October 2023‬


I‭ n‬ ‭support‬ ‭of‬ ‭Colorado’s‬ ‭existing‬ ‭contractor‬ ‭network,‬ ‭we‬ ‭will‬ ‭continue‬ ‭active‬ ‭engagement‬
 ‭through‬ ‭the‬ ‭Energy‬ ‭Efficient‬ ‭Business‬ ‭Coalition,‬‭Beneficial‬‭Electrification‬‭League‬‭of‬‭Colorado‬
  ‭and‬ ‭will‬ ‭convene‬ ‭a‬ ‭series‬ ‭of‬ ‭listening‬ ‭sessions‬ ‭to‬ ‭better‬ ‭understand‬ ‭how‬ ‭to‬ ‭help‬ ‭minimize‬
   ‭overhead,‬ ‭support‬ ‭better‬ ‭margins‬ ‭and‬ ‭increase‬ ‭the‬ ‭appetite‬ ‭for‬ ‭projects‬ ‭in‬ ‭low‬ ‭and‬ ‭moderate‬
    ‭income‬ ‭communities.‬ ‭Technical‬ ‭assistance‬ ‭to‬ ‭contractors‬ ‭will‬ ‭include‬ ‭the‬ ‭development‬ ‭of‬ ‭a‬
     ‭statewide‬ ‭portal‬ ‭to‬ ‭consolidate‬ ‭resources,‬ ‭offset‬ ‭subscription‬ ‭costs‬ ‭and‬ ‭provide‬ ‭one‬ ‭point‬ ‭of‬
      ‭interface‬ ‭for‬ ‭access‬ ‭to‬ ‭many‬ ‭resources‬ ‭including‬ ‭training‬ ‭programs,‬ ‭business‬ ‭support,‬‭funding,‬
       ‭financing, technical assistance and incentives.‬
‭ olorado‬ ‭will‬ ‭build‬ ‭workforce‬ ‭in‬ ‭the‬ ‭community‬ ‭while‬ ‭deploying‬ ‭technical‬ ‭assistance‬‭through‬
C
‭hands-on‬ ‭projects‬‭and‬‭field‬‭work‬‭that‬‭delivers‬‭holistic‬‭real-world‬‭training‬‭centered‬‭around‬‭solar‬
 ‭installation‬ ‭and‬ ‭development‬ ‭with‬ ‭a‬ ‭complimentary‬ ‭understanding‬ ‭of‬ ‭energy‬ ‭efficiency,‬
  ‭weatherization‬‭and‬‭electrification.‬‭We‬‭will‬‭provide‬‭“boots‬‭on‬‭the‬‭ground”‬‭experts‬‭who‬‭will‬‭train‬
   ‭the‬ ‭trainers‬ ‭and,‬ ‭in‬ ‭turn,‬ ‭create‬ ‭local,‬ ‭sustainable‬ ‭pipelines‬ ‭of‬ ‭expertise‬ ‭and‬ ‭skill.‬‭43‬ ‭We‬ ‭will‬
    ‭replicate‬ ‭and‬ ‭expand‬ ‭existing‬ ‭workforce‬ ‭programs‬ ‭which‬ ‭are‬ ‭designed‬ ‭to‬ ‭attract‬ ‭people‬ ‭from‬
     ‭communities‬‭with‬‭clean‬‭energy‬‭deployment‬‭opportunities‬‭and‬‭provide‬‭an‬‭entry‬‭point‬‭to‬‭the‬‭clean‬
      ‭energy‬ ‭sector.‬ ‭These‬ ‭programs‬ ‭provide‬ ‭industry‬ ‭newcomers‬ ‭with‬ ‭a‬ ‭good‬ ‭understanding‬ ‭of‬
       ‭electrical‬‭and‬‭solar‬‭basics,‬‭construction‬‭and‬‭field‬‭installation‬‭experience‬‭on‬‭actual‬‭projects,‬‭safety‬
        ‭and‬ ‭workplace‬ ‭etiquette.‬ ‭We‬ ‭will‬ ‭pay‬ ‭all‬ ‭trainees‬ ‭a‬ ‭stipend,‬ ‭travel‬ ‭assistance,‬ ‭wrap‬ ‭around‬
         ‭services‬ ‭and‬ ‭finish‬ ‭with‬ ‭a‬ ‭hiring‬ ‭event‬ ‭where‬ ‭we‬ ‭invite‬ ‭local‬ ‭employers‬ ‭to‬ ‭come‬ ‭and‬ ‭meet‬
          ‭trainees.‬
‭ olorado‬ ‭will‬ ‭align‬ ‭related‬ ‭programs‬ ‭(IRA‬ ‭Home‬ ‭Rebate‬ ‭programs,‬ ‭state-funded‬ ‭tax‬ ‭credits,‬
C
‭grants‬‭and‬‭weatherization‬‭assistance)‬‭and‬‭equip‬‭a‬‭cohort‬‭of‬‭traineded‬‭Regional‬‭Coordinators‬‭with‬
 ‭holistic‬ ‭resources,‬ ‭including‬ ‭funding‬ ‭packages‬ ‭and‬ ‭project‬ ‭templates,‬ ‭to‬ ‭provide‬ ‭directly‬ ‭to‬
  ‭households‬‭and‬‭developers‬‭to‬‭make‬‭it‬‭easy‬‭for‬‭households‬‭to‬‭participate.‬‭Packages‬‭and‬‭templates‬
   ‭will‬ ‭be‬ ‭designed‬ ‭based‬ ‭on‬ ‭differing‬ ‭needs‬ ‭and‬ ‭barriers‬ ‭for‬ ‭urban‬ ‭vs.‬ ‭rural,‬ ‭single-family‬ ‭vs.‬
    ‭multifamily,‬‭and‬‭community‬‭vs.‬‭rooftop‬‭solar.‬‭We‬‭will‬‭emphasize‬‭pathways‬‭to‬‭asset‬‭ownership‬‭as‬
     ‭well‬ ‭as‬ ‭pathways‬ ‭to‬ ‭take‬ ‭qualifying‬ ‭households‬ ‭off-grid‬ ‭to‬ ‭enable‬ ‭energy‬ ‭sovereignty‬ ‭and‬
      ‭independence,‬ ‭specifically‬ ‭for‬ ‭Tribes‬ ‭and‬ ‭urban/rural‬ ‭off‬ ‭reservation‬ ‭tribal‬ ‭communities.‬ ‭This‬
       ‭turnkey‬‭package-based‬‭regional‬‭technical‬‭assistance‬‭approach‬‭is‬‭essential‬‭to‬‭ensure‬‭that‬‭upgrades‬
        ‭do‬ ‭not‬ ‭increase‬ ‭the‬ ‭cost‬ ‭of‬ ‭ownership,‬‭to‬‭ease‬‭the‬‭burden‬‭and‬‭streamline‬‭access‬‭to‬‭resources‬‭at‬
         ‭any one step along the way.‬
5‭ .2 An All-of-Industry Approach to Technical Assistance for Siting and Interconnection‬
 ‭We‬ ‭know‬ ‭that‬ ‭solar‬ ‭project‬ ‭deployment‬ ‭in‬ ‭Colorado‬ ‭LIDCs‬ ‭will‬ ‭require‬ ‭a‬ ‭whole‬ ‭industry‬
  ‭approach.‬ ‭In‬ ‭2015,‬ ‭Colorado‬ ‭conducted‬ ‭seven‬ ‭low-income‬ ‭community‬ ‭solar‬ ‭demonstration‬
   ‭projects‬‭44‬ ‭across‬ ‭the‬ ‭state.‬ ‭These‬ ‭projects‬ ‭were‬ ‭widely‬ ‭studied‬ ‭for‬ ‭impact‬ ‭and‬ ‭replication‬
    ‭opportunities.‬‭45‬ ‭Programmatic‬ ‭benefits‬ ‭included‬ ‭reduced‬ ‭energy‬ ‭burden‬ ‭and‬ ‭ease‬ ‭of‬ ‭access‬ ‭for‬
     ‭low-income‬ ‭households,‬ ‭specifically‬ ‭the‬ ‭ability‬ ‭to‬‭access‬‭environmental‬‭and‬‭economic‬‭benefits‬
      ‭despite‬ ‭potential‬ ‭split-incentive‬ ‭barriers‬ ‭for‬ ‭renters.‬ ‭Since‬ ‭demonstrating‬ ‭these‬ ‭examples,‬
‭43‬
        ‭For example, fostering programs like Remote Energy’s‬‭Technical Training for Native Americans‬‭and creating‬‭an‬
‭environment for more Colorado-based companies that replicate‬‭Seneca Solar‬‭.‬
 ‭44‬
           ‭Dobos, Hillary and Artale, Emily. (2017)‬‭Insights‬‭from the Colorado Energy Office Low-Income Community‬
  ‭Solar Demonstration Project‬‭. Colorado Energy Office.‬
   ‭45‬
         ‭Cook, Jeffrey J. and Monisha Shah. 2018. Reducing Energy Burden with Solar: Colorado’s Strategy and Roadmap‬
    ‭for States. Golden, CO: National Renewable Energy Laboratory. NREL/ TP-6A20-70965.‬
     ‭https://www.nrel.gov/docs/fy18osti/70965.pdf.‬


                                                                                                                               ‭28‬
Case 1:25-cv-00039-JJM-PAS                     Document 68-123               Filed 02/07/25           Page 331 of 556
                                                 PageID #: 6261
‭Colorado Solar For All: Program Narrative‬                                                               ‭October 2023‬


‭ olorado‬‭has‬‭continued‬‭to‬‭open‬‭doors‬‭for‬‭solar‬‭in‬‭low-income‬‭households,‬‭including‬‭through‬‭the‬
C
‭adoption‬ ‭of‬ ‭explicit‬ ‭policies‬ ‭to‬‭connect‬‭multifamily‬‭tenants‬‭with‬‭distributed‬‭generation‬‭through‬
 ‭offsite‬ ‭(virtual)‬ ‭net‬ ‭metering‬ ‭and‬ ‭the‬ ‭adoption‬ ‭and‬ ‭deployment‬ ‭of‬ ‭statewide‬ ‭solar-ready‬ ‭codes‬
  ‭(the‬ ‭Colorado‬ ‭General‬ ‭Assembly‬ ‭passed‬ ‭the‬ ‭Building‬‭Energy‬‭Codes‬‭law‬‭HB22-1362:‬‭Building‬
   ‭Greenhouse Gas Emissions) in May of 2022 to improve energy use and efficiency in buildings.‬
‭ oving‬‭forward,‬‭Colorado‬‭proposes‬‭to‬‭provide‬‭dedicated‬‭local‬‭experts‬‭(Regional‬‭Coordinators)‬
M
‭to‬‭provide‬‭holistic‬‭technical‬‭and‬‭deployment‬‭assistance‬‭to‬‭help‬‭overcome‬‭existing‬‭and‬‭emerging‬
 ‭barriers to community and rooftop solar projects.‬
‭Proposed Technical Assistance for Community Solar Siting & Interconnection‬
    ‭●‬ ‭Identification, support and connections for siting,‬
     ‭●‬ ‭Design‬ ‭assistance‬ ‭for‬‭project‬‭feasibility,‬‭to‬‭prioritize‬‭dual‬‭land-use‬‭practices‬‭on‬‭working‬
              ‭lands, and to optimize output,‬
      ‭●‬ ‭Development‬‭and‬‭implementation‬‭of‬‭community‬‭ownership‬‭models‬‭with‬‭Special‬‭Purpose‬
               ‭Entities,‬
       ‭●‬ ‭Robust‬ ‭funding‬ ‭and‬ ‭expanded‬ ‭access,‬ ‭similar‬ ‭to‬ ‭the‬ ‭equity‬ ‭initiatives‬ ‭and‬ ‭clean‬ ‭energy‬
                  ‭access‬ ‭program‬ ‭underway‬ ‭in‬ ‭California,‬ ‭to‬ ‭support‬ ‭participation‬ ‭by‬ ‭rural‬ ‭communities,‬
                ‭minority groups and Tribes in siting and regulatory decision making,‬
        ‭●‬ ‭Peer‬ ‭sharing,‬ ‭model‬ ‭policies‬ ‭and‬ ‭direct‬ ‭assistance‬ ‭to‬ ‭help‬ ‭local‬ ‭jurisdictions‬ ‭find‬ ‭large‬
                   ‭groups‬ ‭of‬ ‭subscribers,‬‭to‬‭streamline‬‭land‬‭use‬‭approvals‬‭and‬‭siting‬‭policies‬‭and‬‭to‬‭enable‬
                 ‭expedited environmental review and permitting for IQ/DAC projects,‬
         ‭●‬ ‭Evaluation of utility plans and capacity to reduce interconnection costs.‬
‭Proposed Technical Assistance for Rooftop Solar Siting & Interconnection‬
    ‭●‬ ‭Support‬ ‭and‬ ‭technical‬ ‭assistance‬ ‭to‬ ‭get‬ ‭through‬ ‭utility‬ ‭approval‬ ‭processes‬ ‭for‬ ‭metering‬
             ‭and‬ ‭infrastructure‬ ‭requirements‬ ‭and‬ ‭to‬ ‭leverage‬ ‭demand‬ ‭side‬ ‭management,‬ ‭existing‬
          ‭rebates and other related funding streams,‬
     ‭●‬ ‭Understanding‬ ‭and‬ ‭utilizing‬ ‭utility‬ ‭maps‬ ‭and‬ ‭information‬ ‭regarding‬ ‭utility‬ ‭capacity‬ ‭to‬
           ‭reduce interconnection costs,‬
      ‭●‬ ‭Expedited‬‭or‬‭preference‬‭for‬‭low-income‬‭and‬‭disadvantaged‬‭community‬‭project‬‭permitting‬
            ‭and interconnection approvals at the local level.‬
‭ dditionally,‬ ‭the‬ ‭Colorado‬ ‭Department‬ ‭of‬ ‭Agriculture’s‬ ‭long-standing‬ ‭ACRE3‬ ‭Program‬ ‭which‬
A
‭provides‬‭project‬‭feasibility‬‭studies,‬‭technical‬‭assistance‬‭to‬‭coordinated‬‭permitting,‬‭financing,‬‭and‬
 ‭contractor‬‭services,‬‭and‬‭grant‬‭funding‬‭for‬‭on-farm‬‭solar‬‭and‬‭other‬‭renewable‬‭energy‬‭projects‬‭can‬
  ‭be‬‭leveraged.‬‭With‬‭Solar‬‭for‬‭All‬‭funds,‬‭the‬‭state‬‭proposes‬‭to‬‭continue‬‭and‬‭expand‬‭technical‬‭and‬
   ‭financial‬ ‭assistance‬ ‭through‬ ‭this‬ ‭program‬ ‭as‬ ‭part‬‭of‬‭the‬‭state’s‬‭focus‬‭on‬‭developing‬‭community‬
    ‭solar‬ ‭projects‬ ‭hosted‬ ‭by‬ ‭farms‬ ‭and‬ ‭ranches.‬ ‭Technical‬ ‭services‬ ‭will‬ ‭include‬ ‭developing‬ ‭and‬
     ‭implementing‬‭models‬‭for‬‭community‬‭ownership‬‭of‬‭community‬‭solar‬‭projects‬‭that‬‭also‬‭prioritize‬
      ‭dual‬‭land-use‬‭practices,‬‭such‬‭as‬‭agrivoltaics.‬‭By‬‭providing‬‭these‬‭technical‬‭assistance‬‭services,‬‭the‬
       ‭state‬ ‭will‬ ‭ensure‬ ‭that‬ ‭larger,‬ ‭ground-mount,‬ ‭community‬ ‭solar‬ ‭projects‬ ‭are‬ ‭designed‬‭to‬‭preserve‬
        ‭the‬ ‭existing‬ ‭ecosystem‬ ‭services,‬ ‭agricultural‬ ‭enterprises‬ ‭and‬ ‭other‬ ‭land-based‬ ‭values‬ ‭whenever‬
         ‭possible.‬
‭ olorado‬ ‭is‬ ‭well‬ ‭situated‬ ‭to‬ ‭rapidly‬ ‭expand‬ ‭solar‬ ‭deployment‬ ‭in‬ ‭low‬ ‭and‬ ‭moderate‬ ‭income‬
C
‭communities‬ ‭but‬ ‭we‬ ‭still‬ ‭face‬ ‭evolving‬ ‭engagement,‬ ‭awareness‬ ‭and‬ ‭policy‬ ‭barriers.‬ ‭Given‬
 ‭existing‬ ‭relationships‬ ‭with‬ ‭existing‬ ‭income‬ ‭qualified‬ ‭programs‬ ‭including‬ ‭LIHEAP‬ ‭(called‬


                                                                                                                           ‭29‬
Case 1:25-cv-00039-JJM-PAS                      Document 68-123                Filed 02/07/25            Page 332 of 556
                                                  PageID #: 6262
‭Colorado Solar For All: Program Narrative‬                                                                  ‭October 2023‬


“‭ LEAP”‬ ‭in‬ ‭Colorado)‬ ‭and‬ ‭WAP,‬ ‭and‬ ‭relationships‬ ‭with‬ ‭the‬ ‭affordable‬ ‭housing‬ ‭community,‬
 ‭COS4A‬ ‭will‬ ‭have‬ ‭a‬ ‭ready‬ ‭made‬ ‭eligible‬ ‭population‬ ‭it‬ ‭can‬ ‭serve.‬ ‭That‬ ‭being‬ ‭said,‬ ‭it‬ ‭will‬ ‭also‬
  ‭conduct‬ ‭culturally‬ ‭appropriate‬ ‭and‬ ‭responsive‬ ‭communications,‬ ‭marketing‬ ‭and‬ ‭outreach.‬ ‭We‬
   ‭intend‬ ‭to‬ ‭facilitate‬ ‭targeted‬ ‭work‬ ‭with‬ ‭regional‬ ‭representatives‬ ‭at‬ ‭the‬ ‭Colorado‬ ‭Division‬ ‭of‬
    ‭Housing‬ ‭and‬ ‭the‬ ‭Colorado‬ ‭Division‬ ‭of‬ ‭Local‬ ‭Affairs,‬ ‭to‬ ‭collaborate‬ ‭with‬ ‭cooperative‬ ‭and‬
     ‭municipal‬‭utilities‬‭and‬‭to‬‭ensure‬‭that‬‭we‬‭have‬‭touchpoints‬‭and‬‭materials‬‭designed‬‭for‬‭a‬‭multitude‬
      ‭of‬ ‭related‬ ‭services‬ ‭including‬ ‭engineering‬ ‭providers,‬ ‭permitting‬ ‭offices,‬ ‭insurance‬ ‭agents,‬ ‭tax‬
       ‭assessors and realtors.‬
‭ dditionally,‬ ‭Colorado‬‭will‬‭provide‬‭funding‬‭for‬‭community-led,‬‭community-designed‬‭programs‬
A
‭and‬ ‭projects‬ ‭as‬ ‭well‬ ‭as‬ ‭innovative‬ ‭replicable‬ ‭models‬ ‭of‬ ‭community‬ ‭solar‬ ‭with‬ ‭community‬
 ‭ownership.‬‭These‬‭pilot‬‭projects‬‭will‬‭demonstrate‬‭best‬‭practices‬‭and‬‭innovation‬‭and‬‭will‬‭showcase‬
  ‭and‬ ‭streamline‬ ‭models‬ ‭for‬‭community-ownership,‬‭demonstrate‬‭best‬‭practices‬‭for‬‭engaging‬‭hard‬
   ‭to‬‭reach‬‭populations‬‭and‬‭geographies,‬‭identify‬‭and‬‭rapidly‬‭solve‬‭emerging‬‭barriers‬‭to‬‭solar,‬ ‭and‬
    ‭foster‬ ‭relationships‬ ‭to‬ ‭expand‬ ‭workforce‬ ‭development‬ ‭programs‬ ‭targeted‬ ‭at‬ ‭discrete‬ ‭workforce‬
     ‭gaps.‬ ‭Working‬‭with‬‭rural‬‭cooperatives,‬‭unions‬‭such‬‭as‬‭the‬‭Rocky‬‭Mountain‬‭Farmers‬‭Union,‬‭and‬
      ‭other‬ ‭agricultural‬ ‭groups,‬ ‭Colorado‬ ‭will‬ ‭support‬ ‭innovative‬ ‭projects‬ ‭that‬ ‭produce‬ ‭multiple‬
       ‭meaningful‬ ‭benefits‬ ‭for‬ ‭rural‬ ‭communities,‬ ‭including,‬ ‭where‬ ‭feasible,‬ ‭integrating‬ ‭community‬
        ‭solar‬ ‭projects‬ ‭with‬ ‭working‬ ‭farms‬ ‭and‬ ‭ranches.‬ ‭As‬ ‭a‬ ‭leader‬ ‭in‬ ‭dual‬ ‭land-use‬ ‭solar‬ ‭practices,‬
         ‭Colorado‬ ‭believes‬ ‭that‬ ‭agrivoltaics‬ ‭can‬ ‭reduce‬ ‭siting‬ ‭conflicts,‬ ‭while‬ ‭increasing‬ ‭renewable‬
          ‭energy for rural communities and support the state’s agricultural economy.‬
‭ inally,‬ ‭Colorado‬ ‭will‬ ‭continue‬ ‭to‬ ‭lead‬ ‭on‬ ‭energy‬ ‭policy‬ ‭adoption‬ ‭through‬ ‭the‬ ‭analysis,‬
F
‭evaluation‬ ‭and‬ ‭development‬ ‭of‬ ‭best‬ ‭practices‬ ‭and‬ ‭templates‬ ‭for‬ ‭cost-sharing,‬ ‭expedited‬
 ‭permitting‬‭and‬‭siting‬‭approvals‬‭in‬‭cooperative‬‭and‬‭municipal‬‭utilities.‬‭These‬‭studies‬‭will‬‭inform‬
  ‭rule‬ ‭and‬ ‭policymaking‬ ‭before‬ ‭regulatory‬ ‭bodies‬ ‭in‬ ‭order‬ ‭to‬ ‭equitably‬ ‭distribute‬ ‭costs‬ ‭and‬
   ‭accelerate‬‭the‬‭adoption‬‭of‬‭beneficial‬‭regulation‬‭to‬‭support‬‭low-income‬‭solar‬‭developments.‬ ‭This‬
    ‭funding‬ ‭would‬ ‭support‬ ‭stakeholder‬ ‭engagement‬ ‭and‬ ‭data‬ ‭collection‬ ‭to‬ ‭produce‬ ‭a‬ ‭template‬ ‭that‬
     ‭could be used to enable clustering of interconnection infrastructure.‬
‭ unicipal‬ ‭and‬ ‭cooperative‬ ‭utilities‬ ‭can‬ ‭be‬ ‭flexible,‬ ‭nimble‬ ‭and‬ ‭progressive.‬ ‭By‬ ‭design,‬ ‭they‬
M
‭serve‬‭members‬‭and‬‭represent‬‭communities‬‭but‬‭may‬‭be‬‭limited‬‭by‬‭long‬‭term‬‭contracts.‬ ‭Colorado‬
 ‭will‬ ‭conduct‬ ‭analysis‬ ‭of‬ ‭local‬ ‭and‬ ‭national‬ ‭cooperative‬ ‭and‬ ‭municipal‬ ‭utility‬ ‭models‬ ‭to‬ ‭better‬
  ‭understand‬ ‭how‬ ‭to‬ ‭incent‬ ‭these‬ ‭under‬ ‭resourced‬ ‭entities‬ ‭to‬ ‭enable‬ ‭and‬ ‭support‬ ‭broader‬ ‭solar‬
   ‭deployments, especially community solar.‬


‭6.‬‭Equitable Access and Meaningful Involvement Plan‬
6‭ .1 Identifying and Engaging Historically Underserved Households Customers‬
 ‭Equitable‬‭access‬‭to‬‭solar‬‭requires‬‭an‬‭intentional‬‭focus‬‭on‬‭households‬‭and‬‭communities‬‭that‬‭have‬
  ‭been‬ ‭historically‬ ‭underserved.‬ ‭Approximately‬ ‭926,000‬ ‭households‬ ‭in‬ ‭Colorado‬ ‭–‬ ‭51%‬ ‭renter‬
   ‭households‬‭and‬‭49%‬‭owner‬‭households‬‭–‬‭qualify‬‭by‬‭income‬‭under‬‭the‬‭Solar‬‭for‬‭All‬‭guidelines‬‭by‬
    ‭earning‬ ‭80%‬ ‭AMI‬ ‭or‬ ‭below‬‭46‬ ‭and‬ ‭1,060,921‬ ‭people‬ ‭reside‬ ‭in‬ ‭Colorado’s‬ ‭disadvantaged‬


‭46‬
   ‭“Comprehensive Housing Affordability Strategy (CHAS) Data Based on 2015-2019 American Community‬
‭Survey” 2022. https://www.huduser.gov/portal/datasets/cp.html‬


                                                                                                                              ‭30‬
Case 1:25-cv-00039-JJM-PAS                    Document 68-123               Filed 02/07/25           Page 333 of 556
                                                PageID #: 6263
‭Colorado Solar For All: Program Narrative‬                                                              ‭October 2023‬


c‭ ommunities‬ ‭per‬ ‭data‬ ‭from‬ ‭the‬ ‭EPA’s‬ ‭CEJST‬ ‭Tool.‬ ‭Low-income‬ ‭households‬ ‭are‬
 ‭disproportionately underserved in both rooftop solar and community solar in Colorado. While‬




‭Figure 6.1: Low-income Households Historically Underserved by Solar in Colorado‬

4‭ 3%‬ ‭of‬ ‭Colorado‬ ‭households‬ ‭earn‬ ‭80%‬ ‭AMI‬ ‭or‬ ‭below,‬ ‭only‬ ‭17%‬ ‭of‬‭rooftop‬‭solar‬‭and‬‭11%‬‭of‬
 ‭community solar in Colorado serves these households (Figure 6.1).‬
‭ ational‬ ‭studies‬ ‭have‬ ‭shown‬ ‭that‬ ‭Latino‬‭and‬‭Black‬‭households‬‭are‬‭underrepresented‬‭in‬‭rooftop‬
N
‭solar‬‭adoption‬‭relative‬‭to‬‭the‬‭general‬‭population‬‭in‬‭each‬‭state‬‭47‬ ‭and‬‭that,‬‭even‬‭after‬‭accounting‬‭for‬
 ‭differences‬ ‭in‬‭household‬‭income‬‭and‬‭homeownership,‬‭PV‬‭adoption‬‭rates‬‭are‬‭significantly‬‭lower‬
  ‭in‬‭Black-‬‭and‬‭Hispanic-majority‬‭census‬‭tracts.‬‭48‬ ‭As‬‭community‬‭solar‬‭development‬‭has‬‭increased‬
   ‭in‬ ‭Colorado‬ ‭since‬ ‭2009,‬ ‭solar‬ ‭opportunities‬ ‭for‬ ‭renters‬ ‭have‬ ‭increased;‬ ‭however,‬ ‭low-income‬
    ‭renters are still significantly disproportionately underrepresented in solar in Colorado.‬
‭ any‬ ‭of‬ ‭Colorado’s‬ ‭historically‬ ‭underrepresented‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭(as‬ ‭per‬ ‭the‬
M
‭CEJST‬‭mapping‬‭tool)‬‭are‬‭those‬‭that‬‭would‬‭benefit‬‭most‬‭from‬‭solar.‬‭Almost‬‭274,000‬‭households‬
 ‭in‬‭Colorado‬‭pay‬‭more‬‭than‬‭50%‬‭of‬‭their‬‭income‬‭for‬‭housing‬‭expenses,‬‭including‬‭utilities.‬‭About‬
  ‭63%‬ ‭of‬ ‭these‬ ‭are‬ ‭very‬ ‭low-income,‬ ‭earning‬ ‭less‬ ‭than‬ ‭30%‬ ‭AMI.‬‭49‬ ‭Our‬ ‭rural‬ ‭disadvantaged‬
   ‭communities‬‭and‬‭the‬‭Ute‬‭Mountain‬‭Ute‬‭Tribe‬‭have‬‭the‬‭highest‬‭energy‬‭burdens‬‭in‬‭the‬‭state.‬‭When‬
    ‭considering‬ ‭households‬ ‭at‬ ‭or‬ ‭below‬ ‭80%‬ ‭AMI‬ ‭in‬ ‭Colorado,‬ ‭48‬ ‭out‬ ‭of‬ ‭50‬ ‭of‬ ‭our‬ ‭most‬ ‭energy‬
     ‭burdened‬ ‭counties‬ ‭in‬ ‭Colorado‬ ‭are‬ ‭rural.‬‭50‬ ‭Residents‬ ‭of‬ ‭mobile‬ ‭homes‬ ‭have‬ ‭a‬ ‭higher‬ ‭energy‬


‭47‬
           ‭Sydney Forrester, Galen Barbose, Eric O'Shaughnessy, Naïm Darghouth, and Cristina Crespo Montañés.‬
‭ esidential Solar-Adopter Income and Demographic Trends: November 2022 Update, Lawrence Berkeley‬
R
‭Laboratory, November 2022.‬
 ‭48‬
            ‭Sunter, Deborah A., Sergio Castellanos, and Daniel‬‭M. Kammen. 2019. “Disparities in Rooftop Photovoltaics‬
  ‭Deployment in the United States by Race and Ethnicity.” Nature Sustainability 2 (1): 71–76.‬
   ‭https://doi.org/10.1038/s41893-018-0204-z‬‭.‬
    ‭49‬
             ‭Comprehensive Housing Affordability Strategy (CHAS) Data Based on 2015-2019 American Community‬
     ‭Survey” 2022.‬‭https://www.huduser.gov/portal/datasets/cp.html‬
      ‭50‬
              ‭Ma, Ookie, Krystal Laymon, Megan Day, Ricardo Oliveira, Jon Weers, and Aaron Vimont. 2019. Low-Income‬
       ‭Energy Affordability Data (LEAD) Tool Methodology. Golden, CO: National Renewable Energy Laboratory.‬
        ‭NREL/TP-6A20-74249.‬‭https://www.nrel.gov/docs/fy19osti/74249.pdf‬


                                                                                                                           ‭31‬
Case 1:25-cv-00039-JJM-PAS                    Document 68-123               Filed 02/07/25           Page 334 of 556
                                                PageID #: 6264
‭Colorado Solar For All: Program Narrative‬                                                              ‭October 2023‬


b‭ urden‬ ‭on‬ ‭average‬ ‭than‬ ‭residents‬ ‭of‬ ‭other‬ ‭types‬ ‭of‬ ‭housing‬ ‭in‬ ‭Colorado.‬‭51‬ ‭Nationally,‬ ‭52%‬ ‭of‬
 ‭Black‬‭and‬‭American‬‭Indian‬‭households‬‭reported‬‭household‬‭energy‬‭insecurity‬‭in‬‭2020‬‭more‬‭than‬
  ‭twice the rate of white, not Hispanic households (20%).‬‭52‬
6‭ .2‬‭Describe‬‭how‬‭your‬‭customer‬‭acquisition‬‭strategy‬‭will‬‭maximize‬‭solar‬‭deployment‬‭across‬
 ‭Colorado, ensuring equitable access to and participation in the program.‬
  ‭Colorado‬ ‭will‬ ‭undertake‬ ‭a‬ ‭multi-pathway‬ ‭approach‬ ‭to‬ ‭customer‬ ‭acquisition,‬ ‭utilizing‬ ‭the‬
   ‭efficiency‬‭of‬‭integrating‬‭solar‬‭with‬‭existing‬‭state‬‭and‬‭partner‬‭programs,‬‭while‬‭also‬‭providing‬‭the‬
    ‭opportunity‬ ‭for‬ ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭to‬ ‭design‬ ‭and‬ ‭lead‬
     ‭projects to reach their own communities in a culturally competent, community-driven model.‬
‭ athway 1: Integration with existing state programs‬
P
‭The‬ ‭state‬ ‭of‬ ‭Colorado‬ ‭operates‬ ‭or‬ ‭funds‬ ‭several‬ ‭programs‬ ‭that‬ ‭provide‬ ‭services‬ ‭to‬
 ‭income-qualified‬ ‭households‬ ‭that‬ ‭will‬ ‭be‬ ‭candidates‬ ‭for‬ ‭COS4A‬ ‭by‬ ‭meeting‬ ‭the‬ ‭Solar‬ ‭for‬ ‭All‬
  ‭income‬ ‭guidelines‬ ‭or‬ ‭categorical‬ ‭eligibility‬ ‭allowances.‬ ‭We‬ ‭will‬ ‭integrate‬ ‭the‬ ‭opportunity‬ ‭to‬
   ‭participate‬ ‭in‬ ‭COS4A‬ ‭with‬ ‭these‬ ‭programs,‬ ‭utilizing‬ ‭a‬ ‭shared‬ ‭application‬ ‭and‬ ‭qualification‬
    ‭process to reduce barriers to participation. These programs include, but are not limited to:‬
       ‭●‬ ‭low-income Weatherization Assistance Program (WAP)‬
       ‭●‬ ‭low-income Home Energy Assistance Program (LIHEAP/LEAP)‬
       ‭●‬ ‭IRA home rebate programs‬
       ‭●‬ ‭Single-family owner-occupied housing rehabilitation programs‬
       ‭●‬ ‭Affordable housing development grants and loans‬
‭ EO‬ ‭does‬ ‭or‬ ‭will‬ ‭manage‬ ‭several‬ ‭of‬ ‭these‬ ‭programs‬ ‭directly‬ ‭(WAP‬ ‭and‬ ‭IRA‬ ‭home‬ ‭rebate‬
C
‭programs)‬‭and‬‭will‬‭work‬‭with‬‭other‬‭state‬‭agencies‬‭to‬‭integrate‬‭COS4A‬‭client‬‭acquisition‬‭and/or‬
 ‭solar implementation wherever possible.‬
‭ athway 2: Integration with partner programs‬
P
‭Colorado‬ ‭has‬ ‭a‬ ‭strong‬ ‭ecosystem‬ ‭of‬ ‭non-profit‬ ‭organizations,‬ ‭local‬ ‭governments,‬ ‭and‬ ‭utility‬
 ‭companies‬ ‭that‬ ‭serve‬ ‭income-qualified‬ ‭households‬ ‭with‬ ‭energy‬ ‭efficiency,‬ ‭renewable‬ ‭energy‬
  ‭and/or‬ ‭housing‬ ‭rehabilitation‬ ‭programs.‬ ‭For‬‭example,‬‭Energy‬‭Outreach‬‭Colorado‬‭serves‬‭25,000‬
   ‭households‬ ‭per‬‭year‬‭with‬‭energy‬‭bill‬‭payment‬‭assistance‬‭through‬‭a‬‭partner‬‭network‬‭of‬‭over‬‭100‬
    ‭community-based‬ ‭organizations‬ ‭throughout‬‭the‬‭state,‬‭and‬‭manages‬‭over‬‭2,500‬‭income-qualified‬
     ‭community‬‭solar‬‭subscriptions.‬‭Grid‬‭Alternatives‬‭Colorado‬‭has‬‭installed‬‭over‬‭560‬‭solar‬‭systems‬
      ‭totaling‬ ‭more‬ ‭than‬ ‭13MW‬ ‭throughout‬ ‭Colorado,‬ ‭providing‬ ‭solar‬ ‭access‬ ‭to‬ ‭over‬ ‭2,700‬ ‭families‬
       ‭and‬ ‭26‬ ‭community‬ ‭organizations/centers.‬ ‭CEO‬ ‭will‬‭competitively‬‭bid‬‭partnership‬‭opportunities‬

‭51‬
       ‭Ma, Ookie, Krystal Laymon, Megan Day, Ricardo Oliveira, Jon Weers, and Aaron Vimont. 2019. Low-Income‬
‭ nergy Affordability Data (LEAD) Tool Methodology. Golden, CO: National Renewable Energy Laboratory.‬
E
‭NREL/TP-6A20-74249.‬‭https://www.nrel.gov/docs/fy19osti/74249.pdf‬
 ‭52‬
        ‭2020 Residential Energy Consumption Survey HC11.1, Energy Information Administration.‬
  ‭Energy Insecurity is defined as reporting one or more of the following: Reducing or forgoing food or medicine to‬
   ‭pay energy costs; Leaving home at unhealthy temperature; Receiving disconnect or delivery stop notice; or Unable‬
    ‭to use heating or cooling equipment.‬



                                                                                                                          ‭32‬
Case 1:25-cv-00039-JJM-PAS                    Document 68-123               Filed 02/07/25           Page 335 of 556
                                                PageID #: 6265
‭Colorado Solar For All: Program Narrative‬                                                              ‭October 2023‬


‭ ith‬‭the‬‭intent‬‭of‬‭partnering‬‭with‬‭existing‬‭successful‬‭programs‬‭to‬‭expand‬‭their‬‭reach‬‭and‬‭increase‬
w
‭the‬ ‭number‬ ‭of‬ ‭households‬ ‭served.‬ ‭Partners‬ ‭will‬ ‭be‬ ‭selected‬ ‭through‬ ‭a‬ ‭process‬ ‭that‬ ‭values‬ ‭the‬
 ‭ability‬‭of‬‭the‬‭organization‬‭to‬‭reach‬‭historically‬‭underserved‬‭and‬‭disadvantaged‬‭communities,‬‭and‬
  ‭all‬ ‭partners‬ ‭will‬ ‭be‬ ‭required‬ ‭to‬ ‭meet‬ ‭the‬ ‭COS4A‬ ‭guidelines‬ ‭for‬ ‭income‬ ‭qualifications‬ ‭and‬
   ‭consumer protections.‬
‭ athway 3: Integration with affordable housing providers‬
P
‭Colorado‬ ‭has‬ ‭a‬ ‭severe‬ ‭shortage‬ ‭of‬ ‭affordable‬ ‭housing.‬ ‭Almost‬ ‭68%‬ ‭of‬ ‭low-income‬ ‭renter‬
 ‭households‬‭and‬‭50%‬‭of‬‭owner‬‭households‬‭are‬‭housing‬‭cost‬‭burdened,‬‭paying‬‭more‬‭than‬‭30%‬‭of‬
  ‭their‬‭income‬‭for‬‭housing‬‭costs.‬‭When‬‭looking‬‭at‬‭very‬‭low-income‬‭households‬‭(<50%‬‭AMI)‬‭80%‬
   ‭of‬ ‭renters‬ ‭and‬ ‭63%‬ ‭of‬ ‭owners‬ ‭are‬ ‭housing‬‭cost‬‭burdened.‬‭Colorado‬‭has‬‭only‬‭105,000‬‭federally‬
    ‭subsidized‬ ‭affordable‬ ‭rental‬ ‭housing‬ ‭units‬ ‭(both‬ ‭vouchers‬ ‭and‬ ‭project‬ ‭subsidies)‬ ‭and‬ ‭477,000‬
     ‭low-income‬‭renter‬‭households.‬‭The‬‭state‬‭has‬‭committed‬‭substantial‬‭funds‬‭for‬‭the‬‭development‬‭of‬
      ‭additional‬‭affordable‬‭housing‬‭units,‬‭including‬‭$300M‬‭per‬‭year‬‭from‬‭Proposition‬‭123‬‭and‬‭$650M‬
       ‭from‬‭the‬‭American‬‭Rescue‬‭Plan‬‭Act‬‭(ARPA),‬‭providing‬‭the‬‭opportunity‬‭to‬‭integrate‬‭solar‬‭in‬‭new‬
        ‭construction.‬‭CEO‬‭will‬‭partner‬‭with‬‭affordable‬‭rental‬‭and‬‭homeownership‬‭housing‬‭providers‬‭and‬
         ‭developers‬ ‭to‬ ‭integrate‬ ‭solar‬ ‭as‬ ‭a‬ ‭mechanism‬ ‭for‬ ‭creating‬ ‭affordable‬ ‭units‬ ‭and‬ ‭maintaining‬
          ‭housing affordability.‬
‭ athway 4: Targeted, community-led, community-designed programs and projects‬
P
‭We‬ ‭recognize‬ ‭that‬ ‭our‬ ‭state’s‬ ‭current‬ ‭programs,‬ ‭while‬ ‭reaching‬‭income‬‭eligible‬‭households,‬‭do‬
 ‭not‬ ‭reach‬ ‭all‬ ‭communities‬ ‭equitably.‬ ‭Our‬ ‭fourth‬ ‭pathway‬ ‭for‬ ‭client‬ ‭acquisition‬ ‭will‬ ‭provide‬
  ‭opportunities‬ ‭for‬ ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬ ‭communities‬ ‭to‬ ‭design‬ ‭and‬ ‭lead‬
   ‭projects‬ ‭to‬ ‭reach‬ ‭their‬ ‭own‬ ‭communities‬ ‭in‬ ‭a‬ ‭culturally‬ ‭competent,‬ ‭community-driven‬ ‭model.‬
    ‭Through‬ ‭a‬ ‭competitive‬ ‭process,‬ ‭communities‬ ‭will‬ ‭be‬ ‭selected‬ ‭and‬ ‭provided‬ ‭with‬ ‭funding,‬
     ‭program‬ ‭tools,‬ ‭and‬ ‭technical‬ ‭assistance‬ ‭to‬ ‭implement‬ ‭client‬ ‭acquisition‬ ‭and‬ ‭program‬
      ‭implementation‬ ‭strategies.‬ ‭$2M‬ ‭has‬ ‭been‬ ‭budgeted‬ ‭over‬ ‭the‬ ‭life‬ ‭of‬ ‭the‬ ‭program‬ ‭for‬ ‭this‬
       ‭community‬‭based‬‭approach.‬‭During‬‭the‬‭planning‬‭phase,‬‭we‬‭will‬‭work‬‭with‬‭community‬‭leaders‬‭to‬
        ‭design the selection criteria, goals and technical support needed for this pathway.‬
6‭ .3 Explain how you will educate and engage communities on the benefits of solar energy.‬
 ‭Our‬‭education‬‭and‬‭engagement‬‭strategy‬‭will‬‭be‬‭designed‬‭to‬‭address‬‭lack‬‭of‬‭trust,‬‭cultural‬‭barriers‬
  ‭and‬‭financial‬‭barriers‬‭that‬‭have‬‭resulted‬‭in‬‭inequitable‬‭solar‬‭adoption‬‭in‬‭Colorado.‬ ‭Our‬‭education‬
   ‭and engagement strategy will include the following:‬
 ‭●‬ ‭Developing‬‭culturally‬‭competent‬‭messaging‬‭and‬‭educational‬‭materials,‬‭including‬‭accessible‬
     ‭documents translated into commonly spoken languages, particularly Spanish.‬
 ‭●‬ ‭Working‬ ‭through‬ ‭partners‬ ‭that‬ ‭have‬ ‭demonstrated‬ ‭long-term‬ ‭trusted‬ ‭relationships‬ ‭with‬
      ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬ ‭communities.‬ ‭Providing‬ ‭these‬ ‭trusted‬ ‭partners‬
     ‭with the training and administrative support to reach households directly.‬
 ‭●‬ ‭Incorporating‬‭and‬‭promoting‬‭strong‬‭consumer‬‭protections‬‭to‬‭address‬‭barriers‬‭around‬‭fear‬‭of‬
     ‭predatory lending.‬
 ‭●‬ ‭Developing‬ ‭messaging‬ ‭and‬‭tools‬‭that‬‭directly‬‭address‬‭the‬‭financial‬‭barriers‬‭for‬‭low-income‬
     ‭and low-wealth households.‬




                                                                                                                          ‭33‬
Case 1:25-cv-00039-JJM-PAS                      Document 68-123                Filed 02/07/25            Page 336 of 556
                                                  PageID #: 6266
‭Colorado Solar For All: Program Narrative‬                                                                  ‭October 2023‬


 ‭●‬ ‭Providing‬ ‭opportunities‬‭and‬‭resources‬‭for‬‭communities‬‭to‬‭develop‬‭their‬‭own‬‭education‬‭and‬
     ‭engagement strategy (Pathway 4 described above).‬
 ‭●‬ ‭Implementing‬ ‭local‬ ‭hiring‬ ‭incentives,‬ ‭and‬ ‭focusing‬ ‭workforce‬ ‭development‬ ‭and‬ ‭business‬
     ‭development resources to historically underserved communities.‬
‭ e‬ ‭will‬ ‭incorporate‬ ‭an‬ ‭ongoing‬ ‭evaluation‬ ‭of‬ ‭our‬ ‭program‬ ‭to‬ ‭ensure‬ ‭that‬ ‭our‬ ‭education‬ ‭and‬
W
‭engagement‬‭is‬‭reaching‬‭and‬‭resulting‬‭in‬‭solar‬‭implementation‬‭in‬‭our‬‭historically‬‭underserved‬‭and‬
 ‭disadvantaged communities. If not, we will adjust our strategies to improve our equity outcomes.‬
6‭ .4‬ ‭Describe‬ ‭how‬ ‭your‬ ‭outreach‬ ‭and‬ ‭marketing‬ ‭strategies‬ ‭are‬ ‭culturally‬ ‭appropriate‬ ‭and‬
 ‭responsive‬‭to‬‭the‬‭needs‬‭of‬‭the‬‭communities‬‭you‬‭are‬‭proposing‬‭to‬‭serve.‬‭You‬‭should‬‭consider‬
  ‭how‬ ‭you‬ ‭may‬ ‭need‬ ‭to‬ ‭employ‬ ‭different‬ ‭engagement‬ ‭strategies‬ ‭to‬ ‭reach‬ ‭different‬ ‭types‬ ‭of‬
   ‭communities,‬ ‭including‬ ‭urban,‬ ‭rural,‬ ‭and‬ ‭suburban‬ ‭communities;‬ ‭communities‬ ‭with‬
    ‭limited‬ ‭English‬ ‭proficiency;‬ ‭and‬ ‭different‬ ‭types‬ ‭of‬ ‭residential‬ ‭buildings,‬ ‭including‬
     ‭single-family, multi-family, and manufactured homes.‬
      ‭We‬ ‭recognize‬ ‭the‬ ‭need‬ ‭for‬ ‭substantial‬ ‭and‬ ‭targeted‬ ‭resources‬ ‭to‬ ‭build‬ ‭relationships‬ ‭with‬
       ‭historically‬ ‭underserved‬ ‭communities‬ ‭in‬ ‭order‬ ‭to‬ ‭deploy‬‭solar,‬‭including‬‭those‬‭living‬‭in‬‭mobile‬
        ‭home‬‭parks‬‭and‬‭naturally‬‭occurring‬‭affordable‬‭housing.‬‭We‬‭will‬‭partner‬‭with‬‭trusted‬‭community‬
         ‭organizations‬ ‭and‬ ‭community‬ ‭leaders,‬ ‭and‬ ‭dedicate‬ ‭funding‬ ‭to‬ ‭build‬ ‭and‬ ‭implement‬ ‭the‬
          ‭communication strategies needed to be successful with these communities.‬
‭ ur‬ ‭strategy‬ ‭will‬ ‭include‬ ‭working‬ ‭with‬ ‭existing‬ ‭programs‬‭including‬‭LIHEAP/LEAP,‬‭WAP‬‭and‬
O
‭utility‬‭assistance‬‭programs‬‭to‬‭let‬‭households‬‭who‬‭are‬‭likely‬‭eligible‬‭know‬‭about‬‭the‬‭program,‬‭the‬
 ‭value‬ ‭of‬ ‭solar,‬ ‭and‬ ‭benefits‬ ‭of‬ ‭participation.‬ ‭We‬ ‭will‬ ‭also‬ ‭work‬ ‭directly‬ ‭with‬ ‭the‬ ‭affordable‬
  ‭housing‬ ‭community‬ ‭to‬ ‭educate‬ ‭building‬ ‭owners,‬ ‭managers,‬ ‭and‬ ‭developers‬ ‭about‬‭the‬‭program.‬
   ‭When‬ ‭providing‬ ‭information‬ ‭to‬ ‭households‬ ‭directly,‬ ‭we‬ ‭will‬ ‭ensure‬ ‭materials‬ ‭have‬ ‭culturally‬
    ‭competent‬ ‭messaging,‬ ‭are‬ ‭accessible‬ ‭and‬ ‭translated‬ ‭into‬ ‭Spanish‬ ‭and‬ ‭(where‬ ‭relevant)‬ ‭other‬
     ‭languages.‬‭Community‬‭partners‬‭participating‬‭in‬‭Pathway‬‭2‬‭will‬‭be‬‭asked‬‭to‬‭utilize‬‭our‬‭common‬
      ‭messaging‬ ‭and‬ ‭branding,‬ ‭but‬ ‭will‬ ‭be‬ ‭encouraged‬ ‭to‬ ‭implement‬ ‭community-based‬ ‭outreach‬
       ‭methods‬ ‭such‬ ‭as‬ ‭employing‬ ‭trusted‬ ‭messengers‬ ‭(e.g.‬ ‭faith-based‬ ‭leaders,‬ ‭neighborhood‬
        ‭associations,‬ ‭community-based‬ ‭organizations)‬ ‭and‬ ‭integration‬ ‭with‬ ‭other‬ ‭community‬ ‭services‬
         ‭(e.g.‬‭food‬‭banks,‬‭schools).‬‭Organizations,‬‭local‬‭governments,‬‭or‬‭Tribes‬‭selected‬‭as‬‭subgrantees‬‭in‬
          ‭Pathway‬ ‭4‬ ‭will‬ ‭have‬ ‭the‬ ‭opportunity‬ ‭to‬ ‭design‬ ‭the‬‭outreach‬‭strategy‬‭that‬‭they‬‭believe‬‭will‬‭best‬
           ‭reach‬ ‭their‬ ‭community.‬ ‭Pathway‬ ‭2‬ ‭and‬ ‭4‬ ‭partners‬ ‭will‬ ‭be‬ ‭supported‬‭by‬‭the‬‭program‬‭marketing‬
            ‭team in development of program materials.‬
6‭ .5‬‭Describe‬‭how‬‭low-income‬‭and‬‭disadvantaged‬‭communities‬‭will‬‭be‬‭involved‬‭in‬‭program‬
 ‭design and operations.‬
  ‭We‬ ‭are‬ ‭proposing‬ ‭a‬ ‭six‬ ‭month‬ ‭planning‬ ‭phase‬ ‭for‬ ‭COS4A,‬ ‭during‬ ‭which‬ ‭time‬ ‭we‬ ‭will‬ ‭work‬
   ‭closely‬ ‭with‬ ‭stakeholders‬ ‭from‬ ‭Colorado’s‬ ‭disadvantaged‬ ‭and‬ ‭historically‬ ‭underserved‬
    ‭communities‬‭to‬‭identify‬‭barriers‬‭to‬‭solar‬‭and‬‭further‬‭develop‬‭the‬‭program‬‭design‬‭and‬‭operations‬
     ‭to address those barriers. This stakeholder work will entail a multi-tiered approach including:‬
 ‭●‬ ‭Community‬ ‭leader‬ ‭and‬ ‭program‬ ‭participant‬ ‭interviews:‬‭During‬‭the‬‭planning‬‭phase‬‭we‬‭will‬
      ‭conduct‬ ‭interviews‬ ‭with‬ ‭community‬ ‭leaders‬ ‭including‬ ‭representatives‬‭of‬‭community‬‭based‬
       ‭organizations,‬‭as‬‭well‬‭as‬‭current‬‭program‬‭participants‬‭and‬‭potential‬‭clients‬‭for‬‭COS4A‬‭such‬
        ‭as‬‭previous‬‭WAP‬‭solar‬‭customers,‬‭participants‬‭in‬‭existing‬‭income‬‭qualified‬‭community‬‭solar‬


                                                                                                                              ‭34‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                Filed 02/07/25           Page 337 of 556
                                                   PageID #: 6267
‭Colorado Solar For All: Program Narrative‬                                                                  ‭October 2023‬


        p‭ rograms,‬ ‭and‬ ‭applicants‬ ‭to‬ ‭these‬ ‭programs‬ ‭who‬ ‭did‬ ‭not‬ ‭successfully‬ ‭access‬ ‭solar.‬ ‭These‬
         ‭interviews‬‭will‬‭gather‬‭input‬‭on‬‭barriers‬‭to‬‭participation‬‭and‬‭inform‬‭solutions‬‭to‬‭address‬‭those‬
          ‭barriers;‬ ‭financial‬ ‭models;‬ ‭program‬ ‭offerings;‬ ‭and‬ ‭education‬ ‭and‬ ‭outreach‬ ‭materials‬ ‭and‬
           ‭messaging.‬‭This‬‭information‬‭will‬‭be‬‭used‬‭to‬‭hone‬‭our‬‭program‬‭design‬‭and‬‭operations‬‭before‬
            ‭sharing‬‭it‬‭more‬‭broadly‬‭with‬‭community‬‭stakeholders.‬‭We‬‭will‬‭conduct‬‭interviews‬‭or‬‭focus‬
             ‭groups‬‭across‬‭the‬‭state,‬‭focused‬‭in‬‭historically‬‭underrepresented‬‭communities.‬‭The‬‭interview‬
              ‭phase‬ ‭will‬ ‭include‬ ‭education‬ ‭and‬ ‭training‬ ‭for‬ ‭community‬ ‭leaders‬ ‭who‬ ‭can‬ ‭help‬ ‭ensure‬
               ‭successful‬ ‭implementation.‬ ‭Participants‬ ‭will‬ ‭be‬ ‭compensated‬ ‭for‬ ‭their‬ ‭time‬ ‭if‬ ‭they‬ ‭are‬‭not‬
       ‭participating as part of a full-time paid position.‬
  ‭●‬ ‭Community‬ ‭meetings:‬ ‭CEO‬ ‭will‬ ‭host‬ ‭regional‬ ‭in-person‬ ‭and‬ ‭virtual‬ ‭meetings‬ ‭in‬
       ‭disadvantaged‬‭communities‬‭across‬‭the‬‭state‬‭to‬‭share‬‭its‬‭proposed‬‭program‬‭design.‬‭Meetings‬
        ‭will‬‭also‬‭be‬‭offered‬‭to‬‭each‬‭federally‬‭recognized‬‭Tribe‬‭in‬‭Colorado.‬‭Whenever‬‭possible,‬‭the‬
         ‭meetings‬ ‭will‬ ‭be‬ ‭coordinated‬ ‭with‬ ‭other‬ ‭activities‬ ‭that‬ ‭engage‬ ‭eligible‬ ‭COS4A‬ ‭customers‬
          ‭(such‬ ‭as‬ ‭engagement‬ ‭on‬ ‭other‬ ‭income‬ ‭qualified‬ ‭programs).‬ ‭CEO‬ ‭will‬ ‭ensure‬‭meetings‬‭are‬
           ‭held‬ ‭in‬ ‭accordance‬ ‭with‬ ‭the‬ ‭state’s‬ ‭Environmental‬ ‭Justice‬ ‭Action‬ ‭Taskforce‬
            ‭Recommendations‬ ‭on‬ ‭Best‬ ‭Practices‬ ‭for‬ ‭Community‬ ‭Engagement,‬ ‭including‬ ‭offering‬
             ‭translation/interpretation,‬ ‭holding‬ ‭meetings‬ ‭in‬ ‭safe,‬ ‭accessible‬ ‭locations,‬ ‭and‬ ‭offering‬
              ‭compensation‬ ‭where‬ ‭appropriate.‬‭53‬ ‭Additionally,‬ ‭CEO‬ ‭will‬ ‭host‬ ‭meetings‬ ‭with‬ ‭existing‬
               ‭stakeholder‬ ‭organizations‬ ‭such‬ ‭as‬ ‭the‬ ‭Rocky‬ ‭Mountain‬ ‭Farmers‬ ‭Union;‬ ‭and‬ ‭the‬ ‭Colorado‬
      ‭Chapter of National Association of Housing and Redevelopment Officials.‬

  ‭●‬ ‭Development‬ ‭and‬ ‭support‬ ‭of‬ ‭an‬ ‭Advisory‬ ‭Council‬‭:‬ ‭CEO‬ ‭will‬ ‭support‬ ‭a‬ ‭COS4A‬‭Advisory‬
       ‭Council‬‭made‬‭up‬‭of‬‭stakeholders‬‭who‬‭represent‬‭historically‬‭underserved‬‭and‬‭disadvantaged‬
        ‭communities,‬ ‭workforce‬ ‭and‬ ‭labor,‬ ‭local‬ ‭governments‬ ‭and‬ ‭utilities,‬ ‭affordable‬ ‭housing,‬
         ‭service‬‭providers,‬‭financing‬‭and‬‭lenders,‬‭and‬‭others‬‭key‬‭to‬‭the‬‭successful‬‭implementation‬‭of‬
          ‭this‬ ‭program.‬ ‭Council‬ ‭participation‬ ‭will‬ ‭be‬ ‭financially‬ ‭compensated‬ ‭for‬ ‭members‬‭who‬‭are‬
           ‭not‬‭participating‬‭as‬‭part‬‭of‬‭a‬‭paid‬‭full‬‭time‬‭role,‬‭and‬‭members‬‭will‬‭be‬‭provided‬‭with‬‭a‬‭series‬
            ‭of‬ ‭training‬ ‭opportunities‬ ‭and‬ ‭facilitated‬ ‭conversations‬ ‭to‬ ‭develop‬ ‭a‬ ‭shared‬ ‭vision‬ ‭of‬ ‭best‬
      ‭practices for COS4A.‬

6‭ .6‬ ‭Describe‬ ‭how‬ ‭communities‬ ‭can‬ ‭participate‬ ‭in‬ ‭program‬ ‭and‬ ‭project‬ ‭design,‬ ‭in‬ ‭formal‬
 ‭input‬ ‭and‬ ‭feedback‬ ‭structures.‬ ‭These‬ ‭formal‬ ‭structures‬ ‭should‬ ‭include‬ ‭participatory‬
  ‭governance‬‭and‬‭regular,‬‭meaningful‬‭engagement‬‭with‬‭community-based‬‭organizations‬‭and‬
   ‭residents of low-income and disadvantaged communities.‬
    ‭The‬ ‭Advisory‬ ‭Council‬ ‭will‬ ‭be‬ ‭financially‬ ‭and‬ ‭administratively‬ ‭supported‬‭through‬‭the‬‭five-year‬
     ‭project‬‭timeline,‬‭with‬‭responsibilities‬‭including‬‭reviewing‬‭evaluation‬‭results‬‭and‬‭recommending‬
      ‭programmatic‬ ‭and‬ ‭operational‬ ‭changes‬ ‭as‬ ‭needed;‬ ‭providing‬ ‭input‬ ‭on‬ ‭subgrant‬ ‭evaluation‬
       ‭criteria;‬ ‭reviewing‬ ‭and‬ ‭providing‬ ‭feedback‬ ‭on‬ ‭messaging‬ ‭and‬ ‭educational‬ ‭materials;‬ ‭and‬
        ‭representing‬ ‭the‬ ‭program‬ ‭to‬ ‭and‬ ‭gathering‬ ‭feedback‬ ‭from‬ ‭their‬ ‭communities.‬ ‭The‬ ‭Advisory‬
         ‭Council‬ ‭and‬ ‭CEO‬ ‭will‬ ‭create‬ ‭by-laws‬ ‭and‬ ‭governance‬ ‭documents,‬ ‭including‬ ‭definition‬ ‭of‬ ‭the‬
          ‭governance‬ ‭structure‬ ‭and‬ ‭accountability‬ ‭for‬ ‭integrating‬ ‭Advisory‬ ‭Council‬ ‭feedback‬ ‭into‬ ‭the‬
           ‭program design and operations.‬


‭53‬
  ‭Colorado Environmental Justice Action Task Force. November 14, 2022.‬
‭https://drive.google.com/file/d/1l4rN-o3h3OJg8TciUzh-qxytULvyD_NE/view‬


                                                                                                                              ‭35‬
Case 1:25-cv-00039-JJM-PAS                          Document 68-123                  Filed 02/07/25             Page 338 of 556
                                                      PageID #: 6268
‭Colorado Solar For All: Program Narrative‬                                                                         ‭October 2023‬


‭ EO‬‭will‬‭conduct‬‭quarterly‬‭program‬‭evaluation,‬‭tracking‬‭measures‬‭including:‬‭household‬‭income‬
C
‭or‬ ‭income-qualified‬ ‭program‬ ‭participation;‬ ‭household‬ ‭demographics;‬ ‭geographic‬ ‭location‬
 ‭(county);‬ ‭location‬ ‭in‬ ‭disadvantaged‬ ‭community‬ ‭(y/n);‬ ‭rural/urban/suburban‬ ‭location;‬ ‭and‬
  ‭occupant‬ ‭tenancy‬ ‭(renter/homeowner).‬ ‭Program‬ ‭outcomes‬ ‭such‬ ‭as‬ ‭electricity‬ ‭generated‬‭(kWh);‬
   ‭greenhouse‬‭gas‬‭emissions‬‭reductions‬‭(tons‬‭CO‬‭2‬‭e‬‭reduced);‬‭and‬‭installed‬‭capacity‬‭(kW)‬‭will‬‭also‬
    ‭be gathered. This information will be publicly available for program transparency.‬
‭ nnually,‬ ‭CEO‬ ‭and‬ ‭the‬ ‭Advisory‬ ‭Council‬ ‭will‬ ‭host‬ ‭program‬ ‭evaluation‬ ‭and‬ ‭input‬ ‭meetings‬ ‭to‬
A
‭present‬ ‭results‬ ‭and‬ ‭receive‬ ‭program‬ ‭feedback‬ ‭and‬ ‭recommendations‬ ‭for‬ ‭programmatic‬ ‭and‬
 ‭operational‬‭changes‬‭from‬‭program‬‭partners‬‭and‬‭community‬‭stakeholders.‬‭Recommendations‬‭and‬
  ‭changes implemented based on these recommendations will be publicly available.‬

6‭ .7‬ ‭If‬ ‭there‬ ‭are‬ ‭American‬ ‭Indian‬ ‭and‬ ‭Native‬‭Alaska‬‭communities‬‭in‬‭your‬‭geography,‬‭you‬
 ‭should‬ ‭describe‬ ‭how‬ ‭the‬ ‭program‬ ‭will‬ ‭serve‬ ‭these‬ ‭communities‬ ‭and‬ ‭meaningfully‬‭involve‬
  ‭these communities in program planning and operations.‬
   ‭Two‬ ‭federally‬ ‭recognized‬‭Tribes‬‭–‬‭the‬‭Ute‬‭Mountain‬‭Ute‬‭and‬‭the‬‭Southern‬‭Ute‬‭–‬‭are‬‭located‬‭in‬
    ‭Colorado.‬ ‭Colorado‬‭law‬‭requires‬‭that‬‭any‬‭programs‬‭and‬‭benefits‬‭available‬‭to‬‭local‬‭governments‬
     ‭also‬‭must‬‭be‬‭available‬‭to‬‭the‬‭Tribes.‬‭We‬‭will‬‭work‬‭through‬‭the‬‭Colorado‬‭Commission‬‭of‬‭Indian‬
      ‭Affairs‬ ‭to‬ ‭convene‬ ‭government-to-government‬ ‭meetings‬ ‭to‬ ‭share‬ ‭information‬ ‭and‬ ‭invite‬ ‭the‬
       ‭Tribes‬‭to‬‭participate‬‭in‬‭COS4A.‬‭For‬‭the‬‭last‬‭year‬‭and‬‭a‬‭half‬‭CEO‬‭has‬‭been‬‭building‬‭relationships‬
        ‭and‬‭trust‬‭with‬‭the‬‭Tribes‬‭and‬‭getting‬‭a‬‭better‬‭understanding‬‭of‬‭their‬‭needs‬‭and‬‭interests.‬‭CEO‬‭has‬
         ‭been‬ ‭exploring‬ ‭ways‬‭to‬‭collaborate,‬‭share‬‭funding‬‭opportunities‬‭and‬‭remove‬‭application‬‭burden‬
          ‭when‬ ‭possible‬ ‭since‬ ‭that‬ ‭is‬ ‭a‬ ‭barrier‬ ‭they‬ ‭have‬ ‭expressed‬ ‭based‬ ‭on‬ ‭their‬ ‭capacity.‬ ‭If‬ ‭the‬ ‭Tribe‬
           ‭government‬ ‭chooses‬ ‭to‬ ‭participate,‬ ‭we‬ ‭will‬ ‭suggest‬ ‭participation‬ ‭in‬ ‭stakeholder‬ ‭engagement,‬
            ‭leader‬‭interviews,‬‭and‬‭the‬‭Advisory‬‭Council.‬ ‭We‬‭will‬‭welcome‬‭applications‬‭from‬‭the‬‭Tribes‬‭for‬
             ‭the‬‭Pathway‬‭3‬‭approach‬‭to‬‭community‬‭led,‬‭community-designed‬‭program‬‭participation.‬‭We‬‭also‬
              ‭recognize‬ ‭that‬ ‭many‬ ‭American‬ ‭Indians‬ ‭residing‬ ‭in‬ ‭Colorado,‬ ‭outside‬ ‭of‬ ‭the‬ ‭Ute‬ ‭Mountain‬‭Ute‬
               ‭and‬ ‭Southern‬ ‭Ute‬ ‭reservations,‬ ‭will‬ ‭be‬ ‭income-eligible‬ ‭for‬ ‭COS4A.‬ ‭As‬ ‭a‬ ‭historically‬
                ‭underserved,‬‭and‬‭heavily‬‭energy-‬‭and‬‭housing-cost‬‭burdened‬‭community,‬‭we‬‭will‬‭seek‬‭to‬‭partner‬
                 ‭with organizations and community leaders to reach these households to participate in COS4A.‬


‭7.‬‭Program Planning Timeline and Workplan Narrative‬
‭ hase‬‭I‬‭Planning:‬ ‭If‬‭awarded‬‭funds,‬‭the‬‭first‬‭6‬‭months‬‭of‬‭the‬‭program‬‭will‬‭be‬‭dedicated‬‭to‬‭hiring‬
P
‭staff,‬ ‭planning‬‭and‬‭program‬‭development.‬ ‭While‬‭the‬‭overall‬‭objectives‬‭of‬‭the‬‭COS4A‬‭program‬
 ‭will‬ ‭remain‬ ‭the‬ ‭same‬ ‭-‬ ‭to‬ ‭deliver‬ ‭single-family‬ ‭rooftop‬ ‭solar,‬ ‭multifamily‬ ‭rooftop‬ ‭solar‬ ‭and‬
  ‭community‬ ‭solar‬ ‭-‬ ‭the‬ ‭execution‬ ‭strategies‬ ‭and‬ ‭reporting‬ ‭methods‬ ‭need‬ ‭to‬ ‭be‬ ‭developed‬ ‭and‬
   ‭finalized.‬ ‭This‬ ‭will‬ ‭include‬ ‭confirming‬ ‭the‬ ‭model‬ ‭assumptions‬ ‭and‬ ‭estimates‬ ‭to‬ ‭calculate‬
    ‭household‬ ‭savings;‬ ‭finalizing‬ ‭and‬ ‭integrating‬ ‭the‬ ‭program‬ ‭design‬ ‭with‬‭existing‬‭state‬‭programs,‬
     ‭partner‬‭programs‬‭and‬‭affordable‬‭housing‬‭developers‬‭through‬‭competitive‬‭solicitations‬‭as‬‭needed;‬
      ‭researching‬ ‭best‬ ‭practices‬ ‭for‬ ‭community‬ ‭ownership‬ ‭models‬ ‭and‬ ‭the‬ ‭creation‬ ‭of‬ ‭a‬ ‭workforce‬
       ‭development‬ ‭program.‬ ‭The‬ ‭policy‬ ‭and‬ ‭regulatory‬ ‭framework‬ ‭will‬ ‭be‬ ‭reviewed‬ ‭annually‬ ‭for‬
        ‭changes‬ ‭to‬ ‭legislation‬ ‭and‬ ‭any‬ ‭recommendations‬ ‭for‬ ‭new‬ ‭policy‬ ‭that‬ ‭would‬ ‭facilitate‬ ‭solar‬
         ‭deployment.‬‭The‬‭proposed‬‭incentives‬‭of‬‭the‬‭financing‬‭model‬‭will‬‭need‬‭to‬‭be‬‭aligned‬‭with‬‭current‬
          ‭market‬ ‭conditions‬ ‭and‬ ‭parameters‬ ‭of‬ ‭when‬ ‭enabling‬ ‭upgrades‬ ‭will‬ ‭be‬ ‭allowed‬‭need‬‭to‬‭be‬‭fully‬
           ‭defined.‬‭The‬‭technical‬‭assistance‬‭strategy‬‭for‬‭(1)‬‭workforce‬‭development‬‭needs‬‭to‬‭be‬‭coordinated‬


                                                                                                                                       ‭36‬
Case 1:25-cv-00039-JJM-PAS                        Document 68-123                 Filed 02/07/25            Page 339 of 556
                                                    PageID #: 6269
‭Colorado Solar For All: Program Narrative‬                                                                     ‭October 2023‬


‭ ith‬ ‭existing‬ ‭programs‬ ‭as‬ ‭well‬ ‭as‬ ‭proposed‬ ‭for‬ ‭integration‬ ‭into‬ ‭the‬ ‭solar‬ ‭development‬
w
‭solicitations/contracts;‬ ‭(2)‬ ‭interconnections‬ ‭need‬ ‭to‬ ‭be‬ ‭vetted‬ ‭with‬ ‭the‬ ‭utilities‬ ‭and‬ ‭(3)‬ ‭any‬
 ‭barriers‬ ‭associated‬ ‭with‬ ‭project‬ ‭siting,‬ ‭land-use,‬ ‭permitting‬ ‭or‬ ‭building‬ ‭codes‬ ‭need‬ ‭to‬ ‭be‬
  ‭evaluated.‬ ‭The‬ ‭Advisory‬ ‭Council‬ ‭will‬ ‭need‬ ‭to‬ ‭be‬ ‭recruited‬ ‭which‬ ‭will‬ ‭in-turn‬ ‭help‬ ‭inform‬
   ‭program design as well educational outreach and community involvement.‬

‭ hase‬‭II‬‭Execution:‬ ‭After‬‭the‬‭program‬‭specifics‬‭have‬‭been‬‭determined,‬‭COS4A‬‭will‬‭transition‬‭to‬
P
‭execution‬‭mode‬‭through‬‭the‬‭procurement‬‭and‬‭solicitation‬‭process.‬ ‭Single-family‬‭rooftop‬‭solar‬‭is‬
 ‭expected‬‭to‬‭deploy‬‭first‬‭while‬‭outreach‬‭to‬‭multi-family‬‭owners‬‭will‬‭commence‬‭and‬‭planning‬‭for‬
  ‭community‬ ‭solar‬ ‭developments‬ ‭will‬ ‭begin.‬ ‭Program‬ ‭milestones‬ ‭will‬ ‭be‬ ‭established‬‭during‬‭the‬
   ‭planning‬ ‭period‬ ‭and‬ ‭the‬ ‭first‬ ‭year‬ ‭will‬ ‭help‬ ‭determine‬ ‭market‬ ‭uptake‬ ‭and‬ ‭inform‬ ‭program‬
    ‭projections‬ ‭and‬ ‭any‬ ‭necessary‬ ‭adjustments.‬ ‭With‬ ‭community‬ ‭solar‬ ‭projects‬ ‭averaging‬ ‭9-12‬
     ‭months‬‭to‬‭acquire‬‭land,‬‭obtain‬‭zoning‬‭approvals,‬‭receive‬‭utility‬‭approvals,‬‭construct,‬‭connect‬‭and‬
      ‭activate‬ ‭the‬ ‭solar‬ ‭garden,‬ ‭it‬ ‭could‬ ‭be‬ ‭half‬ ‭way‬‭through‬‭the‬‭program’s‬‭five-year‬‭program‬‭period‬
       ‭before‬ ‭systems‬ ‭come‬ ‭online‬ ‭and‬ ‭meaningful‬ ‭data‬ ‭can‬ ‭be‬ ‭obtained‬‭for‬‭all‬‭the‬‭installation‬‭types.‬
        ‭Programs‬ ‭will‬ ‭be‬ ‭implemented‬ ‭using‬ ‭a‬ ‭continuous‬ ‭improvement‬ ‭approach,‬ ‭which‬ ‭may‬ ‭require‬
         ‭modifying‬ ‭program‬ ‭design‬ ‭and‬ ‭incentives‬ ‭over‬ ‭time,‬ ‭to‬ ‭maximize‬ ‭program‬ ‭impact‬ ‭and‬ ‭stay‬
          ‭responsive to changes in the market.‬
‭ hase‬ ‭III‬ ‭Closeout:‬ ‭The‬ ‭final‬ ‭phase‬ ‭of‬ ‭the‬ ‭program‬ ‭will‬ ‭be‬ ‭to‬ ‭commence‬ ‭closeout.‬ ‭This‬ ‭will‬
P
‭include‬ ‭submitting‬ ‭the‬ ‭final‬ ‭financial‬ ‭and‬ ‭programmatic‬ ‭reports.‬ ‭In‬ ‭accordance‬ ‭with‬ ‭OMB‬
 ‭Uniform‬ ‭Grants‬ ‭Guidance‬ ‭§200.343,‬ ‭CEO‬ ‭will‬ ‭submit‬ ‭all‬ ‭financial,‬ ‭performance,‬ ‭and‬ ‭other‬
  ‭reports‬ ‭required‬ ‭under‬ ‭the‬ ‭grant‬ ‭within‬ ‭90‬ ‭days‬ ‭after‬ ‭the‬ ‭grant‬ ‭award‬ ‭expires‬‭or‬‭is‬‭terminated.‬
   ‭This‬ ‭will‬ ‭require‬ ‭a‬ ‭phase-down‬ ‭approach‬ ‭to‬ ‭ensure‬ ‭that‬ ‭projects‬ ‭are‬ ‭planned‬ ‭with‬ ‭completion‬
    ‭deadlines in advance of the program end date.‬


2‭ ‬‭.‬‭Program Administration Narrative‬
  ‭1.‬‭Budget Narrative‬
‭ EO,‬‭as‬‭part‬‭of‬‭the‬‭state‬‭of‬‭Colorado‬‭infrastructure,‬‭has‬‭detailed‬‭procedures‬‭in‬‭place‬‭to‬‭distribute‬
C
‭and‬ ‭deploy‬ ‭funds.‬ ‭A‬ ‭major‬ ‭aspect‬ ‭of‬ ‭this‬ ‭infrastructure‬ ‭is‬ ‭built‬ ‭and‬ ‭maintained‬ ‭in‬ ‭the‬ ‭state‬ ‭of‬
 ‭Colorado’s‬ ‭Office‬ ‭of‬ ‭the‬ ‭State‬ ‭Controller‬ ‭(OSC).‬ ‭Colorado‬ ‭Revised‬ ‭Statutes‬ ‭created‬ ‭the‬ ‭OSC.‬
  ‭Part‬ ‭2,‬ ‭Title‬ ‭24,‬ ‭Article‬ ‭30,‬ ‭C.R.S.,‬ ‭lists‬ ‭the‬ ‭powers‬ ‭and‬ ‭duties‬ ‭of‬ ‭the‬ ‭State‬ ‭Controller‬ ‭and‬ ‭is‬
   ‭incorporated‬ ‭as‬ ‭a‬ ‭reference‬ ‭into‬ ‭each‬ ‭of‬ ‭these‬ ‭Fiscal‬ ‭Rules.‬ ‭Section‬ ‭24-30-202(13),‬ ‭C.R.S.‬
    ‭provides‬ ‭the‬ ‭authority‬ ‭of‬ ‭the‬ ‭State‬ ‭Controller‬ ‭to‬ ‭issue‬ ‭binding‬ ‭Fiscal‬ ‭Rules‬ ‭and‬ ‭is‬ ‭specifically‬
     ‭incorporated‬ ‭into‬ ‭each‬ ‭of‬ ‭these‬ ‭State‬ ‭Fiscal‬ ‭Rules‬ ‭as‬ ‭statutory‬ ‭authority.‬ ‭The‬ ‭purpose‬ ‭of‬ ‭the‬
      ‭Fiscal‬ ‭Rules‬ ‭is‬ ‭to‬ ‭implement‬ ‭statutory‬ ‭provisions,‬ ‭set‬ ‭forth‬ ‭principles‬ ‭concerning‬ ‭internal‬
       ‭controls,‬ ‭accounting‬ ‭policies,‬ ‭and‬ ‭financial‬ ‭reporting‬ ‭for‬ ‭the‬ ‭state‬ ‭of‬ ‭Colorado,‬ ‭and‬ ‭assist‬ ‭the‬
        ‭State‬ ‭Controller‬ ‭in‬ ‭managing‬ ‭the‬ ‭finances‬ ‭and‬ ‭financial‬ ‭affairs‬ ‭of‬ ‭the‬ ‭state.‬ ‭This‬ ‭includes‬
         ‭controller‬ ‭policies‬ ‭and‬ ‭procedures‬ ‭for‬ ‭general‬ ‭operations‬ ‭such‬ ‭as‬ ‭running‬ ‭a‬ ‭competitive‬ ‭bid‬
          ‭process‬‭for‬‭subrecipients,‬‭travel‬‭guidance,‬‭and‬‭contract‬‭policies.‬‭CEO‬‭already‬‭has‬‭experience‬‭in‬
           ‭operating federal funds under these guidelines and with that experience comes efficiency.‬
I‭ n‬ ‭accordance‬ ‭with‬ ‭the‬ ‭Request‬ ‭for‬ ‭Application‬ ‭guidance,‬ ‭Colorado‬ ‭will‬‭be‬‭dedicating‬‭75%‬‭of‬
 ‭the‬ ‭awarded‬ ‭funds‬ ‭towards‬ ‭financial‬ ‭assistance‬ ‭(including‬ ‭subgrants,‬ ‭subsidies‬‭and‬‭loans).‬‭The‬
  ‭current‬ ‭financial‬ ‭model‬ ‭estimates‬ ‭approximately‬ ‭40%‬ ‭of‬ ‭the‬ ‭single‬ ‭family‬ ‭homes‬ ‭will‬ ‭require‬


                                                                                                                                  ‭37‬
Case 1:25-cv-00039-JJM-PAS                            Document 68-123                   Filed 02/07/25               Page 340 of 556
                                                        PageID #: 6270
‭Colorado Solar For All: Program Narrative‬                                                                              ‭October 2023‬


‭ ain‬ ‭electrical‬ ‭panel‬ ‭upgrades.‬ ‭This‬‭equates‬‭to‬‭approximately‬‭8%‬‭of‬‭the‬‭single-family‬‭rooftop‬
m
‭solar‬ ‭investment‬ ‭or‬ ‭less‬ ‭than‬ ‭3%‬ ‭of‬ ‭the‬ ‭total‬ ‭financial‬ ‭assistance‬ ‭package.‬ ‭Existing‬ ‭programs‬
 ‭such‬ ‭as‬ ‭WAP,‬ ‭IRA‬ ‭Home‬ ‭Rebate‬ ‭programs‬ ‭and‬ ‭other‬ ‭funding‬ ‭sources‬ ‭will‬ ‭be‬ ‭leveraged‬ ‭to‬
  ‭provide‬ ‭the‬ ‭enabling‬ ‭upgrades‬ ‭for‬ ‭weatherization‬ ‭and‬ ‭energy‬ ‭efficiency‬ ‭before‬ ‭Solar‬ ‭for‬ ‭All‬
   ‭funds‬ ‭are‬ ‭deployed.‬ ‭The‬ ‭primary‬ ‭objective‬ ‭of‬ ‭the‬ ‭funding‬ ‭is‬ ‭solar‬ ‭deployment‬ ‭and‬ ‭while‬ ‭the‬
    ‭extent‬‭of‬‭enabling‬‭upgrades‬‭is‬‭unknown,‬‭some‬‭of‬‭the‬‭funds‬‭may‬‭be‬‭diverted‬‭to‬‭support‬‭enabling‬
     ‭upgrades‬‭if‬‭necessary.‬‭The‬‭financial‬‭assistance‬‭will‬‭be‬‭issued‬‭through‬‭a‬‭competitive‬‭bid‬‭process‬
      ‭to‬ ‭financial‬ ‭institutions,‬ ‭solar‬ ‭developers‬ ‭or‬ ‭third-party‬ ‭operators‬ ‭that‬ ‭can‬ ‭take‬ ‭advantage‬ ‭of‬
       ‭federal‬‭tax‬‭credits‬‭which‬‭will‬‭ultimately‬‭be‬‭transferred‬‭to‬‭the‬‭residents.‬ ‭The‬‭distribution‬‭of‬‭funds‬
        ‭through‬ ‭the‬ ‭financial‬ ‭assistance‬ ‭strategy‬ ‭is‬ ‭the‬‭mechanism‬‭to‬‭deliver‬‭the‬‭benefits‬‭of‬‭affordable,‬
         ‭resilient,‬ ‭and‬ ‭clean‬ ‭solar‬ ‭energy‬ ‭which‬ ‭will‬ ‭result‬ ‭in‬ ‭lower‬ ‭utility‬ ‭bills‬ ‭to‬ ‭LIDC‬ ‭residents‬ ‭of‬
          ‭Colorado.‬
‭ he‬ ‭remaining‬ ‭25%‬ ‭of‬ ‭the‬ ‭funds‬ ‭will‬‭support‬‭technical‬‭assistance,‬‭workforce‬‭development‬‭and‬
T
‭program‬ ‭administration.‬ ‭The‬ ‭technical‬ ‭assistance‬ ‭and‬ ‭workforce‬ ‭development‬ ‭will‬ ‭be‬ ‭issued‬
 ‭through‬ ‭a‬ ‭competitive‬ ‭bid‬ ‭process‬ ‭to‬ ‭entities‬ ‭like‬ ‭community‬ ‭based‬ ‭organizations,‬ ‭non-profit‬
  ‭organizations‬ ‭and‬ ‭workforce‬ ‭development‬ ‭programs.‬ ‭Other‬ ‭entities‬ ‭may‬ ‭be‬ ‭contracted‬ ‭to‬ ‭help‬
   ‭with‬ ‭community‬ ‭engagement‬ ‭strategies,‬ ‭including‬ ‭education,‬ ‭outreach,‬ ‭and‬ ‭dissemination‬ ‭of‬
    ‭information‬ ‭to‬ ‭the‬ ‭public;‬ ‭customer‬ ‭acquisition‬ ‭support;‬ ‭management‬ ‭and‬ ‭verification‬
     ‭requirements‬‭and‬‭cross-program‬‭coordination‬‭specific‬‭to‬‭project‬‭deployment.‬‭The‬‭strategies‬‭and‬
      ‭specifics‬‭of‬‭this‬‭deployment‬‭will‬‭be‬‭determined‬‭in‬‭the‬‭planning‬‭period.‬ ‭The‬‭remaining‬‭funds‬‭will‬
       ‭be‬‭distributed‬‭through‬‭direct‬‭costs‬‭for‬‭personnel.‬ ‭A‬‭new‬‭program‬‭team‬‭will‬‭be‬‭hired‬‭including‬‭a‬
        ‭senior‬ ‭program‬ ‭director‬ ‭as‬ ‭well‬ ‭as‬ ‭dedicated‬ ‭staff‬ ‭to‬ ‭provide‬ ‭program‬ ‭management,‬ ‭fiscal‬
         ‭stewardship,‬ ‭procurement,‬ ‭reporting‬ ‭and‬ ‭monitoring,‬ ‭quality‬ ‭control‬ ‭and‬ ‭outreach‬ ‭services.‬
          ‭Additionally,‬ ‭localized‬ ‭regional‬ ‭coordinators‬ ‭will‬‭be‬‭hired‬‭to‬‭help‬‭with‬‭outreach,‬‭education‬‭and‬
           ‭coordination‬ ‭of‬ ‭workforce‬ ‭development‬ ‭opportunities.‬ ‭Furthermore,‬ ‭an‬ ‭Advisory‬ ‭Council‬ ‭is‬
            ‭proposed,‬ ‭made‬ ‭up‬ ‭of‬ ‭stakeholders‬ ‭who‬ ‭represent‬ ‭historically‬ ‭underserved‬ ‭and‬ ‭disadvantaged‬
             ‭communities,‬ ‭workforce‬ ‭and‬ ‭labor,‬ ‭local‬ ‭governments,‬ ‭utilities,‬ ‭affordable‬ ‭housing,‬ ‭service‬
              ‭providers,‬ ‭financing‬ ‭and‬ ‭lenders,‬ ‭and‬ ‭others‬ ‭key‬ ‭to‬ ‭the‬ ‭successful‬ ‭implementation‬ ‭of‬ ‭this‬
               ‭program.‬ ‭Council‬ ‭participation‬ ‭will‬ ‭be‬ ‭financially‬ ‭compensated‬ ‭and‬ ‭members‬‭will‬‭be‬‭provided‬
                ‭with‬‭a‬‭series‬‭of‬‭training‬‭opportunities‬‭and‬‭facilitated‬‭conversations‬‭to‬‭develop‬‭a‬‭shared‬‭vision‬‭of‬
                 ‭best‬‭practices‬‭for‬‭COS4A.‬‭The‬‭Advisory‬‭Council‬‭will‬‭be‬‭supported‬‭through‬‭the‬‭five-year‬‭project‬
                  ‭timeline,‬‭with‬‭responsibilities‬‭including‬‭recommending‬‭programmatic‬‭and‬‭operational‬‭changes‬‭as‬
                   ‭needed;‬ ‭providing‬ ‭input‬ ‭on‬ ‭subgrant‬ ‭evaluation‬ ‭criteria;‬ ‭reviewing‬ ‭and‬ ‭providing‬ ‭feedback‬ ‭on‬
                    ‭messaging‬ ‭and‬ ‭educational‬ ‭materials;‬ ‭and‬ ‭representing‬ ‭the‬ ‭program‬ ‭to‬ ‭and‬ ‭gathering‬ ‭feedback‬
                     ‭from‬‭their‬‭communities.‬‭By-laws‬‭and‬‭governance‬‭documents‬‭will‬‭be‬‭created,‬‭including‬‭definition‬
                      ‭of‬ ‭the‬ ‭governance‬ ‭structure‬ ‭and‬ ‭accountability‬ ‭for‬ ‭integrating‬ ‭Advisory‬ ‭Council‬ ‭feedback‬ ‭into‬
                       ‭the‬ ‭program‬ ‭design‬‭and‬‭operations.‬‭Dedicated‬‭funding‬‭will‬‭also‬‭support‬‭community-based‬‭pilot‬
                        ‭projects,‬ ‭language‬ ‭services,‬ ‭consultant‬ ‭services‬ ‭to‬ ‭ensure‬ ‭tax‬ ‭credits‬ ‭are‬ ‭maximized‬ ‭and‬ ‭travel‬
                         ‭around the state to facilitate outreach.‬
‭ EO‬‭will‬‭adhere‬‭to‬‭and‬‭abide‬‭by‬‭the‬‭allowable‬‭and‬‭unallowable‬‭costs‬‭in‬‭Section‬‭III.D:‬‭Allowable‬
C
‭and‬ ‭Unallowable‬ ‭Costs.‬ ‭Lastly,‬ ‭CEO‬ ‭has‬ ‭a‬ ‭negotiated‬ ‭indirect‬ ‭rate‬ ‭from‬ ‭the‬ ‭Department‬ ‭of‬
 ‭Health and Human Services of 44.5% applied to the base of salaries and fringe expenses.‬




                                                                                                                                             ‭38‬
Case 1:25-cv-00039-JJM-PAS                       Document 68-123                 Filed 02/07/25            Page 341 of 556
                                                   PageID #: 6271
‭Colorado Solar For All: Program Narrative‬                                                                    ‭October 2023‬



 ‭2.‬‭Fiscal Stewardship Plan‬
‭ s‬‭an‬‭existing‬‭state‬‭agency,‬‭CEO‬‭has‬‭robust‬‭internal‬‭controls‬‭in‬‭place‬‭that‬‭align‬‭with‬‭§200.303.‬
A
‭In‬ ‭February‬ ‭2016‬ ‭the‬ ‭Office‬ ‭of‬ ‭State‬ ‭Controller‬ ‭issued‬ ‭a‬ ‭policy‬ ‭entitled‬ ‭“Internal‬ ‭Control‬
 ‭System.”‬ ‭The‬ ‭policy‬ ‭makes‬ ‭it‬ ‭mandatory‬ ‭that‬ ‭State‬ ‭agencies‬ ‭adopt‬ ‭and‬ ‭follow‬ ‭the‬ ‭U.S.‬
  ‭Government‬ ‭Accountability‬ ‭Office’s‬ ‭(USGAO)‬ ‭Standards‬ ‭for‬ ‭Internal‬ ‭Control‬ ‭in‬ ‭the‬ ‭Federal‬
   ‭Government‬ ‭(commonly‬ ‭referred‬ ‭to‬‭as‬‭the‬‭Green‬‭Book).‬‭As‬‭part‬‭of‬‭this,‬‭there‬‭is‬‭segregation‬‭of‬
    ‭duties‬ ‭in‬ ‭the‬ ‭submission‬ ‭and‬ ‭approval‬ ‭process‬ ‭as‬ ‭well‬ ‭as‬ ‭procurement‬ ‭and‬ ‭accounting.‬ ‭The‬
     ‭current‬ ‭structure‬ ‭is‬ ‭set‬ ‭up‬ ‭so‬ ‭that‬ ‭each‬‭expense‬‭is‬‭reviewed‬‭by‬‭multiple‬‭staff‬‭for‬‭compliance‬‭in‬
      ‭alignment‬‭with‬‭federal‬‭statutes,‬‭regulations,‬‭and‬‭terms‬‭of‬‭the‬‭award.‬‭CEO‬‭utilizes‬‭Salesforce‬‭for‬
       ‭approval‬‭of‬‭purchases.‬‭If‬‭a‬‭staff‬‭member‬‭wants‬‭to‬‭make‬‭a‬‭purchase,‬‭a‬‭request‬‭is‬‭logged‬‭into‬‭the‬
        ‭system‬‭and‬‭reviewed‬‭for‬‭approval.‬‭After‬‭approval,‬‭the‬‭expense‬‭is‬‭processed‬‭with‬‭full‬‭backup‬‭by‬
         ‭the‬ ‭accounting‬ ‭team.‬ ‭When‬ ‭processing‬ ‭requests‬ ‭for‬ ‭reimbursement‬ ‭from‬ ‭DOE,‬ ‭the‬ ‭operations‬
          ‭team‬ ‭reviews‬ ‭a‬ ‭summary‬ ‭of‬ ‭expenses,‬ ‭to‬ ‭ensure‬ ‭compliance‬ ‭and‬ ‭accurate‬ ‭chart‬ ‭of‬ ‭account‬
           ‭elements.‬ ‭If‬ ‭an‬ ‭instance‬ ‭of‬ ‭noncompliance‬ ‭is‬ ‭identified,‬ ‭the‬ ‭issue‬ ‭is‬ ‭resolved‬ ‭promptly.‬ ‭CEO‬
            ‭expects a similar level of internal controls from subrecipients.‬
‭ EO‬ ‭requires‬ ‭a‬ ‭risk‬ ‭assessment‬ ‭form‬ ‭be‬ ‭completed‬ ‭during‬ ‭the‬‭contracting‬‭phase‬‭of‬‭the‬‭award.‬
C
‭The‬ ‭risk‬ ‭assessment‬ ‭is‬ ‭a‬ ‭framework‬ ‭that‬ ‭was‬ ‭developed‬ ‭by‬ ‭the‬ ‭Colorado‬ ‭Office‬ ‭of‬ ‭the‬ ‭State‬
 ‭Controller‬ ‭to‬ ‭assesses‬ ‭risk‬ ‭based‬ ‭on‬ ‭a‬ ‭number‬ ‭of‬ ‭factors‬ ‭including:‬ ‭previous‬ ‭experience‬ ‭with‬
  ‭similar‬ ‭subawards,‬ ‭previous‬ ‭audit‬ ‭findings/provide‬‭a‬‭copy‬‭of‬‭the‬‭lastest‬‭audit,‬‭reporting‬‭of‬‭new‬
   ‭personnel‬‭or‬‭systems‬‭in‬‭place‬‭at‬‭the‬‭agency‬‭and‬‭details‬‭of‬‭their‬‭accounting‬‭system‬‭to‬‭ensure‬‭they‬
    ‭can‬ ‭maintain‬ ‭segregated‬ ‭accounts‬ ‭to‬ ‭manage‬‭the‬‭funds.‬ ‭This‬‭is‬‭documented‬‭in‬‭the‬‭OSC‬‭Guide‬
     ‭for Monitoring Subrecipients. These procedures are consistent with §200.332(b).‬
‭ fter‬ ‭award,‬ ‭in‬ ‭alignment‬ ‭with‬ ‭§200.332(d)‬ ‭CEO‬ ‭conducts‬ ‭monitoring‬ ‭based‬ ‭on‬ ‭assessed‬ ‭risk‬
A
‭level,‬ ‭high‬ ‭risk‬ ‭grantees‬ ‭receive‬ ‭more‬ ‭comprehensive‬ ‭frequent‬ ‭monitoring‬‭and‬‭lower‬‭risk‬‭level‬
 ‭grantees‬‭receive‬‭sampling‬‭style‬‭monitoring.‬‭This‬‭process‬‭ensures‬‭that‬‭all‬‭subrecipient‬‭spending‬‭is‬
  ‭evaluated‬ ‭for‬ ‭compliance‬ ‭with‬ ‭the‬ ‭terms‬ ‭and‬ ‭conditions‬ ‭of‬ ‭the‬ ‭award.‬ ‭For‬ ‭both‬ ‭CEO‬ ‭and‬ ‭any‬
   ‭subrecipient,‬‭waste,‬‭fraud,‬‭and‬‭abuse‬‭will‬‭not‬‭be‬‭tolerated‬‭and‬‭will‬‭be‬‭identified.‬‭CEO‬‭mitigates‬
    ‭the‬ ‭risk‬ ‭of‬ ‭fraud,‬ ‭waste,‬ ‭and‬ ‭abuse‬ ‭by‬ ‭ensuring‬ ‭all‬ ‭expenditures‬ ‭are‬ ‭allowable‬ ‭via‬ ‭all‬ ‭of‬ ‭the‬
     ‭reconciliations‬ ‭and‬ ‭approval‬ ‭processes‬ ‭as‬ ‭described‬ ‭above‬ ‭with‬ ‭the‬ ‭Salesforce‬ ‭process.‬ ‭This‬
      ‭approval process is mapped and documented through the Salesforce Active Approval Matrix.‬

‭ EO‬‭will‬‭ensure‬‭comprehensive‬‭consumer‬‭protections‬‭throughout‬‭the‬‭COS4A‬‭program‬‭to‬‭ensure‬
C
‭that contracted savings are actually achieved and to reduce participant risk. These include:‬
     ‭●‬ ‭A contractor vetting and approval process for all COS4A projects.‬
      ‭●‬ ‭Standard‬ ‭disclosure‬ ‭forms‬ ‭written‬ ‭in‬ ‭clear‬ ‭and‬ ‭concise‬ ‭language‬ ‭and‬ ‭available‬ ‭in‬ ‭all‬
              ‭common languages across Colorado.‬
       ‭●‬ ‭Warranties and guarantees of workmanship for all COS4A projects.‬
        ‭●‬ ‭Multi-lingual‬ ‭customer‬ ‭service‬ ‭to‬ ‭answer‬ ‭questions,‬ ‭explain‬ ‭program‬ ‭requirements,‬
               ‭disclosures and warranties.‬
         ‭●‬ ‭Standard branding to clarify projects that are and are not connected to COS4A.‬
          ‭●‬ ‭Financial‬ ‭protections:‬ ‭no‬ ‭securing‬ ‭solar‬ ‭loans‬ ‭against‬ ‭single-family‬ ‭properties;‬ ‭seek‬ ‭to‬
                ‭avoid‬ ‭placing‬ ‭liens‬ ‭on‬ ‭properties‬ ‭to‬ ‭secure‬ ‭loans,‬ ‭unless‬ ‭the‬ ‭size‬‭and‬‭risk‬‭profile‬‭of‬‭the‬
                 ‭project‬‭necessitates‬‭a‬‭lien‬‭on‬‭the‬‭real‬‭estate;‬‭full‬‭disclosure‬‭of‬‭grant‬‭opportunities‬‭prior‬‭to‬




                                                                                                                                 ‭39‬
Case 1:25-cv-00039-JJM-PAS                   Document 68-123              Filed 02/07/25          Page 342 of 556
                                               PageID #: 6272
‭Colorado Solar For All: Program Narrative‬                                                           ‭October 2023‬


            l‭oans;‬ ‭exploring‬‭opportunities‬‭for‬‭replacement‬‭reserve‬‭funds‬‭for‬‭malfunctioning‬‭systems‬
         ‭post warranty but pre-20 year.‬
    ‭●‬ ‭No‬‭upfront‬‭costs‬‭and‬‭no‬‭penalties‬‭for‬‭termination‬‭of‬‭community‬‭solar‬‭subscriptions.‬‭Clear‬
          ‭multi-lingual communications around costs, savings, and risks.‬
                 ‭○‬ ‭5% physical inspection rate rooftop systems‬
                  ‭○‬ ‭5% client follow up on single-family rooftop systems‬
     ‭●‬ ‭Data‬ ‭collection‬ ‭on‬ ‭all‬ ‭systems;‬ ‭annual‬ ‭data‬ ‭analysis‬ ‭and‬ ‭audit‬ ‭of‬ ‭projected‬ ‭vs‬ ‭actual‬
           ‭savings by installer to ensure installation integrity.‬


 ‭3.‬‭Reporting Plan‬
‭ EO‬ ‭intends‬ ‭to‬ ‭hire‬ ‭two‬ ‭data‬ ‭analysts‬‭dedicated‬‭to‬‭developing‬‭and‬‭executing‬‭a‬‭plan‬‭to‬‭publish‬
C
‭data,‬ ‭evidence,‬ ‭and‬ ‭evaluation‬ ‭reports‬ ‭publicly‬ ‭during‬ ‭the‬ ‭program‬ ‭lifetime.‬ ‭These‬ ‭individuals‬
 ‭will‬ ‭be‬ ‭responsible‬‭for‬‭developing‬‭the‬‭underlying‬‭methodologies,‬‭identifying‬‭technologies,‬‭data‬
  ‭sources,‬ ‭inputs‬ ‭and‬ ‭assumptions,‬ ‭and‬ ‭other‬ ‭significant‬ ‭analytical‬ ‭choices‬ ‭used‬ ‭to‬ ‭calculate‬ ‭or‬
   ‭estimate‬ ‭outputs‬ ‭and‬ ‭outcomes.‬ ‭They‬ ‭will‬ ‭also‬ ‭be‬ ‭responsible‬ ‭for‬ ‭submitting‬ ‭annual‬ ‭reports‬
    ‭within‬‭30‬‭days‬‭of‬‭the‬‭end‬‭of‬‭each‬‭reporting‬‭period,‬‭as‬‭well‬‭as‬‭a‬‭final‬‭program‬‭report,‬‭within‬‭120‬
     ‭days after the end of the project period.‬

‭ EO‬‭will‬‭conduct‬‭quarterly‬‭program‬‭evaluation,‬‭tracking‬‭measures‬‭including:‬‭household‬‭income‬
C
‭or‬ ‭income-qualified‬ ‭program‬ ‭participation;‬ ‭household‬ ‭demographics;‬ ‭geographic‬ ‭location‬
 ‭(county);‬ ‭location‬ ‭in‬ ‭disadvantaged‬ ‭community‬ ‭(y/n);‬ ‭rural/urban/suburban‬ ‭location;‬ ‭and‬
  ‭occupant‬ ‭tenancy‬ ‭(renter/homeowner).‬ ‭Program‬ ‭outcomes‬ ‭such‬ ‭as‬ ‭electricity‬ ‭generated;‬
   ‭greenhouse‬ ‭gas‬ ‭emissions‬ ‭reductions‬ ‭and‬ ‭installed‬ ‭capacity‬ ‭(MW)‬ ‭will‬ ‭also‬ ‭be‬ ‭gathered.‬ ‭All‬
    ‭avoided‬ ‭emissions‬ ‭calculations‬ ‭will‬ ‭be‬ ‭calculated‬‭utilizing‬‭the‬‭EPA‬‭AVERT‬‭web‬‭edition‬‭unless‬
     ‭determined‬ ‭otherwise‬ ‭during‬ ‭the‬ ‭planning‬ ‭period.‬ ‭This‬‭information‬‭will‬‭be‬‭publically‬‭available‬
      ‭for‬‭program‬‭transparency.‬‭Evaluations‬‭will‬‭be‬‭conducted‬‭in‬‭adherence‬‭with‬‭EPA‬‭Order‬‭1000.33,‬
       ‭U.S.‬ ‭Environmental‬ ‭Protection‬ ‭Agency‬ ‭Policy‬ ‭for‬ ‭Evaluations‬ ‭and‬ ‭Other‬ ‭Evidence-Building‬
        ‭Activities, including timely publication of findings.‬


3‭ .‬ ‭Programmatic‬ ‭Capability‬ ‭and‬ ‭Environmental‬ ‭Results‬ ‭Past‬
 ‭Performance‬
‭See Attachment F‬




                                                                                                                       ‭40‬
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 343 of 556
                               PageID #: 6273




                 EXHIBIT M
Toor Declaration  Exhibit M
         Case 1:25-cv-00039-JJM-PAS                               Document 68-123                 Filed 02/07/25             Page 344 of 556
                                                                    PageID #: 6274
                                                                                                                       5H - 84090401 - 0   Page 1
                                                                                    GRANT NUMBER (FAIN):           84090401
                                                                                    MODIFICATION NUMBER:           0                   DATE OF AWARD
                              U.S. ENVIRONMENTAL                                    PROGRAM CODE:                  5H                  07/09/2024
                                                                                    TYPE OF ACTION                                     MAILING DATE
                              PROTECTION AGENCY                                     New                                                07/12/2024
                                        Grant Agreement                             PAYMENT METHOD:                                    ACH#
                                                                                    ASAP                                               80568
  RECIPIENT TYPE:                                                                   Send Payment Request to:
  State                                                                             Contact EPA RTPFC at: rtpfc-grants@epa.gov
  RECIPIENT:                                                                        PAYEE:
  COLORADO ENERGY OFFICE                                                            COLORADO ENERGY OFFICE
  1600 BROADWAY STE 1960                                                            1600 BROADWAY STE 1960
  DENVER, CO 80202-4955                                                             DENVER, CO 80202-4955
  EIN: XX-XXXXXXX
  PROJECT MANAGER                                       EPA PROJECT OFFICER                                    EPA GRANT SPECIALIST
  Ida Mae Isaac                                         Cynthia Gonzales                                       Matthew Forte
  1600 Broadway                                         1595 Wynkoop Street, 5103                              1200 Pennsylvania Ave NW 3903R
  STE 1960                                              Denver, CO 80202                                       Washington, DC 20460
  DENVER, CO 80202-4955                                 Email: Gonzales.Cynthia@epa.gov                        Email: Forte.Matthew@epa.gov
  Email: idamae.isaac@state.co.us                       Phone: 303-312-6569                                    Phone: 202-564-2245
  Phone: 303-866-2100
  PROJECT TITLE AND DESCRIPTION

  State of Colorado - Solar For All "Note: A Special payment condition applies to this award".

  See Attachment 1 for project description.

  BUDGET PERIOD                            PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                 TOTAL PROJECT PERIOD COST
  09/01/2024 - 08/31/2029                  09/01/2024 - 08/31/2029                  $ 0.00                                   $ 0.00

                                                                  NOTICE OF AWARD
  Based on your Application dated 10/11/2023 including all modifications and amendments, the United States acting by and through the US Environmental
  Protection Agency (EPA) hereby awards $ 156,120,000.00. EPA agrees to cost-share 0.00% of all approved budget period costs incurred, up to and not
  exceeding total federal funding of $ 156,120,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to
  carry out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement
  with the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
  specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
  EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
  provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
  statutory provisions, all terms and conditions of this agreement and any attachments.

           ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                        AWARD APPROVAL OFFICE
  ORGANIZATION / ADDRESS                                                            ORGANIZATION / ADDRESS
  Environmental Protection Agency, Grants and Interagency Agreement                 Environmental Protection Agency, Office of the Greenhouse Gas Reduction
  Management Division                                                               Fund
  1200 Pennsylvania Ave, NW Mail code 3903R                                         OA - Office of the Administrator
  Washington, DC 20460                                                              1200 Pennsylvania Avenue NW
                                                                                    Washington, DC 20460
                                 THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
  Digital signature applied by EPA Award Official LaShaun Phillips - Associate Award Official                                                       DATE
                                                                                                                                                    07/09/2024
            Case 1:25-cv-00039-JJM-PAS                 Document 68-123                Filed 02/07/25                 Page 345 of 556
                                                         PageID #: 6275
                                                                                                               5H - 84090401 - 0   Page 2

                                                    EPA Funding Information
              FUNDS                                 FORMER AWARD                                  THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                               $0                           $ 155,720,000                             $ 155,720,000
EPA In-Kind Amount                                                   $0                               $ 400,000                                $ 400,000
Unexpended Prior Year Balance                                        $0                                        $0                                     $0
Other Federal Funds                                                  $0                                        $0                                     $0
Recipient Contribution                                               $0                                        $0                                     $0
State Contribution                                                   $0                                        $0                                     $0
Local Contribution                                                   $0                                        $0                                     $0
Other Contribution                                                   $0                                        $0                                     $0
Allowable Project Cost                                               $0                           $ 156,120,000                             $ 156,120,000



Assistance Program (CFDA)                     Statutory Authority                                    Regulatory Authority
66.959 - Zero-Emissions Technology Grant      2023 Consolidated Appropriations Act (PL 117-328) 2 CFR 200, 2 CFR 1500 and 40 CFR 33
Program
                                              Clean Air Act: Sec. 134(a)(1)
                                              National Environmental Policy Act: Sec. 102(2)(I)




                                                                      Fiscal
                                                      Approp.         Budget                      Object                       Cost         Obligation /
          Site Name                Req No     FY                                     PRC                   Site/Project
                                                       Code         Organization                  Class                     Organization    Deobligation
                                                                                   000MGBXG
-                               2411U41055   2224    E1SF3          QU                            4129     -                -               $ 155,720,000
                                                                                   2
                                                                                                                                            $ 155,720,000
             Case 1:25-cv-00039-JJM-PAS                      Document 68-123    Filed 02/07/25     Page 346 of 556
                                                               PageID #: 6276
                                                                                             5H - 84090401 - 0   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                        $0
 2. Fringe Benefits                                                                                                                  $0
 3. Travel                                                                                                                           $0
 4. Equipment                                                                                                                        $0
 5. Supplies                                                                                                                         $0
 6. Contractual                                                                                                                      $0
 7. Construction                                                                                                                     $0
 8. Other                                                                                                                            $0
 9. Total Direct Charges                                                                                                             $0
 10. Indirect Costs: 0.00 % Base                                                                                                     $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                  0.00 %)                                                                            $0
 12. Total Approved Assistance Amount                                                                                                $0
 13. Program Income                                                                                                                  $0
 14. Total EPA Amount Awarded This Action                                                                                 $ 156,120,000
 15. Total EPA Amount Awarded To Date                                                                                     $ 156,120,000
        Case 1:25-cv-00039-JJM-PAS       Document 68-123      Filed 02/07/25     Page 347 of 556
                                           PageID #: 6277
                                                                           5H - 84090401 - 0   Page 4

                                Attachment 1 - Project Description
Note: A special payment condition applies to this award.

This agreement provides funding under the Inflation Reduction Act. The recipient will provide financial
and technical assistance to low-income and disadvantaged communities to deploy and benefit from
residential-serving distributed solar energy and storage projects. These programs will ensure low-income
households receive residential distributed solar by providing program beneficiaries household savings,
community ownership, energy resilience, and other meaningful benefits.

Solar projects receiving financial assistance from the recipient may receive assistance for associated
energy storage and upgrades that either enable project deployment or maximize the benefits of the
project for low-income and disadvantaged communities. The recipient will also provide project-
deployment services to enable low-income and disadvantaged communities to deploy and benefit from
residential solar.The anticipated deliverables will include steps and milestones to implement the
strategies and plans for the Solar for All Program, a distribute solar market strategy, the financial
assistance strategy, the project-deployment technical assistance strategy, and an equitable access and
meaningful involvement plan.

The expected outcomes include climate and air pollution benefits, equity and community benefits, and
market transformation benefits. The intended beneficiaries include households in low-income and
disadvantaged communities.

No subawards are included in this assistance agreement.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25       Page 348 of 556
                                             PageID #: 6278
                                                                                5H - 84090401 - 0   Page 5

                                       Administrative Conditions
A. General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later. These terms
and conditions are in addition to the assurances and certifications made as a part of the award and the
terms, conditions, or restrictions cited throughout the award. The EPA repository for the general terms
and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-conditions#general.

B. Correspondence Condition (updated 06/21/24)

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

        Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and EPA Grants Specialist.

       MBE/WBE reports (EPA Form 5700-52A): DBE Coordinator, OMS-OGD-MBE_WBE@epa.gov
       and EPA Grants Specialist.

        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: EPA Project Officer
       and EPA Grants Specialist

        Payment requests (if applicable): EPA Project Officer

       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: EPA Project Officer

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period
when a recipient or subrecipient intends to provide financial assistance to a project that involves
construction or land use planning. With the exception of projects that will be carried out in the State of
California, the recipient must ensure that directly affected State, areawide, regional, and local
government entities have 60 calendar days to review the description of the project contained in the
application for funding for the project and provide comments to the EPA Project Officer. Applications for
funding for projects that will be carried out in the State of California must be submitted to the California
Single Point of Contact at https://cfda.opr.ca.gov for review as provided in California law.

The recipient agrees to comply with the provisions of 40 CFR Part 29, implementing the Demonstration
Cities, Metropolitan Development Act, the Intergovernmental Cooperation Act, and Executive Order
12372 as amended in 1983, to ensure that projects funded under federal programs are consistent with
local planning requirements.

D. Pre-Award Costs
        Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 349 of 556
                                              PageID #: 6279
                                                                                 5H - 84090401 - 0   Page 6

As provided in 2 CFR 200.458, recipients are authorized to incur pre-award costs, which are costs that
would have been allowable if incurred after the date of the Federal award. For competitive grants, EPA
interprets the requirement in the regulation that pre-award costs be incurred “directly pursuant to the
negotiation and in anticipation of the Federal award” to limit allowable pre-award costs to those a
recipient incurs after EPA has notified the recipient that its application has been selected for award
consideration and the start date of the Project Period as provided on the Notice of Award. The pre-award
costs must have been included in the recipient's application to be allowable. As provided in 2 CFR
1500.9, recipients incur pre-award cost at their own risk. Please refer to Section I.C: Pre-Award Costs of
the Interim General Budget Development Guidance for Applicants and Recipients of EPA Financial
Assistance for additional information.

E. Pre-Award Administrative Capability

The following term and condition on pre-award administrative capability applies if the recipient is an
Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the recipient is both a
Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit on the
Notice of Award:

The recipient's pre-award certification review has not been completed. EPA's policy for awarding
financial assistance in excess of $200,000 to non-profit organizations requires an Administrative
Capability Assessment review of the recipient's administrative and financial management systems to be
completed prior to the recipient drawing down any EPA funds per EPA Order 5700.8. Because EPA has
not yet completed the review, the recipient is precluded from drawing down funds under this assistance
agreement until EPA provides written confirmation of the completion of the assessment with satisfactory
results. Please note, any costs incurred prior to EPA approval are at the recipient's own risk. If the
recipient fails to respond or is unable to satisfactorily address all identified deficiencies within 90 calendar
days of the award date of this assistance agreement or within any extension of time granted by EPA, the
agreement may be terminated. Noncompliance with this term and condition may result in adverse action
by EPA per 2 CFR 200.339.

F. New Recipient Training Requirement

The recipient agrees to complete the EPA Grants Management Training for Applicants and
Recipients and the How to Develop a Budget training within 90 calendar days of the date of award of this
agreement. The recipient must notify the Grant Specialist via email when the required training is
complete. For additional information on this training requirement, the recipient should refer to RAIN-
2024-G01.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 350 of 556
                                             PageID #: 6280
                                                                               5H - 84090401 - 0   Page 7

                                       Programmatic Conditions
I. Programmatic Terms and Conditions

A. Performance Reporting

In accordance with 2 CFR 200.329 and 2 CFR 200.337, the recipient agrees to the following two
requirements of performance reporting: (1) performance reports and (2) transaction-level and project-
level data. The recipient agrees to ensure that these reports cover its own expenditures as well as the
expenditures of its subrecipients, contractors, and program beneficiaries in implementing the recipient's
EPA-approved Solar for All Workplan under the federal award. The recipient agrees that EPA may
amend the award agreement to reflect information collection instruments authorized by GGRF
Accomplishment Reporting (EPA ICR Number 2783.01, OMB Control Number 2090-NEW), once such
instruments are authorized.

The recipient acknowledges that knowingly and willfully making a false statement may be subject to
criminal prosecution under 18 U.S.C. 1001 and/or other civil and administrative sanctions.

EPA intends to make the performance reporting information available to the public, either in whole or in
part, through disclosing copies of the reports as submitted or using the content of the reports to prepare
EPA reporting documents. Pursuant to 2 CFR 200.338, the recipient agrees to redact personally
identifiable information (PII) and mark confidential business information (CBI) accordingly. Information
claimed as CBI will be disclosed only to the extent, and by means of the procedures, set forth in 40 CFR
Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment accompanies the
information when it is received by EPA, it may be made available to the public by EPA without further
notice to the recipient.

The EPA Project Officer may extend the due date for performance reporting requirements to the extent
authorized by 2 CFR 200.329 and 2 CFR 200.344. On a case-by-case basis, the EPA Project Officer
may waive or modify performance reporting requirements to the extent authorized by 2 CFR 200.329 and
2 CFR 200.344.

The following additional term and condition applicable to performance reporting applies if the recipient is
an Eligible Nonprofit Recipient as defined in the Eligible Recipient definition:

The recipient agrees to have its chief executive officer (or equivalent) and chief reporting officer (or
equivalent) review, sign, and submit reporting electronically to the EPA Project Officer. To the extent that
the reporting is not compliant with the terms and conditions, or demonstrates noncompliance with the
terms and conditions, the chief executive officer (or equivalent) and chief reporting officer (or equivalent)
must note such noncompliance to the EPA Project Officer alongside the submission.

1. Performance Reports

Semi-Annual Report

The recipient agrees to submit semi-annual reports (including but not limited to performance metrics) that
are in accordance with information collection instruments approved through GGRF Accomplishment
Reporting (EPA ICR Number 2783.01, OMB Control Number 2090-NEW).
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 351 of 556
                                            PageID #: 6281
                                                                              5H - 84090401 - 0   Page 8

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer
within 30 calendar days after the semi-annual reporting period ends. The recipient may submit a request
to the EPA Project Officer for a permanent extension to 60 calendar days. A request may be made once,
and it must include (i) an explanation of the recipient's unique circumstance as to why they need the
extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after the semi-
annual reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of the
Period of Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. If the
period of performance begins prior to July 1, 2024, then the first semi-annual reporting period shall cover
the first day of the period of performance through December 31, 2024.

The semi-annual performance report should cover activities from the preceding two quarters. For the
semi-annual reporting period that ends December 31, recipients will provide information on activities
conducted from April 1 to September 30 rather than from July 1 to December 31. For the semi-annual
reporting period that ends June 30, recipients will provide information on activities conducted from
October 1 to March 31 rather than from January 1 to June 30.

Final Report

The recipient agrees to submit a final report in a format conducive for immediate public consumption.
The final report must contain detailed narratives describing program performance for the entire period of
performance, representing an overall assessment of the recipient's implementation of its EPA-approved
Solar for All Workplan, supported with qualitative discussions and quantitative metrics. Additionally, the
recipient should detail its program strategy and plans for performance reporting under the Closeout
Agreement. The recipient must include the following broad, non-exhaustive elements in its annual
reports:

        Progress towards objectives on key performance metrics over the entire period of performance,

       Summary of key activities completed in the entire period of performance, including case studies
       across different types of financial assistance and project-deployment technical assistance
       undertaken to enable low-income and disadvantaged communities to deploy or benefit from zero-
       emissions technologies,

       Geographic coverage of financial assistance and project-deployment technical assistance
       deployed in the entire period of performance,

       Descriptions and examples of actions the program took over the entire period of performance to
       meaningfully involve the communities the program serves in program design and operations,

       Plans for key activities (including current transaction pipeline) to be completed as well as
       outputs and outcomes to be achieved under the Closeout Agreement.

These reports must be submitted ready to be published on the EPA website for public consumption and
must not include any material that the recipient considers to be Confidential Business Information (CBI)
or Personal Identifiable Information (PII). All reports will undergo an EPA review process to verify that
there is no PII or CBI claims in publishable reports. Reports submitting with CBI claims will not comply
with this requirement and may result in remedial action by EPA. Should EPA identify PII in reports, the
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 352 of 556
                                              PageID #: 6282
                                                                                5H - 84090401 - 0   Page 9

EPA Project Officer will require that the recipient re-submit the report without the PII so that it can be
published without redaction.

The recipient agrees to submit the final performance report electronically to the EPA Project Officer no
later than 120 calendar days after the end date of the period of performance.

2. Transaction-Level and Project-Level Data

The recipient agrees to submit semi-annual transaction-level and project-level data in accordance with
information collection instruments approved through GGRF Accomplishment Reporting (EPA ICR
Number 2783.01, OMB Control Number 2090-NEW).

The recipient agrees to submit the transaction-level and project-level data electronically to the EPA
Project Officer within 30 calendar days after the semi-annual reporting period ends. The recipient may
submit a request to the EPA Project Officer for a permanent extension to 60 calendar days. A request
may be made once, and it must include (i) an explanation of the recipient's unique circumstance as to
why they need the extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar
days after the semi-annual reporting period ends); and (iii) the duration of the extension (i.e., up to the
remainder of the Period of Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. If the
period of performance begins prior to July 1, 2024, then the first semi-annual reporting period shall cover
the first day of the period of performance through December 31, 2024.

The semi-annual transaction-level and project-level reports should cover transactions originated in the
preceding two quarters. For the semi-annual reporting period that ends December 31, recipients will
provide information on transactions originated from April 1 to September 30 rather than from July 1 to
December 31. For the semi-annual reporting period that ends June 30, recipients will provide information
on transactions originated from October 1 to March 31 rather than from January 1 to June 30.

B. Cybersecurity Condition

The following terms and conditions applicable to cybersecurity apply if the recipient is a State as defined
in the Eligible Recipient definition:

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer and work with the designated Regional/Headquarters Information Security Officer to ensure that
the connections meet EPA security requirements, including entering into Interconnection Service
        Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 353 of 556
                                             PageID #: 6283
                                                                               5H - 84090401 - 0   Page 10

Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the recipient is a Tribal
Government as defined in the Eligible Recipient definition so long as the recipient is not identified as a
not for profit on the Notice of Award:

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable Tribal law and policy cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure. For purposes of
this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the recipient is a Municipality or
Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the recipient is both a
Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit in the
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 354 of 556
                                            PageID #: 6284
                                                                            5H - 84090401 - 0   Page 11

Notice of Award:

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State or Tribal law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure. For purposes of
this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

C. Competency Policy

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, the recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable, the
recipient agrees to demonstrate competency prior to carrying out any activities under the award involving
the generation or use of environmental data. The recipient shall maintain competency for the duration of
the project period of this agreement and this will be documented during the annual reporting process. A
copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA
Project Officer for this award.

D. Signage Required

1. Signage Requirements

a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites
supported in whole or in part by this award displaying the official Investing in America emblem and must
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 355 of 556
                                             PageID #: 6285
                                                                              5H - 84090401 - 0   Page 12

identify the project as a “project funded by President Biden's Inflation Reduction Act,” where the financial
assistance used to fund the construction project exceeds $250,000. The recipient will also make optional
signage available for projects where the construction is less than $250,000. The sign must be placed at
construction sites in an easily visible location that can be directly linked to the work taking place and
must be maintained in good condition throughout the construction period. The recipient will ensure
compliance with the guidelines and design specifications provided by EPA for using the official Investing
in America emblem available at: https://www.epa.gov/invest/investing-america-signage.

b. Procuring Signs: Consistent with section 6002 of RCRA, 42 USC 6962, and 2 CFR 200.323, the
recipient is encouraged to use recycled or recovered materials when procuring signs. Signage costs are
considered an allowable cost under this assistance agreement provided that the costs associated with
signage are reasonable. Additionally, to increase public awareness of projects serving communities
where English is not the predominant language, the recipient is encouraged to translate the language on
signs (excluding the official Investing in America emblem or EPA logo or seal) into the appropriate non-
English language(s). The costs of such translation are allowable, provided the costs are reasonable.

2. Public or Media Events

The recipient agrees to notify the EPA Project Officer of public or media events publicizing the
accomplishment of significant activities related to execution of the EPA-approved Solar for All Workplan
and provide the opportunity for attendance and participation by federal representatives with at least 15
calendar days notice.

E. In-Kind Assistance

This action awards federal funds in the amount specified on the Notice of Award of which $400,000 is
anticipated to be through in-kind assistance. The in-kind assistance will include but is not limited to
convenings and peer networking, market data collection, research and analysis, tool building, and
education and outreach, to assist recipients in achieving the objectives of the Solar for All program.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Leveraging and Fund Raising

1. Leveraging

The recipient agrees to make best efforts to provide the proposed leveraged funding that is described in
its EPA-approved Solar for All Workplan. If the proposed leveraging does not materialize during the
period of performance, and the recipient does not provide a satisfactory explanation, the Agency may
consider this factor in evaluating future proposals from the recipient. In addition, if the proposed
leveraging does not materialize during the period of performance, then EPA may reconsider the
legitimacy of the award; if EPA determines that the recipient knowingly or recklessly provided inaccurate
information regarding the leveraged funding described in the application, EPA may take action as
authorized by 2 CFR Part 200 and/or 2 CFR Part 180 as applicable.

2. Fund Raising
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 356 of 556
                                            PageID #: 6286
                                                                            5H - 84090401 - 0   Page 13

2 CFR 200.442 provides coverage on allowable fund raising costs, with additional details contained in
Item 4 of the EPA Guidance on Selected Items of Cost for Recipients. Fund raising costs are an
allowable cost and may include costs that are reasonable and necessary for raising additional capital to
provide financial assistance to eligible zero emissions technologies or project-deployment technical
assistance to enable low-income and disadvantaged communities to deploy and benefit from eligible
zero emission technologies.

Allowable fund raising costs must meet the following two criteria, in addition to meeting the requirements
for allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500: (1)
must be in support of the Greenhouse Gas Reduction Fund's third program objective to mobilize
financing and private capital and (2) must be reasonable and necessary to raise capital from private-
sector investors. Funds a recipient raises with costs borne by an EPA financial assistance agreement are
considered program income, which must be treated in accordance with the Program Income
Programmatic Term and Condition. When fund raising costs are paid for by both the award as well as
other sources, a portion of the funds raised equal to the share of fund raising costs charged to the award
will be treated as program income.

H. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure
subrecipients develop and implement the Quality Assurance (QA) planning documents(s) in accordance
with this term and condition and/or ensure subrecipients implement all applicable approved QA planning
documents. Note, EPA will not approve any QA planning documents developed by a subrecipient. The
recipient is responsible for reviewing and approving its subrecipient QA planning documents, if required
based on the subrecipients environmental information collection operations.

1. Quality Management Plan (QMP)

a. Prior to beginning environmental information operations needed to complete the requirements outlined
in the Performance Reporting Programmatic Term and Condition, the recipient must:

i. Submit a previously EPA-approved and current Quality Management Plan (QMP). The EPA Quality
Assurance Manager or designee (hereafter referred to as QAM) will notify the recipient and EPA Project
Officer in writing if the previously EPA-approved QMP is acceptable for this agreement,

ii. Develop a QMP in consultation with the EPA Project Officer and EPA QAM if a previously EPA-
approved and current QMP is not in place,

iii. Submit the QMP within 90 calendar days of the date of award for the first amendment of the
agreement and obtain EPA Project Officer and EPA QAM approval,

iv. Review the approved QMP at least annually. These documented reviews shall be made available to
the sponsoring EPA organization if requested. When necessary, the recipient shall revise its QMP to
incorporate minor changes and notify the EPA Project Officer and QAM of the changes. If significant
changes have been made to the Quality Program that affect the performance of environmental
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 357 of 556
                                             PageID #: 6287
                                                                              5H - 84090401 - 0   Page 14

information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA Project Officer and
QAM in writing when such changes occur. Conditions requiring the revision and resubmittal of an
approved QMP can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations needed to complete the requirements outlined
in the Performance Reporting Programmatic Term and Condition, the recipient must:

i. Develop a Quality Assurance Project Plan (QAPP) in consultation with the EPA Project Officer and
EPA QAM,

ii. Submit the QAPP within 90 calendar days of the date of award for the first amendment of the
agreement and obtain EPA Project Officer and EPA QAM approval,

iii. Review the approved QAPP at least annually. These documented reviews shall be made available to
the sponsoring EPA organization if requested. When necessary, the recipient shall revise its QAPP to
incorporate minor changes and notify the EPA Project Officer and QAM of the changes. If significant
changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QAPP for re-approval. In general, a
copy of any QAPP revision(s) made during the year should be submitted to the EPA Project Officer and
QAM in writing when such changes occur. Conditions requiring the revision and resubmittal of an
approved QAPP can be found in section 6 of EPA's Quality Assurance Project Plan (QAPP) Standard.

The following materials contain quality specifications and definitions to facilitate adherence to these
terms and conditions:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

I. Equipment Disposition

The following term and condition applicable to equipment disposition applies if the recipient is a
Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined in the Eligible Recipient
definition:

In accordance with 2 CFR 200.313, when original or replacement equipment acquired under this
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 358 of 556
                                              PageID #: 6288
                                                                                5H - 84090401 - 0   Page 15

agreement is no longer needed for the original project or program or for other activities currently or
previously supported by EPA, the recipient may dispose of the equipment without further instruction from
EPA.

J. Real Property

In accordance with 2 CFR 200.311, title to real property acquired or improved under this agreement will
vest upon acquisition in the recipient. This property must be used for the originally authorized purpose as
long as needed for that purpose, during which time the recipient must not dispose of or encumber its title
or other interests.

Disposition

When real property is no longer needed for the originally authorized purpose, the recipient must obtain
disposition instructions from EPA. The instructions will provide for one of the following alternatives:

1. Retain title after compensating EPA. The amount paid to EPA will be computed by applying EPA's
percentage of participation in the cost of the original purchase (and costs of any improvements) to the
fair market value of the property. However, in those situations where recipient is disposing of real
property acquired or improved with a Federal award and acquiring replacement real property under the
same Federal award, the net proceeds from the disposition may be used as an offset to the cost of the
replacement property.

2. Sell the property and compensate EPA. The amount due to EPA will be calculated by applying EPA's
percentage of participation in the cost of the original purchase (and cost of any improvements) to the
proceeds of the sale after deduction of any actual and reasonable selling and fixing-up expenses. If the
Federal award has not been closed out, the net proceeds from sale may be offset against the original
cost of the property. When the recipient is directed to sell property, sales procedures must be followed
that provide for competition to the extent practicable and result in the highest possible return.

3. Transfer title to EPA or to a third party designated/approved by EPA. The recipient is entitled to be
paid an amount calculated by applying the recipient's percentage of participation in the purchase of the
real property (and cost of any improvements) to the current fair market value of the property.

Recordation

As authorized by 2 CFR 200.316, EPA requires that recipients who use EPA funding to purchase and
improve real property through an EPA funded construction project record a lien or similar notice in the
real property records for the jurisdiction in which the real property is located, which indicates that the real
property has been acquired and improved with federal funding and that use and disposition conditions
apply to the real property.

K. Program Income

In accordance with 2 CFR 200.307(e)(2) and 2 CFR 1500.8(b), the recipient and any subrecipient must
retain program income earned during the period of performance. Program income will be added to funds
committed to the program by EPA and used for the purposes and under the conditions of the assistance
agreement and beyond the period of performance based on a closeout agreement. Until such a closeout
agreement is effective, the recipient and subrecipient are authorized to use program income under the
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 359 of 556
                                             PageID #: 6289
                                                                             5H - 84090401 - 0   Page 16

conditions of the assistance agreement, pending execution of the closeout agreement. In accordance
with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term and
Condition, the recipient and subrecipient may only use program income once the award is fully drawn
down or the period of performance ends for a different reason. Program income must be deposited and
held in an account meeting the requirements in the Financial Risk Management Programmatic Term and
Condition.

In accordance with 2 CFR 200.307(b), costs incidental to the generation of program income may be
deducted from gross income to determine program income, provided these costs have not been charged
to the EPA award or another Federal financial assistance agreement. The recipient must retain adequate
accounting records to document that any costs deducted from gross income to determine program
income comply with regulatory requirements.

L. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the recipient received financial support from the EPA under an
Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-seal-
and-logo#policy.

II. Additional Programmatic Terms and Conditions

A. Conflicts Among Authorities

Any inconsistency or conflict among the authorities governing the recipient's administration of this award
will be resolved in the following order of precedence: public laws, regulations (including 2 CFR 200 and 2
CFR 1500), applicable notices published in the Federal Register, Executive Orders, and these award
agreement terms and conditions.

B. Specific Condition on Completion of EPA-approved Solar for All Workplan

Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(2) and (6), EPA has
determined that a specific condition is necessary to ensure that the recipient's EPA-approved Solar for
All Workplan allows the recipient to effectively carry out the significant scale, complexity, and novelty of
the Solar for All program. Based on this determination, until the documents listed below have been
approved by the EPA Grants Management Officer or Award Official, the recipient may draw down no
more than 2% of the EPA funding, identified in the Notice of Award, for direct costs for the following cost
categories: personnel; fringe benefits; contractual costs for consultants procured in accordance with 2
CFR 200 and 1500; and indirect costs, that are necessary for the recipient to finalize the scope of work of
this agreement. This limitation includes pre-award costs and costs the recipient incurs after award. EPA
cannot confirm whether costs incurred or drawn down are allowable until EPA reviews and approves the
documents below. Any costs incurred by the recipient are at their own risk until the documents below are
approved by EPA.

Within 90 calendar days of receipt of award, the recipient must submit the following documents to the
EPA Project Officer identified in the Notice of Award:
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 360 of 556
                                            PageID #: 6290
                                                                             5H - 84090401 - 0   Page 17

        Revised SF-424A, Budget Information for Non-Construction Programs

        Indirect Rate Proposal or Agreement, if applicable

        Revised Budget Narrative

        Revised Project Specific Workplan (i.e., the EPA-approved Solar for All Workplan)

Action Required to remove the specific condition. EPA will review the recipient's submissions and will
work with the recipient to refine the SF-424A to ensure that all costs are reasonable, allocable, and
allowable; the budget narrative appropriately reflects the full budget of the award; and that there is
sufficient detail of estimated funding amounts for each project task. Upon completion and EPA approval
of the above documents, EPA will promptly remove this term and condition, as required by 2 CFR
200.208(e), and all remaining funds will be available to the recipient to draw down reasonable, allocable,
and allowable expenditures in accordance with its EPA-approved Solar for All Workplan.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA award
or amendment mailing date and must not draw down funds until the objection is resolved. The recipient
must submit the written objection via email to the Award Official, Grant Specialist and Project Officer
identified in the Notice of Award.

The EPA Award Official may modify this requirement on a case-by-case basis.

C. Solar for All Workplan

1. EPA-approved Solar for All Workplan

The recipient agrees to implement this grant in accordance with its EPA-approved Solar for All Workplan.
The recipient agrees that the public laws, regulations, applicable notices, Executive Orders, and these
award agreement terms and conditions supersede the EPA-approved Solar for All Workplan in the event
there are conflicting provisions in the EPA-approved Solar for All Workplan.

2. Specific condition on revisions to EPA-approved Solar for All workplan in the one-year planning period

The recipient's EPA-approved Solar for All Workplan may include work to refine the program during the
one-year planning period. Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR
200.208(c)(2) and (6), EPA has determined that a specific condition is necessary to ensure that the
further revisions to the recipient's EPA-approved Solar for All Workplan allow the recipient to effectively
carry out the significant scale, complexity, and novelty of the Solar for All program. Based on this
determination, if the recipient makes revisions to its EPA-approved Solar for All Workplan during the one-
year planning period, the recipient must first receive approval from the EPA Grants Management Officer
or Award Official on the revised Solar for All Workplan prior to requesting drawdown on any revised work.
EPA will not make payments for unapproved work and any costs incurred for unapproved work by the
recipient are at its own risk.

The recipient may continue to request payments and EPA will make payments for costs covered by the
EPA-approved Solar for All Workplan while the EPA Grants Management Officer or Award Official, as
appropriate, reviews any revised Solar for All Workplan.
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 361 of 556
                                              PageID #: 6291
                                                                               5H - 84090401 - 0   Page 18

Action Required to remove the specific condition. If the recipient makes revisions to its workplan during
the planning period, the recipient must submit the revised workplan to EPA no later than 365 calendar
days after the date of award for the first amendment of the agreement. EPA will review the recipient's
submissions and will work with the recipient to refine the SF-424A to ensure that all costs are
reasonable, allocable, and allowable; the budget narrative appropriately reflects the full budget of the
award; and that there is sufficient detail of estimated funding amounts for each project task. Upon
completion and EPA approval of any revisions to the EPA-approved Solar for All Workplan, timeline,
budget narrative, budget detail, and SF-424A (if applicable), EPA will promptly remove this term and
condition, as require by 2 CFR 200.208(e), and the recipient may then request payments for the revised
work that has been approved by EPA.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA award
or amendment mailing date and must not draw down funds until the objection is resolved. The recipient
must submit the written objection via email to the Award Official, Grant Specialist and Project Officer
identified in the Notice of Award.

D. Allowable and Unallowable Activities

The recipient agrees to only use the award to support the following allowable activities: financial
assistance and project-deployment technical assistance that enable low-income and disadvantaged
communities to deploy and benefit from eligible zero emissions technologies as well as participant
support costs for trainees in workforce development programs. All costs charged to the award to support
these activities must meet the requirements for allowability under 2 CFR Part 200, Subpart E as well as
applicable provisions of 2 CFR Part 1500. In addition, the recipient agrees to obtain prior approval from
the EPA Award Official prior to the expenditure of the award for activities that involve acquiring real
property, including related equipment purchases. Note, the recipient may meet this requirement by
specifying the framework for all acquisitions of real property in its EPA-approved Solar for All Workplan.

The recipient agrees to not use the award for the following unallowable activities: (a) activities that
support deployment of projects that do not meet the definition of eligible zero-emissions technologies; (b)
Costs of acquiring “intangible property,” as defined in 2 CFR 200.1; and (c) activities that support
deployment of projects outside the boundaries of the ten EPA regions. The recipient also agrees not to
use the award for activities associated with defending against, settling, or satisfying a claim by a private
litigant, except when either (a) the claim stems from the recipient's compliance with the terms and
conditions of the award agreement or (b) the recipient has obtained prior written approval from the EPA
Project Officer.

E. Foreign Entity of Concern

As part of carrying out this award, recipient agrees to ensure that entities the recipient contracts with, the
recipient makes subawards to, or that receive funds as program beneficiaries at any tier of funding under
this grant agreement are not—

(A) an entity owned by, controlled by, or subject to the direction of a government of a covered nation
under 10 U.S.C. 4872(d);

(B) an entity headquartered in a covered nation under 10 U.S.C. 4872(d); or
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 362 of 556
                                              PageID #: 6292
                                                                               5H - 84090401 - 0   Page 19

(C) a subsidiary of an entity described in (A) or (B).

As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People's Republic of North Korea; the People's Republic of China; the Russian
Federation; and the Islamic Republic of Iran.

F. Low-Income and Disadvantaged Communities Expenditure Requirement

The recipient agrees to ensure that 100% of the award is used for the purposes of enabling low-income
and disadvantaged communities to deploy and benefit from eligible zero emissions technologies. This
requirement applies to the entire award provided to the recipient and “flows down” to all subrecipients.

G. Revolving Loan Fund Characterization

EPA considers the portion of the award used to provide financial products, including financial products
that are categorized as project-deployment technical assistance under this program, that may generate
program income as a capitalization of a revolving loan fund for the purposes of 2 CFR 1500.8(d). Such
financial assistance may include subawards or participant support costs. In accordance with section 2.0
Applicability and Effective Date and the definition of Subaward in section 3.0 of the EPA Subaward
Policy, the EPA Subaward Policy does not apply to the recipient's subawards from the capitalization of a
revolving loan fund.

EPA does not consider the remaining portion of the award as a capitalization of a revolving loan fund for
the purposes of 2 CFR 1500.8(d). As such, all subgrants made by the recipient are subject to the EPA
Subaward Policy.

H. Subawards to For-Profit Entities

The recipient is authorized to provide subawards to for-profit entities as included in the EPA-approved
Solar for All Workplan. The recipient agrees to require that for-profit entities that receive such subawards:

1. Can only recover their eligible and allowable direct and indirect costs from EPA-funded activities,
including recovering the portion of their overhead costs attributable to the activities by applying either a
Federally approved indirect cost rate, as authorized by 2 CFR 200.414(f), or the de-minimis rate if the
subrecipient does not have a Federally approved rate;

2. Comply with the Management Fees General Term and Condition, which is incorporated by reference
into the Establishing and Managing Subawards General Term and Condition;

3. Account for and use program income under the rules for program income pursuant to 2 CFR 1500.8(b)
and the terms and conditions of the award agreement;
4. Be subject to the same requirements as non-profit subrecipients under 2 CFR Part 200 Subparts A
through E, as federal awarding agencies are authorized to apply 2 CFR Part 200 Subparts A through E
to for-profit entities in accordance with 2 CFR 200.101(b); and

5. Select an independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an
independent audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR
200.500 et. seq.); the subrecipient must submit the audit to the recipient within 9 months of the end of the
recipient's fiscal year or 30 calendar days after receiving the report from an independent auditor,
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 363 of 556
                                              PageID #: 6293
                                                                               5H - 84090401 - 0   Page 20

whichever is earlier; as provided in 2 CFR 200.337(a) the recipient must provide EPA, the EPA Office of
Inspector General, and the Comptroller General with access to the subrecipient's independent auditor
reports.

I. Subawards as Part of Revolving Loan Funds

The following requirements apply when the recipient provides Subawards under 2 CFR 200.1 as part of a
revolving loan fund. These requirements apply to the recipient and subrecipient in lieu of those specified
in the Establishing and Managing Subawards General Term and Condition.

1. The recipient agrees to provide written guidelines for all subawards provided as part of a revolving
loan fund. The recipient is precluded from drawing down funds for subawards provided as part of a
revolving loan fund until the EPA Project Officer provides written confirmation of the guidelines. These
guidelines must: (a) describe the activities that will be supported by the subawards; (b) specify the range
of funding to be provided through the subawards; (c) identify which types of entities (i.e., governmental,
non-profit, for-profit) will receive the subawards; and (d) specify how the subrecipients are eligible
subrecipients in accordance with EPA's Subaward Policy. Additionally, if a recipient plans to subaward to
a for-profit entity the recipient's response to (d) must specifically describe how the for-profit subrecipient
will only receive reimbursement for their actual direct or approved indirect costs such that the
subrecipient does not “profit” from the transaction.

2. The recipient must establish and follow a system that ensures all financial assistance agreements are
in writing and contain all of the elements required by 2 CFR 200.332(a), including the indirect cost
provision of 2 CFR 200.332(a)(4) for subawards. EPA has developed an optional template for subaward
agreements available in Appendix D of the EPA Subaward Policy, which may also be used for such
subaward agreements.

3. The subrecipient must comply with the internal control requirements specified at 2 CFR 200.303 and is
subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The pass-through entity must include a
condition in all financial assistance agreements that requires subrecipients to comply with these
requirements. No other provisions of the Uniform Grant Guidance, including the Procurement Standards,
apply directly to the subrecipient.

4. Prior to making the subaward, the recipient must ensure that the subrecipient has a “unique entity
identifier.” This identifier is required for registering in the System for Award Management (SAM) and by 2
CFR Part 25 and 2 CFR 200.332(a)(1). The unique entity identifier (UEI) is generated when an entity
registers in SAM. Information on registering in SAM and obtaining a UEI is available in the General
Condition of the pass-through entity's agreement with EPA entitled “System for Award Management and
Universal Identifier Requirements.”

J. Participant Support Costs

1. Participant Support Cost Requirements

The recipient may provide financial assistance and project-deployment technical assistance to enable
low-income and disadvantaged communities to deploy and benefit from eligible zero emissions
technologies in the form of participant support costs.

The recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 364 of 556
                                              PageID #: 6294
                                                                                5H - 84090401 - 0   Page 21

requirements on participant support costs, in addition to other requirements included in the terms and
conditions of this award agreement:

A. The recipient and program beneficiaries are responsible for taxes, if any, on payments made to or on
behalf of entities participating in this program that are allowable as participant support costs under 2 CFR
200.1, 2 CFR 200.456, or 2 CFR 1500.1. EPA encourages the recipient and program beneficiaries to
consult their tax advisers, the U.S. Internal Revenue Service, or state and local tax authorities regarding
the taxability of subsidies, rebates and other participant support cost payments. However, EPA does not
provide advice on tax issues relating to these payments.

B. Participant support cost payments are lower tiered covered Nonprocurement transactions for the
purposes of 2 CFR 180.300 and the Suspension and Debarment General Term and Condition. The
recipient, therefore, may not make participant support cost payments to entities excluded from
participation in Federal Nonprocurement programs under 2 CFR Part 180 and must ensure that
subrecipients adhere to this requirement as well. The recipient is responsible for checking that program
participants are not excluded from participation through either (1) checking the System for Award
Management (SAM) or (2) obtaining eligibility certifications from the program participants.

The recipient is precluded from drawing down funds for participant support costs until the EPA Project
Officer provides written confirmation of the guidelines. These guidelines must: (a) describe the activities
that will be supported by the participant support costs; (b) specify the range of funding to be provided
through the participant support costs; (c) identify which types of entities will have title to equipment (if
any) purchased with a rebate or subsidy; (d) establish source documentation requirements (e.g.,
invoices) for accounting records; and (e) describe purchasing controls to ensure that the amount of the
participant support cost is determined in a commercially reasonable manner as required by 2 CFR
200.404.

The recipient agrees to reporting and transaction documentation of participant support costs in support of
the reporting requirements in the Performance Reporting Programmatic Term and Condition.

2. Participant Support Costs for Fellowship, Internship Programs and Similar Programs

When the recipient uses EPA funds for participant support costs payments as stipends for workforce
development, scholarships, tuition remission and other forms of student aid, these participant support
costs may only be used for citizens of the United States, its territories, or possessions, or for individuals
lawfully admitted to the United States for permanent residence.

The recipient and program participants are responsible for taxes, if any, on payments made to or on
behalf of individuals participating in this program that are allowable as participant support costs under 2
CFR 200.1 or 2 CFR 200.456 and scholarships and other forms of student aid such as tuition remission
under 2 CFR 200.466. EPA encourages recipients and program participants to consult their tax advisers,
the U.S. Internal Revenue Service, or state and local tax authorities regarding the taxability of stipends,
tuition remission and other payments. However, EPA does not provide advice on tax issues relating to
these payments.

Participant support cost payments, scholarships, and other forms of student aid such as tuition remission
are lower tiered covered Nonprocurement transactions for the purposes of 2 CFR 180.300 and EPA's
Suspension and Debarment Term and Condition. Recipients, therefore, may not make participant
support cost payments to individuals who are excluded from participation in Federal
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 365 of 556
                                             PageID #: 6295
                                                                             5H - 84090401 - 0   Page 22

Nonprocurement programs under 2 CFR Part 180. Recipients are responsible for checking the eligibility
of program participants in the System for Award Management (SAM) or obtaining eligibility certifications
from the program participants.

See EPA Guidance on Participant Support Costs

K. Labor and Equitable Workforce Development Requirements

1. Davis-Bacon and Related Acts (DBRA)

A. Program Applicability

As provided in Section 314 of the Clean Air Act (42 USC § 7614) (DBRA), Davis-Bacon Act (42 USC §§
3141-3144) labor standards apply to projects assisted by grants and cooperative agreements made
under the Greenhouse Gas Reduction Fund. Accordingly, all laborers and mechanics employed by
contractors or subcontractors on projects assisted under this award agreement shall be paid wages at
rates not less than those prevailing for the same type of work on similar construction in the locality as
determined by the Secretary of Labor in accordance with 40 USC Subtitle II, Part A, Chapter 31,
Subchapter IV (Wage Rate Requirements). Under the Greenhouse Gas Reduction Fund, the relevant
construction type and prevailing wage classifications would be “Building” and “Residential.” The
Secretary of Labor's wage determinations are available at https://sam.gov/content/wage-determinations.

Therefore, recipient must ensure that any construction work financed in whole or in part with such
financial assistance, as defined in these Terms and Conditions, provided under this agreement complies
with Davis Bacon and Related Act requirements and the requirements of these Terms and Conditions
The recipient must ensure that these requirements apply to all construction projects assisted by such
financial assistance without regard to whether the work is contracted for by a subrecipient, contractor,
subcontractor, or program beneficiary that receives financial assistance.

If the recipient encounters a situation that presents uncertainties regarding DBRA applicability under this
assistance agreement, the recipient must discuss the situation with the EPA Project Officer before
authorizing work on the project.

In the event that a periodic project site visit, audit, or routine communication with subrecipient, program
beneficiary, contractor, or subcontractor determines any instances of non-compliance or potential non-
compliance with the requirements of this term and condition or the Davis-Bacon and Related Act, the
recipient agrees to promptly inform the EPA Project Officer for possible referral to the U.S. Department of
Labor for guidance or enforcement action.

Consistent with the definitions at 29 CFR § 5.2, the term “construction” refers to all types of work done on
a particular building or work at the site of the work by laborers and mechanics employed be a contractor
or subcontractor. Additional guidance is available in the definition of the term “building or work” in 29
CFR § 5.2.

B. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 366 of 556
                                            PageID #: 6296
                                                                             5H - 84090401 - 0   Page 23

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics
       on construction contracts of $2,000 or more;

       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and

       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000.

C. Recipient Responsibilities When Entering Into and Managing Contracts:

a. Solicitation and Contract Requirements:

       i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are
       responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and
       awarding contracts.

       ii. Include DBRA Requirements in All Contracts: Include “By accepting this contract, the
       contractor acknowledges and agrees to the terms provided in the DBRA Requirements for
       Contractors and Subcontractors Under EPA Grants.”

b. After Award of Contract:

       i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
       additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
       (iii).

       ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
       contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

D. Recipient Responsibilities When Establishing and Managing Additional Subawards:

       a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on
       all subawards under this grant: “By accepting this award, the EPA subrecipient acknowledges
       and agrees to the terms and conditions provided in the DBRA Requirements for EPA
       Subrecipients.”

       b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
       oversight of subrecipients and must ensure subrecipients comply with the requirements in 29
       CFR 5.6.

       c. Provide Oversight to Ensure Compliance with Participant Support Cost Requirements:
       Recipients are responsible for oversight of subrecipients and must ensure that subrecipients
       comply with the requirements in subsection E, below.

E. Recipient/Subrecipient Responsibilities When Managing Participant Support Costs to Program
Beneficiaries

Any financial assistance provided in the form of a participant support cost to a program beneficiary shall
        Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 367 of 556
                                             PageID #: 6297
                                                                               5H - 84090401 - 0   Page 24

include the following text:

        “[Name of Recipient/Subrecipient providing the Financial Assistance] retains the following
        responsibilities for all contracts and subcontracts assisted by this [form of Financial Assistance]:

a. Solicitation and Contract Requirements:

        i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: “[Name of
        Recipient/Subrecipient providing the Financial Assistance] is responsible for ensuring that any
        contracts or subcontracts made by Program Beneficiaries and/or assisted by Participant Support
        Costs comply with the procedures provided in 29 CFR 1.6(b) when soliciting bids and awarding
        contracts.

        ii. Include DBRA Requirements in All Contracts: Include the following text “By accepting this
        contract, the contractor acknowledges and agrees to the terms provided in the DBRA
        Requirements for Contractors and Subcontractors Under EPA Grants.”

b. After Award of Contract:

        i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
        additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
        (iii).

        ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
        contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

The contract clauses set forth in this term and condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.

F. DBRA Compliance Monitoring Requirement

Reasonable and necessary costs for DBRA compliance are allowable and allocable grant costs. Such
costs include, but are not limited to, the procurement of a payroll reporting and compliance management
software product to meet the documentation and reporting requirements under 29 CFR 5.5(a)(3)(ii) for all
construction projects assisted under this award.

2. Mega Construction Project Program

The recipient must work with the U.S. Department of Labor's Office of Federal Contract Compliance
Programs (OFCCP) to identify projects that are within the scope of OFCCP's Mega Construction Project
Program, which includes federally-assisted projects with a total project value above $35,000,000. If those
projects are selected from a wide range of federally-assisted projects over which OFCCP has jurisdiction,
those projects will be required to participate and partner with OFCCP in the OFCCP Mega Construction
Projects program.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 368 of 556
                                            PageID #: 6298
                                                                             5H - 84090401 - 0   Page 25

3. Compliance with Federal Statutes and Regulations

The recipient agrees to comply with other applicable federal statutes and regulations related to labor and
equitable workforce development as well as to enforce compliance with subrecipients, contractors, and
other partners. This includes but is not limited to applicable health and safety regulations as administer
by the Occupational Safety and Health Administration.

4. Free and Fair Choice to Join a Union

In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), the recipient agrees to design and implement a policy to increase
high-quality job opportunities for American workers and improving equitable access to these jobs,
including in traditional energy communities, through the timely implementation of requirements for
prevailing wages and registered apprenticeships and by focusing on high labor standards and the free
and fair chance to join a union.

In accordance with the EPA General Terms and Conditions, grant funds may not be used to support or
oppose union organizing, whether directly or as an offset for other funds.

5. Disadvantaged Business Enterprises

The recipient agrees to comply with 40 CFR Part 33, “Participation by Disadvantaged Business
Enterprises in U.S. Environmental Protection Agency Programs” set forth requirements for making good
faith efforts to ensure that Disadvantaged Business Enterprises, including Minority Business Enterprises
and Women's Business Enterprises receive a fair share of contracts awarded with funds provided by
EPA financial assistance agreements. These requirements apply to subrecipients in accordance with 40
CFR 33.102 and the definition of “Recipient” in 40 CFR 33.103.

L. Build America, Buy America Act

The Build America, Buy America Act – Public Law 117-58, requires the EPA to ensure that “none of the
funds made available for a Federal financial assistance program for infrastructure, including each
deficient program, may be obligated for a project unless all of the iron, steel, manufactured products, and
construction materials used in the project are produced in the United States.” (P.L. 117-58, Secs 70911 –
70917).

The recipient is bound to the EPA Build America, Buy America General Term and Condition, which
outlines the Build America, Buy America requirements that all recipients of EPA financial assistance
awards must comply with.

If the recipient encounters a situation that presents uncertainties regarding Build America, Buy America
applicability under this assistance agreement, the recipient must discuss the situation with the EPA
Project Officer before authorizing work on the project.

M. Consumer Protection Requirements

The recipient agrees to carry out the following consumer financial protection requirements to the extent
that the recipient directly interacts, transacts, or contracts with consumers:
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 369 of 556
                                             PageID #: 6299
                                                                              5H - 84090401 - 0   Page 26

1. Comply with the Equal Credit Opportunity Act, the Truth in Lending Act, the Consumer Financial
Protection Act, and other federal consumer protection laws that apply;

2. Provide written disclosures to consumers containing information in clear and understandable language
regarding purchasing, leasing, or financing as well as the costs associated with a consumer's
transaction;

3. With regard to solar products or services, provide written disclosures on the impact of the solar project
on the consumer's ability to sell or refinance their home and recording of any liens on the home;
consumer rights; contact information for the solar project provider; and complaint procedures for the
consumer if they have a problem with the solar project or sales process;

4. Require that all in-person and telephone marketing that directly interacts, transacts, or contracts with
consumers be conducted in a language in which the consumer subject to the marketing is able to
understand and communicate; and

5. Maintain a process for receiving, monitoring, and resolving consumer complaints, including ensuring
that complaints are appropriately addressed and referring complaints, when necessary, to the
appropriate government regulatory agency.

The recipient agrees to monitor and oversee subrecipients and contractors with respect to these
consumer financial protection requirements to the extent that they directly interact, transact, or contract
with consumers, in accordance with 2 CFR 200.332(d) and 2 CFR 200.318.

N. Financial Risk Management Requirements

1. Cash Management Requirements
The recipient and any subrecipient must deposit and maintain advance payments of Federal funds into
insured accounts, in accordance with 2 CFR 200.305(b)(7)(ii). Interest income earned on the advance
payment from EPA to the recipient prior to disbursement is subject to the requirements on interest
earned within 2 CFR 200.305(b)(8) and 2 CFR 200.305(b)(9); consequently, such interest earned in
excess of $500 must be remitted annually to the Department of Health and Human Services Payment
Management System.

The recipient and subrecipient are authorized to maintain program income in insured accounts. The
recipient and subrecipient are also authorized to maintain program income in accounts where such
income is used to purchase U.S. Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency
Marketable Securities, provided the duration of such instruments is no longer than 90 calendar days and
that such instruments are held-to-maturity if purchased directly; or short-term money market funds
consisting solely of the aforementioned investment instruments and offering daily investor
redemptions. Interest income and other returns earned on funds that have already been disbursed is
considered additional program income consistent with 2 CFR 1500.8(d) and is not subject to the
requirements on interest earned within 2 CFR 200.305(b)(8) and 2 CFR 200.305(b)(9).

2. Climate-Related Financial Risks

The recipient agrees to comply with Executive Order 11988 (Floodplain Management). This may include
accounting for and evaluating practicable alternatives or other mitigation related to ameliorating flood
risks and protecting flood plains as part of its financial risk management policies and procedures.
        Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 370 of 556
                                              PageID #: 6300
                                                                                5H - 84090401 - 0   Page 27

The recipient agrees to comply with Executive Order 14030 (Climate-Related Financial Risk). This may
include accounting for climate-related financial risks—including physical and transition risks—in its
financial risk management policies and procedures.

3. Additional Requirements

The recipient agrees to not subordinate its interests in any asset that the recipient acquires with EPA
funds or program income in a manner that waives EPA's claim for compensation under any applicable
statutory claims, 2 CFR Part 200, or common law.

The recipient agrees to apply EPA's Final Financial Assistance Conflict of Interest Policy to all
subawards and participant support costs made to entities receiving financial assistance or project-
deployment technical assistance. Notwithstanding the statement in section 2.0 of the Conflict of Interest
(COI) Policy that it does not apply to “Subawards in the form of loans, loan guarantees, interest subsidies
and principal forgiveness, purchases of insurance or similar transactions entered into with borrowers by
recipients of revolving loan fund capitalization grants or other EPA financial assistance agreements
where Agency funds may be used for lending activities,” EPA is applying the COI Policy to these
transactions through this term and condition.

The recipient agrees to provide subrecipients that receive subawards to provide financial assistance or
project-deployment technical assistance with training and technical assistance on program-related
matters, including on prudent financial risk management practices, in accordance with 2 CFR 200.332
(e).

O. Historic Preservation
National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant or cooperative agreement, on historic properties, and to provide the
Advisory Council on Historic Preservation (ACHP) a reasonable opportunity to comment on such
undertakings. The recipient must assist the EPA Project Officer in complying with NHPA if any activities
funded under this grant impact a historic property. Historic properties include: (a) land or buildings listed
in or eligible for listing on the National Register of Historic Places; (b) archaeologically sensitive areas or
in an area where traditional cultural properties are located; and (c) properties that are associated with
significant historic events, are associated with significant people, embody distinctive characteristics, and
contain important precontact information.

The recipient should work with their Project Officer to ensure that subrecipients are available to work with
EPA on any required consultation process with the State or Tribal Historic Preservation Office prior to
commencing the project to ensure compliance with Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 371 of 556
                                             PageID #: 6301
                                                                              5H - 84090401 - 0   Page 28

The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The recipient must ensure that subrecipients
performing construction projects are aware of this requirement, and the recipient must notify EPA if the
AHPA is triggered.

P. Uniform Relocation Assistance and Real Property Acquisition Policies Act

The Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA) applies to
acquisitions of property and displacements of individuals and businesses that result from federally
assisted programs. The URA and Federal Highway Administration's implementing regulations at 49 CFR
Part 24 require the recipient to follow certain procedures for acquiring property for purposes under the
federal award, such as notice, negotiation, and appraisal requirements. The statute and regulations also
contain requirements for carrying out relocations of displaced persons and businesses, such as
reimbursement requirements for moving expenses and standards for replacement housing. The recipient
must comply with, and ensure subrecipients comply with, the URA and 49 CFR Part 34 if an EPA-funded
acquisition of property results in permanent displacement of individuals or businesses. Note that
although the URA does not apply to temporary displacement of residents, the cost for temporary
relocation of residents may be an allowable cost under the “necessary and reasonable for the
performance of the federal award” provision of 2 CFR 200.403(a). The recipient must obtain prior
approval of the EPA Project Officer and EPA Award Official for the allowability of costs for temporary
relocation of residents.

Q. Other Federal Requirements

In addition to the statutes outlined in the Labor and Equitable Workforce Programmatic Term and
Condition, Build America, Buy America Programmatic Act Term and Condition, Historic Preservation
Programmatic Term and Condition, Uniform Relocation Assistance and Real Property Acquisitions Policy
Act Programmatic Term and Condition, Consumer Protection Requirements Programmatic Term and
Condition, and Financial Risk Management Programmatic Term and Condition, the recipient must
comply with all federal cross-cutting requirements. These requirements include, but are not limited to:

• Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify any
impact or activities that may involve a threatened or endangered species. Federal agencies have the
responsibility to ensure that no adverse effects to a protected species or habitat occur from actions under
Federal assistance awards and conduct the reviews required under the Endangered Species Act, as
applicable.

• Federal Funding Accountability and Transparency Act: Recipients of financial assistance awards must
comply with the requirements outlined in 2 CFR Part 170, Reporting Subaward and Executive
Compensation.

• Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the Natural
Resources Conservation Service (NRCS) to identify the potential adverse effects of Federal programs on
farmland and its conversion to nonagricultural uses, to mitigate these effects, and to ensure that
programs are carried out in a manner that is compatible with the farmland preservation policies of state
and local governments, and private organizations. Recipients may need to work with EPA or NRCS, as
appropriate, to ensure compliance.
        Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 372 of 556
                                              PageID #: 6302
                                                                                5H - 84090401 - 0   Page 29

• Coastal Zone Management Act: Projects funded under federal financial assistance agreements must be
consistent with a coastal State's approved management program for the coastal zone.

For additional information on cross-cutting requirements visit https://www.epa.gov/grants/epa-subaward-
cross-cutter-requirements.

R. Remedies for Non-Compliance

The recipient agrees to comply with the terms and conditions of the award agreement. Should the
recipient fail to adhere to the terms and conditions of the award agreement, the EPA may seek remedies
under 2 CFR 200.208 or 2 CFR 200.339 up to and including termination and the recovery of unallowable
costs as well as advances not yet disbursed for allowable costs.

The recipient agrees to comply with the statutory requirements of Section 134 of the Clean Air Act.
Should the recipient violate the statutory requirements of Section 134 by failing to use grant funds in
accordance with Section 134 or by failing to ensure that the activities of subrecipients are in accordance
with Section 134, EPA may seek remedies under Section 113, which may subject the recipient to civil
administrative penalties through an EPA administrative enforcement action, civil penalties and/or
injunctive relief through a civil judicial enforcement action by the U.S. Department of Justice (DOJ), or
criminal penalties through a DOJ criminal judicial enforcement action. Should the recipient or its
subrecipients make false claims or statements to EPA, EPA may refer the matter to DOJ to pursue
claims under the False Claims Act (31 USC 3729) or take action under the Program Fraud Civil
Remedies Act (40 CFR Part 27).

S. Clarifications to EPA General Terms and Conditions

EPA agrees to make the following clarifications to the EPA General Terms and Conditions. These
clarifications expand on, rather than replace or modify, the EPA General Terms and Conditions. The
recipient agrees to comply with these clarifications.

1. Access to Records

In accordance with 2 CFR 200.337, EPA and the EPA Office of Inspector General (OIG) have the right to
access any documents, papers, or other records, including electronic records, of the recipient and any
subrecipient which are pertinent to this award in order to make audits, examinations, excerpts, and
transcripts. This right of access also includes timely and reasonable access to the recipient and
subrecipient's personnel for the purpose of interview, discussion, and on-site review related to such
documents. This right of access shall continue as long as the records are retained.

2. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The following clarification to the ASAP and Proper Payment Draw Downs General Term and Condition
applies if the recipient is a Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition. States, as defined in the Eligible Recipient definition, are subject to the
Proper Payment Drawdown for State Recipients General Term and Condition:

The recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 373 of 556
                                             PageID #: 6303
                                                                              5H - 84090401 - 0   Page 30

The recipient is required to notify the EPA Project Officer of draws from ASAP in excess of the following
amounts: $10,000,000 within a 24-hour period or $50,000,000 within a 7-day period. The recipient is
required to provide such notification within 3 business days of the draw amount being surpassed.

3. Establishing and Managing Subawards

2 CFR 200.308 requires the recipient to obtain prior agency approval for “subawarding, transferring or
contracting out of any work under a Federal award.”

EPA will not require additional written approval from the EPA Award Official for a subaward to a
subrecipient that is named in the recipient's EPA-approved Solar for All Workplan.

When the subrecipient is not named in the EPA-approved Solar for All Workplan, the recipient agrees to
provide written guidelines that must be approved by the EPA Project Officer. The recipient is precluded
from drawing down funds for subawards not named in the application until the EPA Project Officer
provides written confirmation of the guidelines. These guidelines must: (a) describe the activities that will
be supported by the subawards; (b) specify the range of funding to be provided through the subawards;
(c) identify which types of entities (i.e., governmental, non-profit, for-profit) will receive the subawards;
and (d) specify how the subrecipients are eligible subrecipients in accordance with EPA's Subaward
Policy, and specifically how the subrecipients will comply with the requirement that the subrecipient
recipient must only receive reimbursement for their actual direct or approved indirect costs such that they
do not “profit” from the transaction.

4. Indirect Cost Rate

The recipient should note that subrecipients that receive loans cannot charge an indirect cost rate
against their loans and that entities that receive participant supports costs cannot charge an indirect cost
rate against their participant support cost payments.

Modified total direct costs (MTDC), as defined in 2 CFR 200.1, means all direct salaries and wages,
applicable fringe benefits, materials and supplies, services, travel, and up to the first $25,000 of each
subaward (regardless of the period of performance of the subawards under the award). MTDC excludes
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, participant support costs and the portion of each subaward in excess of $25,000.

5. Sufficient Progress

The EPA Project Officer may assess whether the recipient is making sufficient progress in implementing
the EPA-approved Solar for All Workplan under this assistance agreement within 30 calendar days after
the recipient submits its annual reporting requirements for the second, third, and fourth years for the
award. “Sufficient progress” shall be assessed based on a comparison of the recipient's planned versus
actual expenditures as well as planned versus actual outputs/outcomes. This term and condition “flows
down” to subrecipients, with the recipient required to assess whether each subrecipient is making
sufficient progress in implementing the EPA-approved Solar for All Workplan under its subaward
agreement; the recipient may increase the frequency and scope of the review of sufficient progress of
subrecipients, in accordance with 2 CFR 200.332 Requirements for Pass-Through Entities.

If the EPA Project Officer determines that the recipient has not made sufficient progress in implementing
its EPA-approved Solar for All Workplan, the recipient, if directed to do so, must implement a corrective
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 374 of 556
                                             PageID #: 6304
                                                                             5H - 84090401 - 0   Page 31

action plan concurred on by the EPA Project Officer and approved by the Award Official or Grants
Management Officer pursuant to 2 CFR 200.208.

6. Termination

EPA maintains the right to terminate the assistance agreement only as specified in 2 CFR 200.339 and 2
CFR 200.340, when the noncompliance with the terms and conditions is substantial such that effective
performance of the assistance agreement is materially impaired or there is sufficient evidence of waste,
fraud, or abuse, prompting adverse action by EPA per 2 CFR 200.339, through either a partial or full
termination. If EPA partially or fully terminates the assistance agreement, EPA must (1) deobligate
uncommitted funds and reobligate them to another Eligible Recipient to effectuate the objectives of
Section 134 of the Clean Air Act, 42 USC § 7434 within 90 calendar days of the deobligation and (2)
amend the recipient's assistance agreement to reflect the reduced amount, based on the deobligation. In
accordance with 2 CFR 200.341, EPA must provide the recipient notice of termination.

T. Period of Performance

The period of performance under this award agreement will start on the date specified in the budget
period and project period of the “Notice of Award” for this assistance agreement and end no later than
five years from that date. However, the period of performance may end prior to five years from the end
date specified in the budget period and project period of the “Notice of Award” if (1) the recipient has
disbursed the entire award amount and (2) the EPA Project Officer has advised the EPA Award Official
that all required work of the Federal award have been completed, in accordance with 2 CFR 200.344.
EPA will not consider all required work to have been completed until the entire award amount (or its
equivalent) has been used for allowable activities. In accordance with 2 CFR 200.344(b), the recipient
agrees to liquidate all financial obligations incurred under the award no later than 120 calendar days after
the end date of the period of performance.

The recipient should note that the recipient will not be considered to have used the entire award amount
so long as any subrecipient has not met the requirements for closeout under 2 CFR 200.344.

U. Closeout Agreement

As provided at 2 CFR 200.307(f) and 2 CFR 1500.8(c), after the end of the period of performance of the
assistance agreement, the recipient may keep and use program income at the end of the assistance
agreement (retained program income) and use program income earned after the assistance agreement
period of performance (post-closeout program income) in accordance with this term and condition. When
used in this Closeout Agreement, the term “program income” includes both retained program income and
post-closeout program income. The closeout agreement goes into effect for this assistance agreement
the day after the assistance agreement period of performance ends, unless otherwise designated by the
EPA Grants Management Officer or Award Official.

Prior to the effective date of the Closeout Agreement, the recipient agrees to submit a post-closeout
program strategy, covering the use of program income retained and earned by the recipient and its
subrecipients. This program strategy will become a condition of the Closeout Agreement, once the
program strategy has been approved by the EPA Project Officer. EPA intends to make the program
strategy, either in whole or in part, available to the public through disclosing copies of the program
strategy as submitted or using the content of the program strategy. Pursuant to 2 CFR 200.338, the
recipient agrees to redact personally identifiable information (PII) and mark confidential business
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 375 of 556
                                            PageID #: 6305
                                                                            5H - 84090401 - 0   Page 32

information (CBI) accordingly. Information claimed as CBI will be disclosed only to the extent, and by
means of the procedures, set forth in 40 CFR Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no
claim of confidential treatment accompanies the information when it is received by EPA, it may be made
available to the public by EPA without further notice to the recipient.
This term and condition is the entire Closeout Agreement between the EPA and the recipient. If any
provisions of this Closeout Agreement are invalidated by a court of law, the parties shall remain bound to
comply with the provisions of this Closeout Agreement that have not been invalidated. The Closeout
Agreement will be interpreted and, if necessary, enforced under Federal law and regulations. The
recipient shall comply with the requirements specified below as part of the Closeout Agreement. As
specified in the Flow-Down Requirements Programmatic Term and Condition, the Closeout Agreement
Programmatic Term and Condition flows down to subrecipients such that the recipient must enter into a
corresponding Closeout Agreement with all subrecipients that have retained program income and/or that
expect to earn post-closeout program income.

1. Allowable Activities

The recipient shall use program income in accordance with the Allowable and Unallowable Activities
Programmatic Term and Condition, as applicable.

2. Reporting Requirements

The recipient shall submit program performance reports to the EPA Project Officer in accordance with
the Performance Reporting Programmatic Term and Condition, as applicable. After September 30, 2031,
the recipient shall disclose program performance reports publicly rather than submitting them to the EPA.

3. Low-Income and Disadvantaged Communities Expenditure Requirements

The recipient shall expend 100% of program income for the purposes of providing financial assistance
and technical assistance in and benefiting low-income and disadvantaged communities to deploy and
benefit from eligible zero emissions technologies and comply with this requirement in accordance with
the Low-Income and Disadvantaged Communities Expenditure Requirements Programmatic Term and
Condition, as applicable.

4. Cash Management Requirements

The recipient is authorized to maintain program income not yet deployed in support of its program
strategy in insured accounts. The recipient is also authorized to maintain program income not yet
deployed in support of its program strategy in accounts where such income is used to purchase U.S.
Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency Marketable Securities, provided
the duration of such instruments is no longer than 90 calendar days and that such instruments are held-
to-maturity if purchased directly; or short-term money market funds consisting solely of the
aforementioned investment instruments and offering daily investor redemptions. The recipient agrees to
enforce these Cash Management Requirements on its subrecipients.

5. Remedies for Non-Compliance

The recipient agrees to identical remedies for non-compliance that are specified in the Remedies for
Non-Compliance Programmatic Term and Condition, as applicable.
        Case 1:25-cv-00039-JJM-PAS           Document 68-123       Filed 02/07/25       Page 376 of 556
                                               PageID #: 6306
                                                                                 5H - 84090401 - 0   Page 33

6. Suspension and Debarment

The recipient agrees to ensure that program income is not used to transfer funds in the form of
subawards, participant support costs, or contracts to entities that are currently suspended, debarred, or
otherwise declared ineligible under 2 CFR Part 180. The recipient may access the System for Award
Management (SAM) exclusion list at https://sam.gov/SAM to determine whether an entity or individual is
presently excluded or disqualified.

7. Non-Discrimination

The recipient must expend program income in compliance with EPA regulations at 40 CFR Part 7
regarding non-discrimination in EPA-funded programs, as applicable.

As provided in 2 CFR 200.300, the general terms and conditions of EPA grants implement
nondiscrimination and social policy requirements:

a. Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, The Age
Discrimination Act of 1975. The recipient agrees to comply with these laws, prohibiting discrimination in
the provision of services or benefits, on the basis of race, color, national origin, sex, disability or age, in
programs or activities receiving federal financial assistance.

Pursuant to EPA's regulations on “Nondiscrimination in Programs receiving Federal Assistance from the
Environmental Protection Agency,” in 40 CFR Part 5 and 40 CFR Part 7 the pass-through entity agrees,
and will require all subrecipients to agree, not to discriminate on the basis of race, color, national origin,
sex, disability or age.

b. Executive Order 11246 Part III of Executive Order No. 11246 (September 24, 1965) as amended
prohibits discrimination in Federally assisted construction activities. As provided in section 301 of the
Executive Order, Pass-through entities will ensure that subrecipients include the seven clauses specified
in section 202 of the Order in all construction contracts. Section 302 defines "Construction contract" as
“any contract for the construction, rehabilitation, alteration, conversion, extension, or repair of buildings,
highways, or other improvements to real property.” Contracts less than $10,000 are exempt from the
requirements of the Order.

8. Record-Keeping
In accordance with 2 CFR 200.334(e), the recipient shall maintain appropriate records to document
compliance with the requirements of the Closeout Agreement (i.e., records relating to the use of retained
and post-closeout program income) for a three-year period following the end of the Closeout Agreement,
unless one of the conditions specified in the regulation applies. EPA may obtain access to these records
to verify that program income has been used in accordance with the terms and conditions of this
Closeout Agreement. Records and documents relating solely to performing the grant agreement prior to
closeout may be disposed of in accordance with 2 CFR 200.334.
Additionally, the recipient must maintain adequate accounting records for how program income is
managed and spent as well as all other appropriate records and documents related to the activities
conducted using retained and post-closeout program income.

The recipient agrees to ensure that subrecipients comply with Federal Funding Accountability and
Transparency Act (FFATA) reporting requirements. Pass-through entities may use the terms of their
subaward agreement or other effective means to meet their responsibilities.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 377 of 556
                                            PageID #: 6307
                                                                             5H - 84090401 - 0   Page 34

9. Other Federal Requirements

The following other federal requirements apply to the use of program income under the terms of this
Closeout Agreement:

       Davis-Bacon and Related Acts, as specified in the Labor and Equitable Workforce
       Programmatic Term and Condition;

       Build America, Buy America Act, as specified in the Build America, Buy America General Term
       and Condition;

       National Historic Preservation Act, as specified in the Historic Preservation Programmatic Term
       and Condition;

       Uniform Relocation Assistance and Real Property Acquisitions Policy Act, as specified in the
       Uniform Relocation Assistance and Real Property Acquisitions Policy Act Programmatic Term
       and Condition;

       Executive Order 11988 (Floodplain Management) and Executive Order 14030 (Climate-Related
       Financial Risk), as specified in the Financial Risk Management Programmatic Term and
       Condition;

        Endangered Species Act, as specified in 50 CFR Part 402;

        Federal Funding Accountability and Transparency Act;

        Farmland Protection Policy Act; and

        Coastal Zone Management Act.

10. Amendments to the Closeout Agreement

The EPA Award Official or Grants Management Officer and the recipient must agree to any modifications
to this Closeout Agreement. Agreed-upon modifications must be in writing and signed by each party. Oral
or unilateral modifications shall not be effective or binding.

11. Termination of the Closeout Agreement

The EPA Award Official or Grants Management Officer and the recipient may mutually agree to terminate
this Closeout Agreement.

12. Points of Contact

The points of contact for the Closeout Agreement are the EPA Project Officer (for the EPA) and
Authorized Representative (for the recipient). If changes are made to these points of contact, the
respective party must notify the other within 30 calendar days of the planned change.

V. Accounting Principles
        Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 378 of 556
                                             PageID #: 6308
                                                                               5H - 84090401 - 0   Page 35

Each recipient and subrecipient must account for Solar for All award funds in accordance with generally
accepted accounting principles (GAAP) as in effect in the United States. Further, the recipient and
subrecipient must segregate and account for Solar for All award funds separately from all other program
and business accounts during both the period of performance and under the Closeout Agreement.
Additionally, the recipient and subrecipient must segregate and account for program income separately
from its drawdowns of EPA award funds during the period of performance to maintain compliance with
the Program Income Programmatic Term and Condition and the Period of Performance Programmatic
Term and Condition.

W. Internal Controls

Each recipient and subrecipient must comply with standards for internal controls described at 2 CFR
200.303. The “Standards for Internal Control in the Federal Government” issued by the Comptroller
General of the United States referenced in § 200.303 are available online at https://www.gao.
gov/assets/gao-14-704g.pdf

X. Audits

The recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during both the
period of performance and under the Closeout Agreement.

The recipient agrees to notify the EPA Project Officer within 30 calendar days of the submission of the
recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data Entry System; the recipient
also agrees to notify the EPA Project Officer within 30 calendar days of the submission of any
subrecipient's Single Audit (i.e., at any tier of subrecipients) to the Federal Audit Clearinghouse's Internet
Data Entry System.

Additionally, in accordance with 2 CFR 200.332 and 2 CFR 200.501(h), the recipient agrees to disclose
directly to the EPA Project Officer audited financial statements from any for-profit subrecipient (i.e., at
any tier of subrecipient) that expends $1,000,000 or more of EPA funds from the recipient's grant
program in the subrecipient's fiscal year. Any for-profit subrecipient that must disclose such financial
statements is required to select an independent auditor consistent with the criteria set forth in 2 CFR
200.509 and obtain an independent audit substantially similar scope and quality to that of the Single
Audit (see 2 CFR 200.500 et. seq.). The subrecipient must submit the audit to the recipient within 9
months of the end of the recipient's fiscal year or 30 calendar days after receiving the report from an
independent auditor, whichever is earlier. As provided in 2 CFR 200.337(a) the recipient must provide
EPA, the EPA Office of Inspector General, and the Comptroller General with access to the subrecipient's
independent auditor reports.

Y. Annual Workshop

Upon the request of the EPA Project Officer, the recipient must participate in an annual workshop (i.e.,
one workshop per calendar year) with other recipients under Solar for All. The workshop may include
recipients from the National Clean Investment Fund and/or Clean Communities Investment Accelerator.
The EPA Project Officer will contact the recipient to finalize details for each annual workshop.

Z. EPA Project Officer Oversight and Monitoring

Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(3)(4) and (6), EPA
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 379 of 556
                                              PageID #: 6309
                                                                               5H - 84090401 - 0   Page 36

has determined that a specific condition is necessary to ensure that eligible recipients effectively carry
out the significant scale, complexity, and novelty of the Solar for All program. This specific condition will
remain in effect throughout the period of performance unless the EPA Award Official determines, based
on a request by the recipient or EPA Project Officer, that some or all of the specific conditions are no
longer necessary for EPA to manage programmatic or financial risks.

The EPA Project Officer, or other EPA staff designated by the EPA Project Officer, will oversee and
monitor the grant agreement through activities including:

1. Participating in project activities, to the extent permissible under EPA policies, such as: consultation on
effective methods of carrying out the EPA-approved Solar for All Workplan, provided the recipient makes
the final decision on how to perform authorized activities; coordination by EPA staff with other recipients
under the Greenhouse Gas Reduction Fund and with other EPA programs, and other federal programs
to avoid duplication of effort;

2. Reviewing the qualifications of key personnel, including senior management and board-level
committee members or contractors employed by recipients. Note that EPA does not have the authority to
select employees or contractors, including consultants, employed by the recipient;

3. Closely monitoring the recipient's management and oversight of subrecipients and procedures for
ensuring that program beneficiaries adhere to program participation guidelines;

4. Closely monitoring the recipient's performance to verify compliance with the EPA-approved Solar for
All Workplan and achievement of environmental results;

5. Participating in periodic telephone conference calls with recipient personnel to discuss project
successes and challenges, and similar items impacting recipient performance;

6. Reviewing and commenting on performance reports prepared under the award agreement. Note that
the final decision on the content of performance reports rests with the recipient;

7. Verifying that the recipient is expending the award on allowable activities, including but not limited to
reviewing a sample of financial assistance transactions to verify compliance with regulatory requirements
and the terms and conditions of this award;

8. Periodically reviewing costs incurred by the recipient as well as its contractors and subrecipients if
needed to ensure appropriate expenditure of grant funds. Note that recipients are not required to submit
documentation of costs incurred before obtaining payments of grant funds;

9. Working with other EPA officials, including but not necessarily limited to the EPA QAM, to review and
approve QAPPs and related documents or verifying that appropriate Quality Assurance requirements
have been met where quality assurance activities are being conducted pursuant to an EPA-approved
QMP; and

10. Monitoring the use of program income after the period of performance ends, in accordance with the
terms of the Closeout Agreement.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA award
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 380 of 556
                                            PageID #: 6310
                                                                             5H - 84090401 - 0   Page 37

or amendment mailing date and must not draw down funds until the objection is resolved. The recipient
must submit the written objection via email to the Award Official, Grant Specialist and Project Officer
identified in the Notice of Award.

Subject to approval by the EPA Award Official, the EPA Project Officer and the recipient may agree to
additional areas of oversight and monitoring.

AA. Compliant URL Links

The EPA may elect to develop informational materials to publicize the key characteristics of the
recipient's Solar for All award. These materials may include links to recipient and/or subrecipients'
websites. The recipient agrees to work with the EPA Project Officer or another member of Solar for All
program staff to ensure any such links are compliant with pertinent EPA and government-wide
standards.

AB. Flow-Down Requirements

As described in 2 CFR 200.101, the terms and conditions of Federal awards flow down to subawards
unless a particular section of 2 CFR 200.101 or the terms and conditions of the Federal award
specifically indicate otherwise. As required by 2 CFR 200.332(a)(2) and in accordance with the
Establishing and Managing Subawards General Term and Condition, the recipient agrees to ensure that
subrecipients are subject to the same requirements as those that apply to the pass-through entity's EPA
award.

For the purposes of this award agreement, all terms and conditions must flow down to subawards to the
extent they are applicable. The EPA Project Officer is authorized to waive the applicability of
programmatic terms and conditions to subawards, unless the term and condition implements statutory,
regulatory, or executive order requirements.

AC. Financial Assistance in the Form of Credit Enhancements

If the recipient's EPA-approved Solar for All Workplan includes providing financial assistance in the form
of credit enhancements such as loan loss reserves or loan guarantees, the recipient is authorized to
draw down funds as cash reserves. “Cash reserves” means cash that is drawn down and subsequently
held in order to support the recipient's deployment of financial assistance in the form of credit
enhancements. Cash reserves involve the drawdown and disbursement of grant funds into an escrow
account meeting the following standards: (1) the recipient does not retain possession of the grant funds;
(2) the recipient cannot get the funds back from the escrow account upon demand; (3) the entity
providing the escrow account is independent from the recipient; (4) the recipient is able to use the funds
in the escrow account to support eligible uses of cash reserves, as defined here; and (5) the escrow
account is with an “insured depository institution,” as defined in 12 USC 1813. The recipient is not
authorized to use an escrow account until the substantive terms of the escrow account have been
reviewed and approved by the EPA Project Officer.

The recipient agrees to provide written guidelines for all financial assistance in the form of credit
enhancements that must be approved by the EPA Project Officer prior to the recipient implementing its
strategy, even if the form of credit enhancement is described in the EPA-approved Solar for All
Workplan. These guidelines must describe how the expenditure enables low-income and disadvantaged
communities to deploy and benefit from eligible zero-emissions technologies.
        Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25       Page 381 of 556
                                              PageID #: 6311
                                                                                 5H - 84090401 - 0   Page 38

Any obligations that the recipient incurs in excess of the grant award funds allocated and expended to
execute its credit enhancement strategy are the recipient's responsibility. This limitation on the extent of
the Federal Government's financial commitment to the recipient's credit enhancement strategy shall be
communicated to all participating banks, borrowers, subrecipients, or program beneficiaries prior to the
execution of any documentation governing such transactions with any such parties.

AD. Additional Requirements for Eligible Nonprofit Recipients

The following terms and conditions apply if the recipient is an Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition:

1. Incorporation and Control

The recipient agrees to maintain its incorporation in the United States and to maintain its status as not
being controlled by one or several entities that are not eligible recipients. Control is defined by either (i)
control in any manner over the election of a majority of the directors, trustees, or general partners (or
individuals exercising similar functions) or (ii) the power to exercise, directly or indirectly, a controlling
influence over management policies or investment decisions.

2. Governance Requirements

A. Board Size and Composition

The recipient agrees to ensure that its board size in terms of number of members (excluding advisory
committees) is commensurate with the scope of oversight and monitoring activities as well as the scale,
complexity, and risk profile of the recipient's EPA-approved Solar for All Workplan as well as other
business activities. The board must have a sufficient number of members to adequately staff each of its
committees.

The recipient agrees to ensure that its board consists of members that are qualified with relevant
expertise, skills, and track record as well as representative members (including from low-income and
disadvantaged communities).

In accordance with 2 CFR 200.329(e), in the event of a vacancy in board membership, the recipient
agrees to notify the EPA Project Officer about the vacancy within 15 calendar days of the vacancy and
make its best efforts to fill the vacancy with a qualified member within 120 calendar days of the vacancy.

B. Board Independence

The recipient agrees to ensure that the majority of the board is independent, in accordance with the
Internal Revenue Service's definition of “independent” for the purposes of Form 990 reporting.

C. Board Policies and Procedures

The recipient agrees to enforce board policies and procedures including, among others, those that
ensure strong ethics and mitigate conflicts of interest; ensure appropriate board training to review and
assess internal risk assessments for all of the organization's significant activities; and ensure regular
board engagement, including frequency of meetings and attendance procedures.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 382 of 556
                                            PageID #: 6312
                                                                             5H - 84090401 - 0   Page 39

The recipient agrees to require recusals from any officers or members of the board of directors with a
personal or organizational conflict of interest in the decision-making and management related to financial
transactions under this award. Such recusals must include but not be limited to decision-making and
management of subawards and participant support cost payments to or from any organization in which
an officer or member of the board of directors or their immediate family is directly employed by or has a
consulting or other contractual relationship with, serves on the board, or is otherwise affiliated with the
organization. The term “immediate family” has the same meaning as that term in the EPA's Final
Financial Assistance Conflict of Interest Policy.

3. Legal Counsel

The recipient agrees to consult appropriate legal counsel. Counsel must review all agreements
associated with any form of financial assistance provided that generates program income prior to
execution of the documentation, unless the EPA Project Officer waives this requirement. The recipient is
required to maintain and appropriately update such documentation during both the period of performance
and under the Closeout Agreement. Upon request by the EPA Project Officer, the recipient agrees to
provide certification from legal counsel that such documentation complies with these terms and
conditions, the EPA-approved Solar for All Workplan, and applicable State and local law.
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 383 of 556
                               PageID #: 6313




                 EXHIBIT N
Toor Declaration  Exhibit N
         Case 1:25-cv-00039-JJM-PAS                                   Document 68-123                        Filed 02/07/25                  Page 384 of 556
                                                                        PageID #: 6314



                                         Solar For All (SFA) Terms and Conditions (June 21, 2024)
         I. Definitions ................................................................................................................................................. 3
             Air Pollutant .............................................................................................................................................. 3
             Apprentice................................................................................................................................................. 3
             Eligible Recipient ....................................................................................................................................... 3
             Eligible Zero-Emissions Technology .......................................................................................................... 4
             EPA Award Official .................................................................................................................................... 4
             EPA Project Officer .................................................................................................................................... 4
             Financial Assistance .................................................................................................................................. 5
             Greenhouse Gas ........................................................................................................................................ 5
             Low-Income and Disadvantaged Communities ........................................................................................ 5
             Participant Support Costs ......................................................................................................................... 6
             Program Administration Activities ............................................................................................................ 6
             Program Beneficiary.................................................................................................................................. 6
             Program Income........................................................................................................................................ 6
             Project-Deployment Technical Assistance ................................................................................................ 7
             Subaward .................................................................................................................................................. 7
             Subrecipient .............................................................................................................................................. 7
         II. National Programmatic Terms and Conditions ....................................................................................... 8
             A. Performance Reporting ........................................................................................................................ 8
             B. Cybersecurity Condition...................................................................................................................... 10
             C. Competency Policy .............................................................................................................................. 12
             D. Signage Required ................................................................................................................................ 12
             E. In-Kind Assistance ............................................................................................................................... 13
             F. Geospatial Data Standards .................................................................................................................. 13
             G. Leveraging and Fund Raising .............................................................................................................. 13
             H. Quality Assurance ............................................................................................................................... 14
             I. Equipment Disposition ......................................................................................................................... 15
             J. Real Property ....................................................................................................................................... 15
             K. Program Income.................................................................................................................................. 16
             L. Use of Logos ........................................................................................................................................ 16
         III. Additional Programmatic Terms and Conditions ................................................................................. 17
            A. Conflicts Among Authorities ............................................................................................................... 17
            B. Specific Condition on Completion of EPA-approved Solar for All Workplan ...................................... 17
            C. Solar for All Workplan ......................................................................................................................... 18
            D. Allowable and Unallowable Activities ................................................................................................ 18
            E. Foreign Entity of Concern ................................................................................................................... 19
            F. Low-Income and Disadvantaged Communities Expenditure Requirement ........................................ 19
            G. Revolving Loan Fund Characterization ............................................................................................... 19
            H. Subawards to For-Profit Entities......................................................................................................... 20
            I. Subawards as Part of Revolving Loan Funds ........................................................................................ 20
            J. Participant Support Costs .................................................................................................................... 21
            K. Labor and Equitable Workforce Development Requirements............................................................ 22
            L. Build America, Buy America Act .......................................................................................................... 25
            M. Consumer Protection Requirements ................................................................................................. 26
            N. Financial Risk Management Requirements ........................................................................................ 26



                                                                                         1
Case 1:25-cv-00039-JJM-PAS                                   Document 68-123                        Filed 02/07/25                  Page 385 of 556
                                                               PageID #: 6315



   O. Historic Preservation .......................................................................................................................... 27
   P. Uniform Relocation Assistance and Real Property Acquisition Policies Act ....................................... 28
   Q. Other Federal Requirements .............................................................................................................. 28
   R. Remedies for Non-Compliance ........................................................................................................... 29
   S. Clarifications to EPA General Terms and Conditions .......................................................................... 29
   T. Period of Performance ........................................................................................................................ 31
   U. Closeout Agreement ........................................................................................................................... 31
   V. Accounting Principles.......................................................................................................................... 34
   W. Internal Controls ................................................................................................................................ 34
   X. Audits .................................................................................................................................................. 34
   Y. Annual Workshop................................................................................................................................ 35
   Z. EPA Project Officer Oversight and Monitoring ................................................................................... 35
   AA. Compliant URL Links ......................................................................................................................... 36
   AB. Flow-Down Requirements ................................................................................................................ 36
   AC. Financial Assistance in the Form of Credit Enhancements............................................................... 36
   AD. Additional Requirements for Eligible Nonprofit Recipients ............................................................. 37
IV. Administrative Terms and Conditions.................................................................................................. 39
   A. General Terms and Conditions ........................................................................................................... 39
   B. Correspondence Condition ................................................................................................................. 39
   C. Intergovernmental Review Period ...................................................................................................... 39
   D. Pre-Award Costs ................................................................................................................................. 40
   E. Pre-Award Administrative Capability .................................................................................................. 40
   F. New Recipient Training Requirement ................................................................................................. 40




                                                                                2
Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 386 of 556
                                            PageID #: 6316



I. Definitions

Air Pollutant: “Air pollutant” means any air pollutant that is listed pursuant to Section 108(a) of the
Clean Air Act (or any precursor to such an air pollutant). This includes particulate matter, ozone, carbon
monoxide, sulfur dioxide, nitrogen dioxide, and lead (see 40 CFR Part 50) and their precursors (e.g.,
volatile organic compounds).

Apprentice: “Apprentice” means an individual working on a project receiving financial assistance who is
participating in a Registered Apprenticeship program under the National Apprenticeship Act that meets
the requirements of 29 CFR Parts 29 and 30.

Eligible Recipient: Eligible recipients under the Solar for All program include: (1) states (including
territories as defined below), (2) municipalities, (3) Tribal governments, or (4) eligible nonprofit recipients,
each of which is defined in accordance with the Clean Air Act as described below:
•   State: Section 302(d) of the Clean Air Act defines a state as a state, the District of Columbia, the
    Commonwealth of Puerto Rico, the Virgin Islands, Guam, American Samoa, and the Commonwealth
    of the Northern Mariana Islands. Eligible recipients that are states are identified on the Notice of
    Award as a “state” recipient type.
•   Municipality: Section 302(f) of the Clean Air Act provides that a municipality is a city, town, borough,
    county, parish, district, or other public body created by or pursuant to state law. This term may include
    councils of government (COGs) created by or pursuant to the laws of one or more states even if a COG
    is incorporated as a nonprofit organization. Eligible recipients that are municipality are identified on
    the Notice of Award as either a “municipal”, “county”, or “township” recipient type.
•   Tribal Government: Section 302(r) of the Clean Air Act “Indian Tribe” as any “Indian Tribe, band,
    nation, or other organized group or community, including any Alaska Native village, which is Federally
    recognized as eligible for the special programs and services provided by the United States to Indians
    because of their status as Indians.” EPA includes Intertribal Consortia that meet the requirements of
    40 CFR § 35.504 as an eligible recipient under this category pursuant to the authority in 40 CFR §
    35.501(b) to issue guidance extending Intertribal Consortia eligibility to environmental programs
    established subsequent to the effective date of 40 CFR Part 35, Subpart B. As provided in 40 CFR
    35.504(a) all members of the Intertribal consortium must meet the definition of “Indian Tribe” in
    Section 302(r) of the Clean Air Act. Eligible recipients that are Tribal governments are identified on
    the Notice of Award as an Indian Tribe recipient type. Eligible Recipients that are defined as Tribal
    governments because they are Intertribal Consortia may be identified as a not for profit on the Notice
    of Award. In these cases, the EPA-approved Solar for All workplan will identify the recipient type as
    an Intertribal Consortia.
•   Eligible Nonprofit Recipient: In accordance with Section 134(c)(1) of the Clean Air Act, a nonprofit
    organization must satisfy each of the below requirements to be deemed an eligible nonprofit recipient
    under the Solar for All program:
        a. Meeting the definition of Nonprofit organization set forth in 2 CFR 200.1;
        b. Having an organizational mission consistent with being “designed to provide capital,
           leverage private capital, and provide other forms of financial assistance for the rapid
           deployment of low- and zero-emission products, technologies, and services;”
        c. Not receiving any “deposit” (as defined in Section 3(l) of the Federal Deposit Insurance Act)
           or “member account” or “account” (as defined in Section 101 of the Federal Credit Union
           Act);
        d. Being funded by public or charitable contributions; and


                                                       3
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 387 of 556
                                           PageID #: 6317



         e. Having the legal authority to invest in or finance projects.
Eligible recipients that are eligible nonprofit recipients are identified on the Notice of Award as a not for
profit recipient type, excluding recipients that are identified as Intertribal Consortia on the EPA-
approved Solar for All workplan.

Eligible Zero-Emissions Technology: Section 134(a)(1) of the Clean Air Act provides that grants be used to
provide financial assistance and technical assistance “to enable low-income and disadvantaged
communities to deploy or benefit from zero-emissions technologies.” Section 134(c)(4) of the Clean Air
Act provides that the term zero-emissions technology means any technology that produces zero emissions
of (a) any air pollutant that is listed in Section 108(a) (or any precursor to such an air pollutant) and (b)
any greenhouse gas. There are four eligible zero-emissions technology categories. The four categories are:
•   Residential Rooftop Solar: Behind-the-meter solar photovoltaic (PV) power-producing facilities,
    including rooftop, pole-mounted, and ground-mounted PV systems, that deliver all the power
    generated from the facilities to residential customers in existing and new single-family homes,
    manufactured homes, or multifamily buildings. Residential rooftop solar includes behind-the-meter
    solar facilities serving multifamily buildings classified as commercial buildings so long as the solar
    facility benefits residential customers either directly or indirectly such as through tenant benefit
    agreements. Residential rooftop solar includes properties that are both rented and owned.
•   Residential-Serving Community Solar: A solar PV power-producing facility or solar energy purchasing
    program from a power-producing facility, with up to 5 MWac nameplate capacity, that delivers at least
    50% of the power generated from the system—by delivering at least 50% of the benefits (e.g.,
    financial savings, renewable energy credits) derived from the power generated by the community
    solar system—to residential customers within the same utility territory as the facility.
•   Associated Storage: Infrastructure to store solar-generated power for the purposes of maximizing
    residential rooftop and residential-serving community solar deployment that is deployed in
    conjunction with an eligible residential rooftop solar or residential-serving community solar project.
    Stand-alone energy storage infrastructure is not an eligible zero-emissions technology.
•   Enabling Upgrades: Investments in energy and building infrastructure that are necessary to deploy or
    maximize the benefits of a residential rooftop and residential-serving community solar project.
    Enabling upgrades must satisfy all of the following criteria to be an eligible zero-emissions technology:
    (1) an investment in energy or building infrastructure and (2) necessary to deploy or maximize the
    benefits (i.e., financial savings or resiliency benefits) of a residential rooftop and residential-serving
    community solar project as defined above.

EPA Award Official: “EPA Award Official” means the award official from the Office of Grants and
Debarment that is authorized to execute the award agreement, as well as any subsequent amendments
to the award agreement, and to make any other final determinations required by law or regulation on
behalf of the EPA.

EPA Project Officer: “EPA Project Officer” means the project officer from the Office of the Greenhouse
Gas Reduction Fund that is assigned, along with the EPA Grants Specialist, to monitor the recipient on
programmatic and technical aspects of the project and is typically authorized to make programmatic
approvals on behalf of the EPA.




                                                      4
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 388 of 556
                                          PageID #: 6318



Financial Assistance: Section 134(a)(1) of the Clean Air Act provides that grants be used to provide
financial assistance “to enable low-income and disadvantaged communities to deploy or benefit from
zero-emissions technologies.” Consistent with the definition of Federal financial assistance in 2 CFR
200.1, financial assistance means assistance that non-Federal entities receive or administer in the form
of debt (such as loans, partially forgivable loans, forgivable loans, zero-interest and below-market
interest loans, loans paired with interest rate buydowns, secured and unsecured loans, lines of credit,
subordinated debt, warehouse lending, and other debt instruments), credit enhancements (such as loan
guarantees, loan guarantee funds, loan loss reserves, and other credit enhancement instruments that
are not acquisitions of intangible property), subgrants, subsidies, and rebates. Financial assistance that
generates program income such as debt and credit enhancements are considered financial products.

Greenhouse Gas: “Greenhouse gas” means carbon dioxide, hydrofluorocarbons, methane, nitrous
oxide, perfluorocarbons, and sulfur hexafluoride, as defined in Section 134(c)(2) of the Clean Air Act.

Low-Income and Disadvantaged Communities: Section 134(a)(1) of the Clean Air Act provides that
grants be used to provide financial assistance and technical assistance “to enable low-income and
disadvantaged communities to deploy or benefit from zero-emissions technologies.” “Low-income and
disadvantaged communities” means CEJST-identified disadvantaged communities, EJScreen-identified
disadvantaged communities, geographically dispersed low-income households, and properties providing
affordable housing, as defined below.
    • CEJST-Identified Disadvantaged Communities: All communities identified as disadvantaged
        through version 1.0 of the Climate and Economic Justice Screening Tool (CEJST), released on
        November 22, 2022, which includes census tracts that meet the thresholds for at least one of
        the tool’s categories of burden and land within the boundaries of Federally Recognized Tribes.
    • EJScreen-Identified Disadvantaged Communities: All communities within version 2.2 of EJScreen
        that fall within either (a) the limited supplemental set of census block groups that are at or
        above the 90th percentile for any of EJScreen’s supplemental indexes when compared to the
        nation or state or (b) geographic areas within Tribal lands as included in EJScreen, which
        includes the following Tribal lands: Alaska Native Allotments, Alaska Native Villages, American
        Indian Reservations, American Indian Off-reservation Trust Lands, and Oklahoma Tribal
        Statistical Areas.
    • Geographically Dispersed Low-Income Households: Low-income individuals and households
        living in Metropolitan Areas with incomes not more than 80% AMI or 200% FPL (whichever is
        higher), and low-income individuals and households living in Non-Metropolitan Areas with
        incomes not more than 80% AMI, 200% FPL, or 80% Statewide Non-Metropolitan Area AMI
        (whichever is highest). Federal Poverty Level (FPL) is defined using the latest publicly available
        figures from the U.S. Department of Health and Human Services. Area Median Income (AMI) is
        defined using the latest publicly available figures from the U.S. Department of Housing and
        Urban Development. Metropolitan Area and Non-Metropolitan Area are defined using the latest
        publicly available figures for county-level designations from the Office of Management and
        Budget. Statewide Non-Metropolitan Area AMI is defined using the latest publicly available
        figures from the U.S. Department of the Treasury’s CDFI Fund, with an adjustment for household
        size using the U.S. Department of Housing Development’s Family Size Adjustment factor.
    • Properties Providing Affordable Housing: Properties providing affordable housing that fall within
        either of the following two categories: (a) multifamily housing with rents not exceeding 30% of
        80% AMI for at least half of residential units and with an active affordability covenant from one
        of the following federal or state housing assistance programs: (1) Low-Income Housing Tax
        Credit; (2) a housing assistance program administered by the U.S. Department of Housing and


                                                     5
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 389 of 556
                                          PageID #: 6319



        Urban Development (HUD), including Public Housing, Section 8 Project-Based Rental Assistance,
        Section 202 Housing for the Elderly, Section 811 Housing for Disabled, Housing Trust Fund,
        Home Investment Partnership Program Affordable Rental and Homeowner Units, Permanent
        Supportive Housing, and other programs focused on ending homelessness that are funded
        under HUD’s Continuum of Care Program; (3) a housing assistance program administered by
        USDA under Title V of the Housing Act of 1949, including under Sections 514 and 515; or (4) a
        housing assistance program administered by a Tribally designated housing entity, as defined in
        Section 4(22) of the Native American Housing Assistance and Self-Determination Act of 1996 (25
        USC § 4103(22)) or (b) naturally-occurring (unsubsidized) affordable housing with rents not
        exceeding 30% of 80% AMI for at least half of residential units.

Participant Support Costs: 2 CFR 200.1 defines participant support costs as “direct costs for items such
as stipends or subsistence allowances, travel allowances, and registration fees paid to or on behalf of
participants or trainees (but not employees) in connection with conferences, or training projects.” EPA
regulations at 2 CFR 1500.1(a)(1) expand the definition of participant support costs to include “subsidies,
rebates, and other payments to program beneficiaries to encourage participation in statutorily
authorized environmental stewardship programs,” which includes the Greenhouse Gas Reduction Fund.
In this program, participant support costs are primarily a form of financial assistance to projects which
enable low-income and disadvantaged communities to deploy or benefit from zero-emissions
technologies.

Program Administration Activities: “Program administration activities” means activities that support
administration of the grant program, to the extent such activities meet the requirements for allowability
under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500. Expenditures for
program administration activities could include those for program performance, financial and
administrative reporting, and compliance, including but not limited to activities to support, monitor,
oversee, and audit subrecipients, contractors, and program beneficiaries. Program administration costs
include procuring services and tools that support the recipient in program design (e.g., technical
assistance from the United States Department of Energy (DOE) National Laboratories to support the
recipient directly for program design). Program administration activities may also include establishing
and convening advisory councils, as described in Item 2 of EPA’s Guidance on Selected Items of Cost for
Recipients, and fund raising, as described in Item 4 of EPA’s Guidance on Selected Items of Cost for
Recipients.

Program Beneficiary: “Program beneficiary” means an entity (either an individual or an organization)
that receives financial assistance or technical assistance from the recipient or a subrecipient as an end-
user. Expenditures for financial assistance or technical assistance to program beneficiaries are in the
form of participant support costs, as defined in 2 CFR 1500.1. A program beneficiary is distinct from a
subrecipient, as defined in 2 CFR 200.1.

Program Income: Consistent with 2 CFR 200.1, “program income” means gross income earned by the
recipient that is directly generated by a supported activity or earned as a result of the award. Under this
assistance agreement, program income includes but is not limited to loan and other origination fees,
interest payments, principal repayments, interest on cash deposits, revenue from asset sales and other
sources of program income. Additionally, under this assistance agreement, refunds from cash reserves,
release of loan loss reserves, and similar transactions are treated as program income under 2 CFR
1500.8(b), and terms and conditions applicable to program income apply to such transactions. Costs
incidental to the generation of program income may be deducted from gross income to determine


                                                     6
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25        Page 390 of 556
                                          PageID #: 6320



program income as authorized by 2 CFR 1500.8(b). EPA-specific rules on program income are provided
at 2 CFR 1500.8, and rules on allowable fund raising costs are provided under 2 CFR 200.442 (with
additional details in Item 4 of the EPA Guidance on Selected Items of Cost for Recipients).

Project-Deployment Technical Assistance: Section 134(a)(1) of the Clean Air Act provides that funds for
this competition be used for “technical assistance.” Technical assistance is defined as “project-
deployment technical assistance” and is services and tools provided by recipients to overcome non-
financial barriers to rooftop residential solar or residential-serving community solar deployment or build
the capacity of communities and businesses to deploy solar. Examples of these services and tools
include workforce training, customer outreach and education, project deployment assistance such as
siting, permitting, and interconnection support, coordination with utilities for the purposes of project
deployment, distributed solar deployment training for developers, working capital lines of credit to
small businesses, and other services and tools that enable low-income and disadvantaged communities
to deploy or benefit from rooftop residential solar, and residential-serving community solar. Please
note: financial products that build the capacity of communities and businesses to deploy solar including
but not limited to predevelopment loans and grants or working capital lines of credit to businesses or
other forms of financing to build the solar project pipeline are classified as “project-deployment
technical assistance” for the purposes of this program.

Subaward: 2 CFR 200.1 defines a subaward as “an award provided by a pass-through entity to a
subrecipient for the subrecipient to carry out part of a Federal award received by the pass-through
entity.” Since subawards may come in other forms (i.e., loans), the term “subgrant” denotes a subaward
in the form of a grant.

Subrecipient: Consistent with 2 CFR 200.1, “subrecipient” means an entity that receives a subaward
from a pass-through entity to carry out part of a Federal award but does not include an entity that is a
program beneficiary of such an award. A subrecipient is distinct from a program beneficiary, which is
referenced in 2 CFR 1500.1.




                                                    7
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 391 of 556
                                         PageID #: 6321



II. National Programmatic Terms and Conditions

A. Performance Reporting
In accordance with 2 CFR 200.329 and 2 CFR 200.337, the recipient agrees to the following two
requirements of performance reporting: (1) performance reports and (2) transaction-level and project-
level data. The recipient agrees to ensure that these reports cover its own expenditures as well as the
expenditures of its subrecipients, contractors, and program beneficiaries in implementing the recipient’s
EPA-approved Solar for All Workplan under the federal award. The recipient agrees that EPA may amend
the award agreement to reflect information collection instruments authorized by GGRF Accomplishment
Reporting (EPA ICR Number 2783.01, OMB Control Number 2090-NEW), once such instruments are
authorized.

The recipient acknowledges that knowingly and willfully making a false statement may be subject to
criminal prosecution under 18 U.S.C. 1001 and/or other civil and administrative sanctions.

EPA intends to make the performance reporting information available to the public, either in whole or in
part, through disclosing copies of the reports as submitted or using the content of the reports to
prepare EPA reporting documents. Pursuant to 2 CFR 200.338, the recipient agrees to redact personally
identifiable information (PII) and mark confidential business information (CBI) accordingly. Information
claimed as CBI will be disclosed only to the extent, and by means of the procedures, set forth in 40 CFR
Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment accompanies the
information when it is received by EPA, it may be made available to the public by EPA without further
notice to the recipient.

The EPA Project Officer may extend the due date for performance reporting requirements to the extent
authorized by 2 CFR 200.329 and 2 CFR 200.344. On a case-by-case basis, the EPA Project Officer may
waive or modify performance reporting requirements to the extent authorized by 2 CFR 200.329 and 2
CFR 200.344.

The following additional term and condition applicable to performance reporting applies if the
recipient is an Eligible Nonprofit Recipient as defined in the Eligible Recipient definition:

The recipient agrees to have its chief executive officer (or equivalent) and chief reporting officer (or
equivalent) review, sign, and submit reporting electronically to the EPA Project Officer. To the extent
that the reporting is not compliant with the terms and conditions, or demonstrates noncompliance with
the terms and conditions, the chief executive officer (or equivalent) and chief reporting officer (or
equivalent) must note such noncompliance to the EPA Project Officer alongside the submission.

1. Performance Reports

Semi-Annual Report
The recipient agrees to submit semi-annual reports (including but not limited to performance metrics)
that are in accordance with information collection instruments approved through GGRF
Accomplishment Reporting (EPA ICR Number 2783.01, OMB Control Number 2090-NEW).

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer
within 30 calendar days after the semi-annual reporting period ends. The recipient may submit a request
to the EPA Project Officer for a permanent extension to 60 calendar days. A request may be made once,


                                                   8
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 392 of 556
                                          PageID #: 6322



and it must include (i) an explanation of the recipient’s unique circumstance as to why they need the
extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after the semi-
annual reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of the
Period of Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. If the
period of performance begins prior to July 1, 2024, then the first semi-annual reporting period shall
cover the first day of the period of performance through December 31, 2024.

The semi-annual performance report should cover activities from the preceding two quarters. For the
semi-annual reporting period that ends December 31, recipients will provide information on activities
conducted from April 1 to September 30 rather than from July 1 to December 31. For the semi-annual
reporting period that ends June 30, recipients will provide information on activities conducted from
October 1 to March 31 rather than from January 1 to June 30.

Final Report
The recipient agrees to submit a final report in a format conducive for immediate public consumption.
The final report must contain detailed narratives describing program performance for the entire period
of performance, representing an overall assessment of the recipient’s implementation of its EPA-
approved Solar for All Workplan, supported with qualitative discussions and quantitative metrics.
Additionally, the recipient should detail its program strategy and plans for performance reporting under
the Closeout Agreement. The recipient must include the following broad, non-exhaustive elements in its
annual reports:

    •   Progress towards objectives on key performance metrics over the entire period of performance,
    •   Summary of key activities completed in the entire period of performance, including case studies
        across different types of financial assistance and project-deployment technical assistance
        undertaken to enable low-income and disadvantaged communities to deploy or benefit from
        zero-emissions technologies,
    •   Geographic coverage of financial assistance and project-deployment technical assistance
        deployed in the entire period of performance,
    •   Descriptions and examples of actions the program took over the entire period of performance to
        meaningfully involve the communities the program serves in program design and operations,
    •   Plans for key activities (including current transaction pipeline) to be completed as well as
        outputs and outcomes to be achieved under the Closeout Agreement.

These reports must be submitted ready to be published on the EPA website for public consumption and
must not include any material that the recipient considers to be Confidential Business Information (CBI)
or Personal Identifiable Information (PII). All reports will undergo an EPA review process to verify that
there is no PII or CBI claims in publishable reports. Reports submitting with CBI claims will not comply
with this requirement and may result in remedial action by EPA. Should EPA identify PII in reports, the
EPA Project Officer will require that the recipient re-submit the report without the PII so that it can be
published without redaction.

The recipient agrees to submit the final performance report electronically to the EPA Project Officer no
later than 120 calendar days after the end date of the period of performance.




                                                     9
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 393 of 556
                                           PageID #: 6323



2. Transaction-Level and Project-Level Data
The recipient agrees to submit semi-annual transaction-level and project-level data in accordance with
information collection instruments approved through GGRF Accomplishment Reporting (EPA ICR
Number 2783.01, OMB Control Number 2090-NEW).

The recipient agrees to submit the transaction-level and project-level data electronically to the EPA
Project Officer within 30 calendar days after the semi-annual reporting period ends. The recipient may
submit a request to the EPA Project Officer for a permanent extension to 60 calendar days. A request
may be made once, and it must include (i) an explanation of the recipient’s unique circumstance as to
why they need the extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar
days after the semi-annual reporting period ends); and (iii) the duration of the extension (i.e., up to the
remainder of the Period of Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. If the
period of performance begins prior to July 1, 2024, then the first semi-annual reporting period shall
cover the first day of the period of performance through December 31, 2024.

The semi-annual transaction-level and project-level reports should cover transactions originated in the
preceding two quarters. For the semi-annual reporting period that ends December 31, recipients will
provide information on transactions originated from April 1 to September 30 rather than from July 1 to
December 31. For the semi-annual reporting period that ends June 30, recipients will provide
information on transactions originated from October 1 to March 31 rather than from January 1 to June
30.

B. Cybersecurity Condition

The following terms and conditions applicable to cybersecurity apply if the recipient is a State as
defined in the Eligible Recipient definition:

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer and work with the designated Regional/Headquarters Information Security Officer to ensure that
the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.




                                                     10
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 394 of 556
                                           PageID #: 6324



(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient’s network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance
with this condition: by including this requirement in subaward agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the recipient is a Tribal
Government as defined in the Eligible Recipient definition so long as the recipient is not identified as a
not for profit on the Notice of Award:

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable Tribal law and policy cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure. For purposes
of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by EPA’s
regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient’s network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance
with this condition: by including this requirement in subaward agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the recipient is a Municipality
or Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the recipient is both
a Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit in
the Notice of Award:




                                                     11
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 395 of 556
                                         PageID #: 6325



(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State or Tribal law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure. For purposes
of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by EPA’s
regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient’s network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance
with this condition: by including this requirement in subaward agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

C. Competency Policy
In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, the recipient agrees, by entering into this agreement, that it has demonstrated
competency prior to award, or alternatively, where a pre-award demonstration of competency is not
practicable, the recipient agrees to demonstrate competency prior to carrying out any activities under
the award involving the generation or use of environmental data. The recipient shall maintain
competency for the duration of the project period of this agreement and this will be documented during
the annual reporting process. A copy of the Policy is available online
at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-new.pdf or
a copy may also be requested by contacting the EPA Project Officer for this award.

D. Signage Required

1. Signage Requirements
a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites
supported in whole or in part by this award displaying the official Investing in America emblem and must
identify the project as a “project funded by President Biden’s Inflation Reduction Act,” where the
financial assistance used to fund the construction project exceeds $250,000. The recipient will also make
optional signage available for projects where the construction is less than $250,000. The sign must be


                                                   12
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 396 of 556
                                          PageID #: 6326



placed at construction sites in an easily visible location that can be directly linked to the work taking
place and must be maintained in good condition throughout the construction period. The recipient will
ensure compliance with the guidelines and design specifications provided by EPA for using the official
Investing in America emblem available at: https://www.epa.gov/invest/investing-america-signage.

b. Procuring Signs: Consistent with section 6002 of RCRA, 42 USC 6962, and 2 CFR 200.323, the recipient
is encouraged to use recycled or recovered materials when procuring signs. Signage costs are considered
an allowable cost under this assistance agreement provided that the costs associated with signage are
reasonable. Additionally, to increase public awareness of projects serving communities where English is
not the predominant language, the recipient is encouraged to translate the language on signs (excluding
the official Investing in America emblem or EPA logo or seal) into the appropriate non-English
language(s). The costs of such translation are allowable, provided the costs are reasonable.

2. Public or Media Events
The recipient agrees to notify the EPA Project Officer of public or media events publicizing the
accomplishment of significant activities related to execution of the EPA-approved Solar for All Workplan
and provide the opportunity for attendance and participation by federal representatives with at least 15
calendar days notice.

E. In-Kind Assistance
This action awards federal funds in the amount specified on the Notice of Award of which $400,000 is
anticipated to be through in-kind assistance. The in-kind assistance will include but is not limited to
convenings and peer networking, market data collection, research and analysis, tool building, and
education and outreach, to assist recipients in achieving the objectives of the Solar for All program.

F. Geospatial Data Standards
All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Leveraging and Fund Raising

1. Leveraging
The recipient agrees to make best efforts to provide the proposed leveraged funding that is described in
its EPA-approved Solar for All Workplan. If the proposed leveraging does not materialize during the
period of performance, and the recipient does not provide a satisfactory explanation, the Agency may
consider this factor in evaluating future proposals from the recipient. In addition, if the proposed
leveraging does not materialize during the period of performance, then EPA may reconsider the
legitimacy of the award; if EPA determines that the recipient knowingly or recklessly provided inaccurate
information regarding the leveraged funding described in the application, EPA may take action as
authorized by 2 CFR Part 200 and/or 2 CFR Part 180 as applicable.

2. Fund Raising
2 CFR 200.442 provides coverage on allowable fund raising costs, with additional details contained in
Item 4 of the EPA Guidance on Selected Items of Cost for Recipients. Fund raising costs are an allowable
cost and may include costs that are reasonable and necessary for raising additional capital to provide
financial assistance to eligible zero emissions technologies or project-deployment technical assistance to
enable low-income and disadvantaged communities to deploy and benefit from eligible zero emission
technologies.


                                                    13
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 397 of 556
                                          PageID #: 6327




Allowable fund raising costs must meet the following two criteria, in addition to meeting the
requirements for allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR
Part 1500: (1) must be in support of the Greenhouse Gas Reduction Fund’s third program objective to
mobilize financing and private capital and (2) must be reasonable and necessary to raise capital from
private-sector investors. Funds a recipient raises with costs borne by an EPA financial assistance
agreement are considered program income, which must be treated in accordance with the Program
Income Programmatic Term and Condition. When fund raising costs are paid for by both the award as
well as other sources, a portion of the funds raised equal to the share of fund raising costs charged to
the award will be treated as program income.

H. Quality Assurance
Authority: Quality Assurance applies to all assistance agreements involving environmental information
as defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure
subrecipients develop and implement the Quality Assurance (QA) planning documents(s) in accordance
with this term and condition and/or ensure subrecipients implement all applicable approved QA
planning documents. Note, EPA will not approve any QA planning documents developed by a
subrecipient. The recipient is responsible for reviewing and approving its subrecipient QA planning
documents, if required based on the subrecipients environmental information collection operations.

1. Quality Management Plan (QMP)
a. Prior to beginning environmental information operations needed to complete the requirements
outlined in the Performance Reporting Programmatic Term and Condition, the recipient must:
i. Submit a previously EPA-approved and current Quality Management Plan (QMP). The EPA Quality
Assurance Manager or designee (hereafter referred to as QAM) will notify the recipient and EPA Project
Officer in writing if the previously EPA-approved QMP is acceptable for this agreement,
ii. Develop a QMP in consultation with the EPA Project Officer and EPA QAM if a previously EPA-
approved and current QMP is not in place,
iii. Submit the QMP within 90 calendar days of the date of award for the first amendment of the
agreement and obtain EPA Project Officer and EPA QAM approval,
iv. Review the approved QMP at least annually. These documented reviews shall be made available to
the sponsoring EPA organization if requested. When necessary, the recipient shall revise its QMP to
incorporate minor changes and notify the EPA Project Officer and QAM of the changes. If significant
changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA Project Officer and
QAM in writing when such changes occur. Conditions requiring the revision and resubmittal of an
approved QMP can be found in section 6 of EPA’s Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)
a. Prior to beginning environmental information operations needed to complete the requirements
outlined in the Performance Reporting Programmatic Term and Condition, the recipient must:
i. Develop a Quality Assurance Project Plan (QAPP) in consultation with the EPA Project Officer and EPA
QAM,



                                                    14
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 398 of 556
                                          PageID #: 6328



ii. Submit the QAPP within 90 calendar days of the date of award for the first amendment of the
agreement and obtain EPA Project Officer and EPA QAM approval,
iii. Review the approved QAPP at least annually. These documented reviews shall be made available to
the sponsoring EPA organization if requested. When necessary, the recipient shall revise its QAPP to
incorporate minor changes and notify the EPA Project Officer and QAM of the changes. If significant
changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QAPP for re-approval. In general, a
copy of any QAPP revision(s) made during the year should be submitted to the EPA Project Officer and
QAM in writing when such changes occur. Conditions requiring the revision and resubmittal of an
approved QAPP can be found in section 6 of EPA’s Quality Assurance Project Plan (QAPP) Standard.

The following materials contain quality specifications and definitions to facilitate adherence to these
terms and conditions:
• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard;
contain quality specifications for EPA and non-EPA organizations and definitions applicable to these
terms and conditions.
• EPA QA/G-5: Guidance for Quality Assurance Project Plans.
• EPA’s Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.
• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

I. Equipment Disposition

The following term and condition applicable to equipment disposition applies if the recipient is a
Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined in the Eligible Recipient
definition:

In accordance with 2 CFR 200.313, when original or replacement equipment acquired under this
agreement is no longer needed for the original project or program or for other activities currently or
previously supported by EPA, the recipient may dispose of the equipment without further instruction
from EPA.

J. Real Property
In accordance with 2 CFR 200.311, title to real property acquired or improved under this agreement will
vest upon acquisition in the recipient. This property must be used for the originally authorized purpose
as long as needed for that purpose, during which time the recipient must not dispose of or encumber its
title or other interests.

Disposition
When real property is no longer needed for the originally authorized purpose, the recipient must obtain
disposition instructions from EPA. The instructions will provide for one of the following alternatives:

    1. Retain title after compensating EPA. The amount paid to EPA will be computed by applying EPA's
       percentage of participation in the cost of the original purchase (and costs of any improvements)
       to the fair market value of the property. However, in those situations where recipient is
       disposing of real property acquired or improved with a Federal award and acquiring




                                                   15
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 399 of 556
                                          PageID #: 6329



       replacement real property under the same Federal award, the net proceeds from the disposition
       may be used as an offset to the cost of the replacement property.
    2. Sell the property and compensate EPA. The amount due to EPA will be calculated by applying
       EPA's percentage of participation in the cost of the original purchase (and cost of any
       improvements) to the proceeds of the sale after deduction of any actual and reasonable selling
       and fixing-up expenses. If the Federal award has not been closed out, the net proceeds from
       sale may be offset against the original cost of the property. When the recipient is directed to sell
       property, sales procedures must be followed that provide for competition to the extent
       practicable and result in the highest possible return.
    3. Transfer title to EPA or to a third party designated/approved by EPA. The recipient is entitled to
       be paid an amount calculated by applying the recipient's percentage of participation in the
       purchase of the real property (and cost of any improvements) to the current fair market value of
       the property.

Recordation
As authorized by 2 CFR 200.316, EPA requires that recipients who use EPA funding to purchase and
improve real property through an EPA funded construction project record a lien or similar notice in the
real property records for the jurisdiction in which the real property is located, which indicates that the
real property has been acquired and improved with federal funding and that use and disposition
conditions apply to the real property.

K. Program Income
In accordance with 2 CFR 200.307(e)(2) and 2 CFR 1500.8(b), the recipient and any subrecipient must
retain program income earned during the period of performance. Program income will be added to
funds committed to the program by EPA and used for the purposes and under the conditions of the
assistance agreement and beyond the period of performance based on a closeout agreement. Until such
a closeout agreement is effective, the recipient and subrecipient are authorized to use program income
under the conditions of the assistance agreement, pending execution of the closeout agreement. In
accordance with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term
and Condition, the recipient and subrecipient may only use program income once the award is fully
drawn down or the period of performance ends for a different reason. Program income must be
deposited and held in an account meeting the requirements in the Financial Risk Management
Programmatic Term and Condition.

In accordance with 2 CFR 200.307(b), costs incidental to the generation of program income may be
deducted from gross income to determine program income, provided these costs have not been
charged to the EPA award or another Federal financial assistance agreement. The recipient must retain
adequate accounting records to document that any costs deducted from gross income to determine
program income comply with regulatory requirements.

L. Use of Logos
If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the recipient received financial support from the EPA under an
Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-
seal-and-logo#policy.



                                                    16
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 400 of 556
                                           PageID #: 6330




III. Additional Programmatic Terms and Conditions

A. Conflicts Among Authorities
Any inconsistency or conflict among the authorities governing the recipient’s administration of this
award will be resolved in the following order of precedence: public laws, regulations (including 2 CFR
200 and 2 CFR 1500), applicable notices published in the Federal Register, Executive Orders, and these
award agreement terms and conditions.

B. Specific Condition on Completion of EPA-approved Solar for All Workplan
Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(2) and (6), EPA has
determined that a specific condition is necessary to ensure that the recipient’s EPA-approved Solar for
All Workplan allows the recipient to effectively carry out the significant scale, complexity, and novelty of
the Solar for All program. Based on this determination, until the documents listed below have been
approved by the EPA Grants Management Officer or Award Official, the recipient may draw down no
more than 2% of the EPA funding, identified in the Notice of Award, for direct costs for the following
cost categories: personnel; fringe benefits; contractual costs for consultants procured in accordance
with 2 CFR 200 and 1500; and indirect costs, that are necessary for the recipient to finalize the scope of
work of this agreement. This limitation includes pre-award costs and costs the recipient incurs after
award. EPA cannot confirm whether costs incurred or drawn down are allowable until EPA reviews and
approves the documents below. Any costs incurred by the recipient are at their own risk until the
documents below are approved by EPA.

Within 90 calendar days of receipt of award, the recipient must submit the following documents to the
EPA Project Officer identified in the Notice of Award:

            •   Revised SF-424A, Budget Information for Non-Construction Programs
            •   Indirect Rate Proposal or Agreement, if applicable
            •   Revised Budget Narrative
            •   Revised Project Specific Workplan (i.e., the EPA-approved Solar for All Workplan)

Action Required to remove the specific condition. EPA will review the recipient’s submissions and will
work with the recipient to refine the SF-424A to ensure that all costs are reasonable, allocable, and
allowable; the budget narrative appropriately reflects the full budget of the award; and that there is
sufficient detail of estimated funding amounts for each project task. Upon completion and EPA approval
of the above documents, EPA will promptly remove this term and condition, as required by 2 CFR
200.208(e), and all remaining funds will be available to the recipient to draw down reasonable,
allocable, and allowable expenditures in accordance with its EPA-approved Solar for All Workplan.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

The EPA Award Official may modify this requirement on a case-by-case basis.




                                                    17
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 401 of 556
                                          PageID #: 6331



C. Solar for All Workplan
1. EPA-approved Solar for All Workplan
The recipient agrees to implement this grant in accordance with its EPA-approved Solar for All
Workplan. The recipient agrees that the public laws, regulations, applicable notices, Executive Orders,
and these award agreement terms and conditions supersede the EPA-approved Solar for All Workplan in
the event there are conflicting provisions in the EPA-approved Solar for All Workplan.

2. Specific condition on revisions to EPA-approved Solar for All workplan in the one-year planning
period
The recipient’s EPA-approved Solar for All Workplan may include work to refine the program during the
one-year planning period. Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR
200.208(c)(2) and (6), EPA has determined that a specific condition is necessary to ensure that the
further revisions to the recipient’s EPA-approved Solar for All Workplan allow the recipient to effectively
carry out the significant scale, complexity, and novelty of the Solar for All program. Based on this
determination, if the recipient makes revisions to its EPA-approved Solar for All Workplan during the
one-year planning period, the recipient must first receive approval from the EPA Grants Management
Officer or Award Official on the revised Solar for All Workplan prior to requesting drawdown on any
revised work. EPA will not make payments for unapproved work and any costs incurred for unapproved
work by the recipient are at its own risk.

The recipient may continue to request payments and EPA will make payments for costs covered by the
EPA-approved Solar for All Workplan while the EPA Grants Management Officer or Award Official, as
appropriate, reviews any revised Solar for All Workplan.

Action Required to remove the specific condition. If the recipient makes revisions to its workplan during
the planning period, the recipient must submit the revised workplan to EPA no later than 365 calendar
days after the date of award for the first amendment of the agreement. EPA will review the recipient’s
submissions and will work with the recipient to refine the SF-424A to ensure that all costs are
reasonable, allocable, and allowable; the budget narrative appropriately reflects the full budget of the
award; and that there is sufficient detail of estimated funding amounts for each project task. Upon
completion and EPA approval of any revisions to the EPA-approved Solar for All Workplan, timeline,
budget narrative, budget detail, and SF-424A (if applicable), EPA will promptly remove this term and
condition, as require by 2 CFR 200.208(e), and the recipient may then request payments for the revised
work that has been approved by EPA.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

D. Allowable and Unallowable Activities
The recipient agrees to only use the award to support the following allowable activities: financial
assistance and project-deployment technical assistance that enable low-income and disadvantaged
communities to deploy and benefit from eligible zero emissions technologies as well as participant
support costs for trainees in workforce development programs. All costs charged to the award to


                                                    18
Case 1:25-cv-00039-JJM-PAS               Document 68-123          Filed 02/07/25        Page 402 of 556
                                           PageID #: 6332



support these activities must meet the requirements for allowability under 2 CFR Part 200, Subpart E as
well as applicable provisions of 2 CFR Part 1500. In addition, the recipient agrees to obtain prior
approval from the EPA Award Official prior to the expenditure of the award for activities that involve
acquiring real property, including related equipment purchases. Note, the recipient may meet this
requirement by specifying the framework for all acquisitions of real property in its EPA-approved Solar
for All Workplan.

The recipient agrees to not use the award for the following unallowable activities: (a) activities that
support deployment of projects that do not meet the definition of eligible zero-emissions technologies;
(b) Costs of acquiring “intangible property,” as defined in 2 CFR 200.1; and (c) activities that support
deployment of projects outside the boundaries of the ten EPA regions. The recipient also agrees not to
use the award for activities associated with defending against, settling, or satisfying a claim by a private
litigant, except when either (a) the claim stems from the recipient’s compliance with the terms and
conditions of the award agreement or (b) the recipient has obtained prior written approval from the EPA
Project Officer.

E. Foreign Entity of Concern
As part of carrying out this award, recipient agrees to ensure that entities the recipient contracts with,
the recipient makes subawards to, or that receive funds as program beneficiaries at any tier of funding
under this grant agreement are not—
        (A) an entity owned by, controlled by, or subject to the direction of a government of a covered
            nation under 10 U.S.C. 4872(d);
        (B) an entity headquartered in a covered nation under 10 U.S.C. 4872(d); or
        (C) a subsidiary of an entity described in (A) or (B).
As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People’s Republic of North Korea; the People’s Republic of China; the Russian
Federation; and the Islamic Republic of Iran.
F. Low-Income and Disadvantaged Communities Expenditure Requirement
The recipient agrees to ensure that 100% of the award is used for the purposes of enabling low-income
and disadvantaged communities to deploy and benefit from eligible zero emissions technologies. This
requirement applies to the entire award provided to the recipient and “flows down” to all subrecipients.

G. Revolving Loan Fund Characterization
EPA considers the portion of the award used to provide financial products, including financial products
that are categorized as project-deployment technical assistance under this program, that may generate
program income as a capitalization of a revolving loan fund for the purposes of 2 CFR 1500.8(d). Such
financial assistance may include subawards or participant support costs. In accordance with section 2.0
Applicability and Effective Date and the definition of Subaward in section 3.0 of the EPA Subaward
Policy, the EPA Subaward Policy does not apply to the recipient’s subawards from the capitalization of a
revolving loan fund.

EPA does not consider the remaining portion of the award as a capitalization of a revolving loan fund for
the purposes of 2 CFR 1500.8(d). As such, all subgrants made by the recipient are subject to the EPA
Subaward Policy.




                                                     19
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 403 of 556
                                          PageID #: 6333



H. Subawards to For-Profit Entities
The recipient is authorized to provide subawards to for-profit entities as included in the EPA-approved
Solar for All Workplan. The recipient agrees to require that for-profit entities that receive such
subawards:
1. Can only recover their eligible and allowable direct and indirect costs from EPA-funded activities,
including recovering the portion of their overhead costs attributable to the activities by applying either a
Federally approved indirect cost rate, as authorized by 2 CFR 200.414(f), or the de-minimis rate if the
subrecipient does not have a Federally approved rate;
2. Comply with the Management Fees General Term and Condition, which is incorporated by reference
into the Establishing and Managing Subawards General Term and Condition;
3. Account for and use program income under the rules for program income pursuant to 2 CFR 1500.8(b)
and the terms and conditions of the award agreement;
4. Be subject to the same requirements as non-profit subrecipients under 2 CFR Part 200 Subparts A
through E, as federal awarding agencies are authorized to apply 2 CFR Part 200 Subparts A through E to
for-profit entities in accordance with 2 CFR 200.101(b); and
5. Select an independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an
independent audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR
200.500 et. seq.); the subrecipient must submit the audit to the recipient within 9 months of the end of
the recipient’s fiscal year or 30 calendar days after receiving the report from an independent auditor,
whichever is earlier; as provided in 2 CFR 200.337(a) the recipient must provide EPA, the EPA Office of
Inspector General, and the Comptroller General with access to the subrecipient’s independent auditor
reports.

I. Subawards as Part of Revolving Loan Funds
The following requirements apply when the recipient provides Subawards under 2 CFR 200.1 as part of a
revolving loan fund. These requirements apply to the recipient and subrecipient in lieu of those specified
in the Establishing and Managing Subawards General Term and Condition.

1. The recipient agrees to provide written guidelines for all subawards provided as part of a revolving
loan fund. The recipient is precluded from drawing down funds for subawards provided as part of a
revolving loan fund until the EPA Project Officer provides written confirmation of the guidelines. These
guidelines must: (a) describe the activities that will be supported by the subawards; (b) specify the range
of funding to be provided through the subawards; (c) identify which types of entities (i.e., governmental,
non-profit, for-profit) will receive the subawards; and (d) specify how the subrecipients are eligible
subrecipients in accordance with EPA’s Subaward Policy. Additionally, if a recipient plans to subaward to
a for-profit entity the recipient’s response to (d) must specifically describe how the for-profit
subrecipient will only receive reimbursement for their actual direct or approved indirect costs such that
the subrecipient does not “profit” from the transaction.
2. The recipient must establish and follow a system that ensures all financial assistance agreements are
in writing and contain all of the elements required by 2 CFR 200.332(a), including the indirect cost
provision of 2 CFR 200.332(a)(4) for subawards. EPA has developed an optional template for subaward
agreements available in Appendix D of the EPA Subaward Policy, which may also be used for such
subaward agreements.
3. The subrecipient must comply with the internal control requirements specified at 2 CFR 200.303 and
is subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The pass-through entity must include a
condition in all financial assistance agreements that requires subrecipients to comply with these
requirements. No other provisions of the Uniform Grant Guidance, including the Procurement
Standards, apply directly to the subrecipient.


                                                    20
Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25        Page 404 of 556
                                           PageID #: 6334



4. Prior to making the subaward, the recipient must ensure that the subrecipient has a “unique entity
identifier.” This identifier is required for registering in the System for Award Management (SAM) and by
2 CFR Part 25 and 2 CFR 200.332(a)(1). The unique entity identifier (UEI) is generated when an entity
registers in SAM. Information on registering in SAM and obtaining a UEI is available in the General
Condition of the pass-through entity’s agreement with EPA entitled “System for Award Management
and Universal Identifier Requirements.”

J. Participant Support Costs
1. Participant Support Cost Requirements
The recipient may provide financial assistance and project-deployment technical assistance to enable
low-income and disadvantaged communities to deploy and benefit from eligible zero emissions
technologies in the form of participant support costs.

The recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
requirements on participant support costs, in addition to other requirements included in the terms and
conditions of this award agreement:

A. The recipient and program beneficiaries are responsible for taxes, if any, on payments made to or on
behalf of entities participating in this program that are allowable as participant support costs under 2
CFR 200.1, 2 CFR 200.456, or 2 CFR 1500.1. EPA encourages the recipient and program beneficiaries to
consult their tax advisers, the U.S. Internal Revenue Service, or state and local tax authorities regarding
the taxability of subsidies, rebates and other participant support cost payments. However, EPA does not
provide advice on tax issues relating to these payments.
B. Participant support cost payments are lower tiered covered Nonprocurement transactions for the
purposes of 2 CFR 180.300 and the Suspension and Debarment General Term and Condition. The
recipient, therefore, may not make participant support cost payments to entities excluded from
participation in Federal Nonprocurement programs under 2 CFR Part 180 and must ensure that
subrecipients adhere to this requirement as well. The recipient is responsible for checking that program
participants are not excluded from participation through either (1) checking the System for Award
Management (SAM) or (2) obtaining eligibility certifications from the program participants.

The recipient is precluded from drawing down funds for participant support costs until the EPA Project
Officer provides written confirmation of the guidelines. These guidelines must: (a) describe the activities
that will be supported by the participant support costs; (b) specify the range of funding to be provided
through the participant support costs; (c) identify which types of entities will have title to equipment (if
any) purchased with a rebate or subsidy; (d) establish source documentation requirements (e.g.,
invoices) for accounting records; and (e) describe purchasing controls to ensure that the amount of the
participant support cost is determined in a commercially reasonable manner as required by 2 CFR
200.404.

The recipient agrees to reporting and transaction documentation of participant support costs in support
of the reporting requirements in the Performance Reporting Programmatic Term and Condition.

2. Participant Support Costs for Fellowship, Internship Programs and Similar Programs
When the recipient uses EPA funds for participant support costs payments as stipends for workforce
development, scholarships, tuition remission and other forms of student aid, these participant support
costs may only be used for citizens of the United States, its territories, or possessions, or for individuals
lawfully admitted to the United States for permanent residence.


                                                      21
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 405 of 556
                                          PageID #: 6335



The recipient and program participants are responsible for taxes, if any, on payments made to or on
behalf of individuals participating in this program that are allowable as participant support costs under 2
CFR 200.1 or 2 CFR 200.456 and scholarships and other forms of student aid such as tuition remission
under 2 CFR 200.466. EPA encourages recipients and program participants to consult their tax advisers,
the U.S. Internal Revenue Service, or state and local tax authorities regarding the taxability of stipends,
tuition remission and other payments. However, EPA does not provide advice on tax issues relating to
these payments.

Participant support cost payments, scholarships, and other forms of student aid such as tuition
remission are lower tiered covered Nonprocurement transactions for the purposes of 2 CFR 180.300 and
EPA’s Suspension and Debarment Term and Condition. Recipients, therefore, may not make participant
support cost payments to individuals who are excluded from participation in Federal
Nonprocurement programs under 2 CFR Part 180. Recipients are responsible for checking the eligibility
of program participants in the System for Award Management (SAM) or obtaining eligibility
certifications from the program participants.

See EPA Guidance on Participant Support Costs

K. Labor and Equitable Workforce Development Requirements

1. Davis-Bacon and Related Acts (DBRA)
A. Program Applicability
As provided in Section 314 of the Clean Air Act (42 USC § 7614) (DBRA), Davis-Bacon Act (42 USC §§
3141-3144) labor standards apply to projects assisted by grants and cooperative agreements made
under the Greenhouse Gas Reduction Fund. Accordingly, all laborers and mechanics employed by
contractors or subcontractors on projects assisted under this award agreement shall be paid wages at
rates not less than those prevailing for the same type of work on similar construction in the locality as
determined by the Secretary of Labor in accordance with 40 USC Subtitle II, Part A, Chapter 31,
Subchapter IV (Wage Rate Requirements). Under the Greenhouse Gas Reduction Fund, the relevant
construction type and prevailing wage classifications would be “Building” and “Residential.” The
Secretary of Labor’s wage determinations are available at https://sam.gov/content/wage-
determinations.

Therefore, recipient must ensure that any construction work financed in whole or in part with such
financial assistance, as defined in these Terms and Conditions, provided under this agreement complies
with Davis Bacon and Related Act requirements and the requirements of these Terms and Conditions
The recipient must ensure that these requirements apply to all construction projects assisted by such
financial assistance without regard to whether the work is contracted for by a subrecipient, contractor,
subcontractor, or program beneficiary that receives financial assistance.

If the recipient encounters a situation that presents uncertainties regarding DBRA applicability under
this assistance agreement, the recipient must discuss the situation with the EPA Project Officer before
authorizing work on the project.

In the event that a periodic project site visit, audit, or routine communication with subrecipient,
program beneficiary, contractor, or subcontractor determines any instances of non-compliance or
potential non-compliance with the requirements of this term and condition or the Davis-Bacon and



                                                    22
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 406 of 556
                                          PageID #: 6336



Related Act, the recipient agrees to promptly inform the EPA Project Officer for possible referral to the
U.S. Department of Labor for guidance or enforcement action.

Consistent with the definitions at 29 CFR § 5.2, the term “construction” refers to all types of work done
on a particular building or work at the site of the work by laborers and mechanics employed be a
contractor or subcontractor. Additional guidance is available in the definition of the term “building or
work” in 29 CFR § 5.2.

B. Davis-Bacon and Related Acts
Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

    •   Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics
        on construction contracts of $2,000 or more;
    •   Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
        employee into giving up any part of the compensation to which he or she is entitled; and
    •   Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
        over 40 hours of work per week, under contracts in excess of $100,000.

C. Recipient Responsibilities When Entering Into and Managing Contracts:

        a. Solicitation and Contract Requirements:
                i. Include the Correct Wage Determinations in Bid Solicitations and Contracts:
                    Recipients are responsible for complying with the procedures provided in 29 CFR 1.6
                    when soliciting bids and awarding contracts.
               ii. Include DBRA Requirements in All Contracts: Include “By accepting this contract,
                    the contractor acknowledges and agrees to the terms provided in the DBRA
                    Requirements for Contractors and Subcontractors Under EPA Grants.”
        b. After Award of Contract:
                i. Approve and Submit Requests for Additional Wages Rates: Work with contractors
                    to request additional wage rates if required for contracts under this grant, as
                    provided in 29 CFR 5.5(a)(1)(iii).
               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions:
                    Ensure contractor compliance with the terms of the contract, as required by 29 CFR
                    5.6.

D. Recipient Responsibilities When Establishing and Managing Additional Subawards:

        a. Include DBRA Requirements in All Subawards (including Loans): Include the following text
           on all subawards under this grant: “By accepting this award, the EPA subrecipient
           acknowledges and agrees to the terms and conditions provided in the DBRA Requirements
           for EPA Subrecipients.”
        b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible
           for oversight of subrecipients and must ensure subrecipients comply with the requirements
           in 29 CFR 5.6.




                                                    23
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 407 of 556
                                           PageID #: 6337



        c. Provide Oversight to Ensure Compliance with Participant Support Cost Requirements:
           Recipients are responsible for oversight of subrecipients and must ensure that subrecipients
           comply with the requirements in subsection E, below.

E. Recipient/Subrecipient Responsibilities When Managing Participant Support Costs to Program
   Beneficiaries

Any financial assistance provided in the form of a participant support cost to a program beneficiary shall
include the following text:

        “[Name of Recipient/Subrecipient providing the Financial Assistance] retains the following
        responsibilities for all contracts and subcontracts assisted by this [form of Financial Assistance]:

        a. Solicitation and Contract Requirements:
                i. Include the Correct Wage Determinations in Bid Solicitations and Contracts:
                    “[Name of Recipient/Subrecipient providing the Financial Assistance] is responsible
                    for ensuring that any contracts or subcontracts made by Program Beneficiaries
                    and/or assisted by Participant Support Costs comply with the procedures provided
                    in 29 CFR 1.6(b) when soliciting bids and awarding contracts.
               ii. Include DBRA Requirements in All Contracts: Include the following text “By
                    accepting this contract, the contractor acknowledges and agrees to the terms
                    provided in the DBRA Requirements for Contractors and Subcontractors Under EPA
                    Grants.”
        b. After Award of Contract:
                i. Approve and Submit Requests for Additional Wages Rates: Work with contractors
                    to request additional wage rates if required for contracts under this grant, as
                    provided in 29 CFR 5.5(a)(1)(iii).
               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions:
                    Ensure contractor compliance with the terms of the contract, as required by 29 CFR
                    5.6.

The contract clauses set forth in this term and condition, along with the correct wage determinations,
will be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or
exemption. Where the clauses and applicable wage determinations are effective by operation of law
under this paragraph, the prime contractor must be compensated for any resulting increase in wages in
accordance with applicable law.

F. DBRA Compliance Monitoring Requirement

Reasonable and necessary costs for DBRA compliance are allowable and allocable grant costs. Such costs
include, but are not limited to, the procurement of a payroll reporting and compliance management
software product to meet the documentation and reporting requirements under 29 CFR 5.5(a)(3)(ii) for
all construction projects assisted under this award.

2. Mega Construction Project Program



                                                     24
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 408 of 556
                                          PageID #: 6338



The recipient must work with the U.S. Department of Labor’s Office of Federal Contract Compliance
Programs (OFCCP) to identify projects that are within the scope of OFCCP’s Mega Construction Project
Program, which includes federally-assisted projects with a total project value above $35,000,000. If
those projects are selected from a wide range of federally-assisted projects over which OFCCP has
jurisdiction, those projects will be required to participate and partner with OFCCP in the OFCCP Mega
Construction Projects program.

3. Compliance with Federal Statutes and Regulations
The recipient agrees to comply with other applicable federal statutes and regulations related to labor
and equitable workforce development as well as to enforce compliance with subrecipients, contractors,
and other partners. This includes but is not limited to applicable health and safety regulations as
administer by the Occupational Safety and Health Administration.

4. Free and Fair Choice to Join a Union
In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), the recipient agrees to design and implement a policy to
increase high-quality job opportunities for American workers and improving equitable access to these
jobs, including in traditional energy communities, through the timely implementation of requirements
for prevailing wages and registered apprenticeships and by focusing on high labor standards and the
free and fair chance to join a union.

In accordance with the EPA General Terms and Conditions, grant funds may not be used to support or
oppose union organizing, whether directly or as an offset for other funds.

5. Disadvantaged Business Enterprises
The recipient agrees to comply with 40 CFR Part 33, “Participation by Disadvantaged Business
Enterprises in U.S. Environmental Protection Agency Programs” set forth requirements for making good
faith efforts to ensure that Disadvantaged Business Enterprises, including Minority Business Enterprises
and Women’s Business Enterprises receive a fair share of contracts awarded with funds provided by EPA
financial assistance agreements. These requirements apply to subrecipients in accordance with 40 CFR
33.102 and the definition of “Recipient” in 40 CFR 33.103.

L. Build America, Buy America Act
The Build America, Buy America Act – Public Law 117-58, requires the EPA to ensure that “none of the
funds made available for a Federal financial assistance program for infrastructure, including each
deficient program, may be obligated for a project unless all of the iron, steel, manufactured products,
and construction materials used in the project are produced in the United States.” (P.L. 117-58, Secs
70911 – 70917).

The recipient is bound to the EPA Build America, Buy America General Term and Condition, which
outlines the Build America, Buy America requirements that all recipients of EPA financial assistance
awards must comply with.

If the recipient encounters a situation that presents uncertainties regarding Build America, Buy America
applicability under this assistance agreement, the recipient must discuss the situation with the EPA
Project Officer before authorizing work on the project.




                                                   25
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 409 of 556
                                          PageID #: 6339



M. Consumer Protection Requirements
The recipient agrees to carry out the following consumer financial protection requirements to the extent
that the recipient directly interacts, transacts, or contracts with consumers:
    1. Comply with the Equal Credit Opportunity Act, the Truth in Lending Act, the Consumer Financial
        Protection Act, and other federal consumer protection laws that apply;
    2. Provide written disclosures to consumers containing information in clear and understandable
        language regarding purchasing, leasing, or financing as well as the costs associated with a
        consumer’s transaction;
    3. With regard to solar products or services, provide written disclosures on the impact of the solar
        project on the consumer’s ability to sell or refinance their home and recording of any liens on
        the home; consumer rights; contact information for the solar project provider; and complaint
        procedures for the consumer if they have a problem with the solar project or sales process;
    4. Require that all in-person and telephone marketing that directly interacts, transacts, or
        contracts with consumers be conducted in a language in which the consumer subject to the
        marketing is able to understand and communicate; and
    5. Maintain a process for receiving, monitoring, and resolving consumer complaints, including
        ensuring that complaints are appropriately addressed and referring complaints, when necessary,
        to the appropriate government regulatory agency.

The recipient agrees to monitor and oversee subrecipients and contractors with respect to these
consumer financial protection requirements to the extent that they directly interact, transact, or
contract with consumers, in accordance with 2 CFR 200.332(d) and 2 CFR 200.318.

N. Financial Risk Management Requirements

1. Cash Management Requirements
The recipient and any subrecipient must deposit and maintain advance payments of Federal funds into
insured accounts, in accordance with 2 CFR 200.305(b)(7)(ii). Interest income earned on the advance
payment from EPA to the recipient prior to disbursement is subject to the requirements on interest
earned within 2 CFR 200.305(b)(8) and 2 CFR 200.305(b)(9); consequently, such interest earned in
excess of $500 must be remitted annually to the Department of Health and Human Services Payment
Management System.

The recipient and subrecipient are authorized to maintain program income in insured accounts. The
recipient and subrecipient are also authorized to maintain program income in accounts where such
income is used to purchase U.S. Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency
Marketable Securities, provided the duration of such instruments is no longer than 90 calendar days and
that such instruments are held-to-maturity if purchased directly; or short-term money market funds
consisting solely of the aforementioned investment instruments and offering daily investor
redemptions. Interest income and other returns earned on funds that have already been disbursed is
considered additional program income consistent with 2 CFR 1500.8(d) and is not subject to the
requirements on interest earned within 2 CFR 200.305(b)(8) and 2 CFR 200.305(b)(9).

2. Climate-Related Financial Risks
The recipient agrees to comply with Executive Order 11988 (Floodplain Management). This may include
accounting for and evaluating practicable alternatives or other mitigation related to ameliorating flood
risks and protecting flood plains as part of its financial risk management policies and procedures.



                                                   26
Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 410 of 556
                                            PageID #: 6340



The recipient agrees to comply with Executive Order 14030 (Climate-Related Financial Risk). This may
include accounting for climate-related financial risks—including physical and transition risks—in its
financial risk management policies and procedures.

3. Additional Requirements
The recipient agrees to not subordinate its interests in any asset that the recipient acquires with EPA
funds or program income in a manner that waives EPA’s claim for compensation under any applicable
statutory claims, 2 CFR Part 200, or common law.

The recipient agrees to apply EPA’s Final Financial Assistance Conflict of Interest Policy to all subawards
and participant support costs made to entities receiving financial assistance or project-deployment
technical assistance. Notwithstanding the statement in section 2.0 of the Conflict of Interest (COI) Policy
that it does not apply to “Subawards in the form of loans, loan guarantees, interest subsidies and
principal forgiveness, purchases of insurance or similar transactions entered into with borrowers by
recipients of revolving loan fund capitalization grants or other EPA financial assistance agreements
where Agency funds may be used for lending activities,” EPA is applying the COI Policy to these
transactions through this term and condition.

The recipient agrees to provide subrecipients that receive subawards to provide financial assistance or
project-deployment technical assistance with training and technical assistance on program-related
matters, including on prudent financial risk management practices, in accordance with 2 CFR 200.332(e).

O. Historic Preservation

National Historic Preservation Act (NHPA)
Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant or cooperative agreement, on historic properties, and to provide
the Advisory Council on Historic Preservation (ACHP) a reasonable opportunity to comment on such
undertakings. The recipient must assist the EPA Project Officer in complying with NHPA if any activities
funded under this grant impact a historic property. Historic properties include: (a) land or buildings
listed in or eligible for listing on the National Register of Historic Places; (b) archaeologically sensitive
areas or in an area where traditional cultural properties are located; and (c) properties that are
associated with significant historic events, are associated with significant people, embody distinctive
characteristics, and contain important precontact information.

The recipient should work with their Project Officer to ensure that subrecipients are available to work
with EPA on any required consultation process with the State or Tribal Historic Preservation Office prior
to commencing the project to ensure compliance with Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)
This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-


                                                      27
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 411 of 556
                                         PageID #: 6341



sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished
or substantially altered, or allowed to deteriorate significantly. The recipient must ensure that
subrecipients performing construction projects are aware of this requirement, and the recipient must
notify EPA if the AHPA is triggered.

P. Uniform Relocation Assistance and Real Property Acquisition Policies Act
The Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA) applies to
acquisitions of property and displacements of individuals and businesses that result from federally
assisted programs. The URA and Federal Highway Administration’s implementing regulations at 49 CFR
Part 24 require the recipient to follow certain procedures for acquiring property for purposes under the
federal award, such as notice, negotiation, and appraisal requirements. The statute and regulations also
contain requirements for carrying out relocations of displaced persons and businesses, such as
reimbursement requirements for moving expenses and standards for replacement housing. The
recipient must comply with, and ensure subrecipients comply with, the URA and 49 CFR Part 34 if an
EPA-funded acquisition of property results in permanent displacement of individuals or businesses. Note
that although the URA does not apply to temporary displacement of residents, the cost for temporary
relocation of residents may be an allowable cost under the “necessary and reasonable for the
performance of the federal award” provision of 2 CFR 200.403(a). The recipient must obtain prior
approval of the EPA Project Officer and EPA Award Official for the allowability of costs for temporary
relocation of residents.

Q. Other Federal Requirements
In addition to the statutes outlined in the Labor and Equitable Workforce Programmatic Term and
Condition, Build America, Buy America Programmatic Act Term and Condition, Historic Preservation
Programmatic Term and Condition, Uniform Relocation Assistance and Real Property Acquisitions Policy
Act Programmatic Term and Condition, Consumer Protection Requirements Programmatic Term and
Condition, and Financial Risk Management Programmatic Term and Condition, the recipient must
comply with all federal cross-cutting requirements. These requirements include, but are not limited to:

•        Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify any
impact or activities that may involve a threatened or endangered species. Federal agencies have the
responsibility to ensure that no adverse effects to a protected species or habitat occur from actions
under Federal assistance awards and conduct the reviews required under the Endangered Species Act,
as applicable.
•        Federal Funding Accountability and Transparency Act: Recipients of financial assistance awards
must comply with the requirements outlined in 2 CFR Part 170, Reporting Subaward and Executive
Compensation.
•        Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the
Natural Resources Conservation Service (NRCS) to identify the potential adverse effects of Federal
programs on farmland and its conversion to nonagricultural uses, to mitigate these effects, and to
ensure that programs are carried out in a manner that is compatible with the farmland preservation
policies of state and local governments, and private organizations. Recipients may need to work with
EPA or NRCS, as appropriate, to ensure compliance.
•        Coastal Zone Management Act: Projects funded under federal financial assistance agreements
must be consistent with a coastal State’s approved management program
for the coastal zone.




                                                   28
Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25       Page 412 of 556
                                           PageID #: 6342



For additional information on cross-cutting requirements visit https://www.epa.gov/grants/epa-
subaward-cross-cutter-requirements.

R. Remedies for Non-Compliance
The recipient agrees to comply with the terms and conditions of the award agreement. Should the
recipient fail to adhere to the terms and conditions of the award agreement, the EPA may seek remedies
under 2 CFR 200.208 or 2 CFR 200.339 up to and including termination and the recovery of unallowable
costs as well as advances not yet disbursed for allowable costs.

The recipient agrees to comply with the statutory requirements of Section 134 of the Clean Air Act.
Should the recipient violate the statutory requirements of Section 134 by failing to use grant funds in
accordance with Section 134 or by failing to ensure that the activities of subrecipients are in accordance
with Section 134, EPA may seek remedies under Section 113, which may subject the recipient to civil
administrative penalties through an EPA administrative enforcement action, civil penalties and/or
injunctive relief through a civil judicial enforcement action by the U.S. Department of Justice (DOJ), or
criminal penalties through a DOJ criminal judicial enforcement action. Should the recipient or its
subrecipients make false claims or statements to EPA, EPA may refer the matter to DOJ to pursue claims
under the False Claims Act (31 USC 3729) or take action under the Program Fraud Civil Remedies Act (40
CFR Part 27).

S. Clarifications to EPA General Terms and Conditions
EPA agrees to make the following clarifications to the EPA General Terms and Conditions. These
clarifications expand on, rather than replace or modify, the EPA General Terms and Conditions. The
recipient agrees to comply with these clarifications.

1. Access to Records
In accordance with 2 CFR 200.337, EPA and the EPA Office of Inspector General (OIG) have the right to
access any documents, papers, or other records, including electronic records, of the recipient and any
subrecipient which are pertinent to this award in order to make audits, examinations, excerpts, and
transcripts. This right of access also includes timely and reasonable access to the recipient and
subrecipient’s personnel for the purpose of interview, discussion, and on-site review related to such
documents. This right of access shall continue as long as the records are retained.
2. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The following clarification to the ASAP and Proper Payment Draw Downs General Term and Condition
applies if the recipient is a Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined
in the Eligible Recipient definition. States, as defined in the Eligible Recipient definition, are subject to
the Proper Payment Drawdown for State Recipients General Term and Condition:

The recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition.
The recipient is required to notify the EPA Project Officer of draws from ASAP in excess of the following
amounts: $10,000,000 within a 24-hour period or $50,000,000 within a 7-day period. The recipient is
required to provide such notification within 3 business days of the draw amount being surpassed.

3. Establishing and Managing Subawards



                                                     29
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25       Page 413 of 556
                                           PageID #: 6343



2 CFR 200.308 requires the recipient to obtain prior agency approval for “subawarding, transferring or
contracting out of any work under a Federal award.”

EPA will not require additional written approval from the EPA Award Official for a subaward to a
subrecipient that is named in the recipient’s EPA-approved Solar for All Workplan.

When the subrecipient is not named in the EPA-approved Solar for All Workplan, the recipient agrees to
provide written guidelines that must be approved by the EPA Project Officer. The recipient is precluded
from drawing down funds for subawards not named in the application until the EPA Project Officer
provides written confirmation of the guidelines. These guidelines must: (a) describe the activities that
will be supported by the subawards; (b) specify the range of funding to be provided through the
subawards; (c) identify which types of entities (i.e., governmental, non-profit, for-profit) will receive the
subawards; and (d) specify how the subrecipients are eligible subrecipients in accordance with EPA’s
Subaward Policy, and specifically how the subrecipients will comply with the requirement that the
subrecipient recipient must only receive reimbursement for their actual direct or approved indirect costs
such that they do not “profit” from the transaction.

4. Indirect Cost Rate
The recipient should note that subrecipients that receive loans cannot charge an indirect cost rate
against their loans and that entities that receive participant supports costs cannot charge an indirect
cost rate against their participant support cost payments.

Modified total direct costs (MTDC), as defined in 2 CFR 200.1, means all direct salaries and wages,
applicable fringe benefits, materials and supplies, services, travel, and up to the first $25,000 of each
subaward (regardless of the period of performance of the subawards under the award). MTDC excludes
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, participant support costs and the portion of each subaward in excess of $25,000.

5. Sufficient Progress
The EPA Project Officer may assess whether the recipient is making sufficient progress in implementing
the EPA-approved Solar for All Workplan under this assistance agreement within 30 calendar days after
the recipient submits its annual reporting requirements for the second, third, and fourth years for the
award. “Sufficient progress” shall be assessed based on a comparison of the recipient’s planned versus
actual expenditures as well as planned versus actual outputs/outcomes. This term and condition “flows
down” to subrecipients, with the recipient required to assess whether each subrecipient is making
sufficient progress in implementing the EPA-approved Solar for All Workplan under its subaward
agreement; the recipient may increase the frequency and scope of the review of sufficient progress of
subrecipients, in accordance with 2 CFR 200.332 Requirements for Pass-Through Entities.

If the EPA Project Officer determines that the recipient has not made sufficient progress in
implementing its EPA-approved Solar for All Workplan, the recipient, if directed to do so, must
implement a corrective action plan concurred on by the EPA Project Officer and approved by the Award
Official or Grants Management Officer pursuant to 2 CFR 200.208.

6. Termination
EPA maintains the right to terminate the assistance agreement only as specified in 2 CFR 200.339 and 2
CFR 200.340, when the noncompliance with the terms and conditions is substantial such that effective
performance of the assistance agreement is materially impaired or there is sufficient evidence of waste,


                                                     30
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 414 of 556
                                         PageID #: 6344



fraud, or abuse, prompting adverse action by EPA per 2 CFR 200.339, through either a partial or full
termination. If EPA partially or fully terminates the assistance agreement, EPA must (1) deobligate
uncommitted funds and reobligate them to another Eligible Recipient to effectuate the objectives of
Section 134 of the Clean Air Act, 42 USC § 7434 within 90 calendar days of the deobligation and (2)
amend the recipient’s assistance agreement to reflect the reduced amount, based on the deobligation.
In accordance with 2 CFR 200.341, EPA must provide the recipient notice of termination.

T. Period of Performance

The period of performance under this award agreement will start on the date specified in the budget
period and project period of the “Notice of Award” for this assistance agreement and end no later than
five years from that date. However, the period of performance may end prior to five years from the end
date specified in the budget period and project period of the “Notice of Award” if (1) the recipient has
disbursed the entire award amount and (2) the EPA Project Officer has advised the EPA Award Official
that all required work of the Federal award have been completed, in accordance with 2 CFR 200.344.
EPA will not consider all required work to have been completed until the entire award amount (or its
equivalent) has been used for allowable activities. In accordance with 2 CFR 200.344(b), the recipient
agrees to liquidate all financial obligations incurred under the award no later than 120 calendar days
after the end date of the period of performance.

The recipient should note that the recipient will not be considered to have used the entire award
amount so long as any subrecipient has not met the requirements for closeout under 2 CFR 200.344.

U. Closeout Agreement
As provided at 2 CFR 200.307(f) and 2 CFR 1500.8(c), after the end of the period of performance of the
assistance agreement, the recipient may keep and use program income at the end of the assistance
agreement (retained program income) and use program income earned after the assistance agreement
period of performance (post-closeout program income) in accordance with this term and condition.
When used in this Closeout Agreement, the term “program income” includes both retained program
income and post-closeout program income. The closeout agreement goes into effect for this assistance
agreement the day after the assistance agreement period of performance ends, unless otherwise
designated by the EPA Grants Management Officer or Award Official.

Prior to the effective date of the Closeout Agreement, the recipient agrees to submit a post-closeout
program strategy, covering the use of program income retained and earned by the recipient and its
subrecipients. This program strategy will become a condition of the Closeout Agreement, once the
program strategy has been approved by the EPA Project Officer. EPA intends to make the program
strategy, either in whole or in part, available to the public through disclosing copies of the program
strategy as submitted or using the content of the program strategy. Pursuant to 2 CFR 200.338, the
recipient agrees to redact personally identifiable information (PII) and mark confidential business
information (CBI) accordingly. Information claimed as CBI will be disclosed only to the extent, and by
means of the procedures, set forth in 40 CFR Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no
claim of confidential treatment accompanies the information when it is received by EPA, it may be made
available to the public by EPA without further notice to the recipient.

This term and condition is the entire Closeout Agreement between the EPA and the recipient. If any
provisions of this Closeout Agreement are invalidated by a court of law, the parties shall remain bound
to comply with the provisions of this Closeout Agreement that have not been invalidated. The Closeout


                                                   31
Case 1:25-cv-00039-JJM-PAS             Document 68-123           Filed 02/07/25       Page 415 of 556
                                         PageID #: 6345



Agreement will be interpreted and, if necessary, enforced under Federal law and regulations. The
recipient shall comply with the requirements specified below as part of the Closeout Agreement. As
specified in the Flow-Down Requirements Programmatic Term and Condition, the Closeout Agreement
Programmatic Term and Condition flows down to subrecipients such that the recipient must enter into a
corresponding Closeout Agreement with all subrecipients that have retained program income and/or
that expect to earn post-closeout program income.

1. Allowable Activities
The recipient shall use program income in accordance with the Allowable and Unallowable Activities
Programmatic Term and Condition, as applicable.

2. Reporting Requirements
The recipient shall submit program performance reports to the EPA Project Officer in accordance with
the Performance Reporting Programmatic Term and Condition, as applicable. After September 30, 2031,
the recipient shall disclose program performance reports publicly rather than submitting them to the
EPA.

3. Low-Income and Disadvantaged Communities Expenditure Requirements
The recipient shall expend 100% of program income for the purposes of providing financial assistance
and technical assistance in and benefiting low-income and disadvantaged communities to deploy and
benefit from eligible zero emissions technologies and comply with this requirement in accordance with
the Low-Income and Disadvantaged Communities Expenditure Requirements Programmatic Term and
Condition, as applicable.

4. Cash Management Requirements
The recipient is authorized to maintain program income not yet deployed in support of its program
strategy in insured accounts. The recipient is also authorized to maintain program income not yet
deployed in support of its program strategy in accounts where such income is used to purchase U.S.
Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency Marketable Securities, provided the
duration of such instruments is no longer than 90 calendar days and that such instruments are held-to-
maturity if purchased directly; or short-term money market funds consisting solely of the
aforementioned investment instruments and offering daily investor redemptions. The recipient agrees
to enforce these Cash Management Requirements on its subrecipients.

5. Remedies for Non-Compliance
The recipient agrees to identical remedies for non-compliance that are specified in the Remedies for
Non-Compliance Programmatic Term and Condition, as applicable.

6. Suspension and Debarment
The recipient agrees to ensure that program income is not used to transfer funds in the form of
subawards, participant support costs, or contracts to entities that are currently suspended, debarred, or
otherwise declared ineligible under 2 CFR Part 180. The recipient may access the System for Award
Management (SAM) exclusion list at https://sam.gov/SAM to determine whether an entity or individual
is presently excluded or disqualified.

7. Non-Discrimination
The recipient must expend program income in compliance with EPA regulations at 40 CFR Part 7
regarding non-discrimination in EPA-funded programs, as applicable.


                                                   32
Case 1:25-cv-00039-JJM-PAS                Document 68-123            Filed 02/07/25        Page 416 of 556
                                            PageID #: 6346




As provided in 2 CFR 200.300, the general terms and conditions of EPA grants implement
nondiscrimination and social policy requirements:

a. Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, The Age
Discrimination Act of 1975. The recipient agrees to comply with these laws, prohibiting discrimination in
the provision of services or benefits, on the basis of race, color, national origin, sex, disability or age, in
programs or activities receiving federal financial assistance.

Pursuant to EPA’s regulations on “Nondiscrimination in Programs receiving Federal Assistance from the
Environmental Protection Agency,” in 40 CFR Part 5 and 40 CFR Part 7 the pass-through entity agrees,
and will require all subrecipients to agree, not to discriminate on the basis of race, color, national origin,
sex, disability or age.

b. Executive Order 11246 Part III of Executive Order No. 11246 (September 24, 1965) as amended
prohibits discrimination in Federally assisted construction activities. As provided in section 301 of the
Executive Order, Pass-through entities will ensure that subrecipients include the seven clauses specified
in section 202 of the Order in all construction contracts. Section 302 defines "Construction contract" as
“any contract for the construction, rehabilitation, alteration, conversion, extension, or repair of
buildings, highways, or other improvements to real property.” Contracts less than $10,000 are exempt
from the requirements of the Order.

8. Record-Keeping
In accordance with 2 CFR 200.334(e), the recipient shall maintain appropriate records to document
compliance with the requirements of the Closeout Agreement (i.e., records relating to the use of
retained and post-closeout program income) for a three-year period following the end of the Closeout
Agreement, unless one of the conditions specified in the regulation applies. EPA may obtain access to
these records to verify that program income has been used in accordance with the terms and conditions
of this Closeout Agreement. Records and documents relating solely to performing the grant agreement
prior to closeout may be disposed of in accordance with 2 CFR 200.334.

Additionally, the recipient must maintain adequate accounting records for how program income is
managed and spent as well as all other appropriate records and documents related to the activities
conducted using retained and post-closeout program income.

The recipient agrees to ensure that subrecipients comply with Federal Funding Accountability and
Transparency Act (FFATA) reporting requirements. Pass-through entities may use the terms of their
subaward agreement or other effective means to meet their responsibilities.

9. Other Federal Requirements
The following other federal requirements apply to the use of program income under the terms of this
Closeout Agreement:
    • Davis-Bacon and Related Acts, as specified in the Labor and Equitable Workforce Programmatic
        Term and Condition;
    • Build America, Buy America Act, as specified in the Build America, Buy America General Term
        and Condition;
    • National Historic Preservation Act, as specified in the Historic Preservation Programmatic Term
        and Condition;


                                                      33
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 417 of 556
                                          PageID #: 6347



    •   Uniform Relocation Assistance and Real Property Acquisitions Policy Act, as specified in the
        Uniform Relocation Assistance and Real Property Acquisitions Policy Act Programmatic Term
        and Condition;
    •   Executive Order 11988 (Floodplain Management) and Executive Order 14030 (Climate-Related
        Financial Risk), as specified in the Financial Risk Management Programmatic Term and
        Condition;
    •   Endangered Species Act, as specified in 50 CFR Part 402;
    •   Federal Funding Accountability and Transparency Act;
    •   Farmland Protection Policy Act; and
    •   Coastal Zone Management Act.

10. Amendments to the Closeout Agreement
The EPA Award Official or Grants Management Officer and the recipient must agree to any modifications
to this Closeout Agreement. Agreed-upon modifications must be in writing and signed by each party.
Oral or unilateral modifications shall not be effective or binding.

11. Termination of the Closeout Agreement
The EPA Award Official or Grants Management Officer and the recipient may mutually agree to
terminate this Closeout Agreement.

12. Points of Contact
The points of contact for the Closeout Agreement are the EPA Project Officer (for the EPA) and
Authorized Representative (for the recipient). If changes are made to these points of contact, the
respective party must notify the other within 30 calendar days of the planned change.

V. Accounting Principles
Each recipient and subrecipient must account for Solar for All award funds in accordance with generally
accepted accounting principles (GAAP) as in effect in the United States. Further, the recipient and
subrecipient must segregate and account for Solar for All award funds separately from all other program
and business accounts during both the period of performance and under the Closeout Agreement.
Additionally, the recipient and subrecipient must segregate and account for program income separately
from its drawdowns of EPA award funds during the period of performance to maintain compliance with
the Program Income Programmatic Term and Condition and the Period of Performance Programmatic
Term and Condition.
W. Internal Controls
Each recipient and subrecipient must comply with standards for internal controls described at 2 CFR
200.303. The “Standards for Internal Control in the Federal Government” issued by the Comptroller
General of the United States referenced in § 200.303 are available online at
https://www.gao.gov/assets/gao-14-704g.pdf
X. Audits
The recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during both the
period of performance and under the Closeout Agreement.

The recipient agrees to notify the EPA Project Officer within 30 calendar days of the submission of the
recipient’s Single Audit to the Federal Audit Clearinghouse’s Internet Data Entry System; the recipient
also agrees to notify the EPA Project Officer within 30 calendar days of the submission of any


                                                   34
Case 1:25-cv-00039-JJM-PAS               Document 68-123           Filed 02/07/25        Page 418 of 556
                                           PageID #: 6348



subrecipient’s Single Audit (i.e., at any tier of subrecipients) to the Federal Audit Clearinghouse’s
Internet Data Entry System.
Additionally, in accordance with 2 CFR 200.332 and 2 CFR 200.501(h), the recipient agrees to disclose
directly to the EPA Project Officer audited financial statements from any for-profit subrecipient (i.e., at
any tier of subrecipient) that expends $1,000,000 or more of EPA funds from the recipient’s grant
program in the subrecipient’s fiscal year. Any for-profit subrecipient that must disclose such financial
statements is required to select an independent auditor consistent with the criteria set forth in 2 CFR
200.509 and obtain an independent audit substantially similar scope and quality to that of the Single
Audit (see 2 CFR 200.500 et. seq.). The subrecipient must submit the audit to the recipient within 9
months of the end of the recipient’s fiscal year or 30 calendar days after receiving the report from an
independent auditor, whichever is earlier. As provided in 2 CFR 200.337(a) the recipient must provide
EPA, the EPA Office of Inspector General, and the Comptroller General with access to the subrecipient’s
independent auditor reports.

Y. Annual Workshop
Upon the request of the EPA Project Officer, the recipient must participate in an annual workshop (i.e.,
one workshop per calendar year) with other recipients under Solar for All. The workshop may include
recipients from the National Clean Investment Fund and/or Clean Communities Investment Accelerator.
The EPA Project Officer will contact the recipient to finalize details for each annual workshop.
Z. EPA Project Officer Oversight and Monitoring
Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(3)(4) and (6), EPA has
determined that a specific condition is necessary to ensure that eligible recipients effectively carry out
the significant scale, complexity, and novelty of the Solar for All program. This specific condition will
remain in effect throughout the period of performance unless the EPA Award Official determines, based
on a request by the recipient or EPA Project Officer, that some or all of the specific conditions are no
longer necessary for EPA to manage programmatic or financial risks.

The EPA Project Officer, or other EPA staff designated by the EPA Project Officer, will oversee and
monitor the grant agreement through activities including:

    1. Participating in project activities, to the extent permissible under EPA policies, such as:
       consultation on effective methods of carrying out the EPA-approved Solar for All Workplan,
       provided the recipient makes the final decision on how to perform authorized activities;
       coordination by EPA staff with other recipients under the Greenhouse Gas Reduction Fund and
       with other EPA programs, and other federal programs to avoid duplication of effort;
    2. Reviewing the qualifications of key personnel, including senior management and board-level
       committee members or contractors employed by recipients. Note that EPA does not have the
       authority to select employees or contractors, including consultants, employed by the recipient;
    3. Closely monitoring the recipient’s management and oversight of subrecipients and procedures
       for ensuring that program beneficiaries adhere to program participation guidelines;
    4. Closely monitoring the recipient’s performance to verify compliance with the EPA-approved
       Solar for All Workplan and achievement of environmental results;
    5. Participating in periodic telephone conference calls with recipient personnel to discuss project
       successes and challenges, and similar items impacting recipient performance;
    6. Reviewing and commenting on performance reports prepared under the award agreement.
       Note that the final decision on the content of performance reports rests with the recipient;



                                                     35
Case 1:25-cv-00039-JJM-PAS              Document 68-123          Filed 02/07/25       Page 419 of 556
                                          PageID #: 6349



    7. Verifying that the recipient is expending the award on allowable activities, including but not
        limited to reviewing a sample of financial assistance transactions to verify compliance with
        regulatory requirements and the terms and conditions of this award;
    8. Periodically reviewing costs incurred by the recipient as well as its contractors and subrecipients
        if needed to ensure appropriate expenditure of grant funds. Note that recipients are not
        required to submit documentation of costs incurred before obtaining payments of grant funds;
    9. Working with other EPA officials, including but not necessarily limited to the EPA QAM, to
        review and approve QAPPs and related documents or verifying that appropriate Quality
        Assurance requirements have been met where quality assurance activities are being conducted
        pursuant to an EPA-approved QMP; and
    10. Monitoring the use of program income after the period of performance ends, in accordance
        with the terms of the Closeout Agreement.

Method for Reconsideration. If the recipient believes that this specific condition is not warranted or
requires modification, the recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

Subject to approval by the EPA Award Official, the EPA Project Officer and the recipient may agree to
additional areas of oversight and monitoring.

AA. Compliant URL Links
The EPA may elect to develop informational materials to publicize the key characteristics of the
recipient’s Solar for All award. These materials may include links to recipient and/or subrecipients’
websites. The recipient agrees to work with the EPA Project Officer or another member of Solar for All
program staff to ensure any such links are compliant with pertinent EPA and government-wide
standards.

AB. Flow-Down Requirements
As described in 2 CFR 200.101, the terms and conditions of Federal awards flow down to subawards
unless a particular section of 2 CFR 200.101 or the terms and conditions of the Federal award specifically
indicate otherwise. As required by 2 CFR 200.332(a)(2) and in accordance with the Establishing and
Managing Subawards General Term and Condition, the recipient agrees to ensure that subrecipients are
subject to the same requirements as those that apply to the pass-through entity’s EPA award.

For the purposes of this award agreement, all terms and conditions must flow down to subawards to the
extent they are applicable. The EPA Project Officer is authorized to waive the applicability of
programmatic terms and conditions to subawards, unless the term and condition implements statutory,
regulatory, or executive order requirements.

AC. Financial Assistance in the Form of Credit Enhancements
If the recipient’s EPA-approved Solar for All Workplan includes providing financial assistance in the form
of credit enhancements such as loan loss reserves or loan guarantees, the recipient is authorized to
draw down funds as cash reserves. “Cash reserves” means cash that is drawn down and subsequently
held in order to support the recipient’s deployment of financial assistance in the form of credit
enhancements. Cash reserves involve the drawdown and disbursement of grant funds into an escrow
account meeting the following standards: (1) the recipient does not retain possession of the grant funds;


                                                   36
Case 1:25-cv-00039-JJM-PAS                Document 68-123           Filed 02/07/25        Page 420 of 556
                                            PageID #: 6350



(2) the recipient cannot get the funds back from the escrow account upon demand; (3) the entity
providing the escrow account is independent from the recipient; (4) the recipient is able to use the
funds in the escrow account to support eligible uses of cash reserves, as defined here; and (5) the
escrow account is with an “insured depository institution,” as defined in 12 USC 1813. The recipient is
not authorized to use an escrow account until the substantive terms of the escrow account have been
reviewed and approved by the EPA Project Officer.

The recipient agrees to provide written guidelines for all financial assistance in the form of credit
enhancements that must be approved by the EPA Project Officer prior to the recipient implementing its
strategy, even if the form of credit enhancement is described in the EPA-approved Solar for All
Workplan. These guidelines must describe how the expenditure enables low-income and disadvantaged
communities to deploy and benefit from eligible zero-emissions technologies.

Any obligations that the recipient incurs in excess of the grant award funds allocated and expended to
execute its credit enhancement strategy are the recipient’s responsibility. This limitation on the extent
of the Federal Government’s financial commitment to the recipient’s credit enhancement strategy shall
be communicated to all participating banks, borrowers, subrecipients, or program beneficiaries prior to
the execution of any documentation governing such transactions with any such parties.

AD. Additional Requirements for Eligible Nonprofit Recipients

The following terms and conditions apply if the recipient is an Eligible Nonprofit Recipient as defined
in the Eligible Recipient definition:

1. Incorporation and Control
The recipient agrees to maintain its incorporation in the United States and to maintain its status as not
being controlled by one or several entities that are not eligible recipients. Control is defined by either (i)
control in any manner over the election of a majority of the directors, trustees, or general partners (or
individuals exercising similar functions) or (ii) the power to exercise, directly or indirectly, a controlling
influence over management policies or investment decisions.

2. Governance Requirements

A. Board Size and Composition
The recipient agrees to ensure that its board size in terms of number of members (excluding advisory
committees) is commensurate with the scope of oversight and monitoring activities as well as the scale,
complexity, and risk profile of the recipient’s EPA-approved Solar for All Workplan as well as other
business activities. The board must have a sufficient number of members to adequately staff each of its
committees.

The recipient agrees to ensure that its board consists of members that are qualified with relevant
expertise, skills, and track record as well as representative members (including from low-income and
disadvantaged communities).

In accordance with 2 CFR 200.329(e), in the event of a vacancy in board membership, the recipient
agrees to notify the EPA Project Officer about the vacancy within 15 calendar days of the vacancy and



                                                      37
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25       Page 421 of 556
                                          PageID #: 6351



make its best efforts to fill the vacancy with a qualified member within 120 calendar days of the
vacancy.

B. Board Independence
The recipient agrees to ensure that the majority of the board is independent, in accordance with the
Internal Revenue Service’s definition of “independent” for the purposes of Form 990 reporting.

C. Board Policies and Procedures
The recipient agrees to enforce board policies and procedures including, among others, those that
ensure strong ethics and mitigate conflicts of interest; ensure appropriate board training to review and
assess internal risk assessments for all of the organization’s significant activities; and ensure regular
board engagement, including frequency of meetings and attendance procedures.

The recipient agrees to require recusals from any officers or members of the board of directors with a
personal or organizational conflict of interest in the decision-making and management related to
financial transactions under this award. Such recusals must include but not be limited to decision-
making and management of subawards and participant support cost payments to or from any
organization in which an officer or member of the board of directors or their immediate family is directly
employed by or has a consulting or other contractual relationship with, serves on the board, or is
otherwise affiliated with the organization. The term “immediate family” has the same meaning as that
term in the EPA's Final Financial Assistance Conflict of Interest Policy.

3. Legal Counsel
The recipient agrees to consult appropriate legal counsel. Counsel must review all agreements
associated with any form of financial assistance provided that generates program income prior to
execution of the documentation, unless the EPA Project Officer waives this requirement. The recipient is
required to maintain and appropriately update such documentation during both the period of
performance and under the Closeout Agreement. Upon request by the EPA Project Officer, the recipient
agrees to provide certification from legal counsel that such documentation complies with these terms
and conditions, the EPA-approved Solar for All Workplan, and applicable State and local law.




                                                    38
Case 1:25-cv-00039-JJM-PAS              Document 68-123           Filed 02/07/25        Page 422 of 556
                                          PageID #: 6352



IV. Administrative Terms and Conditions
A. General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.
These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award. The EPA repository for the
general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-
conditions#general.

B. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to
the following email addresses:
    • Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and [Insert GS or local email box (if
         local copy desired)]
    • MBE/WBE reports (EPA Form 5700-52A): [Insert name and contact information of the
         appropriate DBE coordinator and Grants Specialist (optional)/or local email box.]
    • All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
         Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
         Approvals, updates to recipient information (including email addresses, changes in contact
         information or changes in authorized representatives) and other notifications: [Insert name and
         contact information of regional point of contact (the GS, PO, and/or local email box]
    • Payment requests (if applicable): [Insert name and contact information of the GS and PO/or
         local email box]
    • Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
         deliverables: [Insert name and contact information of the PO]

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period
when a recipient or subrecipient intends to provide financial assistance to a project that involves
construction or land use planning. With the exception of projects that will be carried out in the State of
California, the recipient must ensure that directly affected State, areawide, regional, and local
government entities have 60 calendar days to review the description of the project contained in the
application for funding for the project and provide comments to the EPA Project Officer. Applications for
funding for projects that will be carried out in the State of California must be submitted to the California
Single Point of Contact at https://cfda.opr.ca.gov for review as provided in California law.

The recipient agrees to comply with the provisions of 40 CFR Part 29, implementing the Demonstration
Cities, Metropolitan Development Act, the Intergovernmental Cooperation Act, and Executive Order
12372 as amended in 1983, to ensure that projects funded under federal programs are consistent with
local planning requirements.




                                                    39
Case 1:25-cv-00039-JJM-PAS               Document 68-123            Filed 02/07/25        Page 423 of 556
                                           PageID #: 6353



D. Pre-Award Costs

As provided in 2 CFR 200.458, recipients are authorized to incur pre-award costs, which are costs that
would have been allowable if incurred after the date of the Federal award. For competitive grants, EPA
interprets the requirement in the regulation that pre-award costs be incurred “directly pursuant to the
negotiation and in anticipation of the Federal award” to limit allowable pre-award costs to those a
recipient incurs after EPA has notified the recipient that its application has been selected for award
consideration and the start date of the Project Period as provided on the Notice of Award. The pre-
award costs must have been included in the recipient’s application to be allowable. As provided in 2 CFR
1500.9, recipients incur pre-award cost at their own risk. Please refer to Section I.C: Pre-Award Costs of
the Interim General Budget Development Guidance for Applicants and Recipients of EPA Financial
Assistance for additional information.


E. Pre-Award Administrative Capability

The following term and condition on pre-award administrative capability applies if the recipient is an
Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the recipient is both a
Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit on the
Notice of Award:

The recipient’s pre-award certification review has not been completed. EPA's policy for awarding
financial assistance in excess of $200,000 to non-profit organizations requires an Administrative
Capability Assessment review of the recipient's administrative and financial management systems to be
completed prior to the recipient drawing down any EPA funds per EPA Order 5700.8. Because EPA has
not yet completed the review, the recipient is precluded from drawing down funds under this assistance
agreement until EPA provides written confirmation of the completion of the assessment with
satisfactory results. Please note, any costs incurred prior to EPA approval are at the recipient's own risk.
If the recipient fails to respond or is unable to satisfactorily address all identified deficiencies within 90
calendar days of the award date of this assistance agreement or within any extension of time granted by
EPA, the agreement may be terminated. Noncompliance with this term and condition may result in
adverse action by EPA per 2 CFR 200.339.

F. New Recipient Training Requirement

The recipient agrees to complete the EPA Grants Management Training for Applicants and Recipients and
the How to Develop a Budget training within 90 calendar days of the date of award of this agreement.
The recipient must notify the Grant Specialist via email when the required training is complete. For
additional information on this training requirement, the recipient should refer to RAIN-2024-G01.




                                                     40
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 424 of 556
                               PageID #: 6354




                 EXHIBIT O
Toor Declaration  Exhibit O
         Case 1:25-cv-00039-JJM-PAS                              Document 68-123                 Filed 02/07/25             Page 425 of 556
                                                                   PageID #: 6355
                                                                                                                      5H - 84090401 - 1   Page 1
                                                                                   GRANT NUMBER (FAIN):           84090401
                                                                                   MODIFICATION NUMBER:           1                   DATE OF AWARD
                              U.S. ENVIRONMENTAL                                   PROGRAM CODE:                  5H                  12/04/2024
                                                                                   TYPE OF ACTION                                     MAILING DATE
                              PROTECTION AGENCY                                    No Cost Amendment                                  12/04/2024
                                      Assistance Amendment                         PAYMENT METHOD:                                    ACH#
                                                                                   ASAP                                               80568
  RECIPIENT TYPE:                                                                  Send Payment Request to:
  State                                                                            Contact EPA RTPFC at: rtpfc-grants@epa.gov
  RECIPIENT:                                                                       PAYEE:
  COLORADO ENERGY OFFICE                                                           COLORADO ENERGY OFFICE
  1600 Broadway                                                                    1600 Broadway
  STE 1960                                                                         STE 1960
  Denver, CO 80202-4955                                                            Denver, CO 80202-4955
  EIN: XX-XXXXXXX
  PROJECT MANAGER                                       EPA PROJECT OFFICER                                    EPA GRANT SPECIALIST
  Ida Mae Isaac                                         Melissa Hopkinson                                      Matthew Forte
  1600 Broadway                                         1200 Pennsylvania Ave. NW, 1101R                       1200 Pennsylvania Ave NW 3903R
  STE 1960                                              Washington, DC 20460                                   Washington, DC 20460
  Denver, CO 80202-4955                                 Email: hopkinson.melissa@epa.gov                       Email: Forte.Matthew@epa.gov
  Email: idamae.isaac@state.co.us                       Phone: 202-566-0810                                    Phone: 202-564-2245
  Phone: 303-866-2100
  PROJECT TITLE AND EXPLANATION OF CHANGES

  State of Colorado - Solar For All

  This amendment removes the 2% funding restriction from the Solar for All award and incorporates the necessary budget and workplan documentation.

  BUDGET PERIOD                           PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                 TOTAL PROJECT PERIOD COST
  09/01/2024 - 08/31/2029                 09/01/2024 - 08/31/2029                  $ 156,120,000.00                         $ 156,120,000.00

                                                                  NOTICE OF AWARD
  Based on your Application dated 10/11/2023 including all modifications and amendments, the United States acting by and through the US Environmental
  Protection Agency (EPA) hereby awards $ 0.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not exceeding
  total federal funding of $ 156,120,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry out this
  award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with the
  award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions specified
  in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the EPA
  award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds provided
  by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and statutory
  provisions, all terms and conditions of this agreement and any attachments.

           ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                       AWARD APPROVAL OFFICE
  ORGANIZATION / ADDRESS                                                           ORGANIZATION / ADDRESS
  Environmental Protection Agency, Grants Management & Business Operations         Environmental Protection Agency, The Office of Greenhouse Gas Reduction
  Division                                                                         Fund
  1200 Pennsylvania Ave, NW Mail code 3903R                                        OA - Office of the Administrator
  Washington, DC 20460                                                             1200 Pennsylvania Avenue NW
                                                                                   Washington, DC 20460
                                 THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
  Digital signature applied by EPA Award Official LaShaun Phillips - Associate Award Official                                                      DATE
                                                                                                                                                   12/04/2024
            Case 1:25-cv-00039-JJM-PAS              Document 68-123                Filed 02/07/25             Page 426 of 556
                                                      PageID #: 6356
                                                                                                        5H - 84090401 - 1   Page 2

                                              EPA Funding Information
              FUNDS                             FORMER AWARD                                   THIS ACTION                      AMENDED TOTAL
EPA Amount This Action                              $ 155,720,000                                       $0                           $ 155,720,000
EPA In-Kind Amount                                       $ 400,000                                      $0                              $ 400,000
Unexpended Prior Year Balance                                    $0                                     $0                                     $0
Other Federal Funds                                              $0                                     $0                                     $0
Recipient Contribution                                           $0                                     $0                                     $0
State Contribution                                               $0                                     $0                                     $0
Local Contribution                                               $0                                     $0                                     $0
Other Contribution                                               $0                                     $0                                     $0
Allowable Project Cost                              $ 156,120,000                                       $0                           $ 156,120,000



Assistance Program (CFDA)                  Statutory Authority                                   Regulatory Authority
66.959 - Zero-Emissions Technology Grant   2023 Consolidated Appropriations Act (PL 117-328) 2 CFR 200, 2 CFR 1500 and 40 CFR 33
Program
                                           Clean Air Act: Sec. 134(a)(1)
                                           National Environmental Policy Act: Sec. 102(2)(I)
             Case 1:25-cv-00039-JJM-PAS                      Document 68-123    Filed 02/07/25     Page 427 of 556
                                                               PageID #: 6357
                                                                                             5H - 84090401 - 1   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                               $ 5,344,497
 2. Fringe Benefits                                                                                                         $ 1,929,363
 3. Travel                                                                                                                    $ 243,749
 4. Equipment                                                                                                                  $ 45,000
 5. Supplies                                                                                                                   $ 60,550
 6. Contractual                                                                                                             $ 2,100,000
 7. Construction                                                                                                                     $0
 8. Other                                                                                                                $ 143,225,438
 9. Total Direct Charges                                                                                                 $ 152,948,597
 10. Indirect Costs: 43.60 % Base SW + FB                                                                                   $ 3,171,403
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                $ 156,120,000
 12. Total Approved Assistance Amount                                                                                    $ 156,120,000
 13. Program Income                                                                                                         $ 2,500,000
 14. Total EPA Amount Awarded This Action                                                                                            $0
 15. Total EPA Amount Awarded To Date                                                                                    $ 156,120,000
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25       Page 428 of 556
                                             PageID #: 6358
                                                                                5H - 84090401 - 1   Page 4

                                       Administrative Conditions
A. General Terms and Conditions

The Recipient agrees to comply with the current EPA General Terms and Conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-later . These terms
and conditions are in addition to the assurances and certifications made as a part of the award and the
terms, conditions, or restrictions cited throughout the award. The EPA repository for the General Terms
and Conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-conditions#general.

B. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and EPA Grants Specialist listed on
       the award
       MBE/WBE reports (EPA Form 5700-52A): Debora Bradford (Bradford.Debora@epa.gov), OMS-
       OGD-MBE_WBE@epa.gov, and the EPA Grants Specialist listed on the award
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to Recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: EPA Grants
       Specialist listed on the award and EPA Project Officer listed on the award
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: EPA Project Officer listed on the award

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period
when a Recipient or Subrecipient intends to provide financial assistance to a project that involves
construction or land use planning. With the exception of projects that will be carried out in the State of
California, the Recipient must ensure that directly affected State, areawide, regional, and local
government entities have 60 calendar days to review the description of the project contained in the
application for funding for the project and provide comments to the EPA Project Officer. Applications for
funding for projects that will be carried out in the State of California must be submitted to the California
Single Point of Contact at https://cfda.opr.ca.gov for review as provided in California law.

EPA has allowed for an intergovernmental review comment period on behalf of the Recipient. This
comment period closed on Tuesday October 22, 2024. The Recipient need not take any additional action
with respect to intergovernmental review.

The Recipient agrees to comply with the provisions of 40 CFR Part 29, implementing the Demonstration
Cities, Metropolitan Development Act, the Intergovernmental Cooperation Act, and Executive Order
12372 as amended in 1983, to ensure that projects funded under federal programs are consistent with
local planning requirements.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 429 of 556
                                            PageID #: 6359
                                                                             5H - 84090401 - 1   Page 5

D. Pre-Award Costs

As provided in 2 CFR 200.458, Recipients are authorized to incur pre-award costs, which are costs that
would have been allowable if incurred after the date of the Federal award. For competitive grants, EPA
interprets the requirement in the regulation that pre-award costs be incurred “directly pursuant to the
negotiation and in anticipation of the Federal award” to limit allowable pre-award costs to those a
Recipient incurs after EPA has notified the Recipient that its application has been selected for award
consideration. The pre-award costs must be included in the workplan and budget to be eligible. As
provided in 2 CFR 1500.9, Recipients incur pre-award costs at their own risk. Please refer to Section I.C:
Pre-Award Costs of the Interim General Budget Development Guidance for Applicants and Recipients of
EPA Financial Assistance for additional information

E. New Recipient Training Requirement

The Recipient agrees to complete the EPA Grants Management Training for Applicants and
Recipients and the How to Develop a Budget training within 90 calendar days of the date of award of this
agreement. The Recipient must notify the Grant Specialist via email when the required training is
complete. For additional information on this training requirement, the Recipient should refer to RAIN-
2024-G01.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 430 of 556
                                             PageID #: 6360
                                                                                5H - 84090401 - 1   Page 6

                                       Programmatic Conditions
Solar For All (SFA) Programmatic Terms and Conditions (Updated 12/032024)

I. DEFINITIONS

Air Pollutant: “Air Pollutant” means any air pollutant that is listed pursuant to Section 108(a) of the Clean
Air Act (or any precursor to such an air pollutant). This includes particulate matter, ozone, carbon
monoxide, sulfur dioxide, nitrogen dioxide, and lead (see 40 CFR Part 50) and their precursors (e.g.,
volatile organic compounds).

Award Agreement: Award Agreement means the set of legally binding documents between EPA and the
Recipient under the federal award. Award Agreement is used interchangeably with Assistance
Agreement and Notice of Award.

Apprentice: Apprentice means an individual working on a project receiving Financial Assistance who is
participating in a Registered Apprenticeship program under the National Apprenticeship Act that meets
the requirements of 29 CFR Parts 29 and 30.

Contracts for Delivery of Financial Assistance: 2 CFR 200.1 defines a contract as “for the purpose of
Federal financial assistance, a legal instrument by which a recipient or subrecipient conducts
procurement transactions under a Federal award.” Contracts for Delivery of Financial Assistance involve
the provision of services through procurement contracts. In this program, Contracts for Delivery of
Financial Assistance are a form of Financial Assistance to projects which enable Low-Income and
Disadvantaged Communities to deploy or benefit from zero-emissions technologies.

Eligible Recipient: Eligible Recipients under the Solar for All program include: (1) states (including
territories as defined below), (2) municipalities, (3) Tribal governments, or (4) eligible nonprofit
Recipients, each of which is defined in accordance with the Clean Air Act as described below:

       State: Section 302(d) of the Clean Air Act defines a state as a state, the District of Columbia, the
       Commonwealth of Puerto Rico, the Virgin Islands, Guam, American Samoa, and the
       Commonwealth of the Northern Mariana Islands. Eligible Recipients that are states are identified
       on the Notice of Award as a “state” Recipient type.
       Municipality: Section 302(f) of the Clean Air Act provides that a municipality is a city, town,
       borough, county, parish, district, or other public body created by or pursuant to state law. This
       term may include councils of government (COGs) created by or pursuant to the laws of one or
       more states even if a COG is incorporated as a nonprofit organization. Eligible Recipients that are
       municipality are identified on the Notice of Award as either a “municipal”, “county”, or “township”
       Recipient type.
       Tribal Government: Section 302(r) of the Clean Air Act “Indian Tribe” as any “Indian Tribe, band,
       nation, or other organized group or community, including any Alaska Native village, which is
       Federally recognized as eligible for the special programs and services provided by the United
       States to Indians because of their status as Indians.” EPA includes Intertribal Consortia that meet
       the requirements of 40 CFR § 35.504 as an eligible Recipient under this category pursuant to the
       authority in 40 CFR § 35.501(b) to issue guidance extending Intertribal Consortia eligibility to
       environmental programs established subsequent to the effective date of 40 CFR Part 35, Subpart
       B. As provided in 40 CFR 35.504(a) all members of the Intertribal consortium must meet the
       definition of “Indian Tribe” in Section 302(r) of the Clean Air Act. Eligible Recipients that are Tribal
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 431 of 556
                                              PageID #: 6361
                                                                                 5H - 84090401 - 1   Page 7

       governments are identified on the Notice of Award as an Indian Tribe Recipient type. Eligible
       Recipients that are defined as Tribal governments because they are Intertribal Consortia may be
       identified as a not for profit on the Notice of Award. In these cases, the EPA-approved Solar for
       All workplan will identify the Recipient type as an Intertribal Consortia.
       Eligible Nonprofit Recipient: In accordance with Section 134(c)(1) of the Clean Air Act, a nonprofit
       organization must satisfy each of the below requirements to be deemed an eligible nonprofit
       Recipient under the Solar for All program:

               a. Meeting the definition of Nonprofit organization set forth in 2 CFR 200.1;

               b. Having an organizational mission consistent with being “designed to provide capital,
               leverage private capital, and provide other forms of financial assistance for the rapid
               deployment of low- and zero-emission products, technologies, and services;”

               c. Not receiving any “deposit” (as defined in Section 3(l) of the Federal Deposit Insurance
               Act) or “member account” or “account” (as defined in Section 101 of the Federal Credit
               Union Act);

               d. Being funded by public or charitable contributions; and

               e. Having the legal authority to invest in or finance projects.

Eligible Recipients that are eligible nonprofit Recipients are identified on the Notice of Award as a not for
profit Recipient type, excluding Recipients that are identified as Intertribal Consortia on the EPA-
approved Solar for All workplan.

Eligible Zero-Emissions Technology: Section 134(a)(1) of the Clean Air Act provides that grants be used
to provide financial assistance and technical assistance “to enable low-income and disadvantaged
communities to deploy or benefit from zero-emissions technologies.” Section 134(c)(4) of the Clean Air
Act provides that the term zero-emissions technology means any technology that produces zero
emissions of (a) any air pollutant that is listed in Section 108(a) (or any precursor to such an air pollutant)
and (b) any greenhouse gas. There are four eligible zero-emissions technology categories. The four
categories are:

       Residential Rooftop Solar: Behind-the-meter solar photovoltaic (PV) power-producing facilities,
       including rooftop, pole-mounted, and ground-mounted PV systems, that deliver all the power
       generated from the facilities to residential customers in existing and new single-family homes,
       manufactured homes, or multifamily buildings. Residential rooftop solar includes behind-the-
       meter solar facilities serving multifamily buildings classified as commercial buildings so long as
       the solar facility benefits residential customers either directly or indirectly such as through tenant
       benefit agreements. Residential rooftop solar includes properties that are both rented and owned.
       Residential-Serving Community Solar: A solar PV power-producing facility or solar energy
       purchasing program from a power-producing facility, with up to 5 MWac nameplate capacity, that
       delivers at least 50% of the power generated from the system—by delivering at least 50% of the
       benefits (e.g., financial savings, renewable energy credits) derived from the power generated by
       the community solar system—to residential customers within the same utility territory as the
       facility.
       Associated Storage: Infrastructure to store solar-generated power for the purposes of maximizing
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 432 of 556
                                            PageID #: 6362
                                                                             5H - 84090401 - 1   Page 8

       residential rooftop and residential-serving community solar deployment that is deployed in
       conjunction with an eligible residential rooftop solar or residential-serving community solar
       project. Stand-alone energy storage infrastructure is not an eligible zero-emissions technology.
       Enabling Upgrades: Investments in energy and building infrastructure that are necessary to
       deploy or maximize the benefits of a residential rooftop and residential-serving community solar
       project. Enabling upgrades must satisfy all of the following criteria to be an eligible zero-
       emissions technology: (1) an investment in energy or building infrastructure and (2) necessary to
       deploy or maximize the benefits (i.e., financial savings or resiliency benefits) of a residential
       rooftop and residential-serving community solar project as defined above.

Environmental Information: Environmental Information is defined in EPA's Environmental Information
Quality Policy. Environmental Information includes “data and information that describe environmental
processes or conditions which support EPA's mission of protecting human health and the environment.
Examples include but are not limited to: direct measurements of environmental parameters or processes;
analytical testing results of environmental conditions (e.g., geophysical or hydrological conditions);
information on physical parameters or processes collected using environmental technologies;
calculations or analyses of environmental information; information provided by models; information
compiled or obtained from databases, software applications, decision support tools, websites, existing
literature, and other sources; development of environmental software, tools, models, methods and
applications; and design, construction, and operation or application of environmental technology.”

Environmental Information Operations: Environmental Information Operations is defined in EPA's
Environmental Information Quality Policy. Environmental Information Operations means “[a] collective
term for work performed to collect, produce, evaluate, or use environmental information and the design,
construction, operation or application of environmental technology.”

EPA Project Officer: EPA Project Officer means the project officer from the Office of the Greenhouse
Gas Reduction Fund that is assigned, along with the EPA Grants Specialist, to monitor the Recipient on
programmatic and technical aspects of the project and is typically authorized to make programmatic
approvals on behalf of the EPA. Where required, the Recipient must notify or request approval from the
EPA Project Officer through the EPA Project Officer's individual EPA email address as well SFA@epa.
gov such that the Office of the Greenhouse Gas Reduction Fund may delegate an alternative EPA
Project Officer in the case of any absence.

EPA Award Official: “EPA Award Official” means the award official from the Office of Grants and
Debarment that is authorized to execute the award agreement, as well as any subsequent amendments
to the award agreement, and to make any other final determinations required by law or regulation on
behalf of the EPA.

Financial Assistance: Section 134(a)(1) of the Clean Air Act directs that Recipients use funds to provide
financial assistance “to enable low-income and disadvantaged communities to deploy or benefit from
zero-emissions technologies.” Consistent with the definition of Federal financial assistance in 2 CFR
200.1, Financial Assistance means financial products, including debt (such as loans, partially forgivable
loans, forgivable loans, zero-interest and below-market interest loans, loans paired with interest rate
buydowns, secured and unsecured loans, lines of credit, subordinated debt, warehouse lending, and
other debt instruments), credit enhancements (such as loan guarantees, loan guarantee funds, loan loss
reserves, and other credit enhancement instruments that are not acquisitions of intangible property),
subgrants, subsidies, and rebates. Expenditures for Financial Assistance are in the form of Contracts for
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 433 of 556
                                             PageID #: 6363
                                                                               5H - 84090401 - 1   Page 9

Delivery of Financial Assistance, Subawards, or Participant Support Costs, as defined in this Award
Agreement. For the avoidance of doubt, financial products that build the capacity of communities and
businesses to deploy solar including but not limited to predevelopment loans and grants or working
capital lines of credit to businesses or other forms of financing to build the solar project pipeline are
classified as Financial Assistance for the purposes of this program.

Freely Associated States: Freely Associated States means the Republic of the Marshall Islands (the
Marshalls), the Federated States of Micronesia (FSM), and the Republic of Palau (Palau).

Greenhouse Gas: Greenhouse Gas means carbon dioxide, hydrofluorocarbons, methane, nitrous oxide,
perfluorocarbons, and sulfur hexafluoride, as defined in Section 134(c)(2) of the Clean Air Act.
Greenhouse Gas Emissions mean emissions of Greenhouse Gases.

Low-Income and Disadvantaged Communities: Section 134(a)(1) of the Clean Air Act directs that
Recipients use funds for Financial Assistance and technical assistance “to enable low-income and
disadvantaged communities to deploy or benefit from zero-emissions technologies.” “Low-income and
disadvantaged communities” means CEJST-identified disadvantaged communities, EJScreen-identified
disadvantaged communities, geographically dispersed low-income households, and properties providing
affordable housing, as defined below.

       CEJST-Identified Disadvantaged Communities: All communities identified as disadvantaged
       through version 1.0 of the Climate and Economic Justice Screening Tool (CEJST), released on
       November 22, 2022, which includes census tracts that meet the thresholds for at least one of the
       tool's categories of burden and land within the boundaries of Federally Recognized Tribes.
       EJScreen-Identified Disadvantaged Communities: All communities within version 2.3 of EJScreen
       that fall within either (a) the limited supplemental set of census block groups that are at or above
       the 90th percentile for any of EJScreen's supplemental indexes when compared to the nation or
       state or (b) geographic areas within Tribal lands as included in EJScreen, which includes the
       following Tribal lands: Alaska Native Allotments, Alaska Native Villages, American Indian
       Reservations, American Indian Off-reservation Trust Lands, and Oklahoma Tribal Statistical
       Areas.
       Geographically Dispersed Low-Income Households: Low-income individuals and households
       living in Metropolitan Areas with incomes not more than 80% AMI or 200% FPL (whichever is
       higher), and low-income individuals and households living in Non-Metropolitan Areas with
       incomes not more than 80% AMI, 200% FPL, or 80% Statewide Non-Metropolitan Area AMI
       (whichever is highest). Federal Poverty Level (FPL) is defined using the latest publicly available
       figures from the U.S. Department of Health and Human Services. Area Median Income (AMI) is
       defined using the latest publicly available figures from the U.S. Department of Housing and Urban
       Development (HUD). Metropolitan Area and Non-Metropolitan Area are defined using the latest
       publicly available figures for county-level designations from the Office of Management and
       Budget. Statewide Non-Metropolitan Area AMI is defined using the latest publicly available
       figures from the U.S. Department of the Treasury's CDFI Fund, with an adjustment for household
       size using HUD's Family Size Adjustment factor.

       Properties Providing Affordable Housing: Properties providing affordable housing that fall within
       either of the following two categories: (a) multifamily housing with rents not exceeding 30% of
       80% AMI for at least half of residential units and with an active affordability covenant from one of
       the following housing assistance programs: (1) Low-Income Housing Tax Credit; (2) a housing
       assistance program administered by HUD, including Public Housing, Section 8 Project-Based
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 434 of 556
                                            PageID #: 6364
                                                                             5H - 84090401 - 1   Page 10

       Rental Assistance, Section 202 Housing for the Elderly, Section 811 Housing for Disabled,
       Housing Trust Fund, Home Investment Partnership Program Affordable Rental and Homeowner
       Units, Permanent Supportive Housing, and other programs focused on ending homelessness that
       are funded under HUD's Continuum of Care Program; (3) a housing assistance program
       administered by USDA under Title V of the Housing Act of 1949, including under Sections 514
       and 515; (4) a housing assistance program administered by a tribally designated housing entity,
       as defined in Section 4(22) of the Native American Housing Assistance and Self-Determination
       Act of 1996 (25 USC § 4103(22)); or (5) a housing assistance program administered by the
       Department of Hawaiian Homelands as defined in Title VIII of the Native American Housing
       Assistance and Self-Determination Act of 1996 (24 CFR 1006.10) or (b) naturally-occurring
       (unsubsidized) affordable housing with rents not exceeding 30% of 80% AMI for at least half of
       residential units.
       Federally Recognized Tribal Entities: All Federally Recognized Tribal entities, which are
       considered disadvantaged regardless of whether a Federally Recognized Tribe has land,
       consistent with M-23-09 (memorandum dated as of January 27, 2023) and CEJST. A “Federally
       Recognized Tribal Entity” means (i) any individual member of a Federally Recognized Tribe; (ii)
       any for-profit business that has at least 51 percent of its equity ownership (or the equivalent in
       limited liability companies) by members of Federally Recognized Tribes; (iii) any non-profit entity
       with at least 51 percent of its Board of Directors (i.e., Governing Board) comprised of members of
       Federally Recognized Tribes; or (iv) any Federally Recognized Tribal government entity. Under
       this definition, any Federally Recognized Tribal Entity is included within the definition of Low-
       Income and Disadvantaged Communities, regardless of where that entity is located (i.e., the
       entity may be located in areas outside of the CEJST land area dataset, including but not limited to
       tribal service areas or counties).

Materially Impaired: For the definition and application of these terms under this Assistance Agreement (e.
g. the Clarifications to EPA General Terms and Conditions) and any associated legal documentation
related to the Assistance Agreement, note that EPA defines “Materially Impaired” in the context of
effective performance of the Assistance Agreement as 1) the issuance of a written determination and
finding from EPA that the Recipient has failed to achieve sufficient progress in accordance with the
Sufficient Progress clause under the Clarifications to EPA General Terms and Conditions Programmatic
Term and Condition and 2) if EPA in its sole discretion determines that a corrective action plan is an
appropriate means of remedying the lack of sufficient progress, the subsequent issuance of a separate
written determination and finding from EPA that the Recipient has not materially addressed its failure to
achieve sufficient progress after implementing a corrective action plan concurred on by the EPA Project
Officer and approved by the Award Official or Grants Management Officer pursuant to 2 CFR 200.208.

Participant Support Costs: 2 CFR 200.1 defines Participant Support Costs as “direct costs that support
participants (see definition for Participant in § 200.1) and their involvement in a Federal award, such as
stipends, subsistence allowances, travel allowances, registration fees, temporary dependent care, and
per diem paid directly to or on behalf of participants.” EPA regulations at 2 CFR 1500.1(a)(1) expand the
definition of Participant Support Costs to include “subsidies, rebates, and other payments to Program
Beneficiaries to encourage participation in statutorily authorized environmental stewardship programs,”
which includes the Greenhouse Gas Reduction Fund. In this program, Participant Support Costs are
primarily a form of Financial Assistance to projects which enable Low-Income and Disadvantaged
Communities to deploy or benefit from zero-emissions technologies.

Period of Closeout: Period of Closeout means the time interval between the beginning of the closeout
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 435 of 556
                                             PageID #: 6365
                                                                             5H - 84090401 - 1   Page 11

period (the date that the award has been closed out, in accordance with 2 CFR 200.344) to the end of
the closeout period (the date that the Closeout Agreement has been terminated). The Period of Closeout
may also be referred to as the Closeout Period.

Period of Performance: 2 CFR 200.1 defines Period of Performance as “the time interval between the
start and end date of a Federal award, which may include one or more budget periods.” For the purposes
of this Award Agreement, the Period of Performance means the time interval between the start of the
Federal award (either the first date that the Recipient has incurred allowable pre-award costs or the date
on the Notice of Award, whichever is earlier) and the end of the Federal award (the date that the award
has been closed out, in accordance with 2 CFR 200.344). The Period of Performance may also be
referred to as the Performance Period.

Post-Closeout Program Income: Post-Closeout Program Income means Program Income retained at the
end of the Period of Performance, which is subject to the terms and conditions of the Closeout
Agreement, as well as Program Income earned by the Recipient during the Period of Closeout that is
directly generated by a supported activity or earned as a result of the Federal award, which is also
subject to the terms and conditions of the Closeout Agreement. Under the Closeout Agreement, the
Recipient is authorized to deduct the cost of generating Post-Closeout Program Income under 2 CFR
200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary for performance
under the federal award and the costs are not charged to the EPA award. Costs incidental to the
generation of Post-Closeout Program Income include origination, servicing, and management costs that
are not charged as direct costs to the Federal award or to Post Closeout Program Income. Costs of
generating Post-Closeout Program Income can be incurred in advance of receiving the gross income,
with the Recipient incurring the costs and later using gross income to reimburse itself for no more than
the actual costs incurred to generate the Post-Closeout Program Income, provided the Recipient can
account for the actual costs incurred.

Program Administration Activities: “Program administration activities” means activities that support
administration of the grant program, to the extent such activities meet the requirements for allowability
under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500. Expenditures for
program administration activities could include those for program performance, financial and
administrative reporting, and compliance, including but not limited to activities to support, monitor,
oversee, and audit Subrecipients, Contractors, and Program Beneficiaries. Program administration costs
include procuring services and tools that support the Recipient in program design. Program
administration activities may also include establishing and convening advisory councils, as described in
Item 2 of EPA's Guidance on Selected Items of Cost for Recipients, and fundraising, as described in Item
4 of EPA's Guidance on Selected Items of Cost for Recipients.

Program Beneficiary: Program Beneficiary means an entity (either an individual or an organization) that
receives Financial Assistance or Project Deployment Technical Assistance from the Recipient as an end-
user. Expenditures for Financial Assistance or Project Deployment Technical Assistance to Program
Beneficiaries are in the form of Participant Support Costs, as defined in 2 CFR 1500.1. A Program
Beneficiary is distinct from a Subrecipient, as defined in 2 CFR 200.1.

Program Income: 2 CFR 200.1 defines Program Income as “gross income earned by the recipient or
subrecipient that is directly generated by a supported activity or earned as a result of the Federal award
during the period of performance except as provided in § 200.307(c)”. 2 CFR 200.1 notes that Program
Income “includes but is not limited to income from fees for services performed, the use or rental or real or
personal property acquired under Federal awards, the sale of commodities or items fabricated under a
        Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25       Page 436 of 556
                                               PageID #: 6366
                                                                                  5H - 84090401 - 1   Page 12

Federal award, license fees and royalties on patents and copyrights, and principal and interest on loans
made with Federal award funds.” For this program, Program Income also includes but is not limited to
income from origination fees, servicing fees, and asset management fees; revenue from asset sales;
release of grant funds previously used as Financial Assistance (such as through loan guarantees, loan
loss reserves, or similar transactions); interest and other earnings on disbursements of grant funds that
have not been transferred to third parties; and funds raised with costs charged against the grant award
(such as private debt, philanthropic contributions, and other funds raised). EPA-specific rules on Program
Income are provided at 2 CFR 1500.8, and rules on allowable fundraising costs are provided under 2
CFR 200.442 (with additional details in Item 4 of the EPA Guidance on Selected Items of Cost for
Recipients). Under this program, the Recipient is authorized to deduct the cost of generating program
income under 2 CFR 200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary
for performance under the federal award and the costs are not charged to the EPA award. Costs
incidental to the generation of program income include origination, servicing, and management costs that
are not charged as direct costs to the Federal award or to Program Income. Costs of generating program
income can be incurred in advance of receiving the gross income, with the Recipient incurring the costs
and later using gross income to reimburse itself for no more than the actual costs incurred to generate
the program income, provided the Recipient can account for the actual costs incurred. Program Income
requirements flow down to Subrecipients but not to Contractors or Program Beneficiaries.

Project-Deployment Technical Assistance: Section 134(a)(1) of the Clean Air Act provides that funds for
this competition be used for “technical assistance.” Technical assistance is defined as “Project-
Deployment Technical Assistance” and is services and tools provided by Recipients to enable Low-
Income and Disadvantaged Communities to overcome non-financial barriers to rooftop residential solar
or residential-serving community solar deployment or build the capacity of communities and businesses
to deploy solar. Examples of these services and tools include workforce training, customer outreach and
education, project deployment assistance such as siting, permitting, and interconnection support,
coordination with utilities for the purposes of project deployment, distributed solar deployment training for
developers, and other services and tools that enable Low-Income and Disadvantaged Communities to
deploy or benefit from rooftop residential solar, and residential-serving community solar.

Subaward: 2 CFR 200.1 defines a Subaward as “an award provided by a pass-through entity to a
subrecipient for the subrecipient to contribute to the goals and objectives of the project by carrying out
part of a Federal award received by the pass-through entity. It does not include payments to a contractor,
beneficiary, or participant”. A Subgrant refers to a Subaward in the form of a grant.

Subrecipient: Consistent with 2 CFR 200.1, Subrecipient means an entity that receives a Subaward from
a pass-through entity to carry out part of a Federal award but does not include an entity that is a Program
Beneficiary of such an award. A Subrecipient is distinct from a Program Beneficiary, which is referenced
in 2 CFR 1500.1.

Waste, Fraud, or Abuse: For the definition and application of these terms under this Assistance
Agreement (e.g. under the Financial Risk Management Requirements and Clarifications to EPA General
Terms and Conditions) and any associated legal documentation related to the Assistance Agreement,
refer to their use in the Reporting Waste, Fraud, and Abuse clause in the EPA General Terms and
Conditions effective October 1, 2024 and 2 CFR 200.113: “credible evidence of the commission of a
violation of Federal criminal law involving fraud, conflict of interest, bribery, or gratuity violations found in
Title 18 of the United States Code or a violation of the civil False Claims Act 31 U.S.C. 3729-3733.”
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 437 of 556
                                            PageID #: 6367
                                                                             5H - 84090401 - 1   Page 13

II. NATIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Performance Reporting

In accordance with 2 CFR 200.329 and 2 CFR 200.337, the Recipient agrees to the following two
requirements of performance reporting: (1) progress reports, (2) transaction and-project level report.
These performance reporting requirements “flow-down” as needed to enable the Recipient to comply
with the requirements described in this term and condition. The Recipient must ensure that these reports
cover its own grant-related activities, and where applicable to a certain performance report or element of
a performance report, the grant-related activities of its Subrecipients, Contractors, and/or Program
Beneficiaries. The Recipient agrees that EPA may amend the Award Agreement to reflect information
collection instruments authorized by GGRF Accomplishment Reporting (EPA ICR Number 2783.01, OMB
Control Number 2090-NEW), once such instruments are authorized; to the extent that the information is
not available for transactions that were closed prior to the amendment, the Recipient will not be out of
compliance with the reporting requirements.

The Recipient acknowledges that knowingly and willfully making a material false statement may be
subject to criminal prosecution under 18 U.S.C. 1001 and/or other civil and administrative sanctions.

EPA intends to make performance reporting information available to the public, either in whole or in part,
through disclosing copies of the reports as submitted or using the content of the reports to prepare EPA
reporting documents. Pursuant to 2 CFR 200.338, the Recipient agrees to redact personally identifiable
information (PII) and mark confidential business information (CBI) prior to submission to EPA.
Information claimed as CBI will be disclosed only to the extent, and by means of the procedures, set forth
in 40 CFR Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment
accompanies the information when it is received by EPA, it may be made available to the public by EPA
without further notice to the Recipient. Recipient agrees that submitted information that does not include
PII or CBI may be shared for program evaluation purposes, including with third parties.

The EPA Project Officer may extend the due date for performance reporting requirements to the extent
authorized by 2 CFR 200.329 and 2 CFR 200.344. On a case-by-case basis, the EPA Project Officer
may waive or modify performance reporting requirements to the extent authorized by 2 CFR 200.329 and
2 CFR 200.344. Notwithstanding any other provision of this Assistance Agreement, if Recipient's inability
to submit the required performance reporting is due to issues with EPA systems, the Recipient shall be
granted a reasonable extension to submit the reports after the technical issue has been corrected.

The following additional term and condition applicable to performance reporting applies if the Recipient is
an Eligible Nonprofit Recipient as defined in the Eligible Recipient definition:

The Recipient agrees to have its chief executive officer (or equivalent) and chief reporting officer (or
equivalent) review, sign, and submit performance reporting electronically to the EPA Project Officer. To
the extent it is known, or should have been known, by the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) that the reporting is not materially compliant with the terms and
conditions, or demonstrates material noncompliance with the terms and conditions, the chief executive
officer (or equivalent) and chief reporting officer (or equivalent) must note such noncompliance to the
EPA Project Officer alongside the submission. Should the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) signing the submission knowingly and willfully make any material false
statement, they may be subject to criminal prosecution under 18 U.S.C. 1001 and/or other civil and
administrative sanctions.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 438 of 556
                                            PageID #: 6368
                                                                             5H - 84090401 - 1   Page 14

1. Progress Reports

Semi-Annual Report

The Recipient agrees to submit semi-annual reports covering six months of the calendar year in
accordance with information collection instruments approved through GGRF Accomplishment Reporting
(EPA ICR Number 2783.01, OMB Control Number 2090-NEW). A single semi-annual report must be
submitted to cover grant-related activities of the Recipient as well as Subrecipients as well as the grant-
related activities of its Contractors and/or Program Beneficiaries where applicable to a certain element of
the semi-annual report.

The Recipient agrees to submit semi-annual reports electronically to the EPA Project Officer within 30
calendar days after the semi-annual reporting period ends. The Recipient may submit a request to the
Project Officer for a permanent extension to 60 calendar days. A request may be made once, and it must
include (i) an explanation of the Recipient's unique circumstance as to why they need the extension; (ii)
the length of the extension (i.e., up to but not more than 60 calendar days after the semi-annual reporting
period ends); and (iii) the duration of the extension (i.e., up to the remainder of the Period of
Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. The first
semi-annual reporting period ends on December 31 and covers all activities beginning on the first day of
the Period of Performance.

Final Report

The Recipient agrees to submit a final report containing two documents. First, the Recipient must submit
a report containing detailed narratives describing program performance for the entire Period of
Performance, representing an overall assessment of the Recipient's implementation of its EPA-approved
Solar for All Workplan, supported with qualitative discussions and quantitative metrics. The Recipient
must include the following broad, non-exhaustive elements in its narrative report:

       Progress towards objectives on key performance metrics over the entire Period of Performance,
       Summary of key activities completed in the entire Period of Performance, including case studies
       across different types of Financial Assistance and Project-Deployment Technical Assistance
       undertaken to enable Low-Income and Disadvantaged Communities to deploy or benefit from
       zero-emissions technologies,
       Geographic coverage of Financial Assistance and Project-Deployment Technical Assistance
       deployed in the entire Period of Performance,
       Descriptions and examples of actions the program took over the entire Period of Performance to
       meaningfully involve the communities the program serves in program design and operations,
       Plans for key activities (including anonymized current transaction pipeline) to be completed as
       well as outputs and outcomes to be achieved under the Closeout Agreement.

Second, the Recipient must submit its program strategy for the Closeout Period to detail its use of Post-
Closeout Program Income over the Closeout Period.

The two documents for the final report must be submitted to cover the grant-related activities of the
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25       Page 439 of 556
                                             PageID #: 6369
                                                                               5H - 84090401 - 1   Page 15

Recipient and its Subrecipients as well as the grant-related activities of its Contractors and/or Program
Beneficiaries where applicable to a certain element of the final report.

The two documents for the final report must be submitted ready to be published on the EPA website for
public consumption and must not include any material that the Recipient considers to be Confidential
Business Information (CBI) or Personal Identifiable Information (PII). All reports will undergo an EPA
review process to verify that there is no PII or claims of CBI. Should EPA identify PII or claims of CBI in
reports, the EPA Project Officer will require that the Recipient re-submit the report without the PII or
claims of CBI so that it can be published without redaction.

The Recipient agrees to submit the two documents for the final report electronically to the EPA Project
Officer no later than 120 calendar days after the end date of the Period of Performance.

2. Transaction and Project-Level Report

The Recipient agrees to submit semi-annual transaction and project-level reporting in accordance with
information collection instruments approved through GGRF Accomplishment Reporting (EPA ICR
Number 2783.01, OMB Control Number 2090-NEW). The data submission must cover the grant-related
activities of the Recipient and Subrecipients as well as the grant-related activities of its Contractors
and/or Program Beneficiaries where applicable to a certain element of the data submission.

The Recipient agrees to submit the transaction and project-level report electronically to the EPA Project
Officer within 30 calendar days after the semi-annual reporting period ends. The Recipient may submit a
request to the EPA Project Officer for a permanent extension to 60 calendar days. A request may be
made once, and it must include (i) an explanation of the Recipient's unique circumstance as to why they
need the extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after
the semi-annual reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of
the Period of Performance).

The semi-annual reporting periods for data submission are as follows: October 1 to March 31; April 1 to
September 30. The data submissions must cover transactions originated in the preceding two quarters.
For the semi-annual reporting period that ends March 31, the Recipient must provide information on
transactions originated from July 1 to December 31 rather than from October 1 to March 31. For the
semi-annual reporting period that ends September 30, the Recipient must provide information on
transactions originated from January 1 to June 30 rather than from April 1 to September 30. The first
transaction and project-level report is due 30 calendar days after March 31, 2025, and must cover all
transactions originated from the beginning of the Performance Period through December 31, 2024.

B. Cybersecurity Condition

The following terms and conditions applicable to cybersecurity apply if the Recipient is a State as defined
in the Eligible Recipient definition:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure.
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 440 of 556
                                             PageID #: 6370
                                                                              5H - 84090401 - 1   Page 16

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer and work with the designated Regional/Headquarters Information Security Officer to ensure that
the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the Recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the Recipient is a Tribal
Government as defined in the Eligible Recipient definition so long as the Recipient is not identified as a
not for profit on the Notice of Award:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable Tribal law and policy cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure. For
purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency
IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the Recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 441 of 556
                                             PageID #: 6371
                                                                              5H - 84090401 - 1   Page 17

deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the Recipient is a Municipality or
Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the Recipient is both a
Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit in the
Notice of Award:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State or Tribal law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure. For
purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency
IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the Recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

C. Competency Policy

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, the Recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable, the
Recipient agrees to demonstrate competency prior to carrying out any activities under the award
involving the generation or use of environmental data. The Recipient shall maintain competency for the
duration of the project period of this agreement and this will be documented during the annual reporting
process. A copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 442 of 556
                                             PageID #: 6372
                                                                             5H - 84090401 - 1   Page 18

Project Officer for this award.

D. Public or Media Events

For public or media events that are planned more than 15 calendar days in advance, the Recipient
agrees to notify the EPA Project Officer of public or media events it has organized publicizing the
accomplishment of significant activities related to execution of the EPA-approved Solar for All workplan
and provide the opportunity for attendance and participation by federal representatives with at least 15
calendar days' notice.

E. In-Kind Assistance

This action awards federal funds in the amount specified on the Notice of Award of which $400,000 is
anticipated to be through in-kind assistance. The in-kind assistance will include but is not limited to
convenings and peer networking, market data collection, research and analysis, tool building, and
education and outreach, to assist Recipients in achieving the objectives of the Solar for All program.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Leveraging and Fundraising

1. Leveraging

The Recipient agrees to make commercially reasonable efforts to provide the proposed leveraged
funding that is described in its EPA-approved Solar for All workplan. If the proposed leveraging does not
substantially materialize during the Period of Performance, and the Recipient does not provide a
satisfactory explanation, the Agency may consider this factor in evaluating future grant applications from
the Recipient. In addition, if the proposed leveraging does not substantially materialize during the Period
of Performance and the Recipient does not provide a satisfactory explanation, then EPA may reconsider
the legitimacy of the award; if EPA determines that the Recipient knowingly or recklessly provided
inaccurate information regarding the leveraged funding described in the EPA-approved Solar for All
workplan, EPA may take action as authorized by 2 CFR Part 200 and/or 2 CFR Part 180 as applicable.

2. Fundraising

2 CFR 200.442 provides coverage on allowable fundraising costs, with additional details contained in
Item 4 of the EPA Guidance on Selected Items of Cost for Recipients. Fundraising costs described in the
EPA-approved Solar for All Workplan are an allowable cost and may include costs that are reasonable
and necessary for raising additional capital to provide Financial Assistance to eligible zero emissions
technologies or Project-deployment Technical Assistance to enable Low-Income and Disadvantaged
Communities to deploy and benefit from eligible zero emission technologies.

Allowable fundraising costs must meet the following two criteria, in addition to meeting the requirements
for allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500: (1)
must be in support of the Greenhouse Gas Reduction Fund's third program objective to mobilize
financing and private capital and (2) must be reasonable and necessary to raise capital from private
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 443 of 556
                                            PageID #: 6373
                                                                             5H - 84090401 - 1   Page 19

investors. Funds a Recipient raises for its own use with costs borne by an EPA Financial Assistance
Agreement are considered Program Income, which must be treated in accordance with the Program
Income Programmatic Term and Condition. When fundraising costs are paid for by both the award as
well as other sources, a portion of the funds raised equal to the share of fundraising costs charged to the
award will be treated as Program Income.

H. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving Environmental Information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The Recipient shall ensure that Subawards involving Environmental Information issued under this
agreement include appropriate quality requirements for the work. The Recipient shall ensure
Subrecipients develop and implement Quality Assurance (QA) planning documents in accordance with
this term and condition; and/or ensure Subrecipients implement all applicable approved QA planning
documents. EPA will not approve any QA planning documents developed by a Subrecipient; the
Recipient is responsible for reviewing and approving its Subrecipient QA planning document(s), if
required based on the Subrecipient's Environmental Information Operations.

1. Quality Management Plan (QMP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the Recipient must: (i)
develop a QMP, (ii) prepare the QMP in accordance with the current version of EPA's Quality
Management Plan (QMP) Standard and submit the document for EPA review, and (iii) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
Recipient may (i) submit a previously EPA-approved and current QMP and (ii) the EPA Quality
Assurance Manager or designee (hereafter referred to as QAM) will notify the Recipient and EPA Project
Officer (PO) in writing if the QMP is acceptable for this agreement.

The Recipient must submit the QMP within 90 calendar days after the date this amendment to the Award
Agreement becomes effective, unless the Recipient requests an extension(s) that is granted by the QAM.

The Recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the Recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the Recipient must: (i)
develop a QAPP, (ii) prepare the QAPP in accordance with the current version of EPA's Quality
Assurance Project Plan (QAPP) Standard, (iii) submit the document for EPA review, and (iv) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25      Page 444 of 556
                                             PageID #: 6374
                                                                             5H - 84090401 - 1   Page 20

Recipient may (i) submit a previously EPA-approved QAPP proposed to ensure the collected, produced,
evaluated, or used environmental information is of known and documented quality for the intended use(s)
and (ii) the EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
Recipient and EPA Project Officer (PO) in writing if the previously EPA-approved QAPP is acceptable for
this agreement.

The Recipient must submit the QAPP within 90 calendar days after the date this amendment to the
Award Agreement becomes effective, unless the Recipient requests an extension(s) that is granted by
the QAM.

The Recipient must notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

The Recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• EPA's Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

I. Real Property

In accordance with 2 CFR 200.311, title to Real Property acquired or improved under this agreement will
vest upon acquisition by the Recipient, including but not limited to title to Real Property acquired through
exercise of a remedy for default of a Financial Assistance arrangement. This Real Property must be used
for the originally authorized purpose as long as needed for that purpose, during which time the Recipient
must not dispose of or encumber its title or other interests. The Real Property Programmatic Term and
Condition flows down to Subrecipients but not to Program Beneficiaries or Contractors that receive
Financial Assistance, which may acquire title to Real Property after receiving Financial Assistance.

The Recipient must obtain prior approval from the EPA Award Official for the acquisition of Real
Property. Note that the Recipient may meet this requirement by specifying the types of acquisitions of
Real Property it plans to carry out in its EPA-approved Solar for All Workplan.

Disposition

If the Recipient disposes of the property and uses the proceeds for the originally authorized purpose (i.e.,
under the terms and conditions of the Award Agreement), then the proceeds will be treated as Program
Income and there are no further disposition requirements.

Otherwise, when Real Property is no longer needed for the originally authorized purpose, the Recipient
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 445 of 556
                                             PageID #: 6375
                                                                              5H - 84090401 - 1   Page 21

must obtain disposition instructions from EPA. The instructions will provide for one of the following
alternatives:

1. Retain title after compensating EPA. The amount paid to EPA will be computed by applying EPA's
percentage of participation in the cost of the original purchase (and costs of any improvements) to the
fair market value of the property. However, in those situations where Recipient is disposing of Real
Property acquired or improved with a Federal award and acquiring replacement Real Property under the
same Federal award, the net proceeds from the disposition may be used as an offset to the cost of the
replacement property.

2. Sell the property and compensate EPA. The amount due to EPA will be calculated by applying EPA's
percentage of participation in the cost of the original purchase (and cost of any improvements) to the
proceeds of the sale after deduction of any actual and reasonable selling and fixing-up expenses. If the
Federal award has not been closed out, the net proceeds from sale may be offset against the original
cost of the property. When the Recipient is directed to sell property, sales procedures must be followed
that provide for competition to the extent practicable and result in the highest possible return.

3. Transfer title to EPA or to a third party designated/approved by EPA. The Recipient is entitled to be
paid an amount calculated by applying the Recipient's percentage of participation in the purchase of the
Real Property (and cost of any improvements) to the current fair market value of the property.

Recordation

As authorized by 2 CFR 200.316, EPA requires that Recipients who use EPA funding to purchase and
improve Real Property through an EPA funded construction project record a lien or similar notice in the
Real Property records for the jurisdiction in which the Real Property is located, which indicates that the
Real Property has been acquired and improved with federal funding and that use and disposition
conditions apply to the Real Property.

J. Program Income

In accordance with 2 CFR 200.307(c) and 2 CFR 1500.8(b), the Recipient must retain Program Income
earned during the Period of Performance. Program Income will be added to funds committed to the
program by EPA and used for the purposes and under the conditions of the Assistance Agreement and
beyond the Period of Performance based on a Closeout Agreement.

In any period of time before such a Closeout Agreement is effective but after the Recipient has fully used
the award for allowable activities, the Recipient is authorized to use Program Income under the terms
and conditions of the Assistance Agreement, as opposed to the terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition. The terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition will supplant the terms and conditions of the
Assistance Agreement once the Closeout Agreement becomes effective.

In accordance with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term
and Condition, under ordinary circumstances, the Recipient may only use Program Income once the
initial award funds are fully used for allowable activities or the Period of Performance ends for a different
reason. However, Program Income may be used by the Recipient in advance of the initial award funds
being fully used where reasonable and necessary to execute the activities in the EPA-approved Solar for
All workplan.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 446 of 556
                                            PageID #: 6376
                                                                             5H - 84090401 - 1   Page 22

K. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the Recipient or
Subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Recipient received financial support from the EPA under an
Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-seal-
and-logo#policy.



III. ADDITIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Solar for All Workplan

1. EPA-approved Solar for All Workplan

The Recipient agrees to implement this grant in accordance with its EPA-approved Solar for All
Workplan. The Recipient agrees that the public laws, regulations, applicable notices, Executive Orders,
and these award agreement terms and conditions supersede the EPA-approved Solar for All Workplan in
the event there are conflicting provisions in the EPA-approved Solar for All Workplan.

2. Specific condition on revisions to EPA-approved Solar for All workplan in the one-year planning period

The Recipient's EPA-approved Solar for All Workplan may include work to refine the program during the
one-year planning period. Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR
200.208(c)(2) and (6), EPA has determined that a specific condition is necessary to ensure that the
further revisions to the Recipient's EPA-approved Solar for All Workplan allow the Recipient to effectively
carry out the significant scale, complexity, and novelty of the Solar for All program. Based on this
determination, if the Recipient makes revisions to its EPA-approved Solar for All Workplan during the
one-year planning period, the Recipient must first receive approval from the EPA Project Officer on the
revised Solar for All Workplan prior to requesting drawdown on any revised work. EPA will not make
payments for unapproved work and any costs incurred for unapproved work by the Recipient are at its
own risk.

The Recipient may continue to request payments and EPA will make payments for costs covered by the
EPA-approved Solar for All Workplan while the EPA Project Officer, as appropriate, reviews any revised
Solar for All Workplan.

Action Required to remove the specific condition. If the Recipient makes revisions to its workplan
during the planning period, the Recipient must submit the revised workplan to EPA no later than 365
calendar days after the date of award for the first amendment of the agreement. Upon completion and
EPA approval of any revisions to the EPA-approved Solar for All Workplan, timeline, budget narrative,
budget detail, and SF-424A (if applicable), EPA will provide email confirmation that the grant recipient
has met the Planning Period Term and Condition. The email confirmation from EPA will serve as
evidence that this specific condition has been satisfied, with the specific condition removed without
further action from the Recipient required upon receipt of the email in accordance with 2 CFR 200.208
(e).
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25       Page 447 of 556
                                             PageID #: 6377
                                                                              5H - 84090401 - 1   Page 23

Method for Reconsideration. If the Recipient believes that this specific condition is not warranted or
requires modification, the Recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
Recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

B. Allowable and Unallowable Activities

The Recipient agrees to only use the award to support the following allowable activities: Financial
Assistance and Project-Deployment Technical Assistance that enable Low-Income and Disadvantaged
Communities to deploy and benefit from eligible zero emissions technologies as well as Participant
Support Costs for trainees in workforce development programs. All costs charged to the award to support
these activities must meet the requirements for allowability under 2 CFR Part 200, Subpart E as well as
applicable provisions of 2 CFR Part 1500.

The Recipient agrees to not use the award for the following unallowable activities: (a) activities that
support deployment of projects that do not meet the definition of eligible zero-emissions technologies; (b)
Costs of acquiring “intangible property,” as defined in 2 CFR 200.1; and (c) activities that support
deployment of projects outside the boundaries of the ten EPA regions or in the Freely Associated States.
The allowability of legal costs incurred in connection with the award shall be governed by applicable
provisions of 2 CFR Part 200, Subpart E, including but not limited to 2 CFR 200.403, 2 CFR 200.435, 2
CFR 200.441 and 2 CFR 200.459.

C. Foreign Entity of Concern

As part of carrying out this award, the Recipient agrees to ensure that entities the Recipient contracts
with, the Recipient makes Subawards to, or that receive funds as Program Beneficiaries at any tier of
funding under this grant agreement are not—

       (A) an entity owned by, controlled by, or subject to the direction of a government of a covered
       nation under 10 U.S.C. 4872(d);

       (B) an entity headquartered in a covered nation under 10 U.S.C. 4872(d); or

       (C) a subsidiary of an entity described in (A) or (B).

As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People's Republic of North Korea; the People's Republic of China; the Russian
Federation; and the Islamic Republic of Iran.

D. Low-Income and Disadvantaged Communities Expenditure Requirement

The Recipient agrees to ensure that 100% of the award is used for the purposes of enabling Low-Income
and Disadvantaged Communities to deploy and benefit from eligible zero emissions technologies. This
requirement applies to the entire award provided to the Recipient and “flows down” to each Subrecipient.

E. Revolving Loan Fund Characterization

EPA considers the portion of the award used to provide Financial Assistance, which may generate
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 448 of 556
                                              PageID #: 6378
                                                                               5H - 84090401 - 1   Page 24

Program Income, as a capitalization of a revolving loan fund for the purposes of 2 CFR 1500.8(d). Such
Financial Assistance may include Subawards, Contracts for Delivery of Financial Assistance, or
Participant Support Costs. In accordance with section 2.0 Applicability and Effective Date and the
definition of Subaward in section 3.0 of the EPA Subaward Policy, the EPA Subaward Policy does not
apply to the Recipient's Subawards from the capitalization of a revolving loan fund.

F. Subawards to For-Profit Entities

The Recipient is authorized to provide Subawards to for-profit entities as included in the EPA-approved
Solar for All Workplan. The Recipient agrees to require that for-profit entities that receive such
Subawards:

1. Can only recover their eligible and allowable direct and indirect costs from EPA-funded activities,
including recovering the portion of their overhead costs attributable to the activities by applying either a
Federally approved indirect cost rate, as authorized by 2 CFR 200.414(f), or the de-minimis rate if the
Subrecipient does not have a Federally approved rate;

2. Comply with the Management Fees General Term and Condition, which is incorporated by reference
into the Establishing and Managing Subawards General Term and Condition;

3. Account for and use Program Income under the rules for Program Income pursuant to 2 CFR 1500.8
(b) and the terms and conditions of the award agreement;
4. Be subject to the same requirements as non-profit Subrecipients under 2 CFR Part 200 Subparts A
through E, as federal awarding agencies are authorized to apply 2 CFR Part 200 Subparts A through E
to for-profit entities in accordance with 2 CFR 200.101(a)(2); and

5. Select an independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an
independent audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR
200.500 et. seq.); the Subrecipient must submit the audit to the Recipient within 9 months of the end of
the Recipient's fiscal year or 30 calendar days after receiving the report from an independent auditor,
whichever is earlier; as provided in 2 CFR 200.337(a) the Recipient must provide EPA, the EPA Office of
Inspector General, and the Comptroller General with access to the Subrecipient's independent auditor
reports.

G. Subawards as Part of Revolving Loan Funds

The following requirements apply when the Recipient provides Subawards under 2 CFR 200.1 as part of
a revolving loan fund. These requirements apply to the Recipient and Subrecipient in lieu of those
specified in the Establishing and Managing Subawards General Term and Condition.

1. For all Subawards as part of a revolving loan fund, the Recipient agrees to provide written
documentation including the following information, unless already described in the EPA-approved Solar
for All workplan. The Recipient is precluded from drawing down funds for such uses until the EPA Project
Officer provides written approval of the submitted documentation. The documentation must: (a) describe
the activities that will be supported by the Subawards; (b) specify the range of funding to be provided
through the Subawards; (c) identify which types of entities (i.e., governmental, non-profit, for-profit) will
receive the Subawards; and (d) specify how the Subrecipients are eligible Subrecipients in accordance
with EPA's Subaward Policy. Additionally, if a Recipient plans to Subaward to a for-profit entity the
Recipient's response to (d) must specifically describe how the for-profit Subrecipient will only receive
        Case 1:25-cv-00039-JJM-PAS         Document 68-123      Filed 02/07/25       Page 449 of 556
                                             PageID #: 6379
                                                                              5H - 84090401 - 1   Page 25

reimbursement for their actual direct or approved indirect costs such that the Subrecipient does not
“profit” from the transaction.

2. The Recipient must establish and follow a system that ensures all Financial Assistance agreements
are in writing and contain all of the elements required by 2 CFR 200.332(b), including the indirect cost
provision of 2 CFR 200.332(b)(4) for Subawards. EPA has developed an optional template for Subaward
agreements available in Appendix D of the EPA Subaward Policy, which may also be used for such
Subaward agreements.

3. The Subrecipient must comply with the internal control requirements specified at 2 CFR 200.303 and
is subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The pass-through entity must include a
condition in all Financial Assistance agreements that requires Subrecipients to comply with these
requirements.

4. Prior to making the Subaward, the Recipient must ensure that the Subrecipient has a “unique entity
identifier.” This identifier is required for registering in the System for Award Management (SAM) and by 2
CFR Part 25 and 2 CFR 200.332(b)(1). The unique entity identifier (UEI) is generated when an entity
registers in SAM. Information on registering in SAM and obtaining a UEI is available in the General
Condition of the pass-through entity's agreement with EPA entitled “System for Award Management and
Universal Identifier Requirements.”

H. Participant Support Costs

The Recipient may provide Financial Assistance and Project-Deployment Technical Assistance to enable
Low-Income and Disadvantaged Communities to deploy and benefit from eligible zero emissions
technologies in the form of Participant Support Costs.

The Recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
requirements on Participant Support Costs, in addition to other requirements included in the terms and
conditions of this award agreement:

       A. The Recipient and Program Beneficiaries are responsible for taxes, if any, on payments made
       to or on behalf of entities participating in this program that are allowable as Participant Support
       Costs under 2 CFR 200.1, 2 CFR 200.456, or 2 CFR 1500.1. EPA encourages the Recipient and
       Program Beneficiaries to consult their tax advisers, the U.S. Internal Revenue Service, or state
       and local tax authorities regarding the taxability of subsidies, rebates and other Participant
       Support Cost payments. However, EPA does not provide advice on tax issues relating to these
       payments.

       B. Participant Support Cost payments are lower tiered covered Nonprocurement transactions for
       the purposes of 2 CFR 180.300 and the Suspension and Debarment General Term and
       Condition. The Recipient, therefore, may not make Participant Support Cost payments to entities
       excluded from participation in Federal Nonprocurement programs under 2 CFR Part 180 and
       must ensure that Subrecipients adhere to this requirement as well. The Recipient is responsible
       for checking that program participants are not excluded from participation through either (1)
       checking the System for Award Management (SAM) or (2) obtaining eligibility certifications from
       the program participants.

For all Financial Assistance provided in the form of Participant Support Costs specifically, the Recipient
        Case 1:25-cv-00039-JJM-PAS         Document 68-123     Filed 02/07/25      Page 450 of 556
                                             PageID #: 6380
                                                                            5H - 84090401 - 1   Page 26

agrees to provide written documentation including the following information, unless already described in
the EPA-approved Solar for All workplan. The Recipient is precluded from drawing down funds for such
uses until the EPA Project Officer provides written approval of the submitted documentation. This
documentation must: (a) describe the activities that will be supported by the Participant Support Costs;
(b) specify the range of funding to be provided through the Participant Support Costs; (c) identify which
types of entities will have title to equipment (if any) purchased with a rebate or subsidy; (d) establish
source documentation requirements (e.g., invoices) for accounting records; and (e) describe purchasing
controls to ensure that the amount of the Participant Support Cost is determined in a commercially
reasonable manner as required by 2 CFR 200.404.

I. Contracts for Delivery of Financial Assistance

2 CFR 200 Procurement Standards

The Recipient may provide Financial Assistance to enable Low-Income and Disadvantaged Communities
to deploy and benefit from eligible zero emissions technologies in the form of procurement contracts
(Contracts for Financial Assistance). The Recipient agrees to provide Contracts for Financial Assistance
in compliance with the conflict of interest and competition requirements described in the 2 CFR Part 200
Procurement Standards. This includes but is not limited to the requirements at 2 CFR 200.318 to:

       Have and use documented procurement procedures to govern Contracts for Financial
       Assistance;
       Maintain oversight to ensure that contractors perform in accordance with the terms, conditions,
       and specifications of their contracts;
       Maintain written standards of conduct covering conflicts of interest and governing the actions of
       employees engaged in the selection, award, and administration of contracts as well as maintain
       written standards of conduct covering organizational conflicts of interest;
       Prioritize entering into inter-entity agreements where appropriate for procurement or use of
       common or shared goods and services as the Recipient seeks to mobilize financing and private
       capital;
       Award contracts only to responsible contractors possessing the ability to perform successfully
       under the terms and conditions of the proposed procurement; and
       Maintain records sufficient to detail the history of procurement.

Additional guidance is available at Best Practice Guide for Procuring Services, Supplies, and
Equipment Under EPA Assistance Agreements.

J. Labor and Equitable Workforce Development Requirements

1. Davis-Bacon and Related Acts (DBRA)

A. Program Applicability

As provided in Section 314 of the Clean Air Act (42 USC § 7614) (DBRA), Davis-Bacon Act (42 USC §§
3141-3144) labor standards apply to projects assisted by grants and cooperative agreements made
under the Greenhouse Gas Reduction Fund. Accordingly, all laborers and mechanics employed by
contractors or subcontractors on projects assisted under this Award Agreement shall be paid wages at
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25       Page 451 of 556
                                             PageID #: 6381
                                                                               5H - 84090401 - 1   Page 27

rates not less than those prevailing for the same type of work on similar construction in the locality as
determined by the Secretary of Labor in accordance with 40 USC Subtitle II, Part A, Chapter 31,
Subchapter IV (Wage Rate Requirements). Under the Greenhouse Gas Reduction Fund, the relevant
construction type and prevailing wage classifications would be “Building” or “Residential.” The Secretary
of Labor's wage determinations are available at https://sam.gov/content/wage-determinations.

Under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act requirements apply to forms
of Financial Assistance that directly fund and are directly linked to specific construction projects that were
not completed prior to the execution of the final binding documentation governing the use of the Financial
Assistance. The Recipient must ensure that any construction work financed in whole or in part with such
Financial Assistance, as defined in these Terms and Conditions, provided under this agreement complies
with Davis-Bacon and Related Act requirements and the requirements of these Terms and Conditions.

Note, however, that under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act
requirements do not apply to any form of Financial Assistance which meets any of the following criteria:

       Financial Assistance which exclusively funds pre-construction (e.g. permitting or design work) or
       post-construction activities (e.g. subsidies for subscriptions to already constructed solar assets).
       Financial Assistance which serves end-users who are individual homeowners or tenants of
       single-family homes or multifamily buildings when these individual end-users ultimately select the
       contractor(s) and execute the contract(s) for the construction work, as opposed to the Recipient,
       Subrecipient, or a contractor hired by the Recipient or Subrecipient.
       Financial Assistance which serves end-users who meet the definition of Federally Recognized
       Tribal Entities, as defined under this Assistance Agreement, when these Federally Recognized
       Tribal Entities ultimately select the contractor(s) and execute the contract(s) for the construction
       work, as opposed to the Recipient, Subrecipient, or a contractor hired by the Recipient or
       Subrecipient.
       Financial Assistance which serves any end-user when such Financial Assistance is less than
       $250,000 for a project and the end-user ultimately selects the contractor(s) and executes the
       contract(s) for the construction work, as opposed to the Recipient, Subrecipient, or a contractor
       hired by the Recipient or Subrecipient.

If the Recipient encounters a situation that presents uncertainties regarding DBRA applicability under this
Assistance Agreement, the Recipient must discuss the situation with the EPA Project Officer before
authorizing work on the project.

In the event that a periodic project site visit, audit, or routine communication with a Subrecipient,
Program Beneficiary, contractor, or subcontractor determines any instances of non-compliance or
potential non-compliance with the requirements of this Term and Condition or the Davis-Bacon and
Related Act, the Recipient agrees to promptly inform the EPA Project Officer for possible referral to the
U.S. Department of Labor for guidance or enforcement action.

Consistent with the definitions at 29 CFR § 5.2, the term “construction” refers to all types of work done on
a particular building or work at the site of the work by laborers and mechanics employed be a contractor
or subcontractor. Additional guidance is available in the definition of the term “building or work” in 29
CFR § 5.2.

B. Davis-Bacon and Related Acts
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 452 of 556
                                            PageID #: 6382
                                                                             5H - 84090401 - 1   Page 28

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on
       construction contracts of $2,000 or more;
       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and
       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000.

C. Recipient Responsibilities When Entering Into and Managing Contracts:

       a. Solicitation and Contract Requirements:

               i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients
               are responsible for complying with the procedures provided in 29 CFR 1.6(b) when
               soliciting bids and awarding contracts.

               ii. Include DBRA Requirements in All Contracts: Include “By accepting this contract, the
               contractor acknowledges and agrees to the terms provided in the DBRA Requirements for
               Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

               i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
               request additional wage rates if required for contracts under this grant, as provided in 29
               CFR 5.5(a)(1)(iii).

               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
               contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

D. Recipient Responsibilities When Establishing and Managing Additional Subawards:

       a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on
       all Subawards under this grant: “By accepting this award, the EPA Subrecipient acknowledges
       and agrees to the terms and conditions provided in the DBRA Requirements for EPA
       Subrecipients.”

       b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
       oversight of Subrecipients and must ensure Subrecipients comply with the requirements in 29
       CFR 5.6.

       c. Provide Oversight to Ensure Compliance with Participant Support Cost Requirements:
       Recipients are responsible for oversight of Subrecipients and must ensure that Subrecipients
       comply with the requirements in subsection E, below.

E. Recipient/Subrecipient Responsibilities When Managing Participant Support Costs to Program
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 453 of 556
                                             PageID #: 6383
                                                                              5H - 84090401 - 1   Page 29

Beneficiaries

When DBRA is applicable, Financial Assistance provided in the form of a Participant Support Cost to a
Program Beneficiary shall include the following text:

       “[Name of Recipient/Subrecipient providing the Financial Assistance] retains the following
       responsibilities for all contracts and subcontracts assisted by this [form of Financial Assistance]:

       a. Solicitation and Contract Requirements:

                i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: “[Name of
                Recipient/Subrecipient providing the Financial Assistance] is responsible for ensuring that
                any contracts or subcontracts made by Program Beneficiaries and/or assisted by
                Participant Support Costs comply with the procedures provided in 29 CFR 1.6(b) when
                soliciting bids and awarding contracts.

                ii. Include DBRA Requirements in All Contracts: Include the following text “By accepting
                this contract, the contractor acknowledges and agrees to the terms provided in the DBRA
                Requirements for Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

                i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
                request additional wage rates if required for contracts under this grant, as provided in 29
                CFR 5.5(a)(1)(iii).

                ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
                contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

The contract clauses set forth in this term and condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.

F. DBRA Compliance Monitoring Requirement

Reasonable and necessary costs for DBRA compliance are allowable and allocable grant costs. Such
costs include, but are not limited to, the procurement of a payroll reporting and compliance management
software product to meet the documentation and reporting requirements under 29 CFR 5.5(a)(3)(ii) for all
construction projects assisted under this award.

1. Compliance with Federal Statutes and Regulations

The Recipient agrees to comply with other applicable federal statutes and regulations related to labor
and equitable workforce development as well as to enforce compliance with Subrecipients, contractors,
and other partners (e.g., by including such provisions in contractual agreements). This includes but is not
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 454 of 556
                                              PageID #: 6384
                                                                                5H - 84090401 - 1   Page 30

limited to applicable health and safety regulations as administered by the Occupational Safety and
Health Administration.

2. Free and Fair Choice to Join a Union

In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), the Recipient agrees to design and implement a policy to increase
high-quality job opportunities for American workers and improving equitable access to these jobs,
including in traditional energy communities, through the timely implementation of requirements for
prevailing wages and registered apprenticeships and by focusing on high labor standards and the free
and fair chance to join a union.

In accordance with the EPA General Terms and Conditions, grant funds may not be used to support or
oppose union organizing, whether directly or as an offset for other funds.

K. Build America, Buy America Act

The Build America, Buy America Act – Public Law 117-58, requires the EPA to ensure that for any
activity related to the construction, alteration, maintenance, or repair of infrastructure, “none of the funds
made available for a Federal Financial Assistance program for infrastructure, including each deficient
program, may be obligated for a project unless all of the iron, steel, manufactured products, and
construction materials used in the project are produced in the United States.” (P.L. 117-58, Secs 70911 –
70917).

The Recipient is bound to the EPA Build America, Buy America General Term and Condition,
which outlines the Build America, Buy America (BABA) requirements that all Recipients of EPA Financial
Assistance awards must comply with.

Under the Greenhouse Gas Reduction Fund, BABA requirements apply to forms of Financial Assistance
that directly fund and are directly linked to specific infrastructure projects that were not completed prior to
the date the Recipient's award funds were obligated by the EPA.

EPA interprets the definition of infrastructure consistent with 2 CFR 184 and M-24-02 (memorandum
dated as of October 23, 2023), including the “public function” test, when determining whether projects
qualify as public infrastructure, based on the Civil Rights Act definition of public accommodation.

The following types of Greenhouse Gas Reduction projects are deemed infrastructure for the purposes of
BABA applicability:

       1. The public infrastructure portion of any property (e.g., retail in a mixed-use multi-family
       property) where the principal purpose of the Financial Assistance is to directly benefit such
       portion of the property;

       2. Privately-owned commercial buildings when they meet the “public function” test;

       3. Residential-serving community solar projects, which EPA deems “structures, facilities, and
       equipment that generate, transport, and distribute energy” per 2 CFR 184.4(c).

The following types of Greenhouse Gas Reduction projects are not deemed infrastructure for the
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 455 of 556
                                            PageID #: 6385
                                                                             5H - 84090401 - 1   Page 31

purposes of BABA applicability:

       1. Single family homes;

       2. Privately-owned, non-mixed-use, multi-family housing properties;

       3. Privately-owned residential portions of mixed-use properties;

       4. Any privately-owned, behind-the-meter energy generation and storage project that does not
       otherwise meet the definition of infrastructure.

The inclusion of the following types of funding, support, guarantee, or sponsorship in the funding stack of
any Greenhouse Gas Reduction fund project does not trigger BABA, in and of itself or in combination:

       1. Low-Income Housing Tax Credit (LIHTC);

       2. Fannie Mae and Freddie Mac Backed Multifamily Mortgages;

       3. Federal Housing Administration Insured Multifamily Mortgages;

       4. HUD Section 8 Funding;

       5. Other Federal, State, Tribal, or Local Housing Assistance Funding Sources: in general,
       subsidies issued by federal, state, Tribal, or local housing assistance funding sources that do not
       confer equity or ownership stakes for the governmental funding source do not trigger BABA
       applicability.

BABA applicability is assessed at the time of provision of Financial Assistance based on the terms,
limitations, and requirements of the Financial Assistance. Applicability does not change retroactively
based on a change of use (e.g., if a ground floor apartment is re-zoned for a restaurant). Recipients may
not temporarily modify or mischaracterize usage to intentionally avoid BABA compliance.

If the Recipient encounters a situation that presents uncertainties regarding Build America, Buy America
applicability under this Assistance Agreement, the Recipient must discuss the situation with the EPA
Project Officer before authorizing work on the project.

L. Consumer Protection Requirements

The Recipient agrees to carry out the following consumer protection requirements to the extent that the
Recipient directly interacts, transacts, or contracts with consumers in the provision of Financial
Assistance:

       1. Comply with the Equal Credit Opportunity Act, the Truth in Lending Act, the Consumer
       Financial Protection Act, and other federal consumer protection laws that apply;

       2. Provide written disclosures to consumers containing information in clear and understandable
       language regarding purchasing, leasing, or financing as well as the costs associated with a
       consumer's transaction;
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 456 of 556
                                             PageID #: 6386
                                                                              5H - 84090401 - 1   Page 32

       3. With regard to solar products or services, provide written disclosures on the impact of the solar
       project on the consumer's ability to sell or refinance their home and recording of any liens on the
       home; consumer rights; contact information for the solar project provider; and complaint
       procedures for the consumer if they have a problem with the solar project or sales process;

       4. Require that all in-person and telephone marketing that directly interacts, transacts, or
       contracts with consumers be conducted in a language in which the consumer subject to the
       marketing is able to understand and communicate; and

       5. Maintain a process for receiving, monitoring, and resolving consumer complaints, including
       ensuring that complaints are appropriately addressed and referring complaints, when necessary,
       to the appropriate government regulatory agency.

The Recipient agrees to monitor and oversee Subrecipients and contractors with respect to these
consumer financial protection requirements to the extent that they directly interact, transact, or contract
with consumers, in accordance with 2 CFR 200.332(e) and 2 CFR 200.318.

M. Financial Risk Management Requirements

1. Cash Management Requirements

The Recipient must deposit and maintain advance payments of Federal funds exclusively in insured
accounts, in accordance with 2 CFR 200.305(b)(10). As provided in 2 CFR 200.1, an advance payment
is “a payment that a Federal agency or pass-through entity makes by any appropriate payment
mechanism and payment method before the recipient or subrecipient disburses the funds for program
purposes.” A Recipient drawing down funds from ASAP prior to disbursement for actual and allowable
project costs constitutes an advance payment. Interest income earned on the advance payment from
EPA to the Recipient prior to disbursement is subject to the requirements on interest earned within 2
CFR 200.305(b)(11) and 2 CFR 200.305(b)(12); consequently, such interest earned in excess of $500
must be remitted annually to the Department of Health and Human Services Payment Management
System.

The Recipient is authorized to maintain Program Income in two types of accounts:

       1. Insured accounts, including in amounts in excess of the federal insurance limit of $250,000.
       2. Accounts where such income is used to purchase (i) U.S. Savings Bonds, U.S. Treasury
       Marketable Securities, and U.S. Agency Marketable Securities, provided the duration of such
       instruments is no longer than 90 calendar days (if purchased directly) and that such instruments
       are held-to-maturity (if purchased directly), or (ii) short-term money market funds consisting solely
       of the aforementioned investment instruments and offering daily investor redemptions. Note, the
       underlying instruments included in a short-term money market fund consisting solely of U.S.
       Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency Marketable Securities
       and offering daily investor redemptions need not be of a particular duration or held-to-maturity.

Interest income and other returns earned on funds that have already been disbursed is considered
additional Program Income consistent with 2 CFR 1500.8(d) and is not subject to the requirements on
interest earned within 2 CFR 200.305(b)(11) and 2 CFR 200.305(b)(12).

2. Climate-Related Financial Risks
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 457 of 556
                                             PageID #: 6387
                                                                              5H - 84090401 - 1   Page 33

The Recipient agrees to comply with Executive Order 11988 (Floodplain Management). This may include
accounting for and evaluating practicable alternatives or other mitigation related to ameliorating flood
risks and protecting flood plains as part of its financial risk management policies and procedures.

The Recipient agrees to comply with Executive Order 14030 (Climate-Related Financial Risk). This may
include accounting for climate-related financial risks—including physical and transition risks—in its
financial risk management policies and procedures.

3. Additional Requirements

The Recipient agrees to not subordinate its interests in any asset that the Recipient acquires with EPA
funds or Program Income in a manner that waives EPA's claim for compensation under any applicable
statutory claims, 2 CFR Part 200, or common law. Once a Recipient uses grant funds for program
purposes and incurs a financial obligation, as defined under 2 CFR 200.1, EPA will only seek claims on
those funds in the event that they were used for costs that do not comply with the terms and conditions of
the Award Agreement or if there is adequate evidence of Waste, Fraud, or Abuse, prompting adverse
action by EPA per 2 CFR 200.339. This does not prohibit the use of subordinated debt as a form of
Financial Assistance.

The Recipient agrees to apply EPA's Final Financial Assistance Conflict of Interest Policy to all
Subawards and Participant Support Costs made to entities receiving Financial Assistance or Project-
Deployment Technical Assistance. Notwithstanding the statement in section 2.0 of the Conflict of Interest
(COI) Policy that it does not apply to “Subawards in the form of loans, loan guarantees, interest subsidies
and principal forgiveness, purchases of insurance or similar transactions entered into with borrowers by
Recipients of revolving loan fund capitalization grants or other EPA Financial Assistance agreements
where Agency funds may be used for lending activities,” EPA is applying the COI Policy to these
transactions through this term and condition.

The Recipient agrees to provide Subrecipients that receive Subawards to provide Financial Assistance or
Project-Deployment Technical Assistance with training and technical assistance on program-related
matters, including on prudent financial risk management practices, in accordance with 2 CFR 200.332(f).

N. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant, on historic properties, and to provide the Advisory Council on
Historic Preservation (ACHP) a reasonable opportunity to comment on such undertakings. The Recipient
must assist the EPA Project Officer in complying with NHPA if any activities funded under this grant
impact a historic property. Historic properties can include: (a) land or buildings listed in or eligible for
listing on the National Register of Historic Places; (b) archaeologically sensitive areas or in an area
where traditional cultural properties are located; and (c) properties that are associated with significant
historic events, are associated with significant people, embody distinctive characteristics, and contain
important precontact information.

The Recipient should work with their Project Officer to ensure that Subrecipients are available to work
with EPA on any required consultation process with the State Historic Preservation Office (SHPO) or
Tribal Historic Preservation Office (THPO) prior to commencing the project to ensure compliance with
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 458 of 556
                                             PageID #: 6388
                                                                              5H - 84090401 - 1   Page 34

Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The Recipient must ensure that Subrecipients
performing construction projects are aware of this requirement, and the Recipient must notify EPA if the
AHPA is triggered.

O. Uniform Relocation Assistance and Real Property Acquisition Policies Act

The Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA) applies to
acquisitions of property and displacements of individuals and businesses that result from federally
assisted programs. The URA and Federal Highway Administration's implementing regulations at 49 CFR
Part 24 require the Recipient to follow certain procedures for acquiring property for purposes under the
federal award, such as notice, negotiation, and appraisal requirements. The statute and regulations also
contain requirements for carrying out relocations of displaced persons and businesses, such as
reimbursement requirements for moving expenses and standards for replacement housing. The
Recipient must comply with, and ensure Subrecipients comply with, the URA and 49 CFR Part 34 if an
EPA-funded acquisition of property results in permanent displacement of individuals or businesses. Note
that although the URA does not apply to temporary displacement of residents, the cost for temporary
relocation of residents may be an allowable cost under the “necessary and reasonable for the
performance of the Federal award” provision of 2 CFR 200.403(a). The Recipient must obtain prior
approval of the EPA Project Officer and EPA Award Official for the allowability of costs for temporary
relocation of residents.

P. Remedies for Non-Compliance

The Recipient agrees to comply with the terms and conditions of the Award Agreement. Should the
Recipient fail to adhere to the terms and conditions of the Award Agreement, the EPA may impose
additional conditions as set forth in 2 CFR 200.208. If the EPA determines that noncompliance cannot be
remedied by imposing additional conditions, the EPA may seek remedies under 2 CFR 200.339 up to
and including termination and the recovery of unallowable costs as provided in 2 CFR 200.343. As
specified in 2 CFR 200.343, which will remain in effect throughout the term of this award, costs during
suspension or after termination are allowable if (a) the costs result from financial obligations which were
properly incurred by the non-Federal entity before the effective date of suspension or termination, are not
in anticipation of it, and (b) the costs would be allowable if the Federal award was not suspended or
expired normally at the end of the period of performance in which the termination takes effect.

The Recipient agrees to comply with the statutory requirements of Section 134 of the Clean Air Act.
Should the Recipient violate the statutory requirements of Section 134 by failing to use grant funds in
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 459 of 556
                                              PageID #: 6389
                                                                                5H - 84090401 - 1   Page 35

accordance with Section 134 or by failing to ensure that the activities of Subrecipients are in accordance
with Section 134, EPA may seek remedies under Section 113, which may subject the Recipient to civil
administrative penalties through an EPA administrative enforcement action, civil penalties and/or
injunctive relief through a civil judicial enforcement action by the U.S. Department of Justice (DOJ), or
criminal penalties through a DOJ criminal judicial enforcement action.

Notwithstanding any other provision of this Award Agreement, EPA will not determine that Recipient has
failed to comply with the terms and conditions of the Award Agreement, without providing a reasonable
opportunity to remedy under 2 CFR 200.208, for good faith efforts to comply with the Performance
Reporting National Programmatic Term and Condition, Additional Programmatic Terms and Conditions
regarding Build America, Buy America or Labor and Equitable Workforce Development Requirements,
requirements for Subrecipient oversight, or to obligate or expend funds for allowable activities.

Q. Clarifications to EPA General Terms and Conditions

EPA agrees to make the following clarifications to the EPA General Terms and Conditions. These
clarifications expand on, rather than replace or modify, the EPA General Terms and Conditions. The
Recipient agrees to comply with these clarifications.

1. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The following clarification to the ASAP and Proper Payment Draw Downs General Term and Condition
applies if the Recipient is a Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition. States, as defined in the Eligible Recipient definition, are subject to the
Proper Payment Drawdown for State Recipients General Term and Condition:

The Recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition.

The Recipient is required to notify the EPA Project Officer of draws from ASAP in excess of the following
amounts: $10,000,000 within a 24-hour period or $50,000,000 within a 7-day period. The Recipient is
required to provide such notification within 3 business days of the draw amount being surpassed.

2. Establishing and Managing Subawards

2 CFR 200.308 requires the Recipient to obtain prior agency approval for "Subaward activities not
proposed in the application and approved in the Federal award."

EPA will not require additional written approval from the EPA Award Official for a Subaward to a
Subrecipient that is named in the Recipient's EPA-approved Solar for All Workplan.

When the Subrecipient is not named in the EPA-approved Solar for All Workplan, the Recipient agrees to
provide written documentation that must be approved by the EPA Project Officer. The Recipient is
precluded from drawing down funds for Subawards not named in the EPA-approved Solar for All
workplan until the EPA Project Officer provides written confirmation of the documentation. The
documentation must: (a) describe the activities that will be supported by the Subawards; (b) specify the
range of funding to be provided through the Subawards; (c) identify which types of entities (i.e.,
governmental, non-profit, for-profit) will receive the Subawards; and (d) specify how the Subrecipients
are eligible Subrecipients in accordance with EPA's Subaward Policy, and specifically how the
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 460 of 556
                                            PageID #: 6390
                                                                             5H - 84090401 - 1   Page 36

Subrecipients will comply with the requirement that the Subrecipient must only receive reimbursement for
their actual direct or approved indirect costs such that they do not “profit” from the transaction.

3. Indirect Cost Rate

The Recipient should note that Subrecipients that receive loans cannot charge an indirect cost rate
against their loans and that entities that receive Participant Supports Costs cannot charge an indirect
cost rate against their Participant Support Cost payments, unless a class exception to this policy is
issued by EPA.

Modified total direct costs (MTDC), as defined in 2 CFR 200.1, means all direct salaries and wages,
applicable fringe benefits, materials and supplies, services, travel, and up to the first $50,000 of each
Subaward (regardless of the period of performance of the Subawards under the award). MTDC excludes
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, Participant Support Costs and the portion of each Subaward in excess of $50,000.

Notwithstanding the General Term and Condition “Indirect Cost Rate Agreements,” the Recipient may
claim up to a 15% de minimis rate of modified total direct costs authorized by 2 CFR 200.414(f).

4. Sufficient Progress

The EPA Project Officer may assess whether the Recipient is making sufficient progress in implementing
the EPA-approved Solar for All workplan under this Assistance Agreement within 90 calendar days of
June 30, 2025 as well as within 90 calendar days of June 30 of each year thereafter during the Period of
Performance. “Sufficient progress” shall be assessed based on a comparison of the Recipient's planned
versus actual expenditures as well as planned versus actual outputs/outcomes. This term and condition
“flows down” to Subrecipients, with the Recipient required to assess whether each Subrecipient is
making sufficient progress in implementing the workplan under its Subaward Agreement; the Recipient
may increase the frequency and scope of the review of sufficient progress of Subrecipients, in
accordance with 2 CFR 200.332 Requirements for Pass-Through Entities.

If the EPA Project Officer determines that the Recipient has not made sufficient progress in implementing
its EPA-approved Solar for All workplan, the Recipient, if directed to do so, must implement a corrective
action plan concurred on by the EPA Project Officer and approved by the Award Official or Grants
Management Officer pursuant to 2 CFR 200.208.

EPA will not find that the Recipient has failed to make sufficient progress in implementing its EPA-
approved Solar For All workplan based on shifts between types of Financial Assistance over the Period
of Performance (or other shifts in portfolio allocation, to the extent applicable, such as by region or
market segment, over the Period of Performance). If EPA finds the Recipient has failed to achieve
sufficient progress on deployment of Financial Assistance in general, or is achieving progress at a slower
rate than projected under the EPA-approved Solar for All workplan, the Recipient will have an opportunity
to implement a corrective action plan pursuant to 2 CFR 200.208.

5. Termination

EPA maintains the right to terminate the Assistance Agreement only as specified in 2 CFR 200.339 and
the version of 2 CFR 200.340 effective as of October 1, 2024, when the noncompliance with the terms
and conditions is substantial such that effective performance of the Assistance Agreement is Materially
        Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 461 of 556
                                             PageID #: 6391
                                                                               5H - 84090401 - 1   Page 37

Impaired or there is adequate evidence of Waste, Fraud, or Abuse, or material misrepresentation of
eligibility status, prompting adverse action by EPA per 2 CFR 200.339, through either a partial or full
termination. If EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate
uncommitted funds and re-obligate them to another Eligible Recipient selected under Funding
Opportunity Number 66.959 (Zero Emissions Technologies Grant Program, also known as Solar For All)
to effectuate the objectives of Section 134 of the Clean Air Act, 42 USC § 7434 within 90 days of the de-
obligation and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on
the de-obligation. In accordance with 2 CFR 200.341, EPA will provide the Recipient notice of
termination. If an Eligible Recipient has assumed a legal obligation properly incurred for an allowable
activity entered into by a suspended or terminated Recipient, EPA will re-obligate funds to the Eligible
Recipient to satisfy the legal obligation and accept an amended workplan and budget to that effect.

R. Period of Performance

The Period of Performance under this Award Agreement will end on the date specified in the Notice of
Award. However, the Period of Performance may end prior to the date specified in the Notice of Award if
all required work of the Federal award has been completed, in accordance with 2 CFR 200.344. In
accordance with 2 CFR 200.344(b), the Recipient agrees to liquidate all financial obligations incurred
under the award no later than 120 calendar days after the end date of the Period of Performance. In this
context, to “liquidate all financial obligations” means to pay outstanding bills, such as the payment of staff
salaries accrued during the Period of Performance but for which the due date falls after the end date of
the Period of Performance. To “liquidate all financial obligations” does not mean to liquidate, terminate,
or accelerate outstanding obligations related to the provision of Financial Assistance to Qualified Projects
at the end of the Period of Performance, which would continue to be subject to the Closeout Agreement.

The Recipient should note that the Recipient will not be considered to have met the requirements for
closeout under its award under 2 CFR 200.344 so long as any Subrecipient has not met the
requirements for closeout under its subaward under 2 CFR 200.344.

Notwithstanding the Extension of Project/Budget Period Expiration Date General Term and Condition, in
accordance with 2 CFR 200.308(g)(2), the Recipient is authorized to initiate a one-time extension of the
Period of Performance by up to 12 months without prior EPA approval, provided that the extension
complies with the requirements 2 CFR 200.308(g)(2). In accordance with 2 CFR 200.308(g)(2), the
Recipient must “notify the Federal agency in writing with the supporting justification and a revised period
of performance at least 10 calendar days before the conclusion of the period of performance.”

S. Closeout Agreement

As provided at 2 CFR 200.307(c) and 2 CFR 1500.8(d), after the end of the Period of Performance of the
Assistance Agreement, the Recipient may keep and use Program Income remaining at the end of the
Assistance Agreement and use Post-Closeout Program Income in accordance with this term and
condition. The Closeout Agreement goes into effect for this Assistance Agreement the earlier of 1) the
day after the Assistance Agreement Period of Performance ends, 2) the first date when all required work
of the Federal award has been completed in accordance with 2 CFR 200.344 and the Recipient has met
the requirements for closeout (including but not limited to submitting the final report as specified in the
Performance Reporting Programmatic Term and Condition) or 3) an alternative date that is mutually
agreed by the Recipient and the EPA Grants Management Officer or Award Official.

In accordance with 2 CFR 200.344, EPA will proceed to closeout the Award Agreement and enter the
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 462 of 556
                                            PageID #: 6392
                                                                            5H - 84090401 - 1   Page 38

Closeout Period even if the Recipient has not met the requirements for closeout (including but not limited
to submitting the final report as specified in the Performance Reporting Programmatic Term and
Condition). As provided in 2 CFR 200.344: “When the recipient or subrecipient fails to complete the
necessary administrative actions or the required work for an award, the Federal agency or pass-through
entity must proceed with closeout based on the information available.” This Closeout Agreement is
therefore self-executing.

This term and condition is the entire Closeout Agreement between the EPA and the Recipient. If any
provisions of this Closeout Agreement are invalidated by a court of law, the parties shall remain bound to
comply with the provisions of this Closeout Agreement that have not been invalidated. The Closeout
Agreement will be interpreted and, if necessary, enforced under Federal law and regulations. The
Recipient shall comply with the requirements specified below as part of the Closeout Agreement.
Definitions within 2 CFR 200.1, including as supplemented through I. Definitions of this award
agreement, apply identically to how they do under the Period of Performance, unless otherwise noted.

As specified in the Flow-Down Requirements Programmatic Term and Condition, the Closeout
Agreement Programmatic Term and Condition flows down to Subrecipients such that the Recipient must
enter into a corresponding Closeout Agreement with any Subrecipient that has Program Income or
anticipates generating Post-Closeout Program Income at the end of the Subrecipient's Period of
Performance.

1. Allowable Activities

The Recipient shall use Post-Closeout Program Income in accordance with the Allowable and
Unallowable Activities Programmatic Term and Condition, as applicable.

2. Reporting Requirements

After the Closeout Agreement becomes effective, the Recipient shall disclose annual reports publicly, in
lieu of any of the reporting requirements described in the Performance Reporting Programmatic Term
and Condition. The Recipient's public annual reports under the Closeout Agreement must meet the
following broad requirements:

       Progress towards objectives on key performance metrics over the annual reporting period,
       Summary of key activities completed over the annual reporting period, including case studies
       across different types of Financial Assistance and Project-Deployment Technical Assistance
       undertaken to enable Low-Income and Disadvantaged Communities to deploy or benefit from
       zero-emissions technologies,
       Geographic coverage of Financial Assistance and Project-deployment Technical Assistance
       deployed over the annual reporting period,
       Descriptions and examples of actions the program took over the annual reporting period to
       meaningfully involve the communities the program serves in program design and operations,
       Plans for key activities (including anonymized current transaction pipeline) to be completed as
       well as outputs and outcomes to be achieved in the next annual reporting period.

3. Low-Income and Disadvantaged Communities Expenditure Requirements
        Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25       Page 463 of 556
                                              PageID #: 6393
                                                                                 5H - 84090401 - 1   Page 39

The Recipient shall expend 100% of Program Income for the purposes of providing Financial Assistance
and Technical Assistance in and benefiting Low-Income and Disadvantaged Communities to deploy and
benefit from eligible zero emissions technologies and comply with this requirement in accordance with
the Low-Income and Disadvantaged Communities Expenditure Requirements Programmatic Term and
Condition, as applicable.

4. Cash Management Requirements

The Recipient must maintain Post-Closeout Program Income in accordance with the Cash Management
Requirements in the Financial Risk Management Requirements Programmatic Term and Condition, as
applicable. However, the Recipient may submit a Cash Management Policy for review and approval by
the EPA Project Officer, which can authorize the Recipient to deviate from the aforementioned Cash
Management Requirements.

5. Remedies for Non-Compliance

The Recipient agrees to identical remedies for non-compliance that are specified in the Remedies for
Non-Compliance Programmatic Term and Condition, as applicable. During the Closeout Period, the
workplan and budget submitted for the Period of Performance are no longer applicable.

6. Suspension and Debarment

The Recipient agrees to ensure that Post-Closeout Program Income is not transferred to entities that are
currently suspended, debarred, or otherwise declared ineligible under 2 CFR Part 180. The Recipient
can maintain compliance with this requirement through either (1) checking the System for Award
Management (for Subrecipients, Contractors, or Program Beneficiaries) or (2) obtaining eligibility
certifications from counterparties (for Program Beneficiaries). The Recipient may access the System for
Award Management (SAM) exclusion list at https://sam.gov/SAM to determine whether an entity or
individual is presently excluded or disqualified.

7. Non-Discrimination

The Recipient must use Post-Closeout Program Income in compliance with EPA regulations at 40 CFR
Part 7 regarding non-discrimination in EPA-funded programs, as applicable.

Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, The Age
Discrimination Act of 1975. The Recipient agrees to comply with these laws, prohibiting discrimination in
the provision of services or benefits, on the basis of race, color, national origin, sex, disability or age, in
programs or activities receiving federal financial assistance.

Pursuant to EPA's regulations on “Nondiscrimination in Programs receiving Federal Assistance from the
Environmental Protection Agency” in 40 CFR Part 5 and 40 CFR Part 7, the Recipient agrees, and will
require all Subrecipients to agree, not to discriminate on the basis of race, color, national origin, sex,
disability or age.

Executive Order 11246 Part III of Executive Order No. 11246 (September 24, 1965) as amended
prohibits discrimination in Federally assisted construction activities. As provided in section 301 of the
Executive Order, the Recipient will ensure that Subrecipients include the seven clauses specified in
section 202 of the Order in all construction contracts. Section 302 defines "Construction contract" as “any
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 464 of 556
                                             PageID #: 6394
                                                                              5H - 84090401 - 1   Page 40

contract for the construction, rehabilitation, alteration, conversion, extension, or repair of buildings,
highways, or other improvements to Real Property.” Contracts less than $10,000 are exempt from the
requirements of the Order.

8. Record-Keeping
In accordance with 2 CFR 200.334(e), the Recipient shall maintain appropriate records to document
compliance with the requirements of the Closeout Agreement (i.e., records relating to the use of Post-
Closeout Program Income) for a three-year period following the end of the Closeout Agreement, unless
one of the conditions specified in the regulation applies. Note that this requirement applies if and when
the Closeout Agreement is terminated, in accordance with Item 14. Termination of the Closeout
Agreement. EPA may obtain access to these records to verify that Post-Closeout Program Income has
been used in accordance with the terms and conditions of this Closeout Agreement. Records and
documents relating solely to performing the grant agreement prior to closeout may be disposed of in
accordance with 2 CFR 200.334.

Additionally, the Recipient must maintain adequate accounting records for how Post-Closeout Program
Income is managed and spent as well as all other appropriate records and documents related to the
activities conducted using Program Income.

The Recipient agrees to ensure that Subrecipients comply with Federal Funding Accountability and
Transparency Act (FFATA) reporting requirements. The Recipient may use the terms of its Subaward
Agreements or other effective means to meet its responsibilities.

9. Other Federal Requirements

The following other federal requirements apply to the use of Post-Closeout Program Income under the
Closeout Period to the same extent they do under the terms of the Performance Period:

       Davis-Bacon and Related Acts, as specified in the Labor and Equitable Workforce Development
       Requirements Programmatic Term and Condition;
       Build America, Buy America Act, as specified in the Build America, Buy America Act
       Programmatic Term and Condition; and
       National Historic Preservation Act, as specified in the Historic Preservation Programmatic Term
       and Condition.

No other federal requirements apply to the use of Post-Closeout Program Income under the terms of this
Closeout Agreement, other than those specified in this Closeout Agreement.

10. Amendments to the Closeout Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Closeout Agreement. Agreed-upon modifications must
be in writing. Oral or unilateral modifications shall not be effective or binding.

11. Audit Requirements
The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Closeout Period, as activities related to the Federal award referenced in 2 CFR 200.502(a) include
activities during the Closeout Period.
        Case 1:25-cv-00039-JJM-PAS        Document 68-123      Filed 02/07/25      Page 465 of 556
                                            PageID #: 6395
                                                                            5H - 84090401 - 1   Page 41

Through September 30, 2031, the Recipient agrees to notify the EPA Project Officer within 30 calendar
days of the submission of the Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data
Entry System. This requirement “flows-down” to each Subrecipient in that the Recipient must also notify
the EPA Project Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit
Clearinghouse's Internet Data Entry System.

12. Termination of the Closeout Agreement

The Closeout Agreement terminates when either of the following situations occur: (1) the Recipient holds
a de minimis amount of Post-Closeout Program Income and does not anticipate generating more than a
de minimis amount of additional Post-Closeout Program Income or (2) the Recipient and the EPA Award
Official or Grants Management Officer mutually agree to terminate the Closeout Agreement, with the
Recipient remitting current and future Post-Closeout Program Income to the federal government.

The ability to terminate the Closeout Agreement flows down to Subrecipients, as a Closeout Agreement
between the Recipient and Subrecipient terminates when either (1) the Subrecipient holds a de minimis
amount of Post-Closeout Program Income and does not anticipate generating more than a de minimis
amount of additional Post-Closeout Program Income or (2) the Subrecipient and the Recipient mutually
agree to terminate the Closeout Agreement, with the Subrecipient remitting current and future Post-
Closeout Program Income to the Recipient.

The de minimis amount must be agreed-upon in writing by the Recipient and the Director of the Office of
the Greenhouse Gas Reduction Fund (or equivalent), prior to the Recipient using the “de minimis” criteria
to terminate the Closeout Agreement.

13. Points of Contact

The points of contact for the Closeout Agreement are the EPA Project Officer (for the EPA) and the
Authorized Representative on the EPA Key Contacts Form most recently submitted to the EPA Project
Officer (for the Recipient). If changes are made to these points of contact, the respective party must
notify the other within 30 calendar days of the planned change.

T. Accounting Principles

The Recipient must account for all award funds in accordance with Generally Accepted Accounting
Principles (GAAP) as in effect in the United States.

The Recipient must segregate and account for the award funds separately from all other program and
business accounts. Additionally, the Recipient must segregate and account for Program Income
separately from all other program and business accounts.

U. Internal Controls

The Recipient must comply with standards for internal controls described at 2 CFR 200.303. The
“Standards for Internal Control in the Federal Government” issued by the Comptroller General of the
United States referenced in § 200.303 are available online at https://www.gao.gov/assets/gao-14-704g.
pdf

V. Audits
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25      Page 466 of 556
                                              PageID #: 6396
                                                                               5H - 84090401 - 1   Page 42

The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Period of Performance, as described in the Audit Requirements General Term and Condition.

Additionally, in accordance with 2 CFR 200.332 and 2 CFR 200.501(i), the Recipient agrees to disclose
directly to the EPA Project Officer audited financial statements from any for-profit Subrecipient that
expends $1,000,000 or more of EPA funds from the Recipient's grant program in the Subrecipient's fiscal
year. Any for-profit Subrecipient that must disclose such financial statements is required to select an
independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an independent
audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR 200.500 et. seq.).
The Subrecipient must submit the audit to the Recipient within 9 months of the end of the Recipient's
fiscal year or 30 days after receiving the report from an independent auditor, whichever is earlier.

The Recipient agrees to notify the EPA Project Officer within 30 calendar days of the submission of the
Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data Entry System. This
requirement “flows-down” to each Subrecipient in that the Recipient must also notify the EPA Project
Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit Clearinghouse's
Internet Data Entry System.

W. EPA Project Officer Oversight and Monitoring

Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(3)(4) and (6), EPA
has determined that a specific condition is necessary to ensure that eligible Recipients effectively carry
out the significant scale, complexity, and novelty of the Solar for All program. This specific condition will
remain in effect throughout the period of performance unless the EPA Award Official determines, based
on a request by the Recipient or EPA Project Officer, that some or all of the specific conditions are no
longer necessary for EPA to manage programmatic or financial risks.

The EPA Project Officer, or other EPA staff designated by the EPA Project Officer or the Division
Director of the Solar for All program, will oversee and monitor the grant agreement through activities, if
determined necessary, including:

       1. Upon request, requiring the Recipient to participate in an annual workshop (i.e., one workshop
       per calendar year) with other Recipients under the Solar for All program; the EPA Project Officer
       will contact the Recipient to finalize details for each annual workshop.

       2. Participating in project activities, to the extent permissible under EPA policies, such as:
       consultation on effective methods of carrying out the EPA-approved Solar for All Workplan,
       provided the Recipient makes the final decision on how to perform authorized activities;
       coordination by EPA staff with other Recipients under the Greenhouse Gas Reduction Fund and
       with other EPA programs, and other federal programs to avoid duplication of effort;

       3. Reviewing the qualifications of key personnel, including senior management and board-level
       committee members or contractors employed by Recipients. Note that EPA does not have the
       authority to select employees or contractors, including consultants, employed by the Recipient;

       4. Closely monitoring the Recipient's management and oversight of Subrecipients and
       procedures for ensuring that program beneficiaries adhere to program participation guidelines;

       5. Closely monitoring the Recipient's performance to verify compliance with the EPA-approved
        Case 1:25-cv-00039-JJM-PAS        Document 68-123       Filed 02/07/25      Page 467 of 556
                                            PageID #: 6397
                                                                             5H - 84090401 - 1   Page 43

       Solar for All Workplan and achievement of environmental results;

       6. Participating in periodic telephone conference calls with Recipient personnel to discuss project
       successes and challenges, and similar items impacting Recipient performance;

       7. Reviewing and commenting on performance reports prepared under the Award Agreement.
       Note that the final decision on the content of performance reports rests with the Recipient;

       8. Verifying that the Recipient is expending the award on allowable activities, including but not
       limited to asking for information on draws from ASAP or reviewing a sample of Financial
       Assistance transactions to verify compliance with regulatory requirements and the terms and
       conditions of this award;

       9. Periodically reviewing costs incurred by the Recipient as well as its contractors and
       Subrecipients if needed to ensure appropriate expenditure of grant funds. Note that Recipients
       are not required to submit documentation of costs incurred before obtaining payments of grant
       funds;

       10. Working with other EPA officials, including but not necessarily limited to the EPA QAM, to
       review and approve QAPPs and related documents or verifying that appropriate Quality
       Assurance requirements have been met where quality assurance activities are being conducted
       pursuant to an EPA-approved QMP; and

       11. Monitoring the use of Program Income after the Period of Performance ends, in accordance
       with the terms of the Closeout Agreement.

Method for Reconsideration. If the Recipient believes that this specific condition is not warranted or
requires modification, the Recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
Recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

Subject to approval by the EPA Award Official, the EPA Project Officer and the Recipient may mutually
agree to additional areas of oversight and monitoring.

X. Compliant URL Links

The EPA may elect to develop informational materials to publicize the key characteristics of the
Recipient's Solar for All award. These materials may include links to Recipient and/or Subrecipients'
websites. The Recipient agrees to work with the EPA Project Officer or another member of Solar for All
program staff to ensure any such links are compliant with pertinent EPA and government-wide
standards.

Y. Flow-Down Requirements

As described in 2 CFR 200.101(b)(1), the terms and conditions of Federal awards flow down to
Subawards unless a particular section of 2 CFR 200.101 or the terms and conditions of the Federal
award specifically indicate otherwise. As required by 2 CFR 200.332(b), the Recipient agrees to ensure
that Subrecipients are aware of the requirements that apply to the Subrecipient.
        Case 1:25-cv-00039-JJM-PAS          Document 68-123       Filed 02/07/25       Page 468 of 556
                                              PageID #: 6398
                                                                                5H - 84090401 - 1   Page 44

For the purposes of this Award Agreement, all terms and conditions must flow down to Subawards to the
extent they are applicable. The EPA Project Officer is authorized to waive the applicability of
programmatic terms and conditions to Subawards, unless the term and condition implements statutory,
regulatory, or executive order requirements.

Z. Financial Assistance in the Form of Credit Enhancements

If the Recipient's EPA-approved Solar for All Workplan includes providing Financial Assistance in the
form of credit enhancements such as loan loss reserves or loan guarantees, the Recipient is authorized
to draw down funds as cash reserves. “Cash reserves” means cash that is drawn down and
subsequently held in order to support the Recipient's deployment of Financial Assistance in the form of
credit enhancements. Cash reserves involve the drawdown and disbursement of grant funds into an
escrow account meeting the following standards: (1) the Recipient does not retain possession of the
grant funds; (2) the Recipient cannot get the funds back from the escrow account upon demand; (3) the
entity providing the escrow account is independent from the Recipient; (4) the Recipient is able to use
the funds in the escrow account to support eligible uses of cash reserves, as defined here; and (5) the
escrow account is with an “insured depository institution,” as defined in 12 USC 1813. The Recipient is
not authorized to use an escrow account until the substantive terms of the escrow account have been
reviewed and approved by the EPA Project Officer.

The Recipient agrees to provide written documentation for all Financial Assistance in the form of credit
enhancements that must be approved by the EPA Project Officer prior to the Recipient implementing its
strategy, unless already described in the EPA-approved Solar for All workplan. This documentation must
describe how the expenditure enables Low-Income and Disadvantaged Communities to deploy and
benefit from eligible zero-emissions technologies.

Any obligations that the Recipient incurs in excess of the grant award funds allocated and expended to
execute its credit enhancement strategy are the Recipient's responsibility. This limitation on the extent of
the Federal Government's financial commitment to the Recipient's credit enhancement strategy shall be
communicated to all participating banks, borrowers, Subrecipients, or Program Beneficiaries prior to the
execution of any documentation governing such transactions with any such parties.

AA. Additional Requirements for Eligible Nonprofit Recipients

The following terms and conditions apply if the Recipient is an Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition:

1. Incorporation and Control

The Recipient agrees to maintain its incorporation in the United States and to maintain its status as not
being controlled by one or several entities that are not eligible Recipients. Control is defined by either (i)
control in any manner over the election of a majority of the directors, trustees, or general partners (or
individuals exercising similar functions) or (ii) the power to exercise, directly or indirectly, a controlling
influence over management policies or investment decisions.

2. Governance Requirements

A. Board Size and Composition
        Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 469 of 556
                                             PageID #: 6399
                                                                              5H - 84090401 - 1   Page 45

The Recipient agrees to ensure that its board size in terms of number of members (excluding advisory
committees) is commensurate with the scope of oversight and monitoring activities as well as the scale,
complexity, and risk profile of the Recipient's EPA-approved Solar for All Workplan as well as other
business activities. The board must have a sufficient number of members to adequately staff each of its
committees.

The Recipient agrees to ensure that its board consists of members that are qualified with relevant
expertise, skills, and track record as well as representative members (including from Low-Income and
Disadvantaged Communities).

B. Board Independence

The Recipient agrees to ensure that the majority of the board is independent, in accordance with the
Internal Revenue Service's definition of “independent” for the purposes of Form 990 reporting.

C. Board Policies and Procedures

The Recipient agrees to enforce board policies and procedures including, among others, those that
ensure strong ethics and mitigate conflicts of interest; ensure appropriate board training to review and
assess internal risk assessments for all of the organization's significant activities; and ensure regular
board engagement, including frequency of meetings and attendance procedures.

The Recipient agrees to require recusals from any officers or members of the board of directors with a
personal or organizational conflict of interest in the decision-making and management related to financial
transactions under this award. Such recusals must include but not be limited to decision-making and
management of Subawards and Participant Support Cost payments to or from any organization in which
an officer or member of the board of directors or their immediate family is directly employed by or has a
consulting or other contractual relationship with, serves on the board, or is otherwise affiliated with the
organization. The term “immediate family” has the same meaning as that term in the EPA's Final
Financial Assistance Conflict of Interest Policy.

3. Legal Counsel

The Recipient agrees to appoint or consult appropriate legal counsel if counsel is not already available.

AB. Amendments to Award Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Award Agreement. Agreed-upon modifications must be
in writing. Oral or unilateral modifications shall not be effective or binding.

AC. Preservation of Guidance and Data

Any statutes, regulations, agency documents, policies, and guidance (including FAQs and EPA's
Implementation Framework for the Greenhouse Gas Reduction Fund), or executive orders referenced
herein are incorporated by reference into the Award Agreement as of the effective date of this amended
Award Agreement. These incorporated documents will be controlling on Recipient and Subrecipients in
the event such documents are deleted, repealed, rescinded, or replaced unless a statute provides
otherwise. This includes, but is not limited to, the Uniform Administrative Requirements, Cost Principles
        Case 1:25-cv-00039-JJM-PAS       Document 68-123      Filed 02/07/25     Page 470 of 556
                                           PageID #: 6400
                                                                          5H - 84090401 - 1   Page 46

and Audit Requirements for Federal Awards; Title 2 CFR Part 200 effective October 1, 2024, and the
EPA General Terms and Conditions effective October 1, 2024.

This provision cannot be changed without the consent of the Recipient.
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 471 of 556
                               PageID #: 6401




                 EXHBIT P
Toor Declaration Exhibit P
         Case 1:25-cv-00039-JJM-PAS                               Document 68-123                  Filed 02/07/25           Page 472 of 556
                                                                         NSO#: 6402
                                                                    PageID
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-SE0000081                                                 0001                         08/01/2023                  81.041
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
COLORADO ENERGY OFFICE                                                  State and Community Energy Programs
                                                                                                                                          08/01/2023
Attn: Jonathon Bray                                                     U.S. Department of Energy                                         through
1600 BROADWAY STE 1960                                                                                                                    07/31/2025
                                                                        1000 Independence Ave, SW
DENVER CO 802024955
                                                                        washington DC 20585




8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           117-169 IRA 2022                                                       24SE000975
     Cooperative Agreement         109-58 Energy Policy Act 2005
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
COLORADO ENERGY OFFICE                                                    Govt. Share: $69,985,890.00                   This action:
Attn: Jonathon Bray                                                                                                     $68,236,243.00
1600 Broadway                                                             Cost Share : $0.00                            Total      :
Suite 1960                                                                                                              $69,985,890.00
Denver CO 802024955
                                                                          Total             : $69,985,890.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   Daniel J. Kelley                                     Golden Field Office
                                                   Phone: 240-982-0050                                  U.S. Department of Energy
                                                                                                        Golden Field Office
                                                                                                        15013 Denver West Parkway
                                                                                                        Golden CO 80401


17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 2
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data



21. Research Title and/or Description of Project
IRA SECTION 50122 – HIGH-EFFICIENCY ELECTRIC HOME REBATE PROGRAM


                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Stephanie D. Sites                                        08/30/2024



                                                                               NSO
                Case 1:25-cv-00039-JJM-PAS            Document 68-123             Filed 02/07/25       Page 473 of 556
                                                             NSO#: 6403
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000081/0001                                                               2              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                                  (B)                                 (C)     (D)       (E)                   (F)
           UEI: JLVGQ4E7RD53
           The purposes of this modification are to:

           1) Provide incremental funding, as shown in Block
           13;

           2) Update the DOE Award Administrator, the DOE
           Project Officer and the Recipient Principal
           Investigator, as shown below;

           3)   Delete and replace Attachments
                      Attachment 1, Narrative File;
                      Attachment 2, Reporting Checklist;
                      Attachment 3, Budget Information SF424A;
                      Attachment 5, NEPA and;

           4) Delete and replace the Special Terms and
           Conditions.

           The current Project Period for this award is
           08/01/2023 through 07/31/2028, consisting of the
           following Tranches:

           Tranche 1: 08/01/2023 through 07/31/2025
           Tranches 2-4: TBD through TBD

           In Block 7 of the Assistance Agreement, the
           Period of Performance reflects the beginning of
           the Project Period through the end of the current
           Budget Period.

           In addition to this Assistance Agreement, this
           award consists of the items listed on the Cover
           Page of the Special Terms and Conditions.

           Recipient acknowledges the activities approved by
           this award are listed in the NEPA determination,
           Attachment 5 of this Award. If new activities, or
           activities that do not fit within the
           restrictions listed in the NEPA determination are
           proposed, additional NEPA review and Contracting
           Officer approval are required. Contact your DOE
           Project Officer, as shown below.

           This award is subject to the Financial Assistance
           regulations contained in 2 CFR 200 as amended by
           2 CFR Part 910.

           Funding for all awards and future budget periods
           is contingent upon the availability of funds
           appropriated by Congress for the purpose of this
           Continued ...

                                                                NSO
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 474 of 556
                                                             NSO#: 6404
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000081/0001                                                               3              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           program and the availability of future-year
           budget authority.

           The Special Terms and Conditions for this award
           contain specific funding restrictions. Please
           review the applicable terms for procedures
           required to lift the restrictions. Specifically,
           Term 7 which restricts access to funding outside
           of your current tranche. This Administrative and
           Legal Requirements Document (ALRD) for this Award
           establishes funding tranches. The Recipient’s
           approved use of funds is only for the tranche
           that DOE has approved the recipient for. The
           Recipient is not approved to use funds in other
           tranches beyond those it is approved for. If the
           Recipient uses funds beyond what it has been
           approved to use, SCEP reserves the right to
           disallow associated funds as well as take other
           actions as listed in Term 7 of the Special Terms
           and Conditions.

           All other Terms and Conditions remain unchanged.

           DOE Award Administrator: Jarrod Reeson
           Email: jarrod.reeson@ee.doe.gov
           Phone: 720-916-4822

           DOE Project Officer: Daniel Kelley
           E-mail: daniel.kelley@hq.doe.gov
           Phone: 240-982-0050

           Recipient Business Officer: Gregg Hefner
           E-mail: Gregg.hefner@state.co.us
           Phone: 303-866-2601

           Recipient Principal Investigator: Raine Queenan
           E-mail: raine.queenan@state.co.us
           Phone: 720-315-9216

           Electronic signature or signatures as used in
           this document means a method of signing an
           electronic message that—
           (A) Identifies and authenticates a particular
           person as the source of the electronic message;
           (B) Indicates such person's approval of the
           information contained in the electronic message;
           and,
           (C) Submission via FedConnect constitutes
           electronically signed documents.
           ASAP: YES Extent Competed: NOT AVAIL FOR COMP
           Davis-Bacon Act: NO PI: Queenan, Raine
           Continued ...

                                                                NSO
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 475 of 556
                                                             NSO#: 6405
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000081/0001                                                               4              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           Fund: 05479 Appr Year: 2022 Allottee: 31 Report
           Entity: 200835 Object Class: 41020 Program:
           1800008 Project: 0000000 WFO: 0000000 Local Use:
           0000000




                                                                NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-123     Filed 02/07/25   Page 476 of 556
                                    NSO#: 6406
                               PageID
                                                                                    JULY 2004




                                    NSO
                 Case 1:25-cv-00039-JJM-PAS                       Document 68-123                  Filed 02/07/25           Page 477 of 556
                                                                         NSO#: 6407
                                                                    PageID
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-SE0000025                                                 0001                         09/01/2023                  81.041
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
COLORADO ENERGY OFFICE                                                  State and Community Energy Programs
                                                                                                                                          09/01/2023
Attn: Jonathon Bray                                                     U.S. Department of Energy                                         through
1600 BROADWAY STE 1960                                                                                                                    08/31/2025
                                                                        1000 Independence Ave, SW
DENVER CO 802024955
                                                                        washington DC 20585




8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           117-169 IRA 2022                                                       24SE001004
     Cooperative Agreement         109-58 Energy Policy Act 2005
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
COLORADO ENERGY OFFICE                                                    Govt. Share: $70,256,845.00                   This action:
Attn: Jonathon Bray                                                                                                     $68,496,962.00
1600 Broadway                                                             Cost Share : $0.00                            Total      :
Suite 1960                                                                                                              $70,256,845.00
Denver CO 802024955
                                                                          Total             : $70,256,845.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   Daniel J. Kelley                                     Golden Field Office
                                                   Phone: 240-982-0050                                  U.S. Department of Energy
                                                                                                        Golden Field Office
                                                                                                        15013 Denver West Parkway
                                                                                                        Golden CO 80401


17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 2
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data



21. Research Title and/or Description of Project
IRA SECTION 50121 – HOME EFFICIENCY REBATES PROGRAM


                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Stephanie D. Sites                                        09/10/2024



                                                                               NSO
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 478 of 556
                                                             NSO#: 6408
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000025/0001                                                               2              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                                  (B)                                 (C)     (D)       (E)                   (F)
           UEI: JLVGQ4E7RD53
           The purposes of this modification are to:

           1) Provide incremental funding, as shown in Block
           13;

           2) Update the DOE Award Administrator, the DOE
           Project Officer and the Recipient Principal
           Investigator, as shown below;

           3) Delete and replace Attachments
                Attachment 1, Narrative
                Attachment 2, Reporting Checklist
                Attachment 3, Budget Information SF424A
                Attachment 5, NEPA and;

           4) Delete and replace the Special Terms and
           Conditions.

           The current Project Period for this award is
           09/01/2023 through 08/31/2028, consisting of the
           following Tranches:

           Tranche 1: 09/01/2023 through 08/31/2025.
           Tranches 2-4: TBD through TBD

           In Block 7 of the Assistance Agreement, the
           Period of Performance reflects the beginning of
           the Project Period through the end of the current
           Budget Period.

           In addition to this Assistance Agreement, this
           award consists of the items listed on the Cover
           Page of the Special Terms and Conditions.

           Recipient acknowledges the activities approved by
           this award are listed in the NEPA determination,
           Attachment 5 of this Award. If new activities, or
           activities that do not fit within the
           restrictions listed in the NEPA determination are
           proposed, additional NEPA review and Contracting
           Officer approval are required. Contact your DOE
           Project Officer, as shown below.

           This award is subject to the Financial Assistance
           regulations contained in 2 CFR 200 as amended by
           2 CFR Part 910.

           Funding for all awards and future budget periods
           is contingent upon the availability of funds
           appropriated by Congress for the purpose of this
           Continued ...

                                                                NSO
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 479 of 556
                                                             NSO#: 6409
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000025/0001                                                               3              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           program and the availability of future-year
           budget authority.

           The Special Terms and Conditions for this award
           contain specific funding restrictions. Please
           review the applicable terms for procedures
           required to lift the restrictions. Specifically,
           Term 7 which restricts access to funding outside
           of your current tranche. This Administrative and
           Legal Requirements Document (ALRD) for this Award
           establishes funding tranches. The Recipient’s
           approved use of funds is only for the tranche
           that DOE has approved the recipient for. The
           Recipient is not approved to use funds in other
           tranches beyond those it is approved for. If the
           Recipient uses funds beyond what it has been
           approved to use, SCEP reserves the right to
           disallow associated funds as well as take other
           actions as listed in Term 7 of the Special Terms
           and Conditions.

           All other Terms and Conditions remain unchanged.

           DOE Award Administrator: Jarrod Reeson
           Email: jarrod.reeson@ee.doe.gov
           Phone: 240-562-1854

           DOE Project Officer: Daniel Kelley
           E-mail: daniel.kelley@hq.doe.gov
           Phone: 240-982-0050

           Recipient Business Officer: Gregg Hefner
           E-mail: Gregg.hefner@state.co.us
           Phone: 720-672-2839

           Recipient Principal Investigator: Annie Beall
           E-mail: annie.beall@state.co.us
           Phone: 720-315-9216

           Electronic signature or signatures as used in
           this document means a method of signing an
           electronic message that—

           (A) Identifies and authenticates a particular
           person as the source of the electronic message;
           (B) Indicates such person's approval of the
           information contained in the electronic message;
           and,
           (C) Submission via FedConnect constitutes
           electronically signed documents.
           ASAP: YES Extent Competed: NOT AVAIL FOR COMP
           Continued ...

                                                                NSO
             Case 1:25-cv-00039-JJM-PAS               Document 68-123             Filed 02/07/25       Page 480 of 556
                                                             NSO#: 6410
                                                        PageID
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                       PAGE      OF
CONTINUATION SHEET              DE-SE0000025/0001                                                               4              4
NAME OF OFFEROR OR CONTRACTOR
COLORADO ENERGY OFFICE
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE            AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)                   (F)
           Davis-Bacon Act: NO PI: Beall, Annie
           Fund: 05478 Appr Year: 2022 Allottee: 31 Report
           Entity: 200835 Object Class: 41020 Program:
           1800007 Project: 0000000 WFO: 0000000 Local Use:
           0000000




                                                                NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-123     Filed 02/07/25   Page 481 of 556
                                    NSO#: 6411
                               PageID
                                                                                    JULY 2004




                                    NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-123    Filed 02/07/25   Page 482 of 556
                               PageID #: 6412




                 EXHIBIT Q
Toor Declaration Exhibit Q
         Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25     Page 483 of 556
                                                PageID #: 6413
                                                                            Special Terms and Conditions
                                                                                  Award No. DE-SE0000081.0001



                                   Inflation Reduction Act (IRA)
                                   Special Terms and Conditions
          The Grantee (“Recipient”), which is identified in Block 5 of the Assistance Agreement, and the
          Office of State and Community Energy Programs (“SCEP”) an office within the United States
          Department of Energy (“DOE”), enter into this Award, referenced above, to achieve the project
          objectives and the technical milestones and deliverables stated in Attachment 1 to this Award.

          This Award consists of the following documents, including all terms and conditions therein:

                                        Assistance Agreement
                                        Special Terms and Conditions
                      Attachment 1      Narrative
                      Attachment 2      Federal Assistance Reporting Checklist and
                                        Instructions
                      Attachment 3      Budget Information SF-424A
                      Attachment 5      NEPA Determination


          The following are incorporated into this Award by reference:
             • DOE Assistance Regulations, 2 CFR part 200 as supplemented by 2 CFR part 910 at
                  http://www.eCFR.gov.
             • National Policy Requirements (November 12, 2020) at
                  http://www.nsf.gov/awards/managing/rtc.jsp.
             • Public Law 117-169, also known as the Inflation Reduction Act (IRA).
             • The Recipient’s application/proposal as approved by SCEP.
Case 1:25-cv-00039-JJM-PAS                                       Document 68-123                            Filed 02/07/25                     Page 484 of 556
                                                                   PageID #: 6414
                                                                                                                                    Award No. DE-SE0000081.0001
                                                                                                                                     Special Terms and Conditions




                                                                Table of Contents
Subpart A.        General Provisions ............................................................................................................................ 1
   Term 1.        Legal Authority and Effect .......................................................................................................................1
   Term 2.        Reserved ..................................................................................................................................................1
   Term 3.        Flow Down Requirement.........................................................................................................................1
   Term 4.        Compliance with Federal, State, and Municipal Law .............................................................................1
   Term 5.        Inconsistency with Federal Law ..............................................................................................................1
   Term 6.        Federal Stewardship ................................................................................................................................1
   Term 7.        Federal Involvement................................................................................................................................2
   Term 8.        NEPA Requirements ................................................................................................................................3
   Term 9.        Historic Preservation ...............................................................................................................................4
   Term 10.       Performance of Work in United States ...................................................................................................4
   Term 11.       Foreign National Involvement ................................................................................................................5
   Term 12.       Foreign National Participation ................................................................................................................5
   Term 13.       Post-Award Due Diligence Reviews ........................................................................................................5
   Term 14.       Notice Regarding the Purchase of American-Made Equipment and Products – Sense of Congress ....6
   Term 15.       Reporting Requirements .........................................................................................................................6
   Term 16.       Lobbying...................................................................................................................................................6
   Term 17.       Publications .............................................................................................................................................7
   Term 18.       No-Cost Extension ...................................................................................................................................7
   Term 19.       Property Standards..................................................................................................................................7
   Term 20.       Insurance Coverage .................................................................................................................................8
   Term 21.       Real Property ...........................................................................................................................................8
   Term 22.       Equipment ...............................................................................................................................................8
   Term 23.       Supplies ....................................................................................................................................................9
   Term 24.       Property Trust Relationship ....................................................................................................................9
   Term 25.       Record Retention .....................................................................................................................................9
   Term 26.       Audits .......................................................................................................................................................9
   Term 27.       Site Visits and Recipient Administrative Organizational Reviews .......................................................10
   Term 28.       Indemnity...............................................................................................................................................10
Subpart B. Financial Provisions.......................................................................................................................... 11
   Term 29.       Maximum Obligation.............................................................................................................................11
   Term 30.       Funding of Tranches ..............................................................................................................................11
   Term 31.       Continuation Application and Funding .................................................................................................11
   Term 32.       Refund Obligation..................................................................................................................................12
   Term 33.       Allowable Costs .....................................................................................................................................12
   Term 34.       Indirect Costs .........................................................................................................................................12
   Term 35.       Decontamination and/or Decommissioning (D&D) Costs ....................................................................14
   Term 36.       Use of Program Income .........................................................................................................................14
   Term 37.       Payment Procedures .............................................................................................................................14
   Term 38.       Budget Changes .....................................................................................................................................16
Subpart C.        Miscellaneous Provisions ................................................................................................................ 17
   Term 39.       Insolvency, Bankruptcy or Receivership ...............................................................................................17
   Term 40.       Reporting Subawards and Executive Compensation ............................................................................17
   Term 41.       System for Award Management and Universal Identifier Requirements ...........................................21
   Term 42.       Nondisclosure and Confidentiality Agreements Assurances ...............................................................23
   Term 43.       Subrecipient and Contractor Approvals................................................................................................24
   Term 44.       Subrecipient and Subcontractor Change Notification ..........................................................................25
   Term 45.       Conference Spending.............................................................................................................................26

                                                                                                                                                                                    ii
Case 1:25-cv-00039-JJM-PAS                                   Document 68-123                          Filed 02/07/25                    Page 485 of 556
                                                               PageID #: 6415
                                                                                                                             Award No. DE-SE0000081.0001
                                                                                                                              Special Terms and Conditions



  Term 46.      Recipient Integrity and Performance Matters ......................................................................................26
  Term 47.      Export Control........................................................................................................................................28
  Term 48.      Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment ............28
  Term 49.      Fraud, Waste and Abuse .......................................................................................................................29
  Term 50.      Interim Conflict of Interest Policy for Financial Assistance Policy .......................................................29
  Term 51.      Organizational Conflict of Interest ........................................................................................................30
  Term 52.      Participants and Other Collaborating Organizations............................................................................31
  Term 53.      Community Benefits Outcomes and Objectives ...................................................................................31
  Term 54.      Human Subjects Research .....................................................................................................................31
  Term 55.      Affirmative Action and Pay Transparency Requirements ....................................................................32
  Term 56.      Potentially Duplicative Funding Notice ................................................................................................33
Subpart D. Inflation Reduction Act (IRA) Specific Requirements ......................................................................... 33
  Term 57. Program Launch Approval .....................................................................................................................33
  Term 58. Implementation Blueprint Submission .................................................................................................33
  Term 59. Reporting Tracking and Segregation of Incurred Costs ........................................................................34




                                                                                                                                                                           iii
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 486 of 556
                                         PageID #: 6416
                                                                              Award No. DE-SE0000081.0001
                                                                               Special Terms and Conditions




Subpart A.         General Provisions

Term 1.        Legal Authority and Effect
A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
electronically, by a DOE Contracting Officer.

The Recipient may accept or reject the Award. A request to draw down DOE funds or
acknowledgement of award documents by the Recipient’s authorized representative through
electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
of the terms and conditions of this Award. Acknowledgement via FedConnect by the
Recipient’s authorized representative constitutes the Recipient's electronic signature.

Term 2.        Reserved

Term 3.        Flow Down Requirement
The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
subcontractors, as appropriate), and to require their strict compliance therewith.

Term 4.        Compliance with Federal, State, and Municipal Law
The Recipient is required to comply with applicable Federal, state, and local laws and
regulations for all work performed under this Award. The Recipient is required to obtain all
necessary Federal, state, and local permits, authorizations, and approvals for all work
performed under this Award.

Term 5.        Inconsistency with Federal Law
Any apparent inconsistency between Federal statutes and regulations and the terms and
conditions contained in this Award must be referred to the DOE Award Administrator for
guidance.

Term 6.        Federal Stewardship
SCEP will exercise normal Federal stewardship in overseeing the project activities performed
under this Award. Stewardship activities include, but are not limited to, conducting site visits;
reviewing performance and financial reports; providing technical assistance and/or temporary
intervention in unusual circumstances to address deficiencies that develop during the project;
assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the project objectives have been accomplished.




                                                                                                              1
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 487 of 556
                                      PageID #: 6417
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions




Term 7.      Federal Involvement

      A. Review Meetings
         The Recipient, including but not limited to, the principal investigator (or, if
         applicable, co-principal investigators), is required to participate in periodic review
         meetings with SCEP. Review meetings enable SCEP to assess the work performed
         under this Award and determine whether the Recipient has timely achieved the
         milestones and deliverables stated in Attachment 1 to this Award.

          SCEP shall determine the frequency of review meetings and select the day, time, and
          location of each review meeting and shall do so in a reasonable and good faith
          manner. SCEP will provide the Recipient with reasonable notice of the review
          meetings.

          For each review meeting, the Recipient is required to provide a comprehensive
          overview of the project, including:
              • The Recipient’s progress compared to the Narrative Document in Attachment
                 1 to this Award.
              • The Recipient’s actual expenditures compared to the approved budget in
                 Attachment 3 to this Award.
              • Other subject matter specified by the DOE Project Officer.

      B. Project Meetings
         The Recipient is required to notify SCEP in advance of scheduled tests and internal
         project meetings that would entail discussion of topics that could result in major
         changes to the baseline project scope/approach, cost, or schedule. Upon request by
         SCEP, the Recipient is required to provide SCEP with reasonable access (by
         telephone, webinar, or otherwise) to the tests and project meetings. The Recipient
         is not expected to delay any work under this Award for the purpose of government
         insight.

      C. Site Visits
         SCEP's authorized representatives have the right to make site visits at reasonable
         times to review project accomplishments and management control systems and to
         provide technical assistance, if required. The Recipient must provide, and must
         require subrecipients to provide, reasonable access to facilities, office space,
         resources, and assistance for the safety and convenience of the government
         representatives in the performance of their duties. All site visits and evaluations
         must be performed in a manner that does not unduly interfere with or delay the
         work.
      D. Tranche Continuation Decisions
         The Administrative and Legal Requirements Document (ALRD) for this Award
         establishes funding tranches. The Recipient’s approved use of funds is only for the

                                                                                                         2
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 488 of 556
                                       PageID #: 6418
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



           tranche that DOE has approved the recipient for. The Recipient is not approved to
           use funds in other tranches beyond those it is approved for. If the Recipient uses

           funds beyond what it has been approved to use, SCEP reserves the right to take
           appropriate action up to and including those listed below.

           For each funding tranche, SCEP must determine whether the Recipient has fully and
           satisfactorily completed the work described in the ALRD, Program Requirements,
           award attachments, award terms and conditions as well as DOE approved plans for
           this Award. The holistic performance of the award is taken into consideration during
           the continuation review. As a result of the continuation review, in its discretion,
           SCEP may take one of the following actions:
           • Continue to fund the project, contingent upon the availability of funds
           appropriated by Congress for the purpose of this program;
           • Place a hold on additional federal funding for the project, pending sufficient
           progress against performance targets, milestones and deliverables, further
           supporting data or funding; or
           • Discontinue funding the project because of insufficient progress, change in
           strategic direction, or lack of funding.

           If routine data reviews demonstrate the Recipient is not meeting Plan terms, DOE
           reserves the right to put a hold on the funds the Recipient can draw down under the
           Automated Standard Application for Payments (ASAP) System.

       E. Performance Targets, Milestones, and Deliverables
          The Administrative and Legal Requirements Document (ALRD) and Program
          Requirements for this Award establishes performance targets, milestones, and
          deliverables required to continue into a new tranche of funding. If the Recipient
          fails to meet the established performance targets, milestones and/or deliverables,
          the Recipient must provide an improvement plan in its continuation application for
          how it will improve program performance to meet the next tranche’s targets. DOE
          approval is required in order to move to the next tranche and for funds to be
          released.

       F. SCEP Access
          The Recipient must provide any information, documents, site access, or other
          assistance requested by SCEP for the purpose of its Federal stewardship or
          substantial involvement.

Term 8.        NEPA Requirements
DOE must comply with the National Environmental Policy Act (NEPA) prior to authorizing the
use of federal funds. Based on all information provided by the Recipient, SCEP has made a NEPA
determination by issuing a categorical exclusion (CX) for all activities listed in the Statement of

                                                                                                          3
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25       Page 489 of 556
                                        PageID #: 6419
                                                                             Award No. DE-SE0000081.0001
                                                                              Special Terms and Conditions



Project Objectives (SOPO) approved by the Contracting Officer and the DOE NEPA
Determination. The Recipient is thereby authorized to use federal funds for the defined project
activities, except where such activity is subject to a restriction set forth elsewhere in this
Award.

This authorization is specific to the project activities and locations as described in the SOPO
approved by the Contracting Officer and the DOE NEPA Determination.

If the Recipient later intends to add to or modify the activities or locations as described in the
approved SOPO and the DOE NEPA Determination, those new activities/locations or modified
activities/locations are subject to additional NEPA review and are not authorized for federal
funding until the Contracting Officer provides written authorization on those additions or
modifications. Should the Recipient elect to undertake activities or change locations prior to
written authorization from the Contracting Officer, the Recipient does so at risk of not receiving
federal funding for those activities, and such costs may not be recognized as allowable cost
share.

Term 9.         Historic Preservation

   A. Authorization

DOE must comply with the requirements of Section 106 of the National Historic Preservation
Act (NHPA) prior to authorizing the use of Federal funds. Section 106 applies to historic
properties that are listed in or eligible for listing in the National Register of Historic Places. DOE
does not anticipate any impacts to resources of concern.

Term 10.       Performance of Work in United States

       A. Requirement
          All work performed under this Award must be performed in the United States unless
          the Contracting Officer provides a waiver. This requirement does not apply to the
          purchase of supplies and equipment; however, the Recipient should make every
          effort to purchase supplies and equipment within the United States. The Recipient
          must flow down this requirement to its subrecipients and subcontractors.

       B. Failure to Comply
          If the Recipient fails to comply with the Performance of Work in the United States
          requirement, the Contracting Officer may deny reimbursement for the work
          conducted outside the United States and such costs may not be recognized as
          allowable Recipient cost share regardless if the work is performed by the Recipient,
          subrecipients, vendors or other project partners.



                                                                                                             4
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25       Page 490 of 556
                                       PageID #: 6420
                                                                           Award No. DE-SE0000081.0001
                                                                            Special Terms and Conditions



       C. Waiver for Work Outside the U.S.
          All work performed under this Award must be performed in the United States.
          However, the Contracting Officer may approve the Recipient to perform a portion of
          the work outside the United States under limited circumstances. The Recipient must
          obtain a waiver from the Contracting Officer prior to conducting any work outside
          the U.S. To request a waiver, the Recipient must submit a written waiver request to
          the Contracting Officer, which includes the following information:
              • The rationale for performing the work outside the U.S.;
              • A description of the work proposed to be performed outside the U.S.;
              • Proposed budget of work to be performed; and
              • The countries in which the work is proposed to be performed.

           For the rationale, the Recipient must demonstrate to the satisfaction of the
           Contracting Officer that the performance of work outside the United States would
           further the purposes of the ALRD or Program that the Award was selected under and
           is in the economic interests of the United States. The Contracting Officer may
           require additional information before considering such request.

Term 11.       Foreign National Involvement

The Recipient and project participants (including subrecipients and contractors) who anticipate
involving foreign nationals in the performance of an award, may be required to provide DOE
with specific information about each foreign national to satisfy requirements for foreign
national participation. A foreign national is defined as any person who is not a U.S. citizen by
birth or naturalization. The volume and type of information collected may depend on various
factors associated with the award.

Term 12.       Foreign National Participation
A “foreign national” is defined as any person who is not a U.S. citizen by birth or naturalization.

If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign
nationals in the performance of the Award, the Recipient must, upon DOE’s request, provide
DOE with specific information about each foreign national to ensure compliance with the
requirements for participation and access approval. The volume and type of information
required may depend on various factors associated with the Award. The DOE Contracting
Officer will notify the Recipient if this information is required.

DOE may elect to deny a foreign national’s participation in the Award. Likewise, DOE may elect
to deny a foreign national’s access to a DOE sites, information, technologies, equipment,
programs, or personnel. DOE’s determination to deny participation or access is not appealable.

Term 13.       Post-Award Due Diligence Reviews
During the period of performance of the Award, DOE may conduct ongoing due diligence

                                                                                                           5
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25       Page 491 of 556
                                       PageID #: 6421
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



reviews, through Government resources, to identify potential risks of undue foreign influence.
In the event a risk is identified, DOE may require risk mitigation measures, including but not
limited to, requiring an individual or entity not participate in the Award.

Term 14.      Notice Regarding the Purchase of American-Made Equipment and
              Products – Sense of Congress
It is the sense of the Congress that, to the greatest extent practicable, all equipment and
products purchased with funds made available under this Award should be American-made.

Term 15.      Reporting Requirements

       A. Requirements
          The reporting requirements for this Award are identified on the Federal Assistance
          Reporting Checklist, attached to this Award. Failure to comply with these reporting
          requirements is considered a material noncompliance with the terms of the Award.
          Noncompliance may result in withholding of future payments, suspension, or
          termination of the current award, and withholding of future awards. A willful failure
          to perform, a history of failure to perform, or unsatisfactory performance of this
          and/or other financial assistance awards, may also result in a debarment action to
          preclude future awards by Federal agencies.

       B. Dissemination of Scientific and Technical Information
          Scientific and Technical Information (STI) generated under this Award will be
          submitted to DOE via the Office of Scientific and Technical Information’s Energy Link
          (E-Link) system. STI submitted under this Award will be disseminated via DOE’s
          OSTI.gov website subject to approved access limitations. Citations for journal articles
          produced under the Award will appear on the DOE PAGES website.

       C. Restrictions
          Scientific and Technical Information submitted to E-Link must not contain any
          Protected Personal Identifiable Information (PII), limited rights data (proprietary
          data), classified information, information subject to export control classification, or
          other information not subject to release.

Term 16.      Lobbying
By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
the Award shall be expended, directly or indirectly, to influence congressional action on any
legislation or appropriation matters pending before Congress, other than to communicate to
Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.




                                                                                                          6
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 492 of 556
                                       PageID #: 6422
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions




Term 17.       Publications
The Recipient is required to include the following acknowledgement in publications arising out
of, or relating to, work performed under this Award, whether copyrighted or not:

   •   Acknowledgment: “This material is based upon work supported by the U.S. Department
       of Energy’s Office of State and Community Energy Programs (SCEP) under the IRA Home
       Energy Rebates Award Number SE-0000081.”

   •   Full Legal Disclaimer: “This report was prepared as an account of work sponsored by an
       agency of the United States Government. Neither the United States Government nor
       any agency thereof, nor any of their employees, makes any warranty, express or
       implied, or assumes any legal liability or responsibility for the accuracy, completeness,
       or usefulness of any information, apparatus, product, or process disclosed, or
       represents that its use would not infringe privately owned rights. Reference herein to
       any specific commercial product, process, or service by trade name, trademark,
       manufacturer, or otherwise does not necessarily constitute or imply its endorsement,
       recommendation, or favoring by the United States Government or any agency thereof.
       The views and opinions of authors expressed herein do not necessarily state or reflect
       those of the United States Government or any agency thereof.”

       Abridged Legal Disclaimer: “The views expressed herein do not necessarily represent
       the views of the U.S. Department of Energy or the United States Government.”

       Recipients should make every effort to include the full Legal Disclaimer. However, in the
       event that recipients are constrained by formatting and/or page limitations set by the
       publisher, the abridged Legal Disclaimer is an acceptable alternative.

Term 18.       No-Cost Extension
As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
must include the supporting reasons and the revised period of performance. The Recipient
must submit this notification in writing to the Contracting Officer and DOE Technology
Manager/ Project Officer at least 30 days before the end of the current budget period.

Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of
this Award.

Term 19.       Property Standards
The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
Also see 2 CFR 910.360 for additional requirements for real property and equipment for For-
Profit recipients.



                                                                                                         7
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 493 of 556
                                      PageID #: 6423
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions




Term 20.      Insurance Coverage
See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
property and equipment for For-Profit recipients.

Term 21.      Real Property
Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.311 before disposing of the property.

Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
property will be used for the originally authorized purpose as long as needed for that purpose.
When real property is no longer needed for the originally authorized purpose, the non-Federal
entity must obtain disposition instructions from DOE or pass-through entity. The instructions
must provide for one of the following alternatives: (1) retain title after compensating DOE as
described in 2 CFR 200.311(c)(1); (2) Sell the property and compensate DOE as specified in 2
CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE
as specified in 2 CFR 200.311(c)(3).

See 2 CFR 200.311 for additional requirements pertaining to real property acquired or
improved under a Federal award. Also see 2 CFR 910.360 for additional requirements for real
property for For-Profit recipients.

Term 22.      Equipment
Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.313 before disposing of the property.

A state must use equipment acquired under a Federal award by the state in accordance with
state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was
acquired as long as it is needed, whether or not the project or program continues to be
supported by the Federal award. When no longer needed for the originally authorized purpose,
the equipment may be used by programs supported by DOE in the priority order specified in 2
CFR 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are
provided in 2 CFR 200.313(d).
When equipment acquired under a Federal award is no longer needed, the non-Federal entity
must obtain disposition instructions from DOE or pass-through entity.

                                                                                                         8
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 494 of 556
                                      PageID #: 6424
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



Disposition will be made as follows: (1) items of equipment with a current fair market value of
$5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

Term 23.       Supplies
See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

Term 24.       Property Trust Relationship
Real property, equipment, and intangible property, that are acquired or improved with a
Federal award must be held in trust by the non-Federal entity as trustee for the beneficiaries of
the project or program under which the property was acquired or improved. See 2 CFR
200.316 for additional requirements pertaining to real property, equipment, and intangible
property acquired or improved under a Federal award.

Term 25.       Record Retention
Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
relating to this Award.

Term 26.       Audits

       A. Government-Initiated Audits
          The Recipient must provide any information, documents, site access, or other
          assistance requested by SCEP, DOE or Federal auditing agencies (e.g., DOE Inspector
          General, Government Accountability Office) for the purpose of audits and
          investigations. Such assistance may include, but is not limited to, reasonable access
          to the Recipient’s records relating to this Award.

           Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
           Recipient’s financial records or administrative records relating to this Award at any
           time. Audits or reviews may be performed to determine if the Recipient has an
           adequate financial management system to estimate, bill, and record federal
           government expenditures in accordance with the criteria in 2 CFR 200.302, Generally
           Accepted Accounting Principles (GAAP), Generally Accepted Government Accounting
           Standards (GAGAS), and Standard Form 1408.Government-initiated audits are
           generally paid for by DOE.


                                                                                                         9
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25       Page 495 of 556
                                        PageID #: 6425
                                                                            Award No. DE-SE0000081.0001
                                                                             Special Terms and Conditions



           DOE may conduct a final audit at the end of the project period (or the termination of
           the Award, if applicable). Upon completion of the audit, the Recipient is required to
           refund to DOE any payments for costs that were determined to be unallowable. If
           the audit has not been performed or completed prior to the closeout of the award,
           DOE retains the right to recover an appropriate amount after fully considering the
           recommendations on disallowed costs resulting from the final audit.

           DOE will provide reasonable advance notice of audits and will minimize interference
           with ongoing work, to the maximum extent practicable.

       B. Annual Independent Audits (Single Audit or Compliance Audit)
          The Recipient must comply with the annual independent audit requirements in 2
          CFR 200.500 through .521 for institutions of higher education, nonprofit
          organizations, and state and local governments (Single audit), and 2 CFR 910.500
          through .521 for for-profit entities (Compliance audit).

           The annual independent audits are separate from Government-initiated audits
           discussed in part A. of this Term, and must be paid for by the Recipient. To minimize
           expense, the Recipient may have a Compliance audit in conjunction with its annual
           audit of financial statements. The financial statement audit is not a substitute for
           the Compliance audit. If the audit (Single audit or Compliance audit, depending on
           Recipient entity type) has not been performed or completed prior to the closeout of
           the award, DOE may impose one or more of the actions outlined in 2 CFR 200.339,
           Remedies for Noncompliance.

Term 27.       Site Visits and Recipient Administrative Organizational Reviews
SCEP’s authorized representatives have the right to make site visits and conduct Recipient
Administrative Organizational Reviews to review the project and management control systems
and to provide technical assistance, as appropriate. The Recipient must provide, and must
require its subrecipients and contractors to provide, reasonable access to facilities, office space,
resources, and assistance for the safety and convenience of the government representatives in
the performance of their duties. SCEP will make reasonable efforts to ensure these site visits do
not interfere with or unduly delay project work.

Term 28.       Indemnity
The Recipient shall indemnify DOE and its officers, agents, or employees for any and all liability,
including litigation expenses and attorneys' fees, arising from suits, actions, or claims of any
character for death, bodily injury, or loss of or damage to property or to the environment,
resulting from the project, except to the extent that such liability results from the direct fault or
negligence of DOE officers, agents or employees, or to the extent such liability may be covered
by applicable allowable costs provisions.




                                                                                                            10
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 496 of 556
                                       PageID #: 6426
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions




Subpart B. Financial Provisions

Term 29.       Maximum Obligation
The maximum obligation of DOE for this Award is the total “Funds Obligated” stated in Block 13
of the Assistance Agreement to this Award.

Term 30.       Funding of Tranches
SCEP has obligated funding as shown in Block 13 of the Assistance Agreement for completion of
the Project. However, only the federal share of costs associated with the current funding
tranche is available for work performed by the Recipient. Tranches are associated with specific
project milestones, which are outlined in the Administrative and Legal Requirements Document
(ALRD), associated with this program. The federal share of costs is shown on Attachment 3.

The remainder of funding is contingent upon: (1) the availability of funds appropriated by
Congress for the purpose of this program; (2) the availability of future-year budget authority;
(3) Recipient’s satisfactory progress towards meeting the objectives of the Home Energy
Rebates Program; (4) Recipient’s submittal of required reports; (5) Recipient’s compliance with
the terms and conditions of the Award; (6) the Recipient’s submission of a continuation
application; and (7) written approval of the continuation application by the Contracting Officer.

In the event that the Recipient does not submit a continuation application for subsequent
tranches, or SCEP disapproves a continuation application for subsequent tranches, the
maximum SCEP liability to the Recipient is the funds that are available for the current approved
tranche. In such event, SCEP reserves the right to deobligate any remaining federal funds.

Term 31.       Continuation Application and Funding

       A. Continuation Application
          A continuation application is a non-competitive application to enter into a new
          funding tranche. The continuation application shall be submitted to SCEP in
          accordance with the tranche table in the ALRD that is issued.

       B. Continuation Funding
          Continuation funding is contingent on (1) the availability of funds appropriated by
          Congress for the purpose of this program; (2) the availability of future-year budget
          authority; (3) Recipient’s satisfactory progress towards meeting the objectives of the
          Home Energy Rebates Program; (4) Recipient’s submittal of required reports; (5)
          Recipient’s compliance with the terms and conditions of the Award; (6) the
          Recipient’s submission of a continuation application; and (7) written approval of the
          continuation application by the Contracting Officer. The holistic performance of the
          award is taken into consideration during the continuation review.



                                                                                                         11
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25       Page 497 of 556
                                       PageID #: 6427
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



       C. Continuation Review
          The Administrative and Legal Requirements Document (ALRD) outlines expected
          performance targets and deliverables required to continue into a new tranche of
          funding. In addition, DOE will take the full performance of the award into
          consideration when making a continuation decision. If a Recipient’s overall
          performance is assessed by DOE to be inadequate, DOE reserves the right to
          disapprove a continuation into a new tranche of funding.

Term 32.       Refund Obligation
The Recipient must refund any excess payments received from SCEP, including any costs
determined unallowable by the Contracting Officer. Upon the end of the project period (or the
termination of the Award, if applicable), the Recipient must refund to SCEP the difference
between (1) the total payments received from SCEP, and (2) the Federal share of the costs
incurred. Refund obligations under this Term do not supersede the annual reconciliation or true
up process if specified under the Indirect Cost Term.

Term 33.       Allowable Costs
DOE determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
must document and maintain records of all project costs, including, but not limited to, the costs
paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
claims as cost sharing, including in-kind contributions. The Recipient is responsible for
maintaining records adequate to demonstrate that costs claimed have been incurred, are
reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
Recipient is required to provide such records to DOE. Such records are subject to audit. Failure
to provide DOE adequate supporting documentation may result in a determination by the
Contracting Officer that those costs are unallowable.

The Recipient is required to obtain the prior written approval of the Contracting Officer for any
foreign travel costs.

Term 34.       Indirect Costs

       A. Indirect Cost Allocation:
          The Recipient has a federally approved provisional Negotiated Indirect Cost Rate
          Agreement (NICRA) with a current effective period identified for billing and
          estimation purposes and it applies uniformly across all federal awards. These costs
          shall be reconciled or trued up (actual incurred costs) on an annual basis with the
          Recipient’s cognizant agency. An updated rate proposal or NICRA is required if the
          Recipient requests to bill the DOE higher billing rates than those listed in the current
          NICRA.



                                                                                                          12
Case 1:25-cv-00039-JJM-PAS          Document 68-123          Filed 02/07/25       Page 498 of 556
                                      PageID #: 6428
                                                                           Award No. DE-SE0000081.0001
                                                                            Special Terms and Conditions



      B. Fringe Cost Allocation:
         Fringe benefit costs have been allocated to this award under a segregated fringe
         billing rate. The fringe costs were found to be reasonable, allocable, and allowable
         as reflected in the budget. Fringe elements apply to both direct and indirect labor.
         Under a segregated cost pool, the fringe billing rate shall be treated as an indirect
         cost expenditure and must be reconciled annually.

     C. Subrecipient Indirect Costs (If Applicable):
         The Recipient must ensure its subrecipient’s indirect costs are appropriately
         managed, have been found to be allowable, and comply with the requirements of
         this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

      D. Indirect Cost Stipulations:

            i.    Modification to Indirect Cost Billing Rates
                  SCEP will not modify this Award solely to provide additional funds to cover
                  increases in the Recipient’s indirect cost billing rate(s). Adjustments to the
                  indirect cost billing rates must be approved by the Recipient’s Cognizant
                  Agency or Cognizant Federal Agency Official.

                  The Recipient must provide a copy of an updated NICRA or indirect rate
                  proposal to the DOE Award Administrator in order to increase indirect cost
                  billing rates. If the Contracting Officer provides prior written approval, the
                  Recipient may incur an increase in the indirect cost billing rates.
                  Reimbursement will be limited by the budgeted dollar amount for indirect
                  costs for each budget period as shown in Attachment 3 to this Award.

           ii.    Annual Cost Reconciliation
                  In accordance with Appendices III-VII of 2 CFR Part 200 or 48 CFR 42.7,
                  governing for-profit organizations, the indirect cost billing rates shall be
                  reconciled or trued up (actual incurred costs) on an annual basis via the
                  annual incurred cost proposal within six months after the Recipient’s
                  fiscal year end.

           iii.   Adjustments to Indirect Cost Billing Rates
                  Following an official audit or adequacy review of the incurred cost
                  proposal, one of the following shall apply:

                     1. If the Recipient’s actual and final annual indirect cost billing rate(s)
                        reflect that Recipient invoiced at higher billing rates than actually
                        incurred, the Recipient must refund the Government the over-
                        recovered amounts.



                                                                                                           13
Case 1:25-cv-00039-JJM-PAS            Document 68-123        Filed 02/07/25       Page 499 of 556
                                        PageID #: 6429
                                                                           Award No. DE-SE0000081.0001
                                                                            Special Terms and Conditions



                       2. If the Recipient’s actual and final annual indirect cost billing rate(s)
                          reflect that the Recipient invoiced at lower billing rates than actually
                          incurred, the Recipient may not be reimbursed for increases in its
                          indirect cost rate, which resulted in an under-recovery. Increased
                          indirect cost billing rates cannot be retroactively applied to the DOE
                          award.

            iv.     Award Closeout
                    The closeout of the DOE award does not affect (1) the right of the DOE to
                    disallow costs and recover funds on the basis of a later audit or other review;
                    (2) the requirement for the Recipient to return any funds due as a result of
                    later refunds, corrections or other transactions including final indirect cost
                    billing rate adjustments; and (3) the ability of the DOE to make financial
                    adjustments to a previously closed award resolving indirect cost payments
                    and making final payments.

Term 35.          Decontamination and/or Decommissioning (D&D) Costs
Notwithstanding any other provisions of this Award, the Government shall not be responsible
for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
(D&D) of any of the Recipient’s facilities, or (2) any costs which may be incurred by the
Recipient in connection with the D&D of any of its facilities due to the performance of the work
under this Award, whether said work was performed prior to or subsequent to the effective
date of the Award.

Term 36.          Use of Program Income
If the Recipient earns program income during the project period as a result of this Award, the
Recipient must add the program income to the funds committed to the Award and used to
further eligible project objectives.

Term 37.          Payment Procedures

       A. Method of Payment
          Payment will be made by advances through the Department of Treasury’s ASAP
          system.

       B. Requesting Advances
          Requests for advances must be made through the ASAP system. The Recipient may
          submit requests as frequently as required to meet its needs to disburse funds for the
          Federal share of project costs. If feasible, the Recipient should time each request so
          that the Recipient receives payment on the same day that the Recipient disburses
          funds for direct project costs and the proportionate share of any allowable indirect
          costs. If same-day transfers are not feasible, advance payments must be as close to
          actual disbursements as administratively feasible.

                                                                                                           14
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 500 of 556
                                     PageID #: 6430
                                                                       Award No. DE-SE0000081.0001
                                                                        Special Terms and Conditions



      C. Adjusting Payment Requests for Available Cash
         The Recipient must disburse any funds that are available from repayments to and
         interest earned on a revolving fund, program income, rebates, refunds, contract
         settlements, audit recoveries, credits, discounts, and interest earned on any of those
         funds before requesting additional cash payments from SCEP.

      D. Payments
         All payments are made by electronic funds transfer to the bank account identified
         on the Bank Information Form that the Recipient filed with the U.S. Department of
         Treasury.

      E. Unauthorized Drawdown of Federal Funds
         For each budget period, the Recipient may not spend more than the Federal share
         authorized to that particular budget period, without specific written approval from
         the Contracting Officer. The Recipient must immediately refund SCEP any amounts
         spent or drawn down in excess of the authorized amount for a budget period. The
         Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
         interest earned on advances drawn in excess of disbursement needs, and shall
         comply with the procedure for remitting interest earned to the Federal government
         per 2 CFR 200.305, as applicable.

      F. Supporting Documents for Agency Approval of Payments
         DOE may require Agency pre-approval of payments. If the Agency approval
         requirement is in effect for the Recipient’s Award, the ASAP system will indicate that
         Agency approval is required when the Recipient submits a request for payment.

         The Recipient must notify the DOE Technical Project Officer and DOE Award
         Administrator identified on the Assistance Agreement that a payment request has
         been submitted.

         The following items are required to be submitted to the DOE Technical Project
         Officer and DOE Award Administrator identified on the Assistance Agreement:
         • Summary cost data, for the billing period and cumulative cost data, showing all
             categories listed in the SF-424A and identifying Federal, non-Federal, and total
             amounts.
         • SF-270.
         • If there are unauthorized phases and/or tasks for the current budget period in
             the NEPA Requirements term in these Special Terms and Conditions, a statement
             affirming that no invoiced costs are related to tasks or activities prohibited by
             the NEPA Requirements term.

         •   Applicable to for-profit recipients and subrecipients UCC filing proof for all
             equipment acquired with project funds (i.e., Federal share or Recipient share)

                                                                                                       15
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 501 of 556
                                      PageID #: 6431
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



              and equipment offered as cost share.

           The DOE payment authorizing official may request additional information from the
           Recipient to support the payment requests prior to release of funds, as deemed
           necessary. The Recipient is required to comply with these requests. Supporting
           documents include invoices, copies of contracts, vendor quotes, and other
           expenditure explanations that justify the payment requests.

Term 38.      Budget Changes

      A. Budget Changes Generally
         The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
         this Award.

           Any increase in the total project cost, whether DOE share or Cost Share, which is
           stated as “Total” in Block 12 to the Assistance Agreement of this Award, must be
           approved in advance and in writing by the Contracting Officer.

           Any change that alters the program design, project scope, milestones or deliverables
           requires prior written approval of the Contracting Officer. SCEP may deny
           reimbursement for any failure to comply with the requirements in this term.

      B. Transfers of Funds Among Direct Cost Categories
         The Recipient is required to obtain the prior written approval of the Contracting
         Officer for any transfer of funds among direct cost categories where the cumulative
         amount of such transfers exceeds or is expected to exceed 10 percent of the total
         project cost, which is stated as “Total” in Block 12 to the Assistance Agreement of
         this Award.

           The Recipient is required to notify the DOE /Project Officer of any transfer of funds
           among direct cost categories where the cumulative amount of such transfers is
           equal to or below 10 percent of the total project cost, which is stated as “Total” in
           Block 12 to the Assistance Agreement of this Award.

      C. Transfer of Funds Between Direct and Indirect Cost Categories
         The Recipient is required to obtain the prior written approval of the Contracting
         Officer for any transfer of funds between direct and indirect cost categories. If the
         Recipient’s actual allowable indirect costs are less than those budgeted in
         Attachment 3 to this Award, the Recipient may use the difference to pay additional
         allowable direct costs during the project period so long as the total difference is less
         than 10% of total project costs and the difference is reflected in actual requests for
         reimbursement to DOE.


                                                                                                         16
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 502 of 556
                                      PageID #: 6432
                                                                        Award No. DE-SE0000081.0001
                                                                         Special Terms and Conditions




Subpart C.         Miscellaneous Provisions

Term 39.       Insolvency, Bankruptcy or Receivership
The Recipient shall immediately, but no later than five days, notify SCEP of the occurrence of
any of the following events: (1) the Recipient or the Recipient’s parent’s filing of a voluntary
case seeking liquidation or reorganization under the Bankruptcy Act; (2) the Recipient’s consent
to the institution of an involuntary case under the Bankruptcy Act against the Recipient or the
Recipient’s parent; (3) the filing of any similar proceeding for or against the Recipient or the
Recipient’s parent, or the Recipient’s consent to the dissolution, winding-up or readjustment of
its debts, appointment of a receiver, conservator, trustee, or other officer with similar powers
over the Recipient, under any other applicable state or federal law; or (4) the Recipient’s
insolvency due to its inability to pay debts generally as they become due.

Such notification shall be in writing and shall: (1) specifically set out the details of the
occurrence of an event referenced in paragraph A; (2) provide the facts surrounding that event;
and (3) provide the impact such event will have on the project being funded by this Award.

Upon the occurrence of any of the four events described in paragraph A. of this term, SCEP
reserves the right to conduct a review of the Recipient’s Award to determine the Recipient’s
compliance with the required elements of the Award (including such items as cost share,
progress towards technical project objectives, and submission of required reports). If the SCEP
review determines that there are significant deficiencies or concerns with the Recipient’s
performance under the Award, SCEP reserves the right to impose additional requirements, as
needed, including (1) change of payment method; or (2) institute payment controls.

Failure of the Recipient to comply with this term may be considered a material noncompliance
of this Award by the Contracting Officer.

Term 40.       Reporting Subawards and Executive Compensation

       A. Reporting of first-tier subawards

             i.    Applicability. Unless the Recipient is exempt as provided in paragraph D. of
                   this award term, the Recipient must report each action that equals or
                   exceeds $30,000 in Federal funds for a subaward to an entity (see definitions
                   in paragraph E. of this award term).

             ii.   Where and when to report.

                      1. The Recipient must report each obligating action described in
                         paragraph A.i. of this award term to https://www.fsrs.gov.

                      2. For subaward information, report no later than the end of the month

                                                                                                        17
Case 1:25-cv-00039-JJM-PAS        Document 68-123        Filed 02/07/25        Page 503 of 556
                                    PageID #: 6433
                                                                       Award No. DE-SE0000081.0001
                                                                        Special Terms and Conditions



                        following the month in which the obligation was made. (For example,
                        if the obligation was made on November 7, 2010, the obligation must
                        be reported no later than December 31, 2010.)

          iii.   What to report. The Recipient must report the information about each
                 obligating action that the submission instructions posted at
                 https://www.fsrs.gov specify.

      B. Reporting Total Compensation of Recipient Executives

           i.    Applicability and what to report. The Recipient must report total
                 compensation for each of its five most highly compensated executives for the
                 preceding completed fiscal year, if:

                    1. The total Federal funding authorized to date under this Award equals
                       or exceeds $30,000 as defined in 2 CFR 170.320;

                    2. In the preceding fiscal year, the Recipient received;

                           a. 80 percent or more of the Recipient’s annual gross revenues
                              from Federal procurement contracts (and subcontracts) and
                              Federal financial assistance subject to the Transparency Act,
                              as defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards)

                    3. The public does not have access to information about the
                       compensation of the executives through periodic reports filed under
                       section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                       U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                       of 1986. (To determine if the public has access to the compensation
                       information, see the U.S. Security and Exchange Commission total
                       compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.   Where and when to report. The Recipient must report executive total
                 compensation described in paragraph B.i. of this award term:

                    1. As part of the Recipient’s registration profile at https://www.sam.gov.

                    2. By the end of the month following the month in which this award is

                                                                                                       18
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 504 of 556
                                     PageID #: 6434
                                                                        Award No. DE-SE0000081.0001
                                                                         Special Terms and Conditions



                        made, and annually thereafter.

      C. Reporting of Total Compensation of Subrecipient Executives

           i.    Applicability and what to report. Unless the Recipient is exempt as provided
                 in paragraph D. of this award term, for each first-tier subrecipient under this
                 award, the Recipient shall report the names and total compensation of each
                 of the subrecipient's five most highly compensated executives for the
                 subrecipient's preceding completed fiscal year, if:

                    1. In the subrecipient's preceding fiscal year, the subrecipient received:

                            a. 80 percent or more of its annual gross revenues from Federal
                               procurement contracts (and subcontracts) and Federal
                               financial assistance subject to the Transparency Act, as
                               defined at 2 CFR 170.320 (and subawards); and

                            b. $25,000,000 or more in annual gross revenues from Federal
                               procurement contracts (and subcontracts), and Federal
                               financial assistance subject to the Transparency Act (and
                               subawards)

                    2. The public does not have access to information about the
                       compensation of the executives through periodic reports filed under
                       section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                       U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                       of 1986. (To determine if the public has access to the compensation
                       information, see the U.S. Security and Exchange Commission total
                       compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.   Where and when to report. The Recipient must report subrecipient executive
                 total compensation described in paragraph C.i. of this award term:

                    1. To the recipient.

                    2. By the end of the month following the month during which the
                       Recipient makes the subaward. For example, if a subaward is
                       obligated on any date during the month of October of a given year
                       (i.e., between October 1 and 31), the Recipient must report any
                       required compensation information of the subrecipient by November
                       30 of that year.




                                                                                                        19
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 505 of 556
                                      PageID #: 6435
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



      D. Exemptions
         If, in the previous tax year, the Recipient had gross income, from all sources, under
         $300,000, it is exempt from the requirements to report:

            i.    Subawards; and

           ii.    The total compensation of the five most highly compensated executives of
                  any subrecipient.

      E. Definitions
         For purposes of this Award term:

            i.    Entity means all of the following, as defined in 2 CFR Part 25:

                     1. A Governmental organization, which is a State, local government, or
                        Indian tribe.
                     2. A foreign public entity.
                     3. A domestic or foreign nonprofit organization.
                     4. A domestic or foreign for-profit organization.
                     5. A Federal agency, but only as a subrecipient under an award or
                        subaward to a non-Federal entity.

           ii.    Executive means officers, managing partners, or any other employees in
                  management positions.

           iii.   Subaward:

                     1. This term means a legal instrument to provide support for the
                        performance of any portion of the substantive project or program for
                        which the Recipient received this award and that the recipient awards
                        to an eligible subrecipient.

                     2. The term does not include the Recipient’s procurement of property
                        and services needed to carry out the project or program (for further
                        explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                        and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                        Subrecipients and Contractors).

                     3. A subaward may be provided through any legal agreement, including
                        an agreement that the Recipient or a subrecipient considers a
                        contract.

           iv.    Subrecipient means an entity that:

                                                                                                         20
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25       Page 506 of 556
                                      PageID #: 6436
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



                     1. Receives a subaward from the Recipient under this award; and

                     2. Is accountable to the Recipient for the use of the Federal funds
                        provided by the subaward.

           v.    Total compensation means the cash and noncash dollar value earned by the
                 executive during the recipient's or subrecipient's preceding fiscal year and
                 includes the following (for more information see 17 CFR 229.402(c)(2)):

                     1. Salary and bonus.

                     2. Awards of stock, stock options, and stock appreciation rights. Use the
                        dollar amount recognized for financial statement reporting purposes
                        with respect to the fiscal year in accordance with the Statement of
                        Financial Accounting Standards No. 123 (Revised 2004) (FAS 123R),
                        Shared Based Payments.

                     3. Earnings for services under non-equity incentive plans. This does not
                        include group life, health, hospitalization or medical reimbursement
                        plans that do not discriminate in favor of executives, and are available
                        generally to all salaried employees.

                     4. Change in pension value. This is the change in present value of
                        defined benefit and actuarial pension plans.

                     5. Above-market earnings on deferred compensation which is not tax-
                        qualified.

                     6. Other compensation, if the aggregate value of all such other
                        compensation (e.g. severance, termination payments, value of life
                        insurance paid on behalf of the employee, perquisites or property) for
                        the executive exceeds $10,000.

Term 41.     System for Award Management and Universal Identifier
             Requirements

      A. Requirement for Registration in the System for Award Management (SAM)
         Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
         Recipient must maintain the currency of its information in SAM until the Recipient
         submits the final financial report required under this Award or receive the final
         payment, whichever is later. This requires that the Recipient reviews and updates
         the information at least annually after the initial registration, and more frequently if
         required by changes in its information or another award term.

                                                                                                         21
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25      Page 507 of 556
                                        PageID #: 6437
                                                                            Award No. DE-SE0000081.0001
                                                                             Special Terms and Conditions



      B. Unique Entity Identifier (UEI)
         SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no
         longer have to go to a third-party website to obtain their identifier. This information
         is displayed on SAM.gov.

         If the Recipient is authorized to make subawards under this Award, the Recipient:

        i.      Must notify potential subrecipients that no entity (see definition in paragraph C
                of this award term) may receive a subaward from the Recipient unless the entity
                has provided its UEI number to the Recipient.

       ii.      May not make a subaward to an entity unless the entity has provided its UEI
                number to the Recipient.

      C. Definitions
         For purposes of this award term:

              i.    System for Award Management (SAM) means the Federal repository into
                    which an entity must provide information required for the conduct of
                    business as a recipient. Additional information about registration procedures
                    may be found at the SAM Internet site (currently at https://www.sam.gov).

             ii.    Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                    that will be assigned by SAM.gov upon registration.

             iii.   Entity, as it is used in this award term, means all of the following, as defined
                    at 2 CFR Part 25, subpart C:

                       1. A Governmental organization, which is a State, local government, or
                          Indian Tribe.
                       2. A foreign public entity.
                       3. A domestic or foreign nonprofit organization.
                       4. A domestic or foreign for-profit organization.
                       5. A Federal agency, but only as a subrecipient under an award or
                          subaward to a non-Federal entity.

             iv.    Subaward:

                       1. This term means a legal instrument to provide support for the
                          performance of any portion of the substantive project or program for
                          which the Recipient received this Award and that the Recipient
                          awards to an eligible subrecipient.



                                                                                                            22
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 508 of 556
                                     PageID #: 6438
                                                                        Award No. DE-SE0000081.0001
                                                                         Special Terms and Conditions



                     2. The term does not include the Recipient’s procurement of property
                        and services needed to carry out the project or program (for further
                        explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                        and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                        Subrecipients and Contractors).

                     3. A subaward may be provided through any legal agreement, including
                        an agreement that the Recipient considers a contract.

           v.    Subrecipient means an entity that:

                     1. Receives a subaward from the Recipient under this Award; and
                     2. Is accountable to the Recipient for the use of the Federal funds
                        provided by the subaward.

Term 42.     Nondisclosure and Confidentiality Agreements Assurances
      A. By entering into this agreement, the Recipient attests that it does not and will not
         require its employees or contractors to sign internal nondisclosure or confidentiality
         agreements or statements prohibiting or otherwise restricting its employees or
         contactors from lawfully reporting waste, fraud, or abuse to a designated
         investigative or law enforcement representative of a Federal department or agency
         authorized to receive such information.

      B. The Recipient further attests that it does not and will not use any Federal funds to
         implement or enforce any nondisclosure and/or confidentiality policy, form, or
         agreement it uses unless it contains the following provisions:

            i.   ‘‘These provisions are consistent with and do not supersede, conflict with, or
                 otherwise alter the employee obligations, rights, or liabilities created by
                 existing statute or Executive order relating to (1) classified information, (2)
                 communications to Congress, (3) the reporting to an Inspector General of a
                 violation of any law, rule, or regulation, or mismanagement, a gross waste of
                 funds, an abuse of authority, or a substantial and specific danger to public
                 health or safety, or (4) any other whistleblower protection. The definitions,
                 requirements, obligations, rights, sanctions, and liabilities created by
                 controlling Executive orders and statutory provisions are incorporated into
                 this agreement and are controlling.’’
           ii.   The limitation above shall not contravene requirements applicable to
                 Standard Form 312, Form 4414, or any other form issued by a Federal
                 department or agency governing the nondisclosure of classified information.




                                                                                                        23
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 509 of 556
                                       PageID #: 6439
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



            iii.   Notwithstanding provision listed in paragraph (a), a nondisclosure or
                   confidentiality policy form or agreement that is to be executed by a person
                   connected with the conduct of an intelligence or intelligence-related activity,
                   other than an employee or officer of the United States Government, may
                   contain provisions appropriate to the particular activity for which such
                   document is to be used. Such form or agreement shall, at a minimum,
                   require that the person will not disclose any classified information received
                   in the course of such activity unless specifically authorized to do so by the
                   United States Government. Such nondisclosure or confidentiality forms shall
                   also make it clear that they do not bar disclosures to Congress, or to an
                   authorized official of an executive agency or the Department of Justice, that
                   are essential to reporting a substantial violation of law.

Term 43.       Subrecipient and Contractor Approvals

A. At Risk Notice. The Recipient must obtain written approval by the Grants Officer for
   reimbursement of costs associated with subrecipients/activities/contractor listed in
   paragraph B. below. If the contractor cost is for $250,000 or more, the Recipient must
   submit quote and purpose/need. The Recipient is restricted from expending project funds
   (i.e., federal share and Recipient share) on the subrecipients’ and/or contractors’ supporting
   the tasks identified in paragraph B. below unless and until the Grants Officer provides
   written approval. At its discretion, SCEP may not reimburse costs incurred prior to the date
   of any such written approval by the Grants Officer.

B. Grants Officer approval as set out above is required for the following:

       Activity and Subrecipients / Contractor                      Total Amount ($)
       Administrative, Pilot                                        $     507,488.85
       Administrative, Contractor Training                          $     600,000.00
       Administrative, Policy Consultant                            $      25,000.00
       Administrative, Strategic Analysis                           $      50,000.00
       Administrative, Implementation Vendor                        $ 8,578,754.35
       Rebate Funds: Reimbursement, Implementation Vendor           $ 45,559,792.87
       Rebate Funds: Reimbursement, Contractor Incentive            $    287,041.00
       Administrative, Implementation Vendor                        $    220,000.00
       Rebate Funds: Rebate Delivery, Implementation Vendor         $    678,300.00
       Administrative, Vendor                                       $    400,000.00
       Rebate Funds: Rebate Delivery, Subgrants to CBOs             $ 1,800,000.00
               TOTAL                                                $ 58,706,377.07

   The Grants Officer may require additional information concerning these tasks prior to
   providing written approval.


                                                                                                          24
Case 1:25-cv-00039-JJM-PAS                     Document 68-123                Filed 02/07/25           Page 510 of 556
                                                 PageID #: 6440
                                                                                               Award No. DE-SE0000081.0001
                                                                                                Special Terms and Conditions



C. Upon written approval by the Grants Officer, the Recipient may then receive payment for
   the tasks identified in paragraph B. above for allowable costs incurred, or SCEP will
   recognize costs incurred toward cost share requirements, if any, in accordance with the
   payment provisions contained in the Special Terms and Conditions of this agreement.

Term 44.           Subrecipient and Subcontractor Change Notification
Except for subrecipients and/or subcontractors specifically proposed as part of the Recipient’s
Application for award, the Recipient must notify the Contracting Officer and Project Officer in
writing 30 days prior to the execution of new or modified subrecipient and/or subcontractor
agreements, including naming any To Be Determined subrecipients and/or subcontractors. This
notification does not constitute a waiver of the prior approval requirements outlined in 2 CFR
part 200 as amended by 2 CFR part 910, nor does it relieve the Recipient from its obligation to
comply with applicable Federal statutes, regulations, and executive orders.

In order to satisfy this notification requirement, the Recipient documentation must, as a
minimum, include the following:

    •    A description of the research to be performed, the service to be provided, or the
         equipment to be purchased.
    •    Cost share commitment letter if the subrecipient and/or subcontractor is providing cost
         share to the Award.
    •    An assurance that the process undertaken by the Recipient to solicit the subrecipient
         and/or subcontractor complies with their written procurement procedures as outlined
         in 2 CFR 200.317 through 200.327.
    •    An assurance that no planned, actual or apparent conflict of interest exists between the
         Recipient and the selected subrecipient and/or subcontractor and that the Recipient’s
         written standards of conduct were followed.1
    •    A completed Environmental Questionnaire, if applicable.
    •    An assurance that the subrecipient and/or subcontractor is not a debarred or suspended
         entity.
    •    An assurance that all required award provisions will be flowed down in the resulting
         subrecipient and/or subcontractor agreement.

The Recipient is responsible for making a final determination to award or modify subrecipient
and/or subcontractor agreements under this agreement, but the Recipient may not proceed
with the subrecipient and/or subcontractor agreement until the Contracting Officer

1
  It is DOE’s position that the existence of a “covered relationship” as defined in 5 CFR 2635.502(a)&(b) between a member of
the Recipient’s owners or senior management and a member of a subrecipient’s owners or senior management creates at a
minimum an apparent conflict of interest that would require the Recipient to notify the Contracting Officer and provide
detailed information and justification (including, for example, mitigation measures) as to why the subrecipient agreement does
not create an actual conflict of interest. The Recipient must also notify the Contracting Officer of any new subrecipient
agreement with: (1) an entity that is owned or otherwise controlled by the Recipient; or (2) an entity that is owned or
otherwise controlled by another entity that also owns or otherwise controls the Recipient, as it is DOE’s position that these
situations also create at a minimum an apparent conflict of interest.

                                                                                                                                 25
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 511 of 556
                                      PageID #: 6441
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



determines, and provides the Recipient written notification, that the information provided is
adequate.

Should the Recipient not receive a written notification of adequacy from the Contracting Officer
within 30 days of the submission of the subrecipient and/or subcontractor documentation
stipulated above, the Recipient may proceed to award or modify the proposed subrecipient
agreement.

Term 45.       Conference Spending
The Recipient shall not expend any funds on a conference not directly and programmatically
related to the purpose for which the grant or cooperative agreement was awarded that would
defray the cost to the United States Government of a conference held by any Executive branch
department, agency, board, commission, or office for which the cost to the United States
Government would otherwise exceed $20,000, thereby circumventing the required notification
by the head of any such Executive Branch department, agency, board, commission, or office to
the Inspector General (or senior ethics official for any entity without an Inspector General), of
the date, location, and number of employees attending such conference.

Term 46.       Recipient Integrity and Performance Matters

       A. General Reporting Requirement
          If the total value of the Recipient’s currently active Financial Assistance awards,
          cooperative agreements, and procurement contracts from all Federal awarding
          agencies exceeds $10,000,000 for any period of time during the period of
          performance of this Federal award, then you as the recipient during that period of
          time must maintain the currency of information reported to the System for Award
          Management (SAM) that is made available in the designated integrity and
          performance system (currently the Federal Awardee Performance and Integrity
          Information System (FAPIIS)) about civil, criminal, or administrative proceedings
          described in paragraph 2 of this term. This is a statutory requirement under section
          872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section
          3010 of Public Law 111-212, all information posted in the designated integrity and
          performance system on or after April 15, 2011, except past performance reviews
          required for Federal procurement contracts, will be publicly available.

       B. Proceedings About Which You Must Report
          Submit the information required about each proceeding that:
             i. Is in connection with the award or performance of a Financial Assistance,
                 cooperative agreement, or procurement contract from the Federal
                 Government;
            ii. Reached its final disposition during the most recent five-year period; and
           iii. Is one of the following:
                     1. A criminal proceeding that resulted in a conviction, as defined in

                                                                                                         26
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25       Page 512 of 556
                                      PageID #: 6442
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



                        paragraph E of this award term and condition;
                     2. A civil proceeding that resulted in a finding of fault and liability and
                        payment of a monetary fine, penalty, reimbursement, restitution, or
                        damages of $5,000 or more;
                     3. An administrative proceeding, as defined in paragraph E of this term,
                        that resulted in a finding of fault and liability and your payment of
                        either a monetary fine or penalty of $5,000 or more or
                        reimbursement, restitution, or damages in excess of $100,000; or
                     4. Any other criminal, civil, or administrative proceeding if:
                            a. It could have led to an outcome described in paragraph B.iii.1,
                                 2, or 3 of this term;
                            b. It had a different disposition arrived at by consent or
                                 compromise with an acknowledgment of fault on your part;
                                 and
                            c. The requirement in this term to disclose information about
                                 the proceeding does not conflict with applicable laws and
                                 regulations.

      C. Reporting Procedures
         Enter in the SAM Entity Management area the information that SAM requires about
         each proceeding described in paragraph B of this term. You do not need to submit
         the information a second time under assistance awards that you received if you
         already provided the information through SAM because you were required to do so
         under Federal procurement contracts that you were awarded.

      D. Reporting Frequency
         During any period of time when you are subject to the requirement in paragraph A
         of this term, you must report proceedings information through SAM for the most
         recent five-year period, either to report new information about any proceeding(s)
         that you have not reported previously or affirm that there is no new information to
         report. Recipients that have Federal contract, Financial Assistance awards, (including
         cooperative agreement awards) with a cumulative total value greater than
         $10,000,000, must disclose semiannually any information about the criminal, civil,
         and administrative proceedings.

      E. Definitions
         For purposes of this term:
           i. Administrative proceeding means a non-judicial process that is adjudicatory
                 in nature in order to make a determination of fault or liability (e.g., Securities
                 and Exchange Commission Administrative proceedings, Civilian Board of
                 Contract Appeals proceedings, and Armed Services Board of Contract
                 Appeals proceedings). This includes proceedings at the Federal and State
                 level but only in connection with performance of a Federal contract or

                                                                                                          27
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25      Page 513 of 556
                                       PageID #: 6443
                                                                           Award No. DE-SE0000081.0001
                                                                            Special Terms and Conditions



                   Financial Assistance awards. It does not include audits, site visits, corrective
                   plans, or inspection of deliverables.
             ii.   Conviction means a judgment or conviction of a criminal offense by any court
                   of competent jurisdiction, whether entered upon a verdict or a plea, and
                   includes a conviction entered upon a plea of nolo contendere.
            iii.   Total value of currently active Financial Assistance awards, cooperative
                   agreements and procurement contracts includes—
                       1. Only the Federal share of the funding under any Federal award with a
                           recipient cost share or match; and
                       2. The value of all expected funding increments under a Federal award and
                           options, even if not yet exercised.

Term 47.       Export Control
The United States government regulates the transfer of information, commodities, technology,
and software considered to be strategically important to the U.S. to protect national security,
foreign policy, and economic interests without imposing undue regulatory burdens on
legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” The Recipient is
responsible for ensuring compliance with all applicable United States Export Control laws and
regulations relating to any work performed under a resulting award.

The Recipient must immediately report to DOE any export control violations related to the
project funded under this award, at the recipient or subrecipient level, and provide the
corrective action(s) to prevent future violations.

Term 48.       Prohibition on Certain Telecommunications and Video Surveillance
               Services or Equipment
As set forth in 2 CFR 200.116, recipients and subrecipients are prohibited from obligating or
expending project funds (Federal funds and recipient cost share) to:

    (1) Procure or obtain;

    (2) Extend or renew a contract to procure or obtain; or

    (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
    services, or systems that uses covered telecommunications equipment or services as a
    substantial or essential component of any system, or as critical technology as part of any
    system. As described in Public Law 115-232, section 889, covered telecommunications
    equipment is telecommunications equipment produced by Huawei Technologies Company
    or ZTE Corporation (or any subsidiary or affiliate of such entities).

          (i) For the purpose of public safety, security of government facilities, physical security
          surveillance of critical infrastructure, and other national security purposes, video

                                                                                                           28
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 514 of 556
                                       PageID #: 6444
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



          surveillance and telecommunications equipment produced by Hytera
          Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
          Dahua Technology Company (or any subsidiary or affiliate of such entities).

          (ii) Telecommunications or video surveillance services provided by such entities or
          using such equipment.

          (iii) Telecommunications or video surveillance equipment or services produced or
          provided by an entity that the Secretary of Defense, in consultation with the Director
          of the National Intelligence or the Director of the Federal Bureau of Investigation,
          reasonably believes to be an entity owned or controlled by, or otherwise connected
          to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

Term 49.       Fraud, Waste and Abuse
The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity,
economy and efficiency of DOE’s programs and operations including deterring and detecting
fraud, waste, abuse, and mismanagement. The OIG accomplishes this mission primarily through
investigations, audits, and inspections of Department of Energy activities to include grants,
cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting
allegations of fraud, waste, abuse, or mismanagement. To report such allegations, please visit
https://www.energy.gov/ig/ig‐hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR 200.113 Mandatory
disclosures, which states:

               The non‐Federal entity or applicant for a Federal award must disclose, in a timely
               manner, in writing to the Federal awarding agency or pass‐through entity all
               violations of Federal criminal law involving fraud, bribery, or gratuity violations
               potentially affecting the Federal award. Non‐Federal entities that have received
               a Federal award including the term and condition outlined in appendix XII of 2
               CFR Part 200 are required to report certain civil, criminal, or administrative
               proceedings to SAM (currently FAPIIS). Failure to make required disclosures can
               result in any of the remedies described in 200.339. (See also 2 CFR part 180, 31
               U.S.C. § 3321, and 41 U.S.C. § 2313.)

Term 50.       Interim Conflict of Interest Policy for Financial Assistance Policy
The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
requirements-financial-assistance. This policy is applicable to all non-Federal entities applying
for, or that receive, DOE funding by means of a financial assistance award (e.g., a grant,
cooperative agreement, or technology investment agreement) and, through the

                                                                                                          29
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25       Page 515 of 556
                                        PageID #: 6445
                                                                            Award No. DE-SE0000081.0001
                                                                             Special Terms and Conditions



implementation of this policy by the entity, to each Investigator who is planning to participate
in, or is participating in, the project funded wholly or in part under this Award. The term
“Investigator” means the PI and any other person, regardless of title or position, who is
responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
proposed for funding by DOE. The Recipient must flow down the requirements of the interim
COI Policy to any subrecipient non-Federal entities, with the exception of DOE National
Laboratories. Further, the Recipient must identify all financial conflicts of interests (FCOI), i.e.,
managed and unmanaged/unmanageable, in its initial and ongoing FCOI reports.
Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
completed their significant financial disclosures; 2) review the disclosures; 3) determine
whether a FCOI exists; 4) develop and implement a management plan for FCOIs; and 5) provide
DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be
in full compliance with the other requirements set forth in DOE’s interim COI Policy.

Term 51.       Organizational Conflict of Interest
Organizational conflicts of interest are those where, because of relationships with a parent
company, affiliate, or subsidiary organization, the Recipient is unable or appears to be unable to
be impartial in conducting procurement action involving a related organization (2 CFR
200.318(c)(2)).

The Recipient must disclose in writing any potential or actual organizational conflict of interest
to the DOE Contracting Officer. The Recipient must provide the disclosure prior to engaging in a
procurement or transaction using project funds with a parent, affiliate, or subsidiary
organization that is not a state, local government, or Indian tribe. For a list of the information
that must be included the disclosure, see Section VI. of the DOE interim Conflict of Interest
Policy for Financial Assistance at https://www.energy.gov/management/department-energy-
interim-conflict-interest-policy-requirements-financial-assistance.

If the effects of the potential or actual organizational conflict of interest cannot be avoided,
neutralized, or mitigated, the Recipient must procure goods and services from other sources
when using project funds. Otherwise, DOE may terminate the Award in accordance with 2 CFR
200.340 unless continued performance is determined to be in the best interest of the federal
government.
The Recipient must flow down the requirements of the interim COI Policy to any subrecipient
non-federal entities, with the exception of DOE National Laboratories. The Recipient is
responsible for ensuring subrecipient compliance with this term.

If the Recipient has a parent, affiliate, or subsidiary organization that is not a state, local
government, or Indian tribe, the Recipient must maintain written standards of conduct covering
organizational conflicts of interest.




                                                                                                            30
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 516 of 556
                                       PageID #: 6446
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions




Term 52.        Participants and Other Collaborating Organizations
Prior to award, the Recipient was required to provide the following information on participants
and other collaborating organizations. If there are any changes to Participants and
Collaborating Organizations information previously submitted to DOE, the Recipient must
submit updated information within thirty (30) calendar days after the end of the quarterly
reporting period in which the change occurred:

   A. What individuals have worked on the project
      Provide the following information for individuals at the prime recipient and subrecipient
      level: (1) all senior and key personnel; and (2) each person who has worked or is
      expected to work at least one person month per year on the project regardless of the
      source of compensation (a person month equals approximately 160 hours of effort).

           i.   Name
          ii.   Organization
        iii.    Job Title
         iv.    Role in the project
          v.    Start and end date (month and year) working on the project
         vi.    State, U.S. territory, and/or country of residence
        vii.    Whether this person collaborated with an individual or entity located in a foreign
                country in connection with the scope of this Award, and
       viii.    If yes to vii, whether the person traveled to the foreign country as part of that
                collaboration, and, if so, where and what the duration of stay was.

   B. Organizations
      Identify all subrecipients, contractors, U.S. National Laboratories, partners, and
      collaborating organizations. Recipients must also include all foreign collaborators as
      outlined in the Foreign Collaboration Considerations term of the award Terms and
      Conditions. For each, provide name, UEI, zip code or latitude/longitude, role in the
      project, contribution to the project, and start and end date.

Term 53.        Community Benefits Outcomes and Objectives
The recipient must meet the stated objectives and milestones set forth in its Community
Benefits Outcomes and Objectives, which is incorporated into the Award per Term 56. A
report on the recipient’s progress toward meeting the objectives and milestones set
forth in the Community Benefits Outcomes and Objectives must be included in the
continuation application.

Term 54.        Human Subjects Research
Research involving human subjects, biospecimens, or identifiable private information
conducted with Department of Energy (DOE) funding is subject to the requirements of DOE
Order 443.1C, Protection of Human Research Subjects, 45 CFR Part 46, Protection of Human


                                                                                                          31
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 517 of 556
                                      PageID #: 6447
                                                                         Award No. DE-SE0000081.0001
                                                                          Special Terms and Conditions



Subjects (subpart A which is referred to as the “Common Rule”), and 10 CFR Part 745, Protection
of Human Subjects.

Federal regulation and the DOE Order require review by an Institutional Review Board (IRB) of
all proposed human subjects research projects. The IRB is an interdisciplinary ethics board
responsible for ensuring that the proposed research is sound and justifies the use of human
subjects or their data; the potential risks to human subjects have been minimized; participation
is voluntary; and clear and accurate information about the study, the benefits and risks of
participating, and how individuals’ data/specimens will be protected/used, is provided to
potential participants for their use in determining whether or not to participate.

The Recipient shall provide the Federal Wide Assurance number identified in item 1 below and
the certification identified in item 2 below to DOE prior to initiation of any project that will
involve interactions with humans in some way (e.g., through surveys); analysis of their
identifiable data (e.g., demographic data and energy use over time); asking individuals to test
devices, products, or materials developed through research; and/or testing of commercially
available devices in buildings/homes in which humans will be present. Note: This list of
examples is illustrative and not all inclusive.

No DOE funded research activity involving human subjects, biospecimens, or identifiable
private information shall be conducted without:

   1) A registration and a Federal Wide Assurance of compliance accepted by the Office of
      Human Research Protection (OHRP) in the Department of Health and Human Services;
      and
   2) Certification that the research has been reviewed and approved by an Institutional
      Review Board (IRB) provided for in the assurance. IRB review may be accomplished by
      the awardee’s institutional IRB; by the Central DOE IRB; or if collaborating with one of
      the DOE national laboratories, by the DOE national laboratory IRB.

The Recipient is responsible for ensuring all subrecipients comply and for reporting information
on the project annually to the DOE Human Subjects Research Database (HSRD) at
https://science.osti.gov/HumanSubjects/Human-Subjects-Database/home. Note: If a DOE IRB
is used, no end of year reporting will be needed.

Additional information on the DOE Human Subjects Research Program can be found at:
https://science.osti.gov/ber/human-subjects.

Term 55.       Affirmative Action and Pay Transparency Requirements
All federally assisted construction contracts exceeding $10,000 annually will be subject to the
requirements of Executive Order 11246:



                                                                                                         32
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 518 of 556
                                       PageID #: 6448
                                                                          Award No. DE-SE0000081.0001
                                                                           Special Terms and Conditions



       (1)    Recipients, subrecipients, and contractors are prohibited from discriminating in
       employment decisions on the basis of race, color, religion, sex, sexual orientation,
       gender identity or national origin.

       (2)    Recipients and Contractors are required to take affirmative action to ensure that
       equal opportunity is provided in all aspects of their employment. This includes flowing
       down the appropriate language to all subrecipients, contractors and subcontractors.

       (3)     Recipients, subrecipients, contractors and subcontractors are prohibited from
       taking adverse employment actions against applicants and employees for asking about,
       discussing, or sharing information about their pay or, under certain circumstances, the
       pay of their co‐workers.

The Department of Labor’s (DOL) Office of Federal Contractor Compliance Programs (OFCCP)
uses a neutral process to schedule contractors for compliance evaluations. OFCCP’s Technical
Assistance Guide should be consulted to gain an understanding of the requirements and
possible actions the recipients, subrecipients, contractors, and subcontractors must take. See
OFCCP’s Technical Assistance Guide at:
https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG.pdf?msclkid
=9e397d68c4b111ec9d8e6fecb6c710ec.

Term 56.       Potentially Duplicative Funding Notice
If the Recipient or subrecipients have or receive any other award of federal funds for activities
that potentially overlap with the activities funded under this Award, the Recipient must
promptly notify DOE in writing of the potential overlap and state whether project funds (i.e.,
recipient cost share and federal funds) from any of those other federal awards have been, are
being, or are to be used (in whole or in part) for one or more of the identical cost items under
this Award. If there are identical cost items, the Recipient must promptly notify the DOE
Contracting Officer in writing of the potential duplication and eliminate any inappropriate
duplication of funding.

Subpart D. Inflation Reduction Act (IRA) Specific Requirements

Term 57.       Program Launch Approval
The Recipient must not disburse rebate funds nor accept rebate claims until it receives DOE
approval to proceed with program launch. The Recipient must address and comply with all
program requirements to receive Federal funding and to launch State programs. If the Recipient
launches the rebate program(s) or disburses rebate funds prior to DOE approval, DOE reserves
the right to take appropriate action.

Term 58.       Implementation Blueprint Submission
The Recipient must submit a complete State Implementation Blueprint and related plans within
a minimum of 60 days prior to planned program launch. Any application requirements that

                                                                                                          33
Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 519 of 556
                                     PageID #: 6449
                                                                      Award No. DE-SE0000081.0001
                                                                       Special Terms and Conditions



were deferred to the State Implementation Blueprint must also be addressed. States must
receive DOE approval on the State Implementation Blueprint and related plans before
launching their program. Once DOE approval is received, the State Implementation Blueprint
and supporting plans become immediately binding to the award and will be enforceable. The
State Implementation Blueprint and supporting plans will be incorporated into the award Terms
& Conditions by reference and will be incorporated formally in the next award modification,
following approval by DOE.

Term 59.      Reporting Tracking and Segregation of Incurred Costs
IRA funds may be used in conjunction with other funding, as necessary to complete projects,
but tracking and reporting must be separate. The Recipient must keep separate records for IRA
funds and must ensure those records comply with the requirements of the IRA.




                                                                                                      34
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25     Page 520 of 556
                                      PageID #: 6450
                                                                  Special Terms and Conditions
                                                                        Award No. DE-SE0000025.0001




                         Inflation Reduction Act (IRA)
                         Special Terms and Conditions
The Grantee (“Recipient”), which is identified in Block 5 of the Assistance Agreement, and the
Office of State and Community Energy Programs (“SCEP”) an office within the United States
Department of Energy (“DOE”), enter into this Award, referenced above, to achieve the project
objectives and the technical milestones and deliverables stated in Attachment 1 to this Award.

This Award consists of the following documents, including all terms and conditions therein:

                              Assistance Agreement
                              Special Terms and Conditions
            Attachment 1      Narrative
            Attachment 2      Federal Assistance Reporting Checklist and
                              Instructions
            Attachment 3      Budget Information SF-424A
            Attachment 5      NEPA Determination


The following are incorporated into this Award by reference:
   • DOE Assistance Regulations, 2 CFR part 200 as supplemented by 2 CFR part 910 at
        http://www.eCFR.gov.
   • National Policy Requirements (November 12, 2020) at
        http://www.nsf.gov/awards/managing/rtc.jsp.
   • Public Law 117-169, also known as the Inflation Reduction Act (IRA).
   • The Recipient’s application/proposal as approved by SCEP.
Case 1:25-cv-00039-JJM-PAS                                       Document 68-123                            Filed 02/07/25                     Page 521 of 556
                                                                   PageID #: 6451
                                                                                                                                    Award No. DE-SE0000025.0001
                                                                                                                                     Special Terms and Conditions




                                                                Table of Contents
Subpart A.        General Provisions ............................................................................................................................ 1
   Term 1.        Legal Authority and Effect .......................................................................................................................1
   Term 2.        Reserved ..................................................................................................................................................1
   Term 3.        Flow Down Requirement.........................................................................................................................1
   Term 4.        Compliance with Federal, State, and Municipal Law .............................................................................1
   Term 5.        Inconsistency with Federal Law ..............................................................................................................1
   Term 6.        Federal Stewardship ................................................................................................................................1
   Term 7.        Federal Involvement................................................................................................................................2
   Term 8.        NEPA Requirements ................................................................................................................................3
   Term 9.        Historic Preservation ...............................................................................................................................4
   Term 10.       Performance of Work in United States ...................................................................................................4
   Term 11.       Foreign National Involvement ................................................................................................................5
   Term 12.       Foreign National Participation ................................................................................................................5
   Term 13.       Post-Award Due Diligence Reviews ........................................................................................................5
   Term 14.       Notice Regarding the Purchase of American-Made Equipment and Products – Sense of Congress ....6
   Term 15.       Reporting Requirements .........................................................................................................................6
   Term 16.       Lobbying...................................................................................................................................................6
   Term 17.       Publications .............................................................................................................................................7
   Term 18.       No-Cost Extension ...................................................................................................................................7
   Term 19.       Property Standards..................................................................................................................................7
   Term 20.       Insurance Coverage .................................................................................................................................7
   Term 21.       Real Property ...........................................................................................................................................8
   Term 22.       Equipment ...............................................................................................................................................8
   Term 23.       Supplies ....................................................................................................................................................9
   Term 24.       Property Trust Relationship ....................................................................................................................9
   Term 25.       Record Retention .....................................................................................................................................9
   Term 26.       Audits .......................................................................................................................................................9
   Term 27.       Site Visits and Recipient Administrative Organizational Reviews .......................................................10
   Term 28.       Indemnity...............................................................................................................................................10
Subpart B. Financial Provisions.......................................................................................................................... 11
   Term 29.       Maximum Obligation.............................................................................................................................11
   Term 30.       Funding of Tranches ..............................................................................................................................11
   Term 31.       Continuation Application and Funding .................................................................................................11
   Term 32.       Refund Obligation..................................................................................................................................12
   Term 33.       Allowable Costs .....................................................................................................................................12
   Term 34.       Indirect Costs .........................................................................................................................................12
   Term 35.       Decontamination and/or Decommissioning (D&D) Costs ....................................................................14
   Term 36.       Use of Program Income .........................................................................................................................14
   Term 37.       Payment Procedures .............................................................................................................................14
   Term 38.       Budget Changes .....................................................................................................................................16
Subpart C.        Miscellaneous Provisions ................................................................................................................ 16
   Term 39.       Insolvency, Bankruptcy or Receivership ...............................................................................................16
   Term 40.       Reporting Subawards and Executive Compensation ............................................................................17
   Term 41.       System for Award Management and Universal Identifier Requirements ...........................................21
   Term 42.       Nondisclosure and Confidentiality Agreements Assurances ...............................................................23
   Term 43.       Subrecipient and Contractor Approvals................................................................................................24
   Term 44.       Subrecipient and Subcontractor Change Notification ..........................................................................25
   Term 45.       Conference Spending.............................................................................................................................26

                                                                                                                                                                                    ii
Case 1:25-cv-00039-JJM-PAS                                   Document 68-123                          Filed 02/07/25                    Page 522 of 556
                                                               PageID #: 6452
                                                                                                                             Award No. DE-SE0000025.0001
                                                                                                                              Special Terms and Conditions



  Term 46.      Recipient Integrity and Performance Matters ......................................................................................26
  Term 47.      Export Control........................................................................................................................................28
  Term 48.      Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment ............28
  Term 49.      Fraud, Waste and Abuse .......................................................................................................................29
  Term 50.      Interim Conflict of Interest Policy for Financial Assistance Policy .......................................................29
  Term 51.      Organizational Conflict of Interest ........................................................................................................30
  Term 52.      Participants and Other Collaborating Organizations............................................................................31
  Term 53.      Community Benefits Outcomes and Objectives ...................................................................................31
  Term 54.      Human Subjects Research .....................................................................................................................31
  Term 55.      Affirmative Action and Pay Transparency Requirements ....................................................................32
  Term 56.      Potentially Duplicative Funding Notice ................................................................................................33
Subpart D. Inflation Reduction Act (IRA) Specific Requirements ......................................................................... 33
  Term 57. Program Launch Approval .....................................................................................................................33
  Term 58. Implementation Blueprint Submission .................................................................................................33
  Term 59. Reporting Tracking and Segregation of Incurred Costs ........................................................................34




                                                                                                                                                                           iii
Case 1:25-cv-00039-JJM-PAS             Document 68-123          Filed 02/07/25       Page 523 of 556
                                         PageID #: 6453
                                                                              Award No. DE-SE0000025.0001
                                                                               Special Terms and Conditions




Subpart A.         General Provisions

Term 1.        Legal Authority and Effect
A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
electronically, by a DOE Contracting Officer.

The Recipient may accept or reject the Award. A request to draw down DOE funds or
acknowledgement of award documents by the Recipient’s authorized representative through
electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
of the terms and conditions of this Award. Acknowledgement via FedConnect by the
Recipient’s authorized representative constitutes the Recipient's electronic signature.

Term 2.        Reserved

Term 3.        Flow Down Requirement
The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
subcontractors, as appropriate), and to require their strict compliance therewith.

Term 4.        Compliance with Federal, State, and Municipal Law
The Recipient is required to comply with applicable Federal, state, and local laws and
regulations for all work performed under this Award. The Recipient is required to obtain all
necessary Federal, state, and local permits, authorizations, and approvals for all work
performed under this Award.

Term 5.        Inconsistency with Federal Law
Any apparent inconsistency between Federal statutes and regulations and the terms and
conditions contained in this Award must be referred to the DOE Award Administrator for
guidance.

Term 6.        Federal Stewardship
SCEP will exercise normal Federal stewardship in overseeing the project activities performed
under this Award. Stewardship activities include, but are not limited to, conducting site visits;
reviewing performance and financial reports; providing technical assistance and/or temporary
intervention in unusual circumstances to address deficiencies that develop during the project;
assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the project objectives have been accomplished.




                                                                                                              1
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 524 of 556
                                      PageID #: 6454
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions




Term 7.      Federal Involvement

      A. Review Meetings
         The Recipient, including but not limited to, the principal investigator (or, if
         applicable, co-principal investigators), is required to participate in periodic review
         meetings with SCEP. Review meetings enable SCEP to assess the work performed
         under this Award and determine whether the Recipient has timely achieved the
         milestones and deliverables stated in Attachment 1 to this Award.

          SCEP shall determine the frequency of review meetings and select the day, time, and
          location of each review meeting and shall do so in a reasonable and good faith
          manner. SCEP will provide the Recipient with reasonable notice of the review
          meetings.

          For each review meeting, the Recipient is required to provide a comprehensive
          overview of the project, including:
              • The Recipient’s progress compared to the Narrative Document in Attachment
                 1 to this Award.
              • The Recipient’s actual expenditures compared to the approved budget in
                 Attachment 3 to this Award.
              • Other subject matter specified by the DOE Project Officer.

      B. Project Meetings
         The Recipient is required to notify SCEP in advance of scheduled tests and internal
         project meetings that would entail discussion of topics that could result in major
         changes to the baseline project scope/approach, cost, or schedule. Upon request by
         SCEP, the Recipient is required to provide SCEP with reasonable access (by
         telephone, webinar, or otherwise) to the tests and project meetings. The Recipient
         is not expected to delay any work under this Award for the purpose of government
         insight.

      C. Site Visits
         SCEP's authorized representatives have the right to make site visits at reasonable
         times to review project accomplishments and management control systems and to
         provide technical assistance, if required. The Recipient must provide, and must
         require subrecipients to provide, reasonable access to facilities, office space,
         resources, and assistance for the safety and convenience of the government
         representatives in the performance of their duties. All site visits and evaluations
         must be performed in a manner that does not unduly interfere with or delay the
         work.

      D. Tranche Continuation Decisions

                                                                                                         2
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 525 of 556
                                     PageID #: 6455
                                                                       Award No. DE-SE0000025.0001
                                                                        Special Terms and Conditions



          The Administrative and Legal Requirements Document (ALRD) for this Award
          establishes funding tranches. The Recipient’s approved use of funds is only for the
          tranche that DOE has approved the recipient for. The Recipient is not approved to
          use funds in other tranches beyond those it is approved for. If the Recipient uses
          funds beyond what it has been approved to use, SCEP reserves the right to take
          appropriate action up to and including those listed below.

          For each funding tranche, SCEP must determine whether the Recipient has fully and
          satisfactorily completed the work described in the ALRD, Program Requirements,
          award attachments, award terms and conditions as well as DOE approved plans for
          this Award. The holistic performance of the award is taken into consideration during
          the continuation review. As a result of the continuation review, in its discretion,
          SCEP may take one of the following actions:
          • Continue to fund the project, contingent upon the availability of funds
          appropriated by Congress for the purpose of this program;
          • Place a hold on additional federal funding for the project, pending sufficient
          progress against performance targets, milestones and deliverables, further
          supporting data or funding; or
          • Discontinue funding the project because of insufficient progress, change in
          strategic direction, or lack of funding.

          If routine data reviews demonstrate the Recipient is not meeting Plan terms, DOE
          reserves the right to put a hold on the funds the Recipient can draw down under the
          Automated Standard Application for Payments (ASAP) System.

       E. Performance Targets, Milestones, and Deliverables
          The Administrative and Legal Requirements Document (ALRD) and Program
          Requirements for this Award establishes performance targets, milestones, and
          deliverables required to continue into a new tranche of funding. If the Recipient
          fails to meet the established performance targets, milestones and/or deliverables,
          the Recipient must provide an improvement plan in its continuation application for
          how it will improve program performance to meet the next tranche’s targets. DOE
          approval is required in order to move to the next tranche and for funds to be
          released.

       F. SCEP Access
          The Recipient must provide any information, documents, site access, or other
          assistance requested by SCEP for the purpose of its Federal stewardship or
          substantial involvement.

Term 8.       NEPA Requirements
DOE must comply with the National Environmental Policy Act (NEPA) prior to authorizing the
use of federal funds. Based on all information provided by the Recipient, SCEP has made a NEPA

                                                                                                       3
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25       Page 526 of 556
                                        PageID #: 6456
                                                                             Award No. DE-SE0000025.0001
                                                                              Special Terms and Conditions



determination by issuing a categorical exclusion (CX) for all activities listed in the Statement of
Project Objectives (SOPO) approved by the Contracting Officer and the DOE NEPA
Determination. The Recipient is thereby authorized to use federal funds for the defined project
activities, except where such activity is subject to a restriction set forth elsewhere in this
Award.

This authorization is specific to the project activities and locations as described in the SOPO
approved by the Contracting Officer and the DOE NEPA Determination.

If the Recipient later intends to add to or modify the activities or locations as described in the
approved SOPO and the DOE NEPA Determination, those new activities/locations or modified
activities/locations are subject to additional NEPA review and are not authorized for federal
funding until the Contracting Officer provides written authorization on those additions or
modifications. Should the Recipient elect to undertake activities or change locations prior to
written authorization from the Contracting Officer, the Recipient does so at risk of not receiving
federal funding for those activities, and such costs may not be recognized as allowable cost
share.

Term 9.         Historic Preservation

   A. Authorization

DOE must comply with the requirements of Section 106 of the National Historic Preservation
Act (NHPA) prior to authorizing the use of Federal funds. Section 106 applies to historic
properties that are listed in or eligible for listing in the National Register of Historic Places. DOE
does not anticipate any impacts to resources of concern.

Term 10.       Performance of Work in United States

       A. Requirement
          All work performed under this Award must be performed in the United States unless
          the Contracting Officer provides a waiver. This requirement does not apply to the
          purchase of supplies and equipment; however, the Recipient should make every
          effort to purchase supplies and equipment within the United States. The Recipient
          must flow down this requirement to its subrecipients and subcontractors.

       B. Failure to Comply
          If the Recipient fails to comply with the Performance of Work in the United States
          requirement, the Contracting Officer may deny reimbursement for the work
          conducted outside the United States and such costs may not be recognized as
          allowable Recipient cost share regardless if the work is performed by the Recipient,
          subrecipients, vendors or other project partners.


                                                                                                             4
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25       Page 527 of 556
                                       PageID #: 6457
                                                                           Award No. DE-SE0000025.0001
                                                                            Special Terms and Conditions



       C. Waiver for Work Outside the U.S.
          All work performed under this Award must be performed in the United States.
          However, the Contracting Officer may approve the Recipient to perform a portion of
          the work outside the United States under limited circumstances. The Recipient must
          obtain a waiver from the Contracting Officer prior to conducting any work outside
          the U.S. To request a waiver, the Recipient must submit a written waiver request to
          the Contracting Officer, which includes the following information:
              • The rationale for performing the work outside the U.S.;
              • A description of the work proposed to be performed outside the U.S.;
              • Proposed budget of work to be performed; and
              • The countries in which the work is proposed to be performed.

           For the rationale, the Recipient must demonstrate to the satisfaction of the
           Contracting Officer that the performance of work outside the United States would
           further the purposes of the ALRD or Program that the Award was selected under and
           is in the economic interests of the United States. The Contracting Officer may
           require additional information before considering such request.

Term 11.       Foreign National Involvement

The Recipient and project participants (including subrecipients and contractors) who anticipate
involving foreign nationals in the performance of an award, may be required to provide DOE
with specific information about each foreign national to satisfy requirements for foreign
national participation. A foreign national is defined as any person who is not a U.S. citizen by
birth or naturalization. The volume and type of information collected may depend on various
factors associated with the award.

Term 12.       Foreign National Participation
A “foreign national” is defined as any person who is not a U.S. citizen by birth or naturalization.

If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign
nationals in the performance of the Award, the Recipient must, upon DOE’s request, provide
DOE with specific information about each foreign national to ensure compliance with the
requirements for participation and access approval. The volume and type of information
required may depend on various factors associated with the Award. The DOE Contracting
Officer will notify the Recipient if this information is required.

DOE may elect to deny a foreign national’s participation in the Award. Likewise, DOE may elect
to deny a foreign national’s access to a DOE sites, information, technologies, equipment,
programs, or personnel. DOE’s determination to deny participation or access is not appealable.

Term 13.       Post-Award Due Diligence Reviews
During the period of performance of the Award, DOE may conduct ongoing due diligence

                                                                                                           5
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25       Page 528 of 556
                                       PageID #: 6458
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions



reviews, through Government resources, to identify potential risks of undue foreign influence.
In the event a risk is identified, DOE may require risk mitigation measures, including but not
limited to, requiring an individual or entity not participate in the Award.


Term 14.      Notice Regarding the Purchase of American-Made Equipment and
              Products – Sense of Congress
It is the sense of the Congress that, to the greatest extent practicable, all equipment and
products purchased with funds made available under this Award should be American-made.

Term 15.      Reporting Requirements

       A. Requirements
          The reporting requirements for this Award are identified on the Federal Assistance
          Reporting Checklist, attached to this Award. Failure to comply with these reporting
          requirements is considered a material noncompliance with the terms of the Award.
          Noncompliance may result in withholding of future payments, suspension, or
          termination of the current award, and withholding of future awards. A willful failure
          to perform, a history of failure to perform, or unsatisfactory performance of this
          and/or other financial assistance awards, may also result in a debarment action to
          preclude future awards by Federal agencies.

       B. Dissemination of Scientific and Technical Information
          Scientific and Technical Information (STI) generated under this Award will be
          submitted to DOE via the Office of Scientific and Technical Information’s Energy Link
          (E-Link) system. STI submitted under this Award will be disseminated via DOE’s
          OSTI.gov website subject to approved access limitations. Citations for journal articles
          produced under the Award will appear on the DOE PAGES website.

       C. Restrictions
          Scientific and Technical Information submitted to E-Link must not contain any
          Protected Personal Identifiable Information (PII), limited rights data (proprietary
          data), classified information, information subject to export control classification, or
          other information not subject to release.

Term 16.      Lobbying
By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
the Award shall be expended, directly or indirectly, to influence congressional action on any
legislation or appropriation matters pending before Congress, other than to communicate to
Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.



                                                                                                          6
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25      Page 529 of 556
                                       PageID #: 6459
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions




Term 17.       Publications
The Recipient is required to include the following acknowledgement in publications arising out
of, or relating to, work performed under this Award, whether copyrighted or not:

   •   Acknowledgment: “This material is based upon work supported by the U.S. Department
       of Energy’s Office of State and Community Energy Programs (SCEP) under the IRA Home
       Energy Rebates Award Number SE-0000025.”

   •   Full Legal Disclaimer: “This report was prepared as an account of work sponsored by an
       agency of the United States Government. Neither the United States Government nor
       any agency thereof, nor any of their employees, makes any warranty, express or
       implied, or assumes any legal liability or responsibility for the accuracy, completeness,
       or usefulness of any information, apparatus, product, or process disclosed, or
       represents that its use would not infringe privately owned rights. Reference herein to
       any specific commercial product, process, or service by trade name, trademark,
       manufacturer, or otherwise does not necessarily constitute or imply its endorsement,
       recommendation, or favoring by the United States Government or any agency thereof.
       The views and opinions of authors expressed herein do not necessarily state or reflect
       those of the United States Government or any agency thereof.”

       Abridged Legal Disclaimer: “The views expressed herein do not necessarily represent
       the views of the U.S. Department of Energy or the United States Government.”

       Recipients should make every effort to include the full Legal Disclaimer. However, in the
       event that recipients are constrained by formatting and/or page limitations set by the
       publisher, the abridged Legal Disclaimer is an acceptable alternative.

Term 18.       No-Cost Extension
As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
must include the supporting reasons and the revised period of performance. The Recipient
must submit this notification in writing to the Contracting Officer and DOE Technology
Manager/ Project Officer at least 30 days before the end of the current budget period.

Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of
this Award.

Term 19.       Property Standards
The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
Also see 2 CFR 910.360 for additional requirements for real property and equipment for For-
Profit recipients.

Term 20.       Insurance Coverage
                                                                                                         7
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 530 of 556
                                      PageID #: 6460
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
property and equipment for For-Profit recipients.

Term 21.      Real Property
Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.311 before disposing of the property.

Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
property will be used for the originally authorized purpose as long as needed for that purpose.
When real property is no longer needed for the originally authorized purpose, the non-Federal
entity must obtain disposition instructions from DOE or pass-through entity. The instructions
must provide for one of the following alternatives: (1) retain title after compensating DOE as
described in 2 CFR 200.311(c)(1); (2) Sell the property and compensate DOE as specified in 2
CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE
as specified in 2 CFR 200.311(c)(3).

See 2 CFR 200.311 for additional requirements pertaining to real property acquired or
improved under a Federal award. Also see 2 CFR 910.360 for additional requirements for real
property for For-Profit recipients.

Term 22.      Equipment
Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.313 before disposing of the property.

A state must use equipment acquired under a Federal award by the state in accordance with
state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was
acquired as long as it is needed, whether or not the project or program continues to be
supported by the Federal award. When no longer needed for the originally authorized purpose,
the equipment may be used by programs supported by DOE in the priority order specified in 2
CFR 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are
provided in 2 CFR 200.313(d).
When equipment acquired under a Federal award is no longer needed, the non-Federal entity
must obtain disposition instructions from DOE or pass-through entity.


                                                                                                         8
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 531 of 556
                                      PageID #: 6461
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



Disposition will be made as follows: (1) items of equipment with a current fair market value of
$5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

Term 23.       Supplies
See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

Term 24.       Property Trust Relationship
Real property, equipment, and intangible property, that are acquired or improved with a
Federal award must be held in trust by the non-Federal entity as trustee for the beneficiaries of
the project or program under which the property was acquired or improved. See 2 CFR
200.316 for additional requirements pertaining to real property, equipment, and intangible
property acquired or improved under a Federal award.

Term 25.       Record Retention
Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
relating to this Award.

Term 26.       Audits

       A. Government-Initiated Audits
          The Recipient must provide any information, documents, site access, or other
          assistance requested by SCEP, DOE or Federal auditing agencies (e.g., DOE Inspector
          General, Government Accountability Office) for the purpose of audits and
          investigations. Such assistance may include, but is not limited to, reasonable access
          to the Recipient’s records relating to this Award.

           Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
           Recipient’s financial records or administrative records relating to this Award at any
           time. Audits or reviews may be performed to determine if the Recipient has an
           adequate financial management system to estimate, bill, and record federal
           government expenditures in accordance with the criteria in 2 CFR 200.302, Generally
           Accepted Accounting Principles (GAAP), Generally Accepted Government Accounting
           Standards (GAGAS), and Standard Form 1408.Government-initiated audits are
           generally paid for by DOE.


                                                                                                         9
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25       Page 532 of 556
                                        PageID #: 6462
                                                                            Award No. DE-SE0000025.0001
                                                                             Special Terms and Conditions



           DOE may conduct a final audit at the end of the project period (or the termination of
           the Award, if applicable). Upon completion of the audit, the Recipient is required to
           refund to DOE any payments for costs that were determined to be unallowable. If
           the audit has not been performed or completed prior to the closeout of the award,
           DOE retains the right to recover an appropriate amount after fully considering the
           recommendations on disallowed costs resulting from the final audit.

           DOE will provide reasonable advance notice of audits and will minimize interference
           with ongoing work, to the maximum extent practicable.

       B. Annual Independent Audits (Single Audit or Compliance Audit)
          The Recipient must comply with the annual independent audit requirements in 2
          CFR 200.500 through .521 for institutions of higher education, nonprofit
          organizations, and state and local governments (Single audit), and 2 CFR 910.500
          through .521 for for-profit entities (Compliance audit).

           The annual independent audits are separate from Government-initiated audits
           discussed in part A. of this Term, and must be paid for by the Recipient. To minimize
           expense, the Recipient may have a Compliance audit in conjunction with its annual
           audit of financial statements. The financial statement audit is not a substitute for
           the Compliance audit. If the audit (Single audit or Compliance audit, depending on
           Recipient entity type) has not been performed or completed prior to the closeout of
           the award, DOE may impose one or more of the actions outlined in 2 CFR 200.339,
           Remedies for Noncompliance.

Term 27.       Site Visits and Recipient Administrative Organizational Reviews
SCEP’s authorized representatives have the right to make site visits and conduct Recipient
Administrative Organizational Reviews to review the project and management control systems
and to provide technical assistance, as appropriate. The Recipient must provide, and must
require its subrecipients and contractors to provide, reasonable access to facilities, office space,
resources, and assistance for the safety and convenience of the government representatives in
the performance of their duties. SCEP will make reasonable efforts to ensure these site visits do
not interfere with or unduly delay project work.

Term 28.       Indemnity
The Recipient shall indemnify DOE and its officers, agents, or employees for any and all liability,
including litigation expenses and attorneys' fees, arising from suits, actions, or claims of any
character for death, bodily injury, or loss of or damage to property or to the environment,
resulting from the project, except to the extent that such liability results from the direct fault or
negligence of DOE officers, agents or employees, or to the extent such liability may be covered
by applicable allowable costs provisions.




                                                                                                            10
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 533 of 556
                                      PageID #: 6463
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions




Subpart B. Financial Provisions

Term 29.      Maximum Obligation
The maximum obligation of DOE for this Award is the total “Funds Obligated” stated in Block 13
of the Assistance Agreement to this Award.

Term 30.      Funding of Tranches
SCEP has obligated funding as shown in Block 13 of the Assistance Agreement for completion of
the Project. However, only the federal share of costs associated with the current funding
tranche is available for work performed by the Recipient. Tranches are associated with specific
project milestones, which are outlined in the Administrative and Legal Requirements Document
(ALRD), associated with this program. The federal share of costs is shown on Attachment 3.
The remainder of funding is contingent upon: (1) the availability of funds appropriated by
Congress for the purpose of this program; (2) the availability of future-year budget authority;
(3) Recipient’s satisfactory progress towards meeting the objectives of the Home Energy
Rebates Program; (4) Recipient’s submittal of required reports; (5) Recipient’s compliance with
the terms and conditions of the Award; (6) the Recipient’s submission of a continuation
application; and (7) written approval of the continuation application by the Contracting Officer.

In the event that the Recipient does not submit a continuation application for subsequent
tranches, or SCEP disapproves a continuation application for subsequent tranches, the
maximum SCEP liability to the Recipient is the funds that are available for the current approved
tranche. In such event, SCEP reserves the right to deobligate any remaining federal funds.

Term 31.      Continuation Application and Funding

       A. Continuation Application
          A continuation application is a non-competitive application to enter into a new
          funding tranche. The continuation application shall be submitted to SCEP in
          accordance with the tranche table in the ALRD that is issued.

       B. Continuation Funding
          Continuation funding is contingent on (1) the availability of funds appropriated by
          Congress for the purpose of this program; (2) the availability of future-year budget
          authority; (3) Recipient’s satisfactory progress towards meeting the objectives of the
          Home Energy Rebates Program; (4) Recipient’s submittal of required reports; (5)
          Recipient’s compliance with the terms and conditions of the Award; (6) the
          Recipient’s submission of a continuation application; and (7) written approval of the
          continuation application by the Contracting Officer. The holistic performance of the
          award is taken into consideration during the continuation review.

       C. Continuation Review

                                                                                                         11
Case 1:25-cv-00039-JJM-PAS           Document 68-123        Filed 02/07/25       Page 534 of 556
                                       PageID #: 6464
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions



           The Administrative and Legal Requirements Document (ALRD) outlines expected
           performance targets and deliverables required to continue into a new tranche of
           funding. In addition, DOE will take the full performance of the award into
           consideration when making a continuation decision. If a Recipient’s overall
           performance is assessed by DOE to be inadequate, DOE reserves the right to
           disapprove a continuation into a new tranche of funding.

Term 32.       Refund Obligation
The Recipient must refund any excess payments received from SCEP, including any costs
determined unallowable by the Contracting Officer. Upon the end of the project period (or the
termination of the Award, if applicable), the Recipient must refund to SCEP the difference
between (1) the total payments received from SCEP, and (2) the Federal share of the costs
incurred. Refund obligations under this Term do not supersede the annual reconciliation or true
up process if specified under the Indirect Cost Term.
Term 33.       Allowable Costs
DOE determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
must document and maintain records of all project costs, including, but not limited to, the costs
paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
claims as cost sharing, including in-kind contributions. The Recipient is responsible for
maintaining records adequate to demonstrate that costs claimed have been incurred, are
reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
Recipient is required to provide such records to DOE. Such records are subject to audit. Failure
to provide DOE adequate supporting documentation may result in a determination by the
Contracting Officer that those costs are unallowable.

The Recipient is required to obtain the prior written approval of the Contracting Officer for any
foreign travel costs.

Term 34.       Indirect Costs

       A. Indirect Cost Allocation:
          The Recipient has a federally approved provisional Negotiated Indirect Cost Rate
          Agreement (NICRA) with a current effective period identified for billing and
          estimation purposes and it applies uniformly across all federal awards. These costs
          shall be reconciled or trued up (actual incurred costs) on an annual basis with the
          Recipient’s cognizant agency. An updated rate proposal or NICRA is required if the
          Recipient requests to bill the DOE higher billing rates than those listed in the current
          NICRA.

       B. Fringe Cost Allocation:
          Fringe benefit costs have been allocated to this award under a segregated fringe
          billing rate. The fringe costs were found to be reasonable, allocable, and allowable

                                                                                                          12
Case 1:25-cv-00039-JJM-PAS         Document 68-123          Filed 02/07/25       Page 535 of 556
                                     PageID #: 6465
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions



         as reflected in the budget. Fringe elements apply to both direct and indirect labor.
         Under a segregated cost pool, the fringe billing rate shall be treated as an indirect
         cost expenditure and must be reconciled annually.

     C. Subrecipient Indirect Costs (If Applicable):
         The Recipient must ensure its subrecipient’s indirect costs are appropriately
         managed, have been found to be allowable, and comply with the requirements of
         this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

      D. Indirect Cost Stipulations:

            i.   Modification to Indirect Cost Billing Rates
                 SCEP will not modify this Award solely to provide additional funds to cover
                 increases in the Recipient’s indirect cost billing rate(s). Adjustments to the
                 indirect cost billing rates must be approved by the Recipient’s Cognizant
                 Agency or Cognizant Federal Agency Official.

                 The Recipient must provide a copy of an updated NICRA or indirect rate
                 proposal to the DOE Award Administrator in order to increase indirect cost
                 billing rates. If the Contracting Officer provides prior written approval, the
                 Recipient may incur an increase in the indirect cost billing rates.
                 Reimbursement will be limited by the budgeted dollar amount for indirect
                 costs for each budget period as shown in Attachment 3 to this Award.

           ii.   Annual Cost Reconciliation
                 In accordance with Appendices III-VII of 2 CFR Part 200 or 48 CFR 42.7,
                 governing for-profit organizations, the indirect cost billing rates shall be
                 reconciled or trued up (actual incurred costs) on an annual basis via the
                 annual incurred cost proposal within six months after the Recipient’s
                 fiscal year end.

          iii.   Adjustments to Indirect Cost Billing Rates
                 Following an official audit or adequacy review of the incurred cost
                 proposal, one of the following shall apply:

                    1. If the Recipient’s actual and final annual indirect cost billing rate(s)
                       reflect that Recipient invoiced at higher billing rates than actually
                       incurred, the Recipient must refund the Government the over-
                       recovered amounts.

                    2. If the Recipient’s actual and final annual indirect cost billing rate(s)
                       reflect that the Recipient invoiced at lower billing rates than actually
                       incurred, the Recipient may not be reimbursed for increases in its
                       indirect cost rate, which resulted in an under-recovery. Increased

                                                                                                          13
Case 1:25-cv-00039-JJM-PAS            Document 68-123        Filed 02/07/25       Page 536 of 556
                                        PageID #: 6466
                                                                           Award No. DE-SE0000025.0001
                                                                            Special Terms and Conditions



                           indirect cost billing rates cannot be retroactively applied to the DOE
                           award.

            iv.     Award Closeout
                    The closeout of the DOE award does not affect (1) the right of the DOE to
                    disallow costs and recover funds on the basis of a later audit or other review;
                    (2) the requirement for the Recipient to return any funds due as a result of
                    later refunds, corrections or other transactions including final indirect cost
                    billing rate adjustments; and (3) the ability of the DOE to make financial
                    adjustments to a previously closed award resolving indirect cost payments
                    and making final payments.

Term 35.          Decontamination and/or Decommissioning (D&D) Costs
Notwithstanding any other provisions of this Award, the Government shall not be responsible
for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
(D&D) of any of the Recipient’s facilities, or (2) any costs which may be incurred by the
Recipient in connection with the D&D of any of its facilities due to the performance of the work
under this Award, whether said work was performed prior to or subsequent to the effective
date of the Award.

Term 36.          Use of Program Income
If the Recipient earns program income during the project period as a result of this Award, the
Recipient must add the program income to the funds committed to the Award and used to
further eligible project objectives.

Term 37.          Payment Procedures

       A. Method of Payment
          Payment will be made by advances through the Department of Treasury’s ASAP
          system.

       B. Requesting Advances
          Requests for advances must be made through the ASAP system. The Recipient may
          submit requests as frequently as required to meet its needs to disburse funds for the
          Federal share of project costs. If feasible, the Recipient should time each request so
          that the Recipient receives payment on the same day that the Recipient disburses
          funds for direct project costs and the proportionate share of any allowable indirect
          costs. If same-day transfers are not feasible, advance payments must be as close to
          actual disbursements as administratively feasible.

       C. Adjusting Payment Requests for Available Cash
          The Recipient must disburse any funds that are available from repayments to and
          interest earned on a revolving fund, program income, rebates, refunds, contract

                                                                                                           14
Case 1:25-cv-00039-JJM-PAS         Document 68-123        Filed 02/07/25      Page 537 of 556
                                     PageID #: 6467
                                                                       Award No. DE-SE0000025.0001
                                                                        Special Terms and Conditions



         settlements, audit recoveries, credits, discounts, and interest earned on any of those
         funds before requesting additional cash payments from SCEP.

      D. Payments
         All payments are made by electronic funds transfer to the bank account identified
         on the Bank Information Form that the Recipient filed with the U.S. Department of
         Treasury.

      E. Unauthorized Drawdown of Federal Funds
         For each budget period, the Recipient may not spend more than the Federal share
         authorized to that particular budget period, without specific written approval from
         the Contracting Officer. The Recipient must immediately refund SCEP any amounts
         spent or drawn down in excess of the authorized amount for a budget period. The
         Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
         interest earned on advances drawn in excess of disbursement needs, and shall
         comply with the procedure for remitting interest earned to the Federal government
         per 2 CFR 200.305, as applicable.

      F. Supporting Documents for Agency Approval of Payments
         DOE may require Agency pre-approval of payments. If the Agency approval
         requirement is in effect for the Recipient’s Award, the ASAP system will indicate that
         Agency approval is required when the Recipient submits a request for payment.

         The Recipient must notify the DOE Technical Project Officer and DOE Award
         Administrator identified on the Assistance Agreement that a payment request has
         been submitted.

         The following items are required to be submitted to the DOE Technical Project
         Officer and DOE Award Administrator identified on the Assistance Agreement:
         • Summary cost data, for the billing period and cumulative cost data, showing all
             categories listed in the SF-424A and identifying Federal, non-Federal, and total
             amounts.
         • SF-270.
         • If there are unauthorized phases and/or tasks for the current budget period in
             the NEPA Requirements term in these Special Terms and Conditions, a statement
             affirming that no invoiced costs are related to tasks or activities prohibited by
             the NEPA Requirements term.

         •   Applicable to for-profit recipients and subrecipients UCC filing proof for all
             equipment acquired with project funds (i.e., Federal share or Recipient share)
             and equipment offered as cost share.

         The DOE payment authorizing official may request additional information from the

                                                                                                       15
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 538 of 556
                                      PageID #: 6468
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



           Recipient to support the payment requests prior to release of funds, as deemed
           necessary. The Recipient is required to comply with these requests. Supporting
           documents include invoices, copies of contracts, vendor quotes, and other
           expenditure explanations that justify the payment requests.

Term 38.      Budget Changes

      A. Budget Changes Generally
         The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
         this Award.

           Any increase in the total project cost, whether DOE share or Cost Share, which is
           stated as “Total” in Block 12 to the Assistance Agreement of this Award, must be
           approved in advance and in writing by the Contracting Officer.

           Any change that alters the program design, project scope, milestones or deliverables
           requires prior written approval of the Contracting Officer. SCEP may deny
           reimbursement for any failure to comply with the requirements in this term.

      B. Transfers of Funds Among Direct Cost Categories
         The Recipient is required to obtain the prior written approval of the Contracting
         Officer for any transfer of funds among direct cost categories where the cumulative
         amount of such transfers exceeds or is expected to exceed 10 percent of the total
         project cost, which is stated as “Total” in Block 12 to the Assistance Agreement of
         this Award.

           The Recipient is required to notify the DOE /Project Officer of any transfer of funds
           among direct cost categories where the cumulative amount of such transfers is
           equal to or below 10 percent of the total project cost, which is stated as “Total” in
           Block 12 to the Assistance Agreement of this Award.

      C. Transfer of Funds Between Direct and Indirect Cost Categories
         The Recipient is required to obtain the prior written approval of the Contracting
         Officer for any transfer of funds between direct and indirect cost categories. If the
         Recipient’s actual allowable indirect costs are less than those budgeted in
         Attachment 3 to this Award, the Recipient may use the difference to pay additional
         allowable direct costs during the project period so long as the total difference is less
         than 10% of total project costs and the difference is reflected in actual requests for
         reimbursement to DOE.

Subpart C.       Miscellaneous Provisions

Term 39.      Insolvency, Bankruptcy or Receivership
                                                                                                         16
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25      Page 539 of 556
                                      PageID #: 6469
                                                                        Award No. DE-SE0000025.0001
                                                                         Special Terms and Conditions



The Recipient shall immediately, but no later than five days, notify SCEP of the occurrence of
any of the following events: (1) the Recipient or the Recipient’s parent’s filing of a voluntary
case seeking liquidation or reorganization under the Bankruptcy Act; (2) the Recipient’s consent
to the institution of an involuntary case under the Bankruptcy Act against the Recipient or the
Recipient’s parent; (3) the filing of any similar proceeding for or against the Recipient or the
Recipient’s parent, or the Recipient’s consent to the dissolution, winding-up or readjustment of
its debts, appointment of a receiver, conservator, trustee, or other officer with similar powers
over the Recipient, under any other applicable state or federal law; or (4) the Recipient’s
insolvency due to its inability to pay debts generally as they become due.

Such notification shall be in writing and shall: (1) specifically set out the details of the
occurrence of an event referenced in paragraph A; (2) provide the facts surrounding that event;
and (3) provide the impact such event will have on the project being funded by this Award.

Upon the occurrence of any of the four events described in paragraph A. of this term, SCEP
reserves the right to conduct a review of the Recipient’s Award to determine the Recipient’s
compliance with the required elements of the Award (including such items as cost share,
progress towards technical project objectives, and submission of required reports). If the SCEP
review determines that there are significant deficiencies or concerns with the Recipient’s
performance under the Award, SCEP reserves the right to impose additional requirements, as
needed, including (1) change of payment method; or (2) institute payment controls.

Failure of the Recipient to comply with this term may be considered a material noncompliance
of this Award by the Contracting Officer.

Term 40.       Reporting Subawards and Executive Compensation

       A. Reporting of first-tier subawards

             i.    Applicability. Unless the Recipient is exempt as provided in paragraph D. of
                   this award term, the Recipient must report each action that equals or
                   exceeds $30,000 in Federal funds for a subaward to an entity (see definitions
                   in paragraph E. of this award term).

             ii.   Where and when to report.

                      1. The Recipient must report each obligating action described in
                         paragraph A.i. of this award term to https://www.fsrs.gov.

                      2. For subaward information, report no later than the end of the month
                         following the month in which the obligation was made. (For example,
                         if the obligation was made on November 7, 2010, the obligation must
                         be reported no later than December 31, 2010.)

                                                                                                        17
Case 1:25-cv-00039-JJM-PAS        Document 68-123        Filed 02/07/25        Page 540 of 556
                                    PageID #: 6470
                                                                       Award No. DE-SE0000025.0001
                                                                        Special Terms and Conditions




          iii.   What to report. The Recipient must report the information about each
                 obligating action that the submission instructions posted at
                 https://www.fsrs.gov specify.

      B. Reporting Total Compensation of Recipient Executives

           i.    Applicability and what to report. The Recipient must report total
                 compensation for each of its five most highly compensated executives for the
                 preceding completed fiscal year, if:

                    1. The total Federal funding authorized to date under this Award equals
                       or exceeds $30,000 as defined in 2 CFR 170.320;

                    2. In the preceding fiscal year, the Recipient received;

                           a. 80 percent or more of the Recipient’s annual gross revenues
                              from Federal procurement contracts (and subcontracts) and
                              Federal financial assistance subject to the Transparency Act,
                              as defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards)

                    3. The public does not have access to information about the
                       compensation of the executives through periodic reports filed under
                       section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                       U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                       of 1986. (To determine if the public has access to the compensation
                       information, see the U.S. Security and Exchange Commission total
                       compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.   Where and when to report. The Recipient must report executive total
                 compensation described in paragraph B.i. of this award term:

                    1. As part of the Recipient’s registration profile at https://www.sam.gov.

                    2. By the end of the month following the month in which this award is
                       made, and annually thereafter.

      C. Reporting of Total Compensation of Subrecipient Executives

                                                                                                       18
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 541 of 556
                                     PageID #: 6471
                                                                        Award No. DE-SE0000025.0001
                                                                         Special Terms and Conditions




            i.   Applicability and what to report. Unless the Recipient is exempt as provided
                 in paragraph D. of this award term, for each first-tier subrecipient under this
                 award, the Recipient shall report the names and total compensation of each
                 of the subrecipient's five most highly compensated executives for the
                 subrecipient's preceding completed fiscal year, if:

                     1. In the subrecipient's preceding fiscal year, the subrecipient received:

                            a. 80 percent or more of its annual gross revenues from Federal
                               procurement contracts (and subcontracts) and Federal
                               financial assistance subject to the Transparency Act, as
                               defined at 2 CFR 170.320 (and subawards); and

                            b. $25,000,000 or more in annual gross revenues from Federal
                               procurement contracts (and subcontracts), and Federal
                               financial assistance subject to the Transparency Act (and
                               subawards)

                     2. The public does not have access to information about the
                        compensation of the executives through periodic reports filed under
                        section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                        U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                        of 1986. (To determine if the public has access to the compensation
                        information, see the U.S. Security and Exchange Commission total
                        compensation filings at http://www.sec.gov/answers/execomp.htm).

           ii.   Where and when to report. The Recipient must report subrecipient executive
                 total compensation described in paragraph C.i. of this award term:

                     1. To the recipient.

                     2. By the end of the month following the month during which the
                        Recipient makes the subaward. For example, if a subaward is
                        obligated on any date during the month of October of a given year
                        (i.e., between October 1 and 31), the Recipient must report any
                        required compensation information of the subrecipient by November
                        30 of that year.

      D. Exemptions
         If, in the previous tax year, the Recipient had gross income, from all sources, under
         $300,000, it is exempt from the requirements to report:



                                                                                                        19
Case 1:25-cv-00039-JJM-PAS         Document 68-123         Filed 02/07/25      Page 542 of 556
                                     PageID #: 6472
                                                                        Award No. DE-SE0000025.0001
                                                                         Special Terms and Conditions



           i.    Subawards; and

           ii.   The total compensation of the five most highly compensated executives of
                 any subrecipient.

      E. Definitions
         For purposes of this Award term:

           i.    Entity means all of the following, as defined in 2 CFR Part 25:

                    1. A Governmental organization, which is a State, local government, or
                       Indian tribe.
                    2. A foreign public entity.
                    3. A domestic or foreign nonprofit organization.
                    4. A domestic or foreign for-profit organization.
                    5. A Federal agency, but only as a subrecipient under an award or
                       subaward to a non-Federal entity.

           ii.   Executive means officers, managing partners, or any other employees in
                 management positions.

          iii.   Subaward:

                    1. This term means a legal instrument to provide support for the
                       performance of any portion of the substantive project or program for
                       which the Recipient received this award and that the recipient awards
                       to an eligible subrecipient.

                    2. The term does not include the Recipient’s procurement of property
                       and services needed to carry out the project or program (for further
                       explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                       and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                       Subrecipients and Contractors).

                    3. A subaward may be provided through any legal agreement, including
                       an agreement that the Recipient or a subrecipient considers a
                       contract.

          iv.    Subrecipient means an entity that:

                    1. Receives a subaward from the Recipient under this award; and

                    2. Is accountable to the Recipient for the use of the Federal funds

                                                                                                        20
Case 1:25-cv-00039-JJM-PAS          Document 68-123        Filed 02/07/25       Page 543 of 556
                                      PageID #: 6473
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



                         provided by the subaward.

           v.    Total compensation means the cash and noncash dollar value earned by the
                 executive during the recipient's or subrecipient's preceding fiscal year and
                 includes the following (for more information see 17 CFR 229.402(c)(2)):

                     1. Salary and bonus.

                     2. Awards of stock, stock options, and stock appreciation rights. Use the
                        dollar amount recognized for financial statement reporting purposes
                        with respect to the fiscal year in accordance with the Statement of
                        Financial Accounting Standards No. 123 (Revised 2004) (FAS 123R),
                        Shared Based Payments.

                     3. Earnings for services under non-equity incentive plans. This does not
                        include group life, health, hospitalization or medical reimbursement
                        plans that do not discriminate in favor of executives, and are available
                        generally to all salaried employees.

                     4. Change in pension value. This is the change in present value of
                        defined benefit and actuarial pension plans.

                     5. Above-market earnings on deferred compensation which is not tax-
                        qualified.

                     6. Other compensation, if the aggregate value of all such other
                        compensation (e.g. severance, termination payments, value of life
                        insurance paid on behalf of the employee, perquisites or property) for
                        the executive exceeds $10,000.

Term 41.     System for Award Management and Universal Identifier
             Requirements

      A. Requirement for Registration in the System for Award Management (SAM)
         Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
         Recipient must maintain the currency of its information in SAM until the Recipient
         submits the final financial report required under this Award or receive the final
         payment, whichever is later. This requires that the Recipient reviews and updates
         the information at least annually after the initial registration, and more frequently if
         required by changes in its information or another award term.

      B. Unique Entity Identifier (UEI)
         SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no

                                                                                                         21
Case 1:25-cv-00039-JJM-PAS            Document 68-123          Filed 02/07/25      Page 544 of 556
                                        PageID #: 6474
                                                                            Award No. DE-SE0000025.0001
                                                                             Special Terms and Conditions



         longer have to go to a third-party website to obtain their identifier. This information
         is displayed on SAM.gov.

         If the Recipient is authorized to make subawards under this Award, the Recipient:

        i.      Must notify potential subrecipients that no entity (see definition in paragraph C
                of this award term) may receive a subaward from the Recipient unless the entity
                has provided its UEI number to the Recipient.

       ii.      May not make a subaward to an entity unless the entity has provided its UEI
                number to the Recipient.

      C. Definitions
         For purposes of this award term:

              i.    System for Award Management (SAM) means the Federal repository into
                    which an entity must provide information required for the conduct of
                    business as a recipient. Additional information about registration procedures
                    may be found at the SAM Internet site (currently at https://www.sam.gov).

             ii.    Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                    that will be assigned by SAM.gov upon registration.

             iii.   Entity, as it is used in this award term, means all of the following, as defined
                    at 2 CFR Part 25, subpart C:

                       1. A Governmental organization, which is a State, local government, or
                          Indian Tribe.
                       2. A foreign public entity.
                       3. A domestic or foreign nonprofit organization.
                       4. A domestic or foreign for-profit organization.
                       5. A Federal agency, but only as a subrecipient under an award or
                          subaward to a non-Federal entity.

             iv.    Subaward:

                       1. This term means a legal instrument to provide support for the
                          performance of any portion of the substantive project or program for
                          which the Recipient received this Award and that the Recipient
                          awards to an eligible subrecipient.

                       2. The term does not include the Recipient’s procurement of property
                          and services needed to carry out the project or program (for further

                                                                                                            22
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 545 of 556
                                      PageID #: 6475
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



                         explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                         and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                         Subrecipients and Contractors).

                     3. A subaward may be provided through any legal agreement, including
                        an agreement that the Recipient considers a contract.

           v.     Subrecipient means an entity that:

                     1. Receives a subaward from the Recipient under this Award; and
                     2. Is accountable to the Recipient for the use of the Federal funds
                        provided by the subaward.

Term 42.      Nondisclosure and Confidentiality Agreements Assurances
      A. By entering into this agreement, the Recipient attests that it does not and will not
         require its employees or contractors to sign internal nondisclosure or confidentiality
         agreements or statements prohibiting or otherwise restricting its employees or
         contactors from lawfully reporting waste, fraud, or abuse to a designated
         investigative or law enforcement representative of a Federal department or agency
         authorized to receive such information.

      B. The Recipient further attests that it does not and will not use any Federal funds to
         implement or enforce any nondisclosure and/or confidentiality policy, form, or
         agreement it uses unless it contains the following provisions:

            i.    ‘‘These provisions are consistent with and do not supersede, conflict with, or
                  otherwise alter the employee obligations, rights, or liabilities created by
                  existing statute or Executive order relating to (1) classified information, (2)
                  communications to Congress, (3) the reporting to an Inspector General of a
                  violation of any law, rule, or regulation, or mismanagement, a gross waste of
                  funds, an abuse of authority, or a substantial and specific danger to public
                  health or safety, or (4) any other whistleblower protection. The definitions,
                  requirements, obligations, rights, sanctions, and liabilities created by
                  controlling Executive orders and statutory provisions are incorporated into
                  this agreement and are controlling.’’

           ii.    The limitation above shall not contravene requirements applicable to
                  Standard Form 312, Form 4414, or any other form issued by a Federal
                  department or agency governing the nondisclosure of classified information.

           iii.   Notwithstanding provision listed in paragraph (a), a nondisclosure or
                  confidentiality policy form or agreement that is to be executed by a person

                                                                                                         23
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 546 of 556
                                      PageID #: 6476
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions



                  connected with the conduct of an intelligence or intelligence-related activity,
                  other than an employee or officer of the United States Government, may
                  contain provisions appropriate to the particular activity for which such
                  document is to be used. Such form or agreement shall, at a minimum,
                  require that the person will not disclose any classified information received
                  in the course of such activity unless specifically authorized to do so by the
                  United States Government. Such nondisclosure or confidentiality forms shall
                  also make it clear that they do not bar disclosures to Congress, or to an
                  authorized official of an executive agency or the Department of Justice, that
                  are essential to reporting a substantial violation of law.

Term 43.      Subrecipient and Contractor Approvals

A. At Risk Notice. The Recipient must obtain written approval by the Grants Officer for
   reimbursement of costs associated with subrecipients/activities/contractor listed in
   paragraph B. below. If the contractor cost is for $250,000 or more, the Recipient must
   submit quote and purpose/need. The Recipient is restricted from expending project funds
   (i.e., federal share and Recipient share) on the subrecipients’ and/or contractors’ supporting
   the tasks identified in paragraph B. below unless and until the Grants Officer provides
   written approval. At its discretion, SCEP may not reimburse costs incurred prior to the date
   of any such written approval by the Grants Officer.


B. Grants Officer approval as set out above is required for the following:

       Activity and Subrecipients / Contractor                     Total Amount ($)
       Administrative, Implementation Vendor                       $     543,117.00
       Administrative, Agreements Supporting Collaboration
       w/Community Based Organizations and Organized Labor         $   424,608.00
       Administrative, Implementation Vendor – Strat. Analysis     $   154,100.00
       Administrative, Implementation Vendor                       $ 9,002,564.40
       Rebate Funds: Reimbursement, Implementation Vendor          $ 52,785,152.78
       Rebate Funds: Rebate Delivery, Implementation Vendor        $ 1,000,000.00
       Rebate Funds: Rebate Delivery, Implementation Vendor        $    550,000.00
       Rebate Funds: Rebate Delivery, Implementation Vendor        $ 1,874,513.40
       Administrative, Implementation Vendor                       $   325,486.60
                      TOTAL                                        $ 66,659,542.18

   The Grants Officer may require additional information concerning these tasks prior to
   providing written approval.

C. Upon written approval by the Grants Officer, the Recipient may then receive payment for
   the tasks identified in paragraph B. above for allowable costs incurred, or SCEP will

                                                                                                         24
Case 1:25-cv-00039-JJM-PAS                     Document 68-123                Filed 02/07/25           Page 547 of 556
                                                 PageID #: 6477
                                                                                               Award No. DE-SE0000025.0001
                                                                                                Special Terms and Conditions



    recognize costs incurred toward cost share requirements, if any, in accordance with the
    payment provisions contained in the Special Terms and Conditions of this agreement.

Term 44.           Subrecipient and Subcontractor Change Notification
Except for subrecipients and/or subcontractors specifically proposed as part of the Recipient’s
Application for award, the Recipient must notify the Contracting Officer and Project Officer in
writing 30 days prior to the execution of new or modified subrecipient and/or subcontractor
agreements, including naming any To Be Determined subrecipients and/or subcontractors. This
notification does not constitute a waiver of the prior approval requirements outlined in 2 CFR
part 200 as amended by 2 CFR part 910, nor does it relieve the Recipient from its obligation to
comply with applicable Federal statutes, regulations, and executive orders.

In order to satisfy this notification requirement, the Recipient documentation must, as a
minimum, include the following:

    •    A description of the research to be performed, the service to be provided, or the
         equipment to be purchased.
    •    Cost share commitment letter if the subrecipient and/or subcontractor is providing cost
         share to the Award.
    •    An assurance that the process undertaken by the Recipient to solicit the subrecipient
         and/or subcontractor complies with their written procurement procedures as outlined
         in 2 CFR 200.317 through 200.327.
    •    An assurance that no planned, actual or apparent conflict of interest exists between the
         Recipient and the selected subrecipient and/or subcontractor and that the Recipient’s
         written standards of conduct were followed.1
    •    A completed Environmental Questionnaire, if applicable.
    •    An assurance that the subrecipient and/or subcontractor is not a debarred or suspended
         entity.
    •    An assurance that all required award provisions will be flowed down in the resulting
         subrecipient and/or subcontractor agreement.

The Recipient is responsible for making a final determination to award or modify subrecipient
and/or subcontractor agreements under this agreement, but the Recipient may not proceed
with the subrecipient and/or subcontractor agreement until the Contracting Officer
determines, and provides the Recipient written notification, that the information provided is
adequate.

1
  It is DOE’s position that the existence of a “covered relationship” as defined in 5 CFR 2635.502(a)&(b) between a member of
the Recipient’s owners or senior management and a member of a subrecipient’s owners or senior management creates at a
minimum an apparent conflict of interest that would require the Recipient to notify the Contracting Officer and provide
detailed information and justification (including, for example, mitigation measures) as to why the subrecipient agreement does
not create an actual conflict of interest. The Recipient must also notify the Contracting Officer of any new subrecipient
agreement with: (1) an entity that is owned or otherwise controlled by the Recipient; or (2) an entity that is owned or
otherwise controlled by another entity that also owns or otherwise controls the Recipient, as it is DOE’s position that these
situations also create at a minimum an apparent conflict of interest.

                                                                                                                                 25
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 548 of 556
                                       PageID #: 6478
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions




Should the Recipient not receive a written notification of adequacy from the Contracting Officer
within 30 days of the submission of the subrecipient and/or subcontractor documentation
stipulated above, the Recipient may proceed to award or modify the proposed subrecipient
agreement.

Term 45.       Conference Spending
The Recipient shall not expend any funds on a conference not directly and programmatically
related to the purpose for which the grant or cooperative agreement was awarded that would
defray the cost to the United States Government of a conference held by any Executive branch
department, agency, board, commission, or office for which the cost to the United States
Government would otherwise exceed $20,000, thereby circumventing the required notification
by the head of any such Executive Branch department, agency, board, commission, or office to
the Inspector General (or senior ethics official for any entity without an Inspector General), of
the date, location, and number of employees attending such conference.

Term 46.       Recipient Integrity and Performance Matters

       A. General Reporting Requirement
          If the total value of the Recipient’s currently active Financial Assistance awards,
          cooperative agreements, and procurement contracts from all Federal awarding
          agencies exceeds $10,000,000 for any period of time during the period of
          performance of this Federal award, then you as the recipient during that period of
          time must maintain the currency of information reported to the System for Award
          Management (SAM) that is made available in the designated integrity and
          performance system (currently the Federal Awardee Performance and Integrity
          Information System (FAPIIS)) about civil, criminal, or administrative proceedings
          described in paragraph 2 of this term. This is a statutory requirement under section
          872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section
          3010 of Public Law 111-212, all information posted in the designated integrity and
          performance system on or after April 15, 2011, except past performance reviews
          required for Federal procurement contracts, will be publicly available.

       B. Proceedings About Which You Must Report
          Submit the information required about each proceeding that:
             i. Is in connection with the award or performance of a Financial Assistance,
                 cooperative agreement, or procurement contract from the Federal
                 Government;
            ii. Reached its final disposition during the most recent five-year period; and
           iii. Is one of the following:
                     1. A criminal proceeding that resulted in a conviction, as defined in
                        paragraph E of this award term and condition;
                     2. A civil proceeding that resulted in a finding of fault and liability and

                                                                                                          26
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25       Page 549 of 556
                                      PageID #: 6479
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions



                        payment of a monetary fine, penalty, reimbursement, restitution, or
                        damages of $5,000 or more;
                     3. An administrative proceeding, as defined in paragraph E of this term,
                        that resulted in a finding of fault and liability and your payment of
                        either a monetary fine or penalty of $5,000 or more or
                        reimbursement, restitution, or damages in excess of $100,000; or
                     4. Any other criminal, civil, or administrative proceeding if:
                            a. It could have led to an outcome described in paragraph B.iii.1,
                                2, or 3 of this term;
                            b. It had a different disposition arrived at by consent or
                                compromise with an acknowledgment of fault on your part;
                                and
                            c. The requirement in this term to disclose information about
                                the proceeding does not conflict with applicable laws and
                                regulations.

      C. Reporting Procedures
         Enter in the SAM Entity Management area the information that SAM requires about
         each proceeding described in paragraph B of this term. You do not need to submit
         the information a second time under assistance awards that you received if you
         already provided the information through SAM because you were required to do so
         under Federal procurement contracts that you were awarded.


      D. Reporting Frequency
         During any period of time when you are subject to the requirement in paragraph A
         of this term, you must report proceedings information through SAM for the most
         recent five-year period, either to report new information about any proceeding(s)
         that you have not reported previously or affirm that there is no new information to
         report. Recipients that have Federal contract, Financial Assistance awards, (including
         cooperative agreement awards) with a cumulative total value greater than
         $10,000,000, must disclose semiannually any information about the criminal, civil,
         and administrative proceedings.

      E. Definitions
         For purposes of this term:
           i. Administrative proceeding means a non-judicial process that is adjudicatory
                 in nature in order to make a determination of fault or liability (e.g., Securities
                 and Exchange Commission Administrative proceedings, Civilian Board of
                 Contract Appeals proceedings, and Armed Services Board of Contract
                 Appeals proceedings). This includes proceedings at the Federal and State
                 level but only in connection with performance of a Federal contract or



                                                                                                          27
Case 1:25-cv-00039-JJM-PAS           Document 68-123          Filed 02/07/25     Page 550 of 556
                                       PageID #: 6480
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions



                   Financial Assistance awards. It does not include audits, site visits, corrective
                   plans, or inspection of deliverables.
             ii.   Conviction means a judgment or conviction of a criminal offense by any court
                   of competent jurisdiction, whether entered upon a verdict or a plea, and
                   includes a conviction entered upon a plea of nolo contendere.
            iii.   Total value of currently active Financial Assistance awards, cooperative
                   agreements and procurement contracts includes—
                       1. Only the Federal share of the funding under any Federal award with a
                           recipient cost share or match; and
                       2. The value of all expected funding increments under a Federal award and
                           options, even if not yet exercised.

Term 47.       Export Control
The United States government regulates the transfer of information, commodities, technology,
and software considered to be strategically important to the U.S. to protect national security,
foreign policy, and economic interests without imposing undue regulatory burdens on
legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” The Recipient is
responsible for ensuring compliance with all applicable United States Export Control laws and
regulations relating to any work performed under a resulting award.

The Recipient must immediately report to DOE any export control violations related to the
project funded under this award, at the recipient or subrecipient level, and provide the
corrective action(s) to prevent future violations.


Term 48.       Prohibition on Certain Telecommunications and Video Surveillance
               Services or Equipment
As set forth in 2 CFR 200.116, recipients and subrecipients are prohibited from obligating or
expending project funds (Federal funds and recipient cost share) to:

    (1) Procure or obtain;

    (2) Extend or renew a contract to procure or obtain; or

    (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
    services, or systems that uses covered telecommunications equipment or services as a
    substantial or essential component of any system, or as critical technology as part of any
    system. As described in Public Law 115-232, section 889, covered telecommunications
    equipment is telecommunications equipment produced by Huawei Technologies Company
    or ZTE Corporation (or any subsidiary or affiliate of such entities).




                                                                                                          28
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25       Page 551 of 556
                                       PageID #: 6481
                                                                           Award No. DE-SE0000025.0001
                                                                            Special Terms and Conditions



          (i) For the purpose of public safety, security of government facilities, physical security
          surveillance of critical infrastructure, and other national security purposes, video
          surveillance and telecommunications equipment produced by Hytera
          Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
          Dahua Technology Company (or any subsidiary or affiliate of such entities).

          (ii) Telecommunications or video surveillance services provided by such entities or
          using such equipment.

          (iii) Telecommunications or video surveillance equipment or services produced or
          provided by an entity that the Secretary of Defense, in consultation with the Director
          of the National Intelligence or the Director of the Federal Bureau of Investigation,
          reasonably believes to be an entity owned or controlled by, or otherwise connected
          to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

Term 49.       Fraud, Waste and Abuse
The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity,
economy and efficiency of DOE’s programs and operations including deterring and detecting
fraud, waste, abuse, and mismanagement. The OIG accomplishes this mission primarily through
investigations, audits, and inspections of Department of Energy activities to include grants,
cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting
allegations of fraud, waste, abuse, or mismanagement. To report such allegations, please visit
https://www.energy.gov/ig/ig‐hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR 200.113 Mandatory
disclosures, which states:
                The non‐Federal entity or applicant for a Federal award must disclose, in a timely
                manner, in writing to the Federal awarding agency or pass‐through entity all
                violations of Federal criminal law involving fraud, bribery, or gratuity violations
                potentially affecting the Federal award. Non‐Federal entities that have received
                a Federal award including the term and condition outlined in appendix XII of 2
                CFR Part 200 are required to report certain civil, criminal, or administrative
                proceedings to SAM (currently FAPIIS). Failure to make required disclosures can
                result in any of the remedies described in 200.339. (See also 2 CFR part 180, 31
                U.S.C. § 3321, and 41 U.S.C. § 2313.)

Term 50.       Interim Conflict of Interest Policy for Financial Assistance Policy
The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
requirements-financial-assistance. This policy is applicable to all non-Federal entities applying
for, or that receive, DOE funding by means of a financial assistance award (e.g., a grant,

                                                                                                           29
Case 1:25-cv-00039-JJM-PAS            Document 68-123         Filed 02/07/25       Page 552 of 556
                                        PageID #: 6482
                                                                            Award No. DE-SE0000025.0001
                                                                             Special Terms and Conditions



cooperative agreement, or technology investment agreement) and, through the
implementation of this policy by the entity, to each Investigator who is planning to participate
in, or is participating in, the project funded wholly or in part under this Award. The term
“Investigator” means the PI and any other person, regardless of title or position, who is
responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
proposed for funding by DOE. The Recipient must flow down the requirements of the interim
COI Policy to any subrecipient non-Federal entities, with the exception of DOE National
Laboratories. Further, the Recipient must identify all financial conflicts of interests (FCOI), i.e.,
managed and unmanaged/unmanageable, in its initial and ongoing FCOI reports.
Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
completed their significant financial disclosures; 2) review the disclosures; 3) determine
whether a FCOI exists; 4) develop and implement a management plan for FCOIs; and 5) provide
DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be
in full compliance with the other requirements set forth in DOE’s interim COI Policy.

Term 51.       Organizational Conflict of Interest
Organizational conflicts of interest are those where, because of relationships with a parent
company, affiliate, or subsidiary organization, the Recipient is unable or appears to be unable to
be impartial in conducting procurement action involving a related organization (2 CFR
200.318(c)(2)).

The Recipient must disclose in writing any potential or actual organizational conflict of interest
to the DOE Contracting Officer. The Recipient must provide the disclosure prior to engaging in a
procurement or transaction using project funds with a parent, affiliate, or subsidiary
organization that is not a state, local government, or Indian tribe. For a list of the information
that must be included the disclosure, see Section VI. of the DOE interim Conflict of Interest
Policy for Financial Assistance at https://www.energy.gov/management/department-energy-
interim-conflict-interest-policy-requirements-financial-assistance.
If the effects of the potential or actual organizational conflict of interest cannot be avoided,
neutralized, or mitigated, the Recipient must procure goods and services from other sources
when using project funds. Otherwise, DOE may terminate the Award in accordance with 2 CFR
200.340 unless continued performance is determined to be in the best interest of the federal
government.

The Recipient must flow down the requirements of the interim COI Policy to any subrecipient
non-federal entities, with the exception of DOE National Laboratories. The Recipient is
responsible for ensuring subrecipient compliance with this term.

If the Recipient has a parent, affiliate, or subsidiary organization that is not a state, local
government, or Indian tribe, the Recipient must maintain written standards of conduct covering
organizational conflicts of interest.


                                                                                                            30
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 553 of 556
                                       PageID #: 6483
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions




Term 52.        Participants and Other Collaborating Organizations
Prior to award, the Recipient was required to provide the following information on participants
and other collaborating organizations. If there are any changes to Participants and
Collaborating Organizations information previously submitted to DOE, the Recipient must
submit updated information within thirty (30) calendar days after the end of the quarterly
reporting period in which the change occurred:

   A. What individuals have worked on the project
      Provide the following information for individuals at the prime recipient and subrecipient
      level: (1) all senior and key personnel; and (2) each person who has worked or is
      expected to work at least one person month per year on the project regardless of the
      source of compensation (a person month equals approximately 160 hours of effort).

           i.   Name
          ii.   Organization
        iii.    Job Title
         iv.    Role in the project
          v.    Start and end date (month and year) working on the project
         vi.    State, U.S. territory, and/or country of residence
        vii.    Whether this person collaborated with an individual or entity located in a foreign
                country in connection with the scope of this Award, and
       viii.    If yes to vii, whether the person traveled to the foreign country as part of that
                collaboration, and, if so, where and what the duration of stay was.

   B. Organizations
      Identify all subrecipients, contractors, U.S. National Laboratories, partners, and
      collaborating organizations. Recipients must also include all foreign collaborators as
      outlined in the Foreign Collaboration Considerations term of the award Terms and
      Conditions. For each, provide name, UEI, zip code or latitude/longitude, role in the
      project, contribution to the project, and start and end date.
Term 53.        Community Benefits Outcomes and Objectives
The recipient must meet the stated objectives and milestones set forth in its Community
Benefits Outcomes and Objectives, which is incorporated into the Award per Term 56. A
report on the recipient’s progress toward meeting the objectives and milestones set
forth in the Community Benefits Outcomes and Objectives must be included in the
continuation application.

Term 54.        Human Subjects Research
Research involving human subjects, biospecimens, or identifiable private information
conducted with Department of Energy (DOE) funding is subject to the requirements of DOE
Order 443.1C, Protection of Human Research Subjects, 45 CFR Part 46, Protection of Human
Subjects (subpart A which is referred to as the “Common Rule”), and 10 CFR Part 745, Protection
of Human Subjects.

                                                                                                          31
Case 1:25-cv-00039-JJM-PAS          Document 68-123         Filed 02/07/25      Page 554 of 556
                                      PageID #: 6484
                                                                         Award No. DE-SE0000025.0001
                                                                          Special Terms and Conditions




Federal regulation and the DOE Order require review by an Institutional Review Board (IRB) of
all proposed human subjects research projects. The IRB is an interdisciplinary ethics board
responsible for ensuring that the proposed research is sound and justifies the use of human
subjects or their data; the potential risks to human subjects have been minimized; participation
is voluntary; and clear and accurate information about the study, the benefits and risks of
participating, and how individuals’ data/specimens will be protected/used, is provided to
potential participants for their use in determining whether or not to participate.

The Recipient shall provide the Federal Wide Assurance number identified in item 1 below and
the certification identified in item 2 below to DOE prior to initiation of any project that will
involve interactions with humans in some way (e.g., through surveys); analysis of their
identifiable data (e.g., demographic data and energy use over time); asking individuals to test
devices, products, or materials developed through research; and/or testing of commercially
available devices in buildings/homes in which humans will be present. Note: This list of
examples is illustrative and not all inclusive.

No DOE funded research activity involving human subjects, biospecimens, or identifiable
private information shall be conducted without:

   1) A registration and a Federal Wide Assurance of compliance accepted by the Office of
      Human Research Protection (OHRP) in the Department of Health and Human Services;
      and
   2) Certification that the research has been reviewed and approved by an Institutional
      Review Board (IRB) provided for in the assurance. IRB review may be accomplished by
      the awardee’s institutional IRB; by the Central DOE IRB; or if collaborating with one of
      the DOE national laboratories, by the DOE national laboratory IRB.

The Recipient is responsible for ensuring all subrecipients comply and for reporting information
on the project annually to the DOE Human Subjects Research Database (HSRD) at
https://science.osti.gov/HumanSubjects/Human-Subjects-Database/home. Note: If a DOE IRB
is used, no end of year reporting will be needed.

Additional information on the DOE Human Subjects Research Program can be found at:
https://science.osti.gov/ber/human-subjects.

Term 55.       Affirmative Action and Pay Transparency Requirements
All federally assisted construction contracts exceeding $10,000 annually will be subject to the
requirements of Executive Order 11246:

       (1)    Recipients, subrecipients, and contractors are prohibited from discriminating in
       employment decisions on the basis of race, color, religion, sex, sexual orientation,
       gender identity or national origin.
                                                                                                         32
Case 1:25-cv-00039-JJM-PAS           Document 68-123         Filed 02/07/25      Page 555 of 556
                                       PageID #: 6485
                                                                          Award No. DE-SE0000025.0001
                                                                           Special Terms and Conditions




       (2)    Recipients and Contractors are required to take affirmative action to ensure that
       equal opportunity is provided in all aspects of their employment. This includes flowing
       down the appropriate language to all subrecipients, contractors and subcontractors.

       (3)     Recipients, subrecipients, contractors and subcontractors are prohibited from
       taking adverse employment actions against applicants and employees for asking about,
       discussing, or sharing information about their pay or, under certain circumstances, the
       pay of their co‐workers.

The Department of Labor’s (DOL) Office of Federal Contractor Compliance Programs (OFCCP)
uses a neutral process to schedule contractors for compliance evaluations. OFCCP’s Technical
Assistance Guide should be consulted to gain an understanding of the requirements and
possible actions the recipients, subrecipients, contractors, and subcontractors must take. See
OFCCP’s Technical Assistance Guide at:
https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG.pdf?msclkid
=9e397d68c4b111ec9d8e6fecb6c710ec.

Term 56.       Potentially Duplicative Funding Notice
If the Recipient or subrecipients have or receive any other award of federal funds for activities
that potentially overlap with the activities funded under this Award, the Recipient must
promptly notify DOE in writing of the potential overlap and state whether project funds (i.e.,
recipient cost share and federal funds) from any of those other federal awards have been, are
being, or are to be used (in whole or in part) for one or more of the identical cost items under
this Award. If there are identical cost items, the Recipient must promptly notify the DOE
Contracting Officer in writing of the potential duplication and eliminate any inappropriate
duplication of funding.


Subpart D. Inflation Reduction Act (IRA) Specific Requirements

Term 57.       Program Launch Approval
The Recipient must not disburse rebate funds nor accept rebate claims until it receives DOE
approval to proceed with program launch. The Recipient must address and comply with all
program requirements to receive Federal funding and to launch State programs. If the Recipient
launches the rebate program(s) or disburses rebate funds prior to DOE approval, DOE reserves
the right to take appropriate action.

Term 58.       Implementation Blueprint Submission
The Recipient must submit a complete State Implementation Blueprint and related plans within
a minimum of 60 days prior to planned program launch. Any application requirements that
were deferred to the State Implementation Blueprint must also be addressed. States must
receive DOE approval on the State Implementation Blueprint and related plans before

                                                                                                          33
Case 1:25-cv-00039-JJM-PAS         Document 68-123       Filed 02/07/25      Page 556 of 556
                                     PageID #: 6486
                                                                      Award No. DE-SE0000025.0001
                                                                       Special Terms and Conditions



launching their program. Once DOE approval is received, the State Implementation Blueprint
and supporting plans become immediately binding to the award and will be enforceable. The
State Implementation Blueprint and supporting plans will be incorporated into the award Terms
& Conditions by reference and will be incorporated formally in the next award modification,
following approval by DOE.

Term 59.      Reporting Tracking and Segregation of Incurred Costs
IRA funds may be used in conjunction with other funding, as necessary to complete projects,
but tracking and reporting must be separate. The Recipient must keep separate records for IRA
funds and must ensure those records comply with the requirements of the IRA.




                                                                                                      34
